Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 1 of 617




                Exhibit A
         Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 2 of 617

COUR PERMANENT£ D'ARBITRAGE                                                           PERMANENT COURT OF ARBITRATION




                                           CERTIFICATION OF COPY OF
                                        FINAL AWARD DATED 18 JULY 2014



RE:        PCA CASE N° AA 226
           HULLEY ENTERPRISES LIMITED (CYPRUS) v. THE RUSSIAN FEDERATION


I, Judith Alexandra Levine, Senior Legal Counsel of the Permanent Court of Arbitration ('"PCA") and
Assistant Secretary to the Arbitral Tribunal in the above-referenced matter conducted under the
auspices of the PCA pursuant to the 1994 Energy Charter Treaty and the 1976 Arbitration Rules of the
United Nations Commission on International Trade Law, hereby CERTIFY that the document
annexed hereto (Final Award dated 18 July 20 14) is a true and authentic copy of the original
document of which it purports to be a copy. I have carefully compared the said copy with the said
original and found the same to agree therewith.


Signed,this .... . .   ~ ..... dayof ...... t':f. ~:{~....... 2014,at . ...~ ... ~ .... .


Judith Levine
Senior Legal Counsel
Pennanent Court of Arbitration
Peace Palace
Carnegieplein 2
25 l 7 KJ The Hague
The Netherlands




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 Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 3 of 617


                                 PCA Case No. AA 226


IN THE MATTER OF AN ARBITRATION BEFORE A TRIBUNAL CONSTITUTED
 IN ACCORDANCE WITH ARTICLE 26 OF THE ENERGY CHARTER TREATY
           AND THE 1976 UNCITRAL ARBITRATION RULES


                                      -between-


                 HULLEY ENTERPRISES LIMITED (CYPRUS)


                                        -and-


                            THE RUSSIAN FEDERATION




                                  FINAL AWARD




                                    18 July 2014


                                    Tribunal
                The Hon. L. Yves Fortier PC CC OQ QC, Chairman
                               Dr. Charles Poncet
                           Judge Stephen M. Schwebel


                 Mr. Martin J. Valasek, Assistant to the Tribunal
                  Mr. Brooks W. Daly, Secretary to the Tribunal
               Ms. Judith Levine, Assistant Secretary to the Tribunal

                                      Registry
                            Permanent Court of Arbitration


   Representing Claimant:
   Professor Emmanuel Gaillard                     Dr. Claudia Annacker
   Dr. Yas Banifatemi                              Mr. Lawrence B. Friedman
   Ms. Jennifer Younan                             Mr. David G. Sabel
   SHEARMAN & STERLING LLP                         Mr. Matthew D. Slater
                                                   Mr. William B. McGurn
                                                   Mr. J. Cameron Murphy
                                                   CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                                   Mr. Michael S. Goldberg
                                                   Mr. Jay L. Alexander
                                                   Dr. Johannes Koepp
                                                   Mr. Alejandro A. Escobar
                                                   BAKER BOTTS LLP
       Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 4 of 617




                                                         TABLE OF CONTENTS

LIST OF DEFINED TERMS..................................................................................................................... xiii
INTRODUCTION ........................................................................................................................................ 1
I.     PROCEDURAL HISTORY ................................................................................................................ 2
        A.      COMMENCEMENT OF THE ARBITRATION ................................................................................... 2
        B.      CONSTITUTION OF THE TRIBUNAL ............................................................................................. 3
        C.      PRELIMINARY PHASE ON JURISDICTION AND ADMISSIBILITY ................................................... 4
        D.      BIFURCATION AND OTHER SCHEDULING MATTERS................................................................... 5
        E.      DOCUMENT PRODUCTION AND CONFIDENTIALITY ................................................................... 6
        F.      HEARING ON THE MERITS .......................................................................................................... 8
        G.      POST-HEARING PROCEDURES .................................................................................................. 11
II.    FACTUAL BACKGROUND ........................................................................................................... 12
        A.      THE PARTIES TO THESE PROCEEDINGS .................................................................................... 13
                 1.     Claimants and Related Entities ...................................................................................... 13
                 2.     Respondent ..................................................................................................................... 13
        B.      OAO YUKOS OIL COMPANY .................................................................................................... 13
        C.      THE RUSSIAN LOW-TAX REGION PROGRAM ........................................................................... 14
        D.      CRIMINAL PROCEEDINGS ......................................................................................................... 16
        E.      ADDITIONAL MEASURES.......................................................................................................... 17
                 1.     Alleged Frustration of Merger Between Yukos and Sibneft .......................................... 18
                 2.     Tax Reassessments for Years 2000–2004 ...................................................................... 18
                 3.     Auction of YNG ............................................................................................................. 19
                 4.     Bankruptcy Proceedings ................................................................................................ 20
                 5.     Withdrawal of PwC’s Audits ......................................................................................... 20
III. PARTIES’ WRITTEN SUBMISSIONS ........................................................................................... 20
        A.      CLAIMANTS’ SKELETON ARGUMENTS ..................................................................................... 21
        B.      RESPONDENT’S SKELETON ARGUMENTS ................................................................................. 34
IV. PARTIES’ REQUESTS FOR RELIEF ............................................................................................. 48
        A.      RELIEF REQUESTED BY CLAIMANTS ........................................................................................ 48
        B.      RELIEF REQUESTED BY RESPONDENT...................................................................................... 48


                                                                       -i-
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 5 of 617




V.    APPLICABLE LAW......................................................................................................................... 49
       A.     PROCEDURAL LAW .................................................................................................................. 49
       B.     SUBSTANTIVE LAW .................................................................................................................. 49
               1.     Energy Charter Treaty .................................................................................................... 49
               2.     Vienna Convention on the Law of Treaties ................................................................... 53
VI. SUMMARY OF WITNESS TESTIMONY ...................................................................................... 54
       A.     CLAIMANTS’ WITNESSES ......................................................................................................... 55
               1.     Mr. Jacques Kosciusko-Morizet .................................................................................... 55
               2.     Mr. Vladimir Dubov ...................................................................................................... 57
               3.     Mr. Frank Rieger ............................................................................................................ 59
               4.     Dr. Andrei Illarionov ..................................................................................................... 61
               5.     Mr. Leonid Nevzlin ........................................................................................................ 64
               6.     Mr. Bruce Misamore ...................................................................................................... 67
               7.     Mr. Steven Theede ......................................................................................................... 69
               8.     Mr. Brent Kaczmarek ..................................................................................................... 72
               9.     Mr. Philip Baker QC ...................................................................................................... 73
               10. Mr. Yuri Schmidt ........................................................................................................... 74
               11. Dr. Sergei Kovalev......................................................................................................... 75
       B.     RESPONDENT’S WITNESSES ..................................................................................................... 76
               1.     Professor James Dow ..................................................................................................... 76
               2.     Mr. Oleg Y. Konnov ...................................................................................................... 78
               3.     Professor Reinier Kraakman .......................................................................................... 81
               4.     Professor H. David Rosenbloom .................................................................................... 83
               5.     Professor Thomas Z. Lys ............................................................................................... 85
               6.     Ms. Felicity Cullen QC .................................................................................................. 87
               7.     Mr. Dale Hart ................................................................................................................. 88
               8.     Mr. Polyvios Polyviou ................................................................................................... 89
               9.     Mr. John Ellison ............................................................................................................. 90
               10. Mr. Raymond Gross ....................................................................................................... 91
               11. Professor Dr. Albert Jan van den Berg........................................................................... 93



                                                                    - ii -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 6 of 617




                12. Professor Stef van Weeghel ........................................................................................... 94
        C.    THE SO-CALLED “EMPTY CHAIRS” ......................................................................................... 95
                1.     Individuals that Claimants Wished were Available for Examination ............................ 96
                2.     Individuals that Respondent Wished were Available for Examination ......................... 97
VII. ISSUES FOR ANALYSIS ................................................................................................................ 98
VIII. ANALYSIS OF THE EVIDENTIARY RECORD ......................................................................... 102
        A.    THE TAX OPTIMIZATION SCHEME ......................................................................................... 102
                1.     Introduction .................................................................................................................. 102
                2.     The Structure of the Tax Optimization Scheme ........................................................... 103
                3.     The Legal Framework of the Tax Optimization Scheme ............................................. 105
                        (a)    The Low-Tax Region Program ........................................................................... 105
                        (b)    Anti-Abuse Decisions and Doctrines Promulgated by Russia’s Federal
                                Courts ................................................................................................................. 107
                4.     The History of the Yukos Trading Entities before 2003 .............................................. 125
                        (a)    Mordovia ............................................................................................................ 125
                        (b)    Kalmykia ............................................................................................................ 138
                        (c)    Lesnoy and Trekhgorny...................................................................................... 140
                        (d)    Sarov................................................................................................................... 158
                        (e)    Baikonur ............................................................................................................. 159
                        (f)    Evenkia ............................................................................................................... 160
                5.     Tribunal’s Observations ............................................................................................... 164
        B.    THE TAX ASSESSMENTS STARTING IN DECEMBER 2003 ....................................................... 170
                1.     Introduction .................................................................................................................. 170
                2.     Chronology of the Tax Assessments and Related Decisions ....................................... 174
                        (a)    The 2000 Decision.............................................................................................. 175
                        (b)    The 2001 Decision.............................................................................................. 183
                        (c)    The 2002 Decision.............................................................................................. 186
                        (d)    The 2003 Decision.............................................................................................. 189
                        (e)    The 2004 Decision.............................................................................................. 191
                        (f)    Observation ........................................................................................................ 192
                3.     The Taxes Assessed Against Yukos ............................................................................ 192


                                                                     - iii -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 7 of 617




              (a)    Profit Tax and Other Revenue-based Taxes ....................................................... 192
              (b)    VAT .................................................................................................................... 198
       4.    The Fines Assessed Against Yukos ............................................................................. 201
       5.    Parties’ Arguments and Tribunal’s Observations ........................................................ 203
              (a)    Profit Tax and Other Revenue-Based Taxes ...................................................... 204
              (b)    VAT .................................................................................................................... 219
              (c)    Fines ................................................................................................................... 239
              (d)    Concluding Observations ................................................................................... 255
 C.   HARASSMENT, INTIMIDATION AND ARRESTS ........................................................................ 257
       1.    Introduction .................................................................................................................. 257
       2.    Chronology of Facts ..................................................................................................... 258
              (a)    Yukos Grows; Mr. Khodorkovsky Becomes More Politically Engaged;
                      Yukos Leaders Receive Warnings ..................................................................... 258
              (b)    Prosecutor General Launches Investigations Involving Searches and
                      Seizures .............................................................................................................. 260
              (c)    Arrest and Trial of Mr. Khodorkovsky; Flight from Russia of His
                      Associates ........................................................................................................... 263
              (d)    Complaints of Further Harassment and Intimidation of Yukos Executives,
                      Employees, Lawyers and External Advisers ...................................................... 265
              (e)    Second Trial of Mr. Khodorkovsky; Allegations of Continuing
                      Harassment and Intimidation.............................................................................. 269
       3.    Parties’ Arguments and Tribunal’s Observations ........................................................ 270
              (a)    Are Claimants’ Allegations about a Campaign of Harassment Credible? ......... 271
              (b)    Were the Actions of the Russian Federation Justified as Legitimate Law
                      Enforcement Measures? ..................................................................................... 274
              (c)    Did the Events Complained of Impact Claimants’ Investments or was
                      Yukos Able to Carry on Unaffected? ................................................................. 276
 D.   THE UNWINDING OF THE YUKOS–SIBNEFT MERGER ............................................................ 279
       1.    Introduction .................................................................................................................. 279
       2.    Chronology .................................................................................................................. 281
              (a)    Merger is Announced; NYSE Listing is Put on Hold; Steps are Taken to
                      Complete Merger................................................................................................ 281
              (b)    Mr. Khodorkovsky is Arrested; Yukos Continues with Merger; Sibneft has
                      Second Thoughts ................................................................................................ 283



                                                           - iv -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 8 of 617




               (c)    Russian Courts Invalidate the Share Exchange Agreement ............................... 285
               (d)    Russian Federation Ultimately Acquires Sibneft via Gazprom.......................... 287
       3.     Parties’ Arguments and Tribunal’s Observations ........................................................ 287
               (a)    Was Yukos’ NYSE Listing Put on Hold Because of the YukosíSibneft
                       Merger or Fears of Exposing Yukos’ Tax Optimization Scheme? .................... 287
               (b)    Was the 2003 Interim Dividend a Component of the YukosíSibneft
                       Merger or a Means to Siphon Funds out of Russia? .......................................... 289
               (c)    Was the Unwinding of the Merger Caused by the Russian Federation? ............ 292
 E.   ATTEMPTS TO SETTLE ............................................................................................................ 298
       1.     Introduction .................................................................................................................. 298
       2.     Yukos’ Settlement Offers (and the Russian Federation’s Replies) .............................. 300
               (a)    Proposals Made to the Bailiffs ........................................................................... 302
               (b)    Proposals for a Global Settlement Conveyed by Mr. Chrétien .......................... 304
               (c)    Requests for a Deferral or Payment in Instalments ............................................ 306
               (d)    Other Proposals .................................................................................................. 307
       3.     Parties’ Arguments and Tribunal’s Observations ........................................................ 308
               (a)    Did Yukos Contribute to its Own Demise by Failing to Discharge Tax
                       Debt in the Amount of USD 9 Billion in the First Quarter of 2004? ................. 308
               (b)    Did Yukos’ Settlement Offers Constitute Real Alternatives to
                       Enforcement? ..................................................................................................... 312
 F.   THE AUCTION OF YNG .......................................................................................................... 322
       1.     Introduction .................................................................................................................. 322
       2.     Chronology .................................................................................................................. 324
               (a)    Yukos’ Shares in YNG are Seized and the Government Announces they
                       will be Sold; Yukos Brings Unsuccessful Court Challenges ............................. 325
               (b)    YNG is Valued for Auction while its Tax Liabilities Rapidly Escalate ............. 325
               (c)    Yukos Tries to Prevent the Auction; Preparations Proceed; an Entity
                       Named Baikal is Created to Purchase YNG ....................................................... 327
               (d)    After a 10-Minute Auction, the Successful Bidder Baikal is Sold to State-
                       Owned Rosneft; a “Monumental Bargain”; the “State, Looking After its
                       Own Interests” .................................................................................................... 329
               (e)    Once it is State-Owned, YNG’s Fate Improves, with Reductions in Tax
                       Liabilities and a Dramatic Increase in Value ..................................................... 330
       3.     Parties’ Arguments and Tribunal’s Observations ........................................................ 331



                                                             -v-
    Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 9 of 617




                        (a)     Did the Auction Price Reflect the True Value of YNG; If not, was Either
                                 Party Responsible for the Price Reduction? ....................................................... 332
                        (b)     Who was Behind Baikal and were They a Front for the Russian State? ............ 336
                        (c)     What were Yukos’ Prospects for Survival Once it Lost its Core Asset?............ 340
       G.     THE BANKRUPTCY OF YUKOS ............................................................................................... 342
               1.      Introduction .................................................................................................................. 342
               2.      Chronology .................................................................................................................. 343
                        (a)     The Initiation of the Bankruptcy ........................................................................ 343
                        (b)     The Treatment of Bankruptcy Claims; the Creditors’ Meeting; the
                                 Declaration of Yukos’ Bankruptcy..................................................................... 349
                        (c)     The Liquidation of Yukos’ Remaining Assets ................................................... 352
               3.      Parties’ Arguments and Tribunal’s Observations ........................................................ 355
                        (a)     Why was the Bankruptcy Initiated and Who was Truly Behind It? ................... 356
                        (b)     Were the Bankruptcy Proceedings Conducted Properly and Fairly? ................. 368
       H.     THE WITHDRAWAL OF PWC’S AUDIT OPINIONS ................................................................... 377
               1.      Introduction .................................................................................................................. 377
               2.      Chronology .................................................................................................................. 379
                        (a)     PwC Serves as Both Auditor and Consultant to Yukos...................................... 379
                        (b)     PwC Responds to the Massive Tax Reassessments against Yukos .................... 380
                        (c)     PwC Faces Mounting Pressure from the Russian Federation around the
                                 Same Time as Mr. Khodorkovsky’s Second Trial Starts ................................... 382
                        (d)     PwC’s “Volte-Face” in Withdrawing the Yukos Audits; Improved
                                 Treatment and Continued Pressures in the Russian Federation ......................... 385
               3.      Parties’ Arguments and Tribunal’s Observations ........................................................ 389
                        (a)     Did PwC Withdraw its Audits because it was under Pressure from the
                                 Russian Government? ........................................................................................ 389
                        (b)     Were the Grounds Provided by PwC in its Withdrawal Letter Contrived or
                                 Credible? ............................................................................................................ 391
                        (c)     Concluding Observations ................................................................................... 399
IX. PRELIMINARY OBJECTIONS ..................................................................................................... 401
       A.     ARE ALL OR SOME OF THE CLAIMS BARRED BY THE “FORK-IN-THE-ROAD” PROVISION OF
               THE ECT? ............................................................................................................................... 402

               1.      Introduction .................................................................................................................. 402



                                                                     - vi -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 10 of 617




        2.     Parties’ Positions .......................................................................................................... 403
        3.     Tribunal’s Decision ...................................................................................................... 406
  B.   “UNCLEAN HANDS” (DID CLAIMANTS ACT ILLEGALLY SO AS TO DEPRIVE THEM OF
        PROTECTION UNDER THE ECT?) ............................................................................................ 406
        1.     Introduction .................................................................................................................. 406
        2.     Claimants’ Alleged “Unclean Hands” ......................................................................... 408
                (a)    Conduct Related to the Acquisition of Yukos and the Subsequent
                        Consolidation of Control over Yukos and its Subsidiaries ................................ 409
                (b)    Conduct Related to the Cyprus-Russia DTA...................................................... 412
                (c)    Conduct Related to the Tax Optimization Scheme ............................................ 416
                (d)    Actions Taken in Hindrance of the Enforcement of Russia’s Tax Claims ......... 416
        3.     Parties’ Positions Regarding the Impact of Claimants’ Allegedly “Unclean
                Hands” on this Arbitration ........................................................................................... 418
                (a)    Respondent’s Position ........................................................................................ 418
                (b)    Claimants’ Position ............................................................................................ 423
        4.     Tribunal’s Decision ...................................................................................................... 428
                (a)    Can a Clean Hands Principle or Legality Requirement be Read into the
                        ECT? .................................................................................................................. 429
                (b)    Does the “Clean Hands” Doctrine Constitute a “General Principle of Law
                        Recognized by Civilized Nations”? ................................................................... 431
                (c)    Would any Instances of Claimants’ Alleged “Bad Faith and Illegal”
                        Conduct be Caught by a Legality Requirement Read into the ECT? ................. 433
                (d)    Conclusion .......................................................................................................... 435
  C.   RESPONDENT’S OBJECTIONS UNDER ARTICLE 21 OF THE ECT ............................................. 435
        1.     Introduction .................................................................................................................. 435
        2.     Claimants’ Position ...................................................................................................... 437
        3.     Respondent’s Position .................................................................................................. 440
        4.    Tribunal’s Decision ...................................................................................................... 446
               (a)     Introduction ........................................................................................................ 446
               (b)     First Reason: Assuming the Carve-Out Applies, So Does the Claw-Back,
                        and Any Referral to the Competent Tax Authorities Would Clearly have
                        been Futile .......................................................................................................... 448
                (c)    Second Reason: The Carve-Out Does Not Apply ............................................. 453
                (d)    Conclusion .......................................................................................................... 457


                                                             - vii -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 11 of 617




X.     LIABILITY ..................................................................................................................................... 457
        A.     ATTRIBUTION ......................................................................................................................... 458
                1.      Claimants’ Position ...................................................................................................... 458
                2.      Respondent’s Position .................................................................................................. 460
                3.      Tribunal’s Decision on Attribution .............................................................................. 462
        B.     ARTICLE 10 OF THE ECT ........................................................................................................ 467
                1.      Introduction .................................................................................................................. 467
                2.      Applicable Legal Standards under Article 10(1) of the ECT ....................................... 468
                         (a)     Claimants’ Position ............................................................................................ 468
                         (b)     Respondent’s Position ........................................................................................ 472
                3.      Did Respondent Accord Claimants’ Investments the Standard of Treatment
                         Required by Article 10(1) of the ECT? ........................................................................ 475
                         (a)     Claimants’ Position ............................................................................................ 475
                         (b)     Respondent’s Position ........................................................................................ 480
        C.     ARTICLE 13 OF THE ECT ........................................................................................................ 481
                1.      Introduction .................................................................................................................. 481
                2.      Applicable Legal Standards under Article 13 of the ECT ........................................... 482
                         (a)     Claimants’ Position ............................................................................................ 482
                         (b)     Respondent’s Position ........................................................................................ 485
                3.      Did Respondent’s Actions Constitute Expropriation (or “Measures Having
                         Effect Equivalent to Nationalization or Expropriation”) within the Meaning of
                         Article 13(1) of the ECT? ............................................................................................ 488
                         (a)     Claimants’ Position ............................................................................................ 488
                         (b)     Respondent’s Position ........................................................................................ 489
                4.      If Respondent’s Actions Constitute Expropriation, Has Respondent Met the
                         Criteria for a Lawful Expropriation under Article 13(1) of the ECT? ......................... 492
                         (a)     Claimants’ Position ............................................................................................ 492
                         (b)     Respondent’s Position ........................................................................................ 493
        D.     TRIBUNAL’S DECISION ON BREACH OF THE ECT .................................................................. 495
        E.     CONTRIBUTORY FAULT ......................................................................................................... 500
                1.      Introduction .................................................................................................................. 500
                2.      Contributory Fault as Applied in Other Cases ............................................................. 502



                                                                     - viii -
    Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 12 of 617




                 3.     Tribunal’s Analysis ...................................................................................................... 503
                         (a)     Conduct of Yukos in Some of the Low-Tax Regions ........................................ 503
                         (b)     Conduct of Yukos under the Cyprus-Russia DTA ............................................. 505
                         (c)     Conduct of Yukos in Connection with YNG Auction ........................................ 506
                         (d)     Conduct of Yukos in Connection with its Bankruptcy (Non-Payment of the
                                  A Loan) .............................................................................................................. 508
                 4.     Tribunal’s Decision on Contributory Fault .................................................................. 509
XI. INTEREST ...................................................................................................................................... 510
        A.      CLAIMANTS’ POSITION .......................................................................................................... 510
        B.      RESPONDENT’S POSITION ...................................................................................................... 512
        C.      THE LEGAL FRAMEWORK ...................................................................................................... 513
                 1.     Energy Charter Treaty .................................................................................................. 513
                 2.     ILC Articles on State Responsibility ........................................................................... 514
                 3.     RosInvestCo and Quasar.............................................................................................. 514
                 4.     Treatises ....................................................................................................................... 514
                         (a)     General Issues..................................................................................................... 515
                         (b)     Rate..................................................................................................................... 515
                         (c)     Dies a quo........................................................................................................... 517
                         (d)     Simple or Compound.......................................................................................... 518
                         (e)     Post-Award Interest ............................................................................................ 518
        D.      TRIBUNAL’S DECISION........................................................................................................... 519
XII. THE QUANTIFICATION OF CLAIMANTS’ DAMAGES .......................................................... 522
        A.      CLAIMANTS’ POSITION .......................................................................................................... 522
                 1.     Valuation Date ............................................................................................................. 523
                 2.     Causation...................................................................................................................... 524
                 3.     Calculations Performed by Claimants and Mr. Kaczmarek ......................................... 524
                         (a)     The “Scenarios” Presented by Claimants ........................................................... 524
                         (b)     Methodology Used for Calculations Based on Scenarios 1 and 2 ...................... 526
                         (c)     Methodology Used for Calculations Based on Scenario 3 ................................. 531
                         (d)     Methodology Used for Calculations Based on 2012 Valuation Date ................. 532
                         (e)     Summary of Results of Claimants’ Calculations ................................................ 533


                                                                       - ix -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 13 of 617




        4.     Failure of Claimants to Mitigate .................................................................................. 533
        5.     Windfall and Double-Recovery ................................................................................... 534
  B.   RESPONDENT’S POSITION ...................................................................................................... 535
        1.     Valuation Date ............................................................................................................. 535
        2.     Causation...................................................................................................................... 536
        3.     Specific Aspects of the Calculations Performed by Claimants Criticized by
                Respondent ................................................................................................................... 537
                (a)    Credibility of Claimants’ DCF Analysis ............................................................ 537
                (b)    Claimants’ Selection of Comparable Companies for Purposes of the
                        Comparable Companies Analysis ...................................................................... 538
                (c)    Claimants’ Reliance on Comparable Transactions ............................................. 539
                (d)    Claimants’ Calculations of Hypothetical Cash Flows from Dividends .............. 539
                (e)    Claimants’ Calculations Based on the Loss of a Chance to Obtain a Listing
                        on the New York Stock Exchange ..................................................................... 540
                (f)    Claimants’ Calculations Based on the Assumption of a Completed Yukos–
                        Sibneft Merger.................................................................................................... 540
                (g)    Claimants’ Scenarios 3a to 3d ............................................................................ 540
                (h)    Claimants’ Scenario 3e and the Valuation of YNG ........................................... 541
                (i)    Claimants’ Calculation of Pre-Award Interest ................................................... 541
        4.     Failure of Claimants to Mitigate .................................................................................. 541
        5.     Windfall and Double-Recovery ................................................................................... 542
  C.   TRIBUNAL’S ANALYSIS AND DECISION ................................................................................. 543
        1.     Valuation Date ............................................................................................................. 543
                (a)    The Date of the Expropriation ............................................................................ 543
                (b)    The Possibility for Claimants to Choose Between a Valuation as of the
                        Date of Expropriation and a Valuation as of the Date of the Award.................. 544
        2.     Causation...................................................................................................................... 546
                (a)    Causation and Reliance on Multiple Actions ..................................................... 546
                (b)    Multiple Causes for the Same Damage .............................................................. 547
        3.     Failure of Claimants to Mitigate .................................................................................. 548
        4.     The Methodology Followed by the Tribunal ............................................................... 548
                (a)    Valuation of Yukos ............................................................................................ 550



                                                              -x-
    Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 14 of 617




                          (b)     Valuation of Lost Dividends .............................................................................. 553
                 5.      Application of the Methodology Followed by the Tribunal ........................................ 560
                          (a)     Calculations Based on 19 December 2004 Valuation Date ................................ 561
                          (b)     Calculations Based on 2014 Valuation Date ...................................................... 562
                          (c)     Comparison of the Results Based on the Two Different Valuation Dates ......... 563
                 6.      Deductions Due to Claimants’ Contributory Fault ...................................................... 564
                 7.      Windfall and Double Recovery.................................................................................... 564
XIII. COSTS ............................................................................................................................................ 564
        A.      INTRODUCTION ...................................................................................................................... 564
        B.      CLAIMANTS’ POSITION .......................................................................................................... 566
                 1.      Claimants are Entitled to Recover All Costs Incurred in Connection with these
                          Arbitrations .................................................................................................................. 566
                 2.      Claimants’ Costs are Reasonable ................................................................................. 568
                 3.      Claimants’ Comments on Respondent’s Submission on Costs.................................... 570
        C.      RESPONDENT’S POSITION ...................................................................................................... 571
                 1.      Equal Apportionment is an Appropriate Exercise of the Tribunal’s Discretion on
                          Costs............................................................................................................................. 571
                 2.      Schedule of “Types of Costs” Incurred by Respondent ............................................... 572
                 3.      Respondent’s Comments on Claimants’ Submission on Costs.................................... 573
        D.      TRIBUNAL’S DECISION ON COSTS.......................................................................................... 574
                 1.      Fixing and Allocation of Costs of the Arbitration Pursuant to Article 40(1) of the
                          UNCITRAL Rules ....................................................................................................... 574
                 2.      Fixing and Allocation of Costs for Legal Representation and Assistance of the
                          Parties Pursuant to Article 40(2) of the UNCITRAL Rules ........................................ 575
                 3.      Conclusion on the Award of Costs .............................................................................. 576
XIV. DECISION ...................................................................................................................................... 578
ANNEXES ................................................................................................................................................ A-1
        A.      ANNEX A1: APPENDIX 1.1, APPENDIX J.1 AND APPENDIX J.2 TO SECOND DOW REPORT
                 (MODIFIED AS DESCRIBED IN NOTE 2401 OF THE AWARD) .................................................... A-1
                          (a)     Appendix 1.1 ...................................................................................................... A-1
                          (b)     Appendix J.1 New .............................................................................................. A-2
                          (c)     Appendix J.2 New .............................................................................................. A-3



                                                                        - xi -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 15 of 617




  B.   ANNEX A2: YUKOS COMPANY STRUCTURE (EXTRACT FROM EXH. R-3165, REFERRED TO
        IN NOTE 2413 OF THE AWARD) .............................................................................................. A-5

  C.   TABLES T1–T9 SHOWING THE TRIBUNAL’S DAMAGES CALCULATIONS .............................. A-6
        1.     Table T1: Calculation of Total Damages of Claimants as of 19 December 2004
                (Date of Expropriation) vs. 30 June 2014 (Date of Award for Valuation
                Purposes) ...................................................................................................................... A-6
        2.     Table T2: Equity Value of Yukos Based on Adjustments Made by Professor
                Dow to Mr. Kaczmarek’s Comparable Companies Calculations and the
                Evolution of the RTS Oil & Gas Index ........................................................................ A-7
        3.     Table T3: Calculation of Dividends and Interest up to Valuation Date for
                Valuation as of 30 June 2014 ....................................................................................... A-8
        4.     Table T4: FCFtE for Years 2012–2014 (Based on Mr. Kaczmarek’s Figures) ......... A-9
        5.     Table T5: Total Adjustment of Free Cash Flow to the Firm (Required to Obtain
                FCFtE value for Years 2012–2014 for Mr. Kaczmarek) ........................................... A-10
        6.     Table T6: Change in Net Debt for Years 2012–2014 ............................................... A-11
        7.     Table T7: Interest Factors Based on Annual Rate of 3.389 percent (see Table
                T9) .............................................................................................................................. A-12
        8.     Table T8: RTS Oil and Gas Index Values from 1 January to 24 June 2014 ............. A-13
        9.     Table T9: 10-Year U.S. Sovereign Bond Rate 2005–2014 ....................................... A-16




                                                              - xii -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 16 of 617




                           LIST OF DEFINED TERMS

Term                    Definition

2000 Audit Report       Field Tax Audit Report No. 08-1/1, dated 29 December 2003, finding
                        that Yukos operated a tax evasion scheme

2000 Decision           Decision No. 14-3-05/1609-1, dated 14 April 2004, holding Yukos
                        liable for a tax offense and reassessing approximately USD 3.48
                        billion in taxes against Yukos for the year 2000

2001 Decision           Decision No. 30-3-15/3, dated 2 September 2004, holding Yukos
                        liable for a tax offense and reassessing approximately USD 4.1
                        billion in taxes against Yukos for the year 2001

2002 Decision           Decision No. 52/896, dated 16 November 2004, holding Yukos liable
                        for a tax offense and reassessing approximately USD 6.7 billion in
                        taxes against Yukos for the year 2002

2003 Decision           Decision No. 52/985, dated 6 December 2004, holding Yukos liable
                        for a tax offense and reassessing approximately USD 6 billion in
                        taxes against Yukos for the year 2003

2003 Interim Dividend   Yukos’ declaration of a USD 2 billion interim dividend in November
                        2003

2004 Decision           Decision No. 52/292, dated 17 March 2006, holding Yukos liable for
                        a tax offense and reassessing approximately USD 3.9 billion in taxes
                        against Yukos for the year 2004

ADR                     American Depositary Receipt

A Loan                  USD 1 billion loan entered into on 24 September 2003 by Yukos
                        from the Western Banks and secured by certain of Yukos’ oil export
                        contracts and by YNG

April 2004 Injunction   Ruling by the Moscow Arbitrazh Court dated 15 April 2004
                        prohibiting Yukos from alienating and encumbering its assets

Baikal                  Baikal Finance Group, the entity which purchased YNG at auction
                        and which was bought by Rosneft

BBS Companies           Behles Petroleum S.A., Baltic Petroleum Trading Limited and South
                        Petroleum Limited

B Loan                  USD 1.6 billion loan entered into on 30 September 2003 by Yukos
                        from Société Générale S.A. and fully collateralized in cash by GML




                                       - xiii -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 17 of 617




Term                        Definition

Chrétien letters            Letters from Jean Chrétien to Prime Minister Fradkov, dated 6 and 15
                            July 2004, and to President Putin, dated 30 July 2004, 10 September
                            2004 and 17 November 2004

Claimants                   Hulley, VPL, and YUL

Claimants’ Post-Hearing     Claimants’ Post-Hearing Brief, dated 21 December 2012
Brief

Claimants’ Skeleton         Claimants’ Skeleton Argument, dated 1 October 2012

Confidential Sale           Confidential sale agreement between the Western Banks and Rosneft
Agreement                   dated 13 December 2005

Counter-Memorial            Respondent’s Counter-Memorial on the Merits, dated 4 April 2011,
                            as corrected 29 July 2011

Cyprus-Russia DTA           Agreement Between the Government of the Republic of Cyprus and
                            the Government of the Russian Federation for the Avoidance of
                            Double Taxation with Respect to Taxes on Income and on Capital,
                            signed on 5 December 1998

DCF                         Discounted Cash Flow

Dresdner                    ZAO Dresdner Bank

Dresdner Summary Letter     Dresdner Summary Valuation Opinion Letter dated 6 October 2004

Dresdner Valuation Report   Dresdner Valuation Report of YNG dated 6 October 2004

EBITDA                      Earnings before Interest, Taxes, Depreciation and Amortization

ECHR                        European Convention on Human Rights

ECT (or Treaty)             Energy Charter Treaty, 2080 UNTS 95, signed on 17 December 1994

ECtHR                       European Court of Human Rights

ECtHR Yukos Judgment        OAO Neftyanaya Kompaniya Yukos v. Russia, ECtHR, Appl. No.
                            14902/04, Judgment, 20 September 2011

EGM                         Extraordinary General Meeting

English Judgment            BNP Paribas S.A. v. Yukos Oil Company, High Court of England
                            and Wales, Case No. HC 05 C0 12 19, [2005] EWHC 1321 (Ch),
                            Judgment, 24 June 2005

GML                         GML Limited (formerly named Group Menatep Limited), a company
                            incorporated in Gibraltar and parent company of YUL




                                           - xiv -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 18 of 617




Term                         Definition

Final Awards                 Final Awards in these three arbitrations (PCA Case Nos. AA226
                             (Hulley), AA227 (YUL) and AA228 (VPL)) (including the present
                             Award)

Hearing on the Merits (or    Hearing on the merits held at the Peace Palace in The Hague from
Hearing)                     10 October to 9 November 2012

Hulley                       Hulley Enterprises Limited, a company organized under the laws of
                             Cyprus and Claimant in PCA Case No. AA226, owned by YUL

ICJ                          International Court of Justice

ILC                          International Law Commission of the United Nations

ILC Articles on State        ILC Draft Articles on Responsibility of States for Internationally
Responsibility               Wrongful Acts, 2001

Interim Awards               Interim Awards on Jurisdiction and Admissibility issued on
                             30 November 2009 in these three arbitrations (PCA Case Nos.
                             AA226 (Hulley), AA227 (YUL) and AA228 (VPL))

Law 9-Z                      Law of the Republic of Mordovia No. 9-Z, which is the framework
                             by which Mordovia offered tax benefits to corporate entities
                             operating in the region

Memorial                     Claimants’ Memorial on the Merits, dated 15 September 2010

Moravel                      Moravel Investments Limited

Notices of Arbitration and   Claimants’ Notices of Arbitration and Statements of Claim by Hulley
Statements of Claim          and YUL, dated 3 February 2005; and by VPL, dated 14 February
                             2005

NYSE                         New York Stock Exchange

Oligarchs                    Respondent’s style of reference to the individuals who have or had a
                             beneficial interest in the trusts behind Claimants, namely Messrs.
                             Khodorkovsky, Lebedev, Nevzlin, Dubov, Brudno, Shakhnovsky,
                             and Golubovitch

Parties                      Claimants and Respondent

PCA                          Permanent Court of Arbitration

PCIJ                         Permanent Court of International Justice

PwC                          PricewaterhouseCoopers, the former auditor of Yukos




                                             - xv -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 19 of 617




Term                        Definition

PwC’s Withdrawal Letter     Letter from PwC to the bankruptcy receiver, Mr. Eduard Rebgun,
                            dated 15 June 2007, by which PwC withdrew its Yukos audits

Quasar                      Quasar de Valores SICAV S.A. et al. v. The Russian Federation, SCC
                            Arbitration, Award, 20 July 2012

Rehabilitation Plan         Rehabilitation plan the in context of bankruptcy proceedings
                            proposed by Yukos’ management and approved by a majority vote
                            during an EGM on 1 June 2006

Rejoinder                   Respondent’s Rejoinder on the Merits, dated 16 August 2012

Reply                       Claimants’ Reply on the Merits, dated 15 March 2012

Resolution No. 53           Resolution of the Plenum of the Supreme Arbitrazh Court No. 53,
                            dated 12 October 2006

Respondent                  The Russian Federation or Russia

Respondent’s Post-Hearing   Respondent’s Post-Hearing Brief, dated 21 December 2012
Brief

Respondent’s Skeleton       Respondent’s Skeleton Argument, dated 1 October 2012

RosInvestCo                 RosInvestCo UK Ltd. v. The Russian Federation, SCC Arbitration V
                            (079/2005), Final Award, 12 September 2010

Rosneft                     Russian State-owned entity that bought Baikal

Russian Civil Code          Civil Code of the Russian Federation

Russian Constitution        Constitution of the Russian Federation

Russian Tax Code            Tax Code of the Russian Federation

Share Exchange Agreement    Agreement pursuant to which Yukos would acquire 72 percent (plus
                            one share) of Sibneft shares from Sibneft’s principal shareholders in
                            exchange for 26.01 percent of the fully diluted share capital of Yukos

Share Purchase Agreement    Agreement pursuant to which Yukos would acquire 20 percent
                            (minus one share) of Sibneft shares from Sibneft’s principal
                            shareholders for a cash consideration of USD 3 billion

Sibneft                     Russia’s fifth largest oil company in 2003 when it agreed to a merger
                            with Yukos

Stichting 1                 Stichting Administratiekantoor Yukos International




                                           - xvi -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 20 of 617




Term                      Definition

Stichting 2               Stichting Administratiekantoor Small World Telecommunication
                          Holdings B.V.

Stichtings                Stichting 1 and Stichting 2

TRO                       Temporary Restraining Order

UNCITRAL Rules            Arbitration Rules of the United Nations Commission on International
                          Trade Law, 1976

U.S. GAAP                 United States’ Generally Accepted Accounting Principles

VAT Law                   Law of the Russian Federation governing Value Added Tax

VCLT                      Vienna Convention on the Law of Treaties, 1155 UNTS 331, signed
                          on 23 May 1969

VPL                       Veteran Petroleum Limited, a company organized under the laws of
                          Cyprus and Claimant in PCA Case No. AA 228

Western Banks             Syndicate of Western banks led by Société Générale S.A. and
                          including BNP Paribas S.A., Citibank N.A., Commerzbank
                          Akziengesellschaft, Calyon S.A., Deutsche Bank A.G., Hillside Apex
                          Fund Limited, ING Bank N.V., KBC Bank N.V., Stark Trading,
                          Shepherd Investments International Limited, Thames River
                          Traditional Funds PLC (High Income Fund), UFJ (Holland) N.V. and
                          V.R. Global Partners L.P.

YNG                       Yuganskneftegaz, Yukos’ core production subsidiary

Yukos (or OAO Yukos Oil   OAO Yukos Oil Company, a joint stock company incorporated in
Company)                  Russia in 1993

Yukos CIS                 Yukos CIS Investment Limited

Yukos Finance             Yukos Finance B.V.

Yukos International       Yukos International U.K. B.V.

YUL                       Yukos Universal Limited, a company organized under the laws of the
                          Isle of Man and Claimant in PCA No. AA 227, shareholder of Yukos

ZATO                      Zakrytoe Administrativno-Territorial’noe Obrazovaniye, or Closed
                          Administrative Territorial Unit.




                                         - xvii -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 21 of 617




INTRODUCTION

1.     In February 2005, three controlling shareholders of OAO Yukos Oil Company (or
       “Yukos”)—Hulley Enterprises Limited (“Hulley”), a company organized under the laws of
       Cyprus, Yukos Universal Limited (“YUL”), a company organized under the laws of the Isle of
       Man, and Veteran Petroleum Limited (“VPL”), a company organized under the laws of Cyprus
       (collectively,     “Claimants”)—initiated          arbitrations     against     the   Russian   Federation
       (“Respondent” or “Russia”), which together with Claimants constitute the “Parties.”

2.     The three arbitrations were heard in parallel with the full participation of the Parties at all
       relevant stages of the proceedings. Mindful of the fact that each of the three Claimants
       maintains separate claims in separate arbitrations that require separate awards (the “Final
       Awards”), the Tribunal nevertheless shall discuss these arbitrations as a single set of
       proceedings, except where circumstances distinct to particular Claimants necessitate separate
       treatment.

3.     The Final Awards address: (a) those of Respondent’s objections to jurisdiction and admissibility
       that remain to be decided after the Interim Awards on Jurisdiction and Admissibility of
       30 November 2009 (the “Interim Awards”);1 (b) Claimants’ claims on the merits; and
       (c) quantum.

4.     By any standard, and as will be seen, these have been mammoth arbitrations. At the highest,
       Claimants are claiming damages from Respondent of “no less than US$ 114.174 billion.”2
       Since February 2005, the Tribunal has held five procedural hearings with the Parties and issued
       18 procedural orders. In the fall of 2008, the Tribunal held a ten-day hearing on jurisdiction
       and admissibility in The Hague and, in November 2009, issued three Interim Awards, each over
       200 pages. A twenty-one day Hearing on the Merits (or “Hearing”) took place in The Hague
       from 10 October to 9 November 2012. The written submissions of the Parties span more than
       4,000 pages and the transcripts of the hearings more than 2,700 pages. Over 8,800 exhibits
       have been filed with the Tribunal.


1
      Hulley Enterprises Limited v. The Russian Federation, PCA Case No. 226, Interim Award on Jurisdiction and
      Admissibility, 30 November 2009 (hereinafter “Interim Award (Hulley)”); Yukos Universal Limited v. The Russian
      Federation, PCA Case No. 226, Interim Award on Jurisdiction and Admissibility, 30 November 2009 (hereinafter
      “Interim Award (YUL)”); Veteran Petroleum Limited v. The Russian Federation, PCA Case No. 226, Interim Award
      on Jurisdiction and Admissibility, 30 November 2009 (hereinafter “Interim Award (VPL)”).
2
      Claimants’ Reply on the Merits, 15 March 2012 ¶ 1199(3) (hereinafter “Reply”).




                                                         -1-
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 22 of 617




5.     The facts of this dispute have been the subject of attention in the media for more than a decade,
       involving as they do, as central actors, Mr. Vladimir Putin, the President of the Russian
       Federation, and a Russian “oligarch”, Mr. Mikhail Khodorkovsky, who, at the outset of the
       dispute, was the principal shareholder and Chief Executive Officer of Yukos, then the largest
       oil company in Russia and one of the largest oil companies in the world.

6.     Throughout this lengthy and heavily contested arbitration, in circumstances that were often
       trying and stressful, counsel for the Parties acted in a highly professional way. The Tribunal is
       most grateful for their assistance. The Tribunal particularly acknowledges the grace and acuity
       of the participation of Mr. Robert Greig, who was forced by ill health to retire in the midst of
       the proceedings.

7.     Having studied carefully the voluminous record of these three arbitrations, and having weighed
       the arguments of the counsel who have so ably represented the Parties, the Tribunal is now
       ready to deliver its Final Awards.


I.     PROCEDURAL HISTORY

8.     The Interim Awards recount in detail the procedural history of the arbitrations from their
       commencement up until the date those Awards were issued. The Tribunal has also issued
       18 procedural orders, each of which contains a relevant procedural history. In this Part of the
       Final Award, the Tribunal recalls only the key procedural details from the early phase of the
       proceedings and summarizes developments since November 2009.


A.     COMMENCEMENT OF THE ARBITRATION

9.     On 2 November 2004, all three Claimants delivered to the President of Russia notifications of
       claim with respect to Russia’s alleged violation of its obligations under the Energy Charter
       Treaty (“ECT” or “Treaty”) and sought to settle the disputes amicably pursuant to
       Article 26(1) of the ECT.3

10.    Having failed to settle their disputes amicably within the three-month period prescribed under
       Article 26(2) of the ECT, on 3 February 2005, Hulley and YUL initiated arbitration
       proceedings through Notices of Arbitration and Statements of Claim against Respondent.

3
      Energy Charter Treaty, Lisbon, 17 December 1994, 2080 UNTS 95 (hereinafter “ECT” or “Treaty”).




                                                        -2-
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 23 of 617




       Subsequently, through a Notice of Arbitration and Statement of Claim dated 14 February 2005,
       VPL initiated arbitration proceedings against Respondent. Claimants’ requests for arbitration
       against Respondent were made pursuant to Article 26(4)(b) of the ECT and the Arbitration
       Rules of the United Nations Commission on International Trade Law, 1976 (“UNCITRAL
       Rules”).

11.    Claimants alleged that Respondent had expropriated and failed to protect Claimants’
       investments in Yukos, resulting in “enormous losses,” and sought all available relief in respect
       of those losses.


B.     CONSTITUTION OF THE TRIBUNAL

12.    The history of the constitution of the Tribunal is recounted in detail in the Interim Awards. The
       Tribunal is composed of Judge Stephen M. Schwebel (appointed by Respondent on 8 April
       2005), Dr. Charles Poncet (appointed as a replacement arbitrator by Claimants on 24 September
       2007) and The Hon. L. Yves Fortier PC CC OQ QC (appointed as Chairman on 21 July 2005
       by the agreed appointing authority, the Secretary-General of the Permanent Court of Arbitration
       (“PCA”)).

13.    On 1 August 2005, the Parties agreed on The Hague as the legal seat of the arbitrations.

14.    On 15 October 2005, Respondent submitted its Statements of Defense, in which it objected to
       the Tribunal’s jurisdiction and denied Claimants’ allegations of expropriation and unfair and
       inequitable treatment.

15.    On 31 October 2005, a preliminary procedural hearing was held in The Hague, at which the
       Parties and members of the Tribunal signed Terms of Appointment confirming, inter alia, that:
       (a) the members of the Tribunal had been validly appointed in accordance with the ECT and the
       UNCITRAL Rules; (b) the proceedings would be conducted in accordance with the
       UNCITRAL Rules; (c) the International Bureau of the PCA would act as registry; (d) the
       dispute would be decided in accordance with the ECT and applicable rules and principles of
       international law; (e) the language of the arbitration would be English; and (f) all pleadings,
       documents, testimonial evidence, deliberations and actions taken by the Tribunal would remain
       confidential in perpetuity, unless the Parties were to release the arbitrators from this obligation.
       The Tribunal also set a procedural calendar and determined that it would rule on Respondent’s




                                                   -3-
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 24 of 617




       plea concerning jurisdiction and the admissibility of the claim as a preliminary question. The
       calendar was confirmed in Procedural Order No. 1 on 8 November 2005.


C.     PRELIMINARY PHASE ON JURISDICTION AND ADMISSIBILITY

16.    Respondent filed its First Memorials on Jurisdiction and Admissibility on 28 February 2006
       and Claimants filed their Counter-Memorials on Jurisdiction and Admissibility on 30 June
       2006.

17.    On 8 September 2006, the Tribunal issued Procedural Order No. 2 dealing with document
       production. The Tribunal invited the Parties to agree on whether requests relating to the
       Parties’ respective “unclean hands” contentions and Respondent’s contention that the corporate
       personality of Claimants “must be disregarded” because they are “an instrumentality of a
       criminal enterprise” should be considered during the jurisdiction and admissibility phase or
       deferred to the merits phase.

18.    On 31 October 2006, the Tribunal issued Procedural Order No. 3, in which it deferred
       consideration of the Parties’ contentions concerning “unclean hands” and Respondent’s
       “criminal enterprise” contention to the merits phase.              On 3 November 2006, Claimants
       submitted a stipulation of facts, and on 8 November 2006, Respondent submitted its
       observations on the stipulation.

19.    Between November 2006 and November 2008, the Tribunal issued six further procedural
       orders relating to the conduct of the jurisdiction and admissibility phase of the arbitrations.
       During this period the Parties exchanged two rounds of written submissions on jurisdiction and
       admissibility, as well as Skeleton Arguments for the hearing. As noted in the Interim Awards,
       the written record in the jurisdictional phase contained detailed and extensive filings of
       hundreds of pages, accompanied by over a thousand exhibits and dozens of witness statements.

20.    The hearing on jurisdiction and admissibility was conducted at the Peace Palace in
       The Hague, from 17 to 21 November, 26 to 29 November and 1 December 2008.

21.    On 30 November 2009, the Tribunal rendered the Interim Awards, stating in operative part:

               For the reasons set forth above, the Tribunal:
                      (a)    DISMISSES the objections to jurisdiction and/or admissibility based on
                             Article 1(6) and 1(7), Article 17, Article 26(3)(b)(i) and Article 45 of the
                             ECT;



                                                       -4-
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 25 of 617




                   (b)    DEFERS its decision on the objection to jurisdiction and/or admissibility
                          based on Article 21 of the ECT to the merits phase of the arbitration,
                          consistent with [paragraph numbers], above;
                   (c)    CONFIRMS that its decision on the objections to jurisdiction and/or
                          admissibility involving the Parties’ contentions concerning “unclean hands”
                          and Respondent’s contention that “Claimant’s personality must be
                          disregarded because it is an instrumentality of a criminal enterprise” is
                          deferred to the merits phase of the arbitration, consistent with Procedural
                          Order No. 3;
                   (d)    HOLDS that, subject to the preceding two sub-paragraphs, the present
                          dispute is admissible and within its jurisdiction, and that the Tribunal has
                          jurisdiction over the Russian Federation in connection with the merits of the
                          present dispute;
                   (e)    RESERVES all questions concerning costs, fees and expenses, including the
                          Parties’ costs of legal representation, for subsequent determination; and
                   (f)    INVITES the Parties to confer regarding the procedural calendar for the
                          merits phase of the arbitration, and to report to the Tribunal in this respect
                          within 60 days of receipt of this Interim Award.

22.    On 4 February 2010, Respondent wrote to the Tribunal “to protest Claimants’ counsel’s
       publication of the [Interim Awards] in violation of applicable obligations,” noting that the
       Interim Awards had appeared on various websites.


D.     BIFURCATION AND OTHER SCHEDULING MATTERS

23.    On 24 February 2010, the Parties informed the Tribunal that they disagreed as to whether or not
       to bifurcate the proceedings between a liability and a damages phase, and as to the sequence
       and timing of document production. Following an exchange of submissions on these issues, a
       hearing was held at the International Dispute Resolution Centre in London on 7 May 2010.

24.    The Tribunal issued Procedural Order No. 10 on 13 May 2010, in which it: (a) decided that
       documentary discovery would take place in a single phase, after the Parties’ first round of
       written pleadings on the merits; (b) deferred the decision on bifurcation of the proceedings
       between a liability and a quantum phase and on the issue of referral arising under Article 21 of
       the ECT until after the Parties’ first round of written pleadings on the merits; and (c) fixed a
       procedural calendar. The Tribunal specified that the Parties’ first round of written pleadings on
       the merits was to address all issues, including the deferred preliminary questions, liability,
       quantum and the issue of referral under Article 21 of the ECT. With respect to documentary
       discovery, the Tribunal confirmed that some of its earlier rulings on requests relating to
       “unclean hands” and “criminal enterprise” in the jurisdiction and admissibility phase had been
       without prejudice to the Parties’ ability to restate one or more of these requests in the merits



                                                   -5-
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 26 of 617




       phase. The Parties also agreed for each filing that they would submit one brief and one set of
       exhibits for all three cases.

25.    In accordance with Procedural Order No. 10 (as amended by the Tribunal on 23 June 2010),
       Claimants filed their Memorial on the Merits (“Memorial”) on 16 September 2010. It spanned
       424 pages and was accompanied by 1045 exhibits, nine witness statements and two expert
       reports (with annexures).       On 17 November 2010, further to a request by Respondent,
       Claimants provided an electronic copy of the appendices to the report of Claimants’ damages
       expert.

26.    On 4 November 2010, Respondent informed the Tribunal that Baker Botts LLP was joining
       Cleary Gottlieb Steen & Hamilton LLP as Respondent’s counsel in these arbitrations.

27.    Respondent filed its Counter-Memorial on the Merits (“Counter-Memorial”) on 4 April 2011
       and submitted a corrected version on 29 July 2011. The Counter-Memorial spanned 787 pages
       and was accompanied by 2868 exhibits and eight expert reports (some with annexures).

28.    On 29 April 2011, the Parties filed their respective submissions on the bifurcation of the
       proceedings and the issue of referral arising under Article 21 of the ECT. A hearing on these
       matters was held at the Church House Conference Centre in London on 9 May 2011.

29.    On 31 May 2011, the Tribunal issued Procedural Order No. 11, in which it: (a) denied
       Respondent’s request that the proceedings be bifurcated between a liability and a damages
       phase; (b) reserved its decision on referral under Article 21(5)(b)(i) of the ECT to a later stage
       of the proceedings, when the evidentiary record would be completed; and (c) ordered the
       Parties to proceed in accordance with the amended procedural calendar.


E.     DOCUMENT PRODUCTION AND CONFIDENTIALITY

30.    The Parties exchanged requests for documents on 17 June 2011 and the following month
       exchanged objections and comments on objections to the document requests. Respondent also
       requested an oral hearing on disclosure issues and repeated a request for more time to file its
       Rejoinder.

31.    On 11 August 2011, the Tribunal ruled on certain procedural aspects of document production
       and the timing of submissions, and informed the Parties that it “considered then, as it does




                                                  -6-
    Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 27 of 617




       today, that the Amended Procedural Calendar is in compliance with the requirement of due
       process and equality between the parties taking into account all the circumstances.”

32.    On 16 September 2011, the Tribunal issued Procedural Order No. 12, in which it ruled on the
       Parties’ document requests (with some rulings being “without prejudice” to a further decision
       after the reply rounds of written submissions).

33.    By letter of 23 September 2011, Respondent informed the Tribunal that the European Court of
       Human Rights (“ECtHR”) had, on 20 September 2011, issued a judgment in OAO Neftyanaya
       Kompaniya Yukos v. Russia (“ECtHR Yukos Judgment”),4 which addressed the “same
       circumstances” on which Claimants’ claims in these arbitrations are based.

34.    On 16 December 2011, Claimants produced documents pursuant to Procedural Order No. 12.
       Respondent did not produce documents, but wrote to the Tribunal, expressing concern that
       Claimants had provided no assurance that documents collected for disclosure would be kept
       confidential and used only for the purposes of these arbitrations. Respondent requested the
       Tribunal to issue a directive “requiring the Parties to protect the confidentiality of all
       documents disclosed by the other, using them solely for purposes of these arbitrations.”
       Claimants objected to Respondent’s “eleventh hour” request for a confidentiality order.

35.    On 19 December 2011, the Tribunal ordered Respondent to provide by the end of that day
       documents to Claimants that had been ordered to be produced in Procedural Order No. 12,
       requested written submissions on confidentiality and directed that until it decided the
       confidentiality issue, the documents produced by both Parties were to remain confidential and
       be used solely for purposes of these arbitrations.       Pursuant to the Tribunal’s directive,
       Respondent produced documents on 19 December 2011.

36.    On 18 January and 2 February 2012, the Parties exchanged submissions on the scope of
       confidentiality of the documents produced. From January to May 2012, the Parties exchanged
       extensive correspondence concerning compliance with Procedural Order No.12.

37.    On 27 February 2012, the Tribunal issued Procedural Order No. 13, in which it: (a) ordered
       that all documents produced by a Party to the other Party and the Tribunal following an order of
       the Tribunal “be and remain confidential in perpetuity” and “be used solely for the purpose of

4
      OAO Neftyanaya Kompaniya Yukos v. Russia, ECtHR, Appl. No. 14902/04, Judgment, 20 September 2011,
      Exh. R-3328, (hereinafter “ECtHR Yukos Judgment”).




                                                  -7-
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 28 of 617




       the pursuit or defense of these arbitrations and not for any other purpose;” (b) listed the persons
       involved in these arbitrations to whom these documents could be disclosed; and (c) invited the
       Parties to refrain from discussing these arbitrations in public in order not to exacerbate their
       dispute or otherwise compromise the integrity of these arbitration proceedings.

38.    Claimants filed their Reply on the Merits (“Reply”) on 15 March 2012. It spanned 474 pages
       and was accompanied by a further 629 exhibits and two expert reports (with annexures).

39.    On 30 April 2012, the Tribunal issued Procedural Order No. 14, granting some of
       Respondent’s document production requests which had earlier been denied “without prejudice”
       in Procedural Order No. 12. Claimants produced documents pursuant to Procedural Order No. 14
       on 29 May 2012. On 29 June 2012, Respondent produced additional documents “in accordance
       with the parties’ continuing obligation to disclose requested documents as they are discovered”
       under Procedural Order No. 12. Throughout June and July 2012, the Parties exchanged extensive
       correspondence as to whether that was in violation of Procedural Order No. 12.

40.    On 16 August 2012, Respondent filed its Rejoinder on the Merits (“Rejoinder”). It spanned
       819 pages and was accompanied by 1739 exhibits and seven expert reports (with annexures).


F.     HEARING ON THE MERITS

41.    On 28 August 2012, a pre-hearing telephone conference took place during which the Parties
       agreed on a number of issues, but disagreed on others. For example, Respondent requested that
       the Tribunal set a deadline for the exchange between the Parties of witness “impeachment”
       evidence prior to the Hearing on the Merits, while Claimants raised several “due process”
       issues and requested permission to file written submissions in support of their requests. The
       Parties then exchanged written comments on these issues.

42.    By exchange of letters dated 10 September 2012, Claimants provided the names and order of
       three Respondent witnesses they wished to cross-examine and Respondent advised the names
       and order of ten of Claimants’ witnesses whom it wished to cross-examine.

43.    On 12 September 2012, the Tribunal issued Procedural Order No. 15 dealing with logistical
       and procedural issues for the Hearing on the Merits.

44.    On 14 September 2012, the Tribunal issued Procedural Order No. 16, in which it determined
       the outstanding procedural issues for the Hearing on the Merits, inter alia (a) denying



                                                   -8-
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 29 of 617




      Respondent’s requests relating to the exchange of “impeachment” evidence (noting that “in
      international arbitration practice, documents used at an evidentiary hearing should generally be
      submitted with the Parties’ written pleadings, in accordance with the established procedural
      calendar”); and (b) granting Claimants permission to file certain documents that would
      “complete the record” in relation to selected exhibits that Respondent had included in its
      Rejoinder.

45.   Claimants filed additional exhibits on 20 September 2012. On 25 September 2012, Respondent
      objected to certain of these exhibits on the grounds that they exceeded the scope of Procedural
      Orders No. 15 and 16. Following an exchange of views by the Parties, the Tribunal ruled on
      Respondent’s objection in Procedural Order No. 17 dated 2 October 2012.

46.   On 1 October 2012, the Parties submitted their respective Skeleton Arguments in aid of the
      oral arguments to be presented at the Hearing on the Merits.

47.   On 4 October 2012, Respondent advised that it no longer intended to cross-examine one of
      Claimants’ tax law experts, Mr. Philip Baker QC. The same day Claimants withdrew the
      witness statement of former Russian Prime Minister, Mr. Mikhail Kasyanov, which had been
      submitted with the Memorial, on the ground that Mr. Kasyanov had informed Claimants’
      counsel that “he will not appear at the hearing in these arbitrations.”

48.   On 8 October 2012, Claimants advised that they no longer intended to cross-examine one of
      Respondent’s tax law experts, Professor Rosenbloom.

49.   The Hearing on the Merits took place at the Peace Palace, The Hague from 10 October to
      9 November 2012. Over the course of the Hearing, the following were in attendance:

             Tribunal
             The Hon. L. Yves Fortier PC CC OQ QC
             Dr. Charles Poncet
             Judge Stephen M. Schwebel

             Claimants                                       Respondent
             Counsel                                         Counsel
             Professor Emmanuel Gaillard                     Dr. Claudia Annacker
             Dr. Yas Banifatemi                              Mr. Lawrence Friedman
             Mr. Philippe Pinsolle                           Mr. David Sabel
             Ms. Jennifer Younan                             Mr. Matthew Slater
             Dr. Paschalis Paschalidis                       Mr. William McGurn
             Mr. Ilija Mitrev Penusliski                     Mr. Jay Alexander
             Ms. Kamalia Mehtiyeva                           Mr. Samuel Cooper
             Mr. Gueorgui Babitchev                          Mr. Michael Goldberg
             Mr. Emmanuel Jacomy                             Mr. Cameron Murphy


                                                  -9-
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 30 of 617




            Mr. Scott Vesel                                    Ms. Laurie Achtouk-Spivak
            Ms. Ximena Herrera-Bernal                          Ms. Marina Akchurina
            Ms. Elise Edson                                    Mr. Yury Babichev
            Ms. Ketevan Betaneli                               Mr. Nowell Bamberger
            Ms. Coralie Darrigade                              Mr. Adam Bryan
            Mr. Thomas Voisin                                  Ms. Chiara Capalti
            Mr. Dimitrios Katsikis                             Ms. Ania Farren
            Mr. Benjamin Siino                                 Ms. Giulia Gosi
            Mr. Jean-Marc Elsholz                              Mr. Michael Jacobsohn
            Ms. Gracia Angulo Duncan
                                                               Mr. Magnus Jones
            Mr. Benoit Arnauld
                                                               Mr. Lorenzo Melchionda
            Ms. Nanou Leleu-Knobil
                                                               Mr. Milo Molfa
            Party Representatives                              Ms. Sara Nadeau-Seguin
            Mr. Tim Osborne                                    Ms. Daria Pavelieva
            Mr. Christopher Cook                               Mr. Jacopo Roberti di Sarsina
            Mr. Rodney Hodges                                  Ms. Teale Toweill
                                                               Ms. Marina Weiss
            Claimants’ Witnesses                               Mr. Larry Work-Dembowski
            Fact Witnesses
            Mr. Vladimir Dubov                                 Party Representatives
            Dr. Andrei Illarionov                              Mr. Konstantin Vyshkovskiy
            Mr. Jacques Kosciusko-Morizet                      Ms. Maria Maslyakova
            Mr. Bruce Misamore
            Mr. Leonid Nevzlin                                Respondent’s Witnesses
            Mr. Frank Rieger                                  Experts
            Mr. Steven Theede                                 Professor James Dow
                                                              Mr. Oleg Y. Konnov
            Expert
            Mr. Brent Kaczmarek

            Assistant to the Tribunal
            Mr. Martin Valasek

            Permanent Court of Arbitration
            Mr. Brooks W. Daly, Secretary to the Tribunal
            Ms. Judith Levine, Assistant Secretary to the Tribunal
            Ms. Olga Boltenko
            Ms. Evgeniya Goriatcheva
            Ms. Hinda Rabkin
            Ms. Elsa Sardinha

            Interpreters
            Mr. Yuri Somov
            Mr. Ilya Feliciano

            Court Reporter
            Mr. Trevor McGowan

50.   On behalf of Claimants, oral arguments were presented by Dr. Yas Banifatemi, Professor
      Emmanuel Gaillard, Mr. Philippe Pinsolle and Ms. Jennifer Younan. On behalf of Respondent,
      oral arguments were presented by Dr. Claudia Annacker, Mr. Lawrence Friedman, Mr. David
      Sabel and Mr. Matthew Slater.




                                                  - 10 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 31 of 617




51.    During the Hearing, on 14 October 2012, the Parties filed brief written submissions on a
       document production request made by Respondent in follow up to Procedural Order No. 14. On
       15 October 2012, the Tribunal ruled that the time for document production requests had passed,
       and noted that Respondent was free to ask the Tribunal to draw adverse inferences from any
       alleged non-compliance by Claimants with the Tribunal’s document production orders.


G.     POST-HEARING PROCEDURES

52.    At the close of the Hearing on 9 November 2012, the Tribunal directed the Parties to submit
       Post-Hearing Briefs of no more than 100 pages by 21 December 2012. On 13 November 2012,
       the Tribunal confirmed that the Post-Hearing Briefs were to be prepared on the basis of a closed
       evidentiary record as at 9 November 2012.

53.    During November 2012, the Parties provided electronic copies of all additional materials relied
       upon during the Hearing, demonstrative exhibits and slides from arguments.                      They also
       submitted agreed and contested corrections to the transcript to the court reporter, who in turn
       circulated amended transcripts on 11 December 2012.

54.    On 21 December 2012, the Parties filed their Post-Hearing Briefs spanning 100 pages each.

55.    On 1 August 2013, the Tribunal invited the Parties to comment on a judgment issued on
       25 July 2013 by the ECtHR.5

56.    On 30 August 2013, the Parties submitted their comments on the ECtHR judgment.

57.    On 26 September 2013, Respondent drew the Tribunal’s attention to developments in two other
       international arbitrations against the Russian Federation connected with Yukos. Claimants
       submitted comments in response on 8 October 2013.

58.    On 10 January 2014, the Tribunal sent a letter to the Parties noting that Mr. Mikhail
       Khodorkovsky, former CEO of Yukos, had been pardoned and released from prison, and
       inviting the Parties to submit their observations on the impact, if any, of these developments on
       the present arbitral proceedings.         The Parties submitted their comments in response on
       24 January 2014, and further observations in reply on 4 February 2014.


5
      Khodorkovskiy (2) and Lebedev (2) v. Russia, ECtHR, Appl. Nos. 11082/06 and 13772/05, Judgment, 25 July 2013,
      (hereinafter “Khodorkovsky v. Russia 2”).




                                                      - 11 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 32 of 617




59.     The Parties filed their costs claims on 17 April 2014, and submitted comments on the opposing
        side’s costs claims on 6 May 2014.

60.     On 7 May 2014, the Tribunal formally declared the record in these arbitrations closed.

61.     On 9 June 2014, Respondent informed the Tribunal that it was prepared to agree that the Final
        Awards may be publicly disclosed under certain conditions. Respondent also requested that the
        Tribunal modify its Procedural Order No. 13 to lift confidentiality restrictions with respect to
        documents disclosed in the course of these proceedings, to allow them to be used in “related
        proceedings” recently commenced against the Russian Federation.           Claimants submitted
        comments in response on 16 June 2014, and Respondent further commented on 20 June 2014.

62.     On 27 June 2014, the Tribunal issued Procedural Order No. 18 in which it: (a) ordered that
        these Final Awards remain confidential for a period of ten calendar days following electronic
        dispatch to the Parties, after which period the PCA would post the Final Awards to its website
        and so notify the Parties and the Tribunal, whereupon all confidentiality obligations in respect
        of the Final Awards shall terminate; and (b) modified Procedural Order No. 13 to provide for
        limited disclosure of documents in related proceedings.


II.     FACTUAL BACKGROUND

63.     The disputes between the Parties to the present proceedings involve various measures taken by
        Respondent against Yukos and associated companies primarily in the period between July 2003
        and November 2007, when Yukos had emerged after the dissolution of the Soviet Union to
        become the largest oil company in the Russian Federation. The measures complained of
        include criminal prosecutions, harassment of Yukos, its employees and related persons and
        entities; massive tax reassessments, VAT charges, fines, asset freezes and other measures
        against Yukos to enforce the tax reassessments; the forced sale of Yukos’ core oil production
        asset; and other measures culminating in the bankruptcy of Yukos in August 2006, the
        subsequent sale of its remaining assets, and Yukos being struck off the register of companies in
        November 2007. Claimants contend, and Respondent denies, that Respondent failed to treat
        Claimants’ investments in Yukos in a fair and equitable manner and on a non-discriminatory
        basis, in breach of Article 10(1) of the ECT, and that Respondent expropriated Claimants’
        investments in breach of Article 13(1) of the ECT. Claimants seek full reparation in excess of
        USD 114 billion.




                                                  - 12 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 33 of 617




64.    The factual matrix of this case is complex.         A detailed exposition of the relevant facts,
       including specific references to the record, is set out for each part of the narrative in Part VIII
       (broken down into eight chapters, starting with Yukos’ tax optimization scheme and the
       Russian Federation’s tax assessments against Yukos and ending with the bankruptcy of Yukos
       and the withdrawal of audit opinions by PricewaterhouseCoopers (“PwC”)). It is also in
       Part VIII that the Tribunal makes determinations in respect of the many highly contested issues
       of fact and observations on the significance of various facts and findings. By contrast, the
       purpose of the introductory overview of the facts contained in this Part II of the Award is only
       to provide sufficient background for what follows.


A.     THE PARTIES TO THESE PROCEEDINGS

       1.    Claimants and Related Entities

65.    The three Claimants in these related cases are all part of the Yukos group of companies, which
       had at its center Yukos, headed by Chief Executive Officer Mr. Mikhail Khodorkovsky.

66.    Claimant in PCA Case No. AA 226, Hulley, was incorporated in the Republic of Cyprus on
       17 September 1997 and was a 100 percent owned subsidiary of YUL.

67.    Claimant in PCA Case No. AA 227, YUL, was incorporated on 24 September 1997 in the Isle
       of Man (a Dependency of the United Kingdom).

68.    Claimant in PCA Case No. AA 228, VPL, was incorporated in the Republic of Cyprus on
       7 February 2001.

69.    Hulley held approximately 56.3 percent, YUL held approximately 2.6 percent and VPL held
       approximately 11.6 percent of the outstanding shares in Yukos.            Collectively therefore,
       Claimants approximately had a 70.5 percent shareholding in Yukos.


       2.    Respondent

70.    Respondent in these three arbitrations is the Russian Federation.


B.     OAO YUKOS OIL COMPANY

71.    After the dissolution of the Soviet Union, Yukos was incorporated as a joint stock company in
       1993 by Presidential Decree. Fully privatized in 1995–1996, it was a vertically integrated


                                                  - 13 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 34 of 617




       group engaging in exploration, production, refining, marketing and distribution of crude oil,
       natural gas and petroleum products.          Its three main production subsidiaries were
       Yuganskneftegaz (“YNG”), Samaraneftegaz and, from 1997, Tomskneft.

72.    In May 2002, Yukos became the first Russian company to be ranked among the top ten largest
       oil and gas companies by market capitalization worldwide. In the fourth quarter of 2002,
       Claimants submit that Yukos became the largest oil company in Russia in terms of daily crude
       oil production.

73.    At its peak in 2003, it had around 100,000 employees, six main refineries and a market
       capitalization estimated at over USD 33 billion. According to Claimants, after its projected
       2003 merger with then Russia’s fifth largest oil company Sibneft (“Sibneft”), YukosSibneft
       would have become the fourth largest private oil producer worldwide, behind BP, Exxon and
       Shell. At the time of Respondent’s alleged adverse actions in the summer of 2003, Yukos was
       engaged in negotiations with ExxonMobil and ChevronTexaco for a merger or other form of
       business combination. Claimants contend that this level of success was the result of efforts to
       modernize Yukos’ operations and implement Western business practices.             According to
       Claimants, Yukos’ success and the increasing social and economic influence gained by its
       management—including financial support given by Mr. Khodorkovsky to opposition parties—
       were perceived as a political threat by the Russian authorities and accordingly Yukos would fall
       from grace and be targeted for destruction. Respondent, however, contends that Yukos was a
       “criminal enterprise”, engaged in a variety of tax evasion schemes and other fraudulent
       activities.


C.     THE RUSSIAN LOW-TAX REGION PROGRAM

74.    The low-tax region program was established in the 1990s to foster economic development in
       impoverished areas of the Russian Federation. The Russian low-tax regions were permitted to
       exempt taxpayers from federal corporate profit tax for the purpose of fostering taxpayers’
       investments in the low-tax regions, provided the taxpayer complied with certain requirements.

75.    The Russian low-tax regions that are relevant to Yukos’ “tax optimization” scheme include:

              x      Closed Administrative Territorial Units (known as “ZATOs”):          Lesnoy and
                     Trekhgorniy; and

              x      Other low-tax regions: Mordovia, Kalmykia and Evenkia.


                                                 - 14 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 35 of 617




76.   With respect to the tax benefits available in the ZATOs (Lesnoy and Trekhgorniy), in 1999, the
      ZATOs were permitted to exempt taxpayers fully from federal corporate profit tax. In 2000,
      most ZATOs were permitted to exempt taxpayers from the portion of the federal corporate
      profit tax that was payable to their budget (e.g., up to 19 percent). In 2001, all ZATOs were
      permitted to exempt taxpayers from the portion of the federal corporate profit tax that was
      payable to their budget (e.g., also up to 19 percent). In 2002, however, these exemptions were
      revoked.

77.   With respect to the tax benefits available in other low-tax regions, in 2000 and 2001, Mordovia,
      Kalmykia and Evenkia were permitted to exempt taxpayers fully from the portion of the federal
      corporate profit tax that was payable to their budget (e.g., from up to 19 percent to zero
      percent). From 1 July 2002 until 31 December 2003, low-tax regions were permitted to exempt
      taxpayers from the portion of the federal corporate profit tax payable to their budget, but only
      up to four percent. An exception existed for ‘grandfathered’ tax investment agreements entered
      into prior to 1 July 2001, such that these taxpayers could still receive a zero percent profit tax
      rate if they fulfilled certain other conditions. As of 1 January 2004, the existing tax investment
      agreements were terminated, but the Tax Code of the Russian Federation (the “Russian Tax
      Code”) still allowed low-tax regions to reduce the federal corporate profit tax payable to their
      budget up to four percent.

78.   Respondent contends that Yukos’ restructuring of its trading operations from high-tax
      jurisdictions, such as Moscow and Nefteyugansk, to trading companies incorporated in the low-
      tax jurisdictions of Lesnoy, Trekhgorny, Mordovia, Kalmykia and Evenkia was aimed at
      evading taxes, rather than to achieve any genuine economic result. Respondent alleges that
      Yukos interposed between Yukos and its customer its “sham” trading shells registered in
      Russian low-tax regions. Yukos’ oil producing subsidiaries sold the extracted oil to the trading
      companies at a fraction of the market price. The trading companies then sold the oil either
      abroad at a market price or to Yukos’ refineries, and subsequently re-bought it at a reduced
      price and re-sold it at the market price. Respondent asserts that prices increased step by step
      from sham shell to sham shell, generating artificially inflated profits through non-armslength
      transactions. Those profits were then taxed at reduced rates in the low-tax regions, where the
      sham trading shells were registered. Respondent contends that the tax authorities identified
      abuses by the Lesnoy trading shells, which resulted in further investigations and, ultimately, in
      the tax assessments against Yukos and related proceedings.




                                                - 15 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 36 of 617




79.    Claimants contend that Yukos, like other Russian companies at that time, was merely taking
       advantage of the legislation in place in the low-tax regions. Claimants assert that any findings
       of “abuse” by the Russian tax authorities was a function of the arbitrary and unpredictable
       interpretations of the law in Russia.

80.    The details of the Russian low-tax region program and Yukos’ tax optimization scheme are set
       out more comprehensively in Chapter VIII.A of this Award.


D.     CRIMINAL PROCEEDINGS

81.    Starting in July 2003, a series of criminal investigations were initiated by the Russian
       Federation against Yukos management and activities. According to Claimants, these actions
       included the “targeting” of Yukos’ employees, auditor PwC, in-house counsel, lawyers
       involved in various Yukos-related cases, as well as searches and seizures, threats to revoke its
       oil licenses, and mutual legal assistance requests and extradition proceedings against Yukos
       management.       Claimants characterize these actions as harassment, motivated by
       Mr. Khodorkovsky’s participation in Russian opposition politics, that were intended—together
       with tax reassessments—to lead to the expropriation of Yukos’ assets. Respondent contends
       that its actions were in response to illegal acts committed by Yukos and its officers and
       shareholders.

82.    Between July and October 2003, three key Yukos officers were arrested.           In July 2003,
       Mr. Platon Lebedev, Director of Hulley and YUL, was arrested on charges of embezzlement
       and fraud; he was sentenced to nine years in prison in May 2005. In October 2003, Mr. Vasily
       Shakhovsky, President of Yukos-Moscow, was charged with and later convicted of tax evasion.
       In October 2003, Mr. Khodorkovsky himself was arrested and charged with crimes including
       forgery, fraud and tax evasion; he was also sentenced to a nine-year prison term in May 2005.
       As a result of these arrests, a number of high-ranking Yukos executives fled Russia, such as
       Mr. Leonid Nevzlin, Deputy Chairman of the Yukos Board of Directors until 2003.             On
       2 February 2007, new charges of embezzlement and money laundering were brought against
       Messrs. Khodorkovsky and Lebedev, leading to further convictions in December 2010.
       Messrs. Khodorkovsky and Lebedev were each imprisoned for over a decade.

83.    Claimants contend that by April 2006, no fewer than 35 top managers and employees of Yukos
       had been interrogated, arrested or sentenced, and that lawyers acting for Yukos had been
       obstructed in their work. During the same period, Russian authorities conducted searches,



                                                 - 16 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 37 of 617




       seizures and interrogations of Yukos property and personnel. Claimants contend that all of
       these actions amounted to harassment and intimidation, that they deprived Yukos’ management
       of the ability to manage and control Yukos as a business, and that the underlying motive was to
       expropriate Yukos’ assets.

84.    Respondent contends that in addition to participation in tax fraud schemes, Yukos participated
       in a massive transfer pricing scheme by which hundreds of millions of dollars from the sales of
       oil and other products were illegally siphoned off to offshore entities for the benefit of
       Khodorkovsky/Lebedev and other controlling Russian “Oligarchs”.6

85.    Respondent also contends that Yukos officials have been engaged in violent crimes, such as the
       murder, attempted murder and assault of persons seeking to enforce Russian tax laws or
       otherwise perceived to threaten Yukos interests. Claimants deny Respondent’s allegations of
       criminal acts as well as acts of tax evasion.

86.    Respondent denies that Yukos and its officers were targeted in a discriminatory way,
       contending that Russian taxation measures have also applied to other offenders and that the
       searches and seizures were taken as part of legitimate taxation measures and conducted in
       accordance with normal Russian practice and the appropriate procedural protections available
       under Russian law.

87.    The particulars of Claimants’ allegations concerning harassment, intimidation and arrests are
       presented in Chapter VIII.C of this Award.


E.     ADDITIONAL MEASURES

88.    In the period between October 2003 and December 2004, Yukos and its subsidiaries faced a
       series of major setbacks, including the alleged frustration of its merger with Sibneft, hefty tax
       reassessments, fines, VAT exactions, the freezing of shares and assets, the threatened
       revocation of licenses, and the forced sale of Yukos’ main oil production subsidiary, YNG.
       These measures were followed by the bankruptcy of Yukos in August 2006.




6
      Respondent’s Counter-Memorial on the Merits dated 4 April 2011, as corrected 29 July 2011, p.1 n.1 (hereinafter
      “Counter-Memorial”): Respondent employs the term “Oligarchs” throughout its pleadings to refer to
      Messrs. Khodorkovsky, Lebedev, Nevzlin, Dubov, Brudno, Shakhnovsky, Golubovitch; the individual owners
      standing behind Claimants (hereinafter the “Oligarchs”).




                                                       - 17 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 38 of 617




      1.    Alleged Frustration of Merger Between Yukos and Sibneft

89.   In October 2003, a merger was about to be completed between Yukos and Sibneft, Russia’s
      fifth largest oil company. According to Claimants, the resulting entity, YukosSibneft, would
      have become the world’s fourth largest oil company. In November 2003, however, after Yukos
      had already acquired 92 percent of Sibneft’s shares as part of the merger and after the arrest of
      Mr. Khodorkovsky, Sibneft’s controlling shareholder, Mr. Roman Abramovich, called off the
      merger process and the transactions were then unwound by a series of court decisions. Further
      details are included in Chapter VIII.D of this Award.


      2.    Tax Reassessments for Years 2000–2004

90.   On 28 April 2003, the Tax Ministry issued a Field Tax Audit Report for the years 2000 and
      2001 that raised no questions concerning Yukos’ tax optimization structure. On 1 September,
      1 October and 1 November 2003, the Tax Ministry issued certificates confirming that Yukos
      had no outstanding debts.

91.   On 8 December 2003, the Tax Ministry ordered a tax re-audit of Yukos for the year 2000. On
      29 December 2003, the tax authorities of the Russian Federation issued the first of five tax
      assessments against Yukos that were based on the alleged abuse by Yukos of its tax
      optimization scheme.

92.   The Tax Ministry demanded payment from Yukos for approximately USD 3.5 billion for 2000,
      which was largely upheld by the Moscow Arbitrazh Court. Similarly large tax reassessments
      were issued in the period between 2004 and 2006 for subsequent tax years. 2001 taxes were
      re-assessed in the amount of approximately USD 4.1 billion, 2002 taxes in the amount of
      approximately USD 6.8 billion, 2003 taxes in the amount of approximately USD 6.1 billion,
      and 2004 taxes in the amount of approximately USD 3.7 billion. By the time the Tax Ministry
      issued the last of these demands, Yukos faced a tax bill of more than USD 24 billion, of which
      approximately USD 10.6 billion constituted allegedly evaded revenue-based taxes (including
      interest and fines), and the remainder (approximately USD 13.6 billion) comprised of VAT and
      related, interest and fines.

93.   Respondent contends that the reassessments were a consequence of Yukos’ activities relating to
      the tax fraud scheme. Claimants submit, however, that the reassessments were so excessive
      that the Russian authorities’ strategy of destroying Yukos became plain.



                                                - 18 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 39 of 617




94.   At the same time that tax reassessments were being filed against Yukos and its subsidiaries,
      Russian authorities began freezing shares and other assets belonging to Yukos and related
      entities. In October 2003, Russian prosecutors froze shares held by YUL and Hulley in
      Yukos. Orders issued by the Moscow Arbitrazh Court in April and June 2004 prevented
      Yukos from disposing of its assets.         An application by Yukos in July 2004 to have
      sufficient assets released to meet its tax liabilities was ignored and a surcharge of
      approximately USD 240 million was applied for late payment of taxes. Claimants also
      maintain that Yukos’ numerous proposals throughout this period to settle the tax claims were
      ignored or rejected by the Russian authorities, despite the fact that the government settled with
      taxpayers in several other cases.

95.   In July 2004, Russian authorities began seizing Yukos’ shares in YNG, Samaraneftegaz and
      Tomskneft. YNG bank accounts were also frozen. The Russian authorities also used mutual
      legal assistance treaties to affect Yukos’ interests abroad.

96.   Respondent does not dispute the freezing of Yukos’ assets but contends that freezing assets of a
      debtor, including shares owned by it, is a standard enforcement measure for tax levies and
      judgments. Respondent maintains that its freezing orders did not cover all of the assets of
      Yukos in Russia and that Yukos remained in possession of large assets abroad.

97.   The details of the tax assessments against Yukos and of Yukos’ attempts to settle the tax claims
      are set out in Chapters VIII.B and VIII.E, respectively.


      3.    Auction of YNG

98.   In July 2004, the Russian Federation indicated that it intended to appraise and sell YNG to pay
      off Yukos’ back taxes. A valuation carried out by investment bank ZAO Dresdner Bank
      (“Dresdner”) at the request of the Russian Federation valued YNG at between USD 15.7
      billion and USD 18.3 billion. A valuation carried out by JP Morgan, at the request of Yukos,
      valued YNG at between USD 16 billion and USD 22 billion. The Russian Ministry of Justice
      announced that YNG was worth USD 10.4 billion.

99.   After Yukos’ attempts to enjoin the sale of YNG by legal recourse in the United States failed,
      YNG was sold at auction on 19 December 2004 for USD 9.37 billion to sole bidder and newly
      incorporated entity, Baikal Finance Group (“Baikal”), which was quickly bought by Russian
      State-owned Rosneft (“Rosneft”).



                                                  - 19 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 40 of 617




100. Further particulars on this aspect of the case are presented in Chapter VIII.F of this Award.


       4.    Bankruptcy Proceedings

101. Claimants allege that the Russian Federation first reported in March 2005 that it intended to
       “push Yukos into bankruptcy in order to redistribute its remaining assets.” On 6 March 2006, a
       syndicate of foreign bank creditors of Yukos filed a bankruptcy petition before the Moscow
       Arbitrazh Court, pursuant to a Confidential Sale Agreement with Rosneft (the “Confidential
       Sale Agreement”).       YNGʊthen owned by Rosneftʊfiled a separate bankruptcy petition
       against Yukos, which was subsequently joined to that of the bank syndicate. On 28 March
       2006, bankruptcy proceedings were commenced against Yukos, placing it under external
       supervision, and on 4 August 2006, Yukos was declared bankrupt.

102. Yukos’ remaining assets were nearly all acquired by State-owned Gazprom and Rosneft, with
       the bankruptcy auctions raising a total of USD 31.5 billion. In November 2007, Yukos was
       liquidated and struck off the register of legal entities.

103. The specifics relating to Yukos’ bankruptcy are set out in Chapter VIII.G of this Award.


       5.    Withdrawal of PwC’s Audits

104. In June 2007, PwC (which had served as both auditor and consultant to Yukos starting in 1997)
       withdrew all of its audits of Yukos from 1995 to 2004.

105. This final aspect of the factual matrix is treated in detail in Chapter VIII.H of this Award.


III.   PARTIES’ WRITTEN SUBMISSIONS

106. As indicated in the Procedural History above, the Parties submitted two rounds of memorials on
       the merits. Each side took full advantage of the written phase of these proceedings, filing
       detailed and extensive written submissions. Claimants’ Memorial runs to 424 pages and was
       accompanied by 1045 exhibits and 12 witness statements. Respondent’s Counter-Memorial is
       787 pages long, and was accompanied by 2868 exhibits and 8 witness statements. Claimants’
       Reply runs to 474 pages, and was accompanied by over 600 further exhibits.               Finally,
       Respondent’s Rejoinder runs to 819 pages, and was submitted with over 1700 further exhibits
       and seven witness statements.        The Parties filed Post-Hearing Briefs of over 100 pages.




                                                    - 20 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 41 of 617




       Throughout the arbitration the Parties filed extensive written submissions on various procedural
       issues.

107. The Tribunal studied these submissions carefully.              The Parties’ principal arguments are
       re-stated in the Tribunal’s analysis of the issues in Parts VIII to XIII below. For the purposes
       of introduction, the Tribunal reproduces below verbatim the written “skeleton arguments” that
       the Parties submitted prior to the Hearing on the Merits at the Tribunal’s request.


A.     CLAIMANTS’ SKELETON ARGUMENTS

108. The text of the paragraphs below is produced directly from paragraphs 1 to 82 of Claimants’
       Skeleton Argument submitted on 1 October 2012 (“Claimants’ Skeleton”)( footnotes omitted).

             I.     INTRODUCTION
             1.     The dispute between the Parties arises from the various actions taken by the Russian
                    Federation against Yukos Oil Company (“Yukos” or the “Company”) and related
                    persons and entities, which culminated in the expropriation of the Company for the
                    exclusive benefit of the Russian State and State-owned entities, thereby destroying
                    the Claimants’ investments in Yukos. As the Claimants have demonstrated, by
                    (i) failing to treat the Claimants’ investments in Yukos in a fair and equitable
                    manner and on a non-discriminatory basis, and (ii) expropriating the Claimants’
                    investments therein, the Russian Federation breached its obligations under Articles
                    10(1) and 13(1) of the Energy Charter Treaty (“ECT”), respectively, for which the
                    Claimants are entitled to full reparation.
             2.     The Claimants’ positions on the merits are described in detail in their written
                    submissions. This skeleton argument summarizes, for the benefit of the Tribunal,
                    the Claimants’ principal arguments, with reference to key supporting materials. It
                    does not replace or supplement those submissions, nor is it a substitute for oral
                    argument.

             II.    FACTUAL BACKGROUND
             3.     The various actions taken by the Russian Federation against Yukos, and related
                    persons and entities, were aimed at the destruction and expropriation of the
                    Company. The expropriation of Yukos was achieved in 3 overlapping steps: first,
                    the paralysis of the Company (A); second, the manufacturing of a pretext for the
                    taking of the Company’s assets, namely, the fabrication of debt (B); finally, the use
                    of that pretext to take Yukos’ assets piece by piece, including its most valuable
                    asset, Yuganskneftegaz, and transfer them to the State-owned companies Rosneft
                    and Gazprom (C). Each of these steps was accompanied by serious due process
                    violations. The result was the liquidation of Yukos in November 2007, and the
                    complete and total deprivation of the Claimants’ investments therein.

             A.     PARALYSIS OF YUKOS
             4.     Prior to the Russian Federation’s attack, Yukos was a flourishing oil company. In
                    May 2002, it was the only Russian company to be ranked among the top 10 largest
                    oil and gas companies by market capitalization worldwide. In the fourth quarter of
                    2002, it became the largest oil company in Russia in terms of daily crude oil
                    production. In October 2003, it completed its merger with Sibneft, another of



                                                    - 21 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 42 of 617




            Russia’s leading oil companies, creating the world’s fourth largest private oil
            producer, behind BP, ExxonMobil and Shell. Yukos was also engaged in advanced
            discussions with American oil majors, ExxonMobil and ChevronTexaco, in relation
            to a merger or other form of business combination. This success was the result of
            concerted efforts to modernize the Company and implement Western business
            practices.
      5.    Starting in the summer of 2003, the Russian Federation took a series of actions
            aimed at undermining the ability of the Company’s management to run the
            business. These included: (i) the arrests of Messrs. Lebedev and Khodorkovsky,
            Yukos’ CEO; (ii) the targeting, intimidation and/or prosecution of other high-
            ranking Yukos managers, employees and related persons; (iii) the harassment,
            prosecution and/or arrest of Yukos’ in-house counsel and lawyers involved in
            various Yukos-related cases; (iv) the conduct of widespread and aggressive searches
            and seizures; (v) the seizure of the Claimants’ shares in Yukos; (vi) the threats to
            revoke Yukos’ oil licenses; (vii) the numerous mutual legal assistance requests and
            extradition proceedings to affect Yukos and entities/persons associated with the
            Company abroad; and (viii) the targeting and harassment of Yukos’ auditor, PwC.
            These actions were taken in violation of the most basic standards of due process and
            fair treatment.
      6.    Contrary to the Respondent’s allegations, the actions described above deprived
            Yukos’ management of the ability to manage and control the Company, thereby
            facilitating its dismantling and ultimate destruction. One early casualty of the
            Russian Federation’s attack on Yukos was the YukosSibneft merger.

      B.    MANUFACTURING A PRETEXT — THE FABRICATION OF DEBT

            1.     The fabrication of massive tax claims against Yukos for the years 2000-2004
      7.    In December 2003, the Russian Federation’s campaign against Yukos entered into a
            new phase with the fabrication of massive tax claims against the Company.
      8.    On December 8, 2003, 6 weeks after Mr. Khodorkovsky’s arrest, the Tax Ministry
            ordered a tax re-audit of Yukos for the year 2000. Only 3 weeks later, it issued a
            Field Tax Audit Report exceeding 100 pages in length and proposing to collect
            from Yukos US$ 3.4 billion in alleged tax arrears, interest and fines on the
            purported basis that the use of regional tax incentives by Yukos trading companies
            constituted unlawful tax evasion by Yukos itself.
      9.    The December 2003 re-audit of Yukos was extraordinary in many respects. Less
            than 8 months earlier, on April 28, 2003, the Tax Ministry had issued a Field Tax
            Audit Report for the years 2000 and 2001 that raised no questions concerning
            Yukos’ tax optimization structure. That audit had taken 5 months to conduct,
            followed by 2 months for drafting the report. On several occasions after this audit,
            including on September 1, October 1 and November 1, 2003, the Tax Ministry
            confirmed that Yukos had no outstanding tax debts. Prior tax audits of the
            Mordovian trading companies likewise raised no major concerns and specifically
            found their use of regional tax incentives to be lawful.
      10.   The Respondent alleges that the Russian authorities lacked knowledge of Yukos’
            tax optimization structure and only “discovered” its allegedly abusive features in the
            course of the 3-week audit carried out in December 2003. This allegation is not
            credible. As the record demonstrates, the Russian authorities had long been aware
            of Yukos’ practices, and the Respondent has failed to identify a single piece of
            material information relevant to the alleged tax claims that it lacked prior to the
            December 2003 repeat audit. In particular:




                                            - 22 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 43 of 617




                Yukos was one of Russia’s largest taxpayers and was therefore under constant
                 scrutiny by the Russian tax authorities, who had never found any significant
                 problems prior to the attack on Yukos.
                The use of trading companies incorporated in low-tax regions was a common
                 practice among Russia’s vertically integrated oil companies, a fact that was well
                 known to Russian authorities.
                Several trading companies’ affiliations with Yukos were reflected in their
                 names, for instance, Yukos-M and Yu-Mordovia.
                Prior to using trading companies in Mordovia—the source of the overwhelming
                 majority of the purported tax claims—Yukos discussed the issue with federal
                 and regional officials, who approved Yukos’ plan. Mordovia’s Government
                 then signed investment agreements with these trading companies specifying the
                 amounts of monthly payments. Audits of the Mordovian trading companies
                 confirm the tax authorities’ knowledge of the factual circumstances later alleged
                 to constitute “abuse”.
                As the Respondent concedes, Yukos’ financial statements disclosed that
                 companies within Yukos’ consolidation perimeter enjoyed tax benefits under the
                 low-tax region program and the overall amounts of such benefits.
                VAT refund submissions documented the entire chain of transactions prior to
                 export, including, in particular, the trading companies’ transactions with Yukos’
                 production companies, refineries, and the holding company.
                Yukos’ monthly submissions to obtain access to export pipelines confirmed that
                 the trading companies’ tax payments were in relation to the trading of oil
                 produced by Yukos’ production subsidiaries and exported under Yukos’ export
                 quotas.
      11.   The Tax Ministry went on to fabricate similar tax claims against Yukos covering the
            years 2001-2004. As discussed below, the timing of these claims was instrumental
            in carrying out the Russian Federation’s expropriation plan. By the time the Tax
            Ministry issued the last of these demands, Yukos faced a tax bill of more than US$
            24 billion, of which only US$ 5.2 billion constituted allegedly evaded revenue-
            based taxes, the remainder being comprised of VAT, interest, and fines. These
            payment demands dwarfed the Company’s consolidated net income for the relevant
            periods.

            2.     The purported tax claims were unprecedented, arbitrary and manifestly
                   expropriatory
      12.   Purported bases for revoking regional profit tax incentives. Yukos’ tax optimization
            structure fully complied with the legislation in force and current practices. Indeed,
            the Respondent does not allege that Yukos or the trading companies failed to
            comply with the federal or regional legislation. Nor does it allege that the trading
            companies failed to fulfill the terms of the investment agreements signed with the
            regional governments. Rather, it claims that the trading companies failed to satisfy
            additional, unwritten requirements beyond the statutory eligibility criteria,
            including, in particular, an alleged “proportionality of investments” requirement that
            directly contradicted both the legislation and the investment agreements signed by
            the regional governments. This justification is not credible.
      13.   Re-attribution. The primary weapon in the expropriation of Yukos’ assets was the
            reattribution of the alleged tax liabilities of the trading companies to Yukos. Russian
            law did not allow such re-attribution, and the Respondent cannot point to a single
            example of such a re-attribution other than the Yukos case. Had the Russian
            authorities genuinely believed that the tax benefits had been improperly granted to
            the trading companies, which was not the case, the proper course under Russian law


                                             - 23 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 44 of 617




            would have been to pursue those companies for the allegedly underpaid taxes.
            Alternatively, had they genuinely believed that sales had occurred at below market
            prices, Russian tax law contained a specific statutory mechanism for such transfer-
            pricing situations. However, the Russian authorities ignored these statutory
            provisions. Re-attribution served 2 purposes: first, shifting liability to Yukos itself
            paved the way for the expropriation of the Company’s assets; second, re-attribution
            provided the basis for massive VAT claims.
      14.   VAT. Simultaneously invoking and contradicting their own re-attribution theory, the
            tax authorities re-attributed to Yukos all the revenues from the trading companies’
            transactions, but refused to re-attribute to Yukos the trading companies’
            entitlements to VAT refunds for export transactions. The purported basis for
            denying refunds was that the paperwork, although proper and timely, had been
            submitted by the trading companies rather than Yukos. This enabled the tax
            authorities to claim an additional US$ 13.59 billion—56.20% of the total claims
            against Yukos—despite the uncontested fact that no VAT was owed on these
            transactions. Such a step was clearly confiscatory in nature. Further, the fact that,
            even when Yukos attempted to submit the updated VAT returns in its own name, its
            submissions were rejected as improper and untimely, confirms that the purported
            VAT claims had nothing to do with taxation. The Respondent has been unable to
            offer any defense whatsoever for the fundamentally contradictory way in which its
            re-attribution theory was deployed.
      15.   Fines. The tax authorities further inflated their claims through the unjustified
            imposition of fines, including by imposing fines after the statute of limitations had
            expired; by doubling fines for “willfulness” despite the fact that Yukos did not—and
            could not possibly—“know” of the alleged illegality; and by doubling fines again
            for “repeat offenses” despite the fact that at the time of the alleged “repeat” offenses
            Yukos had never been previously held liable for a similar offense. Overall, these
            inflated fines amounted to US$ 8.5 billion, i.e., 35.13% of the total alleged tax
            liabilities, with the “repeat” offender fines alone amounting to US$ 3.92 billion.
      16.   The common thread unifying the Russian Federation’s approach was an overarching
            desire to manufacture and inflate claims against Yukos, with a view to expropriating
            the Company. As Yukos’ tax lawyer noted after reviewing the December 2003 audit
            report, “[e]ven if we assume political pressure on the court the extent of the
            violations committed by the Ministry for Taxes and Levies will make it impossible
            even for the most biased judge to support the clearly unlawful inspection act”. The
            Russian courts proved Yukos’ tax lawyer wrong, rubber-stamping the fabricated tax
            debts.

            3.     Due process violations in the administrative and judicial proceedings
      17.   The administrative and judicial proceedings with respect to the alleged tax debts
            were conducted in blatant disregard of Yukos’ basic due process rights. This
            involved, inter alia, pressure on the courts to ensure that only Government-friendly
            judges would preside over Yukos’ challenges—and subsequently rewarding those
            judges for their efforts; overly speedy proceedings, denying Yukos adequate time
            and facilities to prepare its defense; and arbitrary denials of Yukos’ motions to join
            to the proceedings the trading companies and the Mordovian Government. Coupled
            with the harassment of Yukos’ lawyers noted above, the Russian Federation ensured
            the hasty conclusion of these proceedings, bringing it one step closer to its
            objective, namely the taking of Yukos’ assets.




                                             - 24 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 45 of 617




      C.    APPROPRIATION  OF YUKOS’ ASSETS – SEIZING                     YUKOS’      ASSETS    AND
            TRANSFERRING THEM TO STATE-OWNED COMPANIES

            1.     Yukos was prevented from settling its alleged tax debts or discharging them
                   in full
      18.   The swift and manifestly disproportionate enforcement of the 2000 tax
            reassessment. On April 14, 2004, the tax authorities issued their payment demands
            for the year 2000. Yukos was given until April 16, 2004, i.e., less than 48 hours, to
            pay in full US$ 3.48 billion in alleged tax arrears, interest and fines.
      19.   Even this symbolic “voluntary” payment period was illusory. On April 15, 2004, the
            very next day after the demand for payment was issued, the tax authorities obtained
            from the Moscow Arbitrazh Court an ex parte injunctive order freezing, as a
            purported security measure, all of Yukos’ non-cash Russian assets, with the
            exception of oil and oil products.
      20.   On June 30, 2004, following Yukos’ unsuccessful appeal, an enforcement writ was
            issued giving the Tax Ministry 3 years to collect the 2000 tax debt. Rather than
            engage in discussions with the Company about the discharge of this debt within that
            period, the bailiffs initiated enforcement proceedings that very same day. The
            Company was given 5 days to pay voluntarily US$ 3.42 billion in alleged tax
            arrears, interest and fines for the year 2000 and threatened with a 7% enforcement
            fee if it failed to do so.
      21.   At the same time, the bailiffs ordered the seizure of (i) monies deposited in Yukos’
            accounts with 16 Russian banks, and (ii) the Company’s Russian non-cash assets
            (which had previously been the subject of a freeze). On July 1, 2004, a wave of
            seizures on Yukos’ non-monetary assets began, culminating in the seizure on July
            14, 2004 of Yukos’ shares in its 3 main production subsidiaries—Yuganskneftegaz,
            Samaraneftegaz and Tomskneft.
      22.   It should be recalled that all these seizures were conducted within the framework of
            the enforcement proceeding initiated on June 30, 2004 to recover from Yukos US$
            3.42 billion in alleged tax liabilities for 2000. These seizures covered virtually all of
            Yukos’ assets, whose value was staggeringly higher.
      23.   Further, within days, on July 20, 2004, the Ministry of Justice announced its
            intention to appraise and sell Yuganskneftegaz to satisfy the 2000 alleged tax debt.
      24.   The decision to seize and sell Yuganskneftegaz, which accounted for approximately
            12% of Russia’s oil output and whose value on any estimation dramatically
            exceeded that of the alleged tax debt, can only be reconciled with a desire to destroy
            the Company and appropriate its core assets. This reality is confirmed by the fact
            that the decision was taken less than 3 weeks after the writ of execution had been
            issued and when all of Yukos’ domestic assets remained seized and available to
            satisfy the 2000 tax debt.
      25.   The failure to consider Yukos’ proposals of alternative means of paying the alleged
            debt. Further confirmation of the Russian Federation’s expropriatory intent is the
            systematic rejection of Yukos’ numerous offers to the bailiffs, courts and other
            Russian authorities and officials to settle or discharge its tax debts. These included:
            (i) the offers of Yukos’ Russian non-core assets and its stake in Sibneft, initially
            34.5% and subsequently reduced to 20% minus 1 share following the seizure of the
            14.5% stake in Sibneft on July 9, 2004, in the context of the Chukotka Arbitrazh
            Court proceedings; (ii) Yukos’ petition to pay its alleged tax debt for the year 2000
            in installments; (iii) Yukos’ amicable proposal to the Ministry of Finance to defer
            the payment of the federal share of its alleged debt for 6 months or to pay it in
            tranches; (iv) the proposals by Mr. Jean Chrétien, former Canadian Prime Minister,
            to Prime Minister Fradkov and President Putin of a global settlement of the



                                             - 25 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 46 of 617




            disputes, which envisaged the payment to the Russian Federation of approximately
            US$ 8 billion over the course of 2 years; (v) Yukos’ October 2004 full settlement
            proposal in the range of US$ 21 billion, which included non-core assets and Sibneft
            shares, as well as a concession to re-elect a new board of directors that would
            include people selected by the Government.
      26.   Each of these offers, as well as numerous others, was either denied or, in most
            cases, simply ignored. The Respondent’s attempts to provide post-hoc
            rationalizations for its conduct by qualifying each of Yukos’ offers as unacceptable
            or inadequate are unfounded. In any event, the Russian authorities’ failure to work
            with—or even respond to—the multiple offers by Yukos, one of the largest private
            taxpayers in Russia, or to consider other options for enforcement, confirms that the
            Russian Federation was not interested in collecting taxes. This is even more so in
            light of the fact that the Russian authorities had no difficulty entering into settlement
            discussions and negotiating repayment plans with other Russian oil companies,
            including, inter alia, Rosneft and Sibneft.

            2.       The forced sale of Yukos’ shares in Yuganskneftegaz
      27.   Fabrication of further debt to maintain the pretext. Despite the effect of the seizures
            described above, by the time of the Yuganskneftegaz auction, Yukos had paid off
            the 2000 tax reassessment in its entirety, eliminating the raison d’être of the
            decision to sell Yuganskneftegaz. Recognizing this difficulty as well as the gross
            disparity between the alleged tax debts and the value of Yuganskneftegaz, the Tax
            Ministry set about fabricating new claims.
                    On September 2, 2004, the Tax Ministry served Yukos with a tax
                     reassessment for 2001 in the amount of US$ 4.1 billion. Yukos was given
                     only 2 days to pay voluntarily this amount, with the bailiffs initiating
                     enforcement proceedings on September 9, 2004.
                    On November 16, 2004, the Tax Ministry served Yukos with a tax
                     reassessment for 2002 in the amount of US$ 6.76 billion, the largest among
                     the 5 tax reassessments for the years 2000-2004. Yukos was given only 1 day
                     to pay voluntarily this amount, with the bailiffs initiating enforcement
                     proceedings on November 18, 2004.
                    On December 6, 2004, the Tax Ministry served Yukos with a tax reassessment
                     for 2003 in the amount of US$ 6.1 billion, giving the Company 1 day to pay in
                     full. On December 9, 2004, the bailiffs initiated enforcement proceedings.
      28.   In each case, the bailiffs allowed Yukos at most 5 days for voluntary payment and
            charged the 7% enforcement fee for failure to comply with these unreasonably short
            time limits.
      29.   Thus, in the 4 months from September 2004 up until the auction of
            Yuganskneftegaz on December 19, 2004, the Russian Federation managed to
            increase Yukos’ alleged tax liability by approximately US$ 17 billion.
      30.   Efforts to depress the auction price of Yuganskneftegaz. At the same time, with a
            view to facilitating the Russian Federation’s acquisition of Yuganskneftegaz at a
            bargain price, the Russian Tax Ministry also fabricated claims against
            Yuganskneftegaz. These claims were premised on the application of statutory
            provisions on transfer pricing, which the tax authorities systematically refused to
            apply in relation to Yukos itself. Significantly, these claims concerned the same oil
            trading revenues that had already been re-attributed to Yukos, thus resulting in
            double taxation.
      31.   Thus, on October 29, 2004, the tax authorities simultaneously: (i) issued a Repeat
            Field Tax Audit Report for 2001 requesting Yuganskneftegaz to pay US$ 2.35
            billion in alleged tax arrears, interest and fines;93 and (ii) rendered a Decision


                                              - 26 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 47 of 617




            holding Yuganskneftegaz liable for an alleged tax offense for the year 2002 and
            requiring payment of US$ 1.03 billion in alleged tax arrears, interest and fines.
      32.   On December 3, 2004, a Field Tax Audit Report was issued for the year 2003,
            imposing on Yuganskneftegaz an additional US$ 1.22 billion in alleged tax arrears,
            interest and fines.
      33.   In addition to fabricating these US$ 4.6 billion in additional alleged liability, the
            Russian authorities also began to sow doubts about the security of
            Yuganskneftegaz’s oil licenses to depress further the Company’s value.
      34.   That all these payments demands, imposed simultaneously on Yukos and its main
            production subsidiary, were issued in the run-up to the auction of Yuganskneftegaz
            is no coincidence. Nor is it a coincidence that, after Yuganskneftegaz was acquired
            by Rosneft, the tax claims along with the oil license concerns promptly disappeared.
            Together with the generous payment terms accorded to Rosneft’s new subsidiary
            but systematically denied to Yukos, these facts confirm both the discriminatory
            nature of the Russian Federation’s treatment of Yukos, and the true purpose of the
            purported tax reassessments against Yuganskneftegaz, namely, to facilitate the
            expropriation of the Company and not to collect taxes.
      35.   Sham auction of Yuganskneftegaz. As noted above, the Ministry of Justice publicly
            announced its plan to sell Yuganskneftegaz on July 20, 2004, purportedly in order to
            satisfy the 2000 alleged tax debt.
      36.   On August 12, 2004, the bailiffs appointed ZAO Dresdner Bank (“Dresdner”) to
            carry out the valuation of Yuganskneftegaz in preparation for its sale. On October
            6, 2004, Dresdner issued a confidential report valuing Yuganskneftegaz on a
            standalone basis at US$ 18.6 billion – 21.1 billion.
      37.   On November 18, 2004, the bailiffs announced that Yuganskneftegaz would be
            auctioned to satisfy Yukos’ outstanding tax debt, with the Russian Federal Property
            Fund issuing the formal auction notice the following day. The opening price for
            100% of the ordinary shares, or 76.79% of Yuganskneftegaz’s total share capital,
            was set at US$ 8.65 billion, a price well below its true value. The auction date was
            set for December 19, 2004, which was the earliest possible date to hold the auction
            and only 1 month away.
      38.   In an attempt to prevent the auction of its core asset, Yukos filed an application with
            the Moscow Arbitrazh Court to declare unlawful the Bailiff’s Resolution of
            November 18, 2004 and sought interim measures. These efforts failed.
      39.   Confronted, yet again, with the futility of its efforts to obtain justice before the
            Russian courts, on December 14, 2004, Yukos filed for Chapter 11 bankruptcy
            protection before the U.S. Bankruptcy Court for the Southern District of Texas. By
            that date, only 3 companies, Gazpromneft (the new wholly-owned subsidiary of
            State-owned Gazprom), First Venture and Intercom, had sought antimonopoly
            clearance required in anticipation of the auction. On December 16, 2004, the U.S.
            Court issued a Temporary Restraining Order (“TRO”) enjoining Gazpromneft, its
            potential lenders, First Venture and Intercom from participating in the auction of
            Yuganskneftegaz.
      40.   Nonetheless, on December 19, 2004, which was a Sunday, the Russian authorities
            proceeded with the auction of Yuganskneftegaz. Gazpromneft and OOO
            Baikalfinancegroup (“Baikal”) were registered as participants. Baikal was a
            previously unknown company established at the address of a local bar in the
            provincial town of Tver on December 6, 2004. With only US$ 359 in capital, it
            mysteriously managed to pay a cash deposit in the amount of US$ 1.77 billion to
            register for the auction on December 16, 2004.




                                             - 27 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 48 of 617




      41.   At the auction, Baikal opened the bidding at US$ 9.35 billion. Gazpromneft’s
            representative asked for a recess and left the room to make a telephone call. Upon
            his return, he did not make a single bid and Baikal was pronounced the winner of
            the auction with its opening bid of US$ 9.35 billion. The whole bidding process
            lasted approximately 10 minutes.
      42.   The Respondent’s allegation that the low price for Yuganskneftegaz reflected
            attempts by Yukos to “sabotage” the auction is unconvincing. Neither “litigation
            risk” nor the TRO had a material effect on the participants or the outcome of the
            auction. The reality is that, ignoring the advice of its own appraisal firm, the
            Russian authorities systematically acted in ways that negatively affected the ability
            and willingness of potential bidders to participate, as well as the price they would be
            willing to pay. Market participants also understood that political support was
            required to participate in auctions for Yukos assets.
      43.   The use of Baikal as a conduit for the eventual transfer of Yuganskneftegaz to a
            State-owned company was confirmed when, only a few days later, on December 23,
            2004, Rosneft issued a statement announcing its acquisition of Baikal. Meeting
            journalists that day, President Putin confirmed his knowledge of the acquisition,
            stating that: “Today, the state, resorting to absolutely legal market mechanisms, is
            looking after its own interests. I consider this to be quite logical”. Rosneft then
            enabled Baikal to repay the principal and interest on its debt by granting it, on
            December 30, 2004, a 1-year interest-free loan.
      44.   Rosneft benefited significantly from this acquisition, with Rosneft’s estimated value
            increasing dramatically from US$ 7 billion in December 2004 to US$ 80 billion for
            its IPO in mid-2006. Based on the valuation disclosed by Rosneft at the time,
            Yuganskneftegaz was worth US$ 55.78 billion. Further, as noted above, the tax
            bills raised against Yuganskneftegaz as a Yukos subsidiary were almost entirely set
            aside by the Russian courts following its acquisition by Rosneft.
      45.   Looked at from any angle, the Russian Federation’s approach to enforcement of the
            alleged tax debts, culminating in the transfer of Yuganskneftegaz to Rosneft in a
            sham auction, confirms that the Russian Federation’s real goal was to expropriate
            the Company, and not to collect taxes.
      46.   Even after the sham auction of Yuganskneftegaz, there was no legitimate reason to
            put Yukos into bankruptcy. There were no substantial creditors apart from the
            Russian Federation, and the seizure of Yukos’ assets remained in place, so there was
            no risk of assets being dissipated and no need to resolve conflicting creditors’
            claims. Yukos still possessed 2 substantial production subsidiaries—
            Samaraneftegaz and Tomskneft—as well as refining and marketing assets, and
            several non-core assets that it could readily have disposed of to pay off its
            outstanding debts and remain a going concern. However, the Russian authorities’
            priority was not recouping taxes; nor did they have any intention of allowing Yukos
            to survive as a going concern. The initiation of the bankruptcy proceedings provided
            a convenient way to sideline Yukos’ management and to facilitate the taking of the
            Company’s remaining assets.
      47.   Forcing Yukos into bankruptcy. As a result of the Russian Federation’s attack,
            Yukos defaulted on a US$ 1 billion loan granted by a syndicate of Western banks.
            On December 13, 2005, Rosneft entered into a confidential agreement with the
            syndicate under which Rosneft agreed to pay the outstanding amount owed by
            Yukos in exchange for the assignment to Rosneft of the syndicate’s rights of claim
            against Yukos. Crucially, the payment of Yukos’ debt by Rosneft was conditioned
            upon the initiation of Yukos’ bankruptcy by the syndicate. Pursuant to that
            agreement, on March 6, 2006, the syndicate filed a petition with the Moscow
            Arbitrazh Court to declare Yukos bankrupt, and on March 14, 2006, Rosneft paid
            off the loan.



                                             - 28 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 49 of 617




      48.   On March 28, 2006, the Moscow Arbitrazh Court ordered the commencement of
            bankruptcy proceedings, placed Yukos under supervision, appointed Mr. Rebgun as
            interim administrator, and formally substituted Rosneft for the syndicate as creditor.
      49.   The Respondent argues that “sound commercial interests” explain both the
            syndicate’s sale of the loan and Rosneft’s reasons for acquiring the same. However,
            even if that were the case, the Respondent still fails to answer the basic question:
            why not simply have the syndicate of banks assign their claim to Rosneft, and let
            Rosneft put Yukos into bankruptcy? The only plausible explanation for this
            elaborate stratagem was to conceal the Russian Federation’s role in initiating the
            bankruptcy of Yukos.
      50.   Ensuring the Russian State’s control over the bankruptcy proceedings. After
            Rosneft initiated the bankruptcy through the syndicate, the Russian courts ensured
            that the Russian State, either directly or through Rosneft, would become Yukos’
            main creditor.
      51.   First, the Russian courts bent over backwards to ensure that the tax authorities’
            purported claims would be admitted, by: (i) delaying a scheduled hearing in order
            to give “the State more time to prove new tax claims”, namely, the US$ 3.9 billion
            in tax payment demands for 2004, which the tax authorities rushed to issue on
            March 17, 2006, 11 days after the bankruptcy petition was filed; (ii) merging
            Yukos’ challenge to that payment demand into the bankruptcy proceedings; and
            (iii) approving all the tax authorities’ purported claims against Yukos for the years
            2000-2004 following a wholly perfunctory review of the voluminous case files.
            Consequently, the Federal Taxation Service was by far Yukos’ largest creditor with
            60.50% of all registered bankruptcy claims.
      52.   Second, in the period leading up to the first meeting of Yukos’ registered creditors
            on July 20, 2006, some 29 purported claims were admitted on behalf of
            Yuganskneftegaz, now Rosneft’s subsidiary, totaling approximately US$ 4.42
            billion. Subsequently, Rosneft secured admission of an even larger claim of
            US$ 5.55 billion premised on an allegation that Yuganskneftegaz had suffered “lost
            profits” in this amount during the period 2000-2003. These purported claims of
            US$ 9.97 billion enabled Rosneft to more than recoup the US$ 9.35 billion paid for
            Yuganskneftegaz and thereby acquire the Company for free. With the admission of
            these and various smaller claims, Rosneft became Yukos’ second largest creditor
            with 37.17% of all registered bankruptcy claims.
      53.   Third, while the Russian court hearing Yukos’ bankruptcy showed great flexibility
            in admitting any and all claims to benefit the Russian State, it was intransigent and
            formalistic in finding pretexts not to recognize substantial claims of creditors related
            to Yukos or to Yukos’ shareholders.
      54.   These combined efforts resulted in the complete monopolization of Yukos’
            bankruptcy proceedings by the Russian State, which held 97.67% of all bankruptcy
            claims, guaranteeing its control over the bankruptcy process.
      55.   Rejection of Yukos’ Rehabilitation Plan. The Financial Rehabilitation Plan proposed
            by Yukos’ management (“the Rehabilitation Plan”) set out a series of concrete
            measures that would enable Yukos to pay off its alleged liabilities fully within
            2 years, while remaining a viable going concern. This would be achieved by, among
            other things, creating a “cash pool” from the sale of ancillary assets, cash flows
            generated by Yukos’ remaining core assets, and more than US$ 1.5 billion from the
            sale of Yukos’ 53.7% stake in the Lithuanian oil company Mazeikiu Nafta and
            Yukos’ 49% stake in Slovakian oil transport major Transpetrol.
      56.   By contrast, according to Mr. Rebgun, the potential proceeds from the sale of
            Yukos’ remaining assets, which he significantly undervalued at US$ 17.75 billion
            (after deducting the 24% profit tax payable on auction proceeds), were not sufficient



                                             - 29 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 50 of 617




             to cover the US$ 18.3 billion of registered bankruptcy claims. Accordingly, he did
             not even bother to propose any measure for the Company’s financial restoration but
             simply recommended liquidation. In the event, despite the fact that the bankruptcy
             auction prices represented significant markdowns from market value, the
             bankruptcy estate netted approximately US$ 35.55 billion—twice the amount
             Mr. Rebgun had put forward to argue in favor of liquidation.
      57.    Ultimately, the Federal Taxation Service and Rosneft held 93.87% of votes at the
             meeting of Yukos’ creditors of July 25, 2006. It therefore came as no surprise that
             they rejected the Rehabilitation Plan and voted to liquidate Yukos’ assets, despite
             the fact that Yukos’ assets exceeded its alleged liabilities, and the Company was
             clearly solvent.
      58.    The bankruptcy auctions. Yukos’ remaining assets were transferred to the Russian
             State at well below their fair market value through a series of 17 auctions held
             between March 2006 and August 2007. Rosneft thereby directly or indirectly
             acquired Yukos’ key remaining assets, including Samaraneftegaz (Lot No. 11) and
             Tomskneft (Lot No. 10), which were sold at a gross discount of approximately 37%
             and 33%, respectively, of their fair market value. For its part, Gazprom acquired
             through Eni/Enel the 20% minus 1 share stake in Sibneft that the Russian Federation
             had persistently refused to let Yukos sell to pay off alleged tax debts. As with the
             sham auction of Yuganskneftegaz, there was no genuine competition in the
             bankruptcy auctions and, in many instances, including those for Samaraneftegaz and
             Tomskneft, the only participants were Rosneft and a previously unknown entity
             whose sole role was to satisfy the formal requirement that there be a minimum of
             2 bidders.
      59.    Finally, when, by the end of July 2007, it became clear that despite the low auction
             prices, the bankruptcy might still generate some surplus, further claims were
             admitted in the bankruptcy proceedings on behalf of the Russian State, through the
             Federal Taxation Service and Rosneft. This ensured the completeness of Yukos’
             destruction and the transfer of its value and assets to the Russian State. Thus, the
             Russian Federation received, either directly or through State-owned Rosneft or
             Gazprom, approximately 99.71% of the bankruptcy proceeds and over 95% of
             Yukos’ remaining assets, including all of Yukos’ main production assets.
      60.    On November 12, 2007, the Moscow Arbitrazh Court formally endorsed all the
             activities of Yukos’ receiver Mr. Rebgun, closed the Company’s receivership and
             ordered that Yukos be struck off the register of legal entities. The latter happened on
             November 21, 2007: Yukos was removed from the register of companies, its shares
             were legally extinguished and so, too, were the Claimants’ investments.

      D.     CONCLUSION
      61.    Seen together, the Russian Federation’s actions can only be reasonably understood
             as a deliberate and sustained effort to destroy Yukos, gain control over its assets and
             eliminate Mr. Khodorkovsky as a potential political opponent. Indeed, viewed any
             other way, they make no sense and the Respondent has been unable to provide a
             plausible alternative explanation for its actions.

      III.   LAW

      A.     THE RUSSIAN FEDERATION IS IN BREACH OF ITS OBLIGATIONS UNDER ART. 10(1)
             ECT
      62.    Under Article 10(1) ECT, the Russian Federation undertook to “encourage and
             create stable, equitable, favorable and transparent conditions for Investors”, to
             accord at all times “fair and equitable treatment” to investments made in its territory
             and not to “in any way impair by unreasonable or discriminatory measures [the]



                                              - 30 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 51 of 617




            management, maintenance, use, enjoyment or disposal” of such investments, which
            “shall also enjoy the most constant protection and security”.
      63.   The Russian Federation violated the above mentioned undertakings in the most
            egregious manner. In particular, it violated its obligation under Article 10(1) ECT to
            provide to the Claimants’ investments fair and equitable treatment, by failing to
            meet basic requirements of procedural propriety and due process, engaging in
            conduct that was unreasonable, arbitrary, disproportionate and abusive, and failing
            to ensure a stable and transparent legal and business framework. The Russian
            Federation’s actions also constituted a denial of justice in breach of the fair and
            equitable treatment standard of Article 10(1) ECT, as demonstrated by, inter alia,
            the removal of judges refusing to rule in the Russian State’s favor and the lack of
            independence and impartiality of judges hearing Yukos’ cases.
      64.   The Russian Federation also breached Article 10(1) ECT by discriminating against
            the Claimants’ investments. In particular, it (i) singled out Yukos and treated it in a
            markedly different manner from other similar oil companies in Russia, (ii) treated
            Yuganskneftegaz differently before and after its acquisition by State-owned
            Rosneft, in the hands of which the former Yukos subsidiary’s alleged tax liabilities
            all but disappeared, and (iii) ensured a differential treatment in the bankruptcy
            proceedings between creditors related to Yukos, on the one hand, and State-related
            creditors, on the other.
      65.   The Respondent’s primary defense is to invoke Article 21 ECT to argue that the
            Claimants’ claims should be dismissed on the ground that they are “based
            exclusively on measures ‘with respect to Taxation Measures.’” As discussed below,
            not only is the Respondent’s interpretation of Article 21 ECT untenable, but the
            Russian Federation’s conduct had nothing to do with the genuine exercise of its
            taxation power and is thus not covered by Article 21 ECT.
      66.   The Respondent has moreover attempted to restrict the scope of its treaty
            obligations by misrepresenting the content of the fair and equitable treatment and
            discrimination standards in Article 10(1) ECT. Such attempts are groundless and
            should be rejected.

      B.    THE RUSSIAN FEDERATION IS IN BREACH OF ITS OBLIGATIONS UNDER ART. 13(1)
            ECT
      67.   The Russian Federation expropriated the Claimants’ investments in breach of
            Article 13(1) ECT.
      68.   As of October 2003, Yukos was one of the largest oil companies in the world. It
            held 92% of Sibneft, 3 core production subsidiaries (Yuganskneftegaz,
            Samaraneftegaz and Tomskneft), as well as refining and marketing subsidiaries. As
            of November 21, 2007, it ceased to exist as a company, owing to a series of actions
            by which the Russian Federation seized its assets and transferred their title to State-
            owned Rosneft and Gazprom. The only plausible explanation for the Russian
            Federation’s actions is the twin desire of dismantling the Company and transferring
            its assets to the State and the removal of Mr. Khodorkovsky as a potential political
            opponent. The result of those actions was a complete and total deprivation of the
            Claimants’ investments therein.
      69.   The Russian Federation moreover failed to satisfy any of the 4 conditions set out in
            Article 13(1) ECT. The expropriation of the Claimants’ investments was manifestly:
            (i) not in the public interest; (ii) discriminatory; (iii) carried out without due process
            of law; and (iv) not accompanied by the payment of any compensation, let alone
            prompt, adequate and effective compensation.
      70.   Unable to deny the total deprivation of the Claimants’ investments and the transfer
            of title of Yukos’ assets to State-owned Rosneft and Gazprom, the Respondent



                                              - 31 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 52 of 617




            disaggregates its actions and argues that, when taken in isolation, each of them was,
            under Russian law, a proper response to Yukos’ alleged conduct. While, in fact,
            many of those actions amounted to a gross distortion or abuse of Russian law,
            lawfulness under domestic law is not, in any event, the proper inquiry under Article
            13(1) ECT. Under the applicable international law standards, the actions of the
            Russian Federation, in their totality, constitute an expropriation of the Claimants’
            investments in breach of Article 13(1) ECT for which compensation is due.

      IV.   DAMAGES
      71.   The Russian Federation is under an obligation to make full reparation to the
            Claimants for the financial consequences of its breaches of Articles 10(1) and 13(1)
            ECT. This standard of reparation is not challenged by the Respondent.
      72.   The magnitude of these financial consequences cannot be underestimated. As a
            result of the Respondent’s actions, the Claimants have lost the entire value of their
            investments in YukosSibneft, as well as the benefits they should have received from
            those investments. The Claimants’ valuation expert, Navigant, has quantified the
            Claimants’ damages for the loss of their investments in YukosSibneft at US$
            114.174 billion.
      73.   Navigant has also quantified the Claimants’ damages for the loss of their
            investments in YukosSibneft in 3 alternative scenarios, assuming that: (i) the
            Respondent does not bear responsibility for the demerger between Yukos and
            Sibneft, which it does; (ii) further, all tax reassessments were legitimate, which they
            were not; and (iii) in addition, the sale of Yuganskneftegaz was legitimate, which it
            was not, and assessing the Claimants’ damages at US$ 107.966 billion, US$ 69.583
            billion, and US$ 33.317 billion, respectively.
      74.   In its Counter-Memorial, the Respondent chose not to challenge Navigant’s
            valuation of the Claimants’ expropriated investments underlying their principal
            claims for damages, instead seeking to divert the Tribunal’s attention through a
            series of flawed objections. When the Respondent did make an effort to address the
            subject, in its Rejoinder, its arguments were inaccurate and entirely divorced from
            historical data and contemporaneous valuations of YukosSibneft’s assets.
      75.   Navigant has provided the only reliable and methodologically sound model for
            calculating the compensation due to the Claimants by the Russian Federation for the
            expropriation of their investments in breach of Articles 10(1) and 13(1) ECT.

      V.    THE RESPONDENT’S OBJECTIONS SHOULD BE REJECTED
      76.   The Respondent’s rehashed ‘fork-in-the-road’ objection is both res judicata and
            groundless. The Respondent contends that the Tribunal lacks jurisdiction over the
            Claimants’ claims because the Claimants are allegedly pursuing identical claims
            before the ECtHR. This very same objection was first raised in the jurisdiction and
            admissibility phase of these arbitrations and unequivocally dismissed by the
            Tribunal. It is entirely inappropriate for the Respondent to reopen this issue, which
            is res judicata, on the basis that it was allegedly poorly decided. Further, the
            Respondent’s allegations that the Interim Awards were based on an “incorrect
            assumption” or that there are “special circumstances” justifying a new examination
            of the issue are unfounded. The Respondent’s objection based on Article 26(3)(b)(i)
            ECT is manifestly without merit and must fail.
      77.   The Respondent’s attempt to rely on Article 21 ECT is misguided. The issues arising
            in relation to Article 21 ECT have already been briefed at length in the jurisdiction
            and admissibility phase of these arbitrations. In deferring the Respondent’s
            objection based on Article 21 ECT to the merits phase, the Tribunal indicated that it
            did not wish to rule in a vacuum on the issue of the background to, and motivation
            behind, the Russian Federation’s actions. In light of the Parties’ pleadings on the


                                             - 32 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 53 of 617




            merits, it is clear that those actions had nothing whatsoever to do with the genuine
            exercise of the Russian Federation’s taxation powers, but were rather solely
            intended to destroy Yukos and gain control of its assets. Article 21 ECT clearly was
            not meant to shield a Contracting Party from such egregious conduct.
      78.   Even assuming, however, that the Russian Federation’s actions were a genuine
            exercise of its taxation powers, which they were not, those actions would
            nonetheless fall outside the scope of Article 21 ECT, which is limited to the
            enactment of tax provisions. Further, even if Article 21 ECT were applicable, which
            it is not, Article 21(5) ECT ensures that Article 13(1) ECT’s substantive protection
            from expropriation remains fully intact. Finally, under any interpretation of
            Article 21 ECT, many of the Russian Federation’s actions had nothing to do with
            taxation and thus fall outside the ambit of Article 21 ECT altogether.
      79.   Conversely, under the Respondent’s interpretation of Article 21 ECT, save for
            expropriatory “charges or payments, to the exclusion of enforcement and collection
            measures, including interest and fines”, investors would stand unprotected from any
            and all State actions, so long as the respondent State in an arbitration labels its
            actions as “taxation”—regardless of whether such actions had anything to do with
            taxation, or were being pursued with the sole aim of expropriating or otherwise
            harming an investor’s investment. Such an interpretation, which would turn
            Article 21 ECT into a gaping hole in one of the key multilateral treaties on
            investment protection, is clearly untenable and should be rejected.
      80.   The Respondent’s so-called “unclean hands” theory is without merit. The
            Respondent argues that over a period of approximately 12 years, an array of actors
            engaged in a variety of allegedly “illegal and bad faith misconduct” that somehow
            deprive the Claimants’ investments of ECT protection. The Respondent’s position is
            fundamentally unfounded for several reasons. First, the so-called “unclean hands”
            theory finds no support in the text of the ECT, customary international law, or
            investment treaty jurisprudence. Second, even assuming the existence of such a
            general principle of international law, which the Claimants deny, its scope would be
            dramatically more limited than the Respondent contends, such that the Respondent
            has not alleged any facts that could establish its applicability in the present case. As
            demonstrated by the Claimants, the Respondent’s theory is premised almost
            exclusively on allegations of collateral illegalities, unrelated either to the making of
            the Claimants’ investments, or to the Claimants’ claims in these arbitrations, and all
            but one of which assert misconduct by third parties. Third, and in any event, the
            Respondent has failed utterly to substantiate any of its allegations. Finally, the
            principles of estoppel and proportionality prevent the Respondent from invoking
            such alleged illegalities in an attempt to escape liability for its violations of the
            ECT.
      81.   In its Rejoinder, while recounting its laundry list of alleged misconduct, the
            Respondent devotes attention solely to its allegation concerning the application of
            the 1998 Russia-Cyprus Double Taxation Agreement (“DTA”). Apart from the fact
            that: (i) this allegation has no bearing on the merits of these arbitrations; and
            (ii) these arbitrations are not the appropriate forum to hear and decide an alleged
            dispute on the application of the DTA, the Claimants have, in any event,
            demonstrated that this allegation is baseless. The Respondent’s so-called “unclean
            hands” objection is thus without merit and must fail.

      VI.   REQUEST FOR RELIEF
      82.   For the reasons set out above, the Claimants respectfully request the Arbitral
            Tribunal to render an Award granting the relief set out in paragraph 1199 of the
            Claimants’ Reply.




                                             - 33 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 54 of 617




B.     RESPONDENT’S SKELETON ARGUMENTS

109. The text of the paragraphs below is produced directly from paragraphs 1 to 104 of
       Respondent’s Skeleton Argument submitted on 1 October 2012 (“Respondent’s Skeleton”)
       (annexes omitted).

             I.    The Russian Federation Properly Assessed Taxes And Fines Against Yukos
             1.    Yukos fraudulently evaded billions of dollars of Russian corporate profit tax from
                   1999 to 2004, abusing the program authorized by the Russian Government in the
                   early 1990s to foster economic development in designated economically
                   underdeveloped areas. Under this program, corporate profits in the low-tax regions
                   were taxed at substantially reduced rates if the taxpayer complied with the
                   applicable legal rules, including Russia’s anti-tax abuse principles.
             2.    In order to properly avail itself of the benefits available in a low-tax region, Yukos
                   was required to comply with three legal regimes: (a) the federal statute authorizing
                   the low-tax region program and the region’s own statutes; (b) Yukos’ agreements
                   with the regional authorities; and (c) Russia’s federal anti-tax abuse “bad faith
                   taxpayer” doctrine.
             3.    The federal bad faith taxpayer doctrine is rooted in Russia’s federal Constitution,
                   and has been applied by Russian tax authorities and courts in thousands of cases
                   since the mid-1990s to condemn abusive transactions that, in substance, constitute
                   unlawful tax evasion. As described by Yukos’ own tax lawyers in commentaries
                   they published before the assessments at issue in these arbitrations, this doctrine
                   condemns as tax evasion transactions in which “the taxpayer’s actions were aimed
                   solely to reduce the amount of its tax payments rather than to achieve an economic
                   result, [as] this would demonstrate that the relevant transaction was inconsistent
                   with law because the motive underlying such transaction was to avoid tax […]. A
                   person’s actions aimed solely at tax evasion may not be regarded as actions made in
                   good faith.”
             4.    Yukos abused the low-tax region program, and evaded Russian corporate profit tax
                   in violation of the bad faith taxpayer doctrine, by implementing what Yukos
                   referred to internally as its “tax optimization” scheme. Pursuant to this scheme,
                   Yukos established dozens of sham “trading companies” in low-tax regions that had
                   no business purpose, and then shifted its own profits to the sham trading companies.
                   These sham trading shells had no genuine economic substance and served no
                   purpose other than to reduce Yukos’ tax liabilities, an arrangement described by
                   Yukos’ own lawyers as constituting unlawful tax evasion.
             5.    The European Court of Human Rights (“ECtHR”) unanimously rejected Yukos’
                   challenge of the tax assessments that are at issue here, on the basis of the same core
                   principles that underlie these arbitrations. The ECtHR found that Yukos’ “tax
                   optimization” scheme consisted of “switching the tax burden from [Yukos] and its
                   production and service units to letter-box companies in domestic tax havens in
                   Russia,” and that these “letter box companies” had “no assets, employees or
                   operations of their own [and] were nominally owned and managed by third parties,
                   although in reality they were set up and run by [Yukos] itself.”
             6.    According to the ECtHR, the “letter-box companies” (a) purchased oil and oil
                   products from Yukos’ production companies at a fraction of their true market
                   prices, (b) “acting in cascade, then sold the oil either abroad, this time at market
                   price or to [Yukos’] refineries and subsequently re-bought it at a reduced price and
                   re-sold it at the market price,” (c) thereby accumulated most of Yukos’ profits in the
                   low-tax regions, resulting in Yukos paying substantially lower taxes on those


                                                   - 34 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 55 of 617




            profits, and (d) then unilaterally transferred to Yukos, as a gift or in purported
            repayment of sham loans, the profits that had been improperly taxed at reduced
            rates in the low-tax regions. The ECtHR unanimously concluded that this scheme
            “was obviously aimed at evading the general requirements of the Tax Code […].”
      7.    The Russian tax authorities concluded that Yukos’ “tax optimization” scheme
            constituted unlawful tax evasion under the bad faith taxpayer doctrine. In particular,
            the Russian tax authorities found, and the Russian courts later agreed, that Yukos
            had abused the low-tax region program because its trading shells (a) did not engage
            in any genuine business activities in the low-tax regions, but were instead controlled
            by Yukos from Moscow, (b) purchased oil and oil products at below-market prices
            solely to artificially concentrate Yukos’ profits in low-tax regions, and (c) made
            only paltry investments in the low-tax regions that were dwarfed by the tax benefits
            they claimed, thereby failing to fulfill the purpose of the low-tax region program.
      8.    Yukos did not then -- or later -- offer any rationale for selling Yukos’ oil through its
            network of low tax region trading companies other than reducing Yukos’ own tax
            liabilities, nor have Claimants done so in these arbitrations.
      9.    Yukos was aware of the bad faith taxpayer doctrine and the risk that its scheme
            would result in substantial tax assessments if the Russian authorities were ever to
            learn of it. Among other things, (a) Yukos knew that the authorities had previously
            denied the low-tax region benefits claimed by several sham trading shells in the
            Lesnoy region and Sibirskaya based on the same Russian anti-abuse rules that were
            later applied to Yukos (the Russian authorities only later learned that Yukos
            exercised de facto control over and management of Sibirskaya and the Lesnoy
            trading shells, and that Yukos surreptitiously liquidated the latter in order to prevent
            the collection of their overdue taxes), (b) Yukos managers had expressly warned the
            company’s senior executives in internal memoranda that public disclosure of the
            scheme “will result in substantial tax claims against the Company,” (c) as Yukos’
            former deputy general counsel later conceded, none of the company’s external
            lawyers was willing to render an opinion endorsing its scheme (to the contrary, in
            refusing to render a “clean” opinion, one cited the need to comply with the same
            bad faith taxpayer doctrine that later led the Russian tax authorities and courts to
            find that Yukos was guilty of tax evasion), and (d) Yukos had access to the
            numerous court decisions applying the bad faith taxpayer doctrine to abusive tax
            schemes -- including those finding Lukoil, one of Yukos’ major competitors, liable
            for substantial additional amounts for having abused the low-tax region program --
            and to the published legal commentaries discussing the bad faith taxpayer doctrine
            and its requirements, including those written by its own tax lawyers.
      10.   Yukos’ knowledge that its “tax optimization” scheme was unlawful is further
            confirmed by Yukos’ repeated lies to the tax authorities, the Russian courts, the
            ECtHR, and Yukos’ own external auditors, including Yukos’ knowingly false
            assertion that it was not affiliated with (and did not control) the sham trading shells,
            a point now conceded even by Claimants. Yukos’ repeated false denial of its
            affiliation with the sham trading shells can only be explained by the company’s
            awareness of the illegality of its scheme.
      11.   Yukos’ tax evasion was not victimless. The billions of dollars in tax benefits it
            wrongfully claimed caused commensurate damage to the regional budget of
            Moscow, where Yukos, as the real party in interest, should have paid profit tax at
            the full rate.
      12.   Claimants’ claims that the Russian authorities’ measures were expropriatory and
            unfair are meritless. First, Claimants’ contention that the legal principles applied by
            the Russian courts were “novel” or “vague” is, as the ECtHR unanimously found,
            refuted by the numerous Russian court decisions that applied these principles and
            similar ones to hold taxpayers liable for tax evasion since the mid-1990s, including



                                             - 35 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 56 of 617




            their abuse of the low-tax region program. Moreover, the published legal
            commentaries, including the guidance published by Yukos’ own tax counsel,
            describe those principles in the same terms as they were applied to Yukos. The
            relevant Russian judicial precedents include those compiled for the Tribunal by
            Russian tax law expert Oleg Konnov, whose description of the history and content
            of the bad faith taxpayer doctrine Claimants have not sought to rebut with any
            expert testimony.
      13.   Mr. Konnov shows that the fines assessed against Yukos were also proper because,
            among other reasons, no taxpayer -- in Russia or elsewhere -- could legitimately
            claim to be surprised that it may not invoke a limitations period that has expired
            only because of its own obstruction of tax audits.
      14.   Claimants also ignore the extensive international precedents demonstrating that the
            principles applied by the Russian authorities and the actions they took against
            Yukos’ tax evasion were consistent with those of ECT signatories and other nations
            worldwide.
      15.   Second, Claimants’ attack on Yukos’ VAT assessments -- holding Yukos liable for
            the VAT due on revenues nominally realized by the sham trading shells but
            properly attributable to Yukos itself -- is also meritless. As the ECtHR unanimously
            held, the Russian authorities acted properly in disregarding Yukos’ sham trading
            shells for profit tax purposes and denying Yukos the benefit of the shells’ 0% VAT
            filings. Claimants also ignore Yukos’ still unexplained failure to submit proper 0%
            VAT returns in its own name after it received its December 29, 2003 tax audit
            report. It is not disputed that Yukos could have filed proper VAT returns -- nothing
            prevented it from doing so -- or that had it done so, it would have avoided more
            than half of its challenged tax liabilities.
      16.   Third, Claimants’ assertion that the tax assessments were discriminatory is
            contradicted by the facts. The ECtHR unanimously rejected this charge. Several
            large Russian companies, including a number of Yukos’ principal competitors, were
            also held liable for tax evasion and assessed substantial amounts of tax on grounds
            similar to those relied on by the Russian authorities and courts in dealing with
            Yukos. But unlike Yukos, these other companies promptly paid their taxes and, in
            the case of Lukoil, publicly abandoned its own “tax optimization” scheme.
      17.   There were also numerous material differences between Yukos’ conduct and that of
            many other Russian oil companies: (a) no other Russian oil company committed
            abuses that were as egregious as those of Yukos, (b) none did so for as long as
            Yukos, (c) none attempted to conceal its abuses as did Yukos (to the extent of lying
            about them to the tax authorities, the courts, and even its own auditors), (d) none
            obstructed their tax audits as did Yukos, including by sending documents and
            employees to distant locations before they could be reviewed and interviewed, (e)
            none made investments in the low-tax regions that were so miniscule in comparison
            to the tax benefits they claimed, (f) none diverted billions of dollars offshore to
            prevent the collection of overdue taxes, and (g) none refused to pay their assessed
            taxes when ultimately required to do so.
      18.   Fourth, Claimants’ contention that the Russian authorities knew and approved of
            Yukos’ scheme is completely unsupported by any credible evidence, as the ECtHR
            again unanimously found. Claimants’ contention cannot be reconciled with Yukos’
            unflagging efforts to conceal its scheme from the Russian authorities. Yukos would
            obviously have had no reason to hide its scheme if it believed the authorities were
            already aware of it, let alone had approved it, or if it thought its scheme was lawful
            and its disclosure would not lead to substantial tax claims. Yukos’ efforts to conceal
            its scheme are reflected in (a) the company’s convoluted offshore structures, serving
            no purpose other than to mask Yukos’ affiliation with its sham trading shells, (b)
            Yukos’ seriatim restructuring of its Lesnoy trading shells after their abuse of that



                                            - 36 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 57 of 617




            region’s low tax program was discovered, (c) Yukos’ management’s internal
            warnings that disclosure of its scheme “will result in substantial tax claims against
            the Company,” (d) Yukos’ failure to disclose its scheme in its purportedly
            “transparent” financial statements, and (e) Yukos’ repeated lies about its scheme to
            the tax authorities, the courts, the ECtHR, and its own auditors.
      19.   In any event, as a matter of Russian law and as Claimants concede, even if the tax
            authorities had known of Yukos’ scheme -- and there is no evidence they did -- they
            would not have been estopped from later challenging it.
      20.   Fifth, Claimants’ contention that the assessments against Yukos were fabricated as
            part of a politically motivated campaign to dismantle Yukos – an allegation on
            which Claimants have unambiguously staked their claims, contending that the
            assessments “cannot be explained in any other way” -- is, as the ECtHR again
            unanimously found, unsupported by any credible evidence. If the assessments were,
            as Claimants insist, the product of a massive political conspiracy spanning several
            years and involving numerous government agencies, engineered and implemented
            by hundreds if not thousands of officials, including no fewer than 60 judges at four
            different levels of courts, along with a large cast of third parties around the globe,
            then surely after nearly a decade of challenges -- by Yukos, its minority
            shareholders, and now Claimants -- at least one internal government memorandum,
            instruction or minute of a meeting evidencing or referring to the grand conspiracy
            alleged by Claimants would have surfaced, or one disgruntled former Government
            official would have reported having participated in a meeting or telephone call
            where the alleged conspiracy was discussed. Instead, Claimants rely solely on
            double and triple hearsay renditions of purported conversations by vocal opponents
            of the Russian Government, inaccurate and uninformed reports by political
            commentators, and sheer innuendo, none of which, even as proffered, competently
            supports Claimants’ conspiracy allegations.
      21.   Claimants’ failure to prove the supposed vast conspiracy confirms that it is merely
            one more sham perpetrated by the Oligarchs who controlled Yukos and were
            ultimately responsible for its demise.
      22.   Yukos’ dealings with PricewaterhouseCoopers (“PwC”) provide yet another
            example of Yukos’ blaming the Russian Federation for the consequences of its own
            misconduct.
      23.   PwC withdrew all of its Yukos audit opinions in June 2007 (after refusing to
            continue to audit the company’s U.S. GAAP financial statements in 2003, itself an
            extraordinary event for a supposedly “transparent” company), following
            confirmation that Yukos’ senior managers had repeatedly lied to PwC about, among
            other things, Yukos’ de facto control over the management of its sham trading
            shells -- an essential element in the company’s “tax optimization” scheme.
      24.   Claimants’ attempt to blame the Russian Federation for PwC’s withdrawal of the
            firm’s audit opinions finds no support in the record. To the contrary, both PwC’s
            senior Russian representative at the time (in a contemporaneous private
            conversation with U.S. Embassy officials in Moscow) and PwC’s senior Yukos
            auditor (in sworn U.S. deposition testimony) confirm that PwC, in withdrawing its
            audit opinions, acted in accordance with applicable auditing standards, a conclusion
            supported by Mr. John Ellison, a former KPMG LLP partner, in his unchallenged
            expert report. The U.S. deposition testimony of Mr. Douglas Miller, the PwC
            partner in charge of auditing Yukos, is especially relevant, because (a) it was sought
            by counsel for Messrs. Khodorkovsky and Lebedev on the grounds that it would
            provide the best opportunity to obtain a truthful account of the reasons for PwC’s
            actions, and (b) Mr. Miller repeatedly rejected Claimants’ “harassment” theory.
      25.   On all of these points, the RosInvestCo and Rovime awards are inconsistent with the
            facts and Russian law, and ignore a wealth of uncontested international practice.



                                            - 37 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 58 of 617




      II.   The Russian Federation Is Not Responsible For And Did Not Cause The
            Unwinding Of The Sibneft Merger
      26.   The Russian Federation is not responsible for the unwinding of Yukos’ proposed
            merger with Sibneft because Claimants do not allege -- let alone establish -- that
            Sibneft was then exercising governmental authority or acting under the instructions
            of Russian State organs. Nor was the Russian Federation the cause of the unwinding
            of the merger. To the contrary, the Russian Federation repeatedly supported the
            proposed merger, and Claimants themselves acknowledge that the Russian
            Federation provided all of the approvals necessary for the merger, including
            approvals granted long after the Russian Federation’s supposed attack on Yukos.
      27.   The merger in fact collapsed because Yukos refused to accommodate Sibneft’s
            request that Mr. Khodorkovsky, following his resignation from Yukos’
            management, be replaced by a Sibneft nominee as head of the to-be merged
            company. Sibneft’s proposal would have left Yukos representatives in all of the
            surviving company’s other senior management positions.
      28.   Documents that Claimants were ordered to produce in these proceedings (over their
            objection) show that Claimants and Sibneft’s principal shareholders agreed to
            unwind the merger without the payment of additional compensation by either side,
            an agreement fatal to Claimants’ request for damages relating to the proposed
            merger. The same documents also reveal that Yukos’ management proposed its own
            plan to unwind the merger without the payment of additional compensation, and
            that this plan contemplated the initiation of a “sham” lawsuit challenging the
            previously-completed exchange of Yukos and Sibneft shares. The contemplated
            lawsuit bears a striking resemblance to the actual lawsuit (challenged by Yukos in
            these arbitrations) that was brought by two of Yukos’ shareholders and ultimately
            led to the legal unwinding of the merger without the payment of additional
            compensation.
      29.   Claimants’ assertion that the US$ 2 billion giga-dividend was required by the
            Sibneft merger is patently untrue. The record shows that the giga-dividend was
            approved on November 28, 2003 (and not on September 25, 2003, as Claimants
            falsely asserted in their Reply), one day after Yukos was informed that the Sibneft
            merger would not proceed. At the Extraordinary General Meeting of Yukos’
            shareholders held on November 28, Claimants voted against all the other
            shareholder proposals linked to the completion of the Sibneft merger, but supported
            payment of the giga-dividend “for Yukos” (that is, for Claimants to the extent of
            70% of the dividend).

      III   Yukos Bears Sole Responsibility For The Consequences Of The Assessments
            Properly Made Against It, Because It Could Have Avoided Those
            Consequences -- And Reduced Its Liability By Well More Than Half – By
            Paying The Amounts Due During The First Quarter Of 2004, While
            Continuing To Challenge The Assessments In Full
      30.   During the first quarter of 2004, Yukos could have avoided well more than half of
            its ultimate tax exposure by paying its corporate profit taxes and the interest then
            due and by filing proper amended VAT returns in its own name. Had Yukos taken
            these few simple steps -- abiding by its own tax counsel’s published advice as to
            how a taxpayer should mitigate its tax liabilities -- it would also have avoided all of
            the subsequent enforcement measures about which Claimants complain, and still
            preserved its right to seek a refund of all the taxes it paid.
      31.   If Yukos had mitigated its liabilities in this way, its total exposure under the
            Russian court rulings that Claimants challenge in these arbitrations would have
            been capped at less than US$ 9.8 billion, rather than the US$ 25.8 billion that was
            ultimately assessed.



                                             - 38 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 59 of 617




      32.   Yukos had more than ample resources in the first quarter of 2004 to cap its tax
            exposure at less than US$ 9.8 billion and to satisfy that liability, even after paying
            its unprecedented US$ 2 billion giga-dividend, but it elected not to do so.
      33.   Instead, Yukos pursued an irrational and ultimately self-destructive course of
            action, for which only the managers of Yukos, installed and controlled by
            Claimants, are to blame. This course of action included (a) Yukos’ continuing
            denial of any liability for its assessed taxes, (b) Yukos’ now acknowledged false
            denial that it controlled the sham trading shells, (c) Yukos’ repeated obstruction of
            the actions taken by the Russian authorities to enforce and collect the company’s
            overdue taxes, (d) Yukos’ dissipation of its own assets and those of the companies it
            controlled, to frustrate the collection of the taxes it owed, and (e) Yukos’ attempt to
            put pressure on the Russian Government by mounting an aggressive international
            lobbying and disinformation campaign that sought to politicize what, for the
            Russian authorities, was always a matter of tax evasion and collection.
      34.   All of the subsequent enforcement proceedings and other measures about which
            Claimants now complain were thus the result of Yukos’ own adamant refusal to
            acknowledge or mitigate its tax liabilities, and its repeated attempts to dissipate and
            conceal its assets and to frustrate the enforcement and collection of its overdue taxes.
            Had Yukos not persisted in this self-destructive course of action, there would have
            been no April injunction (discussed below), and YNG would not have been sold.
      35.   Permitting Claimants to benefit from Yukos’ self-inflicted wounds would
            contravene basic legal principles, and provide Claimants with a windfall -- beyond
            the billions of dollars they have already extracted from Yukos, including by way of
            dividends, share sales, and stichting assets -- to which they are not entitled.

      IV.   The Russian Federation Acted Properly In Enforcing The Tax Assessments
            Against Yukos, Including By Auctioning YNG
      36.   The tax assessments were enforced against Yukos in compliance with Russian law
            and after ample notice to Yukos. As the ECtHR unanimously concluded, there is
            “no reason to doubt that throughout the proceedings the actions of various
            authorities had a lawful basis and that the legal provisions in question were
            sufficiently precise and clear.” The enforcement actions were also measured and
            appropriate in the circumstances and entirely consistent with international practice.
      37.   Claimants’ and Yukos’ contention that Yukos was “surprised” by the timing of the
            assessment for 2000 and the need to make prompt payment is false and indicative of
            Yukos’ lack of good faith. Promptly upon receipt of the December 29, 2003 audit
            report, Yukos’ internal and external counsel advised Yukos that, under established
            Russian law and practice, it should expect to receive a final tax assessment within
            about a month, and that this assessment would require Yukos to make full payment
            promptly, most likely within one day. In the event, the tax assessment for 2000 was
            issued on April 14, 2004, more than two months later than Yukos’ advisors had
            expected, and required payment in two days, not one.
      38.   Although Yukos had ample notice of when and how much it would be required to
            pay, it made no effort to marshal the necessary assets, instead claiming that it was
            not able to pay, even though Claimants now acknowledge that Yukos had sufficient
            resources to pay all of its 2000 taxes.
      39.   By the time of Yukos’ April 2004 assessment, the tax authorities had learned that
            Yukos controlled the Lesnoy shell companies and had sought to prevent the
            payment of their overdue taxes by dissolving them. The tax authorities thus
            understandably applied to the Moscow Arbitrazh Court in April 2004 for
            enforcement of Yukos’ 2000 tax liability and for an injunction prohibiting Yukos
            from selling or encumbering the company’s shareholdings in its Russian
            subsidiaries.



                                             - 39 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 60 of 617




      40.   As the ECtHR held, the authorities’ actions were neither arbitrary nor unfair:
            “[T]he Ministry’s action was lodged under the rule which made it unnecessary to
            wait until the end of the grace period if there was evidence that the dispute was
            insoluble and, regard being had to the circumstances of the case, [the Court] finds
            no indication of arbitrariness or unfairness […] in this connection.” [emphases
            added]
      41.   The April injunction did not affect Yukos’ use of its substantial on- and off-shore
            cash resources, and did not affect Yukos’ offshore assets at all. Yukos nonetheless
            falsely claimed that the injunction prevented Yukos from paying its taxes, again
            evidencing its lack of good faith and credibility.
      42.   No further enforcement efforts were taken for more than two months. During this
            period, Yukos continued to generate close to US$ 2 billion each month in gross
            receipts that Yukos partly transferred off-shore and partly used to voluntarily pay its
            loan to GML’s Moravel shell subsidiary -- but not to pay its tax liabilities.
      43.   Yukos also began a pattern of diminishing the value of its assets, often to the benefit
            of Claimants and the Oligarchs whose interests they represented. For example,
            Yukos forced its production subsidiaries to guarantee Yukos’ already outstanding
            US$ 1.6 billion loan from Moravel, corroborating the concerns that had led the
            authorities to obtain the April injunction.
      44.   Following Yukos’ failure to make (or even to promise to make) any tax payments,
            as well as its dissipation of substantial assets, Russia’s bailiffs finally attached a
            number of Yukos’ on-shore bank accounts at the end of June 2004 -- ten weeks after
            the April tax assessment and 26 weeks after Yukos’ legal advisors advised that it
            needed to be prepared to pay promptly. It was only then that Yukos began to pay
            some, but not all, of its taxes.
      45.   The authorities also sought to seize Yukos’ shares in its production subsidiaries to
            prevent Yukos from encumbering them. True to form, Yukos attempted to frustrate
            the bailiffs’ efforts by terminating the share registry company contract for its
            production subsidiaries and concealing their registries, directing that they be sent
            from central Moscow to remote locations around the country.
      46.   Yukos also took steps to reduce the value of its largest production subsidiary, YNG.
            First, Yukos caused YNG to stop paying its mineral extraction taxes, imperiling its
            production licenses. Second, Yukos and its trading shells stopped paying YNG for
            its crude oil, leaving YNG with more than US$ 4 billion in unpaid invoices. And
            third, Yukos continued to divert funds to GML, its majority shareholder, arranging
            for the payment of more than US$ 700 million to Moravel, even after the cash
            freeze orders were in place.
      47.   Yukos also made a series of bad faith offers to “settle” a portion of its tax liabilities,
            repeatedly offering Sibneft shares as a partial payment or as security for proposed
            future payment, even though Russian law did not allow payment in kind, Yukos’
            title to the proffered shares had been challenged by a third-party, and an injunction
            had been issued (at the request of the third-party) prohibiting their sale or
            encumbrance.
      48.   During this entire period, nothing prevented Yukos from selling its assets subject to
            the bailiffs’ approval and using the proceeds to pay its tax obligations.
      49.   Thus, the authorities found themselves confronted by a company that was fiercely
            resisting the payment of its overdue taxes, that had previously obstructed its tax
            audit, lied to the tax authorities and courts, and attempted to make itself and its
            subsidiaries judgment proof, and that was now burdening the tax authorities’
            principal security -- YNG -- with new liabilities. In these circumstances, the
            bailiffs understandably decided to sell a majority of YNG’s shares -- the only



                                              - 40 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 61 of 617




            realistic way to timely collect Yukos’ unpaid taxes. Despite criticizing the bailiffs
            for not adequately documenting their decision-making process, the ECtHR
            concluded that the bailiffs’ actions were not unreasonable. It is commonplace in
            other countries too for tax collection authorities to sell first the assets that best
            ensure payment.
      50.   The sale of the YNG shares was carried out in accordance with Russian law and
            consistent with international practice. The authorities could have sold the shares to a
            designated purchaser in a directly negotiated transaction, but instead granted Yukos’
            request that the shares be auctioned. A formal and careful appraisal was conducted
            by DKW, and the starting price for the auction was set at a level consistent with
            DKW’s appraisal, taking account of the fact that only 76.79% of the company’s
            shares were sold and that YNG had its own outstanding tax liabilities. All bidders,
            foreign or domestic, were welcome to participate.
      51.   Claimants and Yukos did all they could to prevent the auction from succeeding,
            threatening a “lifetime of litigation” against anyone who participated in or
            facilitated the sale. Yukos also initiated sham bankruptcy proceedings in Houston,
            obtaining a temporary restraining order (“TRO”) that prevented all the previously
            announced bidders and all of their banks from participating in the auction. If the
            price achieved was lower than it might otherwise have been, the fault lies solely
            with Claimants and Yukos.
      52.   The YNG auction achieved a price of approximately US$ 9.4 billion, US$ 500
            million more than the starting price. This result was consistent with the shares’
            appraised value and contemporaneous fair market value estimates.
      53.   The evidence does not support Claimants’ contention that the winning bidder,
            Baikal Finance, conspired with Rosneft. Rather, Baikal Finance found itself unable
            to finance its winning bid because of the Houston court’s TRO, and thus at risk of
            losing its US$ 1.7 billion deposit unless a substitute purchaser, not dependent on
            immediate bank financing, could be found on very short notice. Rosneft simply
            seized a commercial opportunity that presented itself as a result of Claimants’
            misconduct.
      54.   The net proceeds of the YNG sale were not sufficient to meet all of Yukos’ tax
            obligations. The Russian authorities nonetheless gave Yukos ample time to pay the
            remaining balance, but it declined to do so, making clear that its priority was to
            place assets behind the shield of the Dutch stichtings.

      V.    The Russian Federation Acted Properly In Connection With Yukos’
            Bankruptcy, Which Was Precipitated By Yukos’ Failure To Pay Its Debts To
            The SocGen Syndicate, And Is Not Attributable To The Russian Federation
      55.   Claimants’ bankruptcy-related claims fail because critical conduct essential to these
            claims was taken by actors for which the Russian Federation is not responsible,
            including the SocGen syndicate, YNG, Rosneft, the Federal Tax Service acting as
            creditor, the meeting and committee of Yukos’ creditors, Yukos’ interim manager
            and bankruptcy receiver, the participants in Yukos’ bankruptcy auctions, and the
            purchasers of the auctioned assets sold. In taking the actions complained of by
            Claimants, none of these actors was exercising sovereign authority or acting
            pursuant to the direction or control of sovereign authority. Claimants have provided
            no evidence on which the Tribunal could make a contrary finding.
      56.   Yukos’ dilatory and obstructionist treatment of its commercial creditors paralleled
            closely its treatment of the tax authorities. In both instances, Yukos (a) falsely
            claimed it was unable to meet its obligations, (b) forced its creditors to pursue their
            claims in multiple court proceedings where Yukos presented unsubstantiated
            defenses, (c) offered to negotiate with its creditors only when they were close to
            collecting their claims, (d) made unrealistic settlement proposals that were



                                             - 41 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 62 of 617




            subsequently withdrawn, and (e) together with its controlling shareholders,
            strenuously resisted all collection efforts, prompting more aggressive action on the
            part of its creditors.
      57.   Both sides agree that Yukos’ bankruptcy was initiated by the SocGen syndicate,
            based upon Yukos’ failure to pay an outstanding English court judgment after it was
            recognized in Russia.
      58.   The SocGen syndicate simultaneously also sought payment of the same debt from
            Rosneft pursuant to the 2004 loan guarantee that Yukos had foisted on YNG, which
            Rosneft then owned. Although Rosneft disputed the validity of the guarantee,
            Rosneft required forbearance from the same banks on covenant breaches arising
            from the YNG acquisition, and Rosneft needed the banks’ cooperation for its
            planned IPO. The convergence of the syndicate’s and Rosneft’s commercial
            interests resulted in their agreeing that Rosneft would pay the syndicate in full, but
            only after the syndicate had pursued all legal avenues to obtain payment from
            Yukos, the primary obligor. If Rosneft instead paid, the syndicate’s rights under the
            loan agreement were to be assigned to Rosneft.
      59.   Claimants acknowledge that this agreement was commercially-motivated and on
            commercial terms, but contend that its confidentiality clause evidences a conspiracy
            on the part of the SocGen syndicate to act secretly on behalf of Rosneft, which
            Claimants improperly equate with Respondent. The confidentiality clause, however,
            was itself a standard commercial term necessary to preserve the possibility that
            Yukos would pay the SocGen syndicate before Rosneft became unconditionally
            obligated to do so, and remained in effect only for so long as Yukos’ payment
            would have discharged Rosneft’s own obligation to pay the syndicate.
      60.   Yukos satisfied the criteria for bankruptcy under Russian law due to its persistent
            failure to pay its commercial creditors, and was insolvent long before the
            proceedings were commenced. This is also undisputed.
      61.   The proceedings were conducted in compliance with Russian law and international
            practice. The courts properly allowed the Federal Tax Service’s, Rosneft’s and
            YNG’s claims, and substantial amounts of YNG’s claims were never disputed by
            Yukos. Belying Claimants’ discrimination charge, the courts also allowed some
            Yukos related-party claims, but properly rejected other abusive claims, such as the
            Moravel loan, a barely disguised attempt to turn equity into debt.
      62.   Yukos’ management, actively supported by Claimants, had the opportunity to
            present a rehabilitation plan to the meeting of creditors. The rough outline
            management submitted was, however, legally defective and did not provide any
            basis for creditors to prefer rehabilitation to liquidation. It was not properly
            presented to or approved by Yukos’ shareholders, did not meet the legal
            requirement that the company’s tax claims be satisfied within six months, and did
            not ensure full, let alone timely, payment of Yukos’ creditors’ claims.
      63.   Once Yukos’ liquidation was properly approved, the company’s assets were sold at
            auction in accordance with Russian law and international practice. Yukos’ receiver
            obtained appraisals for the fair value of the assets, and used those appraisals to set
            minimum bids in the auctions, all of which were exceeded, some by very large
            margins. The auctions were open to domestic and foreign bidders, adequately
            noticed and advertised, and competitive. To the extent that any bidders may have
            been discouraged from participating, this was again the result of Claimants and
            Yukos having threatened potential bidders with legal action. While the aggregate
            results exceeded Yukos’ own (and other) contemporaneous fair market value
            estimates, more than US$ 9 billion in creditor claims nonetheless remained
            unsatisfied.




                                            - 42 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 63 of 617




      VI.   Claimants Have Failed To Establish Sine Qua Non Elements Of Their Article
            13 And 10(1) ECT Claims

            A.     Article 21 ECT
      64.   First, as an initial matter, Claimants’ claims must be based on measures outside the
            taxation carve-out of Article 21(1) ECT or, alternatively, within Article 21(1) ECT,
            but subject to one of the claw-backs of Article 21(2) to (5) ECT.
      65.   Taxation carve-outs such as this one fulfill plainly legitimate functions. They (a)
            preserve the Contracting Parties’ sovereign power in the field of taxation, which is
            of critical importance to the very existence of a State, (b) delineate the extensive
            network of investment treaties from the even broader network of taxation treaties,
            (c) pay due regard to the complexity of tax matters, and, in many cases, preserve the
            coordination role of the competent tax authorities under double taxation treaties.
      66.   To fulfill these functions, taxation carve-outs are typically broad, covering all
            aspects of tax regimes, including tax enforcement measures.
      67.   Article 21(1) ECT, under its plain meaning, covers the whole range of measures
            taken by all branches of government in the field of taxation. Tax legislation and
            enforcement measures are inextricably linked, and it is not possible to meaningfully
            dissociate them in the context of Article 21(1) ECT.
      68.   The core allegations on which Claimants base their claims are squarely within the
            scope of Article 21(1) ECT: tax audits, tax assessments, interest and fines provoked
            by Yukos’ failure to pay its assessed taxes, measures to ensure the effective
            collection of its taxes, and the sale of Yukos’ assets to satisfy its tax liabilities.
      69.   Claimants seek to avoid Article 21 ECT on two grounds, that Article 21(7)(a) ECT
            limits the scope of the taxation carve-out to tax legislation and tax treaties and does
            not apply to mala fide taxation measures. These arguments are baseless.
      70.   Article 21(7)(a) ECT contains an illustrative list of taxation measures that does not
            replace the term “measures” with the term “provisions,” but underscores that the
            term “Taxation Measures” covers all aspects of the tax regime, including
            international and domestic measures.
      71.   Claimants’ position that Article 21(1) ECT is inapplicable to the taxation measures
            they complain about fails as a matter of fact and law. The record shows that the
            taxation measures at issue were a justified response to Yukos’ massive tax fraud
            and its willful strategy to obstruct efforts to collect the taxes due. As a matter of
            law, Claimants mix two issues, the concept and definition of “Taxation Measures,”
            on the one hand, and their legality, on the other. Legality is determined under Part
            III of the ECT, but only to the extent of the claw-backs pursuant to Article 21(2) to
            (5) ECT.
      72.   Article 21 ECT contains no claw-back for Article 10(1) ECT, and the Tribunal
            therefore lacks jurisdiction over core allegations of Claimants’ Article 10(1) ECT
            claims.
      73.   Article 21(5) ECT contains a claw-back for Article 13 ECT claims, but is applicable
            only to “taxes,” and is combined with a mandatory referral to the competent tax
            authorities, a procedure invoked by Respondent in these proceedings. The
            expropriation claw-back, in its ordinary meaning, supported by the travaux
            préparatoires, applies to charges imposed by the State for public purposes,
            excluding tax enforcement and collection measures. When compared to the varying
            practices with respect to clawbacks in taxation carve-outs, the deliberate choice of
            the ECT negotiating States to reinstate expropriatory “taxes” represents a middle
            ground, which must be respected.




                                             - 43 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 64 of 617




            B.     Article 13(1) ECT
      74.   In order to establish their claim for a breach of Article 13(1) ECT, Claimants must
            show that, in addition to being outside the scope of the taxation carveout of Article
            21(1) ECT -- or within Article 21(1) ECT, but reinstated by Article 21(5) ECT --
            the measures complained of must be “measures having effect equivalent to
            nationalization or expropriation.”
      75.   First, Claimants have failed to establish that conduct not carved-out by Article 21
            ECT that is (a) attributable to Respondent, and (b) an exercise of its sovereign
            power caused a total or near total deprivation of Claimants’ investment. Critically,
            the core allegations of Claimants’ claims are outside the scope of Article 13(1) ECT
            by virtue of Article 21 ECT. Moreover, Yukos itself engaged in conduct -- by
            refusing to pay the assessments against it when due, while preserving its right to
            challenge them – that directly resulted in the company’s demise and the ensuing
            loss of Claimants’ investments. Finally, conduct that was essential to Yukos’
            liquidation, including in particular the filing of the bankruptcy petition by the
            SocGen syndicate, and the creditors’ meeting decision to liquidate Yukos, is not
            expropriatory because it is not attributable to Respondent under the rules of State
            responsibility, or does not involve an exercise of sovereign power.
      76.   Second, Claimants have failed to establish that the measures complained of
            frustrated distinct, reasonable, investment-backed expectations, an important
            element in assessing whether regulatory measures amount to “measures having
            effect equivalent to nationalization or expropriation.” Claimants had no right or
            legitimate expectation to operate Yukos in violation of Russian law, and no right or
            legitimate expectation that Respondent would exempt Yukos from the tax
            enforcement and collection measures about which Claimants complain if Yukos
            failed to pay its taxes and obstructed the collection of taxes due.
      77.   In particular, Claimants have failed to establish that Respondent at any time made a
            representation, based upon complete disclosure, that it would allow Yukos to
            operate its fraudulent tax evasion scheme or refrain from enforcing and collecting
            the taxes Yukos owed. Yukos’ tax evasion scheme was illegal under Russian law
            when Claimants made their investments, and the tax enforcement and collection
            measures taken against Yukos were all provided for by Russian law at that time.
            The bad faith taxpayer anti-abuse doctrine that Respondent’s tax authorities and
            courts applied to counter Yukos’ tax evasion dates back to the mid 1990s, well
            before Claimants acquired their Yukos shares.
      78.   Third, putting aside the other elements required to establish “measures having effect
            equivalent to nationalization or expropriation,” the executive and judicial measures
            at issue, in any event, constitute a legitimate exercise of Respondent’s regulatory
            power.
      79.   The measures alleged to be expropriatory are well within the range of what is
            generally accepted as a legitimate exercise of States’ police powers. First,
            Respondent has established that the measures complained of accord in all material
            respects with international and comparative standards.
      80.   Second, the measures challenged by Claimants conform with Russian law, which in
            turn accords with international standards, and have been reviewed and upheld by
            multiple levels of Respondent’s judiciary, including the Russian Supreme Court.
      81.   Third, the European Court of Human Rights has found that the very same measures
            Claimants allege to be expropriatory were a legitimate exercise of Respondent’s
            regulatory power.
      82.   Fourth, the measures complained of must be assessed in their proper context --
            Yukos’ massive tax evasion, compounded by its illegal and deliberate strategy to
            frustrate any effort by the authorities to collect the company’s overdue taxes.



                                            - 44 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 65 of 617




      83.    Contrary to Claimants’ perception, respect for the rule of law is not a oneway-street.
             Foreign investors have a duty to abide by the law, pay taxes, provide required
             disclosures of their activities in the host State, and cooperate with the authorities.
      84.    Measures taken to combat illegal conduct may legitimately result in the loss of an
             investment. Yukos’ tax evasion scheme violated Russian law, and the assessment of
             the evaded taxes was a legitimate measure to combat Yukos’ fraud. The resulting
             tax enforcement and collection measures were completely justified in light of
             Yukos’ failure to pay the assessed taxes and its willful obstruction of Respondent’s
             collection efforts. Indeed, none of the subsequent enforcement measures, including
             the auction of YNG, would have occurred, and Yukos would not have been
             liquidated, had Yukos acted as a responsible taxpayer should have done.

             C.     Article 10(1) ECT
      85.    Claimants’ Article 10(1) ECT claims fail for many of the same reasons as their
             expropriation claim. At the threshold, the core allegations on which Claimants base
             their Article 10(1) ECT claims are within the taxation carve-out of Article 21(1)
             ECT. The Tribunal therefore lacks jurisdiction over these claims and Article 10(1)
             ECT is inapplicable.
      86.    Again, at the threshold, critical conduct alleged to be unlawful under Article 10(1)
             ECT is not attributable to Respondent or not an exercise of sovereign authority. The
             harm attributed to Respondent’s alleged breaches of Article 10(1) ECT, the loss of
             Claimants’ Yukos shares, was caused by Yukos’ own misconduct and conduct of
             third parties not attributable to Respondent. Claimants have failed to show that any
             of the irregularities they allege in the administrative and judicial proceedings at
             issue affected the outcome of the case, the liquidation of Yukos, and the ensuing
             loss of Claimants’ shares.
      87.    In any event, Claimants have failed to establish that the challenged measures
             interfered with their legitimate expectations at the time they made their investment
             or were not taken in the proper exercise of the authorities’ statutory duties. The
             contested measures (a) accord with international and comparative standards, (b)
             were reviewed and upheld by the Russian courts, and (c) have been assessed by the
             ECtHR to be a legitimate exercise of Respondent’s taxation power.
      88.    Finally, but no less important, the host State’s conduct under Article 10(1) ECT
             cannot be assessed in isolation from that of the investor or its investment. Yukos’
             massive tax fraud and illegal obstruction of the efforts to collect the taxes it owed
             provoked the measures complained of, which were justified responses to combat
             Yukos’ illegal conduct and enforce overdue taxes. None of the measures at issue
             can therefore be said to be arbitrary, unfair, or inequitable for purposes of Article
             10(1) ECT.
      89.    Nor are such measures discriminatory within the meaning of Article 10(1) ECT.
             Article 10(1) ECT does not establish a right of impunity based on the host State’s
             authorities’ alleged failure to enforce mandatory legal requirements, and Claimants
             have in any event failed to show nationality-based discrimination, or unjustified
             differential treatment of similar cases.

      VII.   The Tribunal Lacks Jurisdiction Over Claimants’ Claims Concerning The
             Alleged Mistreatment Of Messrs. Khodorkovsky And Lebedev And Other
             Yukos Officials, And In Any Event, These Claims, And Claims Concerning
             Searches Of Yukos Records, Are Unsupported
      90.    The Tribunal should reject Claimants’ attempt to distract its attention from the only
             matter that is genuinely at issue in these arbitrations -- Claimants’ investments in
             Yukos, and the consequences for those investments of Yukos’ tax evasion scheme -




                                             - 45 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 66 of 617




            - with extensive allegations concerning the arrests and prosecution of Yukos
            officials and searches and seizures of the company’s records.
      91.   First, the Tribunal cannot assert jurisdiction under Article 26 ECT to address
            alleged violations of the rights of Yukos officials, because Claimants have not
            proven that any such violations directly impaired Claimants’ management or control
            of their investments. To the contrary, Yukos expressly confirmed after Mr.
            Khodorkovsky’s arrest and subsequent resignation that they had “no impact
            whatsoever on [its] operations,” and Mr. Lebedev did not even hold a position with
            Yukos at that time. The prosecutions of Messrs. Khodorkovsky and Lebedev
            likewise did not impair Yukos’ performance, which the company informed its
            investors in 2005 “was extremely healthy.”
      92.   Claimants have also failed to establish that the prosecutions of any Yukos officials
            reflect a systemic failure of the Russian judicial system or, at a minimum, were
            fundamentally unjustified or groundless. To the contrary, all were reviewed by the
            Russian courts at multiple levels, and by the ECtHR (with respect to the initiation of
            Mr. Khodorkovsky’s prosecution), and were found to be in accord with Russian law
            and international standards. Tellingly, Claimants have never disputed that Mr.
            Khodorkovsky, Mr. Lebedev, or any of the other Yukos officials who were
            convicted of crimes related to their management of Yukos, actually committed
            those crimes, relying instead on conclusory complaints about various procedural
            matters, based on mischaracterizations of the pertinent facts.
      93.   Finally, Claimants have not established that the searches of certain of Yukos’
            offices and the seizure of certain of its records pursuant to the official investigations
            of its misconduct were expropriatory, evidence a systemic judicial failure, or were
            otherwise fundamentally unjustified or groundless. This allegation is at best ironic,
            in light of Yukos’ unrelenting obstruction of those investigations. It is also
            unsustainable. All of these procedures conformed to Russian law, and Yukos’ own
            contemporaneous public statements and internal documents confirm that Yukos
            itself did not believe they had any significant impact on the company.

      VIII. The Tribunal Lacks Jurisdiction Over Claimants’ Claims, Or Must Dismiss
            Them, Because They Are Based On Illegal Conduct By Claimants And The
            Yukos Managers They Installed And Controlled
      94.   The Oligarchs who controlled Claimants acquired and consolidated their
            investments in Yukos through illegal acts and bad faith conduct, and thereafter
            perpetrated -- either directly or through the Yukos managers they installed and
            controlled -- a long series of illegal acts, including the tax evasion that is at the heart
            of these arbitrations.
      95.   Claimants contend that these illegalities are “collateral” or “unrelated to” their
            investments, even though they relate to the acquisition or enhancement of the value
            of Yukos, or to Claimants’ own unlawful abuse of the Russia-Cyprus Tax Treaty.
            Through that abuse, Claimants themselves fraudulently evaded -- in violation of
            both Russian and Cypriot criminal laws -- more than US$ 230 million in Russian
            withholding taxes, and more than triple that amount in Russian profit taxes.
      96.   This history of repeated illegal conduct by Claimants -- culminating in the diversion
            of assets worth billions of dollars to the illegally-created Dutch stichtings, placing
            those assets beyond the reach of the Russian tax authorities -- deprives the Tribunal
            of jurisdiction over Claimants’ claims, because ECT protection does not extend to
            illegal investments, or requires that the Tribunal dismiss those claims under the
            principle of unclean hands. The Tribunal should reject Claimants’ attack on the
            existence of the principle of unclean hands in international law, as well as their
            baseless charge that Respondent is estopped from raising Claimants’ illegalities.




                                              - 46 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 67 of 617




      IX.    Claimants Have Failed To Establish Any Entitlement To Damages
      97.    Claimants are not entitled to any compensation, in light of (a) their own illegal
             conduct, including their and the Oligarchs’ illegal acquisition and consolidation of
             their ownership and control of Yukos, their abuse of the Russia-Cyprus Tax Treaty,
             and their implementation of Yukos’ tax evasion scheme, and (b) Yukos’ failure to
             mitigate its tax liability, and Yukos’ and Claimants’ actions to prevent the
             collection of Yukos’ overdue taxes.
      98.    Claimants are not entitled to any compensation for acts of the Russian Federation
             that are within the carve-out of Article 21(1) ECT and not within the clawback of
             Article 21(5) ECT.
      99.    Claimants also are not entitled to any compensation based on Yukos’ claimed value
             at any given point in time, because they have failed to demonstrate any causal link
             between any diminution in Yukos’ then-supposed value and specific violations of
             the ECT. Claimants’ “all-or-nothing” approach does not provide a means by which
             the Tribunal can (a) assess whether the Russian Federation’s actions constituted an
             “expropriation,” or (b) quantify the damages, if any, arising in the event some, but
             not all, of the measures Claimants complain about are found to violate the ECT.
             This is the inevitable result of Claimants’ failure to present a damages measure, but
             instead a static valuation, devoid of any causation analysis.
      100.   Claimants’ valuations also fail on their own terms, because they are entirely
             dependent on Claimants’ unsustainable valuation date of November 21, 2007.
      101.   Claimants and their expert concede that the valuations presented in their opening
             submissions are infected by numerous material errors. These errors fatally
             undermine Claimants’ core assertions and render Claimants’ evidence unreliable for
             any purpose. The revised valuations submitted in Claimants’ Reply are likewise
             riddled with errors and are manifestly result-driven, leaving Claimants with no
             competent evidence of damages at all. This is true, too, of their “method of
             collection” scenarios, which are unsupportable and fail of their own terms.
      102.   Once Yukos chose not to mitigate its tax liability during the first quarter of 2004 -
             - by paying no more than US$ 9.8 billion, capping its tax exposure at that amount
             and avoiding all of the subsequent enforcement measures -- there was no realistic
             means by which Yukos could have paid all of its liabilities, let alone continued in
             business as a going concern. Claimants’ failure to mitigate is a further reason why
             their damages model, based on the claimed value of Yukos as of a given date,
             does not provide a meaningful measure of damages. Thus, even if the Tribunal
             were to conclude that an award of damages is warranted, it must be capped at
             Claimants’ proportionate interest in the amount, if any, of Yukos’ unavoidable
             liabilities -- not more than US$ 9.8 billion -- that the Tribunal concludes were
             improperly assessed.
      103.   Claimants’ damages claim represents a 58% compound annual rate of return on
             their investment in Yukos. Claimants’ requested rate of return fails to take account
             of Claimants’, the Oligarchs’, and Yukos’ unlawful misconduct and is well beyond
             that which any legitimate investor would have earned.
      104.   Measured against a reasonable return on investment, and after taking account of the
             returns on their investment in Yukos that Claimants have already received (not to
             mention the fruits of their ill-gotten gains and assets secreted offshore), Claimants
             have not incurred any damages at all.




                                             - 47 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 68 of 617




IV.    PARTIES’ REQUESTS FOR RELIEF

A.     RELIEF REQUESTED BY CLAIMANTS

110. Claimants request that the Tribunal render an Award:

              (1)    Declaring that the Respondent has breached its obligations under Article 10(1) of
                     the Energy Charter Treaty;
              (2)    Declaring that the Respondent has breached its obligations under Article 13(1) of
                     the Energy Charter Treaty;
              (3)    Ordering the Respondent to pay to the Claimants, in full reparation of their
                     damages, an amount to be determined by the Arbitral Tribunal, estimated by the
                     Claimants at no less than US$ 114.174 billion, to be shared between the Claimants
                     in the following proportions:

                           Hulley Enterprises Limited         US$ 93.229 billion
                           Yukos Universal Limited            US$ 4.666 billion
                           Veteran Petroleum Limited          US$ 16.279 billion

              (4)    Ordering the Respondent to pay post-award interest on the above sums to the
                     Claimants at the rate of Libor + 4% compounded annually from the date of the
                     Award until the date of full payment;
              (5)    Ordering the Respondent to pay to the Claimants the full costs of these arbitrations,
                     including, without limitation, arbitrators’ fees, administrative costs of the PCA,
                     counsel fees, expert fees and all other costs associated with these proceedings;
              (6)    Dismissing all of the Respondent’s defenses;
              (7)    Ordering any such further relief as it may deem appropriate.7


B.     RELIEF REQUESTED BY RESPONDENT

111. Respondent requests that the Tribunal render an Award:

              (a)    Dismissing Claimants’ claims on the ground that the Tribunal lacks jurisdiction to
                     entertain them;
              (b)    In the alternative, dismissing Claimants’ claims on the ground that they are
                     inadmissible;
              (c)    In the alternative, dismissing Claimants’ claims on the merits in their entirety;
              (d)    In the alternative, declaring that Claimants are not entitled to the damages they seek,
                     or to any damages;
              (e)    Ordering Claimants to pay the Russian Federation’s costs, expenses, and attorney’s
                     fees;


7
      Reply ¶ 1199. See also Claimants’ Memorial on the Merits, 15 September 2010 (hereinafter “Memorial”) ¶ 1056;
      Claimants’ Post-Hearing Brief, 21 December 2012 (hereinafter “Claimants’ Post-Hearing Brief”) ¶ 302.




                                                      - 48 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 69 of 617




               (f)     Granting such further relief against the Claimants as the Tribunal deems fit and
                       proper.8


V.     APPLICABLE LAW

A.     PROCEDURAL LAW

112. The procedural law to be applied by the Tribunal consists of the procedural provisions of the
       ECT (particularly Article 26), the UNCITRAL Rules of 1976, and, because The Hague is the
       place of arbitration, any mandatory provisions of Dutch arbitration law. The Final Awards are
       made pursuant to Article 1049 of the Netherlands Arbitration Act 1986.


B.     SUBSTANTIVE LAW

113. The substantive law to be applied by the Tribunal consists of the substantive provisions of the
       ECT, the Vienna Convention on the Law of Treaties (“VCLT”),9 and applicable rules and
       principles of international law, including those authoritatively set out in the Articles on
       Responsibility of States for Internationally Wrongful Acts of the International Law
       Commission of the United Nations (“ILC Articles on State Responsibility”).10 In addition to
       the foregoing sources, the national law of the Russian Federation is relevant with regard to
       certain issues.


       1.      Energy Charter Treaty

114. Throughout this Award, the Tribunal refers to and analyzes specific provisions of the ECT. For
       ease of reference, the key relevant provisions are also collected and reproduced below, in the
       order in which they appear in the Treaty:

8
      Counter-Memorial ¶ 1654; Respondent’s Rejoinder on the Merits, 16 August 2012 (hereinafter “Rejoinder”) ¶ 1748;
      Respondent’s Post-Hearing Brief, 21 December 2012 (hereinafter “Respondent’s Post-Hearing Brief”) ¶ 263.
9
      Vienna Convention on the Law of Treaties, Vienna, 23 May 1969, 1155 UNTS 331.
10
      Draft Articles on Responsibility of States for Internationally Wrongful Acts with commentaries (Text adopted by the
      International Law Commission at its fifty-third session, in 2001), Arts. 1–11 and 28–39, Exh. C-1042; Arts. 49–54,
      Exh. C-1681 (hereinafter “ILC Articles on State Responsibility”). The full text of the ILC Articles, along with parts of
      the official commentary, was also submitted submitted by Respondent. See Exhs. R-1031 and R-4235. The Tribunal
      is aware that Part II of the ILC Articles on State Responsibility, which sets out the consequences of internationally
      wrongful acts, is concerned with claims between States and may not directly apply to cases involving persons or
      entities other than States. That being said, the ILC Articles reflect customary international law in the matter of state
      responsibility, and to the extent that a matter is not ruled by the ECT and there are no circumstances commanding
      otherwise, the Tribunal will turn to the ILC Articles on State Responsibility for guidance. The Tribunal further notes
      that both Parties have cited to and relied on Parts I and II of the ILC Articles on State Responsibility in their
      submissions.




                                                           - 49 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 70 of 617




                                               Article 10
                          PROMOTION, PROTECTION AND TREATMENT OF INVESTMENTS
          (1)       Each Contracting Party shall, in accordance with the provisions of this
                    Treaty, encourage and create stable, equitable, favourable and transparent
                    conditions for Investors of other Contracting Parties to make Investments in
                    its Area. Such conditions shall include a commitment to accord at all times
                    to Investments of Investors of other Contracting Parties fair and equitable
                    treatment. Such Investments shall also enjoy the most constant protection
                    and security and no Contracting Party shall in any way impair by
                    unreasonable or discriminatory measures their management, maintenance,
                    use, enjoyment or disposal. In no case shall such Investments be accorded
                    treatment less favourable than that required by international law, including
                    treaty obligations.
                                                       [. . .]
                                                    Article 13
                                                  EXPROPRIATION
          (1)       Investments of Investors of a Contracting Party in the Area of any other
                    Contracting Party shall not be nationalized, expropriated or subjected to a
                    measure or measures having effect equivalent to nationalization or
                    expropriation (hereinafter referred to as “Expropriation”) except where such
                    Expropriation is:
                    (a)     for a purpose which is in the public interest;
                    (b)     not discriminatory;
                    (c)     carried out under due process of law; and
                    (d)     accompanied by the payment of prompt, adequate and effective
                            compensation.
                    Such compensation shall amount to the fair market value of the Investment
                    expropriated at the time immediately before the Expropriation or impending
                    Expropriation became known in such a way as to affect the value of the
                    Investment (hereinafter referred to as the “Valuation Date”).
                    Such fair market value shall at the request of the Investor be expressed in a
                    Freely Convertible Currency on the basis of the market rate of exchange
                    existing for that currency on the Valuation Date. Compensation shall also
                    include interest at a commercial rate established on a market basis from the
                    date of Expropriation until the date of payment.
                                                       [. . .]
                                                    Article 21
                                                    TAXATION
          (1)       Except as otherwise provided in this Article, nothing in this Treaty shall
                    create rights or impose obligations with respect to Taxation Measures of the
                    Contracting Parties. In the event of any inconsistency between this Article
                    and any other provision of the Treaty, this Article shall prevail to the extent
                    of the inconsistency.
          [. . .]
          (5)       (a)     Article 13 shall apply to taxes.




                                              - 50 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 71 of 617




                    (b)    Whenever an issue arises under Article 13, to the extent it pertains to
                           whether a tax constitutes an expropriation or whether a tax alleged to
                           constitute an expropriation is discriminatory, the following provisions
                           shall apply:
                           (i)     The Investor or the Contracting Party alleging expropriation
                                   shall refer the issue of whether the tax is an expropriation or
                                   whether the tax is discriminatory to the relevant Competent
                                   Tax Authority. Failing such referral by the Investor or the
                                   Contracting Party, bodies called upon to settle disputes
                                   pursuant to Article 26(2)(c) or 27(2) shall make a referral to
                                   the relevant Competent Tax Authorities;
                           (ii)    The Competent Tax Authorities shall, within a period of six
                                   months of such referral, strive to resolve the issues so referred.
                                   Where nondiscrimination issues are concerned, the Competent
                                   Tax Authorities shall apply the non-discrimination provisions
                                   of the relevant tax convention or, if there is no non-
                                   discrimination provision in the relevant tax convention
                                   applicable to the tax or no such tax convention is in force
                                   between the Contracting Parties concerned, they shall apply
                                   the non-discrimination principles under the Model Tax
                                   Convention on Income and Capital of the Organisation for
                                   Economic Co-operation and Development;
                           (iii)   Bodies called upon to settle disputes pursuant to Article
                                   26(2)(c) or 27(2) may take into account any conclusions
                                   arrived at by the Competent Tax Authorities regarding whether
                                   the tax is an expropriation. Such bodies shall take into account
                                   any conclusions arrived at within the six-month period
                                   prescribed in subparagraph (b)(ii) by the Competent Tax
                                   Authorities regarding whether the tax is discriminatory. Such
                                   bodies may also take into account any conclusions arrived at
                                   by the Competent Tax Authorities after the expiry of the six-
                                   month period;
                           (iv)    Under no circumstances shall involvement of the Competent
                                   Tax Authorities, beyond the end of the six-month period
                                   referred to in subparagraph (b)(ii), lead to a delay of
                                   proceedings under Articles 26 and 27.
          [. . .]
          (7)       For the purposes of this Article:
                    (a)    The term “Taxation Measure” includes:
                           (i)     any provision relating to taxes of the domestic law of the
                                   Contracting Party or of a political subdivision thereof or a
                                   local authority therein; and
                           (ii)    any provision relating to taxes of any convention for the
                                   avoidance of double taxation or of any other international
                                   agreement or arrangement by which the Contracting Party is
                                   bound.
                    (b)    There shall be regarded as taxes on income or on capital all taxes
                           imposed on total income, on total capital or on elements of income or
                           of capital, including taxes on gains from the alienation of property,
                           taxes on estates, inheritances and gifts, or substantially similar taxes,
                           taxes on the total amounts of wages or salaries paid by enterprises, as



                                              - 51 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 72 of 617




                              well as taxes on capital appreciation.
                    (c)       A “Competent Tax Authority” means the competent authority
                              pursuant to a double taxation agreement in force between the
                              Contracting Parties or, when no such agreement is in force, the
                              minister or ministry responsible for taxes or their authorized
                              representatives.
                    (d)       For the avoidance of doubt, the terms “tax provisions” and “taxes” do
                              not include customs duties.


                                                         [. . .]
                                          Article 26
             SETTLEMENT OF DISPUTES BETWEEN AN INVESTOR AND A CONTRACTING PARTY
          (1)       Disputes between a Contracting Party and an Investor of another Contracting
                    Party relating to an Investment of the latter in the Area of the former, which
                    concern an alleged breach of an obligation of the former under Part III shall,
                    if possible, be settled amicably.
          (2)       If such disputes can not be settled according to the provisions of paragraph
                    (1) within a period of three months from the date on which either party to the
                    dispute requested amicable settlement, the Investor party to the dispute may
                    choose to submit it for resolution:
                    [. . .]
                    (c)       in accordance with the following paragraphs of this Article.
          (3)       (a)     Subject only to subparagraphs (b) and (c), each Contracting Party
                    hereby         gives its unconditional consent to the submission of a dispute
                    to international      arbitration or conciliation in accordance with the
                    provisions of this Article.
                    [. . .]
          (4)       In the event that an Investor chooses to submit the dispute for resolution
                    under subparagraph (2)(c), the Investor shall further provide its consent in
                    writing for the dispute to be submitted to:
                    [. . .]
                    (b)       a sole arbitrator or ad hoc arbitration tribunal established under the
                              Arbitration Rules of the United Nations Commission on International
                              Trade Law (hereinafter referred to as “UNCITRAL”);
          [. . .]
          (6)       A tribunal established under paragraph (4) shall decide the issues in dispute
                    in accordance with this Treaty and applicable rules and principles of
                    international law.
          [. . .]
          (8)       The awards of arbitration, which may include an award of interest, shall be
                    ¿nal and binding upon the parties to the dispute. An award of arbitration
                    concerning a measure of a sub-national government or authority of the
                    disputing Contracting Party shall provide that the Contracting Party may pay
                    monetary damages in lieu of any other remedy granted. Each Contracting
                    Party shall carry out without delay any such award and shall make provision
                    for the effective enforcement in its Area of such awards.




                                                - 52 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 73 of 617




      2.    Vienna Convention on the Law of Treaties

115. Relevant provisions of the VCLT are as follows:

                                                     Article 31
                                            General rule of interpretation
                  1.    A treaty shall be interpreted in good faith in accordance with the ordinary
                        meaning to be given to the terms of the treaty in their context and in the light
                        of its object and purpose
                  2.    The context for the purpose of the interpretation of a treaty shall comprise, in
                        addition to the text, including its preamble and annexes:
                        (a)    any agreement relating to the treaty which was made between all the
                               parties in connection with the conclusion of the treaty;
                        (b)    any instrument which was made by one or more parties in connection
                               with the conclusion of the treaty and accepted by the other parties as
                               an instrument related to the treaty.
                  3.    There shall be taken into account, together with the context:
                        (a)    any subsequent agreement between the parties regarding the
                               interpretation of the treaty or the application of its provisions;
                        (b)    any subsequent practice in the application of the treaty which
                               establishes the agreement of the parties regarding its interpretation;
                        (c)    any relevant rules of international law applicable in the relations
                               between the parties.
                  4.    A special meaning shall be given to a term if it is established that the parties
                        so intended.

                                                     Article 32
                                        Supplementary means of interpretation
                  1.    Recourse may be had to supplementary means of interpretation, including
                        the preparatory work of the treaty and the circumstances of its conclusion, in
                        order to confirm the meaning resulting from the application of article 31, or
                        to determine the meaning when the interpretation according to article 31:
                        (a)    leaves the meaning ambiguous or obscure; or
                        (b)    leads to a result which is manifestly absurd or unreasonable.

                                                       Article 33
                          Interpretation of treaties authenticated in two or more langauges
                  1.    When a treaty has been authenticated in two or more languages, the text is
                        equally authoritative in each language, unless the treaty provides or the
                        parties agree that, in case of divergence, a particular text shall prevail.
                  2.    A version of the treaty in a language other than one of those in which the text
                        was authenticated shall be considered an authentic text only if the treaty so
                        provides or the parties so agree.
                  3.    The terms of the treaty are presumed to have the same meaning in each
                        authentic text.
                  4.    Except where a particular text prevails in accordance with paragraph 1, when
                        a comparison of the authentic texts discloses a difference of meaning which


                                                 - 53 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 74 of 617




                              the application of articles 31 and 32 does not remove, the meaning which
                              best reconciles the texts, having regard to the object and purpose of the
                              treaty, shall be adopted.

116. Where appropriate, provisions of the ILC Articles on State Responsibility and Russian law are
       set out in relevant parts of the Award. Additionally, where appropriate, the Tribunal cites to
       decisions of other international courts and tribunals and legal commentaries which the Parties
       have submitted as relevant sources to consider in deciding the arbitrations.


VI.    SUMMARY OF WITNESS TESTIMONY

117. In the merits phase of these proceedings, Claimants and Respondent each submitted statements
       or opinions from 11 witnesses.11 In all, the Tribunal has reviewed over 1,400 pages of written
       testimony, as well as thousands of exhibits to the witness statements and opinions.

118. The purpose of the present part of the Award is to provide an overview of the witnesses’
       evidence. It is not meant to be exhaustive. Rather, it serves as a summary of the vast
       evidentiary foundation on which the Tribunal has reached its conclusions.                               Additional
       references to witness testimony, including specific extracts of their oral examinations, are set
       out in the relevant portions of the Tribunal’s analysis of the evidentiary record.12

119. The Tribunal has considered the evidence of those witnesses that were cross-examined, as well
       as those witnesses who submitted written statements but were not called to the Hearing. With
       respect to this latter category, the Tribunal has kept in mind that these witnesses were not

11
      Having initially submitted statements or opinions from 12 witnesses, on 4 October 2012, shortly before the Hearing on
      the Merits, Claimants notified the Tribunal that one of their witnesses, the former Prime Minister of the Russian
      Federation, Mr. Mikhail Kasyanov, had informed them that he would not appear at the Hearing and that, in the
      circumstances, Claimants would withdraw his witness statement. Mr. Kasyanov’s witness statement has been filed on
      3 September 2010 and consisted of a two-paragraph confirmation of the contents of the following documents:
      Transcript of Mr. Kasyanov’s Testimony before the Khamovnichesky Court of Moscow in the second criminal case
      against Messrs. Khodorkovsky and Lebedev, 24 May 2010, Exh. C-440; Mikhail Borisovich Khodorkovskiy v. The
      Russian Federation, ECtHR, Appls. Nos. 5829/04, 11082/06 and 51111/07, Witness Statement of Mr. Kasyanov,
      8 July 2009, Exh. C-446; Mikhail Kasyanov, Without Putin: Political Dialogues with Evgeny Kiselev, Novaya Gazeta.
      2009 (excerpts), Exh. C-574; Video recording and transcript of interview of Mr. Kasyanov on 24 May 2010 after his
      testimony in the Khamovnichesky Court of Moscow; Video recording and transcript of interview of Mr. Kasyanov on
      24 May 2010 at the Press Center, Exh. C-591; Alexander Bekker & Vladimir Fedorin, Interview: Mikhail Kasyanov,
      Prime Minister of the Russian Federation, Vedomosti, 12 January 2004, Exh. C-677. These documents were
      submitted as independently-numbered exhibits with the Memorial. Respondent’s position at the Hearing was that the
      documents annexed to Mr. Kasyanov’s witness statement could not be considered by the Tribunal (Transcript, Day 18
      at 19–21). Claimants maintained that the exhibits stood on their own as part of the record in these arbitrations. The
      Tribunal has decided that while Mr. Kasyanov’s witness statement itself was withdrawn and thus no longer forms part of
      the record, the documents annexed to the statement, which have come into the record as independent exhibits to the
      Memorial, and include statements made by Mr. Kasyanov prior to these proceedings, continue to form part of the record
      of these arbitrations.
12
      See Part VIII below.




                                                          - 54 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 75 of 617




       subject to cross-examination.


A.     CLAIMANTS’ WITNESSES

120. At the Hearing on the Merits, Respondent called 8 of Claimants’ 11 witnesses for examination.
       They were, in the order in which they testified:

              1)    Mr. Jacques Kosciusko-Morizet;
              2)    Mr. Vladimir Dubov;
              3)    Mr. Frank Rieger;
              4)    Dr. Andrei Illarionov;
              5)    Mr. Leonid Nevzlin;
              6)    Mr. Bruce Misamore;
              7)    Mr. Steven Theede; and
              8)    Mr. Brent Kaczmarek CFA.

121. Claimants’ other witnesses, who did not appear for cross-examination, were:

              9) Mr. Philip Baker QC;
              10) Mr. Yuri Schmidt; and
              11) Dr. Sergei Kovalev.

122. The following summary first addresses the testimony of Claimants’ eight witnesses who
       appeared before the Tribunal, in order of appearance. It then reviews the evidence from
       Claimants’ three witnesses whom Respondent chose not to cross-examine.


       1.      Mr. Jacques Kosciusko-Morizet

123. Mr. Jacques Kosciusko-Morizet13 was a Member of the Board of Directors of Yukos and the
       Chairman of the Board’s Audit Committee from June 2000 to December 2004. In his witness
       statement, Mr. Kosciusko-Morizet describes Mr. Khodorkovsky’s plans in the late 1990s “to
       modernize Yukos and to break the company’s ties with the Soviet traditions” through a Western
       board and consolidation of Yukos’ accounts. According to Mr. Kosciusko-Morizet, the reforms
       brought success: Yukos’ shares increased in value by 50 percent after it published U.S.
       Generally Accepted Account Principles (“U.S. GAAP”) consolidated financial statements in
       July 2000, and its leadership in transparency and corporate governance brought the verb

13
      Witness Statement of Jacques Kosciusko-Morizet, 3 September 2010 (hereinafter “Kosciusko-Morizet WS”) (original
      in French, translated into English) submitted with Memorial. Mr. Kosciusko-Morizet appeared for examination
      (testifying in English) on 15 October 2012, Transcript, Day 4 at 4–235. References to Mr. Kosciusko-Morizet’s
      testimony appear in Chapters VIII.C (Harrassment, Intimidation and Arrests), VIII.D (The Unwinding of the Yukos–
      Sibneft Merger) and VIII.H (The Withdrawal of PwC Audit Opinions).




                                                       - 55 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 76 of 617




       “to Yukosize” into common parlance in Russian business circles.

124. Mr. Kosciusko-Morizet’s statement also deals with the relationship with PwC, which he
       describes as “cordial and close” while he was Chairman of the Audit Committee. Yukos was
       one of PwC’s major clients; PwC conducted Yukos’ external audits and assisted with training
       Yukos’ in-house accountants and with designing and implementing procedures. Thus, he
       testifies, “from 1997 to 2004, PwC was given access to the entire documentation of the whole
       of Yukos without restriction and had a very detailed and global view of the financial situation
       and the procedures of Yukos and its subsidiaries.”14

125. After the arrest of Mr. Platon Lebedev in July 2003, Mr. Kosciusko-Morizet chaired a
       temporary ad hoc committee set up to assess the situation through interviews with individual
       managers at Yukos and PwC. He states that Mr. Michael Kubena, a PwC partner, assured the
       committee that Yukos had always complied with Russian law, including in its tax optimization
       structure, and that “PwC did not consider that there was any possibility for the Russian
       authorities to attack Yukos on these issues.”15 Mr.Kosciusko-Morizet referred to this advice
       several times during his oral testimony. Thus, according to Mr. Kosciusko-Morizet, the “late
       and spectacular volte-face of PwC,” including the withdrawal of the certification of Yukos’
       accounts that took place on 15 June 2007, was “in blatant contradiction” to his relationship with
       PwC, was “questionable and damaging to [PwC’s] reputation,” and can only be explained by
       Respondent’s pressure on PwC’s Moscow office from December 2006 onwards.

126. Mr. Kosciusko-Morizet appeared before the Tribunal on 15 October 2012. He was cross-
       examined about, inter alia:      (a) his responsibilities as the Chairman of Yukos’ Audit
       Committee; (b) the relationship between Yukos and PwC including as to disclosures about
       Behles Petroleum S.A., Baltic Petroleum Trading Limited and South Petroleum Limited
       (known collectively as the “BBS Companies”); (c) the Yukos consolidation perimeter for
       purposes of U.S. GAAP; (d) the abandoned plans to list Yukos on the New York Stock
       Exchange (“NYSE”) due to the Yukos–Sibneft merger; and (e) his knowledge of Yukos’ tax
       optimization structures and the tax assessments against regional Yukos trading entities (in
       which context he remarked that “[t]rying to minimise tax is good management . . . within the




14
      Kosciusko-Morizet WS ¶ 17.
15
      Kosciusko-Morizet WS ¶ 24.




                                                 - 56 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 77 of 617




       legislation applicable.”)16

127. Mr. Kosciusko-Morizet was also given the opportunity to recount to the Tribunal a story that
       Mr. Khodorkovsky had conveyed to him in August 2003 about threats from the Russian
       authorities and their potential impact on Yukos.17


       2.       Mr. Vladimir Dubov

128. Mr. Vladimir Dubov18 held various senior positions in Bank Menatep and Yukos entities,
       including on the Yukos Board from 1998 to 1999. He was elected as a State Duma Deputy in
       December 1999 (representing a region encompassing Mordovia) and was Chairman of the Tax
       Sub-Committee of the State Duma from February 2000 to October 2003. From 1997 he was a
       shareholder, and then a beneficiary of trusts holding shares in GML Limited (“GML”) (the
       parent company of YUL). He first met Mr. Khodorkovsky in the late 1980s. In his witness
       statement, Mr. Dubov makes three key assertions: (a) Respondent was aware of, and approved
       Yukos’ trading structure and tax optimization scheme; (b) Yukos’ trading companies
       significantly contributed to the social and economic development of the regions in which they
       operated; and (c) Respondent’s tax claims were aimed at appropriating Yukos’ assets and
       removing Mr. Khodorkovsky as a “potential political threat”.

129. Mr. Dubov explains in his statement that, given that Yukos’ tax payments accounted for
       approximately four percent of the country’s 2003 budget, the company was under “constant
       supervision and control of the Russian tax authorities.”19 Before 2003 there was never “any
       suggestion that Yukos’ trading structure was other than in compliance with legal requirements
       and appropriate.”20 The authorities were extensively consulted and approved Yukos’ practice
       of operating through trading companies in low-tax regions like the Republic of Mordovia.
       Yukos’ trading companies significantly contributed to the local economy. Yukos’ trading
       companies’ VAT refunds were also closely monitored. According to Mr. Dubov, all four major

16
      Transcript, Day 4 at 65.
17
      See paragraph 775 below.
18
      Witness Statement of Mr. Vladimir Dubov, 8 September 2010 (hereinafter “Dubov WS”) (original in Russian,
      translated into English), submitted with Memorial. Mr. Dubov appeared for examination (testifying in Russian
      through English interpretation) on 16 October 2012, Transcript, Day 5 at 2–191. References to Mr. Dubov’s
      testimony appear in Chapters VIII.A (The Tax Optimization Scheme), VIII.B (The Tax Assessments Starting in
      December 2003) and VIII.C (Harrassment, Intimidation and Arrests).
19
      Dubov WS ¶ 11.
20
      Ibid. ¶ 54.




                                                      - 57 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 78 of 617




       Russian oil companies (Lukoil, Sibneft, TNK, Yukos) engaged in tax optimization. Their taxes
       were closely supervised. Access to pipelines was conditioned on payment of taxes. This
       involved liaising with officials and opening up records to inspection.21

130. Mr. Dubov describes how he and Mr. Khodorkovsky became increasingly involved in social
       and political activities to build a civil society based on “liberal, open and democratic values”
       and in 2001 co-founded Open Russia to manage and fund projects to foster a “social and liberal
       ethos.”22 Mr. Khodorkovsky’s funding of political parties openly and legally “put pressure on
       other political parties to be more transparent.” These efforts “sent shockwaves through the
       entire Russian political system.”23

131. Mr. Dubov expresses “no doubt that the alleged tax claims and the other trumped-up charges
       brought against Yukos, Khodorkovsky and his associates, were merely a pretext to remove
       Khodorkovsky as a potential political threat and to destroy Yukos with a view to taking its
       assets.”24 According to Mr. Dubov’s statement, as the 2004 presidential elections approached,
       the Administration shifted attention to seizing Yukos’ assets. At a meeting of the Russian
       Union of Industrialists and Entrepreneurs with President Putin at the Kremlin in February 2003,
       Mr. Khodorkovsky raised questions about official corruption. President Putin rebuked him and
       suggested that Yukos be scrutinized. At an April 2003 meeting, President Putin approved the
       Sibneft merger but warned that Mr. Khodorkovsky should restrict his political activities and not
       finance the Communist Party. In October 2003, Mr. Khodorkovsky was arrested just before a
       planned meeting with opposition parties.25

132. Mr. Dubov testifies that, on 27 October 2003, he learned his name had been removed as a
       Duma candidate. He was advised to leave Russia and was told by a Kremlin official that
       President Putin “had gone absolutely berserk over Khodorkovsky.”26 He left that night and has
       not returned since. In January 2004, the financial support of Messrs. Dubov and Nevzlin to an
       opposition presidential candidate was announced. The next day, international arrest warrants



21
      Ibid. ¶ 42–53.
22
      Ibid. ¶¶ 55, 61.
23
      Ibid. ¶ 64.
24
      Ibid. ¶ 58.
25
      Ibid. ¶¶ 55–64.
26
      Ibid. ¶ 80.




                                                  - 58 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 79 of 617




       were issued against both men on “entirely unfounded and politically motivated” charges. They
       were both found guilty in absentia.27

133. Mr. Dubov appeared before the Tribunal for examination on 16 October 2012. He was cross-
       examined about his financial interest in the case, being the beneficiary of the Draco Trust, in
       which had made an initial investment of around USD 10,000 and which now has a seven
       percent interest in GML.28           He was also extensively cross-examined about the extent of
       disclosures he made to Russian government officials about Yukos’ tax scheme in Mordovia and
       his knowledge and understanding about the Yukos trading entities in the ZATOs and the tax
       assessments leveled against them.29

134. Mr. Dubov stated his belief, held since he heard about the tax assessments against Yukos in
       2004 from media reports, that the tax claims were being used by Respondent as an instrument
       of confiscation.30 When asked by the Tribunal to elaborate on what information at the time led
       him to that conclusion, he testified:

               I had a personal relationship with the Deputy Head of Staff of the President, Mr. Vladislav
               Surkov . . . . [O]n the first business day following Khodorkovsky’s arrest, Surkov asked
               me to come see him in the Kremlin . . . . He told me that he was asking for my
               forgiveness . . . . I had been struck from the list upon petition from the Prosecutor General
               by the council of the party without leveling any charges against me. . . . And I remember
               asking, “What will happen to Yukos?” And he said—and I am quoting him verbatim;
               I remember it very well—he said, “Yukos will be taken away from . . . you
               gentlemen.” . . . And I also had a longstanding good relationship with yet another Deputy
               Head of the Staff of the President who, in late November of that year, told us . . . there
               would be criminal claims against every single shareholder. He said that an instruction had
               been issued to commence criminal cases against us and to take Yukos from us.31


       3.       Mr. Frank Rieger

135. Mr. Frank Rieger32 is the former Acting CFO of Yukos, and held various positions with Yukos
       and its subsidiaries from 2000 until 2006.                 He resigned on 26 March 2006, due to the
27
      Ibid. ¶¶ 65–72.
28
      Transcript, Day 5 at 29–36.
29
      Transcript, Day 5 at 81–84, 101–102, 149–50, 152–54.
30
      Transcript, Day 5 at 52.
31
      Ibid. at 181–82.
32
      Witness Statement of Mr. Frank Rieger, 9 September 2010 (hereinafter “Rieger WS”) submitted with Memorial.
      Mr. Rieger appeared for examination on 17 October 2012, Transcript, Day 6 at 1–235. References to Mr. Rieger’s
      testimony appear in Chapters VIII.A (The Tax Optimization Scheme), VIII.B (The Tax Assessments Starting in
      December 2003), VIII.C (Harrassment, Intimidation and Arrests), VIII.E (Attempts to Settle), VIII.G (The Bankruptcy
      of Yukos) and VIII.H (The Withdrawal of the PwC Audit Opinions).




                                                         - 59 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 80 of 617




      “deepening crisis surrounding the company and the persecution of its management.” In his
      witness statement, Mr. Rieger recounts that under Mr. Khodorkovsky’s leadership, Yukos acted
      as a “trail-blazer” in corporate governance in Russia. When Mr. Rieger joined Yukos in 2000
      from Roland Berger Consulting, he was directed by Mr. Khodorkovsky to “apply the same
      benchmark of Western corporate accountability and responsibility.” Yukos modernized its
      production process, disclosed the company’s shareholding details, and implemented
      international accounting and reporting procedures. Mr. Rieger states that Yukos “set a new
      standard for corporate social responsibility in Russia” but its achievements provoked concern
      amongst competitors.

136. According to Mr. Rieger, the Russian authorities targeted and harassed Yukos’ auditor, PwC.
      Yukos engaged PwC as its external auditor and gave it “unrestricted access” to its “personnel,
      management, the Board of Directors, books and accounts.”               Mr. Rieger’s “personal
      involvement with PwC was extensive.” After PwC employees began to be questioned by the
      Prosecutor General’s Office, PwC ceased to have further contact with Yukos. Mr. Rieger
      learned about PwC’s withdrawal of its Yukos audits from 1995 to 2004 from the media. The
      suggestion that PwC did not have full access to information or that Yukos deliberately withheld
      information “defies credibility”; PwC raised no such concerns until its June 2007 withdrawal
      letter (“PwC’s Withdrawal Letter”).

137. According to Mr. Rieger, Yukos made numerous attempts to settle the alleged tax claims
      against it, including through negotiations and significant payments. However, the Russian
      authorities did not respond to Yukos’ various proposals, and refused to provide written
      confirmation of the payments. It became clear to Mr. Rieger that “this was a political case, not
      a tax case, aimed at the destruction and expropriation of the company itself.”

138. Mr. Rieger claims that Respondent conducted a campaign of harassment against Yukos, including
      illegal raids by armed masked men, searches and seizures of up to 70 percent of the Accounting
      Department’s documents. In addition, numerous Yukos employees were questioned by the
      Prosecutor General’s Office. Mr. Rieger himself was detained and interrogated at Moscow’s
      airport in May 2006.

139. Mr. Rieger appeared before the Tribunal for examination on 17 October 2012. He was cross-
      examined about, inter alia: (a) his role at Yukos and understanding of its related entities;
      (b) Yukos’ accounting structure including the extent to which it was designed by PwC; (c) the
      timing and process of Yukos’ identification of assets for payment of taxes; (d) Yukos’


                                                - 60 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 81 of 617




       settlement offers, the responses from the Russian authorities and the legal limits within which
       the authorities were operating; (e) the repayment of the SocGen and Moravel Investments
       Limited (“Moravel”) loans, relevant to the bankruptcy; (f) dividend payments via the “Laurel”
       group of Yukos companies; and (g) his awareness and understanding of tax assessment of
       Yukos entities in the ZATOs.

140. Mr. Rieger was also given an opportunity to describe to the Tribunal how in 2006 he was asked
       a series of questions at the General Prosecutor Office for which the investigator had already
       prepared his answers, a situation he said he “couldn’t believe” had he not experienced it
       himself. He refused to sign the pre-prepared answers and gave his own version instead.33


       4.       Dr. Andrei Illarionov

141. Dr. Andrei Illarionov34 served as Chief Economic Advisor to President Putin from April 2000
       until his resignation in December 2005. He was also President Putin’s personal representative
       (“sherpa”) to the G-8. He is currently a Senior Fellow at the Cato Institute’s Center for Global
       Liberty and Prosperity in Washington, D.C., as well as the President of the Institute of
       Economic Analysis in Moscow, which he founded. Dr. Ilarionov maintains a residence in
       Moscow and visits approximately five times a year.35 In his witness statement, Dr. Illarionov
       recounts the evolution of Yukos since its establishment by government decree in 1993
       following the dissolution of the USSR and the restructuring of the oil industry. Yukos saw
       remarkable growth and improvements in performance after its privatization in 1995–96, as a
       result of substantial investment, the employment of foreign engineers and managers, and the
       use of Western technology. Some officials viewed such reforms negatively. Yukos’ public
       revelation, in 2002, of details of its shareholding, including the structure of GML, “had the
       effect of an earthquake on the Russian business community.”                       It contrasted with the
       traditionally secretive manner of doing business and was viewed as setting a “harmful”




33
      Transcript, Day 6 at 69–70.
34
      Witness Statement of Dr. Andrei Illarionov, 11 September 2010 (hereinafter “Illarionov WS”) submitted with
      Memorial. Dr. Illarionov appeared for examination on 18 October 2012, Transcript, Day 7 at 3–176. References to
      Dr. Illarionov’s testimony appear in Chapters VIII.B (The Tax Assessments Starting in December 2003),
      VIII.C (Harassment, Intimidation and Arrests) and VIII.F (The Auction of YNG).
35
      Transcript, Day 7 at 5.




                                                       - 61 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 82 of 617




       precedent. In Dr. Illarionov’s words, Yukos was “one of the most dangerous enemies for those
       who did not want to see Russia a free country.”36

142. According to Dr. Illarionov, the arrests of Messrs. Khodorkovsky and Lebedev and the
       dismantlement of Yukos were politically and economically motivated. Yukos’ intended merger
       with Western oil majors was seen as a national betrayal and a hurdle to expropriation.
       Dr. Illarionov describes the 19 February 2003 meeting at the Kremlin between President Putin
       and business leaders, at which Mr. Khodorkovsky made a presentation on corruption, to which
       President Putin responded that everyone knew how various assets, including Yukos, were
       acquired, and told Mr. Khodorkovsky: “I return the ball in your corner.” The tone of the
       meeting became “steely and menacing” as if something had gone “really wrong.” It signaled
       the “gloves [had come] off,” and that Mr. Khodorkovsky was no longer tolerated. From then
       on, according to Dr. Illarionov, “a case needed to be fabricated to launch the Government
       attack under the guise of ‘legitimate’ court proceedings” and a special unit was set up to
       fabricate evidence against Yukos. In October 2003, the “dramatic arrest” of Mr. Khodorkovsky
       at the airport signaled Yukos could be attacked. Few dared to voice support, and Prime
       Minister Mikhail Kasyanov, among others, was dismissed for doing so.37

143. Dr. Illarionov’s statement further recounts that the campaign against Yukos culminated in the
       confiscation of YNG.     While it was independently valued at USD 14.7–17.3 billion, the
       Russian authorities sold YNG for USD 9.3 billion—“a price well below even the most
       conservative estimates prepared by experts”—on a Sunday, at a forced auction attended by two
       participants, to an unknown company (Baikal) which was registered at an address above a local
       bar and had a charter capital of USD 350. President Putin said he knew the individuals behind
       the company and they were “well-established in the oil business.” Four days later, Rosneft
       purchased Baikal with funds from State banks. According to Dr. Illarionov, the auction “sent
       shockwaves” and was internationally condemned. This “scam” was “one of the low points in
       Russia’s recent history.” The dismantling of Yukos was contrary to “basic principles of due
       process,” and led Dr. Illarionov to resign as sherpa in 2004 and as the President’s Chief
       Economic Advisor in December 2005.38

144. Dr. Illarionov appeared before the Tribunal for examination on 18 October 2012. Respondent
36
      Illarionov WS ¶¶ 5–16.
37
      Illarionov WS ¶¶ 17–41.
38
      Illarionov WS ¶¶ 42–52.




                                                 - 62 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 83 of 617




       sought to undermine his credibility by showing he is now a vocal critic of the Russian
       Government, and that he has taken extreme positions against climate change regulation.39
       Respondent also challenged his assertion that Yukos’ financial statements had complied with
       U.S. GAAP, on the basis that Dr. Illarionov lacked an understanding of GAAP and had not read
       Yukos’ financial statements in full.              Dr. Illarionov was cross-examined mostly about his
       claimed knowledge and understanding of the valuation of YNG and the auction process.40

145. The Tribunal asked Dr. Illarionov whether he had ever felt able to discuss with President Putin
       the arrest of Mr. Khodorkovsky and the measures of the Russian Government in respect of
       Yukos.41 He replied:

               the most important conversation that I had with Mr. Putin was several days after
               Mr. Khodorkovsky had been arrested . . . . Mr. Putin has said that Mr. Khodorkovsky has
               made mistakes and behaved pretty badly . . . . And for a long time Mr. Putin himself was
               protecting Mr. Khodorkovsky from these attacks of his friends, of Mr. Putin’s friends, but
               unfortunately Mr. Khodorkovsky continued to behave badly, and not cooperatively... One
               thing, he said that Mr. Khodorkovsky lied to us because he was in negotiations with
               American oil company about possible merger. Another issue he has mentioned: that
               Mr. Khodorkovsky joined Communist Party in preparation to the parliamentary election of
               year 2003... That is not something that “mi dogovarivalis”—I will try, “we had an
               agreement on.” So he said . . .
               So he said that after protecting Mr Khodorkovsky for some time—now it’s almost a
               quotation—“I decided and I stepped aside to allow Mr Khodorkovsky to solve his
               problems with the boys by himself.” . . . .“so Mr Khodorkovsky has chosen to fight.
               Okay,” said Mr Putin, “if he has chosen to fight, let him to fight and we’ll see what will
               happen.”42

146. The Tribunal also asked Dr. Illarionov about the 50-person special unit that, according to
       paragraph 35 of his statement, was set up at the Russian General Prosecutor’s office to work
       exclusively on “fabricating” evidence against Mr. Khodorkovsky and Yukos and, in particular,
       whether he could identify the sources on which he relied for that statement. He could not
       disclose the identity of his source—due to that individual still residing in Moscow and thus
       facing “serious risks” but his source was a “very high-placed official in the Russian
       administration at the time” and was very reliable.43 Dr. Illarionov testified that the official had
       told him that the targeting of Yukos was “a big mistake … but it is a mistake that would be

39
      Transcript, Day 7 at 12–50.
40
      For further specific references to the transcript, see discussion in Chapter VIII.F at paragraphs 1013 and 1019.
41
      Transcript, Day 7 at 153 (referring to Illarionov WS ¶¶ 39–41).
42
      Ibid. at 153–56.
43
      Ibid. at 156–57. Upon further cross-examination, Dr. Illarionov said he had only ever discussed this special unit with
      his source and with Claimants’ lawyers in these arbitrations. Ibid. at 164–65.




                                                           - 63 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 84 of 617




       impossible to stop . . . . This unit has been created to ‘zanyatsa’ Khodorkovsky, [meaning to]
       ‘take care of’ Khodorkovsky . . . which means one day . . . security services and officers did
       receive an order so-called to solve the problem.”44

147. Dr. Illarionov elaborated on his assertion, at paragraph 41 of his statement, that Russian Prime
       Minister Mikhail Kasyanov had “expressed his disapproval of Mr. Khodorkovsky’s arrest and
       the mounting attack on Yukos”, and explained that after Mr. Khodorkovsky’s arrest:

                there was public outrage in mass media . . . . From the Government ranks, I cannot recall
                any person who would express disapproval of the arrest . . . with the exception of
                Mr. Kasyanov . . . . And after making such a statement, Mr. Putin publicly made a very
                rude statement that you can find recorded in video . . . that, “I would ask everybody in the
                Government to shut up on Mr. Khodorkovsky’s arrest.” And it was very clear that this
                comment was addressed to Mr. Kasyanov, and later Mr. Kasyanov . . . [was] removed from
                his position.’45


       5.       Mr. Leonid Nevzlin

148. Mr. Leonid Nevzlin46 is a long-standing friend and close business colleague of
       Mr. Khodorkovsky. They first met at a research centre in 1987. Mr. Nevzlin held various high
       level positions in Bank Menatep and Yukos, including as Vice-President of Yukos responsible
       for public relations, and as First Deputy Chairman of the Yukos Board of Directors.
       Mr Nevzlin helped found Open Russia in 2001. He also later served as a senator representing
       Mordovia until March 2003. He is a beneficiary of three of the trusts that hold ownership
       shares in GML. He now resides in Israel, working in philanthropy.

149. In his witness statement of 15 September 2010, Mr. Nevzlin testifies that his support for
       democratic causes led the Russian authorities to target him for persecution. For example, after
       he announced his financial support for an opposition presidential candidate in January 2004, the
       Prosecutor General’s Office brought “entirely unfounded and politically motivated” charges
       against him for tax evasion and embezzlement. “Ludicrous” murder charges were added in




44
      Ibid. at 158.
45
      Ibid. at 159–60.
46
      Witness Statement of Mr. Leonid Nevzlin, 29 August 2010 (hereinafter “Nevzlin WS”) (original in Russian, translated
      into English), submitted with Memorial. Mr. Nevzlin appeared for examination on 18 and 19 October 2012 (testifying
      in Russian, through English interpretation), Transcript, Day 7 at 176–224 and Day 8 at 1–43. References to
      Mr. Nevzlin’s testimony appear in Chapters VIII.C (Harassment, Intimidation and Arrests) and VIII.D (The
      Unwinding of the Yukos–Sibneft Merger).




                                                         - 64 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 85 of 617




       2004 and 2005. Israel refused to extradite him to Russia but after a “show trial” in 2008, he
       was sentenced in absentia to life imprisonment.47

150. Mr. Nevzlin explains that Mr. Khodorkovsky was perceived by the Kremlin as a political threat
       and a potential presidential candidate. According to Mr. Nevzlin, the attacks on Yukos were
       motivated by the objectives “to remove Mr. Khodorkovsky as a potential political threat,” “to
       punish and make an example of” Yukos leaders, and to “expropriate Yukos without
       compensation.” Mr. Nevzlin received warnings of the attacks on Yukos, including at a meeting
       with the Media Minister in Spring 2003, who told him that Mr. Khodorkovsky risked losing
       everything, including his liberty, if he did not immediately stop criticism of President Putin. He
       was told that President Putin was “furious” about Mr. Khodorkovsky’s media coverage.48

151. With regard to the Yukos–Sibneft merger, Mr. Nevzlin testifies that he understood that
       “everything that happened with Sibneft was approved by President Putin.” At a meeting with
       Mr. Khodorkovsky, President Putin cautioned against a U.S. oil major acquiring more than
       25 percent of YukosSibneft. The merger was completed in October 2003, but Mr. Abramovich
       “abruptly changed his mind and sought to unwind the merger” after it “became apparent that
       Khodorkovsky was being targeted by the Kremlin.” Mr. Nevzlin testifies that shortly after
       Mr. Khodorkovsky’s arrest in October 2003, Mr. Abramovich approached Mr. Nevzlin in
       Tel Aviv to convey that the Yukos–Sibneft merger could only be preserved if Sibneft was given
       management of the merged company. The companies were not integrated and eventually
       de-merged.49

152. Mr. Nevzlin appeared before the Tribunal for examination on 18 and 19 October 2012.
       Respondent highlighted his lack of banking experience when he rose to the top of Bank
       Menatep. Mr. Nevzlin pointed out that “there had not been any commercial banks in the Soviet
       Union, and not a single person in the Soviet Union worked in a commercial bank prior to
       1988;” and further that “the position of bank president did not mean that [he] in fact was
       responsible for banking operations; it was a position that was established specifically for
       someone who engaged in public relations.” 50


47
      Nevzlin WS ¶¶ 14, 22.
48
      Ibid. ¶¶ 22, 28–36.
49
      Ibid. ¶¶ 24–27.
50
      Transcript, Day 7 at 180–82.




                                                 - 65 -
       Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 86 of 617




 153. Mr. Nevzlin was cross-examined on his interest in GML, his motives for testifying in these
         arbitrations, and a recent UK court case relating to individuals involved in the Yukos–Sibneft
         merger. He acknowledged that the trusts in which he has beneficial interests (the Pictor Trust,
         the Southern Cross Trust and the Palmus Trust) hold a total of approximately 67 percent of
         GML, and thus that he would benefit financially if the outcome of these arbitrations was
         favourable to Claimants.51 Mr. Nevzlin testified that he had not paid anything for his interests
         in the trusts and confirmed also that Messrs. Brudno, Lebedev and Shakhnovsky had not paid
         any consideration for their beneficial interests in the Palmus Trust.               Amidst this line of
         questioning, Mr. Nevzlin pointed out:

                 everything I own, just like my partners used to own, was earned through extremely hard
                 work, starting, as you will know from . . . in 1987 . . . . [V]irtually all the business
                 revenue, except for what was paid to charity or used for personal needs, was reinvested in
                 the business . . . . So all the money, all the shares that we owned we earned through our
                 titanic—if you will—efforts that had spread over a long period of time.52

 154. Mr. Nevzlin confirmed that he knew about the 2004 tax assessments soon after they were
         issued, but by that point he had “already realised that Putin will not stop, and will take away the
         company anyway. So I was not surprised by tax claims in this size and consequent actions by
         the Russian Federation.” He also confirmed his long-held belief that the tax assessments were
         improper, as were the Russian authorities’ enforcement actions, claiming:

                 Yukos was led into bankruptcy . . . They [the Russian authorities] did everything in order
                 to prevent Yukos from paying off its debts. The company was in perfect shape, with a lot
                 of cash, with the best rating in the country, with a good market capitalisation, but it took
                 about two years for Putin and Sechin . . . to destroy this company completely.53

         When asked whether he had hoped Yukos would prevail and defeat the assessments, he replied
         that “[t]hose proceedings took place in the Russian Federation, and the outcomes, the decisions
         were made in the Kremlin. The decisions were not made in the courtroom . . . . We are not
         talking about a democratic country; we are talking about a dictatorship.”54

155.     Mr. Nevzlin was questioned about why he had waited until 2010, when providing his witness
         statement in these proceedings, to disclose that in 2003 Mr. Abramovich told him that



 51
        Ibid. at 187–92, 207.
 52
        Ibid. at 196–99.
 53
        Ibid. at 209–13.
 54
        Ibid. at 217–18.




                                                        - 66 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 87 of 617




       Mr. Khodorkovsky “had been targeted because of his involvement in politics.”55 He was also
       asked why he had not included this evidence in his 6 August 2006 witness statement in the
       ECtHR proceedings, nor in any of the Russian criminal cases against Mr. Khodorkovsky. He
       explained:

               if I had spread the information about Abramovich and Putin fairly broadly, and if it had
               become available to the public, then from the perspective of Khodorkovsky, who is in
               Russian prison, I would have damaged him.
                . . . I would have caused him tremendous amounts of harm . . . in the other corner facing
               him were Putin, Sechin and others; but I also would have turned Abramovich into an
               enemy of Khodorkovsky’s by disclosing this information.
                . . . [A]fter . . . things moved to a second absurd set of charges and a second trial,
               Khodorkovsky’s position changed radically.                He was no longer wary of a
               political . . . confrontation with Putin’s regime because he realised that he was not going to
               be able to find truth in a Russian court if he tried to defend himself based on the laws.
                . . . Russian courts have no interest in my position: it would be either ignored or rejected
               by them . . . .Because it’s not a judge who makes decision on Khodorkovsky and Lebedev;
               the judge just rubber-stamps decisions that are made by investigative committee and
               Prosecutor’s Office . . . .The fact that I trust this court and tell this court a lot more than
               I’ve ever said on the matter, this is a typical position for me, because . . . if we’re able to
               defend our interests, that would be either in courts in free countries or international
               courts.56

156. Mr. Nevzlin was cross-examined about his May 2011 witness statement to the High Court of
       Justice in England in a case brought by Mr. Berezovsky against Mr. Abramovich. Mr. Nevzlin
       was shown the English judge’s decision, in which the judge declined to attach significant
       weight to Mr. Nevzlin’s evidence, as she found him to be “tendentious,” that he “expressed
       opinions about matters in respect of which he had no knowledge,” and that she had “the
       impression that Mr. Nevzlin had crafted his evidence to suit Mr. Berezovsky’s case.”
       Mr. Nevzlin observed the judge was “entitled to her opinion” and he “only told her the truth.”57


       6.      Mr. Bruce Misamore

157. Mr. Bruce Misamore58 was Chief Financial Officer of Yukos and a Member of its Management


55
      Transcript, Day 8 at 4–5, referencing Nevzlin WS ¶ 35.
56
      Ibid. at 17–25
57
      Ibid. at 34, 37, 39–40. Extract from Berezovsky v. Abramovich, 31 August 2012 ¶¶ 485–86, Exh. R-4654.
58
      Witness Statement of Mr. Bruce Misamore, 28 July 2010 (hereinafter “Misamore WS”) submitted with Memorial.
      Mr. Misamore appeared for examination on 22 October 2012, Transcript, Day 9 at 1–268. References to
      Mr. Misamore’s testimony appear in Chapters VIII.A (The Tax Optimization Scheme), VIII.B (The Tax Assessments
      Starting in December 2003), VIII.C (Harrassment, Intimidation and Arrests), VIII.D (The Unwinding of the Yukos–
      Sibneft Merger), VIII.E (Attempts to Settle) and VIII.H (The Withdrawal of PwC’s Audit Opinions).




                                                         - 67 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 88 of 617




       Committee from April 2001 to December 2005. He was a Member of the Executive Committee
       of the Yukos Board commencing in 2005.            He has 38 years experience in financial and
       executive roles in the oil industry. In his witness statement, Mr. Misamore explains that as
       CFO, he was to ensure that Yukos met international best practices in financial management.
       He describes how, by 2003, Yukos had become an industry leader in transparency, corporate
       governance and production and that, “[c]ontemplating significant expansion and growth”
       Yukos closed its merger with Sibneft on 3 October 2003 and was in talks with Western oil
       majors.59

158. Mr. Misamore testifies that PwC played an “integral role” in developing Yukos’ financial
       reporting system and was given full access to Yukos’ books, accounts, and employees, and was
       “very knowledgeable about and had full access to Yukos’ principal subsidiaries.” He considers
       PwC’s withdrawal of the Yukos audit reports as having been “motivated by the continuing
       attack . . . on Yukos and persons associated with the company” and that it was “highly
       questionable professionally.”60

159. According to Mr. Misamore, the campaign by the Russian authorities to dismantle Yukos began
       in earnest in the summer of 2003 with arrests, raids, searches, and seizures. In July 2003,
       Russian authorities raided Yukos’ Moscow offices “in an incredible scene full of armed,
       masked officers” and “trawled through [the company’s] computer records for approximately
       17 hours.” Large volumes of documents and electronic files were seized, with no copies or
       record left.” In August 2006, “baseless, politically motivated” criminal investigations were
       announced against Mr. Misamore and others.61

160. According to Mr. Misamore, Russian authorities also interfered with the Yukos–Sibneft
       merger; Sibneft put the merger “on hold,” and refused to negotiate the demerger.62 Russian
       authorities then imposed a series of “huge fabricated tax reassessments” on Yukos “designed to
       financially cripple the company” and to “serve as a pretext under which the Government broke
       up the company and expropriated its assets.” Yukos made numerous efforts to negotiate and to
       pay its tax bills; these were rejected, “stifle[d],” or went unanswered.63 He described how on

59
      Misamore WS ¶¶ 22–24.
60
      Ibid. ¶¶ 26–29.
61
      Ibid. ¶¶ 30–33.
62
      Ibid. ¶¶ 36–37.
63
      Ibid. ¶¶ 38–51.




                                                - 68 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 89 of 617




       19 December 2004, the Russian authorities held an auction for YNG. As one of only two
       bidders, Baikal won the auction, in ten minutes, for USD 9.35 billion. Baikal was immediately
       sold to State-owned Rosneft.           In 2007, the court-appointed receiver in the bankruptcy
       proceedings, Mr. Eduard Rebgun, liquidated the remaining 40 percent of the company in
       auctions won by State-owned entities at prices well below market value.64

161. Mr. Misamore appeared for examination on 22 October 2012. He was cross-examined on a
       wide range of issues encompassing, inter alia: (a) the Yukos–Sibneft merger including the
       dividend payment and the unwinding of the merger; (b) PwC and its role in developing the
       concepts of golden shares and call options which allowed Yukos to consolidate the financial
       performance of companies that it did not own, but for which it had call options;
       (c) Mr. Misamore’s knowledge and understanding of Yukos’ domestic offshore trading entities
       and the tax assessments levied against some of them; (d) the responses to the tax assessments
       and use of proceeds from the sale of Yukos assets; and (e) the creation of two Dutch
       foundations, namely Stichting Administratiekantoor Yukos International (“Stichting 1”) and
       Stichting Administratiekantoor Small World Telecommunication Holdings B.V. (“Stichting 2,”
       together with Stichting 1, the “Stichtings”).

162. The Tribunal also asked Mr. Misamore whether he was aware of any written legal opinion that
       concluded that Yukos’ tax optimization scheme was lawful under Russian law. He replied that
       upon receiving the tax assessment in December 2003, Yukos requested opinions from
       Mr. Sergey Pepeliaev, a tax expert and regular advisor to Yukos, and PwC. Mr. Misamore
       stated that “[b]oth of those opinions basically said what Yukos was doing was completely
       legal,” but he could not recall if Yukos’ tax structure had received the blessing of a lawyer or
       an accounting firm in writing prior to December 2003. He added that he “was informed
       consistently, throughout the entire time [he] was at Yukos, that everything Yukos did with
       respect to these things was entirely in accordance with Russian law.”65


       7.      Mr. Steven Theede

163. Mr. Steven Theede66 joined Yukos as its Chief Operating Officer in August 2003, after a

64
      Ibid. ¶¶ 51–60.
65
      Transcript, Day 9 at 250–52.
66
      Witness Statement of Mr. Steven Theede, 26 August 2010 (hereinafter “Theede WS”) submitted with Memorial.
      Mr. Theede appeared for examination on 23 and 24 October 2012, Transcript, Day 10 at 1–133, Day 11 at 1–59.
      References to Mr. Theede’s testimony appear in Chapters VIII.A (The Tax Optimization Scheme), VIII.B (The Tax




                                                      - 69 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 90 of 617




       30 year career with ConocoPhilips. From June 2004 until February 2005, he served as CEO of
       Yukos. Upon the advice of the U.S. State Department, in November 2004 he decided not to
       return to Russia. From May 2005 until resigning in August 2006, Mr. Theede was President of
       Yukos. In his witness statement, Mr. Theede testifies that within a few years he saw “one of
       the largest oil companies in the world . . . managed in accordance with the highest international
       standards” be “brought to its knees through the orchestrated attacks of the Russian
       authorities.”67

164. Mr. Theede states that he was involved in many attempts by Yukos to discharge or settle its
       alleged tax liabilities. While Yukos did not accept the validity of the tax claims, it nonetheless
       tried to discharge or settle them, only to be prevented from doing so by Respondent. For
       instance, in April 2004, Yukos was told to pay USD 3.4 billion within two days, but the next
       day was prohibited by the Moscow Arbitrazh Court from alienating assets. This “impossible
       situation” of demanding that Yukos pay but depriving it of any means to pay, became a pattern
       that led to “a state of paralysis.”68

165. According to Mr. Theede’s statement, Yukos made about 80 proposals and communications to
       various Russian authorities but “all our efforts were in vain.” For example, he states that in
       July 2004, an offer by Yukos to relinquish its stake in Sibneft to satisfy the alleged debt was
       ignored. Yukos retained former Canadian Prime Minister Jean Chrétien to seek a global
       settlement, but his proposals went unanswered. Meanwhile, the tax bill kept increasing and
       Yukos paid taxes nearly equal to its total revenue. In October 2004, Mr. Theede testifies that
       Yukos submitted a “full settlement proposal” in the range of USD 21 billion, but negotiations
       “came to an abrupt end” when Yukos’ principal negotiator, Yukos Vice-President Alexander
       Temerko was advised to leave Russia to avoid arrest. In December 2004, YNG, Yukos’ core
       asset, was sold for a “grossly undervalued price” of USD 9.35 billion in a “sham auction” to an
       “unknown company.” After that, there were no more settlement discussions. Mr. Theede
       stated that the undervaluation of YNG became obvious when in 2006 Rosneft valued it at
       approximately USD 80 billion.69


      Assessments Starting in December 2003), VIII.C (Harrassment, Intimidation and Arrests), VIII.D (The Unwinding of
      the Yukos–Sibneft Merger), VIII.E (Attempts to Settle), VIII.G (The Bankruptcy of Yukos) and VIII.H (The
      Withdrawal of PwC’s Audit Opinions).
67
      Theede WS ¶¶ 1–9, 36.
68
      Ibid. ¶¶ 10–11, 28.
69
      Ibid. ¶¶ 9, 24–26.




                                                       - 70 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 91 of 617




166. According to Mr. Theede’s statement, in March 2006, a consortium of Western banks that had
       obtained a judgment in England against Yukos filed a bankruptcy petition with the Moscow
       Arbitrazh Court. Mr. Theede states that his urgent letter to the Chief Bailiff, requesting that
       assets be released to satisfy the debt, went unanswered.        He further describes how, in a
       confidential agreement, Rosneft agreed to purchase Yukos’ debt to the consortium upon the
       initiation of bankruptcy proceedings, which began in March 2006. Respondent was thus the
       only creditor of significance. Mr. Theede testifies that in July 2006, Mr. Rebgun produced a
       report concluding that Yukos was insolvent, and at the 20 July 2006 creditors’ meeting, he
       recommended Yukos be declared bankrupt. By contrast, Yukos had submitted a rehabilitation
       plan in June 2006 (the “Rehabilitation Plan”), which valued the company at USD 31 billion,
       and would have seen Yukos pay its creditors in two years. The Rehabilitation Plan was not
       mentioned in Mr. Regbun’s report. Not wanting to lend credibility to a “charade”, Mr. Theede
       did not attend the 20 July 2006 creditors’ meeting and, feeling there was nothing more to do to
       protect the company’s assets, he resigned with effect from 1 August 2006.70

167. Mr. Theede appeared before the Tribunal for examination on 23 and 24 October 2012.
       Mr. Theede was cross-examined about, inter alia: (a) the 15 April 2004 injunction (“April
       2004 Injunction”) and its effect on Yukos’ control over certain assets; (b) Yukos’ perception
       of the tax assessments as politically motivated; (c) the nature, adequacy and legitimacy of
       various settlement proposals offered by Yukos to pay off its tax debts; (d) the bankruptcy
       proceedings and proceeds from asset sales; and (e) the establishment of the Stichtings.

168. Upon cross-examination, Mr. Theede confirmed that, in light of Yukos’ strong performance in
       2004, “[d]espite the ongoing external pressure,” Yukos’ Board approved approximately
       USD 50 million in bonuses.           Mr. Theede himself received a USD 5 million bonus.       The
       decision to issue bonuses was motivated by Yukos’ acute concerns about employee retention
       and “hiring others was going to be almost impossible, because . . . it was a scary place to be.”71
       He recalled the exceptional hire of Mr. Aleksanyan as executive vice-president of Yukos
       because the bankruptcy administrator, Mr. Rebgun, wanted a Yukos executive in Moscow with
       whom he could work directly. Mr. Theede recounted that Mr. Aleksanyan “went and met with
       Mr. Rebgun and explained to him that we were in a difficult situation but we wanted to
       cooperate, and we really felt that we could find a way to survive.” Within three days, police

70
      Ibid. ¶¶ 29–34.
71
      Transcript, Day 11 at 14–16, 21–23.




                                                    - 71 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 92 of 617




       stormed Mr. Aleksanyan’s house and he was held in jail without a hearing for three years and
       only released as a result of a ECtHR ruling.72 He died a year later from an illness contracted in
       jail.

169. In response to a Tribunal question, Mr. Theede testified that he met with PwC at least quarterly,
       but he did not recall that the trading companies ever came up in their discussions. He never
       asked PwC for a written opinion on the structure of the trading companies, and he “was told
       that PwC’s consulting arm was actually the architect of those structures.” He did not discuss
       any of the tax reassessments with either Messrs. Kubena or Miller of PwC.73


       8.       Mr. Brent Kaczmarek

170. Mr. Brent C. Kaczmarek CFA74 is Managing Director of Navigant Consulting, Inc. and has
       served as a financial, valuation and damages expert in more than 40 international investment
       arbitrations. Mr. Kaczmarek was retained by Claimants as a damages expert to calculate
       Claimants’ losses result from a “series of acts which resulted in the demerger of Yukos Sibneft,
       the piece-by-piece sale of Yukos’ assets, and eventually the destruction of Yukos,” which he
       defines as “the Actions.”

171. Mr. Kaczmarek’s two expert reports and oral testimony are summarized in Part XII of the
       Award.       In essence he concludes that, assuming the underlying tax assessments and all
       subsequent Actions were violations of the ECT, Claimants should be compensated for the value
       of their shareholding in a hypothetical Yukos entity (as merged with Sibneft and listed on the
       NYSE) as at the date of 21 November 2007, as well as any dividends that would have been paid
       to them up to that point in time, plus interest. The total amount of damages calculated on this
       basis would be USD 114.174 billion. Mr. Kaczmarek relies on a number of techniques in
       support of this figure, including valuations of Yukos’ assets, a Discounted Cash Flow (“DCF”)
       analysis, a comparable companies approach and a comparable transactions approach.
       Mr. Kaczmarek also offers valuations in scenarios where there is no merger with Sibneft and no
       listing on the NYSE. He additionally makes assessments of the damages which would be due
72
      Ibid. at 38–39. See also Theede WS ¶ 30.
73
      Ibid. at 50–51, 54.
74
      First Expert Report of Mr. Brent C. Kaczmarek, CFA, 15 September 2010, filed with Memorial (hereinafter “First
      Kaczmarek Report”); Second Expert Report of Mr. Brent C. Kaczmarek, 15 March 2012, filed with Reply (hereinafter
      “Second Kaczmarek Report”). Mr. Kaczmarek appeared for examination on 24 October 2012, Transcript, Day 11 at
      60–196. References to Mr. Kaczmarek’s testimony appear in Part XII of the Award (The Quantification of Claimants’
      Damages).




                                                        - 72 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 93 of 617




       to compensate Yukos were the Tribunal to find that the original tax assessments did not breach
       the ECT but that the subsequent enforcement of the tax claims did. His damages calculations
       for the latter scenario range between USD 33 billion and USD 67 billion.

172. Mr. Kaczmarek was cross-examined about (a) revisions he made between his first and second
       reports; (b) errors made with respect to the crude oil export tariff rate, the mineral extraction tax
       rate, inflation rates, the use of the U.S. Consumer Price Index, an erroneous conversion of tons
       to barrels, (c) assumptions about Yukos’ borrowing capacity, and (d) various reasonableness
       tests. The Tribunal also questioned him about the choice of valuation dates.75


       9.      Mr. Philip Baker QC

173. Mr. Philip Baker QC76 practices at Gray’s Inn Tax Chambers in London and is presently a
       senior research fellow at the University of London. Claimants presented him as an expert on
       international tax law to counter claims made by Respondent’s expert Professor Rosenbloom,
       regarding the benefits claimed by Hulley and VPL under the Agreement between Cyprus and
       the Russian Federation for the Avoidance of Double Taxation with Respect to Taxes on Income
       and Capital, signed on 5 December 1998 (“Cyprus-Russia DTA”). For reasons explained in
       more detail in Chapter IX.B of this Award (on “Unclean Hands”), Mr. Baker disagrees with
       Professor Rosenbloom’s conclusion that the claims to benefit from the Cyprus-Russia DTA
       were not appropriate, were vitiated by tax treaty abuse and were not justified by the provisions
       of the DTA.

174. In essence, Mr. Baker firstly maintains that the benefits that Hulley and VPL received under the
       Cyprus-Russia DTA are consistent with its purpose. Secondly, Mr. Baker opines that the abuse
       of law doctrine is found in the domestic law of certain countries, but is not universal and, where
       it applies, it is for that domestic jurisdiction to resolve whether the doctrine applies to
       international obligations such as double taxation conventions. Thirdly, Mr. Baker maintains
       that Hulley and VPL were the beneficial owners of the dividends received from Yukos in the
       sense of Article 10 of the Cyprus-Russia DTA.                    Hulley and VPL were acknowledged
       investment companies holding shares in Russian companies and did not have a permanent


75
      Transcript, Day 11at 192–93.
76
      Expert Report of Mr. Philip Baker QC, 14 March 2012, filed with Reply. Initially Mr. Baker was expected to appear
      before the Tribunal, but on 4 October 2012, Respondent informed the Tribunal it no longer wished to cross-examine
      him. References to his report appear in Chapter IX.B (Unclean Hands).




                                                        - 73 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 94 of 617




       establishment in Russia under Article 10(4).


       10.     Mr. Yuri Schmidt

175. Mr. Yuri Schmidt77 was Mr. Khodorkovsky’s defense lawyer in his 2004 and 2007 criminal
       trials, prior to which Mr. Schmidt had no previous dealings with Mr. Khodorkovsky or with
       Yukos. In his witness statement, Mr. Schmidt recounts that Russian authorities systematically
       intimidated and harassed Yukos’ lawyers and personnel. Illegal and aggressive raids and
       seizures were “meticulously calculated to correspond to the critical stages in the dismantlement
       of Yukos.”       Russian authorities also engaged in physical attacks and other provocation,
       including long and abusive interrogations and beatings. In February 2007, defense lawyers
       were illegally and invasively searched at the airport while en route to visit Mr. Khodorkovsky
       in Siberia. Russian authorities also (unsuccessfully) brought libel proceedings against and
       attempted to disbar Mr. Schmidt. Respondent chose not to call him for cross-examination.

176. Mr. Schmidt testifies that in the criminal cases against Messrs. Khodorkovsky and Lebedev,
       Russian authorities violated basic standards of due process and fair trial. In 50 years of legal
       practice in Russia, Mr. Schmidt had “never seen breaches of due process so flagrant and so
       egregious,” nor had he ever, even in the “darkest hours of the Soviet regime,” “seen the Russian
       State undertake such coordinated, systematic and intense efforts, and deploy such huge
       resources, against a person accused of an alleged economic offense.” The raids resulted in the
       “massive confiscation” of documents that were not returned.                       In December 2006, the
       defendants were transferred to a “pre-trial detention isolator” in Chita and Siberia. Mr. Schmidt
       recounts that during the trials, seized documents were presented out of context; the defendants
       sat in metal and glass cages that were equipped with hidden microphones; criminal charges
       were brought against defense witnesses; and prosecution motions were systematically granted,
       while defense motions were refused.

177. According to Mr. Schmidt, the goal of destroying Yukos and confiscating its assets was carried
       out by the coordinated actions of all branches of the Russian State. The judiciary blocked
       Mr. Khodorkovsky’s registration of candidacy for the 2005 parliamentary elections by
       accelerating his appeal. The administration transferred Messrs. Khodorkovsky and Lebedev to


77
      Witness Statement of Mr. Yuri Schmidt, 6 September 2010 (hereinafter “Schmidt WS”) (original in Russian,
      translated into English), submitted with Memorial. References to Mr. Schmidt’s testimony appear in Chapter VIII.C
      (Harassment, Intimidation and Arrests).




                                                        - 74 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 95 of 617




       the “most inaccessible penal colonies in Russia,” “in blatant violation of Russian law.” The
       legislature amended legislation to permit the transfer and amended the law on NGOs to force
       the closure of Open Russia.


       11.     Dr. Sergei Kovalev

178. Dr. Sergei Kovalev78 is a Russian human rights activist, former politician, Soviet dissident and
       political prisoner. From 1993 to 2003 he served as an elected State Duma Deputy. He has been
       nominated for the Nobel Peace Prize. Dr. Kovalev’s expert opinion is on the independence of
       the Russian judiciary in cases with a political element or representing a particular interest to
       Russian authorities. Dr. Kovalev concludes that the Russian judicial system was not, and is still
       not, independent. According to Dr. Kovalev, where cases implicate the interests of the State,
       trials are political and decisions dictated by extralegal motives.                  There exists “absolute
       submission of the Russian judiciary to the executive power.” Respondent did not call him for
       cross-examination.

179. Dr. Kovalev opines that the normative regulation of the Russian judiciary ensures its
       dependence, including through the role of the executive branch of government in the
       appointment of judges. Court Presidents have “excessive powers,” courts are under-funded,
       judges earn bonuses for “exemplary behavior” (as defined by the regime), and disciplinary
       action is taken against disobedient judges.

180. Dr. Kovalev’s answer to the question of whether the Russian judiciary was independent of the
       executive branch in the Yukos and Khodorkovsky/Lebedev cases, is “unequivocal and
       definitely negative,” because of the “clearly political nature” of the cases. The political motive
       was “to dispose of Mikhail Khodorkovsky,” whom the Putin administration saw as an
       “unmistakable political opponent.” According to Dr. Kovalev, the attacks on Yukos also had
       economic motives, as evidenced by President Putin’s vouching for the unknown last minute
       purchasers of YNG.            Pressure (including the imprisonment of Yukos lawyer Vasiliy
       Aleksanyan) was exerted on other Yukos associates to obtain testimony. Dr. Kovalev lists
       “egregious due process violations” against Messrs. Khodorkovsky and Lebedev, including:
       (a) a pretrial investigation that was conducted without the defendants’ participation; (b) the


78
      Expert Report of Dr. Sergei Kovalev, 2 September 2010 (hereinafter “Kovalev Report”) (original in Russian,
      translated into English), submitted with Memorial. References to Dr. Kovalev’s testimony appear in Chapter VIII.C
      (Harassment, Intimidation and Arrests).




                                                        - 75 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 96 of 617




       dismissal by the Court of every defense petition; and (c) the refusal by the Court to allow the
       defense attorneys to question Prosecution expert witnesses.


B.     RESPONDENT’S WITNESSES

181. Respondent submitted no testimony from fact witnesses. Respondent submitted 11 expert
       opinions. At the Hearing on the Merits, Claimants chose to cross-examine only:79

               1)    Professor James Dow PhD; and
               2)    Mr. Oleg Y. Konnov

182. Respondent’s other witnesses, who did not appear for cross-examination, were:

               3)    Professor Reinier Kraakman;
               4)    Professor H. David Rosenbloom;
               5)    Professor Thomas Z. Lys PhD;
               6)    Ms. Felicity Cullen QC;
               7)    Mr. Dale Hart;
               8)    Mr. Polyvios G. Polyviou;
               9)    Mr. John Ellison FCA;
               10)   Mr. Raymond Gross CPA; and
               11)   Professor Dr. Albert Jan van den Berg

183. The following summary first addresses the testimony of Respondent’s two witnesses who
       appeared before the Tribunal, in order of appearance. It then reviews the evidence from
       Respondent’s nine witnesses whom Claimants chose not to cross-examine as well as the
       evidence provided by Professor Stef van Weeghel during the jurisdictional phase of this case.


       1.      Professor James Dow

184. Professor James Dow80 is Professor of Finance at London Business School, where he has taught
       valuation since 1989. He has a PhD from Princeton University and economics degrees from
       Cambridge University. Professor Dow was retained by Respondent as a damages expert to
       respond to the reports of Claimants’ expert, Mr. Kaczmarek.


79
      Initially, Claimants intended to also cross-examine Professor H. David Rosenbloom. However, they decided not to
      after Respondent, shortly before the Hearing on the Merits, advised that it did not wish to cross-examine Claimants’
      international tax law expert, Mr. Philip Baker QC.
80
      First Expert Report of Professor James Dow, 1 April 2011, filed with Respondent’s Counter Memorial, Second Expert
      Report of Professor James Dow, 15 August 2012, filed with Rejoinder. Professor Dow appeared for examination on
      25 October 2012, Transcript, Day 12 at 1–202. References to Professor Dow’s testimony appear in Part XII (The
      Quantification of Claimants’ Damages).




                                                         - 76 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 97 of 617




185. Professor Dow’s two expert reports and oral testimony are summarized in Part XII of the
       Award. Professor Dow acknowledges focusing on “explaining why the Kaczmarek Report is
       not useful for calculating damages in this matter.” His reports contain no alternative valuation
       of his own.        He basically describes a series of flaws in the analysis of Mr. Kaczmarek,
       highlighting his choice of a valuation date which, he says, is arbitrary and unjustifiably inflates
       damages. He also criticizes Mr. Kaczmarek for ignoring causation and the extent to which
       Yukos’ own actions might have contributed to the loss. Professor Dow identifies a number of
       errors in Claimants’ DCF analysis and questions the way in which Mr. Kaczmarek sought to
       correct them without impacting the ultimate valuation. He also articulates problems with
       Claimants’ comparable companies method and the assumptions underlying the “alternative
       collection scenarios” whereby Claimants would have been given an opportunity to make
       arrangements to pay off legitimate tax assessments.          He identifies some “obvious and
       significant errors” relating to the application of the inflation rate, the export duty rate and the
       mineral extract tax rate. He also criticizes any valuation based on an American Depository
       Receipt (“ADR”) listing on the NYSE as too speculative. Professor Dow was cross-examined
       about these issues.

186. At the Hearing, Professor Dow testified that he would be prepared to put some weight on
       Mr. Kaczmarek’s analysis for YNG with corrections (USD 17.1 billion for the comparable
       companies approach and USD 17.2 billion for the comparable transactions approach); which
       represented a “reasonable stab”.81 Professor Dow was asked if his corrected figures for Yukos
       and YukosSibneft valuations resulting from the comparable companies analysis (of USD 67.8
       billion and US 93.7 billion respectively) could provide “a valid result in terms of valuation in
       the same manner as for YNG,” to which he answered that: “They are not presented in that
       context, but I think I’d have to agree that they could be a useful valuation, yes.” 82 He qualified
       this answer by noting he had not done enough analysis, for example by accounting for changes
       in oil prices. Claimants’ counsel also challenged Professor Dow on his criticisms of Claimants’
       comparable companies approach. With respect to the proper valuation date, from an economic
       standpoint, he considered that the end of 2004 was the appropriate valuation date, since that is
       when the loss of value in Yukos had taken place and the market thought, based on the share
       price, that the company’s fortunes had no chance of being reversed. Professor Dow opined that


81
      Transcript, Day 12 at 47.
82
      Transcript, Day 12 at 47–48.




                                                  - 77 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 98 of 617




       “it’s indisputable that there was no value by the end of 2004.83 By the end of 2004, Yukos’
       share price had plummeted, it was a penny stock, and in the three years that followed there was
       no recovery in the share price.”84


       2.       Mr. Oleg Y. Konnov

187. Mr. Oleg Y. Konnov85 is a partner at Herbert Smith LLP and head of its Russian tax group
       based in Moscow. He has practiced tax law for 17 years and taught at the Law Faculty of
       Moscow State University.           Respondent retained him as an expert on Russian tax law.
       Mr. Konnov was the only Russian tax lawyer who appeared as a witness before the Tribunal.
       Extensive extracts from his testimony are set out in the Analysis portion of the Award,
       especially the chapters dealing with Yukos’ tax optimization scheme and the tax assessments.
       Accordingly, his testimony is not reproduced here in any detail.

188. His first expert report describes the tax optimization scheme adopted by Yukos using domestic
       offshore companies and sets out some basic principles of the Russian federal tax legislation at
       the relevant times. He then addresses seven specific questions.

189. The first question is whether the tax authorities acted in accordance with applicable law and
       practice when assessing profit tax on Yukos with respect to sales by the domestic offshore
       companies. Mr. Konnov answers affirmatively and opines that the actions of the Russian tax
       authorities against Yukos were consistent with pronouncements by Russian courts on the
       “anti-abuse doctrine”, which according to Mr. Konnov, was “accepted and consistently
       applied” by Russian courts before and after the Yukos tax cases.86

190. The second question is whether Yukos was automatically entitled to a zero percent VAT rate in
       connection with exports declared by domestic offshore companies. Mr. Konnov answers no,
       because the application of a zero percent VAT rate was “strictly conditioned” on the taxpayer’s


83
      Ibid. at 176.
84
      Ibid. at 47.
85
      Mr. Konnov submitted two expert reports for these proceedings. First Expert Report of Mr. Oleg Konnov, 4 April
      2011 (hereinafter “First Konnov Report”); Second Expert Report of Mr. Oleg Konnov, 15 August 2012 (hereinafter
      “Second Konnov Report”). Mr. Konnov appeared for examination on 29–31 October 2012; Transcript, Day 13 at 1–
      257; Day 14 at 1–261; Day 15 at 1–256. References to Mr. Konnov’s testimony appear Chapters VIII.A (The Tax
      Optimization Scheme), VIII.B (The Tax Assessments Starting in December 2003), VIII.E (Attempts to Settle) and
      VIII.F (The Auction of YNG).
86
      First Konnov Report ¶¶ 31–52.




                                                       - 78 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 99 of 617




       filing of a “special” zero percent monthly VAT return. According to Mr. Konnov, Yukos
       should have complied with the specific procedures because the courts and the tax authorities
       established that Yukos was “the actual owner and exporter of goods.”87

191. The third question is whether Yukos had disclosed to the Russian tax authorities prior to the
       commencement of the 2003 tax audit its tax minimization practices involving the use of
       domestic offshore companies registered in domestic low-tax jurisdictions. Mr. Konnov saw
       nothing in the record indicating that Yukos “made any significant disclosure of its tax scheme,”
       but even so, illegal tax practices may not be legitimized through a tax offender’s disclosure.88

192. The fourth question is whether the Russian Tax Ministry complied with applicable law in
       appointing and conducting a tax audit of Yukos in December 2003. Mr. Konnov answers
       affirmatively.89

193. The fifth question is whether the Russian tax authorities and courts complied with applicable
       law in imposing fines on Yukos. Mr. Konnov explains that the base fine under Russian tax law
       is 20 percent, which can be increased to 40 percent if non-payment results from the willful acts
       of a taxpayer, which in turn may be doubled for repeat offenders. Mr. Konnov concludes that
       the imposition of fines on Yukos was justified and accorded with prevailing court practice.90

194. The sixth question concerns actions that Yukos could have taken after receiving the 2000 Tax
       Audit Report in December 2003 to reduce its tax liability. Mr. Konnov explains that Yukos
       could have: (a) voluntarily paid all tax arrears and accrued interest and reserved cash for fines;
       (b) filed amended tax returns, and paid tax and interest due for 2001–2003; (c) complied with
       the legal requirements for claiming the zero percent VAT rate; and (d) discontinued as of
       1 January 2004 the use of domestic offshore companies.91

195. The seventh question is whether the tax treatment of YNG changed after its sale to Rosneft.
       Mr. Konnov concludes that the treatment of YNG before and after its sale to Rosneft “was




87
      Ibid. ¶ 53–59.
88
      Ibid. ¶¶ 59–64.
89
      Ibid. ¶¶ 65–70.
90
      Ibid. ¶¶ 71–82.
91
      Ibid. ¶¶ 83–85.




                                                  - 79 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 100 of 617




       consistent with then current practice of the Russian tax authorities and courts, and does not
       suggest any irregularity.”92

196. Mr. Konnov’s second report responds to alleged misstatements of Russian tax law found in the
       Reply, including with respect to the “anti-abuse doctrine” under Russian tax law,93
       “re-attribution,” and the “bad-faith taxpayer” doctrine.94                   Mr. Konnov also addresses
       Claimants’ arguments about proportionality between tax benefits claimed and investments
       made in the low-tax regions, Yukos’ awareness that its tax optimization scheme was not fully
       compliant with the law, the application of the Law of the Russian Federation governing Value
       Added Tax (“VAT Law”), and fines on Yukos.95

197. Mr. Konnov appeared before the Tribunal for examination on 29, 30 and 31 October 2012. He
       was cross-examined on a range of documents from the record, legal authorities and their
       application to Yukos and its domestic offshore companies. Issues canvassed in the cross-
       examination included, inter alia: (a) the factual record underlying his views expressed about
       alleged improprieties in Yukos’ domestic offshore companies; (b) whether oil products must be
       physically stored or moved from the premises of trading companies; (c) the re-attribution
       theory applied to Yukos and the existence of legal precedents for the theory at the relevant
       time; (d) provisions in the regional tax legislation in Mordovia and elsewhere; (e) the
       investment agreements concluded between the domestic offshore trading companies and
       Mordovian authorities; (f) the existence of the anti-abuse doctrine at relevant times; (g) fines
       and penalties; (h) prior audits conducted by local and regional authorities on Yukos’ domestic
       offshore trading companies and the extent to which they demonstrate familiarity with and
       tolerance of the tax optimization scheme; (i) audit inspection practices; (j) the meaning of
       “interrelatedness” in the context of Russian tax legislation; (k) the consequences of the
       reattribution theory on entitlement to VAT refunds and the formalities required to enjoy VAT
       exemption; (l) the evolution of the ZATO tax laws and certain internal memoranda within
       ZATO tax inspectorates; and (m) timing for enforcement of tax assessments.96




92
      Ibid. ¶¶ 89–92.
93
      Second Konnov Report, ¶¶ 7–17.
94
      Ibid. ¶ 26–41.
95
      Ibid. ¶¶ 84–121.
96
      Transcript, Day 13 at 49–52, 70–80, 114–20, 151–52; Transcript, Day 14 at 61–68.




                                                         - 80 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 101 of 617




198. Mr. Konnov also answered questions from the Tribunal, including about the principle of
        resolving doubts in favor of the taxpayer.97 He was asked why, in the interests of justice the
        Russian courts did not treat the filings for VAT by the trading companies as filings by Yukos.98
        When he emphasized the formalities required for filing for VAT, he was further asked whether
        the trustee in bankruptcy (Mr Rebgun), who was charged with maximizing the resources
        available for creditors, himself could have filed the monthly forms for VAT return.
        Mr. Konnov answered that he could have done so, subject to the three-year limitation period,
        i.e., he could have re-filed for the three years preceding his appointment as trustee.99 The
        Tribunal also asked Mr. Konnov how the tax authorities determine the motivation of a taxpayer
        in making use of a low-tax region and about his experience in advising clients with respect to
        tax minimization.100

199. Mr. Konnov was asked about a comment made by him as an expert witness in the RosInvestCo
        UK Ltd. v. The Russian Federation arbitration (“RosInvestCo”), to the effect that “sometimes
        Russian courts [do not] have an excellent reputation.” Mr. Konnov responded that he had not
        come across corruption or irregularities in tax cases.101 He was invited to share his views on the
        tax evasion aspects of the convictions of Messrs. Khodorkovsky and Lebedev. The parts of the
        judgment dealing with tax elements of the ZATOs and issues of personal income tax avoidance
        seemed to him to make sense, but he could not comment on other parts of the judgment.102


        3.       Professor Reinier Kraakman

200. Professor Reinier Kraakman103 is a Harvard law professor specializing in comparative corporate
        law and governance. Claimants chose not to call him for cross-examination. His expert report
        concerns the activities of Bank Menatep, Mikhail Khodorkovsky and his “tight-knit group of
        confederates” (the “Khodorkovsky Group”), Yukos Oil Company, and Yukos’ subsidiaries


97
       Transcript, Day 15 at 37–42 (Dr. Poncet referring to the principle in dubio contra fiscum).
98
       Ibid. at 232.
99
       Ibid. at 234–35.
100
       Ibid. at 237–41
101
       Ibid. at 251–56. Referring to the case of RosInvestCo UK Ltd. v. The Russian Federation, SCC Arbitration V
       (079/2005), Final Award, 12 September 2010, Exh. C-1049 (hereinafter “RosInvestCo”).
102
       Ibid. at 249–55.
103
       Expert Report of Professor Reinier Kraakman, 1 April 2011, filed with Counter-Memorial. References to his expert
       report appear in Chapter IX.B (Unlean Hands).




                                                            - 81 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 102 of 617




     from the period 1995–1999. He addresses provisions of the Russian Civil Law, Joint Stock
     Company Law (“JSC Law”) and privatization law.

201. Professor Kraakman maintains that Mr. Khodorkovsky, his Group, and Bank Menatep acted in
     bad faith and “probably illegally” in violation of the spirit and letter of Presidential Decree
     No. 889, which was the legal foundation of the Loans-For-Shares (“LFS”) Program. At stake
     in the initial auction of Yukos shares in December 1996 were (i) the right to lend funds to the
     Russian Federation secured by a pledge of 45 percent of Yukos stock, and (ii) the right to
     purchase a block of 33 percent of Yukos Stock in a so-called “Investment Tender”. Bank
     Menatep held shares pledged by the State and sold those shares to their close affiliates, a “tactic”
     that “allowed the Khodorkovsky Group to gain title to the pledged shares while avoiding Bank
     Menatep’s agency duty to maximize their value,” thus violating “the intent of Decree 889, while
     making a gesture toward formal compliance.”

202. According to Professor Kraakman, secondary sources, and some primary documentation,
     support “a reasonable inference” that, prior to the Russian Federation’s sovereign debt crisis in
     late 1998, the Khodorkovsky Group systematically skimmed revenue from Yukos’
     partially-held operating subsidiaries—YNG, Samarneftegaz, and Tomskneft—in bad faith and
     in violation of the JSC Law’s regulations on self-dealing transactions. Circumstantial evidence
     indicates that the Khodorkovsky Group skimmed revenue directly from Yukos from mid-1996
     until 1999, and transferred it to offshore companies around the world that were controlled or
     beneficially owned by members of the Khodorkovsky Group.

203. He testifies that following the Russian sovereign debt crisis, Yukos and the Khodorkovsky
     Group largely succeeded in squeezing out minority shareholders from Yukos’ operating
     subsidiaries. Yukos managed this by committing serious violations of the provisions in the JSC
     Law intended to protect minority shareholders.         Yukos exhibited egregious bad faith by
     blocking minority shareholders from participating in extraordinary shareholders meetings
     called in March 1999. He claims: “As a professor of corporate law with a particular interest in
     the JSC Law, I have never read—or read about—anything more chilling in a professional sense
     than the documents and manipulative behavior surrounding the March 1999 EGMs
     [Extraordinary General Meetings] held for YNG, Samareneftegaz, and Tomskneft.” In Professor
     Kraakman’s opinion, Yukos and the Khodorkovsky Group opportunistically devalued Yukos
     shares, which Bank Menatep—the Group’s financial arm—had previously pledged to Western
     banks in order to finance Yukos’ efforts to gain control of Tomskneft.




                                                - 82 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 103 of 617




        4.      Professor H. David Rosenbloom

204. Professor H. David Rosenbloom104 is a practicing attorney, a consultant and NYU law professor
        specializing in international taxation. He has worked for the U.S. Government on international
        tax matters. Respondent retained him as an international tax law expert. He opines on the
        appropriateness of the actions from 2000–2003 by four Cypriot entities—Hulley, VPL, Dunsley
        Limited, and Nassaubridge Management Limited—in claiming a reduced Russian Federation
        tax on dividends paid by Yukos and affiliates, under the Cyprus-Russia DTA.

205. Professor Rosenbloom concludes that each of the four entities is a “paper entity”, with “total
        control” and “ultimate ownership” exercised by Russian individuals operating solely within
        Russia and enjoying all economic benefits. According to Professor Rosenbloom, the invocation
        of the Cyprus-Russia DTA under these circumstances was a “blatant example of tax treaty
        abuse.” Professor Rosenbloom refers to pervasive recognition of the international “abuse of
        law” doctrine, to the OECD Commentaries (the DTA follows the OECD Model), and to the
        VCLT to assert that: (a) taxpayers must act in good faith to benefit from an income tax treaty;
        and (b) the employment of entities in one State party to a tax treaty exclusively to reduce taxes
        otherwise applicable under the laws of the other State party constitutes tax treaty abuse.

206. For reasons described in more detail in Chapter IX.B (on “Unclean Hands”), Professor
        Rosenbloom concludes that the benefits claimed were not justified by Article 10 of the Cyprus-
        Russia DTA, which limits the tax charged by one State on dividends paid from a company in
        that State to beneficial owners of the stock resident in the other State, provided they do not
        operate through a “permanent establishment” in the first State, to which the dividends are
        attributable. Firstly, he opines, the Cypriot entities were not beneficial owners of the dividends
        received on Yukos shares, and the beneficial owners were not residents of Cyprus. Secondly,
        in his view, the entities were not eligible for the claimed benefits because they operated through
        permanent establishments in the Russian Federation, to which the dividends were attributable.
        In sum, according to Professor Rosenbloom, the claims under the Cyprus-Russia DTA on
        behalf of the Cypriot entities were unjustified. They were not only abusive, but without merit.




104
       First Expert Report of Professor H. David Rosenbloom, 1 April 2011, filed with Counter-Memorial, Second Expert
       Report of Professor H. David Rosenbloom, 15 August 2012, filed with Rejoinder. Initially Claimants intended to
       cross-examine Professor Rosenbloom, but decided not to after Respondent advised it would not be cross-examining
       Mr. Philip Baker QC. References to Professor Rosenbloom’s reports appear in Chapter IX.B (Unclean Hands).




                                                        - 83 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 104 of 617




207. In his second expert report, Professor Rosenbloom replies to the opinion of Claimants’ tax law
      expert, Mr. Baker, which he describes as “long on law and history” but “short, very short, on
      the facts.” The facts here, according to Professor Rosenbloom, involve Russian nationals and
      residents earning Russian source income and claiming a treaty-based reduction of normal
      Russian tax by reason of a “wafer-thin Cypriot corporate veneer managed from Russian soil.”
      Neither the DTA nor any other income tax treaty would condone such a structure and no
      rational country would endorse it as sound policy. Professor Rosenbloom then sets out in
      further detail facts pertaining to several Yukos-related entities which inappropriately claimed
      benefits under the Cyprus-Russia DTA.

208. Professor Rosenbloom opines that the primary purpose of a tax treaty is to eliminate or at least
      mitigate international double taxation and none of the authorities in Mr. Baker’s report deal
      with a country using treaties to reduce tax on its own residents but rather discuss third-country
      investors.   Interpreting the Cyprus-Russia DTA as an instrument to attract foreign direct
      investment into Russia without regard to tax revenue loss exceeds the limited scope of OECD-
      based treaties and undermines the purpose of tax avoidance and evasion.                Professor
      Rosenbloom also accuses Mr. Baker of failing to differentiate between treaty shopping and
      “round tripping”. Russia’s inaction to insist on strict limitation on benefit or its failure to
      terminate the Cyprus-Russia DTA does not establish Russia’s endorsement of round tripping.

209. Finally, Professor Rosenbloom refers to documents provided after the filing of his first report,
      which he says confirm that neither Hulley nor VPL beneficially owned dividends received from
      Yukos. Even if Hulley and VPL were considered beneficial owners of the Yukos dividends on
      the transferred shares, the related-party “repos” or stock-lending agreements, which had no
      purpose other than to enable claims of treaty benefits, are an improper use of the DTA.

210. According to Professor Rosenbloom, even if the Yukos structure and transactions with the
      Cypriot entities were not abusive, dividend distributions by Yukos and its affiliates to Hulley,
      VPL and the other Cypriot entities did not qualify under the DTA for reduced tax in Russia
      since they should have been taxed as “business profits” under Article 10(4) of the DTA. The
      facts also confirm that all the Laurel subsidiaries had permanent establishments in Russia to
      which the dividends received from their Russian subsidiaries were attributable. According to
      Professor Rosenbloom, it is not necessary to adopt a complicated “economic substance” or
      “substance-over-form” analysis to see that the Yukos structure cannot be defended as within the
      scope of the Cyprus-Russia DTA or legitimate tax planning. Had Mr. Baker and Claimants
      “focused on the facts presented” they could not reasonably have come to any other conclusion.


                                                - 84 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 105 of 617




        5.     Professor Thomas Z. Lys

211. Professor Thomas Lys105 is a professor of accounting at Kellogg School of Management,
        Northwestern University in Chicago. He has a PhD in accounting and finance from the
        University of Rochester and an economics degree from the University of Berne, Switzerland.
        He has served as a consultant to several companies. He was retained by Respondent to
        expound in detail various financial transactions and operations of Yukos. Claimants chose not
        to call him for cross-examination. The appendices attached to Professor Lys’ Reports were
        used at various times throughout the Hearing to help illustrate Yukos’ structure and activities.

212. Professor Lys recounts Yukos’ incorporation in 1993, privatization in 1995 and public sale of
        shares in 1996. He describes Yukos’ structure and activities and the role of the various
        producing subsidiaries, trading entities and off-shore entities, and the structure and flow of
        funds originating in the trading companies into “offshore and Yukos entities.”

213. Professor Lys explains that starting in 1999, the majority of Yukos shares were owned by
        subsidiaries of GML, an entity whose major interest was held by Mr. Khodorkovsky, the CEO
        and Chairman of the Executive Committee of the Board of Directors of Yukos.                           Other
        shareholders of GML also had senior management positions in Yukos. In several instances,
        shares of Yukos stock were transferred between various entities under the control of GML.
        Many such transactions placed the Yukos shares temporarily, sometimes for less than a week,
        under nominal ownership of Cypriot entities on dates that established record ownership for
        purposes of Yukos dividend distributions, apparently in an effort to reduce Russian taxes on
        these dividends. YUL was a wholly-owned subsidiary of GML. Hulley was a wholly-owned
        subsidiary of YUL. Although VPL did not fall under the ownership structure of GML, it was a
        subsidiary of the Veteran Petroleum Trust (a Jersey trust), of which YUL controlled at least
        three quarters of the voting rights.

214. Professor Lys describes and details how there were hundreds of transactions of Yukos shares
        among the above-described entities and their affiliates; in some instances multiple transactions
        occurred on a single day. Many appear to Professor Lys to “have been structured to place
        Yukos shares temporarily in the hands of Hulley and a specific account held in the name of
        VPL, both of which are Cypriot entities, as of the record dates of Yukos dividend payments.”
105
       First Expert Report of Thomas Z. Lys, 1 April 2011, filed with Counter-Memorial, Supplemental Expert Report of
       Professor Thomas Z. Lys, 15 August 2012, filed with Rejoinder. References to Professor Lys’ Reports appear in
       Chapters VIII.A (The Tax Optimization Scheme) and X.E (Contributory Fault).




                                                        - 85 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 106 of 617




      He states that “they appear to have been performed to allow the Cypriot entities to claim
      beneficial ownership of these shares to reduce the Russian withholding taxes on the dividends
      Yukos paid on these shares, pursuant to the [Cyprus-Russia DTA].” Given their timing,
      Professor Lys sees no apparent business purpose for these transactions.

215. Professor Lys also describes Yukos’ dividend flows through YUL, Hulley, VPL, and GML. He
      concludes that YUL, and its beneficiary GML, not only received the economic benefit of the
      dividends paid on the Yukos shares owned by Hulley, but also received the benefit of the gains
      Hulley reported from the sales of Yukos shares to YUL. In other words, the profits earned on
      those sales were effectively “returned” through the dividend. YUL (and GML) were also the
      beneficiaries of dividends paid on Yukos shares owned by VPL.

216. Professor Lys describes how from 2000 to 2003, groups of Yukos-related entities “moved funds
      in a common pattern from Russia’s low-tax regions out of Russia, into off-shore entities.” He
      details the flow structures of profits through the Fargoil and Ratibor structures. He sets out the
      Mega Alyans flow structure, showing the ultimate ownership of trading entities by Laurel, a
      BVI entity, and its sole shareholder, Stephen Curtis. He describes how Yukos had a call option
      to acquire all of Mr. Curtis’ Laurel shares for one rouble.

217. He also details the flow structures in 2000–2001 of the trading companies registered in the
      ZATOs of Lesnoy and Trekhgorny (Business-Oil, Flander, Forest-Oil, Greis, Kolkrein,
      Kverkus, Mitra, Muscron, Nortkes, and Vald Oil). He explains how the Lesnoy and Trekgorny
      trading companies passed funds through two Russian entities—Neftetrade and Neftemarket—to
      a number of Cypriot companies, which in turn passed the funds on through Laurel to Halsley
      and Belmont, two BVI entities owned by Brill.

218. Finally, Professor Lys describes loans made by and to Yukos Capital (incorporated in
      Luxembourg in 2003). Yukos Capital’s 2005 financial statements show that it borrowed
      extensively from and lent extensively to other Yukos entities. Professor Lys details loan
      transactions where the exact amount borrowed by Yukos Capital was then lent by Yukos
      Capital to other Yukos-related entities.




                                                 - 86 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 107 of 617




        6.      Ms. Felicity Cullen QC

219. Ms. Felicity Cullen QC106 is a barrister specializing in United Kingdom tax law. Respondent
        asked Ms. Cullen to opine on rules concerning the assessment, collection, and enforcement of
        tax in the UK, in the context of showing that “[t]he treatment by the Russian tax authorities of
        Yukos’ tax evasion scheme is entirely consistent with the positions that would have been taken
        by the tax authorities of virtually every other country [including the UK].”107 Claimants chose
        not to call her for cross-examination.

220. Ms. Cullen was asked to give her opinion on the basis of a number of assumptions about a large
        corporate taxpayer who has entered into transactions to reduce its tax liability. She was asked
        to assume that the transactions are considered by tax authorities to involve avoidance and/or
        criminal evasion of tax, to lack genuine commerciality, and to have been carried out on non-
        arm’s length terms. The same taxpayer is assumed to have deliberately concealed the true
        character of its transactions, to have been deliberately uncooperative in tax investigations and to
        have dissipated assets otherwise available to satisfy potential tax liabilities. In such assumed
        circumstances, Ms. Cullen describes the investigation and enforcement options open to an
        officer of Her Majesty’s Revenue and Customs (“HMRC”) during an enquiry into a tax return.
        For example, HMRC can amend a company’s self-assessment if its suspected of understating
        the company’s true tax liability and there is a real risk of substantial loss of tax to the
        government. Under a discovery process, HMRC is allowed to re-open returns for periods
        otherwise considered closed when there has been careless or deliberate conduct leading to loss
        of revenue.

221. With respect to penalities, Ms. Cullen notes that under the current UK civil tax penalty regime
        may vary from 30 to 100 percent of the potential lost revenue (depending on whether there was
        deliberate concealment).         She further describes the considerable methods of enforcement
        available to HMRC, which include proceedings in English courts, freezing orders, and pursuit
        of insolvency proceedings. Criminal action may, according to Ms. Cullen, be pursued where
        appropriate, in which case HMRC will often conduct a form of “dawn raid”, require production
        of documents, seize items like computers and make arrests.




106
       Expert Report of Ms. Felicity Cullen QC, 4 April 2011.
107
       Counter-Memorial ¶ 1135.




                                                          - 87 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 108 of 617




222. Ms Cullen observes that traditionally, tax legislation in the UK was construed literally but
        today, it is construed purposively, which has facilitated challenging and countering tax
        avoidance schemes.


        7.      Mr. Dale Hart

223. Mr. Dale Hart108 is a retired executive of the U.S. Internal Revenue Service (“IRS”).
        Respondent retained Mr. Hart to describe the U.S. legal framework against tax abuse and
        evasion and enforcement powers of the IRS, in the context of Respondent’s claim that “tax
        administrations around the world [including the U.S.] would have been at least as firm as the
        Russian Federation in dealing with abuses of the kind perpetrated by Yukos.”109 Claimants
        chose not to call him for cross-examination.

224. Mr. Hart testifies that under U.S. law, abusive or fraudulent tax shelters are broadly defined to
        include investment schemes that reduce tax income without changing the value of the business.
        To combat them, the IRS relies on a legal framework that provides the authority to reallocate
        income and deductions to properly reflect income.          The framework includes the judicial
        doctrines of economic substance, business purpose, sham transactions, substance over form and
        step transactions.        The IRS has extensive civil and criminal enforcement powers, which
        according to Mr. Hart, it uses “aggressively”. It has broad discretion in determining which tax
        returns and taxpayers to select for audit and it tailors the scope of its audit to the taxpayer’s
        financial and tax situation. If evidence of fraud is revealed, the civil audit is discontinued and a
        criminal investigation may be launched. Mr. Hart notes that the typical three-year limitation
        period may be extended for fraud or other misconduct.

225. With respect to penalties, Mr. Hart describes how U.S. law imposes “heavy” penalties on
        fraudulently underpaid tax, including failure to pay and failure to file penalties, accuracy-
        related penalties on underpayments and a civil fraud penalty of 75 percent. The collection
        process begins with a formal notice of assessment requesting payment. According to Mr. Hart,
        a deferred payment arrangement is only ever considered when the taxpayer is unable to pay in
        full. Mr. Hart describes the “strong arsenal” of administrative enforcement collection tools at
        the disposal of the IRS, including a federal tax lien, a notice of levy and the sale of property by


108
       Expert Report of Mr. Dale Hart, 4 April 2011.
109
       Counter-Memorial ¶ 1135.




                                                       - 88 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 109 of 617




        public auction or public sale after determination a minimum bid price that need not be based on
        fair market value.


        8.     Mr. Polyvios Polyviou

226. Mr. Polyvios Polyviou110 of Chryssafinis & Polyviou LLC in Nicosia is a lawyer practicing
        Cypriot law. Respondent retained him as an expert to show that Claimants’ alleged abuses of
        the Cyprus-Russia DTA also violated the criminal laws of Cyprus. Claimants chose not to call
        him for cross-examination.

227. Mr. Polyviou’s report is based on the following assumptions: (a) that for purposes of the
        Cyprus-Russia DTA, Hulley and Veteran were “residents” of Cyprus and Yukos was a
        “resident” of Russia; (b) that in reliance on the Cyprus-Russia DTA, Hulley and Veteran paid a
        reduced five percent withholding tax to Russia on dividends received from Yukos; (c) that
        Hulley and Veteran had no right to take the benefit of the Cyprus-Russia DTA because the
        relevant dividends were connected with activities carried out in Russia and/or because Hulley
        and Veteran were not the beneficial owners of the relevant dividends; (d) that the natural
        persons who declared/confirmed on forms submitted by Hulley and Veteran to Cypriot tax
        authorities that the relevant dividends received from Yukos were not connected with activities
        carried out in Russia and that Hulley/Veteran was the beneficial owner of the relevant
        dividends were authorized to do so on Hulley/Veteran’s behalf; and (e) that at the time of
        making the declarations/confirmations, these natural persons knew that the dividends from
        Yukos were connected with activities carried out in Russia or that Hulley/Veteran was not the
        beneficial owner and intended for the forms to be submitted to the Cypriot authorities so as to
        obtain completion, dating, signing and stamping of Box 4 (the “Note of the foreign Tax
        authority”) on the forms. On the basis of these assumptions, Mr. Polyviou was asked to address
        two questions, as described below.

228. The first question was: “Did the circumstances under which Hulley and Veteran obtained the
        completion, dating, signing and stamping of certain tax forms by the Cypriot tax authorities
        give rise to criminal offences under the Criminal Code of Cyprus?” Mr. Polyviou answers
        “Yes” under sections 297 (false pretences), 305 (willfully obtaining a “certificate” by false
        pretences) and 341 (willfully procuring execution of documents by false pretences) of Cap. 154

110
       Expert Report of Mr. Polyvios G. Polyviou, 1 April 2011 (hereinafter “Polyviou Report”).      References to
       Mr. Polyviou’s report appear in Chapters IX.B (Unclean Hands) and X.E (Contributory Fault).




                                                      - 89 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 110 of 617




        of the Criminal Code. According to Mr. Polyviou, but for the false pretence, Cypriot tax
        authorities would have rejected the request to complete, date, sign and stamp the forms as it
        would have been pointless and tantamount to assisting an abuse of the Cyprus-Russia DTA.

229. The second question was: “Were criminal offences committed under the Criminal Code and/or
        the Companies Law of Cyprus?”, assuming that during the period 1 January 2000 to 28 October
        2003: (a) in reliance upon the Cyprus-Russia DTA Hulley and Veteran paid a reduced five
        percent withholding tax to Russia on dividends received from Yukos; (b) neither Hulley nor
        Veteran had the right to take the benefit of the Cyprus-Russia DTA, at least vis-à-vis Yukos’
        above-mentioned dividends; and (c) neither Hulley nor Veteran disclosed point (b) in their
        annual accounts for financial years 2000–2002?                  Mr. Polyviou answered “Yes” under
        section 311(b)(iii) (directors and officers of corporations keeping fraudulent accounts or
        falsifying books or accounts) of Cap. 154 and section 143(6) (contents and forms of accounts)
        of Cap. 113 of the Criminal Code.


        9.      Mr. John Ellison

230. Mr. John Ellison111 is a consultant at KPMG in London, having retired as a senior partner in
        2010. His report concerns the withdrawal by PwC of its audit opinions on Yukos’ financial
        statements for the years 1995–2004. Claimants chose not to cross-examine him.112

231. Mr. Ellison opines that for a reputable international firm such as KPMG to withdraw an audit
        opinion is an “unusual and serious” event, of which he knows of only a handful of cases. At
        KPMG, whether in the UK, the U.S., or Russia, such decision would necessarily be preceded
        by extensive consultations with several senior partners of the firm together with its technical
        departments and legal counsel. According to Mr. Ellison, PwC’s procedures were similar, as
        shown by a declaration (appended to the Ellison Report) from Ms. Laurie Endsley, PwC’s
        in-house counsel who worked on the Yukos matter at the time of withdrawing the audits.

232. Mr. Ellison analyzes PwC’s letter of 15 June 2007,113 in which PwC announced the withdrawal
        of its audit opinions of Yukos’ financial statements, explaining that it had acquired new
        information that caused it to question the reliability of the representations made by Yukos’
111
       Expert Accountant’s Report to the Tribunal by John Ellison, FCA, 14 August 2012 (hereinafter “Ellison Report”).
       References to Mr. Ellison’s expert report appear in Chapter VIII.H (The Withdrawal of PwC’s Audit Opinions).
112
       See Chapter VI.C (The So-Called “Empty Chairs”).
113
       Letters from ZAO PwC Audit to Mr. Rebgun, 15 June 2007, Exh. C-611 (hereinafter “PwC’s Withdrawal Letter”).




                                                          - 90 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 111 of 617




        management during the audits. Assuming the veracity of the contents of the letter, Mr. Ellison
        concludes that in withdrawing its audit opinions, PwC acted in accordance with the auditing
        standards generally accepted in the U.S., Russia and internationally.

233. Mr. Ellison notes that under U.S. Statement of Auditing Standards No. 1, Section 333, when an
        auditor after issuing its report becomes aware of facts that existed at the time the report was
        being compiled, believes there are persons relying or likely to rely on his report and considers
        that the new facts are material to his report, or shake his confidence in the overall veracity of
        representations made by management, the auditor must advise his client to disclose the new
        facts and possibly revise its financial statements. Mr. Ellison refers to PwC’s claim that in light
        of the bankruptcy of Yukos, PwC “was unable to access the information required that could
        lead to revision of the financial statements and was also unable to discuss the matter with
        management, as recommended by [U.S. Auditing standards] AU Section 561.” Mr. Ellison
        accepts that in those circumstances, PwC “had no option but to withdraw its audit reports.”

234. Under International Standard on Auditing 560 and Russian Federal Auditing Rule 10, when
        new material facts become known to the auditor after issuance of the audit report, the auditor
        should consider revising the company’s financial statements, discuss the matter with the
        company’s management and “take the action appropriate in the circumstances” or “take steps
        necessary in the circumstances.” In Mr. Ellison’s view, PwC did take the appropriate steps.


        10.     Mr. Raymond Gross

235. Mr. Raymond Gross114 is a partner of KPMG’s U.S. Accounting & Reporting Group in London.
        Claimants chose not to cross-examine him. Respondent asked Mr. Gross to review what
        Yukos’ consolidated financial statements prepared under U.S. GAAP revealed with respect to:
        (a) Yukos’ tax optimization scheme, including its use of trading companies in low-tax regions
        of Russia to buy oil and oil products from production subsidiaries and transfer the proceeds to
        offshore companies established or controlled by Yukos; (b) the Jurby Lake structure, a group of
        offshore trading companies controlled by Yukos or its former Russian majority shareholders
        and comprising Jurby Lake Limited (Ireland) and the BBS Companies; and (c) the taxes
        assessed against Yukos’ trading companies in the ZATO of Lesnoy for tax years 1999 and
        2000.


114
       Expert Accountant’s Report to the Tribunal by Raymond Gross, CPA, 14 August 2012.




                                                        - 91 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 112 of 617




236. Mr. Gross was instructed to assume that the statements would have “put a reader on notice of
      facts relevant to the nature and legality of Yukos’ use of the Tax Optimization Scheme” if they
      had included: (a) identification of the involved trading and offshore companies (listed in the
      exhibits to the Report); (b) the monetary value of the investments made and tax savings
      achieved by Yukos through the scheme; (c) details of the extent of the trading companies’
      investments in Russia’s low-tax regions; (d) details the extent of Yukos’ direction of and
      control over the trading companies; (e) details of the flow of funds from the trading companies
      to Yukos; (f) details about the taxes assessed against Yukos’ trading companies in the ZATO of
      Lesnoy in 1999 and 2000 and the Republic of Kalmykia in 2001 due to improperly received tax
      benefits; and (g) disclosure of the possible financial impact on Yukos if the tax optimization
      scheme was disallowed by the Russian authorities.

237. Mr. Gross concludes that the statements for the years 2000–2002 and the first three quarters of
      2003 were not transparent with regard to Yukos’ tax optimization scheme, as they disclosed
      none of the above-listed information necessary to put a reader on notice. While the statements
      showed that Yukos’ effective tax level was lower than the statutory tax level, they failed to
      explain the nature of the difference. The statements also failed, according to Mr. Gross, to
      identify the companies composing the Jurby Lake structure.

238. Mr. Gross also concludes that the 2001–2002 statements were not transparent and not
      consistent with the U.S. GAAP in that they failed to disclose as contingent liabilities the taxes
      assessed against the trading companies of the ZATO of Lesnoy for 1999 and 2000, despite the
      fact that these tax assessments were material to the statements. Under the U.S. GAAP, Yukos
      could omit these assessments from the statements if it determined that the probability of loss
      was remote; however, the written support of outside legal counsel or another competent
      authority which would usually be required for such a determination was not obtained in this
      case.   Mr. Gross opines that Yukos should have disclosed that the validity of the tax
      optimization scheme had been called into question and discussed the risk involved in
      continuing with the scheme.




                                                - 92 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 113 of 617




        11.     Professor Dr. Albert Jan van den Berg

239. Professor Dr. Albert Jan van den Berg115 of Hanotiau & van den Berg in Brussels, specializes in
        international arbitration. He was previously in private practice in the Netherlands and is a
        professor at Erasmus University in Rotterdam. Respondent retained Professor Van den Berg to
        provide an expert opinion addressing the legality under Dutch law of the 2005 transfer of Yukos’
        foreign assets into the Stichtings. Claimants chose not to cross-examine Professor Van den Berg.

240. Professor Van den Berg was provided with a 12-page Statement of Assumed Facts on which to
        base his opinion. These assumed facts may be summarized as follows. Before the auction of
        YNG in December 2004, Yukos’ assets outside the Russian Federation (the “Foreign Assets”)
        were held by two wholly-owned subsidiaries of Yukos, Yukos Finance B.V. (“Yukos
        Finance”) and Yukos CIS Investment Limited (“Yukos CIS”). After the auction, Yukos
        management transferred the Foreign Assets to the two Stichtings, which issued depositary
        receipts in return to Yukos Finance and Wincanton Holding BV (“Wincanton”), a Dutch
        subsidiary of Yukos CIS. This restructuring had the “stated purpose . . . to prevent the
        non-Russian assets of Yukos Oil from being used to satisfy the tax debts that Russian courts
        had found Yukos Oil to owe, and, more broadly, to prevent the non-Russian assets from being
        available to satisfy claims of Yukos’ Russian creditors.”

241. Under the Articles of Association of the Stichtings (amended in 2008), the management board,
        including former Yukos managers David Godfrey, Bruce Misamore and Steven Theede,
        manages the Foreign Assets in the interests of Yukos, its subsidiaries, shareholders, employees
        and “legitimate” creditors. As a result of the restructuring: (a) even after Yukos CIS and
        Yukos Finance were sold in Yukos’ bankruptcy auction, the former Yukos managers have
        continued to manage and control the Foreign Assets; (b) the lending group under a USD
        1 billion loan was unable to enforce an English judgment against Yukos Finance’s assets; and
        (c) Moravel, whose loan had been held to be unenforceable by Russian courts because of its
        status as a subsidiary of Yukos, was able to negotiate the repayment of its loan from one of the
        Stichtings.

242. Based on the above-described assumed facts, Professor Van den Berg opines that the
        restructuring of Yukos Finance and Yukos CIS was illegal, as Dutch law does not permit a
115
       Legal Opinion on the Validity of Restructuring Devices under Dutch Law by Professor Dr. Albert Jan van den Berg,
       14 August 2012 (hereinafter “Van den Berg Report”). References to Professor Van den Berg’s legal opinion appear in
       Chapter VIII.G (The Bankruptcy of Yukos).




                                                         - 93 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 114 of 617




        company to transfer its assets for the purpose of making it more difficult for a creditor to satisfy
        its claims, or for the new ultimate parent company to exercise control. This is so even when a
        company believes the claims against it are illegitimate. The company is not entitled to exercise
        self-help.

243. According to Professor Van den Berg, this illegality gave rise to the directors’ “internal
        liability” (liability of the directors to the company itself) pursuant to Articles 2:8 and 2:9 of the
        Dutch Civil Code (the “DCC”) and to the directors’ “external liability” (liability of the
        directors to creditors) as well as “company liability” (liability of the company to creditors)
        pursuant to Article 6:162 of the DCC. Further, this illegality renders the board decisions
        regarding the restructuring voidable pursuant to Articles 2:8 and 2:15(1)(b) of the DCC (as
        contrary to the principles of reasonableness and fairness) and pursuant to Article 3:40(1) of the
        DCC (as contrary to “good morals”). Professor Van den Berg opines that the Stichtings are
        also disallowed as invalid permanent protective devices; even if they are treated as temporary
        protective devices, the requirements to uphold such temporary devices are not met in this case.


        12.     Professor Stef van Weeghel

244. The Tribunal recalls that Respondent had raised the question of “unclean hands” in the
        jurisdictional phase of the case, an issue which the Tribunal decided to defer for consideration
        until the merits phase of the arbitration.116             During the jurisdictional phase of the case,
        Respondent had adduced expert testimony from Professor Stef van Weeghel,117 a professor of
        international tax law at the University of Amsterdam and a tax law partner at Stibbe. In his
        expert report, Professor Van Weeghel reached three main conclusions about Claimants and
        taxation law, as summarized in the Interim Awards.118 The Parties did not reference his report
        in their pleadings in the merits phase of the case and he was not cross-examined at the Hearing
        on the Merits. The Tribunal has decided to include in the Final Awards the summary of
        Professor Van Weeghel’s expert evidence.

245. According to Professor Van Weeghel, Hulley was not entitled to obtain the taxation benefits
        contained in the Cyprus-Russia DTA in respect of the Yukos dividends because: (a) Hulley

116
       Interim Award, Hulley ¶ 435. See also Procedural Orders Nos. 2 and 3 of 8 September and 31 October 2006.
117
       Expert Report of Professor Stef van Weeghel, 29 January 2007, filed with Counter-Memorial on Jurisdiction.
       References to Professor Van Weeghel’s Expert Report appear in Part X.E (Contributory Fault).
118
       Interim Awards, Hulley ¶¶ 191–97.




                                                         - 94 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 115 of 617




        had a permanent establishment in Russia under Article 10(4) of the Cyprus-Russia DTA) as it
        either had a place of management in Russia, or it had an agent in Russia; and (b) those
        dividends were attributable to the permanent establishment in Russia. He also opines that VPL
        was similarly not entitled to obtain the taxation benefits contained in the Cyprus-Russia DTA
        because it was not the beneficial owner of the Yukos dividends within the meaning of
        Article 10(2) of the Cyprus-Russia DTA.

246. According to Professor Van Weeghel, the Yukos holding structure is a sham or otherwise
        abusive under general principles of international tax law and designed specifically to avoid
        taxation obligations. Therefore rights to tax benefits under the Cyprus-Russia DTA should be
        denied. Tax authorities do not always have to accept artificial legal constructions. Anti-abuse
        doctrines to counter artificial legal constructions have developed in and are common to many
        countries including the Russian Federation and Cyprus. Professor Van Weeghel refers to the
        example of the Swiss Federal Court denying the benefits of a double taxation treaty to a Danish
        company in circumstances analogous to the Yukos holding structure. He refers to international
        efforts to control the use of tax havens and notes that the OECD Forum on Harmful Tax
        Practices in its 2000 Progress Report identified 35 tax havens which included the Isle of Man,
        Gibraltar, Jersey and the British Virgin Islands. Professor Van Weeghel examines the Yukos
        holding structure, and notes that at the bottom of the structure is the successful and profitable
        Russian oil company developing and exploiting natural energy resources in Russia, while at the
        top of the structure are a small number of Russian individual shareholders. He concludes that it
        is “hardly perceivable” that the Russian individual shareholders, in setting up the Yukos
        holding structure, had any other goal in mind than low taxation and lack of transparency in
        respect of the ownership of Yukos shares. Such a structure would normally fall within the
        scope of international efforts to counter the harmful use of tax havens.


C.      THE SO-CALLED “EMPTY CHAIRS”

247. At the Hearing on the Merits, each side accused the other of leaving conspicuous “empty
        chairs” in its presentation of witness evidence. Each side asked the Tribunal to draw adverse
        inferences against the other from the absence of the persons who should have filled the empty
        chairs.119


119
       See e.g., Transcript Day 2 at 98 (Claimants’ opening); Respondent’s Rebuttal Slides, p. 650 & ff; see also
       Respondent’s Post-Hearing Brief ¶ 135.




                                                      - 95 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 116 of 617




        1.      Individuals that Claimants Wished were Available for Examination

248. At the Hearing, Claimants submitted that the following individuals should have been called as
        witnesses by Respondent as they could have been cross-examined in respect of the knowledge
        of Yukos’ tax structure by high-ranking Russian officials:

               x      Aleksei Kudrin, First Deputy Minister of Finance, including in particular on the
                      January 2000 meeting with Mr. Dubov at which the establishment of Yukos’
                      trading companies in Mordovia was discussed;

               x      Vladimir Gusev, First Deputy Minister in charge of VAT, including in particular on
                      the meeting with Mr. Dubov at which Yukos’ VAT refunds in Mordovia were
                      discussed;

               x      Alexander Pochinok, Tax Minister, including in particular on the December 1999
                      meeting with Mr. Dubov at which Yukos’ plan to use trading companies in
                      Mordovia was discussed;

               x      Alexander Smirnov, First Deputy Minister of Tax, including in particular on the
                      December 1999 meeting with Mr. Dubov; and

               x      Nicolai Merkushkin, Head of the Republic of Mordovia, including in particular on
                      the December 1999 meeting.120

249. Claimants also argued that they should have had the opportunity to hear from and examine the
        following individuals in respect of their knowledge of Yukos’ tax structure derived from the
        audits of Yukos’ trading companies:

               x      P. A. Puschin, Senior Tax Inspector of Russian Tax Ministry’s Interregional
                      Inspectorate for major Taxpayer No. 1; and

               x      A.V. Ivushkina, Senior Tax Inspector of Russian Tax Ministry’s Interregional
                      Inspectorate for major Taxpayer No. 1.121

250. In addition, Claimants complained that they did not have the opportunity to hear from and
        examine Sergei Bogdanchikov, the President of Rosneft, on the circumstances of Rosneft’s
        acquisition of Baikal in December 2004 and Rosneft’s agreement with a syndicate of Western
        banks led by Société Générale S.A. (the “Western Banks”) regarding the initiation of Yukos’
        bankruptcy.122


120
       Claimants’ Opening Slides, p. 300; Claimants’ Closing Slides, p. 14.
121
       Ibid.
122
       Ibid.




                                                           - 96 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 117 of 617




251. Finally, Claimants argued that they should have had the opportunity to hear from and examine
        the following individuals in respect of PwC’s audit of Yukos and the circumstances of the
        withdrawal of PwC’s audit reports:

               x      Douglas Miller, Director, ZAO PwC Audit, including in particular regarding the
                      work conducted for the purposes of the certification of Yukos’ accounts for years
                      1998–2003 and the circumstances of the withdrawal of the reports in 2007; and

               x      Michael Kubena, General Director, ZAO PwC Audit, including in particular
                      regarding the establishment of Yukos’ tax optimization structure and its legality.123

        2.      Individuals that Respondent Wished were Available for Examination

252. At the Hearing, Respondent argued that the following individuals should have been made
        available for questioning with respect to: (a) the establishment and history of Yukos’ “tax
        optimization” schemes and Yukos’ understanding of their legality; (b) Yukos’ relationship with
        its Lesnoy, Mordovian, and other “sham” trading shells; and (c) Yukos’ reaction to the
        assessments against and criminal investigation of the Lesnoy and Trekhgorniy trading shells,
        including the restructurings and liquidations, the instructions to destroy documents, and other
        apparent attempts at obstruction:

               x      Dmitry Gololobov, Yukos’ former Deputy General Counsel;

               x      Irina Golub, Yukos’ former Chief Accountant;

               x      Dmitry Maruev, former head of the Financial Engineering Section of Yukos
                      Treasury Department (Deputy Chief Accountant);

               x      Alexey Smirnov, former head of Yukos’ Tax Department;

               x      Vasily Shakhnovsky, GML shareholder/beneficiary and former President of Yukos-
                      Moscow; and

               x      Mikhail Brudno, GML shareholder/beneficiary.124

253. According to Respondent, Mr. Golobolov, together with Mr. Sergey Pepeliaev, Yukos’ tax
        counsel, could also have addressed the following issues: (a) Yukos’ unsuccessful attempts to
        obtain a legal opinion approving its “tax optimization” schemes, including why Mr. Pepeliaev
        did not provide a legal opinion to Yukos on the schemes prior to the 29 December 2003 tax

123
       Ibid.
124
       Respondent’s Rebuttal Slides, pp. 655–56; see also Respondent’s Post-Hearing Brief ¶ 136.




                                                          - 97 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 118 of 617




        audit report; (b) the bases for Yukos’ responses and reactions to the 29 December 2003 tax
        audit report, and the bases on which outside counsel prepared its post-hoc opinions for Yukos
        on the “tax optimization” schemes; and (c) the reasons why Yukos tried to file “annual”
        amended VAT returns, and did not submit proper amended monthly VAT returns after the
        “annual” ones were rejected.125

254. Respondent also argued that on the issue of Yukos’ consideration of an enhanced ADR listing,
        including warnings that were provided to Yukos’ senior management concerning the substantial
        risks of disclosing Yukos’ “tax optimization” schemes in connection with such a listing, the
        failure to disclose Messrs. Khodorkovsky’s and Lebedev’s relationship to the BBS Companies,
        and Mr. Khodorkovsky’s concerns for his own personal liability if he signed Yukos’ F-1
        Registration Statement, Claimants should have made available for testimony:

               x      Pavel Malyi, former Deputy Head of Yukos’ Corporate Finance Department; and

               x      Oleg Sheiko, former Vice President/Director of Yukos’ Corporate Finance
                      Department.126

255. On issues relating to the understanding by Yukos’ Russian management of the legality of
        Yukos’ “tax optimization” scheme, Respondent complained about the absence of:

               x      Yury Beilin, Yukos’ former Deputy CEO; and

               x      Simon Kukes, Yukos’ former CEO.127

256. Finally, with respect to GML’s “sustained and aggressive threats that deterred broader
        participation in the YNG and bankruptcy auctions,” Respondent wished they could have heard
        from and examined Mr. Tim Osborne, GML Director and member of the Stichtings’ boards.128


VII. ISSUES FOR ANALYSIS

257. In this second phase of the present arbitrations, the Parties presented their arguments and
        evidence on the many substantive issues related directly to the merits of the case under
        Articles 10 and 13 of the ECT. In addition, the Parties presented extensive argument on the

125
       Respondent’s Rebuttal Slides, pp. 656–57; see also Respondent’s Post-Hearing Brief ¶ 136.
126
       Respondent’s Rebuttal Slides, pp. 658; see also Respondent’s Post-Hearing Brief ¶ 136.
127
       Ibid.
128
       Respondent’s Rebuttal Slides, pp. 659; see also Respondent’s Post-Hearing Brief ¶ 136.




                                                          - 98 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 119 of 617




      two preliminary objections that the Tribunal had decided to defer to the merits phase, namely
      the objection based on Claimants’ alleged “unclean hands” and the objection based on
      Article 21 of the ECT.

258. The deferred preliminary objections—like the merits issues—require the Tribunal to untangle
      the complex factual matrix underlying Claimant’s claims. Indeed, the Tribunal had decided to
      defer the preliminary objections relating to alleged “unclean hands” and Article 21 to avoid
      making findings on these important questions in a vacuum.

259. This Award therefore begins, in Part VIII, with the Tribunal’s analysis of the factual issues.
      Guided in large measure by the Parties’ presentations of the issues, the Tribunal considers it
      convenient to analyze the evidentiary record under the following eight headings

      A.    Yukos’ Tax Optimization Scheme

      B.    The Russian Federation’s Tax Assessments

      C.    Harassment, Intimidation and Arrests

      D.    Unwinding of the Yukos–Sibneft Merger

      E.    Yukos’ Attempts to Settle its Tax Liabilities

      F.    Auction of YNG

      G.    The Bankruptcy of Yukos

      H.    The Withdrawal of PwC’s Audit Opinions

260. As mentioned previously, the Tribunal, in Part VIII, makes determinations in respect of the
      many highly contested issues of fact and observations on the significance of various facts and
      findings.

261. Next, in Part IX of this Award, the Tribunal turns to Respondent’s preliminary objections.
      Specifically, the Tribunal considers:

      A.    whether all or some of Claimants’ claims are barred by the “fork-in-the-road” provision
            in Article 26(3)(b)(i) of the ECT (the Tribunal dismissed this objection in the Interim
            Awards, but Respondent has renewed the objection in this merits phase);



                                                - 99 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 120 of 617




      B.    whether Claimants’ conduct—their alleged “unclean hands”—deprives Claimants of
            protection under the ECT (in the Interim Awards, the Tribunal confirmed the deferral of
            its decision on this objection to the merits phase of this arbitration, consistent with
            Procedural Order No. 3); and/or

      C.    whether Article 21 of the ECT, which contains a “carve out” for “Taxation Measures”,
            bars the Claimants’ claims either as a matter of jurisdiction or admissibility (in the
            Interim Awards, the Tribunal decided to defer these issues to the merits phase, to avoid
            ruling on them in a vacuum).

262. Since the Tribunal dismisses each of Respondent’s preliminary objections, thereby confirming
      that it has jurisdiction over Claimants’ claims under the ECT, it next addresses Respondent’s
      liability under the ECT. This analysis is undertaken in Part X of the Award.

263. Claimants allege that Respondent, by conducting investigations and legal proceedings against
      Yukos, its subsidiaries, and their management, has failed to accord Claimants’ investments fair
      and equitable treatment. In particular, Claimants allege Respondent failed to refrain from
      impairing the management, maintenance, use, enjoyment and disposal of Claimants’
      investments by unreasonable or discriminatory measures, in contravention of Article 10 of the
      ECT. Claimants maintain that the treatment of Yukos was discriminatory as compared to other
      Russian oil companies.

264. Claimants further submit that Respondent’s actions amount to an expropriation of the
      Claimants’ investments, in breach of Article 13 of the ECT. According to Claimants, the
      alleged interventions of Respondent, and other entities directed and controlled by it—including
      in the Sibneft demerger, the sale of YNG at a cost alleged to be much lower than its real value
      to Baikal (a special purpose company that was quickly bought by the State-owned oil company
      Rosneft) and the pursuit of Yukos’ bankruptcy proceedings—resulted in the total loss of value
      of Claimants’ investments.

265. Claimants contend that Respondent’s actions were politically and economically motivated,
      rather than aimed at legitimate tax enforcement. In that regard, Claimants purport to establish
      that Respondent acted through almost all its organs, at all levels, in seeking the destruction of
      Yukos.




                                               - 100 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 121 of 617




266. In response, Respondent contends that Claimants have failed to establish a violation under
        either Articles 10 or 13 of the ECT. For Respondent, this case is about Yukos’ tax evasion,129
        and therefore about Yukos’ self-inflicted demise: Respondent contends that any losses suffered
        by Claimants are attributable to their own actions, those of the Yukos managers they installed
        and allegedly controlled, and of Messrs. Khodorkovsky, Lebedev, Nevzlin, Dubov, Brudno,
        Shakhnovsky and Golubovitch (the so-called “Oligarchs”). It follows, argues Respondent, that
        Claimants had no legitimate expectation that Russian tax law would not be applied to them and
        their investment when Yukos breached its tax obligations.

267. In addition to lacking the factual predicate for an expropriation claim under Article 13 of the
        ECT, Respondent also contends that Claimants’ claims fail because the assessment and
        collection of taxes is in the public interest, as to which States are afforded a wide margin of
        discretion. Respondent maintains that its conduct in this regard did not radically depart from
        either Russian law or international norms.

268. To the extent that Claimants allege discriminatory taxation compared to other Russian oil
        companies—in contravention of the fair and equitable treatment in Article 10 of the ECT, as
        well as one of Article 13’s four conditions for a lawful expropriation—Respondent answers that
        these claims fail because Claimants do not contend that their investment was subjected to
        discrimination based on foreign ownership. Respondent also disputes the facts presented by
        Claimants in support of their allegations of discrimination.

269. Respondent further contends that Claimants’ allegations of due process violations with respect
        to tax, tax enforcement, the sale of YNG and Yukos’ bankruptcy proceedings are equally
        meritless, and, in any event, did not affect the management and operations of Yukos.

270. The Tribunal’s conclusions on these liability issues, in Part X, follow necessarily as the legal
        consequences of its factual conclusions in Part VIII. The Tribunal includes in Part X its
        decision on the attribution of the conduct of various actors to the Russian Federation, and its
        findings in relation to Claimant’s contributory fault.

271. Finally, in Parts XI, XII and XIII of this Award, respectively, the Tribunal decides the issues
        relating to interest, the quantification of damages, and the allocation of costs.



129
       Rejoinder ¶ 1.




                                                   - 101 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 122 of 617




VIII.           ANALYSIS OF THE EVIDENTIARY RECORD

A.      THE TAX OPTIMIZATION SCHEME

        1.      Introduction

272. In the latter years of the twentieth century and in the early years of the twenty first, oil
        companies in the Russian Federation were growing, consolidating and becoming large
        corporate entities. By the end of 2000, there were nine major oil companies in Russia. Yukos
        was the largest, followed by Lukoil. During that period, all nine major oil companies operated
        in a similar fashion. The key features of their operations were firstly vertical integration;
        secondly transfer pricing; and thirdly the use of low-tax regions to mitigate tax burdens.130 In
        relation to the third element, one-time Prime Minister of Russia, Mikhail Kasyanov stated that
        “the tax havens in the ZATOs had been used by every oil company.”131 In fact,

                [t]housands of companies took advantage of the low-tax regimes available in Russian tax
                havens zones, including businesses engaged in construction, services, the sale of oil
                products, investments, as well as holding companies and groups of companies involved in
                financing and taxation arrangements. This activity was well known to the Russian
                government, including the Federal Tax Ministry.132

273. Respondent acknowledges that the majority of large Russian oil companies operated in a way
        similar to Yukos and did “use low-tax regions to evade taxes.” At the same time, Respondent
        alleges that those companies did so “on a much more modest scale in comparison to Yukos.” 133

274. In this sense, Yukos was a typical Russian oil company, as it also used the low-tax regions as
        part of its tax optimization strategy. A central disputed issue in this arbitration concerns the
        legality, under Russian law, of the modalities of Yukos’ use of the low-tax regions. Was Yukos
        merely taking advantage of the legislative arrangements in place to minimize its taxes, or was
        there an element of abuse in its scheme? A related disputed issue concerns the legitimacy of
130
       Transcript of Mikhail Kasyanov before the Khamovnichesky Court of Moscow in the Second Criminal Case Brought
       Against Mikhail Khodorkovsky and Platon Lebedev, 24 May 2010, p. 3, Exh. C-440. See also Statement of Prime
       Minister Mikhail Mikhailovich Kasyanov to the ECtHR, 8 July 2009, in Khodorkovskiy v. Russia (Application Nos.
       5829/05, 11082/06 and 51111/07) ¶¶ 10–12, Exh. C-446. As noted earlier in paragraph 47 and n.11 above, Claimants
       withdrew Mr. Kasyanov’s witness statement in these arbitrations because he did not appear at the Hearing and was not
       subject to cross examination. However, the Tribunal has taken notice of his testimony in other proceedings, which
       forms part of the record in the present proceedings.
131
       Statement of Prime Minister Mikhail Mikhailovich Kasyanov to the ECtHR, 8 July 2009, in Khodorkovskiy v. Russia
       (Application Nos. 5829/05, 11082/06 and 51111/07) ¶ 34, Exh. C-446.
132
       Vladimir Samoylenko, Government Policies in Regard to Internal Tax Havens in Russia, Publication of International
       Tax & Investment Center, December 2003, p.1, Exh. C-577.
133
       Counter-Memorial ¶ 12.




                                                         - 102 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 123 of 617




      the tax assessments against Yukos that began in December 2003. Was the Russian Federation
      merely enforcing its tax laws, or rather was it carrying out a punitive campaign against Yukos
      and its principal beneficial owners? Were the other Russian oil companies subjected to the
      same tax enforcement actions by the Russian Federation, or was Yukos discriminated against
      and specifically targeted by the Russian Federation? Before turning to the question of the
      legitimacy of those tax assessments, which the Tribunal does in the next chapter of the Award,
      the Tribunal considers it important to address the first question: were Yukos’ practices in the
      low-tax regions, and specifically the practices of Yukos’ trading companies in those regions,
      lawful?

275. In sections 2 and 3 of this chapter, the Tribunal summarizes the evidence that was presented by
      the Parties regarding the structure and legal framework of Yukos’ tax optimization scheme. In
      section 4, the Tribunal distills, as best it can from the massive documentary record, the complex
      and extensive background relating to the activities and audits of the Yukos trading entities
      before December 2003. Finally, in section 5, the Tribunal reviews, on the basis of this complex
      record, the legality of Yukos’ tax optimization scheme under Russian law.

276. The Tribunal observes that it considers the question of the legality of the tax optimization
      scheme to be a matter of fact in the present arbitration. It is not the role of the Tribunal in the
      present proceedings to review and determine, as if it were a Russian court of appeal, the
      decisions made pursuant to Russian law in respect of the legality of this scheme. However,
      even in considering the issue as a matter of fact, the Tribunal’s observations on the legality of
      Yukos’ tax optimization scheme based on what the record reveals will inform its decision on
      the principal legal questions facing the Tribunal under the ECT.


      2.    The Structure of the Tax Optimization Scheme

277. The Tribunal has been presented with an enormous volume of material relating to Yukos’
      structure and tax optimization scheme. In short, Yukos’ tax optimization scheme consisted of
      using “trading companies” located in the low-tax regions as intermediaries in the chain of
      transactions between Yukos’ core oil-producing entities YNG, Samaraneftegaz and Tomskneft
      at one end, and its customers at the other. The trading companies at issue were established in
      three types of low-tax regions. The first type was closed administrative territories, or ZATOs
      (Lesnoy, Trekhgorny, Sarov). ZATOs are territories established in the former Soviet Union as
      defense and nuclear sites, or as sites with sensitive military, scientific or industrial significance
      which faced economic catastrophe at the end of the Cold War. For this reason, special tax


                                                 - 103 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 124 of 617




        regimes were instituted in those territories aimed at boosting economic activity.134 The second
        type was “domestic-offshore territories”, regions that faced significant economic challenges
        and where the Russian Federation wanted to facilitate investment (Mordovia, Evenkia,
        Kalmykia).135 The third low-tax region was Baikonur, a former spaceport, which was treated as
        a ZATO but is on the territory of Kazakhstan.136

278. The names of the trading entities of particular relevance in this arbitration and the regions or
        ZATOs in which they were located are set out in the following table:


                                Region or ZATO                                    Company

                         Mordovia                              Alta-Trade
                                                               Fargoil
                                                               Macro-Trade
                                                               Mars-XII (Energotrage)
                                                               Ratmir
                                                               Yukos-M
                                                               Yu-Mordovia
                         Evenkia                               Evoil
                                                               Interneft
                                                               Petroleum-Trading
                                                               Ratibor
                                                               Yukos Vostok Trade
                         Kalmykia                              Siberian Transportation Company
                         Baikonur                              Mega-Alliance
                         ZATO Lesnoy                           Business-Oil
                                                               Mitra
                                                               Vald-Oil
                                                               Forest Oil
                         ZATO Sarov                            Yuksar
                         ZATO Trekhgorny                       Grace
                                                               Muskron

134
       Counter-Memorial ¶ 226, n.274. Law of the Russian Federation No. 3297–1 of July 14, 1992, “On Closed
       Administrative Territorial Entity,” Exh. C-404.
135
       Counter-Memorial ¶ 226, n.274. Article 1, Law of the Republic of Mordovia No. 9-Z on the Conditions of the Efficient
       Use of the Social and Economic Potential of the Republic of Mordovia, 9 March 1999, Exh. C-414 (hereinafter “Law
       9-Z”); Article 1, Law of the Republic of Kalmykia No. 197-II-3 of 12 March 1999, “On Tax Benefits Granted to
       Enterprises Making Investments in the Economy of the Republic of Kalmykia,” Exh. C-413; Article 1, Law of the
       Evenkiysky Autonomous District No. 108 of 24 September 1998, “On the Particularities of the Tax System in
       Evenkiysky Autonomous District,” Exh. C-412.
136
       During his cross-examination, Mr. Konnov clarified the position of Baikonur as having “a special status, [it] is leased
       by the Russian Federation . . . . So there are three categories [of low-tax region].” Transcript, Day 14 at 54. See also,
       Decision of the Government of the Russian Federation No. 747, 25 October 2001, Exh. C-411.




                                                            - 104 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 125 of 617




                                Region or ZATO                             Company
                                                           Norteks
                                                           Kverkus
                                                           Colrain
                                                           Virtus

279. In 2000, sales were conducted by at least 16 of these companies. From 2001 to 2003, Yukos
        employed at least eight such companies, and in 2004 at least three of them. Through this
        structure, Yukos was able to capture much of the profit from the sale of crude oil to its
        customers on the books of the entities in the low-tax regions, thus benefiting from substantial
        tax savings. Some of these after-tax profits, in turn, left the Russian Federation through
        dividends to the off-shore holding companies that Yukos controlled (for U.S. GAAP
        consolidation purposes) through trusts and call options.137


        3.     The Legal Framework of the Tax Optimization Scheme

               (a)        The Low-Tax Region Program

280. The low-tax region program was established in the 1990s to foster economic development in
        impoverished areas of the Russian Federation. The Russian low-tax regions were allowed to
        exempt taxpayers from federal corporate profit taxfor the purpose of encouraging taxpayers’
        investments in their regions, provided the taxpayers complied with certain requirements. There
        is no dispute between the Parties as to the source of the formal requirements; it is agreed that
        they are to be found in the low-tax regions’ legislation, any applicable tax investment
        agreements, and the applicable federal legislation, including the Russian Tax Code. More
        controversial, and contested by Claimants, is the existence and significance of various so-called
        “anti-abuse” doctrines which, according to Respondent, have been established and applied in
        decisions of Russia’s federal courts. The Tribunal addresses these doctrines and the relevant
        jurisprudence in the next subsection.

281. The benefits provided in the low-tax regions were related to profit tax, which was described by
        Mr. Konnov in his first report as follows:

               29.        Profit tax is a federal tax, however tax revenues are shared between the federal,
                          regional and (in certain years) local budgets. Through the end of 2001, profit tax
                          was governed by the Law of the Russian Federation No. 2116-1 “On Tax on Profit

137
       See Lys Reports.




                                                        - 105 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 126 of 617




                   of Enterprises and Organisations” dated December 27, 1991 (the “Profit Tax Law”)
                   and subsequently by Chapter 25 of the Tax Code. In 1999-2006, profit tax rates
                   applicable to Russian entities and foreign entities having a permanent establishment
                   in Russia (with respect to income attributable to such permanent establishments)
                   were as follows:
                    Year             1999       2000    2001     2002    2003     2004    2005     2006
                    Rate of           35%       30%     35%      24%     24%      24%     24%      24%
                    profit tax       (30%
                    total,            after
                    including:      April 1)
                    Rate of           13%       11%     11%      7.5%     6%      5%      6.5%     6.5%
                    profit tax to    (11%
                    the federal       after
                    budget          April 1)
                    Rate of           22%       19%     19%     14.5%     16%     17%     17.5%    17.5%
                    profit tax to    (19%
                    the regional      after
                    budget          April 1)
                    Rate of             –         –      5%       2%      2%      2%        –        –
                    profit tax to
                    the local
                    budget



282. With respect to the tax benefits available in the ZATOs (e.g., Lesnoy and Trekhgorny), in 1999,
      the ZATOs were allowed to fully exempt taxpayers from federal corporate profit tax. In 2000,
      most ZATOs were allowed to exempt taxpayers from the portion of the federal corporate profit
      tax that was payable to their budget (i.e., up to 19 percent). In 2001, all ZATOs were permitted
      to exempt taxpayers from the portion of the federal corporate profit tax that was payable to their
      budget (i.e., also up to 19 percent). In 2002, however, these exemptions were revoked.

283. With respect to the tax benefits available in other low-tax regions (e.g., Mordovia, Kalmykia
      and Evenkia), in 2000 and 2001, such regions were allowed to fully exempt taxpayers from the
      portion of the federal corporate profit tax that was payable to their budget (i.e., up to
      19 percent). From 1 July 2002 until 31 December 2003, low-tax regions were allowed to
      exempt taxpayers from the portion of the federal corporate profit tax payable to their budget,
      but only up to four percent.        An exception existed for “grandfathered” tax investment
      agreements entered into prior to 1 July 2001, and these taxpayers could still receive a zero
      percent tax rate on the relevant portion of the profit tax if they fulfilled certain other conditions.
      As of 1 January 2004, the existing tax investment agreements were terminated, but the Russian
      Tax Code still allowed low-tax regions to reduce the federal corporate profit tax payable to
      their budget up to four percent.




                                                  - 106 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 127 of 617




                (b)     Anti-Abuse Decisions and Doctrines Promulgated by Russia’s Federal Courts

284. Before considering the individual court decisions in which the anti-abuse doctrines are said to
        have been developed and applied, the Tribunal will describe the different courts within the
        judicial system of the Russian Federation.138

285. The Russian court system is based on four types of distinct judicial procedures—constitutional,
        civil, administrative and criminal.139 Each area has created its own court structure. For its civil
        procedure, Russia created a system of commercial, or “arbitrazh” courts. The arbitrazh courts
        have jurisdiction over general commercial disputes and disputes directly relating to commercial
        matters, such as tax disputes. At the first instance, there are 81 arbitrazh courts, located in and
        for the constituent entities of the Russian Federation.140                    At the next level, the appellate
        instance, there are 20 appellate arbitrazh courts. Then, at the “cassation instance,” there are ten
        federal arbitrazh courts.141 At the apex of the Russian commercial courts system is the Supreme
        Arbitrazh Court of the Russian Federation.142

286. The Constitutional Court of the Russian Federation and the local constitutional courts of its
        constituent entities are the courts created for Russia’s constitutional procedure. Among its
        other functions, the Constitutional Court plays a supervisory role over all four Russian judicial
        procedures at the federal level; the local constitutional courts play the same role at the level of
        the constituent entities. The task of the Constitutional Court is to ensure compliance of the
        judiciary with the Constitution of the Russian Federation (“Russian Constitution”).143 In this


138
       This information is derived from the Constitution of the Russian Federation, Exh. C-1698 (hereinafter “Russian
       Constitution”) and other particulars in the public domain of interest to narration of the many decisions of the courts of
       the Russian Federation which the Tribunal reviews.
139
       Russian Constitution, Article 118(2), Exh. C-1698.
140
       Russia as a federation consists of 83 “constituent entities”—relatively autonomous territorial and political units. Most
       of them have their own constitutions, local laws, presidents, governments, parliaments, and court systems. Mordovia,
       for example, is a “constituent entity”. The judicial districts usually match up with these autonomous territorial and
       political units, but there are several “mismatches”: there are 83 “constituent entities” and only 81 first-instance
       arbitrazh courts.
141
       In 2000, the Russian Federation created “federal districts”, which are administrative units that group several
       “constituent entities.” Currently there are eight federal districts. Since there are ten federal arbitrazh courts but only
       eight federal districts, there is a “mismatch” there too. For example, the Siberian Federal District has two federal
       arbitrazh courts, which are the Federal Arbitrazh Court of the East Siberian District and the Federal Arbitrazh Court of
       the West Siberian District.
142
       In late 2013, the Ministry of Justice of the Russian Federation announced a judicial reform which would result in
       merging the Supreme Arbitrazh Court of the Russian Federation with the Supreme Court, which is the apex of the
       general jurisdiction courts. The reform has not yet been finalized.
143
       Exh. C-1698. The Russian Constitution defines the level of autonomy of the “constituent entities” by assigning
       certain governance matters of federal importance to the federal bodies while allowing the remaining matters to be




                                                            - 107 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 128 of 617




        capacity, the Constitutional Court is the court of last resort, which decides whether a particular
        law applied by the courts of lower instance is constitutional. For example, an individual or a
        company may apply to the Constitutional Court in a tax matter when the individual or company
        considers that a particular provision of the Russian Tax Code applied by an arbitrazh court is
        not incompliance with the Russian Constitution. The decisions of the Constitutional Court are
        not subject to appeal.

287. The Tribunal turns now to the anti-abuse principle under Russian law.

288. Respondent’s expert on Russian law, Mr. Oleg Konnov, introduced the anti-abuse principle as
        follows:

                It is essential to distinguish clearly between the legitimate use of the tax benefits and abuse
                of tax law. Russian law generally prohibits abuse of law. The constitutional anti-abuse
                principle has been incorporated in some branches of law (e.g. civil law). However, it has
                been consistently applied even in branches of law where no explicit provisions have been
                included in the text of the law, e.g. labour law and tax law. In these instances, Russian
                courts have themselves developed anti-abuse doctrines. In the tax area, anti-abuse
                doctrines have been used to combat aggressive tax planning and abuse.
                One should not be misled by the terminology. Even though the term “substance over
                form” is not commonly used in Russia, the terms “bad faith,” “abuse of rights,”
                “proportionality” and “business substance” are used to achieve the same result as the
                “substance over form” notion in other countries.
                Courts (including the highest courts of Russia) accepted and consistently applied anti-
                abuse measures both before and after the YUKOS tax cases. The anti-abuse doctrines have
                been evolving over the time. In some cases, the tax authorities challenged the abusive
                transactions based on the application of civil law principles (“sham” and “fictitious”
                transactions and transactions “deliberately contrary to fundamentals of civil law and
                morality”), and in others they applied the notions of “bad faith” and “unjustified tax
                benefit” developed by court practice. There were also cases in which the tax authorities
                used a combination of legal principles to challenge tax avoidance misconduct.144


       decided by the “entities”. At the same time, the Russian Constitution does not allow the “entities” to act contrary to
       the Russian Federation even within the “entity’” assigned autonomy. For example, one of the tasks of the
       Constitutional Court is to ensure that the local laws of the “entities” are in compliance with the Russian Constitution
       and the federal laws.
144
       First Konnov Report ¶¶ 45–47. Mr. Konnov cites: Article 17(3) of the Russian Constitution, Exh. R-2211; Resolution
       of the Constitutional Court of the Russian Federation No. 3-P, 15 March 2005, section 4.3, Exh. R-2217 (as support
       for the proposition that the Constitutional Court describes non-abuse of law as a general legal principle); an assistant
       professor of the faculty of law of the Higher School of Economics Mr. Kurbatov, who writes: “In general terms, anti-
       abuse principle is set forth in Article 17 (3) of the Russian Constitution according to which exercise of rights and
       freedoms by citizens and individuals may not violate rights and freedoms of other persons. This principle is set forth
       in Chapter 2 of the Russian Constitution governing rights and freedoms of citizens and individuals. However these
       rights and freedoms may be applied to legal persons to the extent their nature permits so (see, for instance, para. 1
       Section 4 of dicta of the Constitutional Court Ruling No. 20-P dated December 17, 1996, para. 4 Section 2 of dicta of
       the Constitutional Court Ruling No. 24-P dated October 12, 1998).” (A. Ya, Kurbatov, ABUSE OF LAW: THEORY AND
       COURT PRACTICE (Consultant Plus, 2009), Exh. R-2214). Mr. Kurbatov also writes: “It would be fundamentally
       wrong to consider anti-abuse as only civil law (branch) principle. It may, however, be set in provisions of specific
       branches of law”); Resolution of the Plenum of the Supreme Court of the Russian Federation No. 2, 17 March 2004, at




                                                           - 108 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 129 of 617




289. In support of his assertion that the various anti-abuse doctrines are part of Russian law,
        Mr. Konnov relies on a series of decisions issued by various Russian courts, starting with the
        decision of the Supreme Arbitrazh Court No. 367/96 on 17 September 1996 (“Sibservice”) and
        including recent cases such as the 2010 Novozlatoustovskoye decision of the same court.
        Between these bookends, particular reliance is placed on Constitutional Court Ruling 138-0 of
        25 July 2001 (which introduced the concept of “bad-faith taxpayer”) and on Resolution No. 53
        dated 12 October 2006 of the Plenum of the Russian Supreme Arbitrazh Court
        (“Resolution No. 53”)(which linked the concepts of “unjustified tax benefit”, “actual economic
        substance” of a transaction and the “business purpose” of a taxpayer’s actions).

290. According to Mr. Konnov, the cases upholding the tax assessments against Yukos
        (i.e., confirming the tax authorities’ position that Yukos’ tax optimization scheme was abusive)
        were “an integral part of the evolution of the ‘business substance’ doctrine which eventually
        resulted in adoption by the Russian Supreme Arbitrazh Court on 12 October 2006 of Resolution
        No. 53.”145

291. Claimants argue that the “business purpose” doctrine could not possibly have played any role in
        the tax assessments against Yukos, since “it did not exist in Russian law at the time, having
        only been introduced into Russian law in 2006”146 (in Resolution No. 53 of the Plenum of the
        Russian Supreme Arbitrazh Court). Indeed, Claimants note, “the notion of business purpose
        was never mentioned in the December 29, 2003 Audit Report and played no role in the tax
        assessments against Yukos.”147

292. The Tribunal’s task in evaluating the Parties’ arguments is a difficult one. As with many
        aspects of this case, the record is voluminous and, in certain respects, contradictory. Moreover,
        regarding issues of Russian tax law, the Tribunal heard only from Mr. Konnov; Claimants put
        forward no testimony challenging Mr. Konnov’s interpretation of the relevant cases from an


       clause 27, Exh. R-2213 (“If a court establishes the fact that the employee abused his rights, the court can dismiss his
       claim on reinstatement in a job ... since in the specified case the employer should not be responsible for the adverse
       consequences resulting from the employee’ bad faith actions.”). See also V.V. Arkhipov, Abuse of Rights in Labor
       Relations: Wilful Hoax or Honest Mistake?, Zakonodatelstvo i Ekonomika, No. 2, 2008, Exh. R-2215; Civil Code of
       the Russian Federation, entered into force on 1 January 1995, Articles 10, 169, 170, Exh. R-909 (hereinafter “Russian
       Civil Code”). Mr. Konnov notes that in a number of cases Article 170 of the Civil Code was applied jointly with
       Article 169 of the Russian Civil Code.
145
       First Konnov Report ¶ 49(p).
146
       Claimants’ Post-Hearing Brief ¶ 29.
147
       Ibid.




                                                           - 109 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 130 of 617




      expert on the subject. And, as discussed further below, Claimants’ counsel chose not to cross-
      examine Mr. Konnov on the existence or evolution of the anti-abuse doctrines. At the same
      time, in argument, Claimants have challenged almost every aspect of Mr. Konnov’s testimony,
      including on the existence and evolution of the anti-abuse doctrine.

293. Therefore the Tribunal has had to delve into the voluminous record, including the translations
      of dozens of Russian court decisions and commentaries thereon, to come to its own view on
      what anti-abuse principles may have existed during the period relevant for an analysis of
      Yukos’ tax optimization scheme.

294. The earliest cases relied upon by Respondent, from the mid-1990s, appear to rely on a
      “substance over form” doctrine. These cases include Sibservice and the Resolution of the
      Presidium of the Supreme Arbitrazh Court No. 3661/96 on 21 January 1997 (“Yekaterinburg
      Telephone”).

295. Mr. Konnov summarizes these cases as follows:

            a.    As early as in 1996, the Russian Supreme Arbitrazh Court reviewed a case
                  involving the Russia-Austrian joint venture Sibservice. Sibservice was assembling
                  and selling computers. Its sales of computers were subject to VAT. In order to
                  defer or avoid VAT payment, Sibservice entered into loan agreements with
                  customers under which the customers purportedly loaned funds to Sibservice, and
                  Sibservice purportedly repaid the loans by transferring computers to the customers.
                  Based on the letter of the law, the making of the loan and the repayment of the loan
                  (unlike sale of computers) were exempt from VAT. The Supreme Arbitrazh Court
                  focused on substance of the transactions between Sibservice and its customers and
                  ruled that the sale of computers had been artificially structured using the loan
                  agreements, thereby supporting the position of the tax authorities. Specifically, the
                  Supreme Arbitrazh Court noted that:
                         “The conclusion of the state tax inspectorate that Joint Venture
                         Sibservice supplied the goods on the condition of the prepayment of
                         their price [is justified] since the relations with the customers (buyers)
                         were actually developed that way (supply, contractor relationships)
                         regardless of the name of the agreement.”
            b.    One year later, in 1997, the Russian Supreme Arbitrazh Court reviewed a case
                  involving the state-owned enterprise Yekaterinburg City Telephone Network. In
                  1994, the state-owned enterprise had concluded what they claimed to be several
                  joint venture agreements with private persons and legal entities according to which
                  the participants allegedly agreed to cooperate for the purposes of developing the
                  telephone network of the city of Yekaterinburg. The private persons and legal
                  entities made what purported to be joint venture financing contributions to the state
                  enterprise which they claimed were exempt from VAT and VAT surtax under the
                  then applicable law. The tax authorities conducted a tax audit of the state enterprise
                  and concluded that in practice no true joint venture activity had been conducted and,
                  therefore, VAT and VAT surtax had to apply. The Presidium of the Russian
                  Supreme Arbitrazh Court supported this conclusion:




                                                  - 110 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 131 of 617




                               “In fact, those transactions have been made in order to raise financing
                               from the relevant entities and individuals in order to finance the
                               claimant’s business.”
                       With reference to this case, a group of prominent Russian scholars noted later that
                       Russian tax law required that the tax consequences of a transaction or other
                       arrangement be determined according to its substance rather than its form:
                               “. . . Therefore, the arbitrazh courts as well as the tax authorities
                               currently follow the principle of “substance of contract over its name
                               (form)”. Thus, any attempts to conceal the real substance of an
                               agreement by using a name of a different contract will most likely be
                               fruitless.”148


296. Respondent also refers to Constitutional Court Resolution No. 14-P, 28 October 1999
        (“Energomashbank”), which, according to Respondent, “reiterated the notion that when
        looking at the tax aspects of a particular transaction, Russian courts should be mindful of its
        substance, and not merely its form.” Mr. Konnov describes the case as follows in his First
        Expert Report:

                d.     Likewise in 1999 the Russian Constitutional Court in the Energomashbank case
                       advised Russian courts to analyze the substance of transactions rather than their
                       form:
                       “. . . in instances when the courts while examining a case fail to investigate
                       in essence actual facts thereof but limit themselves to the establishment of
                       formal conditions of the application of the law only, the right to judicial
                       defence envisaged by Part 1 of Article 46 of the Constitution of the Russian
                       Federation is found to be substantially infringed.”149

297. In their Reply, Claimants write that the Sibservice and Yekaterinburg Telephone cases:

                involved the application of the principles enshrined in Article 170 of the Russian Civil
                Code, which allows the tax authorities, in certain well-defined circumstances, to disregard
                the form of a particular transaction and to impose taxes based on the actual facts
                (i.e., based on the actual transaction which occurred, or the fact that no such transaction
                occurred). Such cases can obviously offer no support to the Respondent’s re-attribution
                theory. Neither at the time nor in these arbitrations has the Respondent sought to rely on
                Article 170. Moreover, as the Accounts Chamber emphasized in its 2002 report on
                Sibneft, apart from the transfer pricing rules under Articles 20 and 40 of the Russian Tax
                Code (which were also not used against Yukos), Article 170 is the only basis under
                Russian law to challenge relations or transactions between companies as being “shams” or


148
       First Konnov Report ¶49(a)-(b) (citing Resolution of the Presidium of the Supreme Arbitrazh Court of the Russian
       Federation No. 367/96, 17 September 1996, Exh. R-288 (hereinafter “Sibservice”); Resolution of the Presidium of the
       Supreme Arbitrazh Court of the Russian Federation No. 3661/96, 21 January 1997, Exh. R-289 (hereinafter
       “Yekaterinburg Telephone”); for the group of Russian scholars, A.V. Bryzgalin, V.R. Bemik, A.N. Golovkin,
       Collection of Economic Agreements and Documents for Companies with Legal, Arbitrazh and Tax Commentaries,
       Nalogi i Finansovoe Pravo, 2004, Exh. R-290).
149
       First Konnov Report ¶ 49(d) (citing Resolution of the Constitutional Court of the Russian Federation No. 14-P,
       28 October 1999, Exh. R-293 (hereinafter “Energomashbank”).




                                                         - 111 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 132 of 617




                “fictitious”, refuting the Respondent’s claim that such theories as the “bad faith taxpayer”
                concept conferred authority to re-attribute revenues between companies.150

298. Claimants also challenge the relevance of the Energomashbank ruling:

                If that case has any relevance to these arbitrations, it is as a wholesale condemnation of the
                tax authorities’ formalistic approach to VAT, divorced from the actual facts, as in breach
                of Yukos’ constitutional rights. The constitutional issue in the case was the taxpayer’s
                right to a fair opportunity to defend itself against tax claims by the State before a court, and
                the Constitutional Court held that respect for this right meant that courts could not limit
                their inquiry to purely “formal conditions”, but rather must examine the actual facts.151

299. Putting aside, for the moment, the remedy of re-attribution in the case of a finding of abuse,
        which the Tribunal considers in Chapter VIII.B of the present Award (in connection with the
        tax assessments themselves), the question here is whether the decisions cited by Respondent
        support the existence of a judicial anti-abuse doctrine in tax cases.

300. Respondent insists that they do. Focusing specifically on the Sibservice and Yekaterinburg
        Telephone cases, Respondent characterizes these decisions of the Supreme Arbitrazh Court as
        demonstrating that Russian courts have recognized and applied anti-abuse rules in the tax area
        to combat aggressive tax planning and abuse since at least 1996.152                               In its Rejoinder,
        Respondent dismisses Claimants’ comments on these cases as “misleading”:

                Claimants misleadingly suggest that Respondent’s reliance on the 1996 Sibservice decision
                and the 1997 Yekateringburg City Telephone Network decision “involve[s] the application
                of principles enshrined in Article 170 of the Russian Civil Code” . . . . But nowhere in
                these decisions do the courts rely on, or even mention, Article 170 of the Civil Code.
                Rather, in both the Supreme Arbitrazh Court upheld the tax authorities’ assessments by
                looking at the substance of the challenged transaction, as opposed to its form.153

301. Based on its review of these cases, the Tribunal observes that Respondent’s submission appears
        to be well-founded. Article 170 of the Russian Civil Code provides as follows:

                Article 170. Invalidity of Mock and Sham Transactions
                1.        A mock transaction, i.e., a transaction made only for appearances without an intent
                          to create the legal consequences corresponding to it, is void.


150
       Reply ¶ 234 (citing Russian Civil Code, Part I, Article 170, Exh. C-1270; Sibservice, Exh. R-288; Yekaterinburg
       Telephone, Exh. R-289; and Accounts Chamber Report on the Results of its Audit of OAO Sibneft, December 2002,
       Conclusions, (finding that transactions involving Sibneft’s trading companies complied with Article 170 and that
       “under current legislation there is no other basis for considering such interrelationships (or transactions) as fictitious
       and invalid.”) (emphasis added), Exh. C-1282).
151
       Reply ¶ 236. (Original footnote omitted.)
152
       Rejoinder ¶ 648.
153
       Rejoinder ¶ 648, n.987.




                                                            - 112 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 133 of 617




                2.      A sham transaction, i.e., a transaction that is made for the purpose of hiding another
                        transaction, is void. The rules relating to the transaction that the parties actually had
                        in mind, shall be applied, taking into account the nature of the case.

         However, there is no mention of Article 170 of the Russian Civil Code in either of the
         Sibservice or Yekaterinburg decisions in the record of this arbitration.154 Based on this record,
         it appears to the Tribunal that the Supreme Arbitrazh Court is relying in these cases on a
         general doctrine of substance over form. The Tribunal further observes that such a doctrine
         seems entirely consistent with the principles enshrined in Article 170 of the Russian Civil
         Code. It also seems consistent, in a general way, with the anti-abuse principle that Mr. Konnov
         says existed in the Russian Constitution, even though the Tribunal notes that no authority was
         brought to its attention in which this principle was expressly extended into the area of tax.155

302. On the other hand, the Tribunal is of the view that Respondent cannot draw much support from
        the Energomashbank decision. It appears to the Tribunal that, while the Constitutional Court
        referred to the importance of investigating the “actual facts” of a case as opposed to confirming
        “the establishment of formal conditions of the application of the law only,” it did so in the
        context of highlighting substance over form as an important feature of “the right to judicial
        defense” of a taxpayer against the claims of the tax authorities, not as a basis for tax authorities
        to challenge taxpayers. At the same time, the Tribunal notes that the Energomashbank decision
        is not inconsistent with the application of the substance over form doctrine by the tax
        authorities against a taxpayer’s scheme.

303. Another doctrine invoked by Respondent is known as the “bad-faith taxpayer” doctrine, or
        sometimes as the “good faith taxpayer” doctrine. This doctrine, submits Respondent, is rooted
        in the jurisprudence of the Russian Constitutional Court, notably Constitutional Court Ruling
        No. 24-P of 12 October 1998156 and Constitutional Court Ruling 138-O of 25 July 2001.157 In
        his First Expert Report, Mr. Konnov summarizes the significance of these cases as follows:

                c.      In 1998, the Russian Constitutional Court introduced the concept of good/bad faith
                        taxpayers. In 2001, the Russian Constitutional Court held that bad faith taxpayers


154
       The Tribunal observes that there appear to be at least six other decisions in the procedural history of these two cases,
       and that these are not in the record.
155
       The authorities cited by Mr. Konnov demonstrate only that the constitutional anti-abuse principle (i.e., persons should
       not violate other persons’ rights and freedoms in exercising their own rights and freedoms) has been extended to the
       area of labour law. See generally First Konnov Report ¶ 45, n.64, 66 (authorities cited therein).
156
       Ruling of the Constitutional Court of the Russian Federation No. 24-P, 12 October 1998, Exh. R-2212.
157
       Ruling of the Constitutional Court of the Russian Federation No. 138-O, 25 July 2001, Exh. R-307.




                                                           - 113 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 134 of 617




                        would not be entitled to the same level of protection as good faith taxpayers.
                        Mr. Savseris in his book “Bad Faith Category In Tax Law” states:
                                 “The criterion of bad faith taxpayer was chosen by the Constitutional
                                 Court of the Russian Federation in order to distinguish legitimate tax
                                 planning and illegal tax evasion.
                                 ...

                                 Since the adoption of the Ruling of the Constitutional Court of the
                                 Russian Federation No. 138-0 the criterion of bad faith has become an
                                 independent criterion for settlement of disputes on many categories of
                                 cases.”158


304. Claimants do not deny the existence of the “bad-faith taxpayer” doctrine,159 but argue that its
        origins and subsequent application by the Russian courts suggest that it has only a “limited
        role” in Russian law.160 The Tribunal considers it important to set out Claimants’ position, as
        articulated at paragraphs 218 to 224 of their Reply, in full:

                218.    The phrase “good faith taxpayer” first appeared in the inoperative part of a decision
                        of the Constitutional Court arising out of the 1998 financial crisis, during which
                        many tax payments never reached the Treasury because the banks through which
                        such payments were sent had become insolvent. When the funds did not arrive, the
                        tax authorities simply confiscated the unreceived payments directly from the
                        taxpayers’ accounts. The Court concluded that the constitutional obligation to pay
                        taxes is fulfilled and the tax is deemed “paid” at the moment when the funds are
                        debited from the taxpayer’s account and that it would be improper to hold the
                        taxpayer liable for the banks’ failure to retransmit those funds to the State. In these
                        circumstances, the Court held that a second collection of these “paid” taxes would
                        be inconsistent with constitutionally protected property rights.



158
       First Konnov Report ¶ 49(c) (citing Ruling of the Constitutional Court of the Russian Federation No. 24-P, 12 October
       1998, at Exh. R-2212; Resolution of the Constitutional Court of the Russian Federation No. 138-0, 25 July 2001,
       Exh. R-307; S.V. Savseris, Bad Faith Category in Tax Law, Statut, 2007, pp. 42, 46, Exh. R-2218. He also refers to
       another illustration offered by Professor D.V Vinnitsky, The Principle of Good Faith and Abuse of Right in Taxation,
       Pravo i Ekonomika, No. 1, January 2003, Exh. R-2219 (“the tax legislation does not directly use the notion “good
       faith” as a necessary criterion for assessing activity of tax relations party. However, this is not to say that tax law is
       indifferent to this principle. In contrast, for this branch of law “good faith” is a fundamental principle to be used in the
       resolution of disputes and execution of certain tax law provisions.”). Mr. Konnov notes that bad faith is one of the
       anti-abuse doctrines which was applied either on a stand-alone basis or together with other doctrines in the Yukos
       case. In many cases, the term “bad faith” was used along with other anti-abuse terms, such as “proportionality”,
       “unjustified tax benefit” or “abuse of rights.” According to Mr. Konnov, during the period in question there were a
       number of non-Yukos cases where the tax authorities applied the concept of bad faith to disallow tax benefits, and the
       courts upheld their actions. Specifically, between 2001 and 2005 the concept of bad faith was applied in the following
       number of court cases: (i) 2001—262 court cases; (ii) 2002—644 court cases; (iii) 2003—1.189 court cases;
       (iv) 2004—2.235 court cases; (v) 2005—3.737 court cases. (citing also S.V. Savseris, Bad Faith Category in Tax Law,
       Statut, 2007 p. 47, Exh. R-310). According to Mr. Konnov, another prominent Russian scholar Arkady Bryzgalin in
       2001 distinguished four methods which could be applied by the state to combat tax evasion, including doctrines of
       “substance over form” and “business substance.” (citing Methodology of Tax optimization, Tax and Tax Law Journal,
       2001, No. 1, at p. 26, Exh. R-2283).
159
       Reply ¶ 217, n.368.
160
       Ibid at ¶ 217.




                                                             - 114 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 135 of 617




                219.   In 2001, the Tax Ministry asked the Constitutional Court to clarify its earlier
                       decision, in particular, whether the rule (that a taxpayer’s constitutional duty to pay
                       taxes ceases when the funds are debited from its account) applied even if the
                       taxpayer deliberately contrived, in bad faith, to use an insolvent bank in order to
                       evade taxes. In the resulting decision, the Russian Constitutional Court held that
                       “the conclusions which are contained in the motivational and operative parts of the
                       [1998] Ruling do not extend to the dishonest taxpayers, and recovery by
                       enforcement in the manner established by law from dishonest taxpayers of taxes not
                       coming into the budget does not violate the constitutional guarantees of the right of
                       private ownership”. This decision introduced the concept of “bad faith taxpayer”
                       into Russian law.
                220.   Since introducing this novel doctrine, the Constitutional Court has been called on to
                       address its proper scope on a few occasions, and has consistently imposed limits.
                221.   In its decision of October 16, 2003, for example, the Court for the first time
                       recognized the possibility of the doctrine’s application in a context other than tax
                       payments through failed banks, in particular, in relation to claims for VAT refunds
                       for exports. However, the Court emphasized the limited nature of this extension,
                       recalling that, under Article 57 of the Russian Constitution and Article 3(7) of the
                       Tax Code, “law enforcement authorities may not construe the concept of ‘good faith
                       tax payer’ as imposing on the tax payer additional obligations which are not
                       provided for in the legislation”. The Russian Constitutional Court reiterated this
                       limiting principle in a 2005 decision and specifically criticized the Moscow
                       Arbitrazh Court’s sweeping attempt to “universalize” the concept so as to
                       circumvent express statutory provisions in the context of the Yukos case.
                222.   In sum, in its limited endorsement of a “bad faith taxpayer” doctrine, the Russian
                       Constitutional Court has at all times clearly indicated that any such doctrine was
                       subordinate to, and controlled by, relevant Constitutional and statutory provisions.
                223.   The primacy and supremacy of Constitutional and statutory provisions over the “bad
                       faith taxpayer” concept have since been reaffirmed by the Presidium of the Highest
                       Arbitrazh Court in a decision wholly rejecting, in circumstances unrelated to the
                       Yukos affair but involving tax claims against another oil company, the approach of
                       the Moscow Arbitrazh Courts in the Yukos cases and emphasizing that “courts
                       should assess arguments of tax authorities with respect to underpayment of taxes
                       with consideration of specific statutory provisions rather than such subjective
                       concepts as ‘bad-faith taxpayer’”.
                224.   Accordingly, there was nothing in the “bad faith taxpayer” concept introduced by
                       the Russian Constitutional Court that could have permitted the tax authorities to re-
                       attribute revenues between taxpayers or otherwise disregard directly applicable
                       statutory provisions and impose additional, unwritten obligations beyond those
                       contained in the legislation.161

305. In its Rejoinder, Respondent dismisses Claimants’ suggestion that the Constitutional Court has
        limited the application of the doctrine since it arose in 1998, notably through its decisions since
        2003:

                661.   Contrary to Claimants’ allegations, the Constitutional Court in 2003 was not “called
                       on to address” the “scope” of the bad-faith taxpayer doctrine, much less to “limit[]”
                       it, but rather to adjudicate a complaint that had been raised in connection with the

161
       Reply ¶¶ 218–24 (footnotes omitted; emphasis in original).




                                                          - 115 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 136 of 617




                       tax authorities’ denial of a refund of input VAT based on the taxpayer’s bad-faith
                       conduct. Thus, the Constitutional Court confirmed its earlier holdings, including its
                       1998 ruling, reiterating that “in the sphere of fiscal relations, there shall be a
                       presumption of good faith” in favor of taxpayers, which the authorities bear the
                       burden of rebutting. The Court also noted that the authorities “may not construe the
                       concept of ‘good-faith taxpayer’ as imposing on the taxpayer additional obligations
                       which are not provided for in the legislation.”
                662. Claimants’ self-serving reliance on this quotation -- which they extract from its all-
                     important context -- is misplaced. It is clear from this ruling that the Court did not
                     at all intend to “limit” the scope of the bad-faith taxpayer doctrine, but rather to
                     clarify that a taxpayer’s good or bad faith must be determined on a case-by-case
                     basis, upon “review of all the circumstances of the particular case.” That is exactly
                     what the tax authorities and courts did with respect to Yukos. Specifically, the
                     Constitutional Court explained that:
                               “[t]he determination of the complainant’s good or bad faith in the
                               performance of its tax obligations and realisation of its rights to the
                               reimbursement of amounts of tax deductions is connected with the
                               establishment and review of the factual circumstances of the particular
                               case and falls under the jurisdiction of the arbitrazh courts.”
                663.   That the Court did not intend to limit the scope of the doctrine as formulated in its
                       earlier jurisprudence is also apparent from its actual holding:
                               “Based on the above […] the Constitutional Court of the Russian
                               Federation ruled: 1. The complaint of OOO Export-Service shall not
                               be accepted for examination because the subject matter of the
                               application to the Constitutional Court of the Russian Federation was
                               earlier clarified in a decision which is still in force.”
                664.   In sum, neither in this nor in other later rulings has the “Constitutional Court […]
                       suggested that the bad faith-taxpayer doctrine could not be used to combat abusive
                       arrangements such as those used by YUKOS.”162

306. The Tribunal has read and reviewed the many Constitutional Court decisions that form the
        backbone of the “bad faith taxpayer” doctrine in Russian law as well as papers of various
        Russian legal scholars. The Tribunal has formed the view that, during the period relevant for
        the tax assessments against Yukos from 2003 to 2004, the doctrine consisted mainly of the
        following principles:

               x    the good faith (honesty) of the taxpayer is presumed;163

               x    the tax authorities have the burden of proving the taxpayer’s bad faith (dishonesty),
                    and in doing so “may not construe the concept of ‘good faith taxpayer’ as imposing



162
       Rejoinder ¶¶ 661–64 (footnotes omitted; emphasis in original).
163
       Constitutional Court Ruling of the Constitutional Court of the Russian Federation No. 138-O ¶ 2 of the Motivational
       Part, 25 July 2001, Exh. R-307; Constitutional Court Ruling No. 329-O ¶ 2 of the Motivational Part, 16 October 2003,
       Exh. R-3238.




                                                          - 116 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 137 of 617




                      on the taxpayer additional obligations which are not provided for in the
                      legislation”;164

               x      in the case of a bad-faith (dishonest) taxpayer, the tax authorities have an
                      “obligation . . . [to] ensure protection of the State’s interests, including using
                      mechanisms of judicial protection”;165 and

               x      the determination of the taxpayer’s good or bad faith in the performance of its tax
                      obligations and realization of its rights to the reimbursement of amounts of tax
                      deductions is connected with the establishment and review of the factual
                      circumstances of the particular case and falls under the jurisdiction of the arbitrazh
                      courts.166

307. It is the Tribunal’s opinion that Claimants cannot persuasively maintain that the “bad faith
        taxpayer” doctrine is subordinated to, and controlled by, not just the Russian Constitution
        (which must be the case), but also statutory provisions.167 It seems evident that if the tax
        authorities establish dishonesty (bad faith) by the taxpayer in a particular case, based on
        specific factual circumstances, then the taxpayer may lose certain statutory benefits such as tax
        deductions or exemptions provided in the legislation. However, even a bad-faith taxpayer
        cannot be deprived of its constitutional rights or of statutory rights that guarantee the
        taxpayer’s constitutional rights.168

308. Having reviewed and stated its observations on the important Constitutional Court cases, the
        Tribunal turns now to the Parties’ arguments based on the principal arbitrazh court cases on


164
       Constitutional Court Ruling of the Constitutional Court of the Russian Federation No. 329-O ¶ 2 of the Motivational
       Part, 16 October 2003, Exh. R-3238.
165
       Constitutional Court Ruling of the Constitutional Court of the Russian Federation No. 138-O ¶ 2 of the Operational
       Part, 25 July 2001, Exh. R-307
166
       Constitutional Court Ruling of the Constitutional Court of the Russian Federation No. 329-O ¶ 2 of the Motivational
       Part, 16 October 2003, Exh. R-3238.
167
       Reply ¶ 222.
168
       Constitutional Court Ruling of the Constitutional Court of the Russian Federation No. 36-O of 18 January 2005 ¶ 3 of
       the Motivational Part, Exh. C-1140. In that case, at issue was Yukos’ complaint that the Moscow Arbitrazh Court had
       failed to grant Yukos the benefit of the statute of limitations (contained in Article 113 of the Tax Code of the Russian
       Federation (hereinafter “Russian Tax Code”)) on the basis that Yukos was a “bad-faith taxpayer”. The Constitutional
       Court dismissed Yukos’ complaint on jurisdictional grounds, but opined in dicta that Ruling No. 138-O “cannot serve
       as a ground for depriving the applicant of the guarantees established by Article 113 of the Tax Code of the Russian
       Federation.” Earlier in its decision, the court had noted that Article 113 is a guarantee of a taxpayer’s constitutional
       rights.




                                                           - 117 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 138 of 617




        which Respondent relies. Although Mr. Konnov refers to dozens of other specific cases,169 and
        alludes generally to “thousands of bad faith cases adjudicated in the relevant period,”170
        Respondent places particular emphasis on the Sibirskaya case171 and Resolution No. 53 of the
        Supreme Arbitrazh Court.172 Claimants, for their part, emphasize a Resolution of the Federal
        Arbitrazh Court for the North-Western District of 5 June 2002 (the “Pribrezhnoye” case).173
        The Tribunal considers this case in the next chapter of its Award since it relates more directly
        to the application of any anti-abuse doctrine to circumstances similar to those that are at issue in
        the present case, rather than to the existence of any anti-abuse doctrine.

309. Mr. Konnov describes the Sibirskaya case as follows:

                i.     In May 2002, OOO Sibirskaya Transportnaya Kompaniya (“Sibirskaya”), which
                       was later found to be a Domestic Offshore Company, lost a cassation appeal before
                       the Federal Arbitrazh Court for the North-Caucasian District. Like YUKOS two
                       years later, Sibirskaya argued that it had complied with the letter of the Kalmykian
                       law. The tax authorities and courts, however, concluded that Sibirskaya was a bad
                       faith taxpayer and that the tax benefits granted to it were manifestly disproportionate
                       (0.4%) to the amount of investment made by Sibirskaya:
                               “Such investments neither have any effect on the economy nor cover
                               any of the losses of the budget relating to the granting of tax
                               incentives to taxpayers. On the contrary, those investments result in
                               unjust enrichment (saving) of funds at the expense of budgetary funds.
                               Therefore, being aware of a clear disproportion between the amount
                               of investment and the amount of the tax incentives applied, the
                               claimant has abused its right, i.e., the claimant acted in bad faith.”174

        The Tribunal notes that no further appeals appear to have been made in this case. During his
        cross-examination, Mr. Konnov observed that the amount at stake in Sibirskaya (around
        USD 200,000) “was peanuts.”175




169
       First Konnov Report ¶ 49(e)–(s).
170
       Second Konnov Report ¶ 13.
171
       Sibirskaya, Federal Arbitrazh Court for the North-Caucasian District, Case No. F08-1678/2002-614A, 20 May 2002,
       Exh. R-311.
172
       Resolution of the Plenum of the Supreme Arbitrazh Court of the Russian Federation No. 53, 12 October 2006, Exh. R-
       1475.
173
       Resolution of the Federal Arbitrazh Court for the North-Western District No. A42-6604/00-15-8-818/01, 5 June 2002,
       Exh. C-1278 (hereinafter “Pribrezhnoye”). See also discussion at paragraph 645 below.
174
       First Konnov Report ¶ 49(i) (citing Resolution of Federal Arbitrazh Court of North-Caucasian District
       No. F08-1678/2002-614A, 20 May 2002, at Exh. R-311).
175
       Transcript, Day 14 at 214. Mr. Konnov further speculated when he testified that Yukos may have “preferred, after
       having the loss, [to] immediately make the payment and not to take this case forward.” Transcript, Day 14 at 214.




                                                         - 118 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 139 of 617




310. Respondent argues that the Sibirskaya case is one of “numerous cases [in which] the courts
        ruled against taxpayers on the basis that disproportion between the tax benefits granted to the
        taxpayer and amounts of investment into the relevant low-tax region economy is an indication
        of an abuse of rights and evidence of the bad faith of the taxpayer.”176 Although Sibirskaya
        involved a Yukos-related entity, Sibirskaya Transportnaya Kompaniya, Respondent argues that
        “the tax authorities did not realize the connection of that company with Yukos at the time.”177

311. Claimants challenge the assertion that the authorities did not know that the company was
        related to Yukos.178 Furthermore, and of direct relevance to the topic at issue here, Claimants
        contest the validity of the “purported ‘proportionality’ requirement” imposed by the court on
        the basis of the “bad faith taxpayer” doctrine:

                Not only was the Court’s reliance on the “bad faith taxpayer” doctrine improper . . . the
                purported “proportionality” requirement it sought to introduce was wholly arbitrary and
                contravened other statutory and Constitutional provisions as well as basic principles of the
                rule of law.179

312. The Tribunal cannot accept Respondent’s submission that the Sibirskaya case is an authority
        for the proposition that proportionality, standing alone, is a sufficient criterion for a finding of
        abuse. The decision does appear indeed to stand alone and, as far as the Tribunal can tell, was
        not followed subsequently. Moreover, contrary to Mr. Konnov’s opinion, it was not Sibirskaya
        Transportnaya Kompaniya that “lost” an appeal at the cassation level of the arbitrazh court,
        suggesting that the tax authorities had been successful at all other levels. In fact, the company
        had actually prevailed in the earlier decisions on this issue.180 Those judgments are not in the
        record. In addition, Claimants underline that, during his expert testimony in the Quasar de




176
       Counter-Memorial, ¶ 997, n.1561 (citing Resolutions of Federal Arbitrazh Court of the North-Caucasian District, Case
       No. F08-1682/2002–623Ⱥ, 21 May 2002, Exh. R-313; Case No. F08–1674/2002–627Ⱥ, 21 May 2002, Exh. R-314;,
       Case No. F08-1793/2002, 28 May 2002, Exh. R-316; Case No. F08–3949/2002–1374Ⱥ, 22 October 2002,
       Exh. R-317; Resolution of Federal Arbitrazh Court of the Moscow District, Case No. KȺ–Ⱥ41/6270–03, 10 October
       2003, Exh. R-319; Decision of the Moscow Arbitrazh Court, Case No. A41-K2-10055/02, 17 November 2004,
       Exh. R-320).
177
       Ibid. ¶ 291.
178
       Reply ¶ 227.
179
       Ibid. ¶ 228.
180
       Resolution of the Federal Arbitrazh Court of the North-Caucasian District No. F08-1678/2002–614A, 20 May 2002
       p. 1, Exh. R-311.




                                                         - 119 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 140 of 617




        Valores SICAV S.A. et al. v. The Russian Federation (“Quasar”) arbitration proceedings,
        Mr. Konnov disclaimed reliance on the “proportionality” requirement.181

313. As is apparent from the many cases reviewed above, Russian courts did consider and rule on
        tax-related cases before they were seized of the dispute involving the tax assessments against
        Yukos, including in the “anti-abuse” area.

314. Respondent also raised a 2006 ruling of the Supreme Arbitrazh Court known as Resolution
        No. 53. In principle cases decided after the Yukos tax assessments and decisions should not be
        relevant for ascertaining the state of the law at the time of those assessments and decisions.
        However, in view of Respondent’s argument that Resolution No. 53 represents the end point of
        the evolution of the anti-abuse doctrine in the Russian courts, the decision is of interest to the
        Tribunal in ascertaining the state of the law on the anti-abuse doctrines not only after, but also
        before and during the Yukos tax assessments.

315. In Resolution No. 53, the Supreme Arbitrazh Court set out to ensure greater uniformity in its
        evaluation of the “justifiability” of tax benefits received by the taxpayer by setting out
        straightforward interpretations of certain doctrines. As a starting point, it reaffirmed that the
        good faith of the taxpayer was presumed and that the tax authority had the burden to prove the
        facts upon which it relies in making its determinations.               It noted that benefits may be
        considered unjustified when transactions are recorded without reflecting their true nature or are
        concluded without a business purpose or connection to economic activity. In such situations,
        the court would determine the rights and obligations of the taxpayer on the basis of the actual
        economic substance of a transaction. The Supreme Arbitrazh Court noted, however, that no
        adverse inference should be drawn from the fact that there was another, less beneficial way to
        conduct a transaction. It laid out four scenarios which may “point to” an unjustified tax benefit,
        and nine factors which, taken by themselves, may not constitute grounds to find a tax benefit
        unjustified. However, taken in concert with other factors, they may be considered as evidence
        of an improperly obtained benefit. Finally, it stated that a court should “establish the existence
        of economic or other reasons (business purpose) in the taxpayer's actions subject to evaluation
        of circumstances evidencing its intent to obtain an economic effect as a result of actual business
        or economic activity.” It held that the tax benefit itself could not be considered an independent
        business purpose: “Therefore, if the court determines that the main purpose pursued by the

181
       Claimants’ Post-Hearing Brief ¶ 32, n.67. Quasar de Valores SICAV S.A. et al. v. The Russian Federation, SCC
       Arbitration, Award, 20 July 2012, Exh. R-3383 (hereinafter “Quasar”).




                                                      - 120 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 141 of 617




        taxpayer was obtaining of income exclusively or predominantly out of the tax benefit and there
        was no intention to carry out actual economic activity, the tax benefit may be disallowed.”182

316. Many articles on Resolution No. 53 have been written by Russian tax scholars and
        practitioners.    Two in particular are cited by Mr. Konnov.183               Both articles underline the
        importance of Resolution No. 53, although they reach different conclusions regarding the
        novelty of its content. One article by Mr. Y.M. Lermontov concludes that Resolution No. 53
        was an innovation in Russian tax law: “[t]he concept of the ‘bad-faith’ of the taxpayer has been
        eliminated by Resolution No. 53,” and instead other doctrines have been “incorporated into the
        regulatory framework.”184          Mr. Lermontov notes that in the past, “the judicial practice
        concerning the treatment of taxpayers as those of good faith and of bad faith in these matters
        used to be inconsistent,” and that as a result of Resolution No. 53, more specific doctrines such
        as “business purpose”, “substance over form” and “economic justifiability” were substituted in
        its place.185

                                                                                                              186
317. The other commentary was written by Messrs. A.V. Bryzgalin and V.V. Goryunov.                                  For
        these authors, the doctrine affirmed in Resolution No. 53 represents less of a break with the
        bad-faith taxpayer doctrine that existed at the time of the Yukos assessments. Instead, they see
        Resolution No. 53 as linking the “business purpose” doctrine to the “bad-faith taxpayer”
        doctrine. The authors note that bad faith of the taxpayer was “considered for the first time . . .
        [in] N 138-0 regarding dubious schemes for payment of taxes through ‘problem banks.’” The
        authors further note that since the doctrine had not been “directly provided for in the law,” it
        created “uncertainty” leading to “considerable complications for . . . taxpayers, but also for the
        judges.” Prior to Resolution No. 53, the authors write, “no criteria in this area existed at all,
        and the question of bad faith was completely dominated by judicial discretion.” For the
        authors, Resolution No. 53 represents a “positive step” in which the Supreme Arbitrazh Court
        “attempted to establish specific indications of bad faith of taxpayers, characteristic features and
        approximate examples of permissible and impermissible conduct.” The authors suggest that the


182
       Resolution of the Plenum of the Supreme Arbitrazh Court of the Russian Federation No. 53, 12 October 2006, p. 3,
       Exh. R-1475 (hereinafter “Resolution No. 53”).
183
       Second Konnov Report ¶ 80, n.133.
184
       Y.M. Lermontov, Commentary to the Resolution of the Plenum of the Supreme Arbitrazh Court No. 53, Exh. R-3266.
185
       Ibid.
186
       A.V. Bryzgalin and V.V. Goryunov, Commentary on Resolution No. 53 of the Plenum of the Supreme Arbitrazh Court
       of the Russian Federation, Exh. R-3267.




                                                        - 121 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 142 of 617




        change from “bad faith” to “unjustified tax benefit” is more a matter of terminology than
        doctrine.     The authors write that “despite the substitution of terms . . . the concept of an
        unjustified tax benefit is illustrated in Resolution N[o]. 53 by what used to be called bad-faith
        behavior of taxpayers.”

318. The link between these doctrines was made, as early as 2002, in a commentary on
        Constitutional Court Ruling 138-O that was published in 2002 by Mr. Sergey Pepeliaev, who
        would later be retained by Yukos in the Russian tax litigation.187                      In his commentary,
        Mr. Pepeliaev wrote as follows:

                In this Ruling the court considers the issue of limitations on tax planning, which implies
                the recognition of the right of each taxpayer to use the means, ways and methods permitted
                by law to reduce such taxpayer’s tax liabilities to the maximum extent possible. However,
                sometimes tax planning goes beyond the permitted limits and results in tax evasion. The
                boundaries between the tax planning and tax evasion [are] determined by reference [to] the
                taxpayer’s purposes. If tax savings are only ancillary to the relevant economic result, then
                the relevant tax consequences shall be determined by reference to the form of the relevant
                transaction. However, where the taxpayer’s actions were aimed solely to reduce the
                amount of its tax payments rather than to achieve an economic result, this would
                demonstrate that the relevant transaction was inconsistent with law because the motive
                underlying such transaction was to avoid tax.
                ...
                The expression “good faith of the parties to a transaction” is closely related to the
                expression “good faith taxpayer” which was used by the Constitutional Court of the
                Russian Federation twice in the opinion section of Resolution No. 24-P dated 12 October
                1998. In other words, in the context of the Resolution, the expression “good faith of the
                parties to a transaction” was used in its public legal meaning. A person’s actions aimed
                solely at tax evasion may not be regarded as actions made in good faith.
                ...
                If the parties to a transaction act reasonably, i.e., if they aim to achieve the actual business
                result and also choose such line of action which leads to minimal tax loss, then the parties’
                tax liabilities should be determined formally.
                ...
                lf it appears that parties act both unreasonably and not in good faith then this constitutes a
                ground for reassessment of the parties’ tax liabilities for which various mechanisms can be
                used. Upon a claim brought by the tax authorities the actual relations between the parties
                may be assessed by court[s]. The substance of such court proceedings would be an
                examination of whether the actions of the relevant parties were aimed at achievement of
                business (economic) results or whether the idea of tax saving was the prevailing
                idea. . . .188




187
       Second Konnov Report ¶ 12(c).
188
       S.G. Pepeliaev, Commentary to the Ruling of the Constitutional Court Ruling of the Russian Federation No. 138-O of
       July 25, 2001, Exh. R-352.




                                                         - 122 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 143 of 617




319. The Tribunal concludes that, in respect of the period relevant for the Yukos tax assessments and
        decisions, while the “bad faith taxpayer” doctrine had not yet gelled in the way that it did in
        2006, in Resolution No. 53, it had already been recognized and applied in some Russian court
        decisions. This conclusion, while based primarily on the Tribunal’s review of the cases,189 is
        also supported by the cross-examination of Mr. Konnov at the Hearing, as explained in the
        following paragraphs.

320. In his cross-examination of Mr. Konnov, Professor Gaillard focused on the sanction that the
        Russian Federation imposed on Yukos in the present case, rather than on the existence of any
        anti-abuse doctrine per se.

321. Mr. Friedman emphasized the limited scope of Claimants’ cross-examination of Mr. Konnov
        during his re-direct examination of the witness:

                MR FRIEDMAN: Just to make sure I am clear, Mr Konnov, you understood the questions
                yesterday to be about the remedy that’s applied based on the anti-abuse doctrine, as
                opposed to the substance of the anti-abuse doctrine?
                A.     I thought that Professor Gaillard limited his question—and the Tribunal did the
                       same thing—very specifically to the attribution; which I explained—and I think the
                       record said that—that I don’t view that as a separate instrument. But I was
                       nevertheless asked the question about court cases with respect to attribution.190

322. As Claimants had stipulated to the existence of the bad-faith taxpayer doctrine (while
        contesting the scope and manner of its application), they instead implied in their argument that
        any such doctrine was irrelevant, since formal compliance with the legislation governing the
        low-tax benefits in the respective regions, including fulfilment of the terms of any applicable
        investment agreements, was sufficient to claim the tax benefits.191

323. Accordingly, in his cross-examination of Mr. Konnov, Professor Gaillard stressed the
        compliance of Yukos’ tax scheme with the existing legislative framework. In his answer,
        Mr. Konnov, while acknowledging that the formal requirements of the law may have been met,
        reiterated the relevance of the anti-abuse doctrine:



189
       The Tribunal also observes that the ECtHR, in its separate judgments relating to the claims against the Russian
       Federation brought by Yukos and Messrs. Khodorkovsky and Lebedev, respectively, considered the relevant domestic
       (i.e., Russian) law and practice, including the Russian courts’ case-law on substance over form and related doctrines.
       See ECtHR Yukos Judgment ¶¶ 428–68; Khodorkovsky v. Russia (2) ¶¶ 422–28.
190
       Transcript, Day 15 at 193–94.
191
       Reply ¶¶ 148–64.




                                                          - 123 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 144 of 617




                Q.     So what you are saying is that the Law is not a good law, right? The Law which
                       gives the regions the power to negotiate their taxes downwards in exchange for
                       contributions to their fund is not a good law? The system is not good, as far as—
                A.     No, I am not saying that at all. I am not saying that at all. I am saying that what was
                       done in this case, it was an abuse of law. So the Law was applied by Yukos in such
                       an abusive manner so that, in violation of the constitutional principles which I’ve
                       summarized in my report, Yukos did not pay taxes duty in Moscow. It used this
                       whole fraudulent sham arrangement, with the use of the Mordovian companies, to
                       evade taxes in Moscow.192

324. Mr. Konnov’s insistence on the relevance of the anti-abuse doctrine, notwithstanding Yukos’
        compliance with the strict letter of the law, can also be seen in the following extract of his
        cross-examination by Professor Gaillard:

                Q.     What do you call the proportionality principle? Is it the proportionality between the
                       investment and the benefits?
                A.     Correct.
                Q.     Right. Is this—I will use the words “proportionality principle” within your
                       meaning, what you just said, right? Is this proportionality principle found in the
                       black letter of the Law of Mordovia; yes or no?
                A.     No. As I said—
                Q.     Okay.
                A.     —neither in Mordovia, nor in Kalmykia, nor in any other jurisdictions.
                Q.     Fine. And we have seen that in the agreements regarding the ZATOs, the trading
                       companies had agreed to contribute to a fund 5% of their tax benefits. We have
                       seen that earlier, yesterday or this morning, right?
                A.     Right.
                Q.     Okay. Now, going back to the Sibirskaya case, in the Sibirskaya case we have a
                       decision of first instance where the taxpayer won; correct?
                A.     As I recall, correct.
                Q.     Right. And in the Court of Appeal the taxpayer lost, and it had to do with the Law
                       of Kalmykia; correct?
                A.     No. No. There was no—again—
                Q.     But it was a Kalmykian company
                ...
                A.     No, it was not based on the Kalmykian Law. Obviously Sibirskaya was governed
                       by Kalmykian Law; obviously Kalmykian Law did apply to it, to the same extent
                       Mordovian Law applied to companies registered in Mordovia. But the assessment
                       was based on the proportionality principle, which, as we discussed, is not found—I
                       think you used the words—in the black letters of the Law.193



192
       Transcript, Day 13 at 151–52.
193
       Transcript, Day 14 at 218–220.




                                                       - 124 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 145 of 617




325. Having completed its review of what it considers to be the central evidence in the record in
        respect of the legal framework applicable to the Yukos tax optimization scheme under Russian
        law, the Tribunal now turns to the complex factual matrix involving Yukos’ trading entities in
        the low-tax regions.


        4.      The History of the Yukos Trading Entities before 2003

326. In the present proceedings, the Parties vigorously debated the significance of the history of the
        Yukos trading companies, including various tax audits that took place before 2003. The
        pertinent activities of Yukos’ trading companies took place in the regions of Mordovia and
        Kalmykia, as well as in the ZATOs of Lesnoy and Trekhgorny. The Tribunal will now
        summarize these activities and the results of the many tax audits which were issued.


                (a)     Mordovia

327. Mordovia is a region within the Russian Federation. Sometimes referred to as a “domestic
        offshore territory”, in the late 1990s it was granted some autonomy as regards taxation, which
        made it a more attractive destination for investment and business operations.194 This was part
        of a broader plan by the Russian Government in the 1990s to foster economic development in
        areas designated as “economically underdeveloped”.195 As noted earlier, the special exemption
        plan for domestic offshore territories was largely repealed as of 1 January 2004.196

328. On 9 March 1999, the Law of the Republic of Mordovia No. 9-Z (“Law 9-Z”) was enacted.197
        Law 9-Z was the framework which allowed Mordovia to offer tax benefits to corporate entities
        operating in the region. Article 4.4 of the law states that “[t]he Government of the Republic of
        Mordovia shall determine the order and terms and conditions of granting the tax benefit under
        this Law, as well as the order of keeping reports and records to be able to obtain the tax benefits
        listed in this Law.”198




194
       Transcript, Day 1 at 45–48.
195
       Respondent Opening Statement, Day 2 at 109.
196
       See paragraphs 77 and 283 above; First Konnov Report ¶ 33.
197
       Law 9-Z, Exh. C-414.
198
       Ibid.




                                                        - 125 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 146 of 617




329. Mr. Vladimir Dubov, a member of the Yukos management board199 and later a member of the
        State Duma for the Upper Volga region (which includes Mordovia), was the primary point of
        contact between Yukos and the regional and federal taxation authorities in Mordovia. He
        appeared as a witness on behalf of Claimants.

330. In his witness statement, Mr. Dubov stated the following:

        x     On 20 December 1999, he attended meetings in Mordovia to explain Yukos’ plan to
              operate through trading companies in Mordovia. He met with Mr. Nicolai Merkushkin, the
              head of the Republic of Mordovia; Mordovian Prime Minister Vladimir Volkov,; and
              Mordovian Deputy Prime Minister Vladimir Ruzhenkov, who was also Head of the
              Administration of the Government of Mordovia. Mr. Dubov swears that “[a]ll terms and
              conditions associated with the use of trading companies in the Republic of Mordovia were
              discussed and agreed at the meeting, including that Yukos’ trading companies would pay
              [80 million rubles] per month to the Republic.” He stated that the Mordovian authorities
              “fully approved” of the plan.200

        x     In late December 1999, he met with the Tax Minister of the Russian Federation,
              Mr. Alexander Pochinok, and Mr. Alexander Smirnov, one of Mr. Pochinok’s deputy
              ministers, to discuss Yukos’ plan to use trading companies in the Republic of Mordovia.
              Mr. Smirnov was very interested and called the head of the Special Inspectorate for Major
              Taxpayers, Mr. Aslambek Pasckachev, and the head of the Oil Department within the
              special inspectorate, Ms. Lydia Smirnova, into the in the meeting, to ask them to analyze
              the beneficial taxation plan.201

        x     After that meeting, he spoke with Mr. Gusev, First Deputy Minister in charge of the VAT
              Department, to discuss Yukos’ plan. He thought this important as “it was obvious to me
              that any trading companies established in Mordovia would be claiming significant VAT
              refunds on the export of oil and oil products.”202 He also spoke with Ms. Olga Serdiuk,




199
       Transcript, Day 5 at 14.
200
       Dubov WS ¶¶ 20–21.
201
       Ibid. ¶¶ 22–23.
202
       Ibid. ¶ 24.




                                                  - 126 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 147 of 617




               then Deputy Head of the Indirect Taxes Department and one of the three deputy First
               Ministers, Mr. Kirill Ugolnikov.203

        x      Around late December 1999 or January 2000, he met with each of the deputy First
               Ministers at the Tax Ministry and at the Menatep office on Kolpachniy Lane to outline the
               plan for the Mordovian companies. Following these meetings, Mr. Smirnov called the
               Head of the Regional Department of the Tax Ministry in Mordovia, Mr. Aleksey
               Averiasov, in Mr. Dubov’s presence, to inform him that such discussions had taken place
               and that Yukos had been “given the green light at the Ministry level for the use of trading
               companies in the region.”204

        x      He met with the then First Deputy Minister of Finance (later Minister of Finance and
               Deputy Prime Minister), Mr. Alexei Kudrin at the Ministry of Finance in January 2000.
               They discussed establishing Yukos trading companies in Mordovia so that Yukos could
               take advantage of tax benefits available in the region and that Yukos’ trading companies
               would be able to contribute to the regional economy through fixed monthly payments.
               Mr. Dubov recalls that “Alexei Kudrin consented to Yukos’ proposal, with the proviso that
               Yukos’ overall tax burden should essentially remain the same.”205

331. When he was cross-examined, Mr. Dubov repeated his statement that he told Mr. Kudrin that
        Yukos was planning to work in Mordovia through trading companies, as well as “which taxes it
        will pay in each level of national budget, which preferences would the budgets provide for
        Yukos, what benefits Yukos would reap from these preferences and what amounts would be
        paid in[to] the federal budget, and if there were any issues, how they were going to be
        resolved.”206

332. Mr. Dubov concludes in his witness statement that, after these meetings, “[i]t follows that all
        the relevant authorities, both federal and regional, including the Minister of Taxation, his first
        Deputies, and the First Deputy Minister of Finance were aware of, cooperated with and
        approved of Yukos’ plan to operate through the trading companies in the Republic of Mordovia


203
       Ibid.
204
       Ibid. ¶ 25.
205
       Ibid. ¶ 26. It is common ground between Claimants and Respondent (hereinafter “the Parties”) that the point of Yukos’
       tax arrangements was to lower its tax burden, not to keep it at the level it would have been at without resort to them.
206
       Transcript, Day 5 at 84.




                                                           - 127 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 148 of 617




        to take advantage of the favorable tax climate.”207 In Mr. Dubov’s view, this was favorable
        both for Mordovia and the Russian Federation, as any improvement in the financial situation of
        Mordovia would decrease the burden it placed on the federal budget. According to Mr. Dubov,
        “[t]he Russian Federation was clearly interested in decreasing the significant disparities in
        well-being between the regions [of the Federation].”208

333. The record reveals that, as the trading companies began operations, VAT refunds to the
        companies were very significant.       In fact, VAT refunds to the trading companies often
        exceeded the total amount of VAT collected in Mordovia from all the other companies
        operating on its territory. The regional section of the Federal Treasury therefore had to transfer
        the necessary funds to the Tax Ministry’s regional VAT Department. This decision to transfer
        funds, according to Mr. Dubov, had to be taken at the federal level, including obtaining the
        approval of the Ministry of Finance.

334. During his cross-examination, Mr. Dubov explained that “[w]hen, as a result of the operations
        of the trading companies, the VAT refunds increased many times over, many fold, by many
        hundreds of per cent, the Tax Ministry department asked the question why[;] the Tax Ministry,
        the Tax and Charges Ministry for Mordovia replied that we have Yukos trading entities
        incorporated here, these have to do with the Yukos exports; that is why the VAT refunds are so
        high.”209 He also stated that “[t]his is exactly why, before the scheme became operational, I
        had cleared [it] with the head of the department and the First Deputy Minister who was in
        charge of this department.”210

335. In addition, in his witness statement, Mr. Dubov affirms that the funds paid into the Mordovian
        budget were used to fund various projects, such as Internet House, an internet-training center,
        and the rebuilding of the Saransk Airport.          In 2001, according to Mr. Dubov, several
        dignitaries, including President Vladimir Putin, repeatedly visited the area (using the airport)
        and discussed the trading companies’ work in the region. Mr. Dubov states: “During such
        visits, President Putin was told by Nicolai Merkushkin, the Head of the Republic of Mordovia,
        and other representatives of the Republic of Mordovia, about the social, cultural and industrial
        projects that had been developed in the region in the previous year through the support and

207
       Dubov WS ¶ 27.
208
       Ibid. ¶ 29.
209
       Transcript, Day 5 at 149–50.
210
        Transcript, Day 5 at 150.




                                                  - 128 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 149 of 617




        cooperation of Yukos.”211 Mr. Dubov also recalls that President Putin had been told about
        several other improvement projects funded by Yukos’ support, such as the building of plants
        for machinery construction, construction materials and the production of optic fiber; the
        realization of a number of environmental projects such as the recycling of rotten wood and raw
        materials; the rehabilitation of the meat industry; reconstruction of the Saransk Theatre and
        Saransk Art Museum; the construction of two asphalt plants just outside of Saransk; and the
        reconstruction of the Saransk-Moscow highway.212

336. Mr. Dubov concludes that “[i]t follows that the federal authorities, who had to authorize the
        VAT refund, as well as any subsequent transfer of funds, were fully aware of Yukos’ trading
        structure, including the activities of the production and trading companies and the transactions
        between them.”213

337. The Tribunal notes that during his cross-examination, Mr. Dubov could not confirm that the
        VAT forms submitted by the trading companies to the Tax Ministry contained the full
        particulars as to how the tax optimization scheme was being implemented by Yukos. This was
        because, as he said, he was not familiar with the specifics of the VAT submissions although he
        knew that they would be submitted to the Leninsky district of Saransk (Mordovia) and they
        were likely to be very large.214 It seems unlikely to the Tribunal that such information would
        have been disclosed in the VAT forms, as the tax benefits of the low-tax regions did not extend
        to VAT.

338. During his cross-examination, Mr. Dubov affirmed that he only discussed with Mr. Kudrin “the
        general scheme”, not the formalities or the details of the activities of the trading companies.215
        The Tribunal further notes that in his witness statement, Mr. Dubov asserts that “[p]rior to the
        attacks on Yukos, which began in the Summer of 2003, the Russian authorities never
        challenged the legality of this structure or the materiality of the facts underlying this
        structure.”216 During his cross-examination before the Tribunal, he stated that he had no



211
       Dubov WS ¶ 33.
212
       Ibid. ¶ 33; Memorial ¶ 711.
213
       Dubov WS ¶ 44.
214
       Transcript, Day 5 at 152–54.
215
       Transcript, Day 5 at 81–83.
216
       Dubov WS ¶ 12.




                                                  - 129 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 150 of 617




        knowledge of the use of the ZATO Lesnoy companies,217 and in light of such testimony,
        Mr. Dubov’s evidence must be understood as being limited to Yukos’ activities in Mordovia.

339. In the following subsections, the Tribunal will review the detailed information that was
        presented to it regarding the trading companies incorporated in Mordovia.


                               i.      Alta-Trade (Mercury XXIII)

340. Alta-Trade was incorporated on 17 December 1999 as Mercury XXIII pursuant to the
        resolution of a meeting of the company’s founders, Polikant ZAO and A-Trust OOO, each with
        a 50 percent [RUR 5,000] stake in the share capital. In March 2001, Nefteinvest OOO became
        a shareholder, taking a 2 percent (RUR 200) share in the company’s share capital.218 In August
        2001, Yukos-Import OOO acquired the shares of Polikant ZAO and A-Trust OOO, and became
        the owner of 98 percent of the share capital (RUR 9,800).219

341. On 27 June 2001, Alta-Trade concluded an investment agreement with Mordovia, which was
        supplemented in March 2002.220

342. The record reveals two decisions by the Saransk Tax Inspectorate in 2001 where Alta-Trade
        was denied the right to offset the VAT in respect of some of its activities. The decision of
        15 June 2001 notes that Alta-Trade is “an enterprise producing oil products and selling its
        output domestically and [abroad],” that it purchases crude oil from Yu-Mordovia, and that sales
        are made through OAO NK Yukos and ZAO Trading House Angarsk-Nefto as commission
        agents.221 The decision of 29 October 2001 refers to transactions with, for example, Siberian
        Transportation Company and noted that the commission agent was Yukos Export Trade.222
        Thus, this information pertinent to the activities of Alta-Trade in Mordovia and linking Alta-
        Trade to the Yukos “family” was known to the authorities as early as 2001.



217
       Transcript, Day 5 at 101–102.
218
       Field Tax Audit Report No. 08-1/1 of OAO Yukos Oil Company, 29 December 2003 p. 34, Exh. C-103 (hereinafter
       “2000 Audit Report”).
219
       Ibid. pp. 34–35.
220
       Investment Agreement No. 5, 27 June 2001, as supplemented, Exh. C-1114.
221
       Decision of the Inspectorate of the Ministry of Taxes and Levies of the Russian Federation for the Leninsky District of
       Saransk No. 23, 15 June 2001, Exh. C-1110.
222
       Decision of the Inspectorate of the Ministry of Taxes and Levies of the Russian Federation for the Leninsky District of
       Saransk No. 48, 29 October 2001, Exh. C-1116.




                                                           - 130 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 151 of 617




343. In April 2002, Alta-Trade’s first ever field tax audit was conducted. It covered the year
        2000.223 The report from that audit noted the tax-benefit structure under Law 9-Z and the
        investment agreement between Mordovia and Alta-Trade.                       It noted that Alta-Trade was
        engaged in “crude oil refining [through intermediaries], sale of crude oil and oil products in the
        domestic market, as well as for export.”224 It noted the tax benefit structure under Law 9-Z,225
        and that the company had no capital assets on its balance sheet.226                        It also noted that
        Alta-Trade’s accounting and tax services were completed by Yukos Invest.227 The Audit
        Report found no violation of any tax laws.228

344. As will be seen in the next chapter, tax reassessments would eventually be made against Yukos
        for Alta-Trade for the years 2000,229 2001,230 2002231 and 2003,232 totaling RUR 7,143,036,557
        (approximately. USD 238,101,219).233


                              ii.     Fargoil

345. Fargoil was registered with state authorities on 23 May 2001. The sole founder of Fargoil was
        Mikhail Nikolayevich Silayev, who owned 100 percent of the share capital (RUR 10,000). On
        25 May 2001, he transferred full ownership of the shares to Nassaubridge Management
        Limited, a company incorporated in Cyprus, for RUR 11,000.234

346. According to the Ministry of Taxation, “[i]n order to get the opportunity to have dividends
        taxed at a 5% rate, Nassaubridge Management Limited, pursuant to Article 10 of the


223
       Field Tax Audit Report No. 02-52 of OOO Alta Trade, 19 April 2002 ¶ 2.3, Exh. C-1120.
224
       Ibid. ¶ 1.7.
225
       Ibid. ¶ 2.8.
226
       Ibid. ¶ 2.5.
227
       Ibid. ¶ 2.2.
228
       Ibid. ¶ 2.5. However, there was a 500 ruble (Approx. USD 17) fine for Alta Trade’s Director because of incomplete
       presentation of all required documents.
229
       Decision No. 14-3-05/1609-1, 14 April 2004 pp. 26–27, Exh. C-104 (hereinafter “2000 Decision”).
230
       Decision No. 30-3-15/3, 2 September 2004 p. 55, Exh. C-155 (hereinafter “2001 Decision”).
231
       Decision No. 52/896, 16 November 2004 p. 101, Exh. C-175 (hereainfter “2002 Decision”).
232
       Decision No. 52/95, 6 December 2004 p. 56, Exh. C-190 (hereinafter “2003 Decision”).
233
       Fiscal Years 2000–2004, Breakdown of the tax reassessments against Yukos by region or ZATO and company,
       excluding interest and fines p. 6, Exh. C-1752 (hereinafter “Yukos Tax Reassessment Breakdown”). The RUR to
       USD exchange rate is approximate, based on a rate of 30:1.
234
       2002 Decision, p. 106, Exh. C-175.




                                                         - 131 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 152 of 617




        Agreement between the Government of the Russian Federation and the Government of the
        Republic of Cyprus on Avoidance of Double Taxation of Income and Capital of 5 December
        1998, made a direct investment in Fargoil OOO capital, equivalent to USD 120,000 (Bank
        Payment Order No. 1 of 7 February 2002, issued by Nassaubridge Management Limited, worth
        3,590,000 paid as a share capital contribution based on an application of 31 January 2002).”235
        Fargoil’s accounts were prepared by Yukos Financial Accounting Centre OOO.236

347. An investment agreement was concluded between Fargoil and Mordovia on 27 June 2001, and
        supplemented on 26 March 2002.237                 In April 2002, a report of the Directorate on
        Implementation of the special-development program was issued pursuant to that agreement,
        which indicated that Fargoil had contributed over RUR 102 Million to the region.238

348. In September 2003, a Field Tax Audit Report for 2001 to 2002 was issued. It found no
        violation of Article 40 of the Russian Tax Code; but did find some underpayments, resulting in
        an order to Fargoil to pay additional road tax and income tax in the amount of
        RUR 590,847,939 (USD 19.7 Million). Notably, the report concluded that “Fargoil lawfully
        used exemptions applicable to all taxes under review.”239

349. Tax reassessments would eventually be made against Yukos for Fargoil for the years 2001,240
        2002241 and 2003,242 totaling RUR 130,243,731,762 (approximately USD 4,341,457,725).243
        The Tribunal notes this was by far the largest of the tax reassessments levied against any one of
        the trading companies.




235
       Ibid.
236
       Ibid. p. 107.
237
       Investment Agreement No. 9, 27 June 2001, as supplemented, Exh. C-1142.
238
       Report of the Directorate on Implementation of the Republic’s Special-Purpose Development Program of the Republic
       of Mordovia for 2001–2005 on the Use of Investments Received from OOO Fargoil under Investment Agreement
       No. 9 of June 27, 2001 for the Year 2001, 15 April 2002, Exh. C-1118.
239
       Field Tax Audit Report No. 02-105 of OOO Fargoil, 3 September 2003 ¶ 2.16, Exh. C-1124.
240
       2001 Decision, pp. 110–11, Exh. C-155.
241
       2002 Decision, pp. 123–24, Exh. C-175.
242
       2003 Decision, pp. 76–77, Exh. C-190.
243
       Yukos Tax Reassessment Breakdown p. 6, Exh. C-1752. The RUR to USD exchange rate used here is based on a rate
       of 30:1.




                                                        - 132 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 153 of 617




                               iii.      Macro-Trade

350. Macro-Trade was incorporated on 14 May 2001. The sole founder and chief accountant of
        Macro-Trade was Ms. Gulnura Karimovna Zhukova, who was also the founder and director of
        Mega-Alliance OOO. Pursuant to a resolution of 24 May 2002 and amendments to the charter
        of Macro-Trade on 22 October 2002, her shareholding was transferred, in equal 50 percent
        shares, to Conbrook Limited (LLC) and Silverdale Trading Limited (LLC), both registered in
        Cyprus. On 16 December 2002, Macro-Trade’s share capital was increased to RUR 7,700,000
        and “was formed by a deposit of cash assets into the entity’s current account from an account at
        Trust and Investment Bank JSCB on 20 December 2001 [sic].”244

351. Ms. Zhukova submitted a statement in court proceedings in Moscow in May of 2005 in which
        she alleged that she knew nothing about becoming a director of Macro-Trade and that her name
        was on the books of the company as a result of a fraud. She stated that in December 1998 or
        early 1999, her purse with her passport had been stolen. She stated that she did not report the
        theft because the passport was returned at the end of January 1999.245 Mr. Konnov, in his first
        expert report, referred to Ms. Zukhova’s statement.246 When Professor Gaillard cross-examined
        Mr. Konnov on this “story”, Professor Gaillard pointed out that Macro-Trade was incorporated
        in May 2001, more than two years after Ms. Zukhova’s passport was returned to her.247

352. An investment agreement was concluded between Macro-Trade and Mordovia, exempting the
        company from paying property tax and corporation profit tax payable to the republican and
        local budgets of the Republic of Mordovia.248

353. Tax reassessments would eventually be made against Yukos for Macro-Trade for the years
        2003249 and 2004,250 totaling RUR 841,582,281 (approximately USD 28,052,743).251


244
       2003 Decision, p. 93, Exh. C-190.
245
       Application by the Russian Federal Tax Service's Inter-District Inspectorate No. 1 for Major Taxpayers to the Federal
       Arbitrazh Court for the Moscow District, 4 May 2005 pp. 15–16, Exh. R-257; Transcript, Day 13 at 38.
246
       First Konnov Report ¶ 20, n.20.
247
       Transcript, Day 13 at 39.
248
       2003 Decision, p. 100, Exh. C-190.
249
       Ibid. pp. 100–01.
250
       Decision No. 52/292, 17 March 2006, p. 86, Exh. R-1539 (hereinafter “2004 Decision”).
251
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. The RUR to USD exchange rate used here is approximate,
       based on a rate of 30:1.




                                                          - 133 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 154 of 617




                               iv.     Mars XXII (Energotrade)

354. Mars XXII was incorporated on 17 December 1999. The founders were OOO Akra, registered
        in the Kaluga Region, and Renmet ZAO, registered in Moscow, both with equal shares of
        50 percent (RUR 5,000).252 Renmet ZAO is also a founder of Elbrus OOO, which had a
        20 percent holding in the share capital of Yu-Mordovia and Yukos-M. Ms. Tatiana Subbotina
        was one of the directors of Mars XXII. In a witness statement of 18 May 2004, Ms. Subbotina
        affirmed that, while she was formally in charge of the company, she only signed documents and
        did not know whether any investment agreements were concluded by Mars-XXII.253 According
        to its charter, the main activities of Mars XXII were the production and wholesale sale of oil
        products in the internal market and for export.254

355. The Tribunal notes that an investment agreement was concluded between Mars XXII and
        Mordovia on 27 June 2001, and supplemented on 26 March 2002.255

356. On 27 December 2001, a decision was issued by the Saransk Tax Inspectorate on “a Partial
        Refusal to Refund (Offset) VAT Amounts.” The decision notes that the commission agent for
        the export transactions is OAO NK Yukos. The decision refers to oil prices as well as a chain
        of VAT transactions, and notes that the suppliers of the crude oil at issue were Ratmir and
        Norteks.256 Again, this information linking Mars XXII to the Yukos “family” was known to the
        authorities as early as 2001.

357. In October 2003, a Field Tax Audit Report was issued for 2000 to 2002. It specifically stated
        that the “terms and conditions for applying the special taxation procedure have been complied
        with.”257 Some minor violations were found, however, with respect to personal income and
        profit taxes. The decision specifically noted that Mars XXII used Yukos FBTs for all of their
        accounting services.258


252
       2000 Audit Report, p. 20, Exh. C-103.
253
       First Konnov Report ¶ 20, n.20 (citing Witness Statement of Subbotina T.G. (Protocol No. 431la, 18 May 2004),
       Exh. R-258)
254
       2000 Audit Report, p. 21, Exh. C-103.
255
       Investment Agreement between Mars XII and Mordovia, 27 June 2011, Exh. C-1111.
256
       Decision of the Inspectorate of the Ministry of Taxes and Levies of the Russian Federation for the Leninsky District of
       Saransk No. 53, 27 December 2001, Exh. C-1117.
257
       Field Tax Audit Report No. 02-126 of Mars XXII, 22 October 2003, p. 4, Exh. C-1125.
258
       Ibid. p. 2.




                                                           - 134 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 155 of 617




358. Tax reassessments would eventually be made against Yukos for Mars XXII (Energotrade) for
        the years 2000,259 2001,260 2003261 and 2004,262 totaling RUR 55,959,738,409 (approximately
        USD 1,865,324,614).263


                               v.      Ratmir (Pluton XXVI)

359. Ratmir was incorporated on 17 December 1999. Ratmir was originally incorporated under the
        name of Pluton XXVI OOO. The founders of Ratmir were Gem OOO, with an 18 percent
        share (RUR 1,800); Sonata OOO, with an 80 percent share (RUR 8,000); and Nefteinvest OOO
        with a 2 percent (RUR 200).264 All of the founders were registered outside of Mordovia..265
        Sonata also founded Yu-Mordovia, and maintained a 20 percent stake in that company.

360. Ratmir’s accounts were managed by Yukos-Invest.266 According to the Tax Ministry, “Ratmir
        OOO bought and sold crude oil, gas condensate, oil products, petrochemical products, and
        subsequently sold oil products and petrochemical products for export.”267

361. An investment agreement was concluded between Ratmir and Mordovia on 27 June 2001 and
        was supplemented on 26 March 2002.268

362. In April 2002, a Field Tax Audit Report was issued for the year 2000.269 It noted that there
        were no capital assets on the balance sheet (no physical facilities to store oil); and that Ratmir
        was exempt from property and profit tax pursuant to Law 9-Z.270 It found only a few minor




259
       2000 Decision, , p. 14, Exh. C-104.
260
       2001 Decision, pp. 122–23, Exh. C-155.
261
       2003 Decision, pp. 91–92, Exh. C-190.
262
       2004 Decision, pp. 80–81, Exh. R-1539.
263
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. The RUR to USD exchange rate used here is approximate,
       based on a rate of 30:1.
264
       2000 Audit Report, p. 55, Exh. C-103.
265
       Ibid.
266
       Ibid. p. 56.
267
       Ibid.
268
       Investment Agreement No. 26 between Mordovia and OOO Ratmir, 27 June 2001, as supplemented, Exh. C-1115.
269
       Field Tax Audit Report No. 02-51, 19 April 2002, Exh. C-1119.
270
       Ibid. pp. 2, 4, 5.




                                                        - 135 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 156 of 617




        violations and ordered the company to pay RUR 43,299 (approximately USD 1,440) in relation
        to the profit tax271

363. In October 2002, a Field Tax Audit Report was issued for the year 2001. It noted that Ratmir
        was enjoying benefits under the Mordovian tax law, including the exact amounts involved. It
        found no violations of any tax laws. The report also noted that Ratmir’s accounting reports
        were managed by Yukos FBTs.272 This information linking Ratmir to the Yukos “family” was
        known to the authorities in 2002.

364. Tax reassessments would eventually be made against Yukos for Ratmir for the years 2000,273
        2001,274 2002,275 and 2003,276 totaling RUR 12,373,090,752 (approximately USD 412,436,359).277


                               vi.    Yukos-M

365. Yukos-M was incorporated on 20 January 2000 and registered on 24 January 2000. When it
        was founded, its share capital was divided into 24 ordinary, registered shares, each with a
        nominal value of RUR 400 (96 percent of the company’s share capital) and 1 registered
        preference share with a nominal value of RUR 400 (4 percent of the company’s share capital).
        Elbrus owned 23 ordinary registered shares, totaling RUR 9,200 or 92 percent of the share
        capital. OAO Yukos Oil Company owned one registered preference share with a nominal value
        of RUR 400 or 4 percent of the share capital and one ordinary registered share with a nominal
        value of RUR 400 or 4 percent of the share capital (for a total of 8 percent of the share capital).
        The Tribunal notes that Elbrus and Yukos Oil Company were also co-founders of Yu-Mordovia
        OOO, each with 20 percent of the share capital.278 On 22 December 2000, “OAO Yukos Oil
        Company became the company’s sole shareholder (owner of 100% of the company’s ordinary
        and preference shares)”.279 Yukos-M’s accounts were managed by Yukos-Invest.280 According

271
       Ibid. p. 8. The RUR to USD exchange rate used here is approximate based on a rate of 30:1.
272
       Field Tax Audit Report No. 02–144 of OOO Ratmir ¶ 2.1, 16 October 2002, Exh. C-1121.
273
       2000 Decision, p. 49, Exh. C-104.
274
       2001 Decision, pp. 42–43, Exh. C-155.
275
       2002 Decision, p. 105, Exh. C-175.
276
       2003 Decision, pp. 60–61, Exh. C-190.
277
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. The RUR to USD exchange rate used here is approximate,
       based on a rate of 30:1.
278
       2000 Audit Report, p. 41, Exh. C-103.
279
       Ibid.




                                                         - 136 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 157 of 617




        to the charter documents, in the year 2000, the company was engaged in the sale of crude oil on
        the domestic and export markets.281

366. Yukos-M and Mordovia entered into an investment agreement on 27 June 2001, which was
        later supplemented on 26 March 2002.282

367. In April 2002, a Field Tax Audit Report was issued for the year 2000, but this document is not
        in the record. In October 2002, a Field Tax Audit Report was issued for 2001. It noted the tax
        benefits accruing to Yukos-M under Law 9-Z and the investment agreement between Mordovia
        and Yukos-M. It specifically mentioned that for the period under review, Yukos-M engaged in
        domestic and export sales of crude oil as well as other activities, and found no violation of any
        tax law.283

368. Tax reassessments would eventually be made against Yukos for Yukos-M for the years 2000,284
        2001,285 2002286 and 2003,287 totaling RUR 29,519,084,452 (approximately USD 983,969,482).288


                               vii.    Yu-Mordovia

369. Yu-Mordovia was incorporated on 2 December 1999 and registered on 17 December 1999.
        The sole founder of Yu-Mordovia OOO was OAO Yukos Oil Company.289 On 17 January
        2000, amendments were made to Yu-Mordovia’s charter regarding the identity of the founders,
        the value of the share capital and the number of shares. The following each had a 20 percent
        (2.0) share in the share capital:        OAO Yukos Oil Company, Sonata OOO, Elbrus OOO,
        Stekloprommash ZAO and A-Trust OOO.290                    The shareholders were registered outside

280
       Ibid.
281
       Ibid. p. 42.
282
       Investment Agreement Between Mordovia and Yukos-M, 27 June 2001, as supplemented, Exh. C-1112.
283
       Field Tax Audit Report No. 02-145 of ZAO Yukos-M, 16 October 2002, pp. 2–4 Exh. C-1122.
284
       2000 Decision, , p. 35, Exh. C-104.
285
       2001 Decision, pp. 64–65, Exh. C-155.
286
       2002 Decision, pp. 96–98, Exh. C-175.
287
       2003 Decision, pp. 48–49, Exh. C-190.
288
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. The RUR to USD exchange rate used here is approximate,
       based on a rate of 30:1.
289
       2000 Audit Report, p. 51, Exh. C-103. According to Exhibit C-103, the incorporation of Yu-Mordovia OOO was
       authorized at the meeting of the Board of Directors of OAO Yukos Oil Company by Resolution No. 120/1-19 of
       2 December 1999.
290
       Ibid. pp. 51–52.




                                                      - 137 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 158 of 617




        Mordovia, either in the Tyumen Region (OAO Yukos Oil Company) or Moscow (the remaining
        four shareholders).291 Yu-Mordovia and Mordovia entered into an investment agreement on
        27 June 2001, which was later supplemented on 26 March 2002.292

370. The company’s tax assessment, sent to the tax authorities in Saransk, Mordovia on 30 July
        2001, described the details of the tax arrangement between Yu-Mordovia and Mordovia,
        including the tax on actual profit for the first half of 2001, with precise amounts of the benefits
        enjoyed and amounts paid under the Mordovian law.293

371. Tax reassessments would eventually be made against Yukos for Yu-Mordovia for the years 2000,294
        2001,295 2002296 and 2003,297 totaling RUR 21,018,327,538 (approximately USD 700,610,918).298


                 (b)   Kalmykia

372. Kalmykia is a low-tax region in Russia. Only one trading company was based there, Siberian
        Transportation Company (Sibirskaya), registered in 1998. Kalmykia was authorized to offer
        tax benefits under the Law of the Republic of Kalmykia No. 12-II-Z on Tax Benefits Granted to
        Enterprises Making Investments in the Economy of the Republic of Kalmykia of 12 March
        1999.299 Aimed at “further enhancement of the investment climate” in the region, the law was
        designed to offer exemptions from certain local taxes and corporate taxes to companies making
        investments in the region.300




291
       Ibid. p. 52.
292
       Investment Agreement No. 24 Between Mordovia and OOO Yu Mordovia, 27 June 2001, Exh. C-1113.
293
       Attachment No. 9 to Instruction of the Ministry of Taxes and Levies of the Russian Federation No. 62 of 15 June
       2000, 30 July 20001, Exh. C-1747.
294
       2000 Decision, pp. 44–45, Exh. C-104.
295
       2001 Decision, pp. 80–81, Exh. C-155.
296
       2002 Decision, p. 90, Exh. C-175.
297
       2003 Decision, p. 43, Exh. C-190.
298
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. The RUR to USD exchange rate used here is approximate,
       based on a rate of 30:1.
299
       Law of the Republic of Kalmykia No. 12-II-Z On Tax Benefits Granted to Enterprises Making Investments in the
       Economy of the Republic of Kalmykia, 12 March 1999, Exh. C-413.
300
       Ibid.




                                                       - 138 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 159 of 617




                                i.      Siberian Transportation Company (Sibirskaya)

373. Sibirskaya was founded by Step ZAO, registered in Kaluzhskaya Region, and Polinep ZAO,
        registered in Moscow, both holding 50 percent shares.301 The Tribunal notes that Polinep ZAO
        was also a founder of Sonata OOO and Elbrus OOO, which were founders of Yu-Mordovia
        OOO and Yukos-M ZAO.302

374. Sibirskaya received tax benefits under the Law of the Republic of Kalmykia No. 12-II-Z of
        12 March 1999 referred to above and the Resolution of the Elista Municipal Assembly No. 7 of
        25 January 2001.303

375. In September 2001, a resolution was issued by the Inspectorate of the Ministry of Taxes and
        Levies of Russia (Elista). It found that the Siberian Transportation Company was ineligible for
        the tax benefits applied to it in the autonomous region.304 On the same day, a tax payment
        demand was issued to recoup the costs of the inappropriately applied benefits, in the amount of
        RUR 6,918,617 (approximately USD 230,000).305

376. In December 2001, the Arbitrazh Court of the Republic of Kalmykia ruled that the tax
        incentives were, in fact, lawfully applied to the Siberian Transportation Company and the
        resolution and payment demand were declared invalid. In addition, the court specifically stated
        that it had not found any evidence that the company had acted in bad faith or that it abused its
        rights.306 The Inspectorate of the Ministry of Taxes and Levies of Russia (Elista) appealed the
        December 2001 judgment.               The court of appeal upheld the decision of the lower court,




301
       2000 Decision, p. 8, Exh. C-104.
302
       Ibid.
303
       Law of the Republic of Kalmykia No. 12-II-Z, 12 March 1999, Exh. C-413. The resolution is referred to in
       Exh. R-311. As is the case with many of the documents referred to below, although the existence of this particular
       document (the resolution) is evidenced by a reference in an exhibit that is in the record, the resolution itself is not in
       the record. Claimants have criticized Respondent for failing to provide a complete record of the pre-2003 audits and
       related documents.
304
       Resolution of the Federal Arbitrazh Court of the North-Caucasian District, Case No. F08-1678/2002-614A, 20 May
       2002, Exh. R-311 (referring to Resolution No. 01-24/2261 of the Inspectorate of the Ministry of Taxes and Levies of
       Russia, 25 September 2001).
305
       Ibid. (referring to Tax payment demand No. 01-23/2261, 25 September 2001). The RUR to USD exchange rate used
       here is approximate, based on a rate of 30:1.
306
       Ibid. (referring to Decision of the Arbitrazh Court of the Republic of Kalmykia, Case No. A22-1306/2001-6/129,
       5 December 2001).




                                                            - 139 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 160 of 617




        affirming that the resolution and the payment demand were invalid. The court of appeal found
        no bad faith on the part of the Siberian Transportation Company.307

377. The Inspectorate of the Ministry of Taxes and Levies of Russia (Elista) appealed this decision
        to the Federal Arbitrazh Court of the North-Caucasian District. The Federal Arbitrazh Court
        reversed the decisions of the lower courts and ruled that the Siberian Transportation Company
        was not eligible for the benefits and that the company had acted in bad faith. The resolution
        and the payment demand therefore became valid once again and were reinstated.308 The
        Federal Arbitrazh Court held that the tax benefits granted to the company were disproportionate
        to the investment it had made in Kalmykia. It found that the amount invested was 0.4 percent
        of the amount of tax benefits. There is no further information in the record as to any further
        steps in those proceedings, and, in particular, no evidence that the company appealed the
        decision of the Federal Arbitrazh Court to the Supreme Arbitrazh Court.

378. Tax reassessments would eventually be made against Yukos for the Siberian Transportation
        Company for the year 2000,309 totaling RUR 240,437,174 (approximately USD 8,014,572).310


                (c)     Lesnoy and Trekhgorny

379. Lesnoy and Trekhgorny are ZATOs. As noted earlier, ZATOs or “Closed Adminstrative
        Territorial Units” are restricted-access territories “established in the former Soviet Union from
        the late 1940s as defense and nuclear power plant cities, which included communities with
        sensitive military, industrial or scientific facilities, such as arms plants or nuclear research
        sites.”311 Due to the fact that their local economies were particularly dependent on increasingly
        obsolete military or nuclear functions, the ZATOs faced economic collapse at the end of the
        Cold War. To address the problem, in 1992, the Russian State Duma “enacted a federal law to
        define the special tax regime of the ZATOs and the financing of these territories by the federal
        government, and guaranteed the ZATOs’ residents certain social and health benefits.”312 The
        number of restricted access jurisdictions in Russia is unknown, and it was not until the late
307
       Ibid. (referring to the Resolution of the appellate court, Case No. A22-1306/2001-6/129, 12 March 2002).
308
       Ibid.
309
       2000 Decision, p. 11, Exh. C-104.
310
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. The RUR to USD exchange rate used here is approximate,
       based on a rate of 30:1.
311
       Counter-Memorial ¶ 226, n.274.
312
       Ibid.




                                                            - 140 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 161 of 617




        1990s that the territories were even named or mapped.313 In 1996, about half of the ZATOs
        were declassified of ZATO status.


                               i.      Lesnoy

380. At the end of 1997, four trading companies were established by Yukos in Lesnoy: Business-
        Oil, Forest-Oil, Mitra, and Vald-Oil.              In early 1998, the trading companies entered into
        agreements with the Lesnoy Town Administration to make investments in the region that would
        entitle them to certain tax benefits.314 These were renewed in 2000.315

381. In January 1999, the trading companies based in Lesnoy and the Lesnoy Administration agreed
        to allow the companies to use interest-bearing promissory notes of OAO Yukos Oil Company
        in order to pay their taxes.316 This agreement was later formalized in a decision by the head of
        ZATO Lesnoy.317

382. In 1999, the Lesnoy Administration also entered into several other agreements with the trading
        companies. Resolution 189 of the Duma of Lesnoy referred to joint investment activity within
        the framework of a partnership “between the Lesnoy administration and YUKOS OC OJSC.”318
        The investments included construction and reconstruction of gas stations based on joint-activity
        agreements entered into “for a total of [RUR] 2,730 Million.”319 In late 1999, three of the four



313
       Vladimir Samoylenko, Government Policies in Regard to Internal Tax Havens in Russia, Publication of International
       Tax & Investment Center, December 2003, p. 10, Exh. C-577.
314
       2000 Decision, Exh. C-104 (referring to Agreement No. 10, 9 February 1998 and Agreement No. 4, 28 January 2000
       (Business-Oil); Agreement No. 3, 28 January 2000 (Mitra); Agreement No. 2, 28 January 2000 and Agreement No.
       [unknown] (Vald-Oil)); Memorandum on the results of the audit of the legality of additional tax incentives granted to
       Mitra, Business-Oil and Forest-Oil in Lesnoy for 1998 and 9 months of 1999 p. 5, Exh. R-294 (referring to Agreement
       No. 11, 9 February 1998 (Forest Oil)).
315
       2000 Decision, Exh. C-104 (referring to Agreement No. 4 between the Lesnoy Administration and Business-Oil, 28
       January 2000; Agreement No. 3 between the Lesnoy Administration and Mitra, 28 January 2000; Agreement No. 2
       between the Lesnoy Administration and Vald-Oil, 28 January 2000. There is no information on a renewal in favour of
       Forest-Oil, though it seems likely there was one.
316
       Report No. 04-14/11-1, 22 February 2002 pp. 7, 9, 11, 12, Exh. R-304 (referring to agreements of 6 January 1999
       allowing the use of OAO NK Yukos promissory notes for tax payments by the four trading companies). See also
       Claimants’ Rebuttal, Transcript, Day 20 at 50 for further context.
317
       Report No. 04-14/11-1, 22 February 2002 pp. 7, 9, 11, 12, Exh. R-304 (referring to Decision No. 1734a of Head of
       Lesnoy Administration to allow the trading companies to pay taxes for 1999 with OAO NK Yukos promissory notes
       of OAO NK Yukos, 21 December 1999).
318
       Decree of the Investigation Committee of the Russian Federation, 16 January 2002, p. 2, Exh. R-377 (referring to
       Resolution 189 of the Duma of Lesnoy, 15 December 1999).
319
       Ibid.




                                                          - 141 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 162 of 617




        trading companies were subjected to “desk audits”, which “confirmed the validity in
        application of additional tax incentives granted.”320

383. On 3 December 1999, the Minister of Taxes of the Russian Federation instructed the
        Interregional State Tax Inspectorate for Operational Control over Problem Taxpayers to audit
        the legality of tax incentives granted in the Lesnoy ZATO to Mitra, Business Oil and Forest
        Oil.321

384. There is in the record an undated Internal Tax Ministry “Memorandum on the results of the
        audit” initiated on 3 December 1999.322 The Tribunal recalls that this memorandum has been
        the subject of extensive representations by the Parties.

385. The Tribunal notes that, in essence, the memorandum concludes that while each entity has the
        formal right to receive the “additional tax incentives under Law of the Russian Federation
        No. 67-FZ of 2 April 1999”323 based on an examination of the entity’s operations, it was
        established during the interrogation of a witness, in respect of each entity, that “the employees
        residing on the ZATO territory are not involved in the work related to the main activity of the
        company.”324

386. Respondent submitted that this memorandum and the investigation which preceded it “put
        Yukos on notice” of the tax authorities’ investigations into the legality of the use of the ZATOs.
        On the other hand, Claimants replied that the memorandum was a document internal to the tax
        ministry.325 Claimants also aver that contemporaneous field tax audits conducted in March and




320
       Memorandum on the results of the audit of the legality of additional tax incentives granted to Mitra, Business-Oil and
       Forest-Oil in Lesnoy for 1998 and 9 months of 1999 pp. 1, 3, 5, Exh. R-294 (referring to Desk Audit Report No. 4 for
       Mitra, 29 October 1999; Desk Audit Report No. 3 for Business Oil, 1 November 1999; Desk Audit Report No. 5 for
       Forest Oil, 1 November 1999).
321
       Ibid., p. 1.
322
       Ibid. The memorandum is undated but considered to be from early-to-mid 2000 on the basis of the documents
       referenced in it. It appears that the audit report, whose findings were summarized in this undated memorandum, was
       issued on 7 March 2000. See Statement No. 6 on the legality of the use by OOO Business-Oil in 1999 and 2000 of
       additional tax incentives granted by the head of the municipal formation of Town of Lesnoy No. 6, 29 June 2001, p. 4,
       Exh. R-295.
323
       Memorandum on the results of the audit of the legality of additional tax incentives granted to Mitra, Business-Oil and
       Forest-Oil in Lesnoy for 1998 and 9 months of 1999 pp. 2, 4, 6, Exh. R-294
324
       Ibid., pp. 3, 4, 6.
325
       Respondent’s Opening Slides, p. 48; Claimants’ Post-Hearing Brief ¶¶ 57–58; see also Transcript, Day 14 at 86.




                                                          - 142 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 163 of 617




        May 2000 found no violations of any tax law by Business Oil, Forest Oil or Mitra in relation to
        the application of these taxation arrangements.326

387. At approximately the same time, Yukos undertook a series of corporate restructurings which
        resulted in the merger of the audited Lesnoy companies (i.e., Business-Oil, Forest-Oil, Mitra,
        and Vald-Oil) into another, new company, OOO Perspektiva Optimum, that was registered in
        the Aginsky Buryatsky Autonomous Okrug (“ABAO”) in the Chita Region, which is located
        thousands of miles from the ZATO of Lesnoy.

388. Concurrently, a similar restructuring was carried out with respect to a number of other trading
        entities established in the ZATO of Trekhgorny (i.e., OOO Alebra, OOO Flander, OOO Grace,
        OOO Kolrein, OOO Kverkus, OOO Muskron, and OOO Norteks), which Yukos merged into
        still another newly created company also registered in ABAO by the name of OOO Trading
        Company Alkhanay.

389. As a result of these restructurings, on 21 May 2001, the Lesnoy and the Trekhgorny trading
        entities, as well as the subsequently merged successor entities (OOO Perspektiva Optimum and
        OOO Trading Company Alkhanay), were liquidated. The new entity that emerged was named
        OOO Investproekt and was registered in the Kirov region. In August 2001, Investproekt moved
        across Russia to the Chita Region.

390. These restructurings and movements by Yukos—referred to collectively by Respondent as the
        “Lesnoy Shuffle”—are seen differently by the Parties. According to Claimants, they were
        merely a simplification of the corporate group of “hundreds of companies.” 327 Claimants also
        noted that the restructurings occurred before any Tax Ministry decisions were rendered against
        it.328 Respondent, on the other hand, submitted that they were indicative of a pattern of
        behavior on the part of Yukos that shows an intent to frustrate the taxation authorities.329 While
        the Tribunal need not determine why these restructurings took place at this time, it has formed


326
       These documents are not in the record but see Statement No. 6 on the legality of the use by OOO Business-Oil in 1999
       and 2000 of additional tax incentives granted by the head of the municipal formation of Town of Lesnoy No. 6,
       29 June 2001, Exh. R-295 (referring to Field Tax Audit Report No. 31 on Business-Oil, 7 March 2000); Decision
       No. 36, 8 June 2000, Exh. R-2260 (referring to Field Tax Audit Report Act No. 36 on Forest-Oil, 5 May 2000);
       Statement No. 8 on the audit of OOO Mitra, 11 June 2001, Exh. R-297 (referring to Field Tax Audit Report Act
       No. 249 on Mitra, 5 May 2000).
327
       Transcript, Day 20 at 43.
328
       Claimants’ Post-Hearing Brief ¶ 64.
329
       Transcript, Day 21 at 57–60.




                                                         - 143 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 164 of 617




        the view that the simplification claim is a simplification. No persuasive argument has been
        advanced by Claimants to explain why the series of mergers occurred at this precise time.330 At
        the same time, the Tribunal notes that the tax authorities were then slowly moving away from
        the taxation autonomy previously given to the ZATOs and that, on 1 January 2002, the right of
        the ZATOs to grant any tax incentives was removed from the law completely.331

391. In late June and early July 2001, the Tax Ministry circulated internally several memoranda (or
        “statements”) relating to the tax benefits granted to the Lesnoy companies.332 The memoranda
        examined the lawfulness of the benefits granted between 1 January 1999 and March 2001.
        Internal Tax Ministry Statement No. 6, which examined the benefits granted to Business-Oil,
        found that the tax incentives were actually not in accordance with the law on ZATOs and not
        approved by the Ministry of Finance. It also found a violation due to payment of taxes with
        promissory notes. It assessed taxes of approximately RUR 2.8 Billion (USD 98 Million) for the
        whole period.        The memorandum also notes specifically that the Lesnoy entities were
        enterprises of OAO NK Yukos.333

392. Internal Tax Ministry Statement No. 7, which examined the benefits granted to Forest-Oil,
        found that the company’s employees residing in Lesnoy were not engaged in trading, and also
        found violations due to payment of taxes with Yukos promissory notes and assessed
        approximately RUR 671 Million (USD 22 Million) in taxes that were not paid in cash.334

393. Benefits granted to Mitra were examined in Internal Tax Ministry Statement No. 8, which
        found that Lesnoy unlawfully granted tax incentives, found a violation due to payment of taxes




330
       Respondent’s Closing Slides, pp. 8–12 (chronicling the series of moves that were taken “for no stated business
       reason”.)
331
       First Konnov Report ¶ 33. This change did not affect other types of low-tax regions at this time, although some of
       their powers to grant incentives were also curbed.
332
       Statement No. 6 on the legality of the use by OOO Business-Oil in 1999 and 2000 of additional tax incentives granted
       by the head of the municipal formation of Town of Lesnoy No. 6, 29 June 2001, Exh. R-295; Statement No. 7 on the
       audit of OOO Forest-Oil), 11 July 2001, Exh. R-296; Statement No. 8 on the audit of OOO Mitra, 11 July 2001,
       Exh. R-297; Statement No. 9 on the audit of Vald-Oil, 11 July 2001, Exh. R-298.
333
       Statement No. 6 on the legality of the use by OOO Business-Oil in 1999 and 2000 of additional tax incentives granted
       by the head of the municipal formation of Town of Lesnoy No. 6, 29 June 2001 pp. 14–18, Exh. R-295. Contrast the
       Respondent’s submission that the Russian Federation didn’t know about the Lesnoy companies’ association with
       Yukos until 2003. See Transcript, Day 18 at 29–31 (Respondent’s closing). The RUR to USD exchange rate used
       here is approximate, based on a rate of 30:1.
334
       Statement No. 7 on the audit of OOO Forest-Oil, 11 July 2001, Exh. R-296. The RUR to USD exchange rate used
       here is approximate, based on a rate of 30:1.




                                                         - 144 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 165 of 617




        by Yukos promissory notes and assessed approximately RUR 783 Million (USD 26 Million) in
        taxes paid with promissory notes.335

394. Internal Tax Ministry Statement No. 9 examined benefits granted to Vald-Oil. It found that
        Lesnoy could not grant incentives for 2000 and assessed that RUR 986 Million
        (USD 33 Million) was owed. It also found fault on the basis of a substance over form analysis,
        and a violation due to payment of taxes by Yukos promissory notes in the amount of
        RUR 1.8 Billion (USD 60 Million).336

395. In September 2001, a criminal investigation was initiated to look into whether the managers of
        the Lesnoy trading companies were involved in tax evasion.337

396. In October 2001, a decision was taken to conduct a repeat field tax audit of Investproekt,338 and
        a request was made that the company release the accounting documents of Forest-Oil, Mitra,
        and Vald-Oil.339 The repeat Field Tax Audit Report was issued in November 2001 with respect
        to the legality of the use of the additional tax incentives by the trading companies in the year
        1999.340

397. Later in November 2001, Ms. Irina Golub, Yukos’ Chief Accountant, received an e-mail from
        Mr. V.N. Kartashov, a general director of Yukos. The e-mail contained a document itemizing
        in tabular format, all of the information that Mr. Kartashov had regarding investigations into
        trading companies across the ZATOs and other low-tax regions.341 It identified, in a column
        entitled “Risks”, a criminal case “in connection with tax evasion” for the four Lesnoy entities
        and nine Trekhgorny entities. The document also noted that office personnel in all 13 of those
        firms had been interrogated, including the general directors of some of the Lesnoy companies.
        The entries for the Lesnoy entities also noted that some documents had been seized.

335
       Statement No. 8 on the audit of OOO Mitra, 11 July 2001, Exh. R-297. The RUR to USD exchange rate used here is
       approximate, based on a rate of 30:1.
336
       Internal Tax Ministry Statement No. 8 (Vald-Oil), 11 July 2001, Exh. R-298. The RUR to USD exchange rate used
       here is based on a rate of 30:1.
337
       Decree on institution and initiation of criminal proceedings (against Managers of Business Oil, Forest Oil, Mitra, and
       Vald-Oil in relation to payment of taxes by Yukos promissory notes), 3 September 2001, Exh. R-376.
338
       Report No. 04-14/11-1, 22 February 2002, Exh. R-304 (referring to Decision No. 04-14/11 on the conduct of a repeat
       field tax audit of Investproekt, 13 October 2001).
339
       Report No. 04-14/11-1, 22 February 2002 ¶ 2.3.1, Exh. R-304 (referring to request of 16 October 2001from tax
       authorities to Investproekt for accounting documents of Forest-Oil, Mitra, and Vald-Oil).
340
       Repeat Field Tax Audit Report No. 04-14/11 of OOO Investproekt, 9 November 2001, Exh. R-2250.
341
       E-mail from Ms. Golub to Mr. Kartashov, 23 November 2001, Exh. R-3338.




                                                          - 145 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 166 of 617




398. In December 2001, Ms. Golub drafted a letter to be used as a template by one or more of the
        directors of the Lesnoy trading companies regarding the investigation into the use of
        promissory notes and sent it to Mr. D.V. Gololobov, Deputy Head of Yukos’ Legal
        Department.342 Later, Mr. V.G. Aleksanyan, the Head of the Legal Department, wrote to
        Ms. Golub regarding her draft letter, asking that in correspondence with the authorities, no
        reference be made to the tax incentives granted by Lesnoy.343 Respondent argued during the
        Hearing that this demonstrates knowledge of and intent to conceal wrongdoing by Yukos.344
        Claimants answered that the document merely notes that the tax incentives were not at issue in
        the investigation (only the use of promissory notes to pay taxes was), and that Mr. Aleksanyan
        was simply asking Ms. Golub not to bring up an issue that was not being investigated.345

399. In December 2001, the tax authorities decided “to conduct additional control activities in
        respect of Investproekt.”346

400. In January 2002, the criminal investigation of the directors of the Lesnoy trading companies
        was terminated because the investigation had not determined that a crime was committed. The
        report stated that “there is no constitution of a crime,” and “tax payments in non-monetary form
        cannot indicate the intention of tax evasion.”347 The document also concludes that the head of
        the Lesnoy Administration, Mr. A.I. Ivannikov, believed at the time that tax payments by
        promissory notes were legal and that his actions and the actions of Lesnoy officials relating to
        granting of tax benefits should be considered as exceeding their authority and as negligent.348

401. However, a few days later, that decision was reversed.349 The reason then given was that no
        “legal assessment was conducted during the preliminary investigation as to whether the
        selection by the [trading companies] of such a knowingly illegal method of tax payment
        involving intentional overpayment of charged taxes and subsequent refund of surplus sums to


342
       Draft letter regarding investigation into use of promissory notes, undated, Exh. R-415.
343
       E-mail from Mr. Aleksanyan to Ms. Golub, 14 December 2001, Exh. R-3244.
344
       Transcript, Day 18 at 34–35.
345
       Transcript, Day 20 at 61.
346
       Report No. 14/11-1, 22 February 2002, Exh. R-304 (referring to Decision No. 04-15/10 to conduct additional control
       activities on Investproekt, 17 December 2001).
347
       Decree on termination of criminal case no. 135070 (in part), 16 January 2002, Exh. R-377.
348
       Ibid.
349
       Decree on the Reversal of the Decree to Discontinue Criminal Case No. 135070, 1 February 2002, Exh. R-381.




                                                           - 146 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 167 of 617




        the accounts of these same companies in real monetary form could be considered as ‘another
        method’ of tax avoidance . . . .”350

402. Ultimately though, the Tribunal notes that the investigation was suspended because, in the
        words of the resolution, “all possible investigative actions have been taken in the absence of an
        accused.”351 The resolution noted that “this type of tax crime should be assessed as a tax
        evasion scheme by making advance payments for taxes of future periods,” and that “[h]ere a
        mandatory condition is the fact that the advance payment is made in non-monetary form.”352
        The resolution concluded that it was not possible to determine who among the directors of the
        trading companies or who in the Municipal Department of the City of Lesnoy actually
        committed a crime.353 Claimants stressed, in their Closing Statement, that no further action was
        taken.354 In this connection, the Tribunal recalls that Mr. Khodorkovsky and Mr. Lebedev were
        ultimately convicted, inter alia, for tax evasion, including in relation to the trading companies’
        use of promissory notes to pay taxes in Lesnoy.355

403. In the period between the reversal and the suspension of the criminal case regarding the
        promissory notes, the report on additional control measures against Investproekt for 1999 was
        released.356 It considered that Business-Oil was not entitled to tax benefits in 1999, as it “was
        carrying out its business within ZATO Lesnoy as a matter of form only.”357 The report also
        considered that the other Lesnoy companies were not entitled to tax benefits in 1999. The
        report estimated their tax liabilities on the basis of Business-Oil as a “similar taxpayer”.358

404. The report assessed the value of the tax benefits that it concluded had been improperly granted
        at approximately RUR 5.3 Billion (USD 177 Million). However, no assessment or decision

350
       Ibid., p. 3.
351
       Resolution on Suspension of a Preliminary Investigation Due to Failure to Establish an Individual to be Accused, 4
       March 2002, Exh. R-378.
352
       Ibid.
353
       Ibid.
354
       Transcript, Day 16 at 224 (“There was no court decision issued on any of these, to our knowledge; and nothing has
       been filed by the Respondent to the contrary. . . In particular, none of the directors or the officials of the City of
       Lesnoy were convicted, in absentia or otherwise. So these are just the decrees rendered by the prosecution in relation
       to these facts in relation to the investigation.”)
355
       Judgment in the Name of the Russian Federation, Meshchansky District Court of the City of Moscow, 16 May 2005,
       p. 57, Exh. R-379.
356
       Report No. 04-14/11-1, 22 February 2002, Exh. R-304.
357
       Ibid., p. 2.
358
       Ibid., p. 4.




                                                          - 147 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 168 of 617




        was issued on the basis of this report to recoup the funds, which could have occurred any time
        up until 31 December 2002, before becoming time barred.359 No assessment was issued during
        the subsequent ten-month period against Investproekt.

405. The Tribunal notes that, in March 2002, Mr. Dmitry Maruev, Yukos’ Deputy Financial
        Manager, e-mailed M. U. Barbarovich and V. M. Zhuravlev and asked that they clean their
        e-mail folders and servers of references to a number of companies, some of which (“Alebra,
        Greis, Business Oil, Vald Oil, Kverkys [sic], Kolrein, Mitra, Muskorn, Nortex”) had been
        merged into Investproekt.360

406. Around this time, a demand requesting enforcement of a tax debt against Investproekt in the
        amount of RUR 25 Million (USD 833,000) was sent by the Ministry of Taxes and Levies for
        Chernyshevsk District to Bailiffs in the Chita region. It was returned by the bailiffs who
        considered this matter to be outside of their jurisdiction since, when the debt was incurred, the
        company was located in Kirov.                  The bailiffs also noted that Investproekt’s executive
        S. A. Verketin still resided in Kirov, and supplied his address.361

407. In April 2002, a decision was issued not to hold Investproekt liable for tax offenses in 2000.
        Rather, it proposed to collect taxes but not fines as offenses were “discovered after the
        completion of their reorganization.”362              It assessed the taxes owed at RUR 11.985 Billion
        (approximately USD 400 Million).363 Two months later, a decision was issued by the Federal
        Arbitrazh Court for the North West District in the Pribrezhnoye case, which found (on nearly
        identical facts to those relied upon in the decision against Investproekt) that the tax authorities
        had acted in breach of the Russian Tax Code.364 Claimants argued that this decision explains, at
        least in part, the reason why the tax assessment against Investproekt was never collected. In




359
       Ibid.; see also Claimants’ Post-Hearing Brief ¶ 63, n.136.
360
       D. L. Maruev e-mail to M. U. Barbarovich and V.M. Zhuravlev, 15 March 2002, Exh. R-4040. The e-mail listed the
       following companies: Alebra, Belz, Business-Oil, Vald-Oil, Greis, Kverkys, Kolrein, Mitra, Muksar, Muskron,
       Nortex and Flander.
361
       Letter from Acting Senior Court Bailiff L.M. Lobanova to the Head of the Interdistrict Inspectorate No. 4 of the
       Ministry of Taxes and Levies for Chernyshersk District, Exh. R-306.
362
       Decision No. 02-11/1/1, 2 April 2002 p. 8, Exh. R-303.
363
       Ibid. p. 7.
364
       Pribrezhnoye,, Exh. C-1278. See also Claimants’ Post-Hearing Brief ¶¶ 68–70.




                                                           - 148 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 169 of 617




        their Post-Hearing Brief, Claimants submit that “in the non-political circumstances that
        prevailed in 2002, the assessment would not have survived court review.”365

408. However, in August 2003, a decision was issued relating to the activities of the Investproekt
        companies in the year 2000.                The taxes owing were assessed at RUR 11.985 Billion
        (USD 400 Million); and this time, the authorities decided that they would also fine
        Investproekt, adding an additional approximate amount of RUR 2.4 Billion (USD 84
        Million).366 It is not clear to the Tribunal as to whether this assessment was ever paid.367 The
        Tribunal notes that the basis for reversing the April 2002 decision (i.e., the decision not to hold
        the company liable) was not explained in the August 2003 decision.


                                   Business-Oil

409. Business-Oil was registered by order of the head of the Administration of the Town of Lesnoy,
        on 30 December 1997, with RUR 10,000 capital. It was founded by Special Project OOO
        (holding 5 percent of the shares) and Rasin OOO (holding 95 percent of the shares).

410. In February 1998, Business-Oil and the Lesnoy Town Administration concluded an investment
        agreement, which granted incentives in relation to 17 different types of taxes and required
        payment of 5 percent of tax benefits granted by the administration to an off-budgetary fund.368
        This agreement was later supplemented in 2000, and provided additional incentives in relation
        to eight additional taxes.369

411. In November 1999, a desk audit was conducted. The audit report confirmed the validity of the
        application of the additional tax incentives granted.370 The following month, a resolution of the
        tax authorities was issued which lead to an audit regarding compliance with the tax laws of the

365
       Claimants’ Post-Hearing Brief ¶ 69.
366
       Decision No. 2.6-23 of the Department of the Ministry of Taxes and Levies of the Russian Federation for the Chita
       Region and Agynsky Butyatsky Autonomous District, 8 August 2003, Exh. R-305. The RUR to USD exchange rate
       used here is approximate, based on a rate of 30:1.
367
       Transcript, Day 20 at 85.
368
       Memorandum on the results of the audit of the legality of additional tax incentives granted to Mitra, Business-Oil and
       Forest-Oil in Lesnoy for 1998 and 9 months of 1999, Exh. R-294 and 2000 Decision, Exh. C-104 (referring to
       Agreement No. 10 Between the Lesnoy Town Administration and OOO Business-Oil, 9 February 1998).
369
       2000 Decision, Exh. C-104 (referring to Agreement No. 4 Between the Lesnoy Town Administration and OOO
       Business-Oil, 28 January 2000).
370
       Memorandum on the results of the audit of the legality of additional tax incentives granted to Mitra, Business-Oil and
       Forest-Oil in Lesnoy for 1998 and 9 months of 1999 p. 5, Exh. R-294 (referring to a desk audit report No. 3,
       1 November 1999).




                                                          - 149 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 170 of 617




        Russian Federation and a verification of the terms and conditions under which additional tax
        incentives were granted between 1 January 1998 and 1 October 1999.371 In March 2000, a
        Field Tax Audit Report was issued regarding the lawfulness of the additional incentives for
        1998 and nine months of 1999.                The report concluded that “no infringement of the tax
                                           372
        legislation was established.”

412. As set out above, however, an internal memorandum of the Tax Ministry questioned the
        entitlement of Business-Oil to the tax benefits, on the basis that it might not have been fulfilling
        the requirements of the legislation in substance (as opposed to form). This, and other concerns
        about the entity’s conduct, led to a criminal investigation inquiring into whether the managers
        of the Lesnoy entities were involved in tax evasion.                      The investigation was ultimately
        suspended, but charges relating to the Lesnoy entities figured in the case by the Russian
        prosecutor against Messrs. Lebedev and Khodorkovsky in 2003.

413. On 5 March 2001, Business-Oil was merged into Perspektiva Optimum, which later merged
        with Alkhanai Trading to become Investproekt.

414. Tax reassessments would ultimately be made against Yukos for Business-Oil for the year
        2000,373 totaling RUR 1,620,951,772 (approximately USD 56,698,046).374


                               Forest-Oil

415. Forest-Oil was registered by Resolution 1409 of the Lesnoy Town Administration on
        31 December 1997.          In February 1998, Forest-Oil and the Lesnoy Town Administration
        concluded an investment agreement which granted incentives in relation to 16 different types of
        taxes and required payment of 5 percent of tax benefits to an off-budgetary fund.375




371
       Ibid. (referring to Resolution No. 175, 16 December 1999).
372
       See Statement No. 6 on the legality of the use by OOO Business-Oil in 1999 and 2000 of additional tax incentives
       granted by the head of the municipal formation of Town of Lesnoy No. 6, 29 June 2001, p. 4, Exh. R-295 (referring to
       Field Tax Audit Report No. 31, 7 March 2000).
373
       2000 Decision, p. 65, Exh. C-104.
374
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004
375
       Memorandum on the results of the audit of the legality of additional tax incentives granted to Mitra, Business-Oil and
       Forest-Oil in Lesnoy for 1998 and 9 months of 1999, p. 5, Exh. R-294 (referring to Agreement No. 11 Between the
       Lesnoy Town Administration and OOO Forest-Oil, 9 February 1998).




                                                          - 150 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 171 of 617




416. In November 1999, a desk audit was performed which confirmed the validity of the additional
        tax incentives granted.376

417. In December 1999, a resolution of the tax authorities was issued leading to a field tax audit for
        1 January 1998 to 1 October 1999, in order “to inspect its compliance with the tax laws of the
        Russian Federation and check the terms and conditions under which additional tax incentives
        were granted.”377 In May 2000, a Field Tax Audit Report was issued, which found no violation
        in relation to tax incentives, but found a VAT shortfall of RUR 107,142 [USD 3,500].378 In
        June 2000, a decision in relation to that report held Forest-Oil liable for a 20% fine of
        RUR 21,428 (USD 700).379

418. As set out above, however, an internal memorandum of the Tax Ministry questioned the
        entitlement of Forest Oil to the tax benefits because it might not have been fulfilling the
        requirements of the legislation in substance (as opposed to form). This, and other concerns
        about the entity’s conduct, led to a criminal investigation inquiring into whether the managers
        of the Lesnoy entities were involved in tax evasion.                    The investigation was ultimately
        suspended, but, as noted earlier, charges relating to the Lesnoy entities figured in the case by
        the Russian prosecutor against Messrs. Lebedev and Khodorkovsky in 2003.

419. On 5 March 2001, Forest-Oil was merged into Perspektiva Optimum, which later merged into
        Investproekt.

420. No tax reassessments would be made against Yukos for Forest-Oil.


                               Mitra

421. Mitra was registered by Resolution 1355 of the Lesnoy Town Administration on 22 December
        1997. It was founded by OOO Alan, with registered address in Kaluga and a 95 percent
        shareholding, and OOO Special Project, with registered address in Lesnoy and a 5 percent
        shareholding. As of 15 June 2000, OOO Neftemarket-2000, with registered address in Moscow



376
       Ibid. p. 3 (referring to Desk Audit Report No. 5, 1 November 1999).
377
       Ibid. (referring to Resolution No. 174, 6 December 1999).
378
       Decision No. 36, 8 June 2000, Exh. R-2260 (referring to Field Tax Audit Report No. 36, 5 May 2000). The RUR to
       USD exchange rate used here is approximate, based on a rate of 30:1.
379
       Ibid. The RUR to USD exchange rate used here is approximate, based on a rate of 30:1.




                                                          - 151 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 172 of 617




        (and itself 100% owned by OAO Yukos Oil Company) held 100 percent of the shares in
        Mitra.380

422. In February 1998, Mitra and the Lesnoy Town Administration concluded an investment
        agreement,381 which was supplemented in a further agreement in January of 2000, in which the
        administration provided additional incentives in respect of 8 types of taxes.382

423. In October 1999, a Field Tax Audit Report was issued,383 followed by a desk audit report384
        which confirmed the validity of the additional tax incentives granted. In December 1999, a
        resolution of the tax authorities was issued which led to the conduct of a field tax audit for
        1 January 1998 to 1 October 1999 “to inspect its compliance with the tax laws of the Russian
        Federation and check the terms and conditions under which additional tax incentives were
        granted.”385 In May 2000, the Field Tax Audit Report was released. It found no violation in
        relation to tax incentives and only a profit tax error in the amount of RUR 3,122,000
        (USD 105,000).386

424. As set out above, however, an internal memorandum of the Tax Ministry questioned the
        entitlement of Mitra to the tax benefits, on the basis that it might not have been fulfilling the
        requirements of the legislation in substance (as opposed to form). This, and other concerns
        about the entity’s conduct, led to a criminal investigation inquiring into whether the managers
        of the Lesnoy entities were involved in tax evasion.                      The investigation was ultimately
        suspended, but, as noted earlier, charges relating to the Lesnoy entities figured in the case by
        the Russian prosecutor against Messrs. Lebedev and Khodorkovsky in 2003.

425. On 5 March 2001, Mitra was merged into Perspektiva Optimum, which later merged into
        Investproekt.




380
       2000 Decision, pp. 72–73, Exh. C-104.
381
       Memorandum on the results of the audit of the legality of additional tax incentives granted to Mitra, Business-Oil and
       Forest-Oil in Lesnoy for 1998 and 9 months of 1999, p. 1, Exh. R-294 (referring to Agreement No. 7,
       3 February 1998).
382
       2000 Decision, pp. 73–74, Exh. C-104 (referring to Agreement No. 3, 28 January 2000)
383
       Ibid. p. 1 (referring to Field Tax Audit Report No. 76, 8 October 1999).
384
       Ibid. (referring to Desk Audit Report No. 4, 29 October 1999).
385
       Ibid. (referring to Resolution No. 249, 16 December 1999).
386
       Statement No. 8 on the audit of OOO Mitra (referring to Field Tax Audit Report No. 249, 5 May 2000).




                                                           - 152 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 173 of 617




426. Tax reassessments would later be made against Yukos for Mitra for the year 2000,387 totaling
        RUR 27,124,001 (USD 948,750).388


                               Vald-Oil

427. Vald-Oil was registered by Resolution 1441 of the Lesnoy Town Administration on
        30 December 1997. It was founded by OOO Neftemarket, holding 5 percent of the shares, and
        OOO Al-Gem holding 95 percent of the shares.

428. In February 1998, Vald-Oil and the Lesnoy Town Administration apparently concluded an
        investment agreement389 which granted incentives in relation to 16 different types of taxes and
        required payment of 5% of the value of the tax benefits to an off-budgetary fund. It was
        supplemented by a further agreement in January of 2000.390

429. As set out above, however, concerns that Vald Oil might not have been fulfilling the
        requirements of the legislation in substance (as opposed to form), and other concerns about the
        entity’s conduct, led to a criminal investigation inquiring into whether the managers of the
        Lesnoy entities were involved in tax evasion. The investigation was ultimately suspended, but,
        as noted earlier, charges relating to the Lesnoy entities figured in the case by the Russian
        prosecutor against Messrs. Lebedev and Khodorkovsky in 2003.

430. On 5 March 2001, Vald-Oil was merged into Perspektiva Optimum, which later merged into
        Investproekt.

431. Tax reassessments would eventually be made against Yukos for Vald-Oil for the year 2000,391
        totaling RUR 1,362,216,581 (USD 47,647,943).392




387
       2000 Decision, p. 76, Exh. C-104.
388
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004, Exh. R-334.
389
       2000 Decision, p. 6, Exh. C-104 (referring to investment agreements with, among others,Vald Oil).
390
       2000 Decision, p. 80, Exh. C-104 (referring to Agreement No. 2, 28 January 2000).
391
       Ibid., p. 83.
392
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004, Exh. R-334.




                                                          - 153 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 174 of 617




                               ii.    Trekhgorny

432. Far less information is available to the Tribunal regarding the activities of the trading
        companies in the Trekhgorny ZATO than is available for those in Lesnoy. What the Tribunal
        has gleaned from the record is that in March 2001, some of the companies based in Trekhgorny
        (“Greys”, “Nortex”, “Alebra”, “Muskron”, “Flander”, “Kolrein” and “Kverkus”) merged into
        Torgovaya Kompaniya Alkhanay or Alkhanai Trading on 16 March 2001, a company
        registered in Aginskoye, in the Aginsko-Buryatsky region.393 Two months later, in May 2001,
        Alkhanai Trading merged with Perspektiva Optimum (the company created from the Lesnoy
        trading companies) into Investproekt, a company initially based in Kirov, but which then
        moved to the Chita Autonomous Region as of August 2001.394


                               Grace

433. Grace was registered by Order 1316 of the Trekhgorny Municipal Administration on 25 July
        1997.      On 15 March 2001, it merged into Alkhanai Trading, which later merged into
        Investproekt. Grace was founded by ZAO Trigor (holding 5 percent of the shares) and OOO
        Bark (holding 95 percent).395

434. On 11 March 1998, Grace and the Trekhgorny Municipal Administration concluded an
        investment agreement, supplemented by another agreement on 21 January 2000, under which
        incentives in relation to 17 different types of taxes were granted.396

435. Tax reassessments would eventually be made against Yukos for Grace for the year 2000,397
        totaling RUR 20,247,201 (USD 708,212).398



393
       Judgment in the Name of the Russian Federation, Meshchansky District Court of the City of Moscow, 16 May 2005,
       p. 48, Exh. R-379.
394
       See various documents on Alkhanay and Perspektiva Optimum, 20 May 2001, Exh. R-302; see also Information letter
       from the Inspectorate of the Ministry of Taxes and Levies of the Russian Federation for Shabalinskiy District,
       20 August 2001, Exh. R-301 (noting Investproekt’s change of address to the Chita Region). For further information as
       to Investproekt, see paragraphs 389–408 above.
395
       2000 Decision, p. 27, Exh. C-104.
396
       Ibid., pp. 29–30 (referring to Tax Agreement No. 95, 11 March 1998 and a supplementary tax agreement dated
       21 November 2000).
397
       Ibid. pp. 30–31.
398
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004.




                                                         - 154 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 175 of 617




                               Muskron

436. Muskron was registered by Order 1433 of the Municipality of Trekhgorny on 12 August 1997.
        It was founded by Trigor ZAO, with an address in Trekhgorny and a 5 percent shareholding, as
        well as Vokit OOO, with an address in Moscow and a 95 percent shareholding. Vokit bought
        out Trigor in April of 2000, before selling a 2 percent stake to Neftetrade (itself wholly owned
        by OAO Yukos Oil Company at the time of Neftetrade’s incorporation). As of September
        2000, Neftetrade had acquired 100 percent of Muskron’s shareholding.399

437. On 12 July 1998, Muskron and the Trekhgorny Municipal Administration concluded an
        investment agreement, with a supplementary agreement on 12 January 2000, which granted
        incentives in relation to eight different types of taxes.400

438. On 15 March 2001, Muskron was merged into Alkhanai Trading, which then merged into
        Investproekt.401

439. Tax reassessments would eventually be made against Yukos for Muskron for the year 2000,402
        totaling RUR 7,398,094 (USD 258,772).403


                               Norteks (aka Nortex)

440. Norteks was registered by Order 1435 of the Municipality of Trekhgorny 12 August 1997.404 It
        was founded by Trigor ZAO, with an address in Trekhgorny and a 5 percent shareholding, as
        well as OOO Corvet, with an address in Kaluga and a 95 percent shareholding. OOO
        Neftetrade bought Trigor’s shares in Norteks in June of 2000.405

441. On 6 February 1998, Norteks and the Trekhgorny Municipal Administration concluded an
        investment agreement, supplemented by another agreement on 21 January 2000, granting


399
       2000 Decision, p. 36–37, Exh. C-104.
400
       Ibid. pp. 39–40 (referring to Tax Agreement No. 67, 12 July 1998 and a supplementary tax agreement dated
       12 January 2000).
401
       Ibid., p. 35.
402
       Ibid., p. 41.
403
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004.
404
       2000 Decision, p. 14, Exh. C-104.
405
       Ibid., p. 15.




                                                       - 155 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 176 of 617




        incentives in relation to eight different types of taxes and requiring payment of five percent of
        tax benefits into administration’s account.406

442. On 15 March 2001, Norteks was merged into Alkhanai Trading, which then merged into
        Investproekt.407

443. Tax reassessments would eventually be made against Yukos for Norteks for the year 2000,408
        totaling RUR 3,152,537,572 (USD 110 Million).409


                               Kverkus (aka Quercus)

444. Kverkus was registered by Order 1315 of the Administration of the Municipality of Trekhgorny
        on 25 July 1997.410 It was founded by Trigor ZAO, with an address in Trekhgorny and a
        5 percent shareholding, as well as OOO Cadet, with an in Kaluga and a 95 percent
        shareholding. OOO Neftetrade bought out Trigor’s shares in Kverkus in June of 2000.411

445. On 26 August 1997, Kverkus and the Trekhgorny Municipal Administration concluded an
        agreement granting tax benefits to the trading companies.412 On 11 March 1998, a second
        investment agreement was concluded,413 which was supplemented on 21 January 2000,414
        granting incentives in relation to eight types of taxes.

446. On 15 March 2001, Kverkus was merged into Alkhanai Trading, which then merged into
        Investproekt.




406
       Ibid., pp. 17–18 (referring to Tax Agreement No. 9, 6 February 1998 and a supplementary tax agreement dated
       21 January 2000).
407
       Ibid., p. 14.
408
       Ibid., p. 19.
409
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004, Exh. R-334.
410
       2000 Decision, p. 49, Exh. C-104.
411
       Ibid., p. 50.
412
       Ibid., p. 52 (referring to Tax Agreement No. 51, 26 August 1997).
413
       Ibid. (referring to Tax Agreement No. 103, 11 March 1998).
414
       Ibid. (referring to supplementary tax agreement, 21 January 2000).




                                                          - 156 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 177 of 617




447. Tax reassessments would eventually be made against Yukos for Kverkus for the year 2000,415
        totaling RUR 3,031,422,237 (USD 106,033,825).416


                                Colrain (aka Kolrein)

448. Colrain was registered by Order 1431 of the Municipality of Trekhgorny on 12 August 1997.417
        It was founded by Trigor ZAO, with an address in Trekhgorny and a 5 percent shareholding, as
        well as OOO Bark, with an address in Kaluga and a 95 percent shareholding.418 In November
        1999, Trigor sold its five percent share in Colrain to Polinep ZAO.419 Neftetrade then bought
        that five percent share in June 2000.420

449. In August 1997, Colrain and the Trekhgorny Municipal Administration concluded an
        agreement granting tax benefits to the company.421 In February 1998, a second investment
        agreement was concluded,422 which was amended once in 1999423 and supplemented in January
        2000,424 granting incentives in relation to eight types of taxes.

450. On 15 March 2001, Colrain merged into Alkhanai Trading, which then merged into
        Investproekt.425

451. No tax reassessments would be made against Yukos for Colrain.


                                Virtus

452. Virtus was registered by Order 1116 of the Head of the Municipality of Trekhgorny on 27 June
        1997.426 It was founded by OOO Akra OOO, with an address in Kaluga and a 90 percent

415
       Ibid., p. 55.
416
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004.
417
       2000 Decision, p. 57, Exh. C-104.
418
       Ibid., p. 58.
419
       Ibid.
420
       Ibid.
421
       Ibid., p. 59 (referring to Tax Agreement No. 44, 20 August 1997).
422
       Ibid. (referring to Tax Agreement No. 8, 6 February 1998).
423
       Ibid. (referring to amendments on 12 July 1999).
424
       Ibid. (referring to a supplementary tax agreement, 21 January 2000).
425
       Ibid., p. 58.




                                                          - 157 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 178 of 617




        shareholding, OOO Depor with an address in Moscowand a 5 percent shareholding, and Trigor
        ZAO, with an address in Trekhgorny and a 5% shareholding. Akra bought Trigor’s shares in
        Virtus in March of 2000.427

453. On 6 February 1998, Virtus and Trekhgorny Municipal Administration concluded an
        investment agreement,428 which was supplemented on 21 January 2000.429 It granted incentives
        to the company in relation to eight different types of taxes, and required payment of five
        percent of tax benefits into the administration’s account.

454. Tax reassessments would eventually be made against Yukos for Virtus for the year 2000,430
        totaling RUR 2,359,700 (USD 82,538).431


                 (d)      Sarov

455. Sarov is a ZATO in the Russian Federation.


                               i.      Yuksar

456. Yuksar was registered by the Sarov Municipal Administration on 13 October 1997.432 Yuksar
        was founded by Yukos with a 49 percent shareholding and YNG with a 51 percent
        shareholding.433 Yuksar was ultimately liquidated.434

457. On 23 October 1997, Yuksar and the Sarov Municipal Council concluded an agreement
        granting tax incentives to the company.435 It was supplemented on 12 March 1998.436



426
       2000 Decision, p. 68, Exh. C-104.
427
       Ibid. pp. 67–68.
428
       Ibid., pp. 68–69 (referring to Tax Agreement No. 7, 6 February 1998).
429
       Ibid., p. 69 (referring to supplementary tax agreement, 21 January 2000).
430
       Ibid., p. 69.
431
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004.
432
       2000 Decision, p. 20, Exh. C-104
433
       Ibid.
434
       Ibid (referring to extract from Unified State Register of Legal Entities on 3 November 2003).
435
       Ibid., p. 22 (referring to Tax Agreement No. 74/01-17, 23 October 1997).
436
       Ibid. (referring to supplementary tax agreement, 12 March 1998).




                                                           - 158 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 179 of 617




458. Tax reassessments would ultimately be made against Yukos for Yuksar for the year 2000,437
        totaling RUR 95,875,131 (USD 3,353,544).438


                 (e)    Baikonur

459. As noted earlier, Baikonur is a low-tax region, leased by the Russian Federation from
        Kazakhstan during the Soviet era for use as a spaceport and aerospace facility.439


                               i.      Mega-Alliance (aka Mega-Alyans)

460. Mega-Alliance was registered by Order 00411 of the Administration of Baikonur on
        21 December 2000.440 The sole founder of the company was Ms. Gulnara Karimovna Zhukova,
        who was also a founder of Macro-Trade. The share capital of the company was RUR 8,350. On
        28 April 2001, amendments were made to the Charter of Mega-Alliance OOO under which the
        sole shareholder of Mega-Alliance became Dorchestergate Trading Limited, a company
        registered in Cyprus.441

461. As noted in paragraph 351 above, Ms. Zhukova later denied any connection to Mega-Alliance
        or Macro-Trade, both of which she was alleged to have founded.                                  A letter dated
        24 October 2003 from the Russian Federation Federal Security Service’s Directorate for
        Moscow Space Forces indicated that Ms. Zhukova had denied any connection with Mega-
        Alliance and reiterated her story about the theft of her passport.442

462. In 2001, Mega-Alliance and the Administration of Baikonur entered into a tax agreement.443 It
        granted benefits to the company in relation to four types of taxes and required payments to the
        value of three percent of their tax benefits into the “target funds” for the development of the
        region of Baikonur.


437
       Ibid., p. 23.
438
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004.
439
       Transcript, Day 14 at 54.
440
       2001 Decision, p. 112, Exh. C-155.
441
       Ibid.
442
       2001 Decision, p. 112, Exh. C-155 (referring to Letter No. 31/4664 from the Russian Federation Federal Security
       Service’s Directorate for Moscow Space Forces, 24 October 2003).
443
       Ibid., p. 114 (referring to contract between the Administration of Baikonur and Mega-Alliance, 24 October 2003).




                                                          - 159 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 180 of 617




463. Later that year, the decision of the Government of the Russian Federation No. 747 on the
        Approval of the Rules for the Granting of Tax Privileges to Organisations and Individual
        Businessmen Registered on the Territory of the City of Baikonur was issued.444 It granted
        permission to the head of the Administration of Baikonur to grant tax privileges, provided that
        the individual businessman or organization had “the presence of premises, of property,
        industrial or other complexes necessary for the manufacture of goods, works or services and
        situated on the territory of the city of Baikonur (including the Baikonur Spaceport); [and] the
        realisation of the products, works or services on the territory of the city of Baikonur (including
        the Baikonur Spaceport).”445              It also cautioned that previously offered tax benefits that
        conflicted with the decision would be considered terminated from the date the decision entered
        into force.446

464. In 2002, Mega-Alliance merged into Regionalniy Finansoviy Tsentr or Regional Finance
        Center.447 Regional Finance Center was liquidated in July of that year.448

465. Tax reassessments would later be made against Yukos for Mega Alliance for the year 2001,449
        totaling RUR 1,276,878,700 (USD 43,646,213).450


                  (f)    Evenkia

466. The Evenkia autonomous district is located in Eastern Siberia.451 At the time that the trading
        companies were established in Evenkia, the district had a federally financed budget, fuel
        supplies were difficult to secure, and unemployment was very high.452 Of all the regions of the




444
       Decision of the Government of the Russian Federation No. 747, 25 October 2001, Exh. C-411.
445
       Ibid.
446
       Ibid.
447
       Notice on record with the unified state register of legal entities of entry on dissolution of legal entity, 19 April 2002,
       Exh. R-3158.
448
       Information Extract No. 29170, 27 March 2012, Exh. R-3159.
449
       2001 Decision, p. 115, Exh. C-155.
450
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 29.2552:1, the official exchange
       rate on 2 September 2004.
451
       Yukos Review, Issue # 3, May–June 2001, p. 8, Exh. C-9.
452
       Ibid., p. 5.




                                                            - 160 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 181 of 617




        Russian Federation, Evenkia ranked last in average per capita volume of industrial production,
        and 69th (out of 89) in terms of per capita income.453

467. In September 1998, Law No. 108 of the Evenkia Autonomous Region “On the Particularities of
        the Tax System in the Evenkiysky Autonomous District” was enacted,454 which offered
        incentives to investors in the region. Pursuant to Article 6(1)(d) of the law, preferential tax
        rates were offered to participants in investment projects on the territory of the Evenkiysky
        Autonomous District. Pursuant to Article 5(1) of the Law, commercial and noncommercial
        entities were deemed participants of investment projects which are created in the territory of the
        region, regardless of the origin of their capital, and can include those with foreign legal entities
        as shareholders, so long as they were participants in programs for the social and economic
        development of the region and investment projects.

468. In May 2001, Mr. Boris Zolotarev, the former head of Yukos R&M, became governor of
        Evenkia. After his election, he spoke about the positive effects he hoped Yukos investment
        could have on the region.455


                              i.      Evoil

469. Evoil was registered by Order 158 of Administration of Ilimpiisk District of Evenkia on
        23 May 2002.456       It was founded by Fiana Ltd., a limited liability company registered in
                      457
        Cyprus.

470. In June 2001, pursuant to an order of the Administration of the Evenkiysky Autonomous
        District, “On Application of Special Tax Regime,” Evoil was granted targeted tax benefits.458 It
        also enjoyed benefits under Law 108 of 24 September 1998, including corporate profit tax
        payable at a reduced rate of 10.5 percent and a property tax rate of 0 percent.459



453
       Ibid., p. 8.
454
       Law of the Evenkiysky Autonomous District No. 108, 24 September 1998, Exh. C-412.
455
       Yukos Review, Issue # 3, May–June 2001, p. 5, Exh. C-9.
456
       2002 Decision, p. 146, Exh. C-175.
457
       Ibid.
458
       Resolution of the Federal Arbitrazh Court for the Moscow District No. KA-A40/3222-05, p. 30, Exh. C-184 (referring
       to Order No. 53 of the Administration of the Evenkiysky Autonomous District, 29 June 2001).
459
       2002 Decision, p. 154, Exh. C-175.




                                                         - 161 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 182 of 617




471. Tax reassessments would later be made against Yukos for Evoil for the years 2002460 and
        2003,461 totaling RUR 203,629,769 (approximately USD 6,787,659).462


                               ii.      Interneft

472. Interneft was registered by Order 333 of Administration of Ilimpiisk District of Evenkia on
        23 October 1998.463           The sole founder of Interneft is OOO Netax Advertising Agency,
        registered in Kalmykia.464 It was founded with an initial capital of RUR 8,400, split into
        100 ordinary registered shares with nominal value of RUR 84.465

473. On 26 July 1999, Interneft was awarded a “Certificate of assignment of the status of Participant
        in the investment programs of the Evenki Autonomous Region.”466

474. Tax reassessments would later be made against Yukos for Interneft for the year 2000,467
        totaling RUR 224,642 (USD 7,858).468


                               iii.     Petroleum-Trading (Trion)

475. Petroleum-Trading was registered under the name Trion by Order 146-p of the Administration
        of Ilimpiisk District of Evenkia on 25 April 2000. Its new name was registered by Order 193 of
        Administration of Ilimpiisk District of Evenkia on 31 May 2000.469 Petroleum-Trading was
        founded by Neftepromstroiservice ZAO and Neftepromburservice ZAO, each holding




460
       Ibid. pp. 154–55.
461
       2003 Decision, p. 142, Exh. C-190.
462
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. The RUR to USD exchange rate used here is approximate,
       based on a rate of 30:1.
463
       2000 Decision, p. 76, Exh. C-104
464
       Ibid.
465
       Ibid.
466
       Ibid., p. 77.
467
       Ibid., p. 78.
468
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 28.5892:1, the official exchange
       rate on 14 April 2004.
469
       2000 Decision, p. 55, Exh. C-104.




                                                       - 162 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 183 of 617




        50 percent of the share capital. Both parent companies were registered in Kalmykia.470 The
        founding capital was RUR 8,400.

476. Pursuant to Order No. 53 of the Administration of the Evenkiysky Autonomous District of
        29 June 2001, “On Application of Special Tax Regime,” Petroleum-Trading was granted
        targeted tax benefits.471

477. Tax reassessments would be later made against Yukos for Petroleum-Trading for the years
        2000472 and 2002473 totaling RUR 90,943,100 (approximately USD 3,031,437).474


                               iv.    Ratibor

478. Ratibor was registered by Order 168-p of the Administration of the Evenkiysky Autonomous
        District on 21 July 2000.          It was registered with tax authorities and state authorities on
        14 February 2001.475 It was founded by Ms. Svetlana Ivanovna Vorobyeva, with a share capital
        of RUR 10,000.476 On 25 May 2001, 100 percent of the share capital of Ratibor OOO was
        transferred to Dunsley Limited, a company registered in Cyprus. Dunsley was, in turn, owned
        by Doluen Limited, with 99.9 percent of the shares, registered in Cyprus, and Abakus
        (Nominis) Limited, with 0.1 percent of the shares, also registered in Cyprus.477

479. Pursuant to Order No. 53 of the Administration of the Evenkiysky Autonomous District of
        June 2001, “On the application of the Special Taxation Procedure,” Ratibor was granted
        targeted tax benefits.478

480. Tax reassessments would later be made against Yukos for Ratibor for the years 2001479 and
        2002,480 totaling RUR 13,870,285,714 (approximately USD 462,342,857).481

470
       Ibid., p. 55–56.
471
       Resolution of the Federal Arbitrazh Court for the Moscow District No. KA-A40/3222-05 p. 30, Exh. C-184 (referring
       to Order No. 53 of the Administration of the Evenkiysky Autonomous District, 29 June 2001).
472
       2000 Decision, p. 57, Exh. C-104.
473
       2002 Decision, p. 163–64, Exh. C-175.
474
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. The RUR to USD exchange rate used here is approximate,
       based on a rate of 30:1.
475
       2001 Decision, p. 82, Exh. C-155.
476
       Ibid.
477
       Ibid.
478
       Ibid., p. 99.




                                                        - 163 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 184 of 617




                              v.      Yukos Vostok Trade

481. Yukos Vostok Trade was registered by Decision 36 of the Interdistrict Inspectorate of the
        Russian Ministry of Taxes and Levies No. 3 for the Evenki Autonomous District,
        9 February 2004.482 It was founded by OAO Yukos Oil Company with 70 percent of the
        shareholding and Yukos-Import with 30 percent of the shareholding.483

482. While there is no reference to any tax agreements on the record, the Tribunal notes that Field
        Tax Audit Report No. 52/996 refers to Yukos Vostok Trade making use of the beneficial tax
        system in Law 108 of 24 September 1998, with a preferential income tax rate reduced to 13
        percent and a preferential property tax rate of 0 percent.484

483. Tax reassessments would later be made against Yukos for Yukos Vostok Trade for 2004,485
        totaling RUR 8,660,507,192 (USD 311,337,530).486


        5.      Tribunal’s Observations

484. Having set out the evidence regarding Yukos’ tax optimization scheme, the Tribunal now
        returns to the question posed at the beginning of this chapter: does the record which it has
        reviewed at length demonstrate that Yukos was merely taking advantage of the legislation in
        place in the low-tax regions of the Russian Federation to minimize its taxes, or was there an
        element of abuse in its activities that made them illegal under Russian law?

485. The Tribunal first reiterates that the evidence reveals—indeed, the Parties are agreed—that the
        Russian Federation had enacted (in the late 1990s and early 2000s) a legislative structure to
        encourage investment in some of its low-tax regions, and that Yukos (as did many other
        Russian companies, including other oil companies) sought to take advantage of that legislative

479
       Ibid., pp. 99–100.
480
       2002 Decision, p. 146, Exh. C-175.
481
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. The RUR to USD exchange rate used here is approximate,
       based on a rate of 30:1.
482
       2004 Decision, p. 86, Exh. R-1539.
483
       Ibid.
484
       Field Tax Audit Report No. 52/996, p. 84, 27 December 2005.
485
       2004 Decision, pp. 90–91, Exh. R-1539.
486
       Yukos Tax Reassessment Breakdown, p. 6, Exh. C-1752. RUR to USD calculated at 27.8171:1, the official exchange
       rate on 17 March 2006.




                                                        - 164 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 185 of 617




      structure. As a result, Yukos set up trading companies in various low-tax regions and, where
      required, entered into investment agreements with the local authorities.

486. There is evidence in the record that Mr. Dubov informed the authorities, at least in respect of
      the Yukos trading companies in Mordovia, that Yukos was using the legislative arrangements
      in place to minimize its taxes, and that none of his interlocutors, including the then First Deputy
      of Finance, Alexei Kudrin, formulated any objection. Finally, the Tribunal recalls that few of
      the audits of the trading companies conducted in the regions prior to 2003 ever resulted in any
      tax assessments, and, when they did, the transgressions were generally minor and the
      assessments insignificant.

487. In this connection, the Tribunal notes that Respondent chose not to call any fact witnesses to
      challenge Claimants’ fact witnesses. That is unfortunate. The Tribunal would have been
      assisted, for example, by the evidence of Mr. Kudrin who, after his meeting with Mr. Dubov,
      became Minister of Finance and Deputy Prime Minister of the Russian Federation. Instead,
      Respondent has relied solely on the documentary record to build its case that Yukos’ activities
      in the low-tax regions were abusive and illegal. As Claimants pointed out during the Hearing,
      and as the Tribunal found out for itself, the documentary record compiled and presented by
      Respondent to the Tribunal, while significant, is selective and unfortunately incomplete.

488. The record does reveal, however, that Yukos had some concerns about the legality of its trading
      operations in certain low-tax regions, notably in Lesnoy and Trekhgorny. As recorded in the
      previous section of the present chapter, there were audit reports and memoranda that attest to an
      investigation of whether the practices of some of the Yukos trading companies in those regions
      were abusing the system, since those companies were acting in conformity with the relevant
      legislation in form only and not in substance.

489. The Tribunal recalls that, in November 2001, after an extensive corporate restructuring had
      taken place (as a result of which the trading entities in Lesnoy and Trekhgorny ceased to exist,
      and were merged into entities created in other regions), Ms. Irina Golub, the Chief Accountant
      of Yukos, received a document by e-mail from Mr. Kartashov, a general director of Yukos.
      That document referred specifically to the ongoing investigations in Lesnoy and Trekhgorny by
      the Federal Tax Police Service of Sverdlovsk as part of a criminal case “in connection with tax
      evasion” by the Yukos entities and to the fact that office personnel in Lesnoy and Trekhgorny
      (including, in the case of the Lesnoy entities, the General Directors) had been interrogated by
      tax authorities.


                                                - 165 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 186 of 617




490. The Tribunal notes here that the Investigation Group of the Russian Federation’s Federal Tax
        Police Agency for the Sverdlovsk Region was the organization that had issued the “Decree on
        the institution and initiation of criminal proceedings”487—looking into the payment of taxes
        with promissory notes—three weeks earlier.

491. During the Hearing and in its Post-Hearing Brief, Respondent referred many times to the
        Kartashov e-mail, as well as the following evidence, which, it argued, demonstrated that Yukos
        knew that its scheme was unlawful and “took pains to conceal its scheme from the
        authorities”:488

         x    Firstly, the 22 April 2002 memorandum from Mr. Maly, in which he expressed his concern
              that if Yukos’ affiliation with the trading entities were included in the SEC filing, that
              information “may be used by the Russian tax authorities to challenge [Yukos’] approach to
              certain transactions and, consequently, will result in substantial tax claims against the
              [c]ompany”;489

         x    Secondly, the e-mail from Mr. Maruev (from the Treasury Department) to employees in
              2002 to “clean your folders” of references to the Lesnoy trading companies;490

         x    Thirdly, the internal memorandum from Yukos’ General Counsel Mr. Aleksanyan advising
              Ms. Golub not to draw the attention of the authorities to the use of tax incentives in the
              ZATO Lesnoy, since “an investigation into the legality of the use of the incentives . . .
              entails substantial risks, including under criminal law”;491




487
       Decree on the institution and initiation of criminal proceedings of the Investigation Group of the Russian Federation’s
       Federal Tax Police Agency for the Sverdlovsk Region, 3 September 2001, Exh. R-376.
488
       Respondent’s Post-Hearing Brief ¶¶ 29, 38.
489
       E-mail from P.N. Maly to O.V. Sheyko, 14 May 2002, Exh. R-184.
490
       E-mail from D.L. Maruev to M.U. Barbarovich and V.M. Zuravlev, 15 March 2002, cc’ing V.A. Podzarov,
       Exh. R-4040.
491
       Letter from V.G. Aleksanyan to I.Y. Golub dated 14 December 2001. Exh. R-3244. Professor Gaillard argued during
       the hearing that Mr. Aleksanyan was simply saying “don't …rub an issue which has not been opened.” Transcript,
       Day 20 at 61. The full discussion can be found at Transcript, Day 20 at 57–62. Professor Gaillard suggested that
       Ms. Golub:
             “…receives a letter from Aleksanyan, who is the boss two steps above her. . . which says, ‘You’—I summarise
             it, and then we will go to the details. Basically it says, ‘You stupid, you don't understand that it's not about the
             tax incentives, it's about the promissory notes. So why do you prepare a letter talking about tax incentives?
             That's not at issue here.’” Transcript, Day 20 at 58–59.




                                                            - 166 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 187 of 617




         x     Fourthly, Mr. Khodorkovsky’s refusal in early 2003 to sign Yukos’ registration statement
               (for a confidential SEC filing) over concerns for his “personal risks”;492 and

         x     Fifthly, a “blackline” version of Yukos’ draft filing for the SEC sent on 23 July 2002 by
               Natalia Kuznetsova of PwC to Stephen Wilson (at that time Yukos’ international tax
               director), proposing that the following be deleted from an earlier draft: “We use tax
               optimization mechanisms that may be challenged by the tax authorities” and “If a number
               of regional tax incentives we have used to reduce our tax burden are successfully
               challenged by the Russian tax authorities, we will face significant losses associated with
               the additionally assessed amount of tax and related interest and penalties.”493

492. In their reply to the evidence regarding concern over potential tax liabilities, Claimants submit
        that the Russian tax authorities “were notorious for displaying arbitrary and unpredictable
        interpretations of law generating significant and unquantifiable risks for taxpayers[,] risks that
        Yukos and other Russian oil companies . . . disclosed in their financial statements.”494 They
        conclude that references by Yukos’ management to such risks “[could not] reasonably be
        construed as evidencing ‘knowledge’ or ‘belief’ that Yukos’ tax structure was unlawful.”495
        Claimants also argue that Respondent’s reliance on Mr. Maly’s e-mail was “much ado about
        nothing,” and that “it is clear that any risks were neither a problem, nor an obstacle, to Yukos
        pursuing the NYSE listing because Yukos continued to draft its Form F-1 into mid-March
        2003, nearly a year after this memo.”496 Claimants also note that, in respect of the blackline
        filing that it “in fact states—in a sentence the Respondent omits to quote—that Yukos’
        management ‘believe the tax mechanisms used by us comply.’”497


492
       E-mail from M.B. Khodorkovsky to O.V. Sheiko, 20 February 2003, Exh. R-3611.
493
       Facsimile transmission from Natalia Kusnetsova to Stephen Wilson dated 23 July 2002, pp. 133–34, Exh. R-1477.
494
       Claimants’ Post-Hearing Brief ¶ 15.
495
       Ibid.
496
       Reply ¶ 111.
497
       Reply ¶ 199 (emphasis in original). As Claimants note, the full paragraph reads:
       “Our results of operation have historically benefited significantly from the use of tax [illegible] mechanisms. We
       believe that the tax mechanisms used by us comply with relevant [illegible]. If, however, we phase out all of our
       current tax optimization mechanisms due to changes to the tax regime or other reasons, we may have to pay
       significantly higher taxes in the future, and our result of operation may be adversely affected. In addition, if the
       various initiatives we have used to reduce our tax burden are successfully challenged by the Russian tax authorities we
       may face significant losses associated with the assessed amount of tax underpaid and related interest and penalties,
       which would have a material impact on our financial condition and results of operation.”
       Ibid. n.337.




                                                           - 167 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 188 of 617




493. In fact, the record before the Tribunal reveals that Lukoil, Rosneft, Sibneft and TNK, in their
        financial statements in those years, all referred to the significant risks associated with the
        varying interpretation by the Russian tax authorities of the Russian tax legislation.498

494. Although the Yukos entities in Lesnoy and Trekhgorny were only a small part of Yukos’ tax
        optimization scheme,499 it is clear to the Tribunal that these entities were being investigated as
        of late 1999 by the tax authorities in these regions, and were suspected of being “shams”. It is
        the view of the Tribunal that the legal basis for this scrutiny was the jurisprudential “good faith
        taxpayer” doctrine (“substance over form” or “anti-abuse” doctrine) and that, within the senior
        management of Yukos, there were a number of persons who were aware that Yukos was
        vulnerable in respect of certain facets of its tax optimization scheme.

495. As for the existence of the “good faith taxpayer” doctrine in Russia at that time, the Tribunal
        has reviewed the evidence of Mr. Konnov, the only expert on Russian tax law to give evidence
        in these proceedings, who appeared on behalf of Respondent. Although Claimants elected not



498
       See Consolidated Financial Statements of OAO Lukoil, 30 May 2003, Exh. C-371; Consolidated Financial Statements
       of OJSC Rosneft Oil Company (hereinafter “Rosneft”), 24 June 2005, C-373; Consolidated Financial Statements of
       AO Siberian Oil Company, 21 June 2002, C-384;and Consolidated Financial Statements of TNK International
       Limited, 15 May 2003, C-390. To illustrate, the following is the warning contained in Lukoil’s financial statements
       for the period ending 31 December 2002
       “The taxation systems in the Russian Federation and other emerging markets where Group companies operate are
       relatively new and are characterized by numerous taxes and changing legislation, which may be applied retroactively
       and is sometimes unclear, contradictory, and subject to interpretation. Often, differing interpretations exist among
       different tax authorities within the same jurisdictions and among taxing authorities in different jurisdictions. Taxes are
       subject to review and investigation by a number of authorities, which are enabled by law to impose severe fines,
       penalties and interest charges. Such factors may create taxation risks in the Russian Federation and other countries
       where Group companies operate substantially more significant than those in other countries where taxation regimes
       have been subject to development and clarification over long periods.
       ...
       The regional organizational structure of the Russian Federation tax authorities and the regional judicial system can
       mean that taxation issues successfully defended in one region may be unsuccessful in another region. The tax
       authorities in each region may have a different interpretation of similar taxation issues. There is however some degree
       of direction provided from the central authority based in Moscow on particular taxation issues.
       The Group has implemented tax planning and management strategies based on existing legislation at the time of
       implementation. The Group is subject to tax authority audits on an ongoing basis, as is normal in the Russian
       environment, and, at times, the authorities have attempted to impose additional significant taxes on the Group.
       Management believes that it has adequately met and provided for tax liabilities based on its interpretation of existing
       tax legislation. However, the relevant tax authorities may have differing interpretations and the effects could be
       significant.”
       Exh. C-371, pp. 30–31 (emphasis added).
499
       The tax assessments levied against Yukos in connection with the trading entities in Lesnoy and Trekhgorny, which
       related only to the 2000 tax year (since the entities ceased to exist in early 2001), represented approximately 19
       percent of the total tax assessment against Yukos for 2000, and represented under 3 percent of the total of all tax
       assessments against Yukos (for the years 2000–2003). See Yukos Tax Reassessment Breakdown, Exh. C-1752.




                                                            - 168 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 189 of 617




        to present their own expert on Russian tax law,500 in their written submissions, they referred to
        and criticized various Russian court decisions, which they contended did not support
        Respondent’s interpretation.            As noted earlier in the present chapter, the Tribunal has
        considered Claimant’s submissions.

496. The Tribunal has also considered the lengthy cross-examination of Mr. Konnov by Professor
        Gaillard. The Tribunal recalls again that Professor Gaillard did not challenge Mr. Konnov on
        the existence of the anti-abuse doctrine but rather sought Respondent’s expert’s
        acknowledgement that the Yukos tax optimization scheme complied with the existing
        legislative framework in Russia as well as in the regions. The Tribunal notes in this context
        that Claimants stipulate to the existence of the “bad-faith taxpayer” doctrine in their Reply, but
        argue that “neither it nor any other alleged judicial doctrine had previously been applied as in
        the Yukos case.”501

497. As a matter of background fact, the record before the Tribunal is clear that, at the time of the
        issuance on 29 December 2003 of the Field Tax Audit Report, the “bad faith taxpayer”
        doctrine, although it had not yet gelled in the way that it did in 2006 in the ruling of the
        Supreme Arbitrazh Court in Resolution No. 53, had been recognized and applied in some
        Russian court decisions.

498. The Tribunal recalls that the eminent Russian tax lawyer, Mr. Sergey Pepeliaev, who later
        represented Yukos in the Russian tax litigation, wrote in 2002 that the doctrine existed and that
        “[i]f it appears that parties act both unreasonably and not in good faith then this constitutes a
        ground for reassessment of the parties’ tax liabilities . . . .”502

499. Beyond this conclusion, which the Tribunal considers a matter of fact, the Tribunal does not
        need to determine, as a matter of Russian law, whether any of the activities of the Yukos

500
       The Tribunal notes that in the RosInvestCo arbitration, the claimant presented a Russian tax law expert,
       Professor Maggs. The Russian Federation relied on Mr. Konnov. The RosInvestCo tribunal stated that it found
       Professor Maggs’ evidence more persuasive, but it also acknowledged that Professor Maggs did not dispute the
       existence of the “bad faith taxpayer” doctrine. See RosInvestCo ¶¶ 432, 495, Exh. C-1049. Similarly, in the Quasar
       arbitration, claimants presented a Russian tax law expert, Professor Stephan, as well as an expert on the Russian Civil
       Code, Professor Mozolin, who opined, inter alia, on the distinction between good and bad faith taxpayers. See
       Quasar, ¶ 66, 77–78, Exh. R-3383. As in this arbitration, and the RosInvestCo arbitration, the Russian Federation’s
       expert on Russian law was Mr. Konnov. As in the RosInvestCo case, the debate turned primarily on the application to
       Yukos of the anti-abuse doctrine, as opposed to the existence of the anti-abuse doctrine.
501
       Reply ¶ 217, n.368.
502
       S.G. Pepeliaev, Commentary to the Ruling of the Constitutional Court Ruling of the Russian Federation No. 138-O of
       July 25, 2001, Exh. R-352.




                                                           - 169 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 190 of 617




      trading companies in the low tax regions in 2000, 2001, 2002, and 2003 in the implementation
      of its tax optimization scheme were in violation of this doctrine. As noted in the introduction to
      the present chapter, it is not the role of the Tribunal in the present arbitrations to sit as a court
      applying Russian law.

500. However, the Tribunal does note that that, in using the available tax benefit legislation in the
      Russian Federation, the Yukos group principally availed itself of facilities under the laws of
      Mordovia, the region which represents approximately 78 percent of the 2000 to 2004 tax
      reassessments against Yukos.       Another significant portion of the reassessments relates to
      Evenkia, while the tax reassessments in ZATO Lesnoy and Trekhgorny represent less than
      three percent of the total. It is important for the Tribunal to stress that the bad faith doctrine
      was never used against Yukos prior to December 2003.

501. The Tribunal will now turn in the next chapter of its Award to the central question which it
      posed at the beginning of the present chapter: were the December 2003 and the subsequent tax
      assessments a legitimate exercise by the Russian Federation of its prerogative to enforce its tax
      laws or were they, as Claimants argued, a mere fabrication of massive tax claims against Yukos
      serving as instruments which allowed the premeditated expropriation of all Yukos assets by the
      State after the arrest of Mr. Lebedev and Mr. Khodorkovsky.

502. As will be seen, a crucial consideration for the Tribunal concerns the remedy or sanction of
      “re-attribution”, and the application of the “re-attribution” remedy to revenues (for purposes of
      profit tax) without a corresponding “re-attribution” of tax filings for purposes of VAT. Also
      considered in the next chapter is the legitimacy of associated fines levied against Yukos,
      notably the “willful offender” and “repeat offender” fines.


B.    THE TAX ASSESSMENTS STARTING IN DECEMBER 2003

      1.    Introduction

503. This chapter addresses the next crucial facet in the factual narrative of the present arbitration,
      namely the tax assessments that were issued against Yukos starting in December 2003, the
      manner in which those assessments were made and how they were reasoned and, eventually,
      enforced.

504. This important review will lead the Tribunal to consider a central question in this case: were
      the December 2003 and subsequent tax assessments covering the tax years 2000 to 2004 a


                                                 - 170 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 191 of 617




        legitimate exercise by the Russian Federation of its prerogative to enforce its tax laws
        (Respondent’s position), or were they a fabrication of massive tax claims against Yukos that
        allowed the premeditated expropriation of all Yukos assets by the State (Claimants’ position)?
        Or does the record rather suggest that the truth lies somewhere between these two positions:
        could certain taxes in the assessments have legitimately been imposed while others plainly not,
        and were the consequential sanctions inexorably exacted by Russian authorities so excessively
        disproportionate as to require an answer to the question described as key by counsel for the
        claimant in Quasar, Mr. O.T. Johnson: “Why would Russia have treated Yukos as it did if its
        purpose was to collect taxes?”503

505. A closely related question concerns the arrests in 2003 of Messrs. Lebedev and Khodorkovsky:
        were the arrests and the subsequent convictions of Messrs. Lebedev and Khodorkovsky (not
        once but twice), again, a legitimate exercise by the Russian Federation of its prerogative to
        enforce its criminal and tax laws (Respondent’s position), or were they a politically motivated
        attack on these individuals as part of a broader campaign to confiscate the rich assets of Yukos
        (Claimants’ position)?

506. The issues raised by the arrests and convictions of Messrs. Lebedev and Khodorkovsky, and of
        other individuals connected with Yukos, and the alleged harassment of Yukos management,
        are addressed in detail in Chapter VIII.C of the present Award. The Tribunal considers it
        opportune however at this time to comment upon some of the circumstances surrounding those
        arrests.

507. Claimants have argued that the arrests, and the broader campaign of harassment and
        intimidation of the leading officers and employees of Yukos, were prompted by
        President Putin’s      desire     to    retaliate    against    Mr. Khodorkovsky          and     Yukos      for
        Mr. Khodorkovsky’s political and social activism, which Claimants allege became intolerable
        for President Putin subsequent to a public encounter between the two men in February 2003.

508. Specifically, on 19 February 2003, in the context of a meeting between President Putin and a
        group of the country’s most powerful businessmen, a televised confrontation between President
        Putin and Mr. Khodorkovsky took place.504 According to the testimony of Dr. Illarionov,


503
       Quasar ¶ 41, Exh. R-3383.
504
       Video recording and transcript of the meeting of the members of the Union of Industrialists and Entrepreneurs with
       President V. Putin held in the Ekaterininsky Hall, Kremlin, 19 February 2003, Exh. C-1396.




                                                         - 171 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 192 of 617




        President Putin had scheduled regular meetings between himself and the business leaders,
        facilitated by the Russian Union of Industrialists and Entrepreneurs headed by Mr. Arkady
        Volsky.505

509. At the meeting, which would, according to Dr. Illarionov, turn out to be the last of its kind,
        Mr. Khodorkovsky made a presentation on the topic of corruption. In his presentation, he
        asserted that corruption in Russia was rife, and that it was “rotting the Russian Government and
        the Presidential Administration.”506 While no names were mentioned, relates Dr. Illarionov,
        President Putin did discuss the acquisition of Severnaya Neft by Rosneft, for which Rosneft had
        paid approximately USD 622 million. Dr. Illarionov states that “[i]t was widely considered that
        the price was exaggerated and that a portion of the price represented kickbacks to State
        officials.”507

510. Dr. Illarionov concludes as follows in relation to his understanding of the significance of that
        encounter:

                 During his closing remarks, the President turned to Mr. Khodorkovsky and stated that
                 everyone knew how various assets, including Yukos, were acquired. The President
                 indicated to Khodorkovsky that “I return the ball in your corner” . . . . Later, it became
                 clear that this was a signal to the governing elites that Mr. Khodorkovsky could be attacked
                 and he was no longer tolerated.508

511. At the same time, the Tribunal’s findings in the previous chapter of the present Award suggest
        that well before the clash between President Putin and Mr. Khodorkovsky at the February 2003
        meeting, the tax authorities of the Russian Federation were challenging the tax benefits claimed
        by some Yukos entities (in ZATO Lesnoy) and, in a few cases, had made findings adverse to
        those trading companies. Moreover, the Tribunal recalls, as it did in the previous chapter, that
        Messrs. Khodorkovsky and Lebedev were ultimately convicted, inter alia, for tax evasion in
        relation to Yukos’ activities in Lesnoy, in which (the record revealed) the authorities had
        suspended an investigation into the commission of tax crimes because, according to the
        conclusions in the relevant Resolution, it was not then possible to determine who actually
        committed the crimes.



505
       Illarionov WS ¶ 23.
506
       Ibid. ¶ 29.
507
       Ibid. (citation omitted).
508
       Ibid. ¶ 31.




                                                       - 172 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 193 of 617




512. Respondent emphasized Yukos’ earlier tax problems in its comments on the February 2003
        meeting.      Respondent noted in its Closing Statement that President Putin publicly told
        Mr. Khodorkovsky that the political protection or assistance he was allegedly receiving from
        the Kremlin until that meeting would be removed, and he added that “we’ve talked about taxes
        before.”509

513. Based on the extensive record that was presented to it, the Tribunal is unable to accept the
        proposition that the February 2003 confrontation created Yukos’ tax problems and that, but for
        such a confrontation, Yukos would have avoided any and all tax reassessments against it.
        While this meeting may well have marked a turning point in the relations between Yukos and
        the Russian Federation, as the Tribunal observed in the previous chapter, within the senior
        management of Yukos, and well before February 2003, there were individuals who were aware
        that the company’s tax optimization mechanisms were vulnerable and could be challenged by
        the tax authorities. Some of the evidence presented to the Tribunal also revealed that there was
        at least some awareness within Yukos that a successful challenge to the Yukos tax structure
        would result in “substantial tax claims”510 or “significant losses associated with the additional
        assessed amount of tax and related interest and penalties”511 and possibly even criminal
        liability. At the same time, the Tribunal notes that the tax assessments and decisions against
        Yukos led not just to “substantial tax claims” or to “significant losses” but to its bankruptcy and
        destruction, and to the transfer of the principal assets of Yukos to Rosneft, a company
        controlled by the Russian Federation.

514. The crucial question addressed in this chapter of the Award, therefore, is whether Claimants
        have discharged their burden of proof and established that the tax assessments, and the
        enforcement processes of the Russian Federation which followed, are more consistent with the
        conclusion that they evidence a punitive campaign against Yukos and its principal beneficial
        owners with sanctions entirely disproportionate to the company’s tax liability, rather than with
        the conclusion that they were a legitimate exercise of tax enforcement.



509
       Transcript, Day 18 at 113. Counsel for Respondent interprets this as “I am not going to protect Mr. Khodorkovsky
       anymore. He is on his own.” Ibid. The full quote of the President’s remark is: “We have already discussed it with
       you recently, that your company, for example, has had problems with the payment of taxes.” Transcript of the
       19 February 2003 Meeting, Exh. C-1396.
510
       E-mail from P.N. Maly to O.V. Sheyko, 14 May 2002, Exh. R-184. See paragraph 491 above.
511
       Facsimile transmission from Natalia Kuznetsova to Stephen Wilson, 23 July 2002 p.134, Exh. R-1477. See paragraph
       491 above.




                                                        - 173 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 194 of 617




515. In the Tribunal’s view, it may well be that, while Yukos was vulnerable on some aspects of its
        tax optimization scheme, and possibly even would have faced “substantial tax claims” that
        might have resulted in “significant losses,” principally because of the sham-like nature of some
        elements of its operations in at least some of the low-tax regions, the State apparatus decided to
        take advantage of that vulnerability by launching a full assault on Yukos and its beneficial
        owners in order to bankrupt Yukos and appropriate its assets while, at the same time, removing
        Mr. Khodorkovsky from the political arena.

516. Dr. Illarionov asserts in his witness statement that “various possible justifications for
        Mr. Khodorkovsky’s arrest and Yukos’ dismantlement were tested in the Fall of 2003.”512 He
        then goes on to list fifteen “theories” that, he says, “were gradually created as a smoke screen
        and advanced for public consumption,” including “tax evasion schemes.”513 In other words,
        Yukos’ tax arrangements in certain low-tax regions (some of which, notably in ZATO Lesnoy,
        as related in Chapter VIII.A, were being scrutinized as of 1999 by the tax authorities and were
        suspected of being “shams”) may have served as a plausible pretext for the State apparatus to
        crush Mr. Khodorkovsky and expropriate Yukos.           In this chapter, the Tribunal considers
        evidence that is crucial to its determination of this central issue in the present proceedings. The
        Tribunal observes again that its conclusions in this chapter are only concerned with factual
        findings. The determination of the relevant legal issues under the provisions of the ECT will be
        considered later, in Part X of the Award.


        2.      Chronology of the Tax Assessments and Related Decisions

517. On 29 December 2003, the tax authorities of the Russian Federation issued the first of five tax
        assessments against Yukos based on the alleged abuse by Yukos of its tax optimization scheme.
        These five assessments were:




512
       Illarionov WS ¶ 36.
513
       Ibid.




                                                    - 174 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 195 of 617




                                                                                     Total Amount
                                        Date of Tax               Date of Tax          Assessed
               Tax Year                 Audit Report               Decision          (USD billion)

                                        29 Dec. 2003              14 Apr. 2004
                 2000                                                                     3.48
                                        (Exh. C-103)              (Exh. C-104)

                                        30 June 2004              2 Sept. 2004
                 2001                                                                     4.10
                                        (Exh. R-345)              (Exh. C-155)

                                        29 Oct. 2004              16 Nov. 2004
                 2002                                                                     6.76
                                        (Exh. R-346)              (Exh. C-175)

                                        19 Nov. 2004               6 Dec. 2004
                 2003                                                                     6.10
                                        (Exh. R-1583)             (Exh. C-190)

                                        27 Dec. 2005               17 Mar. 2006
                 2004                                                                     3.74
                                        (Exh. C-200)              (Exh. R-1539)

               Total for Tax Years 2000–2004                                             24.18



518. For each year that the Tax Ministry re-assessed Yukos a Repeat/Field Tax Audit Report and a
        Decision were issued. For ease of reference, in this chapter, each Audit Report and Decision
        will be referred to by the tax year to which it relates. For example, the Tax Ministry audited
        Yukos’ activities in the year 2000.             It issued Field Tax Audit Report No. 08-1/1 on
        29 December 2003 (“2000 Audit Report”). It issued Decision No. 14-3-05/1609-1 to hold the
        taxpayer fiscally liable for a tax offense on 14 April 2004 (“2000 Decision”).

519. In the subsections below, the Tribunal records, for each tax year, the extensive chronology of
        tax assessments and related decisions of the tax authorities, bailiffs and Russian courts. These
        events as such are not disputed by the Parties.


               (a)     The 2000 Decision

520. As noted above, on 29 December 2003, the 2000 Audit Report, was issued.514 It was followed,
        on 14 April 2004, by the 2000 Decision holding the taxpayer liable for a tax offense.515 It
        levied the following amounts in tax arrears:


514
       2000 Audit Report, Exh. C-103.
515
       2000 Decision, Exh. C-104.




                                                        - 175 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 196 of 617




     COMPANY         TAX BENEFITS                 VAT                  TOTAL

    Alta Trade     RUR 2,491,817,840        RUR 467,486,102     RUR 2,959,303,942
                                                                (USD 104 Million)

    Mars XXII      RUR 18,393,165                               RUR 18,393,165
                                                                (USD 643,361)

    Ratmir         RUR 4,336,209,757        RUR 1,770,256,037   RUR 6,106,465,794
                                                                (USD 213,593,448)

    Yukos-M        RUR 14,456,555,351       RUR 9,697,309,558   RUR 24,153,864,909
                                                                (USD 845 Million)

    Yu-Mordovia    RUR 2,210,007,592        RUR 2,045,653,454   RUR 4,255,661,046
                                                                (USD 149 Million)

    Sibirskaya     RUR 240,437,174                              RUR 240,437,174
                                                                (USD 8.4 Million)

    Business-Oil   RUR 1,584,766,950                            RUR 1,620,951,772
                   PN:* RUR 36,184,822
                                                                (USD 56.7 Million)

    Mitra          RUR 27,124,001                               RUR 27,124,001
                                                                (USD 948,750)

    Vald-Oil       RUR 1,304,431,717                            RUR 1,362,216,581
                   PN:* RUR 57,784,864                          (USD 47,647,943)

    Grace          RUR 20,247,201                               RUR 20,247,201
                                                                (USD 708,212)

    Muskron        RUR 7,398,094                                RUR 7,398,094
                                                                (USD 258,772)

    Nortex         RUR 3,152,537,572                            RUR 3,152,537,572
                                                                (USD 110 Million)

    Quercus        RUR 3,031,422,237                            RUR 3,031,422,237
                                                                (USD 106,033,825)

    Virtus         RUR 2,359,700                                RUR 2,359,700
                                                                (USD 82,538)

    Yuksar         RUR 95,875,131                               RUR 95,875,131
                                                                (USD 3. 353,544)



                                       - 176 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 197 of 617




             COMPANY                TAX BENEFITS                          VAT                         TOTAL

            Interneft            RUR 224,642                                                 RUR 224,642
                                                                                             (USD 7,858)**

            Petroleum-           RUR 23,333,365                                              RUR 23,333,365
            Trading                                                                          (USD 816,160)

          * “PN” indicates taxes considered unpaid as they were paid with promissory notes.
          ** Interneft is ultimately removed from this list by the Decision of 26 May 2004, for not being legally
             “interdependent.”516


521. On the same day, 14 April 2004, a tax payment demand was issued to Yukos in the amount of
        RUR 80,179,841,454 (USD 2.8 billion).517 Payment was due just two days later, on 16 April
        2004. Also on 14 April 2004, a related fine was issued, imposing penalties in the amount of
        RUR 19,195,696,780 (USD 671 million).518 Payment of this sum was also due on 16 April
        2004.      The total amount payable within two days by Yukos was thus approximately
        USD 3.48 billion.

522. On 15 April 2004, the Tax Ministry registered its claim with the Moscow Arbitrazh Court.519
        On the same day, a ruling of the Moscow Arbitrazh Court prohibiting Yukos from alienating
        and encumbering “in any way” its assets, including shares and other securities, was issued.520
        Writs of enforcement were also issued.521 On 16 April 2004, a resolution of the bailiffs was
        issued and enforcement proceedings were commenced.522

523. Yukos began parallel proceedings to those initiated by the Tax Ministry, challenging the 2000
        Decision as unlawful.            On 19 May 2004, Judge Cheburashkina granted interim relief
        suspending the effect of the 2000 Decision, pending a judgment on the merits of Yukos’



516
       Decision of the Moscow Arbitrazh Court, Case No. A40-17699-04-09-241, 26 May 2004, Exh. C-116.
517
       Tax Payment Demand No. 14-3-05/1610-8, 14 April 2004, Exh. C-105.
518
       Tax Penalty Payment Demand No. 14-3-05/1611-1, 14 April 2004, Exh. C-106.
519
       Ruling of the Moscow Arbitrazh Court to proceed with a claim, to prepare the case for hearing, and to schedule
       preliminary hearing, Case No. A40-17669/04-109-241, 15 April 2004, Exh. C-107.
520
       Ruling of the Moscow Arbitrazh Court on adoption of interim measures, 15 April 2004, Exh. C-108 (hereainfter
       “April 2004 Injunction”).
521
       Enforcement Writs of the Moscow Arbitrazh Court Nos. 370735, 16 April 2004; 370738, 15 April 2004; 370739,
       16 April 2004; 370740, 16 April 2004, Exh. C-109.
522
       Resolution of Bailiff D.A. Borisoff to initiate enforcement proceeding No. 11/5975, 16 April 2004, Exh. C-110.




                                                          - 177 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 198 of 617




        petition in respect of the lawfulness of the 2000 Decision.523                     In her decision, Judge
        Cheburashkina wrote that the seizure of such assets would “cause significant damage to the
        Applicant’s activities and make it impossible to execute the judicial act” and that “the
        Applicant has presented evidence demonstrating that the consequences indicated in
        Article 90(2) of the RF Arbitrazh Procedure Code might arise, and that serious damage and
        disruption might be caused to production activities.”524

524. On 26 May 2004, Yukos made a motion in the collection proceedings (those initiated by the
        Tax Ministry) to join the Republic of Mordovia in those proceedings.525 The motion was not
        successful. Presumably, Yukos sought the joinder of Mordovia, by far the major focus of its
        trading companies’ activities and investments, in the expectation that Mordovian officials
        would support the legitimacy of Yukos’ tax optimization procedures and attest to the value of
        Yukos’ substantial investments in Mordovia.

525. In the collection proceedings, the court had also denied Yukos’ motion to stay the
        proceedings.526      In a decision dated 26 May 2004 and released on 28 May 2004, Judge
        Grechishkin of the Moscow Arbitrazh Court granted the Tax Ministry’s petition, allowing the
        collection of tax arrears, interest and fines in the amount of RUR 99,375,110,548
        (USD 3.48 billion) pertaining to the 2000 Decision.527

526. Judge Grechishkin found that Yukos had acted in bad faith,528 that the use by the trading
        companies of tax benefits was illegal because it was “not aimed at strengthening the economy
        of the Republic of Mordovia” but rather was used to “evade payment of taxes.”529 The judge
        adopted the same reasoning as the Tax Ministry on the VAT issue, writing that: “In order to
        use its right to the benefit, the taxpayer had to declare its right and confirm its right by
        documents in accordance with the current legislation. . . . The taxpayer—OAO Yukos Oil
        Company—did not declare its desire to use its benefit either in 2000 or later.”530 However, this

523
       Ruling of the Moscow Arbitrazh Court to suspend the effect of Decision No. 14-3-05/1609-1 of 14 April 2004, Case
       No. A40-21839/04-75-276 p. 2, 19 May 2004, Exh. C-112.
524
       Ibid.
525
       Motion to join a third party to the proceeding, Case No. A40-17699-04-09-241, 26 May 2004, Exh. C-115.
526
       Ruling of the Moscow Arbitrazh Court, Case No. A40-17699-04-09-241, 14 May, 2004, Exh. C-111.
527
       Decision of the Moscow Arbitrazh Court, Case No. A40-17699-04-09-241, 26 May 2004, Exh. C-116.
528
       Ibid., p. 14.
529
       Ibid., p. 15.
530
       Ibid., p. 19.




                                                        - 178 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 199 of 617




        judgment could not be executed by the Tax Ministry as the interim relief in the parallel
        proceedings prevented enforcement until a determination of the lawfulness of the 2000
        Decision was made.

527. On 11 June 2004, Judge Cheburashkina, the presiding judge in the case brought by Yukos
        against the lawfulness of the 2000 Decision, was challenged by the Tax Ministry for bias
        towards Yukos in the granting of interim relief on 19 May 2004.531 The Tax Ministry cited
        several reasons as a basis for her removal for bias towards Yukos, including: the allegation that
        the interim measures “did not comply with the principles of justice in a democratic
        constitutional State”;532 the allegation that the judge granted a “recess solely for OAO Yukos
        Oil Company to file a petition to stay proceedings in the [parallel] case to collect tax arrears,
        interest and fines,” which the Tax Ministry saw as “evidence of the Judge’s interest in the
        outcome of the proceedings in favor of the taxpayer”;533 her “behavior” in the preliminary court
        proceedings;534 the allegation that the judge declined the petition of the Tax Ministry to
        abandon these proceedings in favour of the other set of collection proceedings initiated by the
        Tax Ministry;535 and the allegation that the Tax Ministry was not granted extra time to copy
        documents to bring to court.536 The challenge was upheld by the Moscow Arbitrazh Court the
        same day.

528. On 15 June 2004, Judge O.R. Mikhailova, a deputy chair of the Moscow Arbitrazh Court, was
        appointed to replace Judge Cheburashkina.537 On 22 June 2004, Judge Mikhailova set the date
        of 19 July 2004 for the hearing of the merits phase of the case on the lawfulness of the 2000
        Decision. She also directed the Tax Ministry to provide originals of the documents rather than
        photocopies and to organize the documents, including explanations “in order to confirm which
        circumstances they support.”538




531
       Russian Federation Ministry of Taxes and Levies, Challenge to Judge N.P. Cheburashkina, Moscow Arbitrazh Court,
       Case No. 21839/04-76-276, 11 June 2004, Exh. C-117.
532
       Ibid., p. 2 (emphasis in original omitted).
533
       Ibid. (emphasis in original omitted).
534
       Ibid.
535
       Ibid., p. 3.
536
       Ibid., pp. 3–4.
537
       Ruling of the Moscow Arbitrazh Court, Case No. 21839/04-76-276 p. 1, 22 June 2004, Exh. C-119.
538
       Ibid.




                                                        - 179 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 200 of 617




529. In the proceedings to initiate collection of the taxes assessed in the 2000 Decision, on 29 June
        2004, a resolution of the Moscow Arbitrazh Court reduced the amount to be collected to
        approximately USD 3.42 billion.539

530. In a decision dated 23 June 2004 but published on 30 June 2004, the interim measures granted
        by Judge Cheburashkina were annulled by an appeal panel of the Moscow Arbitrazh Court.540
        The court reasoned that as the Tax Ministry had not, at the time of the filing of the request,
        placed any direct collection orders in accordance with Article 46(4) of the Russian Tax Code on
        Yukos’ bank accounts, the interim measures had been granted without the proper basis in
        law.541 It also concluded that there were other specific procedures that could be followed under
        Article 91(1)(5) (in lieu of the interim relief granted under Article 90(2)) that did not require
        interim measures.542

531. Also on 30 June 2004, a resolution of Bailiff Solovyova was issued initiating enforcement
        proceedings.543 The bailiff then issued several more resolutions freezing cash in 16 Yukos bank
        accounts up to the total amount of taxes then due.544

532. On 30 June 2004, the Tax Ministry obtained the reversal of the interim measures and initiated
        enforcement proceedings.             On the same day, the Field Tax Audit Report for 2001 was
                      545
        released.           It assessed taxes, interest, and fines totaling approximately USD 4.1 billion.546

533. On 1 July 2004, another resolution was issued by Bailiff Solovyova limiting Yukos’ rights
        pertaining to securities of 37 production, refining, and research subsidiaries.547




539
       Appeal Resolution of the Moscow Arbitrazh Court, Case No. A40-17699/04-109-241, 29 June 2004, Exh. C-121.
540
       Appeal Resolution of the Moscow Arbitrazh Court, Case No. A40-21839/04-76-276, 23 June 2004, Exh. C-120.
541
       Ibid., p. 4.
542
       Ibid.
543
       Resolution of Bailiff I.D. Soloyvova to initiate enforcement proceeding No. 10249/21/04, 30 June 2004, Exh. C-123.
544
       Resolution of Bailiff I.D. Solovyova to seize monies No. 10249/21/04, 30 June 2004, Exh. C-124.
545
       Repeat Field Tax Audit Report No. 30-3-14/1 (2001), 30 June 2004, Exh. R-345.
546
       Ibid. at 132–33. The results of the audit will be discussed below at paragraphs 545–56, in connection with the Tax
       Ministry decision to which it relates.
547
       Resolution of Bailiff I.D. Solovyova to restrict the rights of the securities owner, 1 July 2004, Exh. C-125; see also
       Memorial ¶ 341.




                                                          - 180 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 201 of 617




534. On 9 July 2004, Bailiff Solovyova issued a resolution for a seven percent enforcement fee for
        the proceedings relating to the 2000 Decision.548 The fee amounted to approximately more than
        RUR 6.8 billion (approximately USD 240 million).

535. On 13 July 2004, further resolutions were issued by the bailiffs to seize Yukos’ 14.5 percent
        stake in Sibneft which had been ordered by the Chukotka Arbitrazh Court as an interim
        measure in those proceedings.549 The Chukotka proceedings had been initiated by Mr. Roman
        Abramovich and they related to disputes following the Yukos–Sibneft aborted merger. The
        Tribunal notes that while this seizure was not directly related to Yukos’ trading companies, as
        will be seen later, it limited the options available to Yukos to satisfy the payment demands it
        was facing.

536. On 14 July 2004, pursuant to another resolution of the bailiffs, 43 ordinary shares and
        13 preferred shares of Yukos in YNG were seized.550 At the same time, a resolution to restrict
        the rights of the securities owner with respect to those shares was issued.551

537. On 16 July 2004, Mr. Steven Theede sent a letter signed by Mr. Bruce Misamore to Mr. Alexei
        Kudrin, then Minister of Finance. In the letter, Yukos petitioned the Ministry, “[i]n
        consideration of the unprecedented nature of the sum that is subject to collection from
        OAO Yukos Oil Company” for deferral of, or the opportunity to pay in installments, the
        amount imposed by the collection decision of the Moscow Arbitrazh Court issued on 28 May
        2004.552 When he gave evidence, Mr. Theede acknowledged that the letter was not perfect (the
        proposals did not have a great deal of detail) but he described the letter as an attempt “to create
        a dialogue [between Yukos and the Russian Federation].”553

538. In the days leading to the Hearing on the Merits in the case brought by Yukos against the
        lawfulness of the 2000 Decision, certain statements were made “in the mass media relat[ing] to



548
       Resolution of Bailiff I.D. Solovyoya No. 10249/21/04 to collect an enforcement fee, 9 July 2004, Exh. C-132;
549
       Resolutions of Bailiff A.Yu. Seregin to initiate enforcement proceedings Nos. 10599/10/04, 10603/10/04,
       10606/10/04, 10607/10/04 and 10608/10/04, 13 July 2004, Exh. C-133; see also Memorial ¶¶ 225–28
550
       Decision of the Moscow Arbitrazh Court, Case No. A40-36718/04-79-445, 6 August 2004, p. 2, Exh. C-141 (referring
       to 14 July 2004 seizure of Yukos’ shares in Yuganskneftegaz (hereinafter “YNG”).
551
       Ibid., p. 1.
552
       Letter from Steven Theede to Alexei Kudrin, signed by Bruce Misamore, 16 July 2004, Exh. C-138.
553
       Transcript, Day 10 at 53–55.




                                                          - 181 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 202 of 617




        the [Yukos] case.”554        The statements apparently included charges of bias against Judge
        Mikhailova because she had previously written articles for a magazine edited by one of Yukos’
        lawyers, Mr. Sergey Pepeliaev.555 While Judge Mikhailova denied the accusations of bias, she
        nonetheless asked to be recused.556 On 19 July 2004, the day Judge Mikhailova had originally
        scheduled a hearing on the lawfulness of the 2000 Decision, the Moscow Arbitrazh Court
        granted her request to resign.557

539. On 6 August 2004, Yukos in-house counsel, Mr. Gololobov, sent a letter to the Chief Bailiff of
        the Russian Federation renewing Yukos’ request to give priority to its 20 percent stake in
        Sibneft above other assets. The same day, the Moscow Arbitrazh Court found that a 14 July
        2004 bailiff’s resolution to seize shares of YNG was issued in error and that, instead, Yukos’
        20 percent stake in Sibneft should have been seized.558 The court ruled that federal law on
        enforcement proceedings outlines a priority order for enforcement against a debtor’s assets and
        enforcement against lower assets is only possible when the higher assets are insufficient to
        settle the debts.559 Since the shares in YNG were of a lower priority than the more liquid
        Sibneft shares, they should not have been seized before the Sibneft shares.560 Claimants
        consider this to be a “rare victory” by Yukos before the Russian courts.561

540. On 12 August 2004, a ruling of the Moscow Arbitrazh Court denied Yukos’ petition to pay by
        installments the amount levied by the Moscow Arbitrazh Court on 28 May 2004.562 Five days
        later, the same court denied Yukos’ application that the bailiffs undertake enforcement against
        its 34.5 percent stake in Sibneft before enforcement against other assets.563

541. In a decision of 18 August 2004 released on 23 August 2004, Yukos’ “rare victory” was
        overturned by the Ninth Arbitrazh Court of Appeal. The court quashed the 6 August 2004

554
       Ruling of the Moscow Arbitrazh Court, Case No. A40-21839/04 76-276, p. 1, 19 July 2004, Exh. C-139 (emphasis in
       original omitted).
555
       Ibid., p. 3.
556
       Ibid., p. 4.
557
       Ibid.
558
       Decision of the Moscow Arbitrazh Court, Case No. A40-36718/04-79-445, p. 26, 6 August 2004, Exh. C-141
559
       Ibid.
560
       Ibid.
561
       Memorial ¶ 349.
562
       Ruling of the Moscow Arbitrazh Court, Case No. A40-1397/04ip-109, 12 August 2004, Exh. C-142.
563
       Decision of the Moscow Arbitrazh Court, Case No. A40-34962/04-94-425, 17 August 2004, Exh. C-143.




                                                       - 182 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 203 of 617




        decision to give priority to enforcement against the 20 percent stake in Sibneft. The court
        found that, as the shares in YNG had been issued by YNG after its privatization, they were not
        related to primary production and thus could be considered as a higher priority.564 As Yukos
        had not discharged its debt “voluntarily,” the court found that the YNG shares were part of an
        inventory legally open to seizure by the bailiffs.565

542. On 30 August 2004, the Tax Ministry sent a letter to Yukos, denying its request for deferred
        payment or payment by installments.566 This letter was in response to the letter intended to
        “create a dialogue” between Yukos and the Russian Federation sent more than a month earlier
        to the Finance Ministry by Messrs. Theede and Misamore.

543. On 9 September 2004, five days after a decision reassessing taxes against Yukos for 2001, a
        letter from the Deputy Head of the Bailiffs Department notified the company that the arbitrazh
        courts had approved seizures against YNG and other production subsidiaries.567

544. On 23 November 2004, the resolution of the Ninth Arbitrazh Court of Appeal of 16 November
        2004 was issued. It affirmed the lawfulness of the 2000 Decision.568


                (b)     The 2001 Decision

545. On 2 September 2004, Decision No. 30-3-15/3 holding the taxpayer fiscally liable for a tax
        offense (“2001 Decision”) was issued.569 It imposed the following taxes:


               COMPANY                TAX BENEFITS                         VAT                       TOTAL

            Alta-Trade              RUR 1,271,988,200            RUR 1,841,854,300           RUR 3,113,842,500
                                                                                             (USD 106,437,232)

            Fargoil                 RUR 1,907,396,200            RUR 3,170,995,300           RUR 5,078,391,500
                                                                                             (USD 173,589,362)




564
       Resolution of the Ninth Arbitrazh Court of Appeal, Case No. 09ȺP-1554/04-ȺK, p. 4, 23 August 2004, Exh. C-144.
565
       Ibid., pp.4–5.
566
       Letter from the Russian Tax Ministry to Yukos, 30 August 2004, Exh. C-145.
567
       Letter from the Russian Ministry of Justice to Yukos, 9 September 2004, Exh. C-146.
568
       Resolution of the Ninth Arbitrazh Court of Appeal, Case No. 09 AP-4078/04-AK, 23 November 2004, Exh. C-147.
569
       2001 Decision, Exh. C-155.




                                                         - 183 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 204 of 617




              COMPANY                 TAX BENEFITS                          VAT                      TOTAL

            Mars XXII               RUR 3,056,000                 RUR 18,009,000               RUR 21,065,000
            (Energotrade)                                                                      (USD 720,043)

            Ratmir                  RUR 1,787,339,500             RUR 4,303,815,200            RUR 6,091,154,700
                                                                                               (USD 208,207,590)

            Yukos-M                 RUR 1,723,009,600             RUR 3,220,911,200            RUR 4,943,920,800
                                                                                               (USD 168,992,890)

            Yu-Mordovia             RUR 8,153,611,600             RUR 8,470,436,200            RUR 16,624,047,800
                                                                                               (USD 568,242,494)

            Mega-Alliance           RUR 1,276,878,700                                          RUR 1,276,878,700
                                                                                               (USD 43,646,213)

            Ratibor                 RUR 5,729,645,900             RUR 7,880,489,700            RUR 13,610,135,600
                                                                                               (USD 465,221,075)


546. It also assessed penalties and fines.

547. On the same day, a tax payment demand with respect to the 2001 Decision was issued in the
        amount of RUR 79,279,641,154 (approximately USD 2.7 billion). Again, payment was due
        two days later, on 4 September 2004.570                 A tax penalty was issued in the amount of
        RUR 40,607,549,520 (approximately USD 1.3 billion), which was also due on 4 September
        2004.571 The total due by 4 September was thus approximately USD 4.1 billion.

548. On 3 September 2004, the petition of the Tax Ministry to collect tax penalties of
        RUR 40,607,549,600 (approximately USD 1.3 billion) was served on Yukos.572

549. On 6 September 2004, a decision was issued by the Interregional Inspectorate of the Tax
        Ministry.573 It ordered the automatic collection of the tax payment demand (approximately
        USD 2.7 billion) from Yukos bank accounts.                   Three days later, on 9 September 2004, a
        resolution of Bailiff Borisov to initiate enforcement proceedings was issued.574 On the same

570
       Tax Payment Demand No. 133, 2 September 2004, Exh. C-156.
571
       Tax Penalty Payment Demand No. 133, 2 September 2004, Exh. C-157.
572
       Russian Tax Ministry Petition to collect tax Penalties, 3 September 2004, Exh. C-158.
573
       Decision No. 52/595, 6 September 2004, Exh. C-159.
574
       Resolution of Bailiff D.A. Borisov to initiate enforcement proceeding No. 13022/11/04, 9 September 2004,
       Exh. C-161.




                                                          - 184 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 205 of 617




        day, there was another resolution of Bailiff Borisov to join the enforcement proceedings for the
        2000 Decision and the 2001 Decision.575

550. On 16 September 2004, Yukos reiterated its petition for voluntary enforcement by the bailiffs
        against its holdings in Sibneft and non-core subsidiaries.576 No response was received from the
        bailiffs.577 The next communication received from the bailiffs was on 20 September 2004,
        when      they    issued     a   resolution      to   collect    a    seven     percent     enforcement       fee—
                                                                                                           578
        RUR 5,549,574,880.78 (approximately USD 190 million) for the 2001 Decision.

551. As it had done in respect of the 2000 Decision, Yukos challenged the lawfulness of the 2001
        Decision. Parallel proceedings were filed by the Tax Ministry for collection of the 2001
        Decision. Judge Dzuba ruled in favour of the Tax Ministry.579

552. On 29 October 2004, a Field Tax Audit Report for 2002 was released.580 It assessed tax arrears,
        interest, and fines of approximately USD 6.8 billion.581

553. On 12 November 2004, Yukos sent a letter to the Judicial Collegium of the Russian Federation
        complaining that its challenge to Judge Korotenko in the proceedings concerning the lawfulness
        of the 2001 Decision had not been heard.582 Yukos had challenged Judge Korotenko for bias,
        on the ground that he had presided over the appeal panel of the Moscow Arbitrazh Court which
        had made a decision in favour of the Tax Ministry in respect of the 2000 Decision.




575
       Resolution of Bailiff D.A. Borisov to join into consolidated enforcement proceedings, 9 September 2004, Exh. C-162.
       The consolidated enforcement proceeding is No. 10249/21/04.
576
       Yukos’ petition for voluntary enforcement of Resolution of 09.09.2004 to initiate an enforcement proceeding and
       Demand of 30.06.2004, Exh. C-163.
577
       Memorial ¶ 354.
578
       Resolution of the Bailiffs, 20 September 2004, Exh. C-164. RUR to USD is approximate, based on an exchange rate of
       29.2552:1, the exchange rate on 2 September 2004, the date that the payment demand was issued.
579
       Memorial ¶ 261.
580
       Field Tax Audit Report No. 52/852, 29 October 2004, Exh. R-346.
581
       The results of the audit will be discussed below at paragraphs 557–65, in connection with the Tax Ministry decision to
       which it relates. RUR to USD is approximate, based on a ratio of 28.6696:1, the exchange rate on 16 November 2004,
       the date the Payment Demand was issued for the 2002 Decision.
582
       Letter from Yukos to Highest Judicial Qualification Collegium of the Russian Federation, 12 November 2004, Exh. C-165.




                                                           - 185 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 206 of 617




554. In a hearing on 16-17 November 2004, Judge Korotenko denied Yukos’ request to join the
        trading companies as third parties in the case against the 2001 Decision.583 Judge Korotenko
        also denied Yukos’ motion to obtain an expert opinion on market prices of oil.584

555. On 18 November 2004, the Moscow Arbitrazh Court, Judge Korotenko presiding, affirmed the
        legality of the two-day time limits set forth in the previous payment demands.585 The court also
        rejected the arguments relating to the “massive” amounts assessed and the short time granted
        for voluntary payment. The court stated that “[t]he tax legislation does not stipulate any
        deadline for voluntary fulfillment by the taxpayer of the demand to pay taxes. Upon issue of
        the Claim, the Inspectorate is entitled to stipulate a time period for its voluntary execution.”586
        This decision of the Moscow Arbitrazh Court was announced on the same day as a one-day
        payment demand, relating to Decision No. 52/896 holding the taxpayer liable for a tax offense
        (“2002 Decision”), became due. It also affirmed the lawfulness of the 2001 Decision.

556. Later, on 16 February 2005, a resolution of the Ninth Arbitrazh Court of Appeal of 9 February
        2005, was issued.           It reduced the overall amount payable for 2001 by approximately
                             587
        USD 150 million.            On 15 November 2005, the Federal Arbitrazh Court for the Moscow
        District also reduced, slightly, the amount of fines payable for 2001.588


                 (c)   The 2002 Decision

557. On 16 November 2004, the 2002 Decision was issued.589 It levied the following taxes:


                 COMPANY              TAX BENEFITS                        VAT                     TOTAL

               Alta-Trade           RUR 64,129,180                                        RUR 64,129,180
                                                                                          (USD 2,236,836)



583
       Moscow Arbitrazh Court, Transcript of the Hearing of 16–17 November 2004 in Moscow, Exh. C-166.
584
       Ibid.
585
       Decision of the Moscow Arbitrazh Court, Case Nos. A40-51085/04-143-92 and A40-54628/04-143-134,
       17 November 2004, Exh. R-252.
586
       Ibid. at 15.
587
       Resolution of the Ninth Arbitrazh Court of Appeal, 16 February 2005, Exh. C-167.
588
       Resolution of the Federal Arbitrazh Court for the Moscow District, Case No. A40-45410/04-141-34, 15 November
       2005, Exh. C-168; see Memorial ¶ 257.
589
       2002 Decision, Exh. C-175.




                                                         - 186 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 207 of 617




              COMPANY               TAX BENEFITS                     VAT               TOTAL

           Fargoil                RUR 20,705,417,918        RUR 34,812,409,914   RUR 55,517,827,832
                                                                                 (USD 1,936,470,262)

           Ratmir                 RUR 167,135,313                                RUR 167,135,313
                                                                                 (USD 5,829,705)

           Yukos-M                RUR 25,947,077            RUR 260,150,323      RUR 286,097,400
                                                                                 (USD 9,979,121)

           Yu-Mordovia            RUR 104,408,575                                RUR 104,408,575
                                                                                 (USD 3,641,787)

           Evoil                  RUR 29,678,098                                 RUR 29,678,098
                                                                                 (USD 1,035,177)

           Petroleum-             RUR 8,145,551             RUR 59,464,184       RUR 67,609,735
           Trading                                                               (USD 2,358,238)

           Ratibor                RUR 260,150,114                                RUR 260,150,114
                                                                                 (USD 9,074,076)

           OAO Yukos Oil                                                         RUR 33,789,516,238
           Company

558. It also assessed penalties and fines.

559. On 16 November 2004, a tax payment demand was issued in the amount of
        RUR 121,771,662,841 (USD 4.2 billion). Payment was due on 17 November 2004—one day
        later.590 Similarly, on 16 November a tax penalty payment demand was issued in the amount of
        RUR 72,040,907,796 (USD 2.5 billion). Payment was also due on 17 November 2004.591 The
        total amount due in one day was approximately USD 6.7 billion.

560. On 18 November 2004, a decision was issued by the Tax Ministry to enforce and collect taxes
        and interest against the assets of Yukos.592 On the same day, Bailiff I.V. Kochergin initiated




590
       Tax Payment Demand No. 175, 16 November 2004, Exh. C-176.
591
       Tax Penalty Payment Demand No. 175/1, 16 November 2004, Exh. C-177.
592
       Decision No. 52/900, 18 November 2004, Exh. C-178.




                                                      - 187 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 208 of 617




        enforcement proceedings and joined these proceedings to the two earlier proceedings for 2000
        and 2001.593

561. On 19 November 2004, Field Audit Report No. 52/907 for 2003 was issued.594 It assessed tax
        arrears, interest and fines of approximately USD 5.9 billion.595

562. On 24 November 2004, Yukos filed a petition for voluntary enforcement of the resolution of
        18 November 2004.596 No response was received from the bailiffs.

563. In relation to the 2002 Decision, there were no parallel proceedings: only a single proceeding
        which addressed both the lawfulness and the collection of the 2002 Decision. In a hearing on
        8-9 December 2004, Yukos challenged Judge D.I. Dzuba, because, it submitted, the judge had
        “already formed a subjective negative opinion about OAO Yukos Oil Company as the guilty
        party” since he had presided over the collections case relating to the 2001 Decision. The
        challenge was never heard by the court.597 On 16 December 2004, Judge Dzuba denied Yukos’
        request to obtain an expert opinion on oil market prices.598

564. Between these events, on 9 December 2004, a resolution of the bailiffs to collect a 7 percent
        enforcement fee, RUR 2,737,919,857.85, was issued.599                      On 23 December 2004, the court
        upheld the lawfulness of the 2002 Decision.

565. On 30 June 2005, a resolution of the Federal Arbitrazh Court was issued, upholding earlier
        court decisions and reducing the overall amount payable for 2002 by USD 45.70 million.600




593
       Resolution of Bailiff I.V. Kochergin to initiate enforcement proceeding No. 15315/4/04 and join it to consolidated
       enforcement proceeding No. 10249/21/04, 18 November 2004, Exh. C-179.
594
       Field Audit Report No. 52/907, 19 November 2004, Exh. R-1583. The results of the audit will be discussed below at
       paragraphs 566–74, in connection with the Tax Ministry decision to which it relates.
595
       RUR to USD is approximate, based on a ratio of 27.8171:1, the exchange rate on 6 December 2004, the date the
       Payment Demand was issued for the 2003 Decision.
596
       Yukos’ petition for voluntary enforcement of Resolution 19.11.2004 to initiate an enforcement proceeding, Exh. C-180.
597
       Transcripts of the Preliminary Hearing of the Moscow Arbitrazh Court, Case Nos. A40-61058/04-141-151 and A40-
       63472/04-141-162, Exh. C-181 and Exh. C-183.
598
       Transcript of the Preliminary Hearing of the Moscow Arbitrazh Court, Case Nos. A40-61058/04-141-151 and A40-
       63472/04-141-162 p. 22, Exh. C-183.
599
       Resolution of Bailiff I.V. Kochergin to collect a seven percent enforcement fee, 9 December 2004, Exh. C-182.
600
       Resolution of the Federal Arbitrazh Court No. KA-A40/3222-5, Case Nos. A40-61058/04-141-151 and A40-
       63472/04-141-162, 30 June 2005, Exh. C-184. See also Memorial ¶ 260 n.384.




                                                           - 188 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 209 of 617




               (d)     The 2003 Decision

566. On 6 December 2004, Decision No. 52/985 holding the taxpayer fiscally liable for a tax offense
        was issued (“2003 Decision”).601 It levied the following taxes:


              COMPANY                 TAX BENEFITS                      VAT                           TOTAL

           Alta-Trade               RUR 26,192,854                                          RUR 26,192,854
                                                                                            (USD 937,901)

           Fargoil                  RUR 22,549,425,143         RUR 47,098,087,287           RUR 69,647,512,430
                                                                                            (USD 2,458,096,703)

           Macro-Trade              RUR 408,084,717            RUR 46,810,044               RUR 454,894,761
                                                                                            (USD 16,288,650)

           Energotrade              RUR 7,147,772,476          RUR 6,826,447,412            RUR 13,974,219,888
           (formerly Mars                                                                   (USD 500,382,062)
           XXII)

           Ratmir                   RUR 8,345,945                                           RUR 8,345,945
                                                                                            (USD 298,848)

           Yukos-M                  RUR 135,201,343                                         RUR 135,201,343
                                                                                            (USD 4,841,224)

           Yu-Mordovia              RUR 34,210,117                                          RUR 34,210,117
                                                                                            (USD 1,224,979)

           Evoil                    RUR 173,951,671                                         RUR 173,951,671
                                                                                            (USD 6,228,777)

           OAO Yukos Oil                                                                    RUR 1,773,658,844
           Company

567. It also assessed penalties and fines.

568. On       6 December       2004, a     tax   payment       demand       was   issued   in   the   amount   of
                                                      602
        RUR 101,464,118,510 (USD 3.6 billion).              Payment was due one day later, on 7 December
        2004. A tax penalty payment demand was also issued on 6 December 2004, in the amount of
        RUR 68,939,326,976 (USD 2.4 billion).603 Payment of this amount was also due one day later,

601
       2003 Decision, Exh. C-190.
602
       Tax Payment Demand No. 186, 6 December 2004, Exh. C-191.
603
       Tax Penalty Payment Demand No. 186/1, 6 December 2004, Exh. C-192.




                                                     - 189 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 210 of 617




        on 7 December 2004. The total due one day after the payment demands were issued was
        approximately USD 6 billion.

569. On 8 December 2004, a resolution of the Tax Ministry was issued to enforce and collect taxes
        and interest against Yukos’ assets.604 The following day, Bailiff Kochergin issued a resolution
        which initiated enforcement proceedings, and joined them to the previous enforcement
        proceedings.605

570. On 16 December 2004, Yukos again petitioned for voluntary enforcement only against assets of
        first priority, and requested that the bailiffs not collect an enforcement fee.606

571. The Tribunal notes that, on 31 January 2005, an Interpol “Red Notice” was issued against
        Mr. Vladimir Dubov, who at this time was living in Israel. It noted that he was “accused of
        budgetary funds misappropriation.”607

572. On 28 April 2005, the decision was issued by the Moscow Arbitrazh Court608 reducing the
        overall amount payable for 2003 by approximately USD 2.6 million.

573. The Tribunal also notes that, on 16 May 2005, in another Russian court Messrs. Khodorkovsky
        and Lebedev were convicted of tax evasion and embezzlement.609

574. On 5 December 2005, the Federal Arbitrazh Court for Moscow issued a resolution affirming a
        small reduction of fines for 2003 by a lower court.610




604
       Resolution No. 52/999 of the Tax Ministry’s Interregional Inspectorate for Major Taxpayers No. 1, 8 December 2004,
       Exh. C-193.
605
       Resolution of Bailiff I.V. Kochergin to initiate enforcement proceeding No. 16305/4/04 and join it to consolidated
       enforcement proceeding No. 10249/21/04, 9 December 2004, Exh. C-194.
606
       Yukos’ petition for voluntary enforcement of the Resolution of 9 December 2004 to initiate an enforcement
       proceeding, 16 December 2004, Exh. C-195.
607
       Interpol Wants YUKOS V. Dubov and M. Brudno, Kommersant, 31 January 2005, Exh. C-749.
608
       Decision of the Moscow Arbitrazh Court, Case Nos. A40-4338/05-107-9 and A40-7780/05-98-90, 28 April 2005,
       Exh. C-196.
609
       Judgment of the Meshchansky District Court for the City of Moscow, 16 May 2005, Exh. R-379.
610
       Resolution of the Federal Arbitrazh Court for Moscow District, Case Nos. A40-4338/05-107-9 and A40-7780/05-98-90,
       5 December 2005, Exh. C-197. See also Memorial ¶ 264, n.393.




                                                         - 190 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 211 of 617




               (e)     The 2004 Decision

575. On 27 December 2005, a Field Tax Audit Report for 2004 was issued.611 It assessed tax arrears,
        interest, and fines against Yukos at approximately USD 3.9 billion.612

576. On 17 March 2006, Decision No. 52/292 was issued holding Yukos fiscally liable for the
        commission of a tax offence, (“2004 Decision”).613 It levied the following taxes:


               COMPANY                TAX BENEFITS                        VAT                      TOTAL

           Macro-Trade                                         RUR 386,687,520             RUR 386,687,520
                                                                                           (USD 13,901,072)

           Energotrade                                         RUR 41,946,060,356          RUR 41,946,060,356
           (formerly Mars                                                                  (USD 1,507,923,556)
           XXII)

           Yukos Vostok              RUR 1,224,013,181         RUR 7,436,494,011           RUR 8,660,507,192
           Trade                                                                           (USD 311,337,530)

           OAO Yukos Oil                                                                   RUR 3,105,399,900
           Company

577. The Tribunal notes that there are no documents in the record evidencing a tax payment demand
        or a tax penalty payment demand issued in respect of the 2004 Decision.

578. However, on 21 June 2006, the Moscow Arbitrazh Court issued a decision614 confirming the
        lawfulness of the Tax Ministry’s claims relating to the arrears claimed in the 2004 Decision in
        the amount of RUR 66,391,719,284 (USD 2.4 billion).                     On 18 August 2004, the Ninth
        Arbitrazh Court of Appeal issued a resolution, ordering a determination of the lawfulness of the
        2004 fines in the amount of RUR 42,036,873,518 (USD 1.7 billion) in separate proceedings.615




611
       Field Tax Audit Report No. 52/996, 27 December 2005, Exh. C-200.
612
       RUR to USD is approximate, based on a ratio of 27.8171:1, the exchange rate on 17 March 2006—the date of the
       2004 Decision.
613
       2004 Decision, Exh. R-1539.
614
       Decision of the Moscow Arbitrazh Court, Case No. A40-11836/06-88-35 “B”, 21 June 2006, Exh. R-538.
615
       Resolution of the Ninth Arbitrazh Court of Appeal No. 09AP-8628/2006 GK, 18 August 2006, Exh. C-336.




                                                       - 191 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 212 of 617




        The lawfulness of the fines was eventually affirmed by the Moscow Arbitrazh Court on
        6 October 2006.616


                (f)       Observation

579. This chronology of the five tax assessments against Yukos for the years 2000–2004 and related
        decisions of the Tax Ministry, the Russian courts and the bailiffs is lengthy and tedious. But it
        is very much part of the factual matrix which will inform the Tribunal when it answers the
        question posed at the outset of the chapter: “Why would Russia have treated Yukos as it did if
        its purpose was to collect taxes?”


        3.      The Taxes Assessed Against Yukos

580. The principal taxes assessed against Yukos were profit tax and VAT. Together they account
        for over 95 percent of the total amount of more than USD 24 billion including related fines and
        interest. Details in relation to profit tax and certain other revenue-based taxes are provided in
        Subsection (a) below. Details in relation to VAT are set out in Subsection (b) below.


                (a)       Profit Tax and Other Revenue-based Taxes

581. As shown in the table below, for the tax years 2000 to 2004, the tax authorities imposed a
        demand for the payment of profit tax (including interest and fines) ranging from
        USD 261 million to USD 4 billion per year, for a total of USD 9.5 billion. This represents
        some 39 percent of the total tax claims levied against Yukos in the reassessments for those
        years. Other revenue-based taxes (also including interest and fines) assessed against Yukos
        added approximately USD 1 billion to the total. The breakdown by individual tax year is as
        follows:617


                (IN USD BILLION)            2000        2001       2002        2003       2004        Total         %
             Profit tax                     1.356      1.695       4.005      2.184       0.261       9.502        39.3
             Property tax                   0.006      0.010       0.009      0.013       0.003       0.039        0.2
             Road users tax                 0.258      0.002       0.001         –          –         0.261        1.1

616
       Decision of the Moscow Arbitrazh Court, Case Nos. A40-37697/06-141-233 and A40-49860/06-127-206, 6 October
       2006, Exh. C-201.
617
       Figures derived from Details of Yukos’ Alleged Tax Reassessments, Exh. C-593; see also Claimants’ Opening Slides,
       pp. 62–63.




                                                        - 192 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 213 of 617




                (IN USD BILLION)              2000        2001        2002        2003        2004        Total         %
            Tax for the maintenance
            of housing, social and            0.209         –           –           –           –         0.209         0.9
            culture facilities
            Tax on sales of
            combustibles and                  0.570         –           –           –           –         0.570         2.4
            lubricants
            Advertisement tax                    –          –           –        0.006       0.002        0.008        0.03
                       Total                  2.399      1.707       4.015       2.203       0.266       10.589        43.93


582. The reasoning by the tax authorities for the imposition of profit tax and the other sundry
        revenue-based taxes did not vary substantively from year to year. For purposes of the present
        chapter, the Tribunal will therefore consider the documents relating to the 2000 tax year.

583. The 2000 Audit Report concludes that, during the year 2000, Yukos knowingly and deliberately
        operated a tax evasion scheme through the use of “sham dependent entities”. The Audit Report
        describes the “discovery”618 of the scheme as follows:

                During the field tax audit, non-payment by OAO Yukos Oil Company of corporate profit
                tax, road users tax, property tax and housing support tax, arising from the use of an
                unlawful scheme involving evasion of tax through artificial creation of sham companies in
                the oil and oil product movement chain, which were registered in territories with a
                beneficial tax regime, was discovered.
                The aim of using this scheme was non-payment of taxes on the sum of revenue (income)
                received from the sale of oil and oil products. For this purpose OAO Yukos Oil Company
                created sham dependent entities, which functioned as oil and oil product owners
                (hereinafter – the “owners”). These entities were registered in territories in which a
                beneficial tax regime applied (Closed administrative-territorial formations) [CATF],
                regions of the Russian Federation, providing tax benefits on investments). OAO Yukos
                Oil Company had control over the operations, conducted by the oil and oil product
                “owners”, by participating in the transactions as an intermediary (confirmed by documents
                shown in Attachment No. 14 to the field tax audit document) or by bringing in other
                entities dependent on OAO Yukos Oil Company to participate in transactions as an
                intermediary.619

584. The 2000 Audit Report continues:



618
       According to Mr. Konnov the use of the term “discovered” at the end of the first paragraph of the cited passage of the
       Audit Report (“[…] non-payment […] of corporate profit tax […] arising from the use of an unlawful scheme
       involving evasion of taxes […] was discovered.”) is a mistranslation. Mr. Konnov suggested that the original wording
       in Russian is better translated as “the audit concluded or established that […].” Transcript, Day 13 at 167; see also
       Respondent’s Closing Slides, p. 97.
619
       2000 Audit Report, pp. 7–8, Exh. C-103.




                                                          - 193 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 214 of 617




                 The audit established that the actual owner of the oil and oil products was OAO Yukos Oil
                 Company. The oil was in fact acquired and transferred for refining, and the oil and oil
                 products sold, by OAO Yukos Oil Company, as evidenced by the actual movement of oil
                 and oil products from production entities to oil refineries or to oil bases controlled by OAO
                 Yukos Oil Company, as confirmed in the trade and transport documents, and also the direct
                 participation by OAO Yukos Oil Company in all the operations. The following also
                 provides proof that the oil and oil products actually belonged to OAO Yukos Oil Company
                 [sic] and that the tax evasion scheme applied by them was illegal:
                 -   interdependence of persons participating in the transactions and their control by OAO
                     Yukos Oil Company;
                 -   registration of the “owners” in territories with beneficial tax regimes;
                 -   non-activity by the “owners” in their places of registration;
                 -   the fictitious commission payments to OAO Yukos Oil Company, which are much
                     smaller than the actual payments made on the intermediary market;
                 -   the understated prices of acquisition of oil from production entities and from other
                     sham companies;
                 -   the conduct of accounting in all the entities by OOO Yukos-Invest, or by Yukos-FBTs
                     OOO, which are dependent on OAO Yukos Oil Company;
                 -   the opening of accounts for all the entities in the same banks, which are dependent on
                     OAO Yukos Oil Company;
                 -   the utilisation of promissory note settlements between the entities, or settlements by
                     means of mutual set-off.620

585. The 2000 Audit Report goes into great detail in explaining the tax benefits that were claimed by
        each of the trading entities. The Audit Reports for subsequent tax years generally follow the
        same form. They audit OAO Yukos Oil Company and the trading companies. They are
        divided into separate sections for each trading company; some of the later reassessments also
        include sums assessed directly against OAO Yukos Oil Company. The sections on the trading
        companies generally begin with an overview of the incorporation, ownership, and capital of the
        company. They then affirm that the directors of the company and its operations are not based
        in the region in which it had been incorporated, which according to the authors of the Audit
        Reports, shows that the company could not benefit from preferential taxation agreements
        offered to companies operating in the low-tax regions. The reassessments then assert that the
        trading companies are “interrelated” and thus “dependent” on OAO Yukos Oil Company,
        thereby allowing OAO Yukos Oil Company to fraudulently claim taxation benefits.

586. The 2000 Audit Report concludes in relation to the tax evasion by Yukos as follows:

                 The tax evasion by OAO Yukos Oil Company, through registration of sham companies in
                 territories with preferential tax rates, with the exclusive aim of evading tax, and

620
       Ibid., pp. 8–9.




                                                         - 194 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 215 of 617




                which . . . did not actually trade or engage in any activity in those territories or indeed
                anywhere else, or invest any money in the economies of the relevant constituent entities of
                the Russian Federation, and which, therefore, illegally applied the additional tax benefits,
                indicates that OAO Yukos Oil Company acted in bad faith.
                According to the Russian Federation Constitutional Court’s 25 July 2001 Ruling
                No. 138-O interpreting the provision contained in Article 3(7) of the RF Tax Code, in the
                area of taxation there is a presumption of good faith on the part of taxpayers.
                As is evident from the above-mentioned Ruling, the presumption of taxpayer good faith,
                enshrined in the RF Tax Code, presupposes an obligation on the tax authorities to prove
                any bad faith on the part of taxpayers in the manner set out by the Russian Federation Tax
                Code, and to conduct the necessary audits in order to establish such bad faith with the aim
                of ensuring a balance between state and private interests.
                Similar provisions are contained in RF Constitutional Court Rulings Nos. 4-O dated
                10.01.2002 and 108-O dated 14.05.2002.
                The Judgements of the Presidium of the RF Supreme Court of Arbitration Nos. 9408/00
                dated 18.09.2001, 7374/01 dated 18.06.2002, 6294/01 dated 05.11.2002 and 11259/02
                dated 17.12.2002, and a letter from the Deputy President of the RF Supreme Court of
                Arbitration No. S5-5/up-342 dated 17.04.2002, also point out the need to examine the
                question of bad faith on the part of taxpayers, that is, their commission of deliberate acts
                aimed at not fulfilling the constitutional obligation to pay taxes.
                The above-mentioned circumstances, namely OAO Yukos Oil Company carrying out
                operations involving the purchase and sale of oil and oil products, indicate Yukos Oil
                Company’s OAO bad faith, which evidences its deliberate actions in evading payment of
                taxes through the application of illegal schemes.
                . . . According to the Regulations of 01.01.2000 on the accounting policy for the year 2000,
                in OAO Yukos Oil Company for purposes of taxation (in order to calculate corporate profit
                tax, value added tax, Road users tax and housing support tax) revenue from the sale of
                products and goods (work, services) was determined on the basis of actual payments.
                For purposes of taxation revenue was indicated by the entity in the accounts in the line 010
                of the account using form No. 2 “Profit and Loss Account” taking into account the
                Information on the procedure for determination of data indicated in line 1 of “Calculation
                of tax on actual profit” in a sum of RUR 36,396,312,000 (RUR 36,264,009,000 in Form
                No. 2, “Profit and Loss Account” + RUR 132,303,000 according to the Information on the
                procedure for determination of data indicated in p. 1 of “Calculation of tax on actual
                profit”).
                According to the data of the audit, revenue from the sale of goods (work, services)
                amounted to RUR 245,907,712,162.
                Thus, the revenue from the sale of goods (work, services) in the sum of RUR
                209,511,400,162 was understated as a result of non-indication in the accounting registers
                of the revenue which had been received as a result of utilising a scheme with the
                participation of sham entities which were dependent on OAO Yukos Oil Company and
                which had been created for the purpose of tax evasion on the part of OAO Yukos Oil
                Company . . . .621

587. The 16 November 2004 decision of the Ninth Arbitrazh Court of Appeal upheld the 2000
        Decision to hold Yukos liable for all these taxes. The English translation of the judgment is
        25 pages long. The key passages, which the Tribunal believes should be set out so as to give

621
       Ibid., pp. 14–15.




                                                      - 195 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 216 of 617




  visibility to the court’s reasoning (which the Tribunal will consider later as part of the totality
  of the evidence), follow:

        OAO Yukos Oil Company did not agree with the decision of the Court and filed an appeal
        requesting that the decision of the Court of First Instance be quashed and that the presented
        claim be granted in full: to declare unlawful the Russian Federation Ministry of Taxes and
        Levies Decision No. 14-3-05/1609-1 of 14.04.2004 to Hold the Taxpayer Fiscally Liable
        for a Tax Offense.
        . . . The interested party, the Russian Federation Ministry of Taxes and Levies, argues that
        the Court of First Instance legally and justifiably found that the decision and resolution
        issued in Case No. A40-17669/04-109-241 [i.e., the 26 May 2004 decision], which
        involves the same parties as Case No. A40-21839/04-76-276 [i.e., the case before the Court
        of Appeal], established the legality and validity of the disputed RF Tax Ministry Decision,
        the circumstances surrounding OAO Yukos Oil Company’s performance of actions aimed
        at evading taxes through the artificial formation of entities registered in territories with
        preferential tax rates and their “participation” in the chain of movement of oil and oil
        products, and the illegality and invalidity of OAO Yukos Oil Company’s arguments
        regarding the illegality of the RF Tax Ministry’s disputed Decision.
        ...
        Pursuant to Article 69(2) of the RF Arbitrazh Procedure Code, facts established by the
        legally effective judicial act of an arbitrazh court in connection with a previously heard
        case do not need to be proven again when the arbitrazh court hears another case involving
        the same parties.
        The Court Decision of 26.05.2004 in Case No. A40-17669/ 04-109-241 established that the
        tax authority did not breach the requirements of Article 87 of the RF Tax Code when
        issuing Decision No. 14-3-05/1609-1 of 14.04.2004. The Court found that RF Tax
        Ministry Decision No. 14-3-05/1609-1 of 14.04.2004 is consistent with the Russian
        Federation Tax Code, federal laws adopted pursuant to the RF Tax Code, and other tax
        laws that were in effect during the audit period.
        . . . The Court found that the entities registered in territories with preferential tax rates and
        named in the RF Tax Ministry’s Decision (Yu-Mordovia OOO, Alta-Trade OOO, Ratmir
        OOO, Mars XXII OOO, Jupiter XXIV OOO, ZAO Yukos-M, Saturn XXV OOO, Yuksar
        OOO, Siberian Transportation Company OOO, Quercus OOO, Muskron OOO, Nortex
        OOO, Grace OOO, Colrain OOO, Virtus OOO, Plast OOO, Mitra OOO, Vald-Oil OOO,
        Business-Oil OOO, Staf OOO, Petroleum-Trading OOO) were related to each other and
        dependent on OAO Yukos Oil Company. The relationship of all the entities and their
        dependence on OAO Yukos Oil Company, as one of the items of evidence of bad faith on
        the part of the Applicant which applied the illegal tax evasion scheme is also confirmed by
        the fact that the same individuals were the founders and (or) officers in the aforementioned
        entities.
        . . . The Court rightly found that control of the oil and oil-product transactions performed
        by the entities registered in territories with preferential tax rates was exercised OAO Yukos
        Oil Company by means of participation in the transactions as an intermediary or by means
        of involvement of other entities, dependent on OAO Yukos Oil Company, as
        intermediaries in the transactions. The entities registered in territories with preferential tax
        rates concluded agency agreements for the purchase of crude oil with OAO Yukos Oil
        Company. In turn, OAO Yukos Oil Company, acting on behalf of entities registered in
        territories with preferential tax rates, purchased oil from producing entities or from other
        suppliers. Thereafter, the crude oil purchased via the agent (OAO Yukos Oil Company)
        was sold to buyers (Russian or foreign) via this same OAO Yukos Oil Company (as the
        commission agent or the agent) or transferred for refining to refineries which were
        subsidiaries of OAO Yukos Oil Company. Apart from agency agreements, purchase and



                                                - 196 -
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 217 of 617




       sale agreements were drawn up for purchase of oil, according to conditions thereof, OAO
       Yukos Oil Company “sold” oil from the resources of its producing entities – OAO
       Yuganskneftegaz, OAO Samaraneftegaz, and OAO Tomskneft. Unlike OAO Yukos Oil
       Company and its producing companies, which according to the customs cargo declarations
       were shippers, the entities registered in regions with preferential tax rates were not
       mentioned in the export documents.
       The dependence of entities, registered in territories with preferential tax rates, on OAO
       Yukos Oil Company and the control by OAO Yukos Oil Company of all transactions is
       also confirmed by the fact that the records of all transactions associated with the purchase
       and transfer of oil for refining, as well as with the sale of oil and oil products (including
       accounting records) were kept by Yukos-Invest OOO and Yukos-FBTs, which are
       dependent on OAO Yukos Oil Company. Furthermore, the entities registered in territories
       with preferential tax rates entered into production management service contracts with OOO
       Yukos RM, which is also dependent on OAO Yukos Oil Company. The financial
       statements and tax filings were submitted to the tax authorities by post from the address at
       which OAO Yukos Oil Company was located according to the invoices. Furthermore, this
       address was the mailing address of OOO Yukos-Moscow, which is the executive body of
       OAO Yukos Oil Company.
       The accounts of all entities are opened with the same banks, i.e. OAO Trust Investment
       Bank, OAO Bank Menatep St. Petersburg and Bank Solidarnost, where OAO Yukos Oil
       Company was a shareholder.
       In addition to concluding agreements on the purchase and sale of oil and oil products, these
       entities also conducted activities involving the purchase and sale of promissory notes,
       which they used in settlements with one another and with OAO Yukos Oil Company for
       oil and oil products. Or by purchasing and selling promissory notes, these entities returned
       to OAO Yukos Oil Company funds supposedly earned for oil they sold. Therefore, the
       business of these entities related to the purchase and sale of promissory notes is a business
       related to the purchase and sale of oil and oil products. Therefore, the Court lawfully and
       justifiably rejected the Applicant’s argument that the entities registered in territories with
       preferential tax rates engaged in business activities other than the sale of oil and oil
       products.
       The Applicant’s assertion that the determination of bad faith is possible exclusively in the
       instances of payment of taxes through insolvent banks is unfounded, as the finding that it is
       necessary for the tax authorities to conduct audits and determine bad faith was made by the
       Constitutional Court of the Russian Federation based on the interpretation of Article 3(7)
       of the RF Tax Code, i.e. the presumption of the taxpayers’ good faith. From this follows
       the obligation of taxpayers to act in good faith when conducting any actions associated
       with the discharge of their tax liability and the right of the tax authorities to determine bad
       faith on the part of taxpayers committing actions (inaction) intentionally aimed at tax
       evasion.
       In light of the foregoing circumstances, the Court rightly found that the owner of the oil
       and oil products was OAO Yukos Oil Company. The purchase and transfer of the oil for
       refining and the sale of oil and oil products were actually carried out by OAO Yukos Oil
       Company as the owner.
       . . . The Constitutional Court of the Russian Federation, in Ruling No. 138-O of
       25.07.2001, points out that, according to the tenor of Article 3(7) of the RF Tax Code, the
       presumption of good faith on the part of taxpayers is in effect in the area of tax relations.
       For the purpose of determination of bad faith on the part of taxpayers, the tax authorities
       have the right—in order to ensure a balance between State and private interests—to carry
       out the necessary audit and to file with the arbitrazh courts claims that ensure the receipt of
       taxes into the budget. In light of the above, in order to ensure a balance between State and
       private interests, the tax authorities have the right to conduct audits for the purpose of




                                               - 197 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 218 of 617




               determination of the actual owner of sold property and for determination of bad faith on the
               part thereof, expressed in the application of a tax evasion scheme.
               The fact that OAO Yukos Oil Company had the rights of possession, use and disposal with
               respect to the oil and oil products, and at its own discretion performed with respect thereto
               any actions, including alienation, transfer for processing, etc. through sham entities
               dependent on OAO Yukos Oil Company was established by the legally effective judicial
               acts in Case No. Ⱥ40-17669/04-109-241.
               The Court therefore rightly does not accept the argument of the Applicant and the third
               party regarding the non-compliance with law and the factual circumstances of the
               assessment of taxes to OAO Yukos Oil Company as the owner of the oil and oil products.
               . . .The circumstances established by the Court concerning the transactions of OAO Yukos
               Oil Company associated with the purchase and sale of oil and oil products and in their
               interconnection and collectively indicate bad faith on the part of OAO Yukos Oil
               Company, which is reflected in the intentional actions aimed at tax evasion by means of
               application of illegal schemes, as a result of which the RF Tax Ministry lawfully held OAO
               Yukos Oil Company liable pursuant to Article 122(3) of the Russian Federation Tax Code,
               for the intentional failure to pay or an incomplete payment of tax as a result of reduction of
               the tax base, other incorrect tax calculations, or other unlawful actions (inaction), in the
               form of a fine in the amount of 40 percent of the unpaid tax amount, as established by the
               judicial acts in Case No. Ⱥ40-17669/04-109-241.
               . . .Therefore, the Moscow Arbitrazh Court in its decision legally and justifiably found that
               RF Tax Ministry Decision No. 14-3-05/1609-1 of 14.04.2004 to Hold the Taxpayer
               Fiscally Liable for a Tax Offense is legal and well-founded in part and complies with the
               Russian Federation Tax Code, federal laws adopted pursuant to the RF Tax Code, and
               other tax laws that were in effect during the audit period (the Russian Federation Law
               No. 2116-1 of 27.12.91 “On Corporate Profit Tax”, the Russian Federation Law
               No. 1759-1 of 18.10.1991 “On Road Funds in the Russian Federation”, the Russian
               Federation Law No. 2118-1 of 27.12.1991 “On Fundamentals of the Tax System”, the
               Russian Federation Law No. 2030-1 of 13.12.1991 “On Corporate Property Tax” and the
               Russian Federation Law No. 1992-1 of 06.12.1991 “On Value Added Tax”).622
                                                                                           [emphasis added]

588. The Tribunal will discuss the key elements of this decision, notably its endorsement of the
        assessment of taxes against Yukos on the basis that Yukos was the “actual owner” of the oil
        and oil products, in Section VIII.B.5 below.


               (b)    VAT

589. As shown in the table below, for the tax years 2000 to 2004, the tax authorities imposed a
        demand for the payment of VAT (including interest and fines) ranging from USD 1 billion to
        USD 4 billion per year, for a total of USD 13.59 billion. This represents some 56 percent of




622
       Resolution of the Ninth Arbitrazh Court of Appeal, Case No. 09AP-4078/04-AK, 16 November 2004, Exh. C-147.




                                                       - 198 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 219 of 617




        the total tax claims levied against Yukos in the reassessments for those years. The breakdown
        by individual tax year is as follows:623


                                                2000        2001        2002        2003        2004       Total         %
                       Tax Arrears              0.49        0.99        1.24        1.93        1.73        6.38       26.39
            VAT
                       Interest & Fines         0.59        1.40        1.50        1.97        1.75        7.21       29.82
                       Sub-total                1.08        2.39        2.74        3.90        3.48       13.59        56.2

            Other      Tax Arrears              1.19        0.75        1.91        1.16        0.16        5.17       21.38
            taxes      Interest & Fines         1.21        0.96        2.11        1.05        0.10        5.42       22.46
                       Sub-total                2.40        1.71        4.02        2.21        0.26       10.59        43.8
                      TOTAL                     3.48        4.10        6.76        6.11        3.74       24.18        100

590. The reasoning of the tax authorities for the imposition of VAT payments did not change from
        year to year. For purposes of this chapter, the Tribunal will therefore consider solely the
        documents relating to the 2000 tax year.

591. But before turning to the reasoning for the imposition of VAT payments on Yukos, the Tribunal
        will review some features of the VAT regulations of the Russian Federation.

592. In Russia, VAT is a federal tax levied at uniform rates throughout the Federation. As a result,
        all companies pay VAT regardless of the region where they are registered, under identical
        terms and conditions.          There are accordingly no additional VAT benefits for companies
        incorporated in low-tax regions. The applicable rate of VAT to oil and oil products was 20% in
        2000 to 2003 and 18 percent in 2004.624

593. If the products were exported, they were either exempt from VAT (2000) or subject to a zero
        percent VAT rate (2001 onwards).625 The zero percent rate is not automatic, but available when
        the taxpayer files a monthly or quarterly VAT return.626 It is common ground between the




623
       Figures derived from Details of Yukos’ Alleged Tax Reassessments, Exh. C-593; see also Claimants’ Opening Slides,
       pp. 62–63.
624
       First Konnov Report ¶ 56. See also Articles 165(9) and 164(3), Russian Tax Code, Exhs. R-1484 and R-1483.
625
       As a result, exporting companies did not charge VAT to their foreign customers and were entitled to the refunds on the
       VAT charged by their own suppliers. See Dubov WS ¶ 37; see also Memorial ¶ 319.
626
       First Konnov Report ¶¶ 53–58.




                                                          - 199 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 220 of 617




        Parties that, in the years 1999 to 2003, the Yukos trading companies filed the VAT returns for
        their exports of oil.627

594. The 2000 Decision notes that Yukos failed to reflect revenue from the sale of products “arising
        from the use of an unlawful scheme involving evasion of tax through artificial creation of sham
        companies in the oil and oil product movement chain, which were registered in territories with
        a beneficial tax regime.”628 The 2000 Decision then states:

                The aim of using this scheme was non-payment of corporate profit tax value added tax,
                road users tax, tax on sales of fuel and lubricants (hereinafter referred to as F&L) and
                housing support tax on the sum of revenue (income) received from the sale of oil and oil
                products.629

595. The VAT at issue was the VAT in relation to which the Yukos trading companies had already
        obtained an exemption or zero percent rate, not VAT that could be said to arise from new or
        additional transactions or from a finding that the oil or oil products had not actually been
        exported.      During his cross-examination at the Hearing, Mr. Konnov explained that the
        reasoning behind the imposition of VAT on Yukos is very clear from the original Russian-
        language version of the decision. The 2000 Decision states (in the Russian language original)
        that it is Yukos, as the actual exporter, which must file the VAT return in order to get the VAT
        tax benefit which had earlier been granted to its trading entities. Mr. Konnov explained:

                A.      And then there is a sentence which I don’t see in the English text, which says:
                               “Based on the foregoing, the actual export operations were conducted by
                               OAO NK Yukos and tax claim were provided to ZAO Yukos-M.”
                        And that’s the sentence on the point; for some reason it’s not in the English text.
                        So I agree maybe it’s not a detailed sentence, but what it clearly tells to any tax
                        lawyer, or to Yukos, I think: that Yukos – sorry, Yukos-M claimed the tax benefits
                        and was provided the tax benefits, and the actual exporter who must file the return
                        is Yukos.630

596. In other words, while it was the trading companies that were set up in Yukos’ tax structure as
        the entities exporting oil and oil products to purchasers abroad that filed VAT returns to claim
        the exemption or zero percent rate that applies to export transactions, and in spite of the fact

627
       Memorial ¶¶ 320–21. See also Decision No. 23 on partial refusal to refund/offset VAT (Alta-Trade), 15 June 2000,
       Exh. C-1110; Decision No. 48 to deny refunding (offset) VAT (Alta-Trade), 29 October 2001, Exh. C-1116; Decision
       No. 53 on partial refusal to refund/offset VAT (Mars XXII), 27 December 2004, Exh. C-1117.
628
       2000 Decision, p. 1, Exh. C-104.
629
       Ibid.
630
       Transcript, Day 14 at 236.




                                                        - 200 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 221 of 617




        that the trading companies had already qualified for the exemption or zero percent rate on the
        basis of duly submitted VAT returns, the tax authorities subsequently determined that Yukos
        itself was the “actual exporter”, and that it was Yukos, instead of the trading entities, that had
        to qualify for the exemption or zero percent rate. Since Yukos had not filed the returns itself, it
        was deemed to have failed to file the VAT returns required to benefit from the exemption or
        zero percent rate.

597. The judgment of the Moscow Arbitrazh Court that confirmed the decision for the 2000 tax year
        rejected Yukos’ appeal against the VAT assessments:

                The court does not accept the arguments of OAO Yukos Oil Company regarding
                unlawfulness of the RF Tax Ministry Decision No. 14-3-05/1609-1 of 14.04.2004 relating
                to assessment of the value added tax. It follows from the RF Tax Ministry Decision that
                the tax authority assessed VAT reimbursed to entities registered in the territories with
                preferential tax rates upon their applications on export transactions. Pursuant to Law
                No. 1992-1 of 06.12.1991 “On Value-Added Tax,” effective during that period, exemption
                from payment of value-added tax when exporting goods (work, services) was a benefit. In
                order to use its right to the benefit, the taxpayer had to declare its right and confirm its right
                by documents in accordance with the current legislation. The taxpayer – OAO Yukos Oil
                Company – did not declare its desire to use its benefit either in 2000 or later.631
                                                                                               [emphasis added]

598. At the Hearing, Mr. Konnov described as follows “the essence” of the reasoning in the decision
        and subsequent judgment:

                [T]hat Yukos did not file tax return, and in the absence of the tax return it is not eligible for
                a 0% VAT rate.632

         Mr. Konnov also confirmed at the Hearing that the same reasoning was applied for subsequent
         tax years.633


        4.      The Fines Assessed Against Yukos

599. As shown in the table below, for the tax years 2000–2004, the tax authorities imposed fines
        against Yukos ranging from USD 670 million to USD 2.5 billion per year, for a total of




631
       Decision of the Moscow Arbitrazh Court, Case No. A40-17669/04-109-241, 26 May 2004, p. 19, Exh. C-116.
632
       Transcript, Day 14 at 240
633
       Ibid. at 240–51.




                                                         - 201 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 222 of 617




        USD 8.5 billion. This represents some 35% of the total tax claims levied against Yukos in the
        reassessments for those years. The breakdown by individual tax year is as follows:634


                                  2000         2001          2002         2003         2004         Total          %

            Tax Arrears            1.68         1.74         3.15         3.09         1.90         11.55        47.73

            Interest               1.13         0.97         1.10         0.54         0.38         4.13         17.14

            Fines                  0.67         1.39         2.51         2.47         1.46         8.50         35.13

            TOTAL                  3.48         4.10         6.76         6.10         3.74         24.18          100


600. Article 122 of the Russian Tax Code establishes a taxpayer’s liability for “non-payment or
        underpayment of taxes.” Pursuant to paragraph 1 of this provision, the sanction is a 20 percent
        fine on the unpaid amount of taxes. Under paragraph 3 of this provision, this fine can be
        increased to 40 percent of the unpaid amount if the offense is committed intentionally. This fine
        has been referred to in this case as the “willful offender” fine. Under Articles 110(2) and 110(4)
        of the Russian Tax Code, the intention of a company requires, inter alia, that the awareness of
        the company’s executives of the unlawful nature of their actions (or failure to act) be
        established. Finally, under Articles 112(2) and 114(4) of the Russian Tax Code, the fines can
        be increased to 80 percent, concretely, be doubled, in cases of so-called “repeat” offenses,
        i.e. offenses committed by “a person, which has been previously held liable for a similar tax
        offense.”635 This fine has been referred to in this case as the “repeat offender” fine.

601. Yukos was assessed both the “willful offender” and the “repeat offender” fines by the
        authorities.

602. The Tax Ministry, referring to Article 110(2) of the Russian Tax Code, claimed that for the year
        2000, “[Yukos] deliberately committed the acts aimed at evading payment of taxes, and its
        officers were aware of the unlawful nature of such actions.”636 On this basis, the fines on

634
       Figures (in USD billions) derived from Details of Yukos’ Alleged Tax Reassessments, Exh. C-593. The fines levied
       in relation to unpaid VAT alone account for a total of some USD 4.8 billion for the tax years 2000–2004, with the
       balance of USD 3.7 billion levied in relation to all of the other types of taxes (the majority—USD 3.3 billion—of the
       remaining amount being levied in relation to profit tax).
635
       Russian Tax Code, Part I, Exh. C-401.
636
       2000 Decision, p. 8, Exh. C-104.




                                                          - 202 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 223 of 617




        Yukos were doubled from the standard rate of 20 percent to 40 percent. Yukos was thus
        charged, by reference to Article 122(3), with a 40 percent fine on the amount of its alleged tax
        arrears.637 The same reasoning was used by the tax authorities to impose fines on Yukos for the
        years 2001–2004.638

603. The Tax Ministry then doubled the fines once more for the years 2001 to 2004 (the year 2000
        being considered as the first “offense”), in order to reach an 80 percent fine on the alleged tax
        arrears. This was done on the basis of Articles 112(2) and 114(4) of the Russian Tax Code
        regarding repeat tax offenses.639


        5.     Parties’ Arguments and Tribunal’s Observations

604. In Chapter VIII.A of the present Award, the Tribunal has found that Yukos had run afoul of the
        tax authorities prior to December 2003 in some of the low-tax regions, notably in the ZATOs
        (Lesnoy and Trekhgorny) and in Kalmykia. The Tribunal noted earlier that Yukos had wound
        up its trading entities in Lesnoy and Trekhgorny, and merged them into two separate companies
        based outside of the ZATOs. These companies later merged to form Investproekt, based in yet
        another region of Russia. The shuffling of these companies, as the Tribunal observed in
        Chapter VIII.A, while completed before any decisions were issued against the companies for
        being shams and for their use of promissory notes to pay (and even overpay) its tax bills, does
        raise troubling questions which were never answered to the satisfaction of the Tribunal. It
        suggests that Yukos was aware of the vulnerability of its tax optimization scheme and took
        steps to minimize its exposure when elements of the scheme were being investigated. This
        evidence has been thoroughly reviewed and commented upon by the Tribunal in
        Chapter VIII.A.

605. In principle, therefore, both Yukos and members of its management were exposed to further
        findings of civil and/or criminal liability in connection with these activities as there is no
        evidence in the record that any tax payable as a result of the investigation of the trading entities
        in the ZATOs was ever paid.             It is in this context that the Russian Federation charged


637
       Ibid.
638
       2001 Decision, p. 157, Exh. C-155; 2002 Decision, p. 166, Exh. C-175; 2003 Decision, p. 144, Exh. C-190; 2004
       Decision, pp. 89–90, Exh. C-200.
639
       2001 Decision, pp. 163–64, Exh. C-155; 2002 Decision, pp. 165–66, Exh. C-175; 2003 Decision, p. 144, Exh. C-190;
       2004 Decision, p. 89, Exh. C-200.




                                                        - 203 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 224 of 617




      Messrs. Khodorkovsky and Lebedev with tax offenses, and reassessed taxes against Yukos as
      of December 2003.

606. In this section, the Tribunal considers the Parties’ specific arguments in respect of each element
      of the tax assessments that began in December 2003 and continued at a very rapid pace
      throughout 2004 (covering the tax years 2000 through 2004). As described in the earlier
      subsections of the present chapter, these elements included assessments for profit tax and other
      revenue-based taxes, VAT and fines. While the Tribunal considers the Parties’ arguments for
      each discrete element of the tax assessments, ultimately its conclusions are based on a
      consideration of the tax assessments as a whole as well as the two trials and convictions of
      Messrs. Khodorkovsky and Lebedev.          The Tribunal adopts this totality-of-the-evidence
      approach for several reasons.

607. Firstly, the Parties’ arguments regarding the tax assessments rest on all-or-nothing propositions.
      On the one hand, Claimants argue that the tax assessments as a whole were conceived and
      crafted to fabricate debt “under the guise of taxes,” and in amounts deliberately large enough to
      bankrupt Yukos. Respondent, on the other hand, insists that the tax assessments were entirely
      legitimate, and that Yukos’ demise was self-inflicted.

608. Secondly, the discrete elements of the tax assessments are, in fact and in law, closely
      intertwined. For example, as explained in greater detail below, the enormous liability imposed
      on Yukos for non-payment of VAT (and for the multiple fines associated with their
      non-payment) was made possible only because the revenues of Yukos’ trading entities were
      “re-attributed” to Yukos itself. It would therefore be artificial to deal with the complexity of
      this case by deconstructing the various elements of the tax assessments without, in the end,
      taking the broader perspective that is required to properly appreciate each one of them.


            (a)    Profit Tax and Other Revenue-Based Taxes

                         i.     Introduction

609. Claimants submit that the revocation of regional tax benefits on revenue-based taxes
      (principally the regional and local shares of profit tax) was the first step in the Russian
      Federation’s fabrication of taxes targeting Yukos. Claimants argue that the revocation of these
      benefits was arbitrary because (a) such benefits were expressly provided for in Russian federal
      and regional legislation with which the Yukos entities complied, and (b) the tax benefits were



                                                - 204 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 225 of 617




        known to and approved by the relevant authorities (with whom, in some cases the trading
        entities entered into tax investment agreements).640

610. Respondent submits that the Russian Federation’s revocation of the tax benefits was a
        legitimate and appropriate response to Yukos’ tax optimization scheme under Russia’s anti-
        abuse doctrine. Respondent contends that all of the Yukos trading entities were sham letter-box
        companies, with no assets, employees or operations of their own, that were managed by Yukos
        itself.641


                               ii.     Was the “Bad-Faith Taxpayer” Doctrine Available at the Time of
                                       the Yukos Tax Assessments to Challenge a Tax Evasion Scheme?

611. As an initial matter, the Tribunal notes that it has already confirmed, in Chapter VIII.A of the
        present Award, that the “bad-faith taxpayer doctrine” existed in the Russian Federation at the
        time of the issuance of the 2000 Tax Audit in December 2003 and, therefore, at the time of
        subsequent audits as well.642         Indeed, even Claimants acknowledged the existence of the
        doctrine.643

612. Claimants cannot, therefore, impugn the Russian Federation’s revocation of the benefits related
        to profit tax solely on the basis that the low-tax regions were competent to grant such tax
        benefits under that applicable legislation, and that “no breach of that legislation has been
        alleged.”644 However, such an argument does not seem to take account of the impact of
        Russia’s anti-abuse doctrine or “bad-faith taxpayer” doctrine which, as the Tribunal has already
        concluded, may constitute a ground for the reassessment of a party’s tax liabilities.

613. The Tribunal recalls however that, at the time of the tax assessments against Yukos, the
        “business purpose” doctrine (a variant of the “substance over form” and “bad faith taxpayer”
        doctrines) had not yet been explicitly adopted into Russian law.                 As noted earlier in
        Chapter VIII.A, the “business purpose” doctrine was not adopted until October 2006, in
        Resolution No. 53 dated 12 October 2006 of the Plenum of the Russian Supreme Arbitrazh
        Court. As also mentioned in Chapter VIII.A, Russian tax scholars and practitioners appear

640
       Claimants’ Opening Statement, pp. 49–80; Claimants’ Post-Hearing Brief ¶¶ 7–11.
641
       Respondent’s Opening Statement, pp. 11–22.
642
       See above at paragraph 497.
643
       Reply ¶¶ 219–28.
644
       Claimants’ Post-Hearing Brief ¶ 7.




                                                        - 205 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 226 of 617




        divided as to whether Resolution No. 53 represented a break with the doctrines that existed at
        the time of the Yukos assessments, or was a natural evolution of those doctrines.

614. The Tribunal, recalling that Mr. Pepeliaev alluded to something akin to the “business purpose”
        doctrine in his commentary on Constitutional Court Ruling 138-O (published in 2002), is of the
        view that it was open to the Russian authorities and the courts to rely on the “bad faith
        taxpayer” doctrine to challenge a tax evasion scheme at the time of the Yukos tax assessments,
        whether based on “substance over form” or “business purpose.” Although this was an area of
        the law that was evolving at the time, this alone cannot be determinative.           Indeed, the
        anti-abuse doctrine was a judicial doctrine, and the Tribunal does not consider it appropriate to
        criticize the Russian Federation only because such a doctrine had not yet fully crystallized. To
        the contrary, the circumstances surrounding Yukos’ tax optimization scheme suggest to the
        Tribunal that this is precisely the kind of case in which the doctrine could be relied upon by the
        authorities and the judiciary. Nevertheless, Claimants argue that the decision to revoke the
        profit tax benefits was illegitimate because of the manner in which the “bad-faith taxpayer”
        doctrine was applied. In particular, Claimants submit that the “re-attribution” of the trading
        companies’ revenue to Yukos was unprecedented and had no basis in law. Further, Claimants
        submit that there were glaring violations of due process throughout the tax assessment and tax
        enforcement proceedings. The Tribunal addresses each of those arguments in turn.


                               iii.   Was “Re-attribution” an Appropriate Remedy to Apply to
                                      Yukos?

615. Claimants argue that the authorities should have applied the transfer-pricing rules of Articles 20
        and 40 of the Russian Tax Code to address any concerns about Yukos’ avoidance of tax in the
        low-tax regions. Instead, the authorities “re-attributed” to Yukos the revenues of all of its
        trading companies. According to Claimants, this remedy was unprecedented, had no basis in
        law and was obviously another ploy in the Russian Federation’s fabrication of taxes against
        Yukos.645

616. As mentioned, Claimants submit that the proper decision, and indeed the only decision, that the
        tax authorities should have issued would have been to apply the transfer-pricing provisions of
        Articles 20 and 40 of the Russian Tax Code. In this context, in their Post-Hearing Brief,
        Claimants argue as follows:

645
       Claimants’ Opening Slides, p. 60.




                                                  - 206 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 227 of 617




                11.     Similarly, the Respondent’s attempt to dismiss the relevance of the ubiquitous
                references to Yukos in the tax authorities’ documentation relating to the trading companies
                ignores the realities of the Russian context. There was no domestic market for crude oil in
                Russia, and as Dresdner observed, “[o]il sales on the Russian internal market consist[ed]
                mainly of internal sales between the sister companies of the large integrated Russian oil
                companies”. In this context, when conducting a tax audit of a company whose activities
                consisted of trading crude oil produced by Yukos’ production companies, it would have
                been natural for the tax authorities to examine whether the trading company and the
                production company were “interdependent” under Article 20 of the Tax Code, and if so,
                whether the sales transactions complied with the transfer pricing provisions of Article 40.
                This is precisely what the tax authorities did, finding no violations of Article 40 prior to the
                December 2003 Audit Report.646

617. Claimants add:

                Mr. Konnov has conceded that the transfer pricing provisions of Articles 20 and 40 were
                available to the tax authorities and, although cumbersome to apply, could have fully dealt
                with any allegedly improper tax savings, yet as he has confirmed, the tax authorities never
                offered any explanation as to why they did not use Article 40 and instead invented a re-
                attribution theory. As Mr. Savseris has written, referring specifically to the Yukos case, it
                was wholly inappropriate for the tax authorities to resort to judicial doctrines to address a
                situation covered by these express statutory provisions, noting that “[i]f the generally
                established principles in the West for the application of judicial doctrines were respected,
                this would have been impossible”.647

618. During the Hearing, Respondent asserted that re-attribution “is an entirely appropriate
        application of the ‘substance over form’ anti-abuse doctrine.”648 Respondent referred to what it
        called “pre-December 30, 2003 cases” (Bashkirian refineries case (2003–2005); Lukoil (2002)
        and VAT cases) as well as what it called “post-Yukos authorities” (Korus-Holding (2005–2006),
        MIAN (2007–2008) and Syktyvkarsky Milk Factory (2008–2009)).649

619. However, Mr. Konnov, when asked a specific question by the Chairman of the Tribunal, had
        great difficulty in explaining the existence of a pre-Yukos precedent for the re-attribution that
        was imposed on Yukos with the assessments.                      Claimants recall this incident in their
        Post-Hearing Brief in the following words:


646
       Claimant’s Post-Hearing Brief ¶ 11 (citing Transcript, Day 15 (Konnov) at 177:6-180:7; Accounts Chamber of the
       Russian Federation, Analytical Note “On the Economic and Financial Situation of Natural Monopolies”, 2003, p. 183
       (noting “the absence of a full-fledged domestic market of crude oil in the Russian Federation”), Exh. C-416; ZAO
       Dresdner Bank Valuation Report of Yuganskneftegaz, 6 October 2004, p. 95, Exh. C-274 (hereinafter “Dresdner
       Valuation Report”); Table: Field tax audits of Yukos’ trading companies in Mordovia, April 2002–October 2003
       (noting that audits of Fargoil and Mars XXII in 2003 found no violations of Art. 40), Exh. C-1758).
647
       Claimant’s Post-Hearing Brief ¶ 40 (citing Transcript of Mr. Konnov’s cross-examination in the Quasar arbitration,
       24 October 2011, pp. 55–56, 58–59, Exh. C-1697; S.V. Savseris, “Bad Faith of the Taxpayer as Judicial Doctrine
       Against Tax Evasion” (2005), p. 5, Exh. C-1748).
648
       Respondent’s Closing Slides, p. 105.
649
       Ibid. pp. 105–15. See also First Konnov Report ¶¶ 50–51.




                                                         - 207 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 228 of 617




                First, as the Tribunal will recall, when asked point blank by the President to identify a
                precedent for reattribution, Mr. Konnov was unable to do so. The next day Mr. Konnov
                sought to “correct” this answer by referring to cases involving the “Bashkirian oil
                refineries” and a Lukoil assessment that never went to court. However, Mr. Konnov then
                corrected the correction by noting, with respect to the Bashkirian cases, that “the court
                decisions . . . are not particularly helpful because the lower court decided in favour of the
                taxpayer, and only in 2005 the court decided in favour of the tax authorities.”650

620. Having reviewed the decisions cited by Respondent, the Tribunal concludes that none of them
        is truly apposite to Respondent’s argument:

         (1) the “Bashkirian refineries case”: in this case (cases, actually), the tax authorities did “re-
             attribute” sales revenue from a Baikonur entity to the three selling oil refineries, and they
             did so by assessments dated 16 July 2003. However, these assessments were overturned,
             in each of the three cases, by the first instance arbitrazh court in November 2003, and the
             tax authorities’ appeals in early 2004 were initially unsuccessful. It was only in 2005 that
             the Supreme Arbitrazh Court overturned the lower court decisions, and upheld the July
             2003 assessments (Exhibits R-1488, 1489, and 1490). Thus, this case cannot serve as a
             pre-Yukos precedent.

         (2) the “Lukoil case”: this case involved the invalidation of a lease between OAO Lukoil-
             Ukhtaneftepererabotka and a Baikonur shell, and the resulting claim against the former for
             taxes. While the court decisions (first instance, appellate and cassation levels) all date back
             to 2002, they do not show that the taxes of the Lukoil entity were “re-attributed” to Lukoil.
             In the view of the Tribunal, therefore, this case does not support Respondent’s re-
             attribution theory.

         (3) the “VAT cases”: Respondent argues that “[b]oth before and after the Yukos assessments,
             the Russian tax authorities routinely assessed VAT on purchasers with respect to revenues
             representing value that had been added by their suppliers, rather than the purchasers
             themselves.”651 Respondent points to one pre-Yukos example in the record, a decision that
             dates from 22 September 2003 (Exhibit R-3372).                     On the Tribunal’s reading of this
             decision, it is difficult to make out the re-attribution from seller to purchaser, since the


650
       Claimant’s Post-Hearing Brief, ¶ 38 (citing Transcript, Day 14 at 221–23 (Mr. Konnov) (“I don’t think I can give you
       any reference to the pre-Yukos precedent where attribution was applied in an identical way.”); Transcript, Day 15
       at 83–84 (Mr. Konnov); Transcript, Day 15 at 215 (Mr. Konnov)). Claimants cite their Reply ¶ 233 to note that:
       “Moreover, these alleged precedents involved alleged evasion of excise taxes rather than alleged abuses of profit tax
       incentives, and were decided on entirely different legal grounds).” Ibid. n.85.
651
       Respondent’s Closing Slides, p. 110.




                                                          - 208 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 229 of 617




               Court’s attention is quite definitely on the purchaser in its analysis of the transaction. In
               any event, it is not a situation which is at all analogous to the Yukos case.

621. By contrast, the Korus-Holding case appears to be on all fours with the Yukos case, in terms of
        the re-attribution remedy, but it was decided in 2006, well after the assessments against Yukos
        in 2003 and 2004.

622. The Tribunal notes another factor that supports Claimants’ position, namely the contrast
        between the first and second decisions involving Investproekt. In the first decision, dated
        2 April 2002,652 the tax authorities refused to impose any tax liability on Investproekt for the
        past tax offenses of Business-Oil, Vald-Oil, Forest-Oil and Mitra. In the second decision, dated
        8 August 2003,653 Investproekt was held liable for those offenses. The Tribunal observes that
        the basis for reversing, in August 2003, the earlier decision of April 2002, was not explained in
        the August 2003 decision,654 and the latter decision followed soon after the arrest of
        Mr. Lebedev on 2 July 2003. Moreover, neither of these earlier assessments purported to re-
        attribute the tax burden to Yukos, but rather to the successor entity of the trading companies—
        Investproekt.

623. Regarding the transfer-pricing provisions of the Russian Tax Code as a proposed alternative
        remedy for whatever mischief is connected to the use of the Yukos trading entities, Respondent
        in its Rejoinder argues:

                 701. Claimants suggest that the “proper course of action” for the authorities “would have
                 been to pursue” Yukos’ trading shells as opposed to Yukos. But the tax authorities looked
                 to the economic substance and concluded that Yukos was the real taxpayer. That was both
                 legally proper and practically sensible. As illustrated by the authorities’ inability to collect
                 unpaid taxes from the Lesnoy trading shells, Yukos deliberately engineered its scheme so
                 that its trading shells, if they were ever audited and reassessed, would have no assets with
                 which to pay any such assessment, with the result that Yukos’ fraudulent scheme would
                 have enjoyed de facto impunity. Yukos was at all times the real party in interest in the
                 challenged transactions. It was thus entirely appropriate for the tax authorities to pursue
                 their claims against it, instead of the trading shells it had created to evade taxes.
                 702. Equally unavailing is Claimants’ reliance on Article 40 of the Tax Code. The
                 Yukos “tax optimization” scheme was not an ordinary “transfer pricing” scheme, but rather
                 a tax evasion scheme involving the abusive exploitation of the low-tax region program
                 through dozens of sham entities which had no genuine business operations. It was
                 therefore entirely appropriate for the authorities to challenge that scheme by reference to
                 anti-abuse rules, rather than the transfer pricing rules set forth in Article 40, insofar as

652
       Decision No. 02-11/1/1, 2 April 2002, Exh. R-303.
653
       Decision No. 2.6-23, 8 August 2003, Exh. R-305.
654
       Ibid.




                                                           - 209 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 230 of 617




                 Yukos had deliberately constructed its tax evasion scheme so as to circumvent the
                 application of Article 40, including by (a) using chains of shells which increased the
                 likelihood that, if audited, each link in the chain could avoid an assessment under the 20%
                 “safe harbor,” and (b) owning most of the trading shells through call options, offshore
                 companies, and other devices, which would make it more difficult for the authorities to
                 establish an “interdependence” within the technical meaning of Article 40 between Yukos
                 and its trading shells.655

624. During the Hearing, Respondent argued that the “substance over form” doctrine would be
        illusory if re-attribution were precluded, since it would permit tax evasion with impunity as the
        taxpayer could simply cause the relevant income or revenues to be recorded, on paper, in the
        books of a judgment proof domestic affiliate or a foreign affiliate that was solvent but
        territorially beyond the reach of any enforcement measure.656 Respondent also referred to other
        jurisdictions where a “general anti-avoidance provision” allows the tax authorities to allocate
        “any income” to “any person” in connection with “an avoidance transaction”.657

625. The Tribunal sees some merit, in principle, to Respondent’s argument that the “anti-abuse”
        doctrine would be eviscerated if the tax authorities were unable to attribute income to the
        person responsible for the wrongdoing. The Tribunal also notes with interest Respondent’s
        reference to the anti-avoidance provisions of other countries, such as the United States, France,
        Germany, Canada and Australia, which grant the taxation authorities similar powers, as well as
        to some decisions from other jurisdictions.658 In the Russian context, however, it is clear to the

655
       Rejoinder ¶¶ 701–702 (citing ¶¶ 599, 597–600 of Rejoinder; Second Konnov Report ¶¶ 19, 24–25 and 63).
       Respondent also notes: “This also confirms the lack of merit in Claimants’ contention that Respondent’s “multiple
       allegations about non-arm’s length pricing […] contradict” Respondent’s “concession that Yukos’ alleged tax
       liabilities [are] not premised on any violation of transfer pricing rules” [citing Reply ¶ 214]. In reality, there is no such
       contradiction, because it is well-settled in Russian tax law that the transfer pricing rules set forth in Article 40 of the
       Tax Code are not the exclusive remedy available to the Russian tax authorities to combat abusive tax practices based
       on price manipulations (see First Konnov Report ¶¶ 40–44). In other countries too, the general view is that the
       existence of specific statutory anti-avoidance rules does not prevent the authorities from deploying their anti-abuse
       arsenal, including general anti-avoidance rules, whether enacted by statute (as is the case, for instance, in Germany) or
       developed by the judiciary (as is the case, for instance, in the United States) . . . .
       In the Yukos case, the authorities’ reliance on alternative theories of liability was not only proper but particularly
       appropriate, because the Yukos tax evasion scheme was deliberately engineered so that Yukos, through its trading
       shells, could circumvent the transfer pricing rules, which require an under- or over-statement of prices of more than
       20 percent of the market price. Yukos evaded those rules by running inventories through chains of multiple trading
       shells in a series of nominally independent transactions, none of which individually exceeded the 20 percent threshold.
       See Protocol of Witness Interrogation of Vladislav P. Brazhkov (15 February 2008), 4, 6 (Exh. R-3370).” Ibid. n.1098
       Respondent further notes: “Yukos’ internal communications confirm that it was a “headache” for Yukos’ employees
       to ensure that the transactions among the trading shells were structured to prevent detection of the scheme by the tax
       authorities. [citing Counter-Memorial ¶ 304 and e-mail from A.V. Brazhkov to A.P Kuchusheva, 9 October 2001,
       Exh. R-325].” Ibid. n.1099.
656
       Respondent’s Closing Slides, p. 115.
657
       Ibid. p. 118.
658
       Respondent’s Opening Slides, pp. 95–103.




                                                             - 210 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 231 of 617




        Tribunal that there was no precedent for re-attribution at the time that the tax assessments and
        related decisions were issued in respect of Yukos.

626. Moreover, the Tribunal could have been persuaded to accept Respondent’s argument if the tax
        authorities had only imposed revenue-based taxes against Yukos on the basis of re-attribution.
        However, and as already noted, the tax authorities attributed to Yukos the trading companies’
        revenues while, at the same time, refusing to attribute to Yukos the trading companies’ VAT
        refunds and it did so for purely technical reasons. This leads the Tribunal to the conclusion that
        the authorities used the “re-attribution” formula not only so as to be able to collect the
        revenue-based taxes, but also so as to establish a basis for imposing the massive VAT liability
        and excessive fines that followed.

627. In short, the Tribunal accepts the following conclusion, as expressed in paragraph 41 of
        Claimants’ Post-Hearing Brief:

                The obvious explanation for the Respondent’s use of a novel and arbitrary re-attribution
                theory rather than correctly applying existing law on interdependence and transfer pricing
                is that this was not a bona fide exercise of taxation powers; instead, the novel re-attribution
                theory provided a pretext to impose US$ 13.59 billion in VAT claims that, as Mr. Konnov
                confirmed, could not have been made in the absence of the unprecedented re-attribution of
                revenues.659


                               iv.     Did the Russian Federation Violate Due Process?

628. Claimants submit that the Russian Federation violated due process by (a) ensuring that the
        courts were obedient and did not question the legality of the tax assessments; (b) ensuring that
        Yukos could not present its case; and (c) ensuring that neither the trading companies nor the
        Mordovian authorities could participate in the proceedings.

629. Regarding the legality and legitimacy of the tax assessments which Claimants say the courts
        should have scrutinized, the Tribunal recalls its finding in Chapter VIII.A that, during the
        period relevant for the tax assessments against Yukos (2003–2004), the “bad faith taxpayer”
        doctrine included the following principles:

                x    The good faith (honesty) of the taxpayer is presumed.
                x    The tax authorities have the burden to prove the taxpayer’s bad faith (dishonesty), and
                     in doing so “may not construe the concept of ‘good faith taxpayers’ as imposing on the
                     taxpayer additional obligations which are not provided for in the legislation.”

659
       Claimant’s Post-Hearing Brief ¶ 41 (citing Transcript, Day 15 at 94–95).




                                                          - 211 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 232 of 617




630. In the view of the Tribunal, questions can be asked about whether the tax assessments disclose
        a record establishing that the tax authorities discharged their burden of proving Yukos’ bad
        faith in respect of all the trading entities said to be an integral part of its tax evasion scheme.
        Some of these questions were raised by Yukos’ tax lawyers immediately after the 2000 tax
        assessment was issued. They commented:

                The act of inspection of OAO NK YUKOS contains the amounts of revenues of each
                company however it is absolutely unclear what control actions produced this information
                and what documents confirm it, etc.660

631. This question was developed in the Objections against the tax assessment filed by Yukos on
        12 January 2004. Under objection no. 6 (“Breach of the procedure for conducting an audit”),
        Yukos complained that the auditors referred to materials from the criminal case, but did not
        indicate “what specific documents of the criminal case confirm the fault of the taxpayer.”661
        Yukos’ detailed objection continued:

                Attention should also be paid to the failure to analyze and indicate taxation objects on
                additionally assessed taxes for all re-assessments under 17 companies. Furthermore, audit
                materials do not contain any source documents (waybills, statements, commercial invoices,
                etc.) and does not contain contracts for sale and purchase of goods and information about
                payment for goods. At the same time the auditors concentrated only on the matter of
                unlawfulness of tax benefits' application, although does not review at all the basic matter
                that shall be proved in the course of tax audit - the value of taxation objects of these
                17 companies. It should be mentioned that it is impossible to state the fact of non-payment
                of taxes without analysis of business operations and economic results obtained thereunder
                (revenues, profits). However, the auditors do not bother themselves with study of business
                operations, under which billions of Rubles are imputed to OAO NK YUKOS for payment.
                This directly contradict to Article 100 of the Tax Code of the Russian Federation, which
                indicates that the Audit Report must contain information about tax offense confirmed by
                the documents and Instruction of the Ministry of Taxes and Levies the Russian Federation
                No. 60 of 10.04.2000 “On Procedure for Compilation of Field Tax Audit Report and
                Proceedings in the Case of Violation of the Legislation on Taxes and Levies”, according to
                which the Audit Report must contain references to source accounting documents (with
                indication, in case of necessity, according transactions and order for reflection the
                respective operations in the accounting registers) and other evidences confirming the fact
                of violation. The Instruction also stipulates that the Report must be based on results of
                audit of all documents that may be related to the stated facts, and on results of performance
                of all other actions necessary for exercising tax control.
                According to this Instruction, the following must be attached to the Audit Report:
                  • clarified calculations by types of taxes (levies) drawn up by the auditors in connection
                    with the discovered tax offence (except for the cases when the specified calculations
                    are presented in the body text of the report). Calculations must be signed by the



660
       S. Pepeliaev, Summary of the tax inspection of OAO NK Yukos, p. 2, 5 January 2004, Exh. C-1128.
661
       Objections against Report No. 08-1, p. 13, 12 January 2004, Exh. R-335.




                                                         - 212 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 233 of 617




                     auditor (the auditors), the head of the company or private entrepreneur or their
                     representatives; and
                  • materials of cross audits (in case these were performed).
                However, these requirements are not met and source documents and tax returns of 17
                companies mentioned in the Report are not attached to the Report, which virtually deprives
                OAO NK YUKOS of opportunity to assess accusations of tax offence brought against it.
                It is also necessary to mention that in violation of the requirements of the abovementioned
                Instruction about fairness and reasonableness of the reflected facts, the Audit Report was
                written in obviously biased manner, with accusative tendency and starts with conclusions
                on presence of a certain tax evasion “scheme”. The obvious prejudice of the auditors does
                not allow to consider the Audit Report as the evidence of committed tax offence.662

632. The Tribunal notes that Article 100(2) of the Russian Tax Code requires a tax audit to contain
        “documentarily attested references to facts of tax offenses revealed during the audit . . . .”663

633. The Russian Tax Code also requires the Director of the Tax Authority to consider the
        taxpayer’s objections prior to issuing a decision (which may hold, or not hold, the taxpayer
        liable for a tax offense, or direct further tax control measures).664 Article 101(3) provides:

                3. The decision to hold the taxpayer liable for a tax offense shall indicate the
                circumstances of the committed tax offence, how they were established by the audit, the
                documents and other evidence, which attest to these circumstances, arguments presented
                by the taxpayer for his defense and the results of their verification, the decision to hold the
                taxpayer for specific tax offenses with a reference to the articles of this Code providing for
                such tax offenses and liability incurred.665

634. The 2000 Decision summarizes Yukos’ objections, but selectively so. Notably, Yukos’ specific
        objection regarding the tax authorities’ failure to document the facts allegedly underpinning the
        conclusions in the tax audit is omitted from the description in the Decision of Yukos’ objection
        no. 6.666 Moreover, while the decision contains responses or comments regarding some of
        Yukos’ other objections, it does not contain any response to this specific objection.667

635. The court decisions that affirmed the legality of the decision, both in first instance and on
        appeal, used similar wording to dismiss Yukos’ objection based on breach of procedure for
        conducting an audit:


662
       Ibid. at 14–15.
663
       Art. 100(2), Russian Tax Code, Exh. C-1704.
664
       Art. 101(1) and (2), Russian Tax Code, Exh. C-1704.
665
       Art. 101(3), Russian Tax Code, Exh. C-1704.
666
       2000 Decision, pp. 86–87, Exh. C-104.
667
       Ibid., pp. 87–90.




                                                         - 213 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 234 of 617




                  Results of the audit and the Decision were formalized in compliance with requirements of
                  Articles 100 and 101 of the Russian Federation Tax Code. The Decision indicates its
                  subject, essence and features of the tax offense imputed to the taxpayer, with reference to
                  Article 122(3) of the Russian Federation Tax Code. Demand for the payment of tax
                  arrears, interest and fines indicated in the Decision of the Russian Federation Ministry of
                  Taxes and Levies No. 14-3-05/1609-1 of 14.04.2004 are well-founded, comply with the
                  current legislation and are supported by the primary documents of audit materials,
                  presented by the Russian Federation Ministry of Taxes and levies to the Court for
                  substantiation of its claim.668

636. The Ninth Arbitrazh Court of Appeal added that “[Yukos’] reference to a lack of documents
        and information confirming bad faith on the part of the taxpayer is unfounded.”669                          The
        Tribunal observes, however, that neither court identifies any specific documents in coming to
        these conclusions; nor did Respondent submit to the Tribunal the record that was before those
        courts, or present a witness who could attest to it. This makes it impossible for the Tribunal to
        assess whether the tax authorities did indeed discharge their burden against Yukos in issuing
        and defending their tax assessments.

637. Claimants sum up their argument on this important point in their Post-Hearing Brief with the
        following submission. The Tribunal notes that these crucial allegations of Claimants were
        never rebutted by Respondent:

                  In addition, the December 29, 2003 Audit Report did not comply with the requirements of
                  the Russian Tax Code, including, in particular, by failing to document the factual
                  allegations made and by relying on unidentified and undisclosed documents from the
                  criminal investigation against Mr. Khodorkovsky. Continuing this flagrant breach of due
                  process, the tax authorities refused to allow Yukos access to the documents upon which the
                  purported claims were based, making it impossible for Yukos to defend itself.
                  Notwithstanding the fact that the results of the court cases were determined in the Kremlin
                  and it therefore could not possibly have made any difference how Yukos presented its
                  defense, this refusal even to subject the purported claims to the scrutiny of Yukos’ lawyers
                  attests to the Russian authorities’ complete lack of belief in the validity of those claims and
                  their determination to destroy the company at a rapid pace.670

638. Respondent avers that “the unbroken thread of Yukos’ tax evasion” demonstrates that the
        Russian Federation’s assessments against Yukos were entirely proper, and marshalled a




668
       Resolution of the Ninth Arbitrazh Court of Appeal, Case No. 09AP-4078/04-AK, 23 November 2004, p. 5,
       Exh. C-147; see also Decision of the Moscow Arbitrazh Court, Case No. A40-17669/04-109-241, 26 May 2004, p. 21,
       Exh. C-116.
669
       Ibid., p. 9.
670
       Claimants’ Post-Hearing Brief ¶ 24.




                                                         - 214 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 235 of 617




        substantial amount of evidence that suggests that Yukos was abusing at least some of the low
        tax regions prior to 2003.671

639. However, the Tribunal observes that nearly all of the evidence on this point relates to the
        entities in Lesnoy and Trekhgorny. The Tribunal has not found any evidence in the massive
        record that would support Respondent’s submission that there was a basis for the Russian
        authorities to conclude that the entities in Mordovia, for example, were “shams”. Indeed,
        instead of pointing to any specific evidence on which the tax authorities might have based their
        finding that the Mordovian entities were shams, Respondent reversed the burden and asserted
        that “there is no evidence that the Mordovian shells ever had any greater substance than the
        Lesnoy shells”;672 and that “[f]actually, Yukos did not even attempt to demonstrate that any
        genuine trading activities had ever been conducted in Mordovia.”673 While the incomplete
        record before the Tribunal may not, in point of fact, establish that the Mordovian trading
        companies conducted genuine trading activities in Mordovia, the Tribunal notes that the
        Russian courts systematically denied Yukos’ motions to join to the proceedings its trading
        companies and the Government of the Republic of Mordovia. This leads the Tribunal to
        conclude that the Russian courts may have prevented Yukos from adducing evidence bearing
        on the nature of its activities in Mordovia.674 The record, insofar as the Tribunal has been able
        to find, does not reveal reasons, still less persuasive reasons, for denial by the Russian courts of
        joinder of the Mordovian government and the trading companies.

640. In the specific context of determining whether, in relation to the tax assessments against Yukos,
        the tax authorities discharged their own burden of proving Yukos’ bad faith so as to be able to
        rely on the “bad-faith taxpayer” doctrine, the Tribunal makes two observations. Firstly, the tax
        authorities failed to address at the time of the 2000 Decision, Yukos’ reasoned objection based
        on the absence of specific documents in the tax audit. Secondly, Respondent failed to identify
        during the Hearing any satisfactory evidence that the abuses found in the trading firms
        operating in Lesnoy and Trekhgorny were also found in the trading companies operating in
        Mordovia and all the other low-tax regions where Yukos entities were present. While it is true,
        and suggestive, that Claimants did not introduce evidence at the Hearing showing that trading


671
       Respondent’s Closing Slides, pp. 3–35.
672
       Ibid. p. 33.
673
       Ibid. p. 98.
674
       See Reply ¶ 286.




                                                   - 215 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 236 of 617




        companies which operated in Mordovia were not “shams”, it is first and foremost the conduct
        of the tax authorities that the Tribunal must examine in the context of the tax assessments that
        these authorities imposed on Yukos. Focusing exclusively on Claimants’ failure to demonstrate
        that the Mordovian entities were not “shams” would empty of meaning the important principle
        that the tax authorities had the burden of proving the taxpayer’s bad faith under Russian law.
        On this point, the following extract from the Pribrezhnoye decision issued by the Federal
        Arbitrazh Court for the North-Western District on 5 June 2002 (well before the tax assessments
        against Yukos) is instructive:

                In addition, the IMNS’s reference to the absence of presentation of evidence by the
                Company on the conduct of its business in the ZATO territory, which was supported by the
                court, is erroneous.
                Pursuant to Article 53 (part one) of the Arbitrazh Procedure Code of the Russian
                Federation in considering disputes on the invalidity of acts of State authorities, local self-
                government authorities and other authorities; it is up to the relevant authority to prove the
                circumstances, which provided the grounds for issuing the said acts. Due to the fact that
                the disputed tax benefit had been granted to the defendant by a competent ZATO authority,
                and that the IMNS issuing the challenged non-regulatory decision found the granting of the
                benefit unlawful, the courts erroneously imposed the burden of proof on the Company.675
                                                                                           [emphasis added]

641. Looking at the tax assessments themselves, the Tribunal observes that, if there is an “unbroken
        thread” running through the tax authorities’ analysis of Yukos’ tax optimization scheme, it is
        the consistent and uniform finding that each trading entity is “interdependent” with Yukos. But
        that interdependence in the view of the Tribunal of itself does not establish bad faith on the part
        of all the trading entities.

642. In its objections to the Tax Audit (objection No. 1: “Illegal conclusions concerning legal
        definition of interdependent persons”), Yukos complained about the authorities’ reliance on
        interdependence as the principal factor motivating their conclusion that Yukos’ tax
        optimization scheme was a tax evasion scheme, noting that interdependence has a specific
        meaning under the Russian Tax Code (in Article 20), and with strictly determined legal
        consequences (under Article 40). 676 These provisions allow authorities to disregard prices used
        in transactions between interdependent persons when those prices deviate by more than
        20 percent from the market price, and to assess additional taxes and interest calculated as if the



675
       Pribrezhnoye, p. 5, Exh. C-1278.
676
       Objections against Report No. 08-1, pp. 1–5, 12 January 2004, Exh. R-335.




                                                         - 216 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 237 of 617




        transactions were concluded at the market price. Again, the Tribunal notes that this objection
        was not directly addressed in the 2000 Decision.677

643. The Tribunal notes that the relevant audit reports and decisions do refer generally to various
        factors that would seem to be relevant to a finding that the legislation in low-tax regions was
        being abused by Yukos. For example, they refer to the absence of trading activity in the
        regions and the absence of sufficient or even of any investment by the trading entities in the
        low tax regions. However, a close analysis of the tax assessment for 2000, for example, reveals
        that it was not established by the tax authorities that each of the trading entities which it
        labelled as a “sham” had no trading activity whatsoever, as opposed to just being
        “interdependent” on Yukos or not having physical facilities to handle oil and oil refining.

644. The Tribunal agrees with Claimants (and apparently also with Mr. Konnov) that it is nonsense
        to require a trading company to demonstrate physical interaction with the goods or
        commodities that it is trading, especially in the era of electronic communications. In this sense,
        the Tribunal is highly skeptical of the reasoning in the 2000 Audit Report (and subsequent
        reports) that the absence of physical movement of oil in and out of the low-tax region where the
        respective trading entity is located is evidence of a sham. The Tribunal observes that the
        reasoning on this point in the 2000 Audit Report is also inconsistent with the decision in the
        Pribrezhnoye case.

645. In that case, the Federal Arbitrazh Court for the North-Western District reversed decisions of
        lower courts that had accepted the tax authorities’ efforts to impose additional eligibility
        requirements on a ZATO-based oil trading company beyond those laid out in the ZATO law. It
        explicitly noted that:

                Under these circumstances the examination of whether the Company had fixed assets for
                oil products storage and transportation in the ZATO territory is beyond the scope of this
                case, because operations of trade in oil products, i.e. conclusion of contracts of sale, do not
                require the Company to own such fixed assets or for the oil products to be present within
                the ZATO territory.678




677
       2000 Decision, pp. 87–90, Exh. C-104. There is also only a minor reference to the objection in the Decision of the
       Moscow Arbitrazh Court, Case No. A40-17669/04-109-241, 26 May 2004, p. 19, Exh. C-116. (“The court considers
       unfounded the Respondents’ arguments that the status of interdependent entities has legal importance solely for the
       possibility of applying market prices to determine the results of the transactions for tax purposes. Interdependence of
       entities in this case is one of the circumstances by which the tax authority substantiates bad faith of the taxpayer.”).
678
       Pribrezhnoye, p. 3, Exh. C-1278




                                                           - 217 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 238 of 617




646. The court added

                  The references by the courts to the facts that transfer and acceptance of crude oil occurred
                  outside the ZATO territory; that [the manager of a customer company was in a different
                  ZATO when the transfer was signed]; that the phone numbers of the rented office premises
                  are recorded to the name of a person other than the Company; and that the defendant had
                  not paid the office electricity bills are equally unfounded. The said circumstances per se
                  do not refute the fact that the Company was doing business as a trade company in the
                  territory of the ZATO, and they have no relevance for the case because they are not taken
                  into account by tax legislation in determining eligibility for tax benefits.
                  The examination of the said circumstances by the first instance court and the court of
                  appeal reveals their misinterpretation of Article 5(1) of the ZATO Law, in that the court
                  went beyond the eligibility criteria for tax benefits that are explicitly set forth in this
                  provision. In violation of Article 3(7) of the TC, the first instance court and the court of
                  appeal regarded the absence of any criteria on doing business in ZATO territory other than
                  fixed assets, workers on payroll and salary payments as grounds for the independent
                  establishment of such criteria by a tax authority or a court.679
                                                                                            [emphasis added]

647. Finally, the Tribunal agrees with Claimants that the criterion of “proportionality” seems to be
        difficult to apply as a stand-alone basis to invalidate the structure in the low-tax regions. This
        is due to the fact that the proportion between the tax savings and the investment in the low-tax
        region should have been readily apparent to the tax authorities on the face of the tax filings and
        related tax documents.             On the other hand, where properly evidenced, a grossly
        disproportionate arrangement combined with an “empty shell” structure could, in the Tribunal’s
        view, validly attract the attention of the authorities under the “anti-abuse” doctrine.

648. To conclude, it thus appears to the Tribunal that the Tax Ministry, in its assessments against
        Yukos, painted all of the Yukos’ entities in the low tax regions with the same brush, even
        though it marshalled little, if any, documented evidence that all, and not only some, of the
        trading entities were abusing the low tax regime in which they had respectively been
        constituted. On the one hand, the Tribunal accepts that, if Claimants had evidence of genuine
        business activity of the trading companies in the low-tax regions, they would have introduced it
        or referred to it orally. Accordingly, resolution of these critical issues is not free from doubt.
        But on the other hand, and on balance, where neither side was able to demonstrate the facts, but
        where Yukos’ files were in the hands of Respondent, the Tribunal feels justified in holding
        Respondent bound by the burden of proof. Respondent failed to meet that burden. Moreover,
        it refused to join Mordovian authorities and the trading companies to the litigation.
        Furthermore, the re-attribution remedy was unprecedented at that time in the Russian

679
       Ibid., p. 4.




                                                        - 218 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 239 of 617




        Federation. Respondent’s resort to re-attribution appears to be linked to its determination to
        impose a massive VAT liability on Yukos.


                (b)    VAT

                               i.     Introduction

649. Claimants argue that the imposition of VAT by the tax authorities, and more specifically their
        refusal to attribute to Yukos the trading companies’ VAT returns and refunds, is arbitrary
        because (a) it is undisputed that the goods at issue in the underlying transactions were exported
        and that the trading entities timely and duly filed VAT returns (and thus that the transactions
        benefited from the exemption from VAT or zero percent rating, depending on the year);680
        (b) the refusal to attribute the trading companies’ VAT returns and refunds to Yukos is
        inconsistent with Respondent’s attribution to Yukos of the trading companies’ revenues for
        purposes of calculation of tax (be it profit tax or VAT or any of the other taxes); and (c) Yukos’
        refilings of VAT returns were rejected on the basis of technicalities, thus demonstrating that
        Respondent had no intention of treating Yukos in good faith.681

650. Respondent takes the position that the VAT assessments against Yukos were perfectly proper,
        and consistent with the corporate profit tax assessments. In both cases, Respondent argues, the
        assessments were based on the application of Russian tax law to the true situation, established
        by the tax authorities, that Yukos was the “real taxpayer” and “actual exporter” in the various
        transactions that the trading companies had entered into. Respondent’s position is also based on
        its assertions that under Russian law, the granting of a zero percent VAT rate is subject to
        compliance with stringent documentary requirements; and that it is undisputed that Yukos itself
        never filed regular VAT returns or proper amended VAT returns in relation to the transactions
        in question.682

651. The Tribunal observes that there was no element in Yukos’ tax scheme that enabled Yukos to
        benefit improperly or illegally from a VAT exemption or a zero percent rating. As noted earlier

680
       See Second Konnov Report ¶ 84, n.137. Mr. Konnov explains: “Prior to entry into force on January 1, 2001 of
       Chapter 21 of the Russian Tax Code governing VAT, VAT was governed by Law of the Russian Federation
       No. 1992-1, On the Value Added Tax, December 6, 1991 (the ‘VAT Law’). Under the terminology of the VAT Law,
       exports were ‘exempt’ from VAT whilst under the Russian Tax Code they are subject to 0% VAT rate. In substance,
       exemption from VAT on exports was similar to the 0% tax regime.” Ibid.
681
       Claimants’ Opening Slides, p. 63.
682
       Respondent’s Opening Slides, p. 111.




                                                       - 219 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 240 of 617




        in this Award, VAT is a uniform federal tax that benefits from an exemption or a zero percent
        rating if the transaction involves an export to a foreign purchaser. In other words, even if
        Yukos’ tax scheme was entirely unlawful (or unlawful in some respects), and the authorities
        were justified in attributing the trading companies’ revenues to Yukos for tax purposes, there is
        no suggestion by Respondent that the trading companies (or Yukos) did anything “wrong” vis-
        à-vis VAT with their tax scheme. The Tribunal must consider the propriety of the multibillion
        dollar VAT assessments against Yukos in this context.

652. The Tribunal addresses the specific questions arising on the topic of the VAT assessments in
        the following subsections.


                               ii.    Was the Imposition of VAT Payments on Yukos Inconsistent with
                                      the Attribution to Yukos of the Trading Companies’ Revenues?

653. Claimants assert that when the Russian Tax Ministry reattributed to Yukos all of the revenues
        (including the export revenues) of its trading companies, it should have attributed to Yukos the
        VAT refunds previously obtained by the trading companies with respect to their exports.
        Instead, in what Claimants characterize as a “contradiction with its own theory,” the Tax
        Ministry chose to impose the amounts on Yukos, justifying the VAT payment demands on the
        failure by Yukos, as the “real taxpayer”, to file on time “the documentation required to validate
        the VAT exemption or the 0% VAT rate”.683

654. Claimants sum up their argument in their Memorial as follows:

                This formalistic position, systematically challenged by Yukos before the arbitrazh courts,
                but endorsed without any thorough analysis by these courts, was obviously circular: the
                trading companies, not Yukos, had exported oil and oil products and filed all the necessary
                documentation; under the applicable laws, Yukos did not have to file and could not have
                filed such documentation at the relevant times. The fact that, even when Yukos attempted
                to submit the updated VAT returns in its own name to satisfy the Tax Ministry, its
                submissions were simply rejected as improper and untimely, amply shows the Tax
                Ministry’s bad faith and true intentions.684

683
       Memorial ¶ 321–22.
684
       Memorial ¶ 322 (citing as regards Yukos’ tax reassessment for the year 2000, Decision of the Moscow Arbitrazh
       Court of 26 May 2004, 28 May 2004, p. 19 of the Russian original, Exh. C-116; as regards Yukos’ tax reassessment
       for the year 2001, Resolution of the Ninth Arbitrazh Court of Appeal of 9 February 2005, 16 February 2005, p. 23 of
       the Russian original, Exh. C-167; as regards Yukos’ tax reassessment for the year 2003, Decision of the Moscow
       Arbitrazh Court of 21 April 2005, 28 April 2005, p. 59 of the Russian original, Exh. C-196, and Resolution of the
       Federal Arbitrazh Court for the Moscow District of 18 November 2005, 5 December 2005, p. 17 of the Russian
       original, Exh. C-197; as regards Yukos’ tax reassessment for the year 2004, Resolution of the Ninth Arbitrazh Court
       of Appeal of 11 August 2006, 18 August 2006, p. 35 of the Russian original, Exh. C-336; as regards Yukos’ tax
       reassessment for the year 2002, Transcript of the hearing held at the Moscow Arbitrazh Court on 14–16 December




                                                         - 220 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 241 of 617




655. In its Counter-Memorial, Respondent asserts that the tax authorities were justified to treat
        Yukos itself as the real party in interest, “which for VAT purposes, meant treating it as the real
        exporter. This approach simply reflected reality.”685 As such, Respondent argues, Yukos could
        have benefited from exemption (or “zero-rating”) only if, as “the true exporter”, it had timely
        filed “the requisite documentation in the correct manner.”686

656. Claimants reaffirm their position in their Reply, stating that Respondent’s position on VAT
        “was wholly inconsistent with the entire re-attribution theory upon which all of the other
        purported tax claims were premised.”687 In short, Claimants argue that “it was arbitrary and
        contradictory for the authorities to re-attribute the trading companies’ oil, revenues, profits, tax
        liabilities and activities to Yukos but to refuse to re-attribute to Yukos those companies’
        entitlement to VAT refunds.”688

657. More specifically, Claimants note that “there is no support in Russian law for the tax authorities
        to conclude that the ‘true exporter’ could be someone other than the legal owner as reflected in
        the relevant documentation.”689 In particular, Claimants assert that neither Article 165 of the
        Russian Tax Code nor the decision of the Constitutional Court690 affirming the constitutionality
        of Article 165, on which Respondent relies, say anything about “true exporters”.691

658. The Tribunal notes that, in audit reports and decisions prior to the reassessments in December
        2003, there are frequent references to the trading companies’ use of export agents.                             For
        example, in Decision No. 23 in respect of Alta-Trade, the decision notes that “Oil products are
        being exported through commission agent OAO NK Yukos and ZAO Trading House
        Angarsk-Nefto.”692          To prove that exports in fact took place, more than ten commission
        agreements were provided to the authorities, along with



       2004, p. 21 of the Russian original, Exh. C-183; as regards Yukos’ tax reassessment for the year 2003, Decision of the
       Moscow Arbitrazh Court of 21 April 2005, 28 April 2005, p. 59 of the Russian original, Exh. C-196).
685
       Counter-Memorial ¶ 1073.
686
       Ibid. ¶ 1074.
687
       Reply ¶ 244.
688
       Ibid.
689
       Reply ¶ 245.
690
       Resolution of the Constitutional Court of the Russian Federation No. 12-P, 14 July 2003, Exh. R-1501.
691
       Reply ¶ 246.
692
       Decision No. 23 on partial refusal to refund/offset VAT (Alta-Trade), 15 June 2000, p. 1, Exh. C-1110




                                                             - 221 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 242 of 617




                “certificates of transactions entered into by the commission agent, bank statements
                evidencing crediting of funds to the commission agent’s accounts, bank statements
                evidencing crediting of funds to OOO Alta-Trade’s accounts, commission agents reports,
                copies of complete custom freight declarations and shipping documents confirming export
                of goods by sea outside the CIS member states[,] . . . complete customs freight declarations
                [with] the necessary notes made by customs authorities – “clearance allowed”, “goods
                exported”, and also notes made on shipping documents – “loading allowed” on loading
                instructions, notes made on marine bills of lading concerning acceptance of cargos for
                transportation.693

659. The Tribunal also notes that, in these audits, the taxation authorities did not appear to be
        concerned with these relationships. Several other audit reports and decisions also mention the
        use of export agents.694

660. In its Rejoinder, Respondent maintains its position regarding the propriety of the VAT
        assessments and their consistency with the profit tax assessments against Yukos. Respondent
        explains why Claimants are wrong, in its view, for characterizing the VAT assessments as
        being arbitrary and contradictory:

                Once again, Claimants are wrong. The authorities’ approach with respect to Yukos’ VAT
                liability was consistent with their approach to Yukos’ corporate profit tax liability. In both
                instances, they treated Yukos as the actual owner and exporter of the oil and oil products,
                and therefore the actual entity responsible for both profit tax and VAT. Thus, the
                authorities found that:
                (i)     Yukos was the real party in interest in the challenged transactions.
                (ii)    The profit generated through those transactions was Yukos’ own profit, which
                        Yukos had fictitiously allocated to the trading shells for no purpose other than to
                        evade taxes which it otherwise was obligated to pay.
                (iii)   Yukos, not its trading shells, was the real exporter of the oil and oil products that
                        were the subject matter of those transactions.
                The inescapable conclusion from these findings is that Yukos, not its trading shells, should
                have filed the requisite documents to claim a 0% VAT rate, which as discussed below
                Yukos did not do properly. The VAT was thus due from Yukos and the Yukos VAT
                assessments were proper.695

661. Claimants sum up their position in their Post Hearing Brief:


693
       Ibid.
694
       See Decision No. 48 to deny refunding (offset) VAT (Alta-Trade), 29 October 2001, p. 1, Exh. C-1116; Decision
       No. 53 on partial refusal to refund/offset VAT (Mars XXII), 27 December 2004, p. 1, Exh. C-1117; Field Tax Audit
       Report No. 02-52, 19 April 2002 ¶ 1.7, Exh. C-1120; Field Tax Audit Report No. 02/105, 3 March 2003 ¶ 1.10,
       Exh. C-1124; Field Tax Audit Report No. 02-126, 22 October 2003, p. 3, Exh. C-1125; and Exh. C-1121, p. 3, which
       notes Article 165 of the Russian Tax Code, and states “No offense were discovered during the audit as to whether the
       value added tax actually paid to suppliers for materials acquired/booked, work performed or services provided, to the
       extent they were used to produce export goods, has been properly refunded/credited; whether OOO Ratmir had
       documents to support actual exports of such goods, and whether it properly assessed tax on domestic sales of goods.”
695
       Rejoinder ¶¶ 706–7.




                                                          - 222 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 243 of 617




                If the tax authorities had authority to reassign items from the debit side of the trading
                companies’ taxpayer accounts to the debit side of Yukos’ taxpayer account, then they must
                also have had the corresponding authority to transfer the entries on the credit side –
                particularly in light of the tax authorities’ own prior determinations that the 0% export
                VAT rate applied to all of the transactions in question.696

662. During his cross-examination of Mr. Konnov, Professor Gaillard recalled that the revenue of
        the trading companies was attributed to Yukos:

                Q.      So can we agree that the revenues were found in the books of separate legal entities,
                        which were the trading companies; can we agree on that?
                A.      I think you already asked that question, and I said that, yes, the tax authorities used
                        the books of the domestic offshore companies to get the figures.
                Q.      Right. And they took this amount and deemed this amount to be revenues of the
                        Yukos; correct?
                A.      That is correct: they treated that revenue as revenue of Yukos.697

663. Similarly, Mr. Konnov confirmed that if there had been no attribution of revenue to Yukos the
        VAT issue would not have arisen:

                Q.      I may disagree with you on some aspects of that, but I’m not reopening that. I am
                        just talking about VAT.
                        If the tax authorities had decided that the trading companies themselves had
                        violated, say, the Mordovian Law, or the Law which is applicable to them, or the
                        Federal Anti-Abuse Law, or whatever Law, but they have violated that Law; and if
                        the tax authorities had said, “Okay, they abused, so all these tax benefits which they
                        had, they should never have had these benefits, because there is no proportionality,
                        because it’s form over substance”, whatever reason, “So they should pay, they
                        should reimburse all these benefits”, and possibly pay interest, fines, whatever --
                        okay? -- if that had been the case, would the VAT issue have arisen at all?
                A.      No.
                Q.      You are with me on that?
                A.      Yes.
                Q.      So it would not. And the VAT issue arises only because it’s Yukos which has been
                        deemed to be the person having the revenues, and hence not having declared those
                        revenues, and hence not having paid the VAT corresponding to the sales which
                        generated those revenues; correct?
                A.      To be more specific, the VAT issue arises because VAT returns were not refiled.
                Q.      No, because they were not filed in the first place, right?
                A.      No, because they were not refiled by Yukos. So the basis is not attribution; the
                        basis is failure to file VAT returns.



696
       Claimant’s Post-Hearing Brief ¶ 43 (citations omitted).
697
       Transcript, Day 13 at 85–86.




                                                           - 223 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 244 of 617




                 THE CHAIRMAN: That’s not the question. If there had been no reattribution, if the
                 trading companies had been assessed the profit tax, et cetera, there would not have been a
                 VAT issue.
                 A.     Right. But I think I responded to that.
                 THE CHAIRMAN: Yes.
                 A.     I responded to that. That’s correct.698

664. Mr. Konnov acknowledged that the trading companies had filed their VAT returns and had
        claimed the VAT refunds as required:

                 Q.    Right. Do you agree with me that it’s not disputed that the trading companies
                       themselves have filed properly the VAT returns, and have requested and they have
                       been granted the 0% rate because the goods were exported? Correct? Do we agree
                       on that?
                 A.    I agree, they were. As we discussed earlier today, there were a few minor issues.
                       But apart from these minor issues, this is correct: the domestic companies filed
                       VAT returns, claimed refund, and obtained refund.699

665. Mr. Konnov confirmed that Yukos was assessed the massive VAT liability because it failed to
        file in its own name VAT returns in respect of the trading entities’ exports, since it had been
        found by the tax authorities to be the true exporter:

                 PROFESSOR GAILLARD: Okay, the next question is: is it your understanding of what
                 happened that when the VAT issue did arise for Yukos, because Yukos was deemed to be
                 the person having received the revenues from the sales, when it did arise, is it your
                 understanding of the case that the reason why they had to pay this massive amount of VAT
                 is from the outset because they were criticised for not having submitted themselves the tax
                 returns in time? Is that your understanding of what happened?
                 A.    Right: VAT returns primarily, and the documents that need to be attached to that.
                       But the main issue relates to the failure of Yukos to file the VAT returns with
                       respect to these exports.
                 ...
                 A.    I thought I had responded to that in my reports. But in essence the Tax Code
                       requires VAT returns to be filed by the exporter. There is a formalistic procedure.
                       Tax authorities have historically applied the law very formally. They said that
                       Yukos had to refile. There is nothing difficult in refiling, and Yukos did not refile.
                       So therefore the basis for VAT assessment is not failure of Yukos to export, as we
                       agreed; but the basis is failure of Yukos to file the documentation in its own
                       name.700
                                                                                           [emphasis added]



698
       Transcript, Day 14 at 227–28.
699
       Ibid. at 230.
700
       Ibid. at 229 and at 230–31




                                                        - 224 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 245 of 617




666. However, Mr. Konnov did not perceive any inconsistency between the attribution of revenue to
        Yukos and the position of the tax authorities and the courts that Yukos itself needed to file the
        VAT returns:

                 Q.     Do we agree that for the revenues themselves, the authorities applied a substance
                        over form principle? Do we agree on that?
                 A.     The tax authorities applied substance over form for both profits tax and VAT
                        purposes.701

667. In his First Report, Mr. Konnov explains his position in the following terms:

                 At the outset, I should note that the tax authorities and courts were fully consistent in
                 treating YUKOS for profit tax and VAT purposes. Revenue of the Domestic Offshore
                 Companies was recognized as revenue of YUKOS for both profit tax and VAT
                 purposes.702

668. The Tribunal observes that while the approach taken by the Tax Ministry was consistent in the
        sense that revenue was recognized as revenue of Yukos for both profit tax and VAT purposes,
        it was inconsistent in that, while the burden of the substance over form doctrine was imposed
        on Yukos, its corresponding benefit was not.                Put another way, while technicalities and
        formalism are said to preclude the attribution of the VAT filings of the trading entities to
        Yukos, it does not appear that the Tax Ministry was concerned with technicalities and
        formalism when it came time to attribute their revenue to Yukos.

669. A member of the Tribunal put the pertinent question to Mr. Konnov. The following exchange
        with the witness is important:

                 JUDGE SCHWEBEL: In substance, Russian courts treated the activities of the trading
                 companies as the activities of Yukos itself, while at the same time they did not attribute to
                 Yukos a critical element of those activities, namely their filing for VAT refunds.
                 In the interests of obvious justice, why did not the Russian courts treat the filings for VAT
                 by the trading companies as filings by Yukos?
                 A.     If I may, I see two aspects in your question. First, I do not think that Russian tax
                        authorities -- as I think was suggested in your question -- treated the activities of
                        trading companies as the activities of Yukos. I think it would be more correct, if I
                        may, to say that they established that trading companies conducted no activity, and
                        therefore they simply ignored that for tax purposes.
                        As regards . . . the substance of your question, the reason is very simple: is that, as I
                        mentioned, in order to get the tax benefit, you need to comply with the substance
                        and with the documents. And here the documentary requirement was not
                        burdensome; it was not difficult to refile the VAT return. The tax authorities did

701
       Ibid. at 231.
702
       First Konnov Report ¶ 54




                                                         - 225 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 246 of 617




                        look at the substance, but simply said, “You need to comply with the documentary
                        requirement,” and consistently Yukos failed to comply with that.
                        So I don’t see contradiction.703

670. Respondent relies on both Article 165 of the Russian Tax Code and Constitutional Court
        Resolution No. 12-P. Neither of these texts, however, appears to the Tribunal to provide a clear
        basis for the authorities’ refusal to attribute to Yukos the VAT filings that had been made by
        the trading entities when they were considered the taxpayer. On the other hand, they do support
        the basic proposition that the Russian Tax Code requires the VAT return to be filed by the
        “taxpayer.”704

671. In the view of the Tribunal, the jurisprudence of the Russian courts does not support the
        imposition of VAT payments on Yukos as happened in this case.                                   In particular, the
        Energomashbank decision of the Russian Constitutional Court stands for the proposition that
        courts must not limit themselves to a purely formalistic analysis in assessing tax claims by the
        State, but rather must examine the actual facts in order to respect the taxpayer’s right to a fair
        opportunity to defend itself against the claim.705


                                iii.    Would any Illicit Conduct by a Taxpayer Justify the Denial of a
                                        VAT Exemption, Irrespective of Whether the Illicit Conduct was
                                        Connected to VAT, and without any Regard to Proportionality?

672. In its Counter-Memorial, Respondent raises an additional argument in support of the
        authorities’ denial of the VAT exemption to Yukos. Respondent asserts that, in any event, “the
        denial of [a] VAT exemption is appropriate when the exporter, like Yukos, has been involved
        in flagrantly illicit conduct.”706 In support of its argument, Respondent relies on what it
        characterizes as the practice in many countries to deny “the benefit of exemption or 0% rating,
        even where documentary requirements have been punctually satisfied, if the relevant export
        transaction is tainted by illegality (as was the case with Yukos) or even simply by




703
       Transcript, Day 15 at 231–32.
704
       Second Konnov Report ¶ 89.
705
       Resolution of the Russian Constitutional Court No. 14–P ¶ 4, 28 October 1999, Exh. R-293 (the right to judicial
       defense is infringed when courts fail to investigate actual facts and limit themselves to establishing “formal conditions
       for the application of the law”). See also Reply ¶ 236 and Second Konnov Report ¶ 72.
706
       Counter-Memorial ¶ 1076.




                                                            - 226 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 247 of 617




        impropriety.”707         In particular, Respondent relies on the decision of the ECJ in
                           708
        R. v. Germany.

673. Respondent summarizes the R. v. Germany decision as follows in its Counter-Memorial:

                More recently, the European Court of Justice, in the case of R. v. Germany,upheld the
                imposition of VAT by the German tax authorities on export transactions that had been
                carried out by an individual who had made fraudulent misrepresentations in his
                applications for exemption from German VAT, notwithstanding the fact that the fraud had
                not deprived Germany of any tax revenues, since the goods in question had effectively
                been exported out of Germany and therefore—but for the fraud in the attendant
                documentation—would have been unquestionably entitled to full exemption from German
                VAT. The ECJ rejected the argument that imposition of VAT on the exporter would
                violate “principles of fiscal neutrality or legal certainty, or . . . legitimate expectations,”
                holding that none of those principles can “legitimately be invoked by a taxable person who
                has intentionally participated in tax evasion. . .” This was true, the court held, even though
                the tax evaded was not one that the taxpayer himself would normally have had to pay, and
                even though the result was that Germany ended up with a windfall, collecting a tax that, in
                the absence of fraud, it would never have been able to assess.709

674. In their Reply, Claimants contend that this decision is of no assistance to Respondent, because
        it “does not suggest that the tax authorities may deny VAT exemptions because of allegations
        of illegality unrelated to actual compliance with the VAT law.”710 Indeed, contrary to the R. v.
        Germany decision (in which, Claimants assert, the ECJ expressly rejected a punitive approach),
        Claimants argue that the “staggering demands for VAT payment—plus fines and interest—
        made by the Tax Ministry”711 constitute an entirely disproportionate response to the alleged




707
       Ibid. ¶ 1206.
708
       R. v. Germany, ECJ, Case C-285/09, Judgment, 7 December 2010, Exh. R-1401 (hereinafter “R. v. Germany”).
709
       Counter-Memorial ¶ 1208 (citing R. v. Germany ¶ 22). Respondent notes: “In fact, as made clear by the ECJ, the
       German taxpayer had not himself evaded any tax for which he might have been liable, because the sole purpose and
       effect of his fraudulent conduct had been to assist unrelated third parties—his foreign customers—to evade taxes in
       their home country of Portugal.” Ibid. n.1878.
       Respondent adds further: “The ECJ stated that “[t]hose principles cannot legitimately be invoked by a taxable person
       who has intentionally participated in tax evasion and who has jeopardized the operation of the common system on
       VAT”. Ibid. ¶ 54. The ECJ also summarily dismissed the argument that imposition of VAT on an exporter (who, as
       had been pointed out by the Advocate General, would probably never be able to recover it from his customer) would
       violate the general EU principle of proportionality. The court held that the exporter’s involvement in the third party’s
       tax evasion scheme was “decisive” in this regard. Specifically the court stated that “[a]s regards the principle of
       proportionality, it must be observed that this does not preclude a supplier who participates in tax evasion from being
       obliged to pay VAT subsequently on this intra-community supply, inasmuch as his involvement in the evasion is a
       decisive factor to be taken into account in an assessment of the proportionality of a national measure. . . .”) Ibid.
       n.1879.
710
       Reply ¶ 248.
711
       Ibid. ¶ 249.




                                                           - 227 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 248 of 617




        defects in the paperwork submitted by Yukos, and are evidence of “the tax authorities’ manifest
        bad faith on this issue.”712

675. According to Respondent, however, the decision is directly applicable to the present case
        because, in that case, the ECJ held “that it is entirely appropriate for a State to deny VAT
        refunds (or exemptions) to an exporting company whose conduct, like Yukos’, involves
        ‘evasion, avoidance or abuse,’ even though the scheme did not deprive that State of any VAT
        or other revenues.”713 Respondent asserts that Claimants’ attempt to distinguish the R. v.
        Germany decision on the grounds that, in that case, the scheme involved an attempt to evade
        VAT charges, whereas Yukos’ fraud was designed to evade a tax on profits, is “sophistic.”714
        Respondent explains:

                What makes the European Court of Justice’s decision relevant to these arbitrations is its
                holding that, because the export transactions in that case were part of an abusive scheme,
                Germany was entitled to levy VAT on those exports, notwithstanding the fact that no
                German tax (of any kind) had been evaded. Reasoning by analogy, Russia’s VAT
                assessments against Yukos were appropriate a fortiori, since Yukos’ fraudulent scheme—
                unlike the one in R v. Germany—most assuredly involved a revenue loss for Russia, to wit,
                the loss of huge amounts of corporate profit tax that the Yukos tax evasion scheme was
                engineered to evade.715

676. In its Post-Hearing Brief, Respondent again invokes the ECJ’s decision in R. v. Germany.716
        Claimants, in their own Post-Hearing Brief, reiterated that “Yukos’ tax optimization structure
        was not aimed at, and indeed could not possibly achieve, any reduction in VAT liabilities.”717
        Claimants conclude that this decision is of no assistance to the Tribunal.

677. The Tribunal is not persuaded that the Russian Federation’s imposition of massive VAT
        liabilities on Yukos can be excused or justified on the basis of the R. v. Germany decision.
        Firstly, no element of Yukos’ tax optimization scheme could be said to constitute an abuse of
        the VAT system. In the R. v. Germany case, however, the taxpayer who was denied the VAT
        exemption was convicted on two counts of tax evasion by means of which he had evaded more
        that €1 million of VAT in 2002 and more than €1.5 million of VAT in 2003. Secondly, the
        Tribunal considers the imposition of VAT on Yukos to be a disproportionate response to
712
       Ibid. ¶ 252.
713
       Rejoinder ¶ 709 (emphasis in original) (citing R. v. Germany ¶ 51, Exh. R-1401).
714
       Rejoinder ¶ 710.
715
       Ibid.
716
       Respondent’s Post-Hearing Brief ¶ 42.
717
       Claimants Post-Hearing Brief ¶ 42.




                                                          - 228 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 249 of 617




        whatever abuse took place in the low-tax regions, considering that the tax authorities had
        already imposed all of the revenue-based taxes deemed to be owed by the trading entities on
        Yukos. In the R. v. Germany decision, the ECJ reminded Member States that they

                must observe the general principles of law that form part of the European Union legal
                order, which include, in particular, the principles of legal certainty and proportionality and
                the principle of protection of legitimate expectations (see, to that effect, Joined Cases C-
                286/94, C-340/95, C-401/95 and C-47/96 Molenheide and Others [1977] ECR 1-7281,
                paragraph 48; Case C-384/04 Federation of Technological Industries and others [2006]
                ECR 1-4191, paragraphs 29 and 30; and Case C-271/06 Netto Supermarkt [2008] ECR 1-
                771, paragraph 18). As regards, in particular, the principle of proportionality, the Court
                has already held that, in accordance with that principle, the measures which the Member
                States may thus adopt must not go further than is necessary to attain the objectives of
                ensuring the correct levying and collection of the tax and the prevention of tax evasion
                (see, in particular, Case C-188/09 Profaktor Kulesza, Frankowski JóĨwiak, Orlowski
                [2010] ECR 1-0000, paragraph 26).718

678. In the present case, with respect to the denial by the Russian tax authorities of the VAT
        exemption to Yukos, the Tribunal finds that the Russian Federation did go much further than
        was necessary to attain a legitimate objective of collecting taxes.


                                iv.   Did Yukos Contribute to its Own Demise by Failing to File
                                      Proper VAT documentation, or Does the Evidence Suggest that
                                      Any Efforts by Yukos to Minimize its Liability would have been
                                      Thwarted by the Authorities?

679. In its Counter-Memorial, Respondent also contends that Yukos acted self-destructively in
        relation to VAT, in as much as:

        (a)     Yukos could have avoided further VAT assessments “easily and at no cost, simply by
                having Yukos itself (or one of the other genuine companies of the Yukos group)
                acknowledge its status as the real exporter and file the requisite documentation itself”.719

        (b)     Yukos, when it belatedly filed amended VAT returns for some prior periods, “submitted
                those returns in a format that was incapable of being processed by the authorities’
                computer, with the result that, as any tax expert would have predicted, they were
                rejected.”720



718
       R. v. Germany ¶ 45, Exh. R-1401.
719
       Counter-Memorial ¶ 1078.
720
       Ibid. ¶ 1079.




                                                       - 229 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 250 of 617




680. In relation to the format for filing the VAT returns, Respondent, in its Counter-Memorial,
        wrote:

                 For an unexplained reason, Yukos belatedly filed yearly VAT returns, whereas quarterly or
                 monthly returns were required. See Konnov Report, ¶ 58. See Article 163 of the Tax Code,
                 providing with respect to VAT that “1. Tax period shall be established as a calendar month,
                 unless otherwise provided by paragraph 2 of this Article (this applies to taxpayers
                 performing the obligations of tax agents, hereinafter referred to as tax agents). 2. For
                 taxpayers (tax agents) whose monthly revenues from the sale of goods (works, services)
                 within a quarter, excluding the tax and sales tax, do not exceed one million rubles, the tax
                 period shall be established as a quarter.” With effect from Jan. 1, 2004, Article 163 was
                 amended to read: “1. Tax period shall be established as a calendar month, unless otherwise
                 provided by paragraph 2 of this Article (this applies to taxpayers performing the
                 obligations of tax agents, hereinafter referred to as tax agents). 2. For taxpayers (tax
                 agents) whose monthly revenues from the sale of goods (works, services) within a quarter,
                 excluding the tax, do not exceed one million rubles, the tax period shall be established as a
                 quarter.” [Exh. R-1502]. Not surprisingly, the courts have rejected such returns. See,
                 e.g., Decision of the Moscow Arbitrazh Court, Case No. Ⱥ40-4338/05-107-9/
                 Ⱥ40-7780/05-98-90 (Apr. 28, 2005), 59 [Exh. C-196] (“The tax return submitted by OAO
                 Yukos Oil Company for value added tax for 2003 cannot be considered, since it does not
                 meet the requirements of tax legislation regarding submission of a VAT tax return for each
                 tax period, which is a month or quarter”).721
                                                                                 [emphasis added by Respondent]

681. For Claimants, the particular format of the VAT filings was just a pretext by the tax authorities
        for refusing to credit Yukos for the VAT refunds obtained by the trading companies:

                 The Respondent accuses Yukos of having “acted self-destructively” by filing yearly VAT
                 returns instead of quarterly or monthly returns and, by way of support, refers to the
                 Decision of the Moscow Arbitrazh Court regarding the alleged tax reassessment for the
                 year 2003. However, the monthly reporting requirement relates solely to the periodicity at
                 which, in the ordinary course of events, companies are required to file VAT returns. In
                 circumstances where the documentation was being submitted four years after the fact, it
                 would have made no sense—and would likely have generated unnecessary additional work
                 for the tax authorities—to disaggregate the annual information into monthly data.722
                                                                                              [emphasis in original]




721
       Counter-Memorial ¶ 1079, n.1707
722
       Reply ¶ 250. Claimants note that: “The Respondent is unable to make up its mind as to whether the documents needed
       to be filed on a monthly or quarterly basis or whether either is permissible, a position whose vagueness cannot be
       reconciled with the purported certainty with which it affirms that yearly submissions were improper. [citing
       Counter-Memorial ¶ 1079, n.1707.]” Ibid. n.440.
       Claimants add further: “The Respondent offers no support for its assertion that the returns submitted by Yukos were
       “incapable of being processed by the authorities’ computer”, an assertion which is implausible on its face, particularly
       in light of the Respondent’s own uncertainty as to whether monthly or quarterly submissions were required, and was
       in any event not relied on as a basis for the original rejection.” Ibid. n.442.




                                                           - 230 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 251 of 617




682. Claimants add in their Reply that “the text of Article 165 of the Russian Tax Code seriously
        undermines this pretext in that it imposes no timing restrictions whatsoever in relation to the
        submission of the required documentation for obtaining a VAT refund.”723

683. Respondent disagrees:

                Equally meritless is the allegation that the “monthly reporting requirement relates solely to
                the periodicity at which, in the ordinary course of events, companies are required to file
                VAT returns” and is not applicable when “the documentation is being submitted four years
                after the fact.” Contrary to Claimants’ suggestion, the Russian Tax Code does not
                contemplate any exception for non-“ordinary course” filings, and in particular allows no
                derogation from the requirement that filings be made on a monthly (or, in cases not
                relevant to Yukos, quarterly) basis. Rather, it clearly provides what a taxpayer must file to
                claim a 0% VAT rate on exports, and neither Yukos nor any other taxpayer is entitled to
                decide for itself whether or not to comply with the law based on “convenience”.724

684. In his Second Expert Report, Mr. Konnov refers to the strict formalism of Russian tax
        legislation with respect to VAT and cites, in support of the decision of the tax authorities, a
        decision of the Russian Supreme Arbitrazh Court issued in 2011:

                86.    The strict formalism of Russian tax legislation with respect to VAT was recently
                confirmed in the Forward VAT case (unrelated to YUKOS) which has reached the Russian
                Supreme Arbitrazh Court. Forward was a construction company. In relation to the
                construction of a residential building in the city of Bryansk, it was collecting investment
                contributions. Forward failed to assess VAT on its remuneration when due. Based on a
                field audit, the tax authorities assessed VAT (and profit tax) on Forward. The taxpayer
                claimed input VAT credit in court. Neither the amounts of input VAT, nor the payment
                made by the suppliers was disputed by the tax authorities. The taxpayer submitted to the
                court documents evidencing input VAT, but failed to file an amended VAT return claiming
                the respective amounts of input VAT. Even though the amount of the input VAT paid by
                the taxpayer was undisputed, the court denied the input VAT credit solely on the basis that
                the taxpayer failed to file an amended VAT return.
                87.    The Supreme Arbitrazh Court concluded that, in accordance with the Russian Tax
                Code and the prevailing court practice, input VAT credit had to be claimed by a taxpayer
                in accordance with the relevant provisions of the Russian Tax Code, and that the tax
                authorities were not obliged to identify and credit undeclared input VAT on their own:
                        “The fact that documents confirming, in the taxpayer's opinion, a right for tax
                        credit are available without reflecting (showing, claiming) the amount of the
                        tax credit in a tax return is not a ground for reduction of VAT payable to the

723
       Reply ¶ 251 (citing Russian Tax Code, Article 165, Exh. R-1484 (“In the event that no documents (copies thereof)
       referred above are provided by the taxpayer within 180 days after the expiry of 180 days of the date of the release by
       the regional customs authority under export or transit customs procedure, said transactions involving the sale of goods
       (performance of works, provision of services) shall be taxed at a rate of 10 percent or 18 percent accordingly. In the
       event that subsequently the taxpayer submits to the tax authorities any documents (copies thereof) proving eligibility
       of the zero percent tax rate application, the tax paid shall be refunded to the taxpayer in the manner and on terms and
       conditions expressly provided by article 176 of this Code.”).
724
       Rejoinder ¶ 719(iii) (citing Reply ¶ 250–51, stating that “Claimants also rely on Article 165 of the Tax Code in
       making this argument, but Article 165 had nothing to do with the period (i.e., monthly or annual) that Yukos’ VAT
       filing should have covered.” and also citing Second Konnov Report ¶ 93).




                                                           - 231 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 252 of 617




                       budget for a tax period. Availability of documents confirming the right for
                       VAT credit does not replace an obligation to claim it in a tax return.”
                88.    The Supreme Arbitrazh Court unequivocally confirmed that, as concerns VAT,
                Russian tax legislation is very formal and no VAT benefit can be allowed if it was not
                properly claimed by a taxpayer in a tax return.725

685. When he gave evidence, Mr. Konnov also offered a practical justification for the
        monthly/quarterly requirement:

                But secondly, you cannot simply amend VAT law to allow annual return, because there are
                a few corresponding provisions. For instance, there is a provision on the chamber audit, on
                which I was questioned by Professor Gaillard: it is three months. And what that means:
                that if one taxpayer is on a monthly VAT return and the other one is on a quarterly return,
                the three months are sufficient for the tax authorities to do a counter-audit with respect to
                all the suppliers and other interested parties.
                If, however, you simply introduce annual return, and without corresponding changes to
                other provisions in the Tax Code, the tax authorities -- basically the VAT law will not
                function properly. So you can do that, but that would mean not only allowing acceptance
                of annual return, but redrafting the whole VAT chapter of the Tax Code to work it
                properly.726

686. The Tribunal observes that while this practical justification does seem to support the
        monthly/quarterly filing requirement when the tax authorities are auditing the underlying
        transactions, it is more difficult to understand how that justification applied to Yukos’ attempts
        to obtain credit for the trading companies’ VAT refunds, in a situation where those VAT
        refunds had already been vetted and approved by the authorities at the time they had been
        claimed (for the first time) by the trading entities.

687. In their Reply, Claimants assert that there was no reason to believe that, if Yukos had
        disaggregated the VAT data into monthly submissions as Respondent suggests it should have
        done the tax authorities would have accepted the filings:

                Indeed, the Claimants note that if such resubmissions were a genuinely available option,
                the Respondent offers no explanation as to why, once Yukos’ allegedly self-destructive
                management had been replaced with a bankruptcy receiver, that receiver, Mr. Rebgun,
                failed to resubmit the VAT returns in the allegedly required format, given that if such an
                option had existed, Mr. Rebgun’s fiduciary duties to the creditors would have required him
                to take advantage of it.727




725
       Second Konnov Report ¶¶ 86–88 (citing Resolution of the Presidium of the Supreme Arbitrazh Court of the Russian
       Federation No. 23/11, 26 April 2011, Exh. R-3270).
726
       Transcript, Day 15 at 199.
727
       Reply ¶ 252 (citing Counter-Memorial ¶¶ 1079, 1105(viii), 1237(vii), 1272, 1279(vii), 1322(vii)).




                                                          - 232 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 253 of 617




688. In respect of this point, Professor Gaillard opined that the Russian authorities, including the
        courts, would certainly have found another reason to deny Yukos the VAT exemption if Yukos
        had filed monthly amended returns. Professor Gaillard referred Mr. Konnov to the following
        extract from the Moscow Arbitrazh Court’s decision relating to the 2003 tax year:

                 “The tax return submitted by … Yukos Oil Company for value added tax for 2003 cannot
                 be considered, since it does not meet the requirements of tax legislation regarding
                 submission of a VAT tax return for each tax period, which is a month or quarter, and
                 documents were not submitted at these times confirming the sale of goods for export and
                 tax deductions . . . ”728

689. Professor Gaillard then put the following question to Respondent’s expert:

                 Q.     Simply, Mr Konnov, when you look at this sentence which the Chairman directed
                        you to, do you also see that the court says that the tax return cannot be considered
                        because:
                        “... documents were not submitted at these times …”
                        Do you see that?
                 A.     Yes, I do.
                 Q.     So the reason the court is articulating is that: (1) it’s not monthly or quarterly; and
                        (2) it was not submitted at the right time. Correct?729

690. Mr. Konnov disagreed with Professor Gaillard’s interpretation:

                 No, no. It says that you need to submit supporting documents, which are in Article 165,
                 with your VAT return. Article 165 says VAT return and supporting documents.730

691. Earlier in his evidence, Mr. Konnov had also supported the court’s reasoning in the following
        words:

                 And this is exactly the reason I explain in my report, I believe, that Yukos had to file
                 monthly returns, and there is no such thing as an annual return. And the document that is
                 in the record suggests that Yukos filed an annual return by even using a pen, I believe, or
                 one way or another just crossing out and filling in the form the way it electronically cannot
                 be done. And the court addresses it here, and says that, “What you filed is not a proper
                 VAT return.”731

692. The Tribunal finds the following exchange between Professor Gaillard and Mr. Konnov of
        particular interest. Professor Gaillard asked Mr. Konnov for his reaction to another reason

728
       Transcript, Day 14 at 259 (referring to Decision of the Moscow Arbitrazh Court, Case Nos. A40-4338/05-107-9 and
       A40-7780/05-98-90, 28 April 2005, p. 59, Exh. C-196).
729
       Ibid. at 260.
730
       Ibid. at 261.
731
       Ibid. at 259.




                                                        - 233 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 254 of 617




        which could have been invoked by the Russian authorities/courts to deny the VAT refunds to
        Yukos even if it had filed “proper” monthly VAT returns:

                Q.     Okay. Do you see the sentence pursuant to which the court [the Moscow Arbitrazh
                       Court rejecting Yukos’s VAT argument in relation to the 2002 tax year] says:
                                    “The court did not accept the argument of … YUKOS [Oil Company]
                                    that tax returns submitted to tax authorities by the said organisations
                                    [i.e., the trading entities] shall be deemed as tax returns of … YUKOS
                                    [Oil Company] since such returns were signed by persons who had no
                                    powers to submit tax returns on behalf of … YUKOS [Oil
                                    Company].”
                           Do you see that?
                A.         Right.
                           ...
                PROFESSOR GAILLARD: So what interests me is this sentence which we read, the court
                saying that they:
                                    “... did not accept the argument of … Yukos that tax returns submitted
                                    … by the [trading companies] shall be deemed as tax returns of …
                                    YUKOS [Oil Company] since such tax returns were signed by
                                    persons who had no powers to submit tax returns on behalf of …
                                    YUKOS [Oil Company].”
                           Can you confirm that this is a correct translation of the Russian original?
                A.         I think it is. And I think, again, as you have read out, the court responds to “the
                           argument of … Yukos”. So this sentence suggests that Yukos argued that they
                           should be deemed as if they were filed by Yukos. And probably the question was:
                           how can someone act on behalf of Yukos? And the court said, “Look, they cannot
                           be accepted as Yukos tax returns, at least because someone who signed them, in the
                           name of Yukos-M here, could not act on behalf of Yukos.”
                Q.         But conversely the papers themselves would say that Ratibor -- or Yukos-M, in this
                           example -- is the exporter. The documentation they could file would say Yukos-M,
                           Ratibor, Fargoil, whatever, has sold abroad. So the documents are not going to bear
                           the name of Yukos, are they?
                A.         Absolutely.
                Q.         Right. So Yukos loses one way or the other, because either the documents do not
                           say that they are the exporter, or they are not deemed to be the beneficiaries of the
                           revenues, right?
                A.         No, Yukos wins one way: it simply refiles.732

693. According to Respondent, Claimants’ submission that there was no reason to believe that, had
        Yukos made proper filings, the tax authorities would have accepted them, is “gratuitously self-




732
       Ibid. at 248–250.




                                                            - 234 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 255 of 617




        serving”.733 According to Respondent, “Russian law clearly indicates what Yukos should have
        done, but inexplicably failed to do.”734

694. The Tribunal is of the view, having considered the evidence and arguments canvassed above,
        that the Russian Federation was determined to impose the VAT liability on Yukos, and would
        have done whatever was necessary to ensure that the VAT liability was imposed on Yukos.
        The Tribunal observes that this determination of the Russian Federation to do whatever it
        deemed necessary to impose massive tax liabilities on Yukos is also evidenced by the second
        trial and conviction of Mikhail Khodorkovsky. After having been convicted of various tax-
        related crimes in May 2005,735 largely stemming from his leadership of Yukos, for which he
        was sentenced to a term of nine years of imprisonment, Mr. Khodorkovsky was implausibly
        convicted of money laundering and theft of oil in December 2010.736 This second verdict, for
        which Mr. Khodorkovsky was sentenced to an additional thirteen years and six months in
        prison, was based on essentially the same circumstances surrounding Yukos that led to the
        original conviction for tax evasion. This shows how far the Russian Federation was willing to
        go to keep Mr. Khodorkovsky imprisoned, and supports the Tribunal’s conclusion that it was
        Respondent’s intent to impose VAT liability on Yukos no matter what Yukos did.

695. The Tribunal also heard submissions from the Parties on the responsibility of the bankruptcy
        trustee (Mr. Rebgun) for his failure to file VAT forms in the proper format.

696. On this issue, Respondent contends as follows:

                Finally, while the Russian Federation does not speak for Mr. Rebgun or know the
                circumstances of his treatment of the VAT issue, it is specious for Claimants to attempt to
                blame Mr. Rebgun for Yukos’ failure to file proper amended VAT returns for 2000-2003
                (or any amended VAT return at all for 2004). Mr. Rebgun took office only in
                August 2006. Until then, Yukos had been managed by a team that Claimants themselves
                had appointed. That team, as noted above, had submitted non-processable amended VAT
                filings for years 2000-2003 in August 2004, and had done nothing in the ensuing two-year

733
       Rejoinder ¶ 719(iv).
734
       Ibid. (citing Decision of the Moscow Arbitrazh Court, Case No. A40-4338/05-107-9 and A-40-7780/05-98-90,
       28 April 2005, p. 59, Exh. C-196 (“The tax return submitted by OAO Yukos Oil Company for value added tax for
       2003 cannot be considered, since it does not meet the requirements of tax legislation regarding submission of a VAT
       tax return for each tax period, which is a month or quarter[.]”); Resolution of the Ninth Arbitrazh Appellate Court,
       Case No. 09ȺP-7979/05-ȺK, 16 August 2005, p. 60, Exh. R-251 (“The court legally and reasonably indicated that the
       value added tax return of OAO NK YUKOS for 2003 provided by OAO NK YUKOS shall not be accepted as it did
       not comply with the requirements of the tax legislation connected with filing of VAT returns for each tax period which
       was a month or a quarter.”).
735
       Judgment of the Meshchansky District Court for the City of Moscow, 16 May 2005, Exh. R-379.
736
       Verdict of the Khamovnichesky Court of Moscow, Case No. 1-23/10, 27 December 2010, Exh. C-1057.




                                                          - 235 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 256 of 617




                period to correct those errors. As for the 2004 tax year, the managers appointed by
                Claimants failed to submit any amended returns at all. Accordingly, Claimants and their
                appointees bear sole responsibility for Yukos’ mishandling of the VAT filings. Mr. Rebgun
                cannot be blamed, if only because by the time he finally took office (a) the 2000-2004 tax
                assessments had already been issued and become due and payable for all five of the
                relevant years, (b) the court rulings that had upheld the 2000-2003 tax assessments had
                become res judicata, and (c) in any event, the three-year time limits to file amended VAT
                returns had already expired for the whole of the 2000, 2001, and 2002 tax years, as well as
                for more than half of the 2003 tax year. In any event, as established at paragraphs 388-395
                above, it is clear as a matter of public international law that the Russian Federation is not
                responsible for acts or omissions of bankruptcy receivers such as Mr. Rebgun.737

697. To conclude this subsection, the Tribunal will now quote the following exchange between a
        member of the Tribunal and Respondent’s expert Mr. Konnov, in respect of Yukos’ VAT
        liability.

                JUDGE SCHWEBEL: Is it right, then, to infer from your testimony—particularly what
                you’ve just said—that the management of Yukos, or its counsel, in not filing full VAT
                returns monthly, committed an astounding error worth more than $13 billion?
                A.      Right. It’s absolutely clear to me—whether you call it “error” or whether that was
                        intentional action, I don’t know—but the defect in the VAT return was so apparent
                        for not only a professional tax advisor and not only for Yukos, which, as we know,
                        had a big tax team and was filing and processing this VAT return on a routine basis,
                        but we also -- I think I referred to documents, correspondence by Golub where she
                        admitted that it should be monthly and they required it monthly.
                        So I think I have absolutely no doubt that they perfectly understood that the
                        amended returns cannot and will not be accepted.
                JUDGE SCHWEBEL: And can you find any rational explanation for such behaviour?


737
       Rejoinder ¶ 719(v) (citing Reply ¶ 252; Second Konnov Report ¶ 95; Kotov v. Russia, ECtHR, Appl. No. 54522/00,
       Judgment (3 April 2012) ¶ 107, Exh. R-3371, noting that: “It would appear that the liquidator, at the relevant time,
       enjoyed a considerable amount of operational and institutional independence, as State authorities did not have the
       power to give instructions to him and therefore could not directly interfere with the liquidation process as such. The
       State’s involvement in the liquidation procedure resulted only from its role in establishing the legislative framework
       for such procedures, in defining the functions and the powers of the creditors’ body and of the liquidator, and in
       overseeing observance of the rules. It follows that the liquidator did not act as a State agent. Consequently, the
       respondent State cannot be held directly responsible for his wrongful acts in the present case. The fact that a court was
       entitled to review the lawfulness of the liquidator’s actions does not alter this analysis.”)
       Respondent further notes: “In particular: (a) the 2000 tax assessment became final and irreversible on 30 December
       2005, when the Federal Arbitrazh Court of the Moscow District dismissed Yukos’ appeal of the Ninth Arbitrazh
       Appellate Court decision in proceedings upon Yukos’ challenge of the 2000 tax assessment. See Resolution of the
       Federal Arbitrazh Court of the Moscow District, Case No. KA-A40/12571-04, 30 December 2005, Exh. R-1555;
       (b) the 2001 tax assessment became final and irreversible on 20 February 2006, when the panel of three judges of the
       Supreme Arbitrazh Court dismissed Yukos’ application for supervisory review of the 2001 tax assessments. See
       Ruling of the Supreme Arbitrazh Court, Case No. 7801/05, 20 February 2006, Exh. R-589; (c) the 2002 tax
       assessment became final and irreversible on 12 October 2005, when the panel of three judges of the Supreme
       Arbitrazh Court dismissed Yukos’ application for supervisory review of the 2002 executive enforcement proceedings.
       See Ruling of the Supreme Arbitrazh Court, Case No. 11868/05, 12 October 2005, Exh. R-593; and (d) the 2003 tax
       assessment became final and irreversible on 22 February 2006, when the Supreme Arbitrazh Court dismissed Yukos’
       application for supervisory review of the 2003 tax assessment. See Ruling of the Supreme Arbitrazh Court, Case
       No. 12304, 22 February 2006, Exh. R-1565.” Ibid. n.1134.




                                                            - 236 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 257 of 617




                A.     I have difficulties finding the rational behaviour, and there is nothing in the record.
                       My only guess, and that would only be a guess: that what Yukos was trying to do, it
                       was trying to take a position that in its view will not compromise its position with
                       respect to the profits tax.
                       In other words, if Yukos—Yukos clearly would not follow my advice, and my
                       advice, as you have seen, will be to refile both. If they refiled proper VAT return
                       without refiling—sorry, if they refiled proper—if they refiled proper VAT returns
                       without refiling proper profit tax return, I think they were—my guess, my
                       speculation, is they thought that court would look at that and would see that as them
                       taking an inconsistent position for VAT and profits tax purposes.
                       So therefore my guess, again, is that they filed something—which I would not call
                       even maybe a VAT return, but something that they knew was apparently not
                       acceptable—just to take procedural actions. But, as came during the cross-
                       examination by Professor Gaillard, I think I mentioned that they file in August and
                       they don’t even refer to these returns till the—till late 2005—till 2005.
                       So that’s my only guess: that they tried to put in—to file something with the tax
                       service which could later on be used in argument, but would not compromise, in
                       their view, their position on the profits tax.
                JUDGE SCHWEBEL: Could the Trustee in Bankruptcy, who was charged with
                maximising the resources available for creditors, himself have filed the monthly forms for
                VAT return?
                A.     Yes, he could have refiled, subject to the three-year limitation that I referred to
                       previously. So you look at the date when he came to power, if I may say, and for
                       the previous three years he could have refiled.
                …
                THE CHAIRMAN: Should he be criticised for that?
                A.     I would say so. But it’s easy now to criticise, when I look back. So I would say I
                       would—
                       Yes, I would say I would criticise him 738


                               v.      Extracts from Other Yukos-Related Awards

698. The Quasar tribunal, citing the RosInvestCo tribunal’s holding, traversed the VAT issue in the
        following words and concluded without any hesitation that Respondent’s position on this issue
        was indefensible:

                D)     The rejection of the VAT refund
                80.     The unattractiveness of the Respondent’s position in this connection is readily
                apparent. The amounts involved were vast – in excess of $13.5 billion. The export sales in
                question undoubtedly qualified for VAT refunds. The trading company sellers had duly
                applied for them. But once the tax authorities had invalidated the transactions by which
                the sellers had come into possession of the goods, they concluded that Yukos was the true
                original owner and therefore should be deemed to be the true export seller. If this was so,
                one would expect that by a parity of reasoning under their basic premise, the tax authorities
                should have held that the true applicant for the refund was also Yukos – and that Yukos
738
       Transcript, Day 15 at 232–35.




                                                       - 237 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 258 of 617




               was therefore entitled to the VAT credit in the same way as it was assigned the debit for
               the profit tax. To try to have it both ways would surely bespeak unprincipled hostility
               towards the taxpayer.
               81.    Yet that is precisely what the tax officials did – with the subsequent endorsement of
               the courts.
               82.    Unsurprisingly, RosInvest viewed this conduct in the harsh light it deserves:
                      “The extremely formalistic interpretation of the VAT lax law regarding
                      Yukos and its trading companies to the effect that, though exports were
                      undisputedly not subject to VAT, the documentation also undisputedly
                      submitted by the trading companies could not be used in relation to Yukos
                      and thus Yukos was liable far more than US$ 13.5 billion in VAT related
                      taxes is difficult to accept as a justification for a tax liability the size of which
                      was sufficient to lead Yukos into bankruptcy.” (¶452)
               The present Tribunal entirely endorses this conclusion, and agrees with the Claimants that
               the ECHR appears, in ¶¶601-602, to have entirely missed the point being made, namely
               that if the tax authorities were going to attribute to Yukos the transactions carried out in the
               names of its trading companies, they should also have attributed to Yukos the submission
               of normal VAT documentation by the trading companies. Given that the export
               transactions in question were indisputably zero-rated for VAT purposes, the refusal to do
               so can only seem confiscatory to a degree which comes close to validating the claims in
               their entirety on this basis alone.739
                                                                                               [emphasis added]

699. The following extract from the judgment of the ECtHR, which found in favour of the Russian
        Federation on this issue is of interest:

               601. The Court notes that both Section 5 of Law no. 1992-1 of 6 December 1991 “On
               Value-Added Tax” governing the relevant sphere until 1 January 2001 as well as
               Article 165 of the Tax Code applicable to the subsequent period provided unequivocally
               that a zero rate of value-added tax in respect of exported goods and its refund could by no
               means be applied automatically, and that the company was required to claim the tax
               exemptions or refunds under its own name under the procedure set out initially in Letter
               no. B3-8-05/848, 04-03-08 of the State Tax Service of Russia and the Ministry of Finance
               and subsequently in Article 176 of the Tax Code to substantiate the requests in order to
               obtain the impugned refunds (see paragraphs 326-336). In view of the above, the Court
               finds that the relevant rules made the procedure for VAT refunds sufficiently clear and
               accessible for the applicant company to able to comply with it.
               602. Having examined the case file materials and the parties’ submissions, including the
               company’s allegation made at the hearing on 4 March 2010 that it had filed the VAT
               exemption forms for each of the years 2000 to 2003 on 31 August 2004, the Court finds
               that the applicant company failed to submit any proof that it had made a properly
               substantiated filing in accordance with the established procedure, and not simply raised it
               as one of the arguments in the Tax Assessment proceedings, and that it had then contested
               any refusal by the tax authorities before the competent domestic courts (see paragraphs 49
               and 171, 196, 196 and 216). The Court concludes that the applicant company did not
               receive any adverse treatment in this respect.740


739
       Quasar ¶¶ 80–82, R-3383.
740
       ECtHR Yukos Judgment ¶¶ 601–602, Exh. R-3328.




                                                        - 238 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 259 of 617




700. In the view of this Tribunal however, far from not receiving “any adverse treatment in this
        respect” as the ECtHR held, Yukos received some thirteen billion dollars worth of adverse
        treatment by reason of the imposition on it of VAT liabilities earlier excluded by the undisputed
        export of the oil in question.


                 (c)     Fines

                                 i.    Introduction

701. Claimants contend that neither the “willful offender” nor the “repeat offender” fines should
        have been assessed, and that “the animating, confiscatory purpose behind the Respondent’s
        actions is palpable.”741 Claimants also assert that the imposition of fines for the year 2000 was
        barred by the statute of limitations, and that the authorities’ reliance on what Claimants
        characterize as a new, retroactive, and judicially-created exception to the statute is further
        demonstration of its expropriatory intent.742

702. Respondent insists that the authorities’ conduct was proper, that the Russian courts properly
        rejected Yukos’ arguments against the fines, and that the Tribunal should do the same here in
        the present arbitration.

703. The following questions with respect to fines arise from a review of the Parties’ written and
        oral submissions:

                 x     Were the fines levied in relation to the 2000 tax year barred by the statute of
                       limitations?;

                 x     Were the “willful offender” fines properly imposed?;

                 x     Were the “repeat offender” fines properly imposed?;

                 x     Could Yukos have avoided the fines?; and

                 x     Was the quantum of the fines reasonable, in terms of both the rate and the absolute
                       amount?


741
       Claimants’ Post-Hearing Brief ¶ 47.
742
       Ibid. ¶ 45.




                                                      - 239 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 260 of 617




                               ii.    Were Fines Levied in Relation to the 2000 Tax Year Barred by
                                      the Statute of Limitations?

704. Article 113 of the Russian Tax Code establishes a three-year statute of limitations for all tax
        offenses.743 In respect of the 2000 tax year, Yukos had argued before the Russian courts that it
        was improper for the authorities to levy any fine because their assessment was not issued until
        14 April 2004, i.e., a few months after the posited expiration of the statute of limitations for
        fines. Yukos’ argument was considered by Russia’s courts and ultimately rejected on the
        ground that the statute of limitations had been tolled by Yukos’ “interference” with the
        authorities’ following the December 2003 tax audit.

705. The Tribunal notes that after the 2000 Audit Report was issued, Mr. Pepeliaev, in his first
        opinion to his client Yukos, on 5 January 2004, concluded that:

                The Russian tax law envisages a legal process to collect fines. However the fine cannot be
                actually collected in 2004 due to the expiration of the 3-year limitation period.744

706. In a later opinion, Mr. Pepeliaev wrote:

                In accordance with the currently applicable procedure set out in Art. 101 of the Tax Code
                of the Russian Federation, a decision to hold the company liable pursuant to the Inspection
                Report of December 29, 2003 may be passed no earlier than in 2004. Moreover, by virtue
                of art. 113 of the Tax Code of the Russian Federation no one may be held liable for a tax
                offence if three years have expired (limitation period) from the date of this tax offence or
                from the date following the end date of the tax period in which this offence was committed.
                In breach of this rule of law, the Inspection Report says that YUKOS should be held liable
                for the activities of 17 companies that took place in 2000.745

707. Respondent, in its Counter-Memorial, objects that Claimants did not raise the statute of
        limitations argument in their Memorial. In any event, Respondent submits, the argument is
        meritless. Respondent adopts the reasoning of the Russian Courts.746 Respondent adds: “[T]he
        statute of limitations provided a windfall to Yukos, insofar as the tax authorities never disturbed




743
       Russian Tax Code, Article 11(1), Exh. C-1276. Mr. Konnov opines, in his Second Expert Report, that, under Russian
       law, the statute of limitations applies to fines only, and does not apply to tax arrears or default interest. Second
       Konnov Report, ¶ 109.
744
       S. Pepeliaev, Summary of the tax inspection of OAO NK Yukos, p. 1, 5 January 2004, Exh. C-1128.
745
       S. Pepeliaev et al., Opinion regarding compliance with legislation of Inspection Report No. 08-1/1 of 20 December
       2003 issued by the Tax Ministry of Russia, 15 January 2004, p. 3, Exh. C-1129.
746
       See also Respondent’s Skeleton Argument, 1 October 2012 ¶ 13 (hereinafter, “Respondent’s Skeleton”)
       (“no taxpayer—in Russia or elsewhere—could legitimately claim to be surprised that it may not invoke a limitations
       period that has expired only because of its own obstruction of tax audits.”).




                                                         - 240 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 261 of 617




        Yukos’ abuses of the low-tax region regime prior to 2000. Yukos thus obtained a ‘free ride’ for
        the frauds it perpetrated in 1999, which involved significant amounts.”747

708. In their Reply, Claimants invoked the limitations period. They argue that it was unlawful for
        the tax authorities to seek to collect fines in relation to 2000 because “the decision of the
        Russian tax authorities to hold Yukos liable in respect of alleged tax offenses committed in
        2000 was issued on 14 April 2004, several months after the three-year statute of limitations had
        expired in relation to the year 2000 (i.e., after 31 December 2003).”748

709. Claimants respond to Respondent’s reliance on the decisions of the Russian courts in the
        following words:

                The Respondent’s assertion (see Respondent’s Counter-Memorial on the Merits, April 4,
                2011, footnote 1708) that the Russian courts approved its circumvention of the statute of
                limitations against Yukos is unavailing given that, as discussed below, the ECtHR has
                found the Russian courts’ decisions to violate the principle of legality embodied in
                Article 1 of Protocol No. 1 to the European Convention on Human Rights, notwithstanding
                the extraordinary broad deference it accords to States under that provision.749

710. Claimants assert that the tax authorities were able to circumvent the statute of limitations only
        because the Constitutional Court “creat[ed] for the first time an exception to the statute of
        limitations for any taxpayer who ‘resisted’ tax inspection, so long as an audit report was issued
        before the end of the limitations period.”750

711. Respondent resists Claimants’ submission that the Constitutional Court’s resolution allowing
        tolling of the statute of limitations in cases of taxpayer obstruction was “tailor-made” for
        Yukos.751 In its Rejoinder, Respondent argues that Claimants’ submission is unsupported by
        any evidence and contradicted by the fact that this exception has been applied to numerous
        taxpayers, all unrelated to Yukos.752 As to the specific Constitutional Court Resolution No. 9 P,




747
       Counter-Memorial ¶ 1081, n.1708. Claimants reply that the 1999 audit report relating to Investproekt (Exh. R-304)
       was issued with ten months remaining on the statute of limitations, but that no Decision or Tax Payment Demand was
       issued (or, at least, none is in the record of this arbitration). See Claimants’ Post-Hearing Brief ¶ 63, n.36.
748
       Reply at ¶ 258 (emphasis in original).
749
       Ibid., n.453
750
       Ibid. (referring to Resolution of the Russian Constitutional Court No. 9–P, Exh. C-1141).
751
       Ibid.
752
       Rejoinder ¶ 725.




                                                           - 241 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 262 of 617




        Respondent says that it was issued in response to two different complaints, only one of which
        was related to Yukos.753

712. In his Second Expert Report, Mr. Konnov explains that the Constitutional Court ruled, in
        Resolution No. 9-P, as follows:

                 a.       if a taxpayer obstructs tax control and tax audits, the arbitrazh court may rule that
                          the tax authority was justified in acting after expiration of the limitations period; and
                 b.       in any event, the limitations period for tax offenses ends at the moment of execution
                          of a tax audit report summarising documented facts of tax offenses identified in the
                          course of the audit.754

713. Mr. Konnov addresses Claimants’ argument on this point:

                 The Claimants’ allegation (Claimants’ Reply on the Merits, para. 258) that the Russian
                 Constitutional Court created an “exception to the statute of limitations for any taxpayer
                 who “resisted” tax inspection, so long as an audit report was issued before the end of the
                 limitations period” is misleading (emphasis added). The Constitutional Court made two
                 separate conclusions not dependent on each other. The Claimants’ contention that the “tax
                 audit report” rule was “tailor-made” for YUKOS is not correct either. The tax authorities
                 would have nonetheless been deemed within the statute of limitations period under the
                 obstruction of the audit limb of the Resolution.755
                                                                                           [emphasis in original]

714. Mr. Konnov also adds:

                 The ruling of the Constitutional Court issued in July 2005 is described by the Claimants as
                 “tailor-made” to YUKOS and in conflict with the ruling of the Constitutional Court issued
                 in January 2005. I cannot agree. There is no inconsistency between these two rulings.
                 Rather, in the July 2005 ruling, the Constitutional Court analyzed, in particular, the impact
                 on the limitations period resulting from obstruction of the audit, an issue which was not
                 addressed in any way in the January 2005 ruling.
                 The Claimants’ reliance on the dissenting opinions in the July 2005 ruling is incomplete.
                 The Claimants refer only to two dissenting opinions relating to the July 2005 ruling.
                 However, they fail to mention the third dissenting opinion to the same ruling in which
                 Judge G.A. Gadzhiev has taken an approach which, in my opinion, is even harsher than the
                 approach taken by the Constitutional Court. In the view of Judge G.A. Gadzhiev, the
                 statute of limitations should be applied differently depending on the amount of the tax
                 arrears at issue. He believes that the non-differentiated statute of limitation, as it is
                 provided in the tax legislation, contradicts the constitutional principle of equality before the
                 law.756



753
       Ibid. ¶ 724, n.1151.
754
       Second Konnov Report ¶ 111.
755
       Ibid., n.177.
756
       Ibid. ¶¶ 112–13.




                                                           - 242 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 263 of 617




715. Finally, Respondent adds in its Rejoinder on this point:

                It is also worth reiterating that, as noted above, the Russian authorities’ long-standing
                position, including when the Yukos cases were being argued in the Russian courts, has
                been that the three-year limitation period runs from the end of the taxable period in which
                payment was due (because this is the period when the tax offense actually occurred), and
                not from the end of the taxable period in which the relevant income or revenue accrued
                (and therefore, here, that the statute of limitations expired on December 31, 2004 rather
                than December 31, 2003). While this position was rejected by the courts in the Yukos
                case, it was upheld in other cases, and ultimately endorsed by the Supreme Arbitrazh
                Court. As a result, if the Yukos case were before the Russian courts today, it would be
                undisputable that the fines for tax year 2000 were assessed in a timely manner.757

716. In their Post-Hearing Brief, Claimants assert that “it is factually untrue that alleged obstruction
        by Yukos caused the tax authorities to miss the statute of limitations: the audit was completed
        in just 3 weeks and before the limitations period had expired.”758

717. In its Post-Hearing Brief, Respondent asserts that “Yukos unquestionably obstructed the field
        tax audit leading to the 2000 assessment, and it was completely foreseeable that Russian law
        would not allow Yukos to invoke a limitations period so as to benefit from its own
        obstruction.”759

718. The Tribunal concludes, on the basis of the record, that Respondent has made a credible
        argument regarding Yukos’ obstruction of the field tax audit leading to the 2000 assessment.760
        However, the Tribunal agrees with Claimants, and with the ECtHR, that the retroactive
        application of Resolution 9–P violated a fundamental principle of legality.761 The Tribunal
        concludes that the fines levied in relation to the 2000 tax year were therefore barred by the
        statute of limitations.




757
       Rejoinder ¶ 731 (citing Resolution of the Presidium of the Supreme Arbitrazh Court No. 4134/11, 27 September 2011,
       Exh. R-3298, interpreting a rule on calculation of the statute of limitations in Article 113 that was identical to the one
       in effect in 2003–2004. As Mr. Konnov points out “the panel of three judges when transferring the case to the
       Presidium of the Russian Supreme Arbitrazh Court noted that courts had previously issued inconsistent rulings on this
       subject.”; Second Konnov Report ¶ 121).
758
       Claimants’ Post-Hearing Brief ¶ 45 (emphasis in original).
759
       Respondent’s Post-Hearing Brief ¶ 45 (citations omitted).
760
       Counter-Memorial ¶ 355; Rejoinder ¶¶ 723–30
761
       Reply ¶ 258; ECtHR Yukos Judgment, Exh. R-3328.




                                                            - 243 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 264 of 617




                               iii.    Were the “Willful Offender” Fines Properly Imposed?

719. Claimants contest the imposition of the “willful offender” fines for the years 2000 through 2003
        because “for Yukos’ executives to be ‘aware of the unlawful nature of such actions’, there must
        have existed an enforceable decision of the tax authorities to that effect.”762 Such a decision,
        Claimants note, did not come until 14 April 2004, and thus only after Yukos filed its tax returns
        for the years 2000, 2001, 2002 and 2003.763 Consequently, for the years 2000 through 2003,
        Yukos’ executives could not have been “aware” of the alleged “unlawful nature of the[ir]
        actions.”764

720. In respect of the 2004 tax year, Claimants have a different argument:

                As regards the 2004 tax reassessment, the regional and local tax benefits that these
                companies had enjoyed were significantly reduced by the federal legislator as from
                January 1, 2004. With the change in legislation, the alleged tax offenses for which Yukos
                was held liable with respect to the year 2004 could therefore not have been considered
                similar to those which had allegedly been committed by Yukos in 2000-2003 under the
                former legislation. In this context, the reference made by the Moscow Arbitrazh Court in
                2006 to the 2000, 2001, 2002 and 2003 Decisions in order to justify the 40% fines for the
                year 2004 appear to be nothing less than a manifest misapplication of the law to Yukos.765

721. In response, Respondent asserts, in its Counter-Memorial, that “‘willfulness’ does not require
        criminal mens rea: it is sufficient that the taxpayer’s underassessment indicate a degree of
        awareness of the potential unlawfulness of its conduct.”766                     Nor does Respondent accept
        Claimants’ argument that, in order for a violation to be deemed “willful”, the taxpayer must
        already have been found liable. Respondent counters that:

                Even if Yukos, quod non, had been transparent and subjectively in good faith with respect
                to its “tax optimization” scheme, the very complexity of its scheme made it unavoidable
                that it would, at a minimum, be deemed “willful”: one does not create a network of trading
                companies carelessly or as a result of honest mistake. In any event, . . . Yukos’ managers
                knew perfectly well that their scheme was illegal when they first implemented it -- an
                aggravated form of “willfulness.”767


762
       Memorial ¶ 330.
763
       Ibid.
764
       Ibid.
765
       Ibid. ¶ 331 (citing Decision of the Moscow Arbitrazh Court of 2 October 2006, 4 October 2006, confirming
       lawfulness of fines imposed on Yukos with respect to its tax reassessment for the year 2004, p. 31, Exh. C-201).
       Claimants note that “[a]s from 1 January 2004, the benefits on corporate profit tax that the regions were authorized to
       grant to taxpayers out of the regional and local shares of this tax were limited to four percent.”
766
       Counter-Memorial ¶ 1082. See Konnov Report ¶ 72.
767
       Counter-Memorial ¶ 1082.




                                                           - 244 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 265 of 617




722. Mr. Konnov supported Respondent’s position with the following observations in his First
        Report:

                At the time, YUKOS was one of the major Russian companies with substantial tax, legal
                and accounting departments. It knew that: (i) its tax minimization practices in ZATO
                Lesnoy had been investigated and challenged since late 1999; and (ii) its Sibirskaya
                Domestic Trading Company had been challenged by the tax authorities in 2001 and had
                lost its tax case in 2002. It also must have known that Russian authorities have been
                regularly challenging transactions involving other taxpayers aimed at tax evasion,
                including by means of abuses of companies registered in low-tax jurisdictions, and that
                Russian highest courts had introduced anti-abuse doctrines, including “bad faith.”
                Accordingly, in my view, YUKOS was a clear target for assessment of a “wilful offender
                fine,” which would have been justified even under far less extreme circumstances.768

723. In their Reply, Claimants argue that Respondent is wrong in its contention that the Tax Ministry
        was merely required to show a “degree of awareness of the potential unlawfulness of Yukos’
        conduct.”769 Claimants contend that Respondent’s theory is “refuted by the plain text of the
        provision itself as well as the Respondent’s own expert, who accepts that the statute requires
        the Authorities to prove that the offender ‘was aware of the unlawful nature of his action
        (or inaction)’.”770 Claimants contend that Respondent’s position requires it to “attempt to
        rewrite the statute.”771

724. Claimants take particular issue with the imposition of fines in respect of the VAT refunds:

                [A]s a general point, the imposition of fines in circumstances where no violation of
                statutory law has been alleged is a matter of dubious legitimacy. Particularly improper was
                the imposition of fines in relation to the revocation of VAT refunds. In circumstances
                where it was not alleged that any tax was owed, much less unpaid or underpaid, there was
                no statutory basis for such fines.772

725. Claimants elaborate this argument in their Post-Hearing Brief:

                Particularly egregious is the imposition of such inflated fines in relation to VAT, where it
                is not even alleged that there was any intent to evade VAT nor any actual evasion of VAT.
                In any case, as set out above, Yukos was not, and could not possibly be “aware of the
                unlawful nature of its actions”.773




768
       First Konnov Report ¶ 76 (citations omitted).
769
       Reply ¶ 260
770
       Ibid. (citing First Konnov Report ¶ 72).
771
       Reply ¶ 260.
772
       Ibid. ¶ 257 (citations omitted).
773
       Claimants’ Post-Hearing Brief ¶ 46 (citations omitted).




                                                           - 245 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 266 of 617




726. In its Rejoinder, Respondent reiterates its argument that the relevant inquiry for purposes of the
        “willful offender” fine is whether Yukos’ management was aware of the illegality of its tax
        scheme.774 Respondent states that Yukos did not implement the tax optimization scheme by
        accident, and that it knew that the scheme was unlawful.                  In support of its submission,
        Respondent raised several arguments:

                x     Yukos masked its affiliation with the trading shells and falsely denied to the Russian
                      authorities and courts that it had any knowledge of their documents or officers
                 x        Yukos knew from its experience with its sham Lesnoy trading shells that its scheme
                          was unlawful
                 x        Yukos’s senior management was warned at least twice that the authorities would
                          have challenged Yukos’ “tax optimization” scheme if they had known the names
                          and details of Yukos’ trading shells and their affiliation with Yukos
                 x        No legal counsel ever provided Yukos with an opinion that its “tax optimization”
                          scheme was lawful
                 x        Yukos lied about its affiliation with its sham trading companies to the Russian tax
                          authorities and courts, the ECtHR, and PwC
                 x        Yukos had access to the case law and commentaries published by its own tax
                          counsel, which confirmed its scheme was unlawful.775

727. Finally, Respondent argues:

                The Tribunal should reject Claimants’ contention that the willful offender fines were
                improper because Yukos’ tax practices were purportedly based on the trading shells’
                investment agreements with local tax authorities, which as Mr. Konnov opined - without
                contradiction - were not sufficient to establish compliance with federal anti-abuse
                doctrines.776

728. The Tribunal is of the view that the willful offender fines were clearly improper insofar as they
        related to VAT. This follows necessarily from the Tribunal’s findings that there was no valid
        basis to impose the VAT liability on Yukos.

729. On the totality of the evidence, the Tribunal is also of the view that the willful offender fines as
        they related to the revenue-based taxes were improperly assessed against Yukos. The Tribunal
        recalls its findings, above, that those taxes, considering all of the evidence, were not properly
        assessed against Yukos.




774
       Rejoinder ¶ 734.
775
       Respondent’s Opening Slides, p. 130.
776
       Respondent’s Post-Hearing Brief ¶ 44 (citations omitted).




                                                          - 246 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 267 of 617




730. Moreover, while he did not appear at the Hearing, the contemporaneous quote from
        Mr. Kasyanov to journalists in January 2004 shows just how unlikely it was that Yukos could
        have been certain that its tax optimization plan was illegal:

                [Question:] The Tax Ministry claimed from Yukos to pay an additional 98 billion rubles,
                which the company allegedly saved on taxes in 2000 with the help of the schemes, which
                was also used by other companies. Until autumn 2003, neither the Ministry of Finance nor
                the Tax Ministry, though criticizing the schemes, had challenged their legality. How do
                you react to the fact that the tax optimization is retroactively declared unlawful?
                [Answer:] If lawful actions for tax optimization are declared unlawful retroactively, then I
                react to that negatively. For the simple reason that there were loopholes in the law
                allowing the optimization of payments. The Tax Code did not forbid Yukos and other
                companies to conduct transactions through domestic offshore zones.777
                                                                                           [emphasis added]

731. The opinion of Mr. Kasyanov, the Prime Minister at the time the assessment was made, is
        persuasive. It confirms the conclusion of the Tribunal that, even if the legality of Yukos’ tax
        optimization scheme was, in certain regions and respects, questionable and vulnerable to attack
        by the tax authorities, it could not be characterized as a “willful offense”.

732. The Tribunal also recalls Claimants’ position as to the governing statutory provision in the
        Russian Tax Code:

                Whereas the Tax Code clearly provides that fines may be increased for willfulness only “if
                the person who committed it was aware of the unlawful nature of his actions (inaction) and
                intended or consciously allowed the harmful consequences of such actions (inaction)” the
                Respondent claimed that such fines could be imposed if the taxpayer had “a degree of
                awareness of the potential unlawfulness of its conduct”. The Respondent’s position is
                obviously not the law.778
                                                                                       [emphasis in original]

733. The Tribunal agrees. Respondent’s interpretation of the standard is inconsistent with the
        Russian Tax Code. The strict language of the Russian Tax Code makes it difficult for the
        Tribunal to conclude that Yukos should have been assessed the willful offender fines, even if
        there were a basis to conclude (as the Tribunal has held earlier) that some of the revenue-based
        taxes could legitimately have been imposed against Yukos.




777
       Memorial ¶ 330 (quoting Alexander Bekker, Vladimir Fedorin, Interview: Mikhail Kasyanov, Prime Minister of the
       Russian Federation, Vedomosti, 12 January 2004, p. 5, Exh. C-677).
778
       Claimants’ Post Hearing Brief ¶ 46 (citations omitted).




                                                           - 247 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 268 of 617




                               iv.     Were the “Repeat Offender” Fines Properly Imposed?

734. Claimants contend that the 100 percent increase of the fines imposed on the basis of the
        “Repeat Offender” provision of the Russian Tax Code was even less justified than the
        imposition of the “Willful Offender” fine:

                [T]he plain wording of Article 112(2) of the Russian Tax Code directs that such increase
                be only permitted in cases in which a taxpayer has been held liable for a similar tax offense
                prior to the commission of the disputed offense. The Presidium of Highest Arbitrazh
                Court of the Russian Federation has been unequivocal in considering that the previous
                similar offense must not only be committed, but also be detected and sanctioned. No such
                sanction came before April 14, 2004. As a result, in declaring that the tax offenses
                allegedly committed by Yukos in 2001, 2002 and 2003 were repeat offenses triggering a
                further 100% increase, both the Russian tax authorities and the Russian courts grossly
                misapplied Article 112(2). As regards the 2004 fines, their 100% increase was all the more
                egregious that the tax offenses purportedly committed by Yukos in 2004 were not similar
                to those allegedly committed in 2000-2003.779

735. Claimants also rely on the Resolution of the Presidium of the Highest Arbitrazh Court of the
        Russian Federation No. 15557/07 of 1 April 2008 (Annex (Merits) C 415) for the proposition
        that, in order for a taxpayer to be considered a “Repeat Offender”, the taxpayer’s previous
        similar offence must have been “detected and sanctioned” before the commission of the repeat
        offence. Respondent takes issue with Claimants’ reliance on this decision adopted in 2008,
        “years after Yukos’ appeals against the assessments at issue had run their course.”780
        Respondent contends that the jurisprudence prior to 2008, at the time that the authorities
        imposed the “Repeat Offender” fines, supported the authorities’ approach:

                Prior to the issuance of the 2008 Resolution, there had been a number of cases, unrelated to
                Yukos, in which the courts had upheld the assessment of repeat offender fines in the same
                manner as was done in the Yukos cases. Thus, when the tax authorities levied repeat
                offender fines against Yukos -- an egregious repeat offender if there ever was one -- they
                were not deviating from established practice but rather, applying one of the interpretations
                of the relevant statute that was in current use at the time. As much was effectively
                conceded by Yukos’ own lawyer who, while urging that Yukos not be assessed a repeat
                offender fine, noted the “unclarity” of the law.781

779
       Memorial ¶ 332 (citing Resolution of the Presidium of the Highest Arbitrazh Court of the Russian Federation
       No. 15557/07, 1 April 2008, Exh. C-415).
780
       Counter-Memorial ¶ 1084.
781
       Ibid. (citing First Konnov Report ¶¶ 77–82; Article 112(2) of the Russian Tax Code, Exh. R-2248). Respondent also
       points to the following in support of its position: First Konnov Report ¶¶ 79–80; Resolution of the Federal Arbitrazh
       Court of the Far-Eastern District, Case No. F-03-A73/05-2/244, 14 March 2005, Exh. R-1506; Resolution of the
       Federal Arbitrazh Court of the Povolzhsky District, Case No. Ⱥ65-7415/04-CA1-32, 5 October 2004, Exh. R-1504);
       Resolution of the Federal Arbitrazh Court of the North-Western District, Case No. Ⱥ44-498/ 2006-8, 21 August 2006,
       Exh. R-3282; Resolution of the Federal Arbitrazh Court of West-Siberian District, Case No. F04-5193/2007
       (36847-A75-43), 3 August 2007, Exh. R-3377; Resolution of the Federal Arbitrazh Court of the West-Siberian
       District, Case No. F04-1778/2008 (2088-A27-25), 12 March 2008, Exh. R-1505.




                                                          - 248 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 269 of 617




736. Claimants contend, in their Reply, that Respondent’s argument should be rejected. According
        to Claimants, Respondent does not contest the existence and significance of the 2008 decision,
        but merely contends that because this decision came in 2008, it should not be considered by the
        Tribunal. Claimants conclude:

                In other words, while the Respondent concedes that the repeat offender fines were
                unlawful under the correct interpretation of the provision, it seeks to justify the fines on the
                basis of an alleged uncertainty about the correctness of that interpretation.782

737. In their Post-Hearing Brief, Claimants also criticize Respondent’s reliance on the pre-2008
        jurisprudence:

                The Respondent and its expert concede that the imposition of repeat offender fines against
                Yukos was contrary to the interpretation of the Highest Arbitrazh Court issued in 2008.
                The Respondent’s only defense is to argue that some other courts had previously applied
                the statute in the same (incorrect) way. Thus, notwithstanding the requirement in
                Article 3(7) of the Tax Code to resolve doubts in favor of the taxpayer, the Respondent
                insists it was appropriate for the tax authorities to apply an interpretation that was both
                incorrect and nearly US$ 4 billion less favorable to the taxpayer. The animating,
                confiscatory purpose behind the Respondent’s actions is palpable.783

738. Mr. Konnov was cross-examined at length about the 2008 Arbitrazh Court decision.784
        Throughout, he maintained his support for the authorities’ treatment of Yukos, prior to the 2008
        decision. He did not concede that it was incorrect, but merely that it was a function of the
        uncertainty inherent in the provision.

739. Mr. Konnov had indeed referred to the “uncertainty” or ambiguity surrounding Article 112(2)
        of the Russian Tax Code in his First Expert Report:

                77.    The Claimants argue that the imposition of repeat offender fines on YUKOS was
                unjustified and ignored the plain language of the governing law and the Supreme Arbitrazh
                Court guidance. I cannot agree with the suggestion by the Claimants that the language of
                Article 112(2) of the Tax Code was “plain” and that there is only one possible
                interpretation of that provision. The relevant provision of the Tax Code reads as follows:
                       “Aggravating circumstance means commitment of a tax offence by a person
                       previously held liable for an analogous violation”.
                78.    YUKOS itself admitted during the court hearings related to the 2000 tax year there
                was more than one possible reading of Article 112(2) of the Tax Code. The minutes of the
                court hearing read as follows:


782
       Reply ¶ 261.
783
       Claimant’s Post-Hearing Brief ¶ 47 (citing Transcript, Day 15 at 20–23 (Mr. Konnov); Transcript, Day 18 at 101
       (Respondent’s closing)).
784
       See Transcript, Day 15 at 5–23.




                                                        - 249 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 270 of 617




                       [A representative of YUKOS] “. . . believes that there is unclarity in
                       interpretation of Article 112 of the Russian Tax Code.”785

740. Claimants assert that Respondent’s position is untenable, given that “Article 3(7) of the Tax
        Code requires doubts as to the proper interpretation of its provisions to be resolved in favor of
        the taxpayer.”786

741. In relation to Article 3(7) of the Russian Tax Code, Respondent makes the following final
        argument in its Post-Hearing Brief:

                Claimants’ contention that purported ambiguities in the statute governing repeat offender
                fines had to be resolved in Yukos’ favor is baseless (Claim. Reb., Day 20 Tr. 196:18:23;
                Konn. Test., Day 15 Tr. 33:14-33:25, 34:25-35:8). As Mr. Konnov explained without
                contradiction (Konn. Test., Day 15 Tr. 34:1-34:24), and as is confirmed in a 2004 article
                written by Mr. Zaripov (Exh. R-3223), only those doubts that courts cannot resolve must
                be decided in favor of the taxpayer. Here, however, the relevant Tax Code provision was
                interpreted consistently with prior caselaw, confirming that it did not give rise to any
                irresolvable doubts. Konn. Rep. 1, ¶ 79; Konn. Rep. 2, ¶ 102.787

742. Respondent has another defense for the “repeat offender” fines, namely that Yukos would have
        been deemed a repeat tax offender even under the approach adopted by the 2008 Resolution,
        because it had been subjected to fines for underpayment of taxes well before any of the
        assessments was issued. Respondent refers in this connection to paragraphs 81 and 82 of the
        First Konnov Report, which reads as follows:

                81.     Furthermore, there could have been additional grounds for imposition of repeat
                offender fines on YUKOS. Based on my experience, any Russian company of a size
                comparable to that of YUKOS at the end of 1990s and the beginning of this decade was
                regularly subject to tax audits. Almost all of these audits resulted in discovery of tax
                violations and imposition of fines, even though in some instances the amounts were
                relatively insignificant. The Nefteyugansk Tax Inspectorate imposed fines on YUKOS
                pursuant to Decision No. 289 dated June 9, 2003. Even before that, the tax authorities
                conducted a tax audit of YUKOS. The Report of the Nefteyugansk Tax Inspectorate
                No. 66, dated April 28, 2003, notes that on April 16, 2001 the Inter-Regional Inspectorate
                of the Tax Ministry for Operational Oversight of Problem Taxpayers issued a report
                No. 34-03-10/6. Although I have not been able to review that act, it would not be
                unreasonable to assume that fines were imposed on YUKOS based on that act. Moreover,
                the US GAAP financials produced by YUKOS suggest that in each of 1998, 1999, 2000,
                2001, 2002 and 2003, YUKOS was subject to substantial fines and interest for tax
                violations.
                82.    In accordance with the prevailing court practice, a repeat offender fine may be
                levied so long as the prior fine involved the same provision of the Tax Code with respect to

785
       First Konnov Report ¶¶ 77–78.
786
       Reply ¶ 261 (citing Russian Tax Code, Article 3(7), Exh. C-1276; Reply ¶ 231 and n.250).
787
       Respondent’s Post-Hearing Brief ¶ 46, n.140. For the exchange between Dr. Poncet and Mr. Konnov on the principle
       “in dubio contra fiscum,” see Transcript, Day 15 at 37–42.




                                                         - 250 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 271 of 617




                the same taxes, even if the nature and the amount of the violations were different.
                Accordingly, even minor violations with respect to the same taxes imposed in connection
                with different arrangements would have sufficed to justify the repeat offender fines even
                under the approach taken by the 2008 Resolution.788

743. Claimants counter Respondent’s alternative argument as follows:

                The Respondent’s alternative theory, according to which any previous violation on profit
                tax, on whatever basis and in whatever amount, would be sufficient to justify these
                US$ 3.92 billion in repeat offender fines is far-fetched to say the least, relying on
                Mr. Konnov’s dubious assertion as to the content of “prevailing court practice”, his
                speculation that Yukos may have had a previous violation at some point in time and his
                assumption that that hypothetical violation involved the same provision of the Tax Code
                with respect to the same taxes. In any event, since by the Respondent’s own admission its
                tax claims were not premised on alleged violations of any provision of the Tax Code,
                Mr. Konnov’s theory has no conceivable application in relation to Yukos.789

744. On the issue of the “repeat offender” fines, the Tribunal is persuaded by Claimants’ argument
        that these fines should not have been imposed.


                               v.      Could Yukos Have Avoided the Fines?

745. In its Counter-Memorial, Respondent draws the attention of the Tribunal to Article 81(4) of the
        Russian Tax Code which allows taxpayers to avoid all penalties for past misdeeds provided
        only that they file amended tax returns before being formally notified of the onset of the audit
        relating to the relevant tax years. If the taxpayer takes advantage of Article 81(4) in a timely
        fashion, it needs to pay only the tax previously evaded (and interest), but no fine. This
        provision, combined with the Russian practice (followed in the Yukos case) of auditing “open”
        tax years (i.e., tax years not time-barred by the statute of limitations) one after the other, rather
        than simultaneously, gives tax offenders an opportunity to eliminate their exposure to fines by
        filing last-minute amended returns.790

746. On the basis of this provision, Respondent contends that Yukos could have easily avoided the
        fines associated with the assessments for tax years 2001, 2002 and 2003, if only it had taken
        advantage of Article 81(4) of the Russian Tax Code:

                In Yukos’ case, the authorities had made clear their complete condemnation of Yukos’
                scheme when they delivered their audit report for 2000 to Yukos, i.e., on December 29,
                2003. They did not, however, announce commencement of their audit of the next year

788
       First Konnov Report ¶¶ 81–82 (citations omitted).
789
       Reply ¶ 262 (citing Counter-Memorial ¶¶ 993, 1085).
790
       Counter-Memorial ¶ 1087 (citing First Konnov Report ¶¶ 83–85).




                                                           - 251 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 272 of 617




                (2001) until March 23, 2004, i.e., 84 days later. As a result, Yukos had a window of
                opportunity of nearly three months duration in which it could have legally avoided any
                penalty whatsoever for tax year 2001 (including a willful offender fine and a repeat
                offender fine), simply by filing amended returns and paying the respective taxes and
                interest. The authorities’ audit for 2002 and 2003 did not start until August 9, 2004 and
                October 28, 2004, respectively, and Yukos could likewise have avoided all penalties
                simply by filing amended returns for 2002 and 2003 before those dates and paying the
                overdue taxes and interest. Instead, Yukos’ managers recklessly squandered this
                opportunity.791

747. As an additional point for the tax year 2003, Respondent asserts that Yukos had only itself to
        blame “for filing a fraudulent annual return for that year, which ended on or around 28 March
        2004, the filing deadline.”792 It is Respondent’s position that instead of continuing to pretend
        that its scheme was lawful, some three months after the December 2003 audit, Yukos could
        have filed an amended return.793

748. Similarly, Respondent submits that Yukos could have filed a “lawful tax return” for the 2004
        tax year. On the basis of this reasoning, Respondent sums up its position as follows:

                Had Yukos filed lawful tax returns beginning as of January 1, 2004 (i.e., after its receipt of
                the December 29, 2003 tax audit report) and exercised in timely fashion its right to file
                amended returns for years 2001 and 2002, and paid the respective taxes and default
                interest, it would have reduced its overall tax liabilities in an amount that would have
                ensured that Yukos would have not faced bankruptcy proceedings, and that would in all
                likelihood also have avoided the need for the YNG auction.794

749. Claimants reject Respondent’s suggestion that Yukos should have pre-emptively conceded the
        validity of the December 2003 tax audit for the 2000 tax year and filed amended tax returns for
        subsequent years prior to being notified of the audits for those years. Claimants assert that
        Respondent’s position “confirms the Russian authorities’ complete disregard for due process
        and fundamental rights of taxpayers.”795 According to Claimants, Yukos had every right to
        avail itself of its rights under Russian law to challenge these unlawful tax reassessments and
        fines in court, or even await the results of the tax authorities’ own review of Yukos’ objections
        and declaration of their final position in the decision to hold Yukos liable with respect to the



791
       Counter-Memorial ¶ 1088 (citing Field Tax Audit Report No. 30-3-14/1, 30 June 2004, p. 3, Exh. R-345; Field Tax
       Audit Report No. 52/852, 29 October 2004, p. 3 Exh. R-346; Field Tax Audit Report No. 52/907, 19 November 2004,
       p. 2, Exh. R-260; Counter-Memorial ¶¶ 353–65).
792
       Counter-Memorial ¶ 1089.
793
       Ibid.
794
       Ibid. ¶ 1090.
795
       Reply ¶ 264.




                                                       - 252 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 273 of 617




        year 2000.796 Claimants note that Respondent decided to carry out additional control measures
        and to review the 29 December 2003 audit report in light of Yukos’ objections but
        communicated no information about this review prior to issuing its Decision to hold Yukos
        liable on 14 April 2004 when it dismissed Yukos’ objections.797

750. The Tribunal does not accept that, if Yukos had acted as Respondent maintains, it would have
        been able to escape the imposition of fines. As with the issue of VAT liability, the Tribunal is
        convinced that had Yukos done so, the Russian Federation would still have found a way or a
        reason to impose the fines on Yukos.


                              vi.    Was the Quantum of the Fines Reasonable, in Terms of Both the
                                     Rate and the Absolute Amount?

751. In its Counter-Memorial, Respondent compares the regime for fines in the Russian Federation
        with those that exist in other countries. Respondent notes that fines for taxpayers that have
        underpaid their taxes, whether or not associated with tax evasion, can lead to fines at rates
        ranging up to 300 percent of the evaded tax (this highest rate applies, according to Respondent,
        in Austria, the Netherlands, and Switzerland). On this basis, Respondent concludes: “It is clear
        from the foregoing that the fines levied on Yukos were not excessive by international
        standards.”798

752. The Tribunal notes that Claimants did not address this last submission of Respondent. In any
        event, given the Tribunal’s conclusions regarding the legitimacy of the willful and repeat
        offender fines imposed by the tax authorities on Yukos, it is unnecessary for the Tribunal to
        deal with this contention.


                              vii.   Extracts from Other Yukos-Related Awards

753. In respect of the limitations period as it applied to the 2000 tax year, the ECtHR found,
        “notwithstanding the State’s margin of appreciation”, against the Russian Federation:

                 571. Turning to the facts of the case, the Court would note firstly that the rule which, in
                 the present case, underwent changes as a result of the decision of 14 July 2005, was
                 contained in Article 113 of Chapter 15 “General provisions concerning the liability for tax

796
       Ibid.
797
       Ibid., n.475.
798
       Counter-Memorial ¶ 1224.




                                                       - 253 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 274 of 617




               offences” of the Tax Code (see paragraph 403) and thus formed a part of the domestic
               substantive law. Even though the rule in itself did not describe the substantive elements of
               the offence and the applicable penalty, it nevertheless constituted a sine qua non condition
               with which the authorities had to comply in order to be able to prosecute the relevant
               taxpayers in connection with the alleged tax offences. Accordingly, Article 113 of the Tax
               Code defined a crime for the purposes of the Court’s analysis of lawfulness. It remains to
               be determined whether in the circumstances the decision of 14 July 2005 could be seen as a
               gradual clarification of the rules on criminal liability which “[was] consistent with the
               essence of the offence and could reasonably be foreseen” (see Kafkaris, cited above,
               § 141).
               572. In this connection the Court may accept that the change in question did not change
               the substance of the offence. The Constitutional Court interpreted the existing rules on
               time-limits in relation to taxpayers who acted abusively. At the same time, the Court is not
               persuaded that the change in question could have been reasonably foreseen.
               573. It observes that the decision of 14 July 2005 had changed the rules applicable at the
               relevant time by creating an exception from a rule which had had no previous exceptions
               (see paragraphs 86 and 88). The decision represented a reversal and departure from the
               well-established practice directions of the Supreme Commercial Court (see, by contrast,
               Achour, cited above, § 52) and the Court finds no indication in the cases submitted by the
               parties suggesting a divergent practice or any previous difficulty in connection with the
               application of Article 113 of the Tax Code at the domestic level (see paragraphs 407-408).
               Although the previous jurisprudence of the Constitutional Court contained some general
               references to unfavourable legal consequences which taxpayers acting in bad faith could
               face in certain situations, these indications, as such, were insufficient to provide a clear
               guidance to the applicant company in the circumstances of the present case.
               574. Overall, notwithstanding the State’s margin of appreciation in this sphere, the Court
               finds that there has been a violation of Article 1 of Protocol No. 1 on account of the change
               in interpretation of the rules on the statutory time-bar resulting from the Constitutional
               Court’s decision of 14 July 2005 and the effect of this decision on the outcome of the Tax
               Assessment 2000 proceedings.
               575. Since the applicant company’s conviction under Article 122 of the Tax Code in the
               2000 Tax Assessment proceedings laid the basis for finding the applicant company liable
               for a repeated offence with a 100% increase in the amount of the penalties due in the 2001
               Tax Assessment proceedings, the Court also finds that the 2001 Tax Assessment in the part
               ordering the applicant company to pay the double fines was not in accordance with the law,
               as required by Article 1 of Protocol No. 1.799

754. On the issue of the “repeat offender” fines, the RosInvestCo tribunal held as follows against the
        Russian Federation:

               From the evidence on file, the Tribunal concludes that the interpretation of Articles 122
               and 114 of the Tax Code used on Yukos was not used before or thereafter in any
               comparable cases. Again, this resulted in an extremely large liability in the range of
               US$ 3.8 billion.800
               ...
               Repeat offender fines: The US$ 3.8 billion repeat offender fines on the basis of conduct
               pre-dating the tax audit again appears to the Tribunal as a departure from practice applied

799
       ECtHR Yukos Judgment, ¶¶ 571–75, Exh. R-3328.
800
       RosInvestCo ¶ 454, Exh. C-1049.




                                                       - 254 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 275 of 617




                earlier and from that granted to other companies and thus to be one part of a cumulative
                effort to prevent Yukos’ ongoing existence.801


                (d)      Concluding Observations

755. The Tribunal recalls that, at the outset of this chapter, it referred to the question put by Counsel
        for the claimant to the arbitral tribunal in the Quasar arbitration. “Why would Russia have
        treated Yukos as it did if its purpose was to collect taxes?”802

756. After having now traversed, at some length, the treatment of Yukos by Russian tax authorities,
        the bailiffs and the courts, and having considered the totality of the evidence, especially the
        VAT evidence, the Tribunal has concluded that the primary objective of the Russian Federation
        was not to collect taxes but rather to bankrupt Yukos and appropriate its valuable assets.

757. The principal reasons, discussed in this chapter, which lead the Tribunal to this conclusion
        include:

               i)        the attribution to Yukos of the revenues earned by its trading companies, even
                         though there was no precedent in Russia for such attribution based on the theory of
                         “actual owner”, and the refusal at the same time to give Yukos any of the benefits
                         of the VAT filings made by the trading companies, with the result that Yukos was
                         assessed USD 13.5 billion or 56 percent of the total tax claims levied against
                         Yukos;

               ii)       the imposition on Yukos of the “willful offender” fines, at the very least as they
                         related to VAT;

               iii)      the refusal of the tax authorities to give Yukos the benefit of Article 3(7) of the
                         Russian Tax Code to resolve doubts as to the interpretation of Article 112(2) of the
                         Russian Tax Code in favor of the taxpayer, with the resulting imposition of nearly
                         USD 4 billion in “repeat offender” fines; and

               iv)       the imposition of “repeat offender” fines on Yukos when the conduct that was
                         punished occurred prior to the determination by the courts that the conduct was
                         wrongful; for example, the “repeat offender” fine assessed against Yukos for the

801
       Ibid. ¶ 620(c).
802
       See above at paragraphs 504 and 579.




                                                      - 255 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 276 of 617




                      2001 tax year is based on the finding by the courts in 2004 that the conduct in 2000
                      was wrongful.

758. In reaching its conclusion, the Tribunal has also taken into account the fact that, in February
        2007, before Messrs. Khodorkovsky and Lebedev had served half of their prison terms, the
        Prosecutor General’s Office levelled new charges against them, this time for theft of oil and
        funds from Yukos, embezzlement and money laundering.

759. As will be seen in subsequent chapters of this Part VIII of the Award which now follow, the
        Tribunal is sustained in this central and all important conclusion by its analysis of other
        disturbing facets of the Yukos saga, including:

               i)     the campaign of harassment carried out by the Russian authorities under the cloak
                      of “investigative activities” including arrests, interrogations, searches and seizures
                      against Yukos senior executives, mid-level employees, in-house counsel, external
                      lawyers and related entities;803

               ii)    Yukos’ repeated, reasonable attempts to settle its tax debts with the Russian
                      Federation, all of which proved futile;804

               iii)   the seizure of YNG, Yukos’ main production subsidiary, and its auction in
                      questionable circumstances for an inadequate price;805

               iv)    the way in which Yukos’ bankruptcy proceedings were initiated and conducted;806
                      and

               v)     the pressure brought to bear by the Russian authorities on PwC, which ultimately
                      conduced to the withdrawal of PwC’s audits of Yukos’ financial statements.807

760. The Tribunal will determine later in this Award how these conclusions impact the liability of
        Respondent under the ECT.


803
       See Chapter VIII.C.
804
       See Chapter VIII.E.
805
       See Chapter VIII.F.
806
       See Chapter VIII.G.
807
       See Chapter VIII.H.




                                                     - 256 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 277 of 617




C.      HARASSMENT, INTIMIDATION AND ARRESTS

        1.      Introduction

761. Claimants allege that Respondent carried out a campaign of harassment and intimidation of
        Yukos, its management, employees, external advisers and associates with a view to destroying
        the company and removing Mr. Khodorkovsky as a political threat:

               In what has been described as “a literal orgy of lawlessness”, the Russian Federation instigated and
               conducted a campaign of terror aimed at depriving Yukos of its ability to run its business, and thus
               facilitating the destruction of the company. This was achieved through an escalating process of
               arrests, intimidation, harassment, searches and seizures. The breadth of the campaign, which
               targeted not only Yukos and its management but also entities and individuals associated with the
               company, and the flagrant violations of due process that characterized the actions of the Russian
               Federation, underscore both the ruthlessness with which the Russian Federation sought the
               destruction of Yukos and the coordinated nature of the attack.

               The undeniable effect of the actions described below was to undermine the viability of Yukos,
               placing the Russian Federation in a position to carry out the dismantling of the Company.808

762. Claimants allege that Respondent’s harassment campaign has “continued throughout the time
        period at issue in these arbitrations and continues even today,” most notably with a second
        round of charges in 2007 against Messrs. Khodorkovsky and Lebedev leading to a trial
        described as a “travesty of justice” that resulted in a sentence of a further thirteen and a half
        years in prison.809

763. Respondent for the most part does not question the facts underlying Claimants’ allegations,
        though it does question the credibility of some of Claimants’ witness accounts. Rather, the
        events described by Claimants as constituting a campaign of “harassment and intimidation” are,
        according to Respondent, better characterized as legitimate acts of law enforcement undertaken
        in full compliance with Russian law and Russian practices as well as standards of other
        countries.810

764. In any event, Respondent considers the events complained of to be largely irrelevant to the
        Tribunal’s enquiry in these arbitrations. That is because Article 26 of the ECT limits the
        Tribunal’s jurisdiction to disputes alleging the breach of an obligation under Part III of the
        ECT, of which Articles 10(1) and 13 are directed only to investments, and afford no personal

808
       Memorial ¶¶ 106–7. See also Memorial ¶¶ 65, 83–197; Reply ¶¶ 17–94; Claimants’ Post-Hearing Brief ¶¶ 156–65.
809
       Reply ¶¶ 17, 41.
810
       See Counter-Memorial ¶ 673; Transcript, Day 18 at 113–21 (Respondent’s closing).




                                                        - 257 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 278 of 617




        protection for nationals. Respondent observes that “the alleged violations of the human rights
        of Messrs. Khodorkovsky, Lebedev and others . . . are outside the scope of this Tribunal’s
        jurisdiction, unless Claimants can establish that any such violations directly impaired the
        management or operation of their investments.”811 Respondent argues Claimants have failed to
        do so,812 and that the prosecutions of Messrs. Khodorkovsky and Lebedev did not destroy
        Yukos. To the contrary, Yukos exceeded its 2003 performance in 2004.813

765. The Tribunal recognizes that it is not a human rights court. Nevertheless, it is within the scope
        of the Tribunal’s jurisdiction to consider the allegations of harassment and intimidation as they
        form part of the factual matrix of Claimants’ complaints that the Russian Federation violated its
        obligations under Part III of the ECT. The Tribunal’s task includes determining whether the
        Russian Federation “in any way impair[ed] by unreasonable or discriminatory measures
        [Claimants’] management, maintenance, use, enjoyment or disposal” of its investment, or
        subjected Claimants’ investment to measures having the effect equivalent to an expropriation.
        In the context of that inquiry, the Tribunal will set out the evidentiary record with respect to the
        alleged “campaign of harassment and intimidation.”


        2.      Chronology of Facts

                (a)     Yukos Grows; Mr. Khodorkovsky Becomes More Politically Engaged; Yukos
                        Leaders Receive Warnings

766. Claimants allege that by early 2003 “Mikhail Khodorkovsky’s participation in the social policy
        and political spheres in Russia, coupled with Yukos’ growing economic power, came to be
        perceived as a threat by the Russian authorities.”814

767. As already noted in Chapter VIII.B above, President Putin’s former Chief Economic Advisor,
        Dr. Illarionov alleged in his witness statement that around late 2002, a “special unit was set up
        at the General Prosecutor’s office, comprised of approximately 50 people and working
        exclusively on fabricating evidence against Mr. Khodorkovsky and Yukos.”815 The special unit

811
       Rejoinder ¶ 1335.
812
       Ibid. ¶ 1331.
813
       Russia’s Yukos says interim oil output up 5.3% on year in 2004, Prime–TASS Energy Service (Russia), 21 March
       2005, Exh. R-509.
814
       Memorial ¶ 63.
815
       Illarionov WS ¶¶ 35–36.




                                                      - 258 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 279 of 617




        came up with approximately 15 possible theories to justify Mr. Khodorkovsky’s arrest, amongst
        them “tax evasion schemes allegedly set up either for Mr. Khodorkovsky’s personal benefit or
        for the benefit of Yukos.”816 Upon cross-examination, Dr. Illarionov declined to identify his
        source, a “high-placed official in the Russian Administration at the time” who still lives in
        Moscow, out of concerns for the official’s safety.817 Dr. Illarionov testified that the official told
        him     the    unit     had   “been     created     to    ‘zanyatsa’     Khodorkovsky. . . ‘take         care    of’
        Khodorkovsky . . which means one day some kind of security services and officers did receive
        an order so-called to solve the problem.”818

768. The turning point, according to Claimants, was a meeting at the Kremlin between President
        Putin and the Russian Union of Industrialists and Entrepreneurs on 19 February 2003, to which
        the Tribunal has referred earlier, at which Mr. Khodorkovsky delivered a speech about
        corruption in Russia.819 President Putin responded by alluding to some companies, including
        Yukos, having accumulated considerable wealth from non-payment of tax, and thus told
        Mr. Khodorkovsky that he was “passing the puck back to you.”820 At this point, according to
        Dr. Illarionov, the tone became “steely and menacing,”821 and from then on, the “gloves were
        off.”822      The Tribunal has observed earlier in this Award that the Russian authorities,
        particularly in the ZATOs, were questioning the legality of Yukos’ tax optimization scheme
        prior to the February 2003 meeting and that this meeting was not a “turning point” in terms of
        being the catalyst for challenging the Yukos tax scheme.823 Nevertheless the record does show
        that from around the time of the February 2003 meeting, the Russian authorities escalated the
        intensity and extent of their investigations into Yukos and associated individuals and entities.

769. In the months following the February 2003 meeting, Mr. Khodorkovsky’s financial support for

816
       Ibid.
817
       Transcript, Day 7 at 156–57.
818
       Ibid. at 158. As discussed below in Subsection 3(a), Respondent describes Dr. Illarionov’s evidence as “rank hearsay”
       and a “lie”, Transcript, Day 18 at 114–16.
819
       Memorial ¶¶ 63, 86–91.
820
       Excerpt of Television Report “Un milliardaire en Sibérie” broadcast on TF1 on 1 October 2006, Exh. C-590; Video
       recording and transcript of the meeting of the members of the Union of Industrialists and Entrepreneurs with President
       V. Putin held in the Ekaterininsky Hall, Kremlin, on 19 February 2003, Exh. C-1396.
821
       Illarionov WS ¶¶ 31–32.
822
       Ibid. Memorial ¶¶ 86–91. See also Statement of Prime Minister Mikhail Mikhailovich Kasyanov to the ECtHR,
       8 July 2009, in Khodorkovskiy v. The Russian Federation (Application Nos. 5829/05, 11082/06 and 51111/07) ¶¶ 10–12,
       Exh. C-446.; Kovalev Report ¶ 53.
823
       See above at paragraph 513.




                                                          - 259 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 280 of 617




        opposition parties, including the Communist party, apparently was increasingly of concern to
        President Putin.        For example, Mr. Dubov testified that President Putin had advised
        Mr. Khodorkovsky in April 2003 to restrict his political activities and not to finance the
        Communists.824 Similarly, former Prime Minister Kasyanov testified to the ECtHR that a
        conversation with President Putin had left him in no doubt that “by funding the communists
        Khodorkovsky had crossed a line so far as Putin was concerned and that the criminal
        prosecution case of Yukos employees was started exactly because of the funding of political
        parties not sanctioned by Putin.”825

770. Mr. Khodorkovsky’s close business associate, Mr. Leonid Nevzlin, testified that in the Spring
        of 2003 the then Media Minister met him for lunch and informed him that “the decision had
        been taken to seize Yukos, and that [President Putin’s deputy chiefs of staff] would not stop at
        anything in order to achieve that end, including arresting Khodorkovsky.”826                        From this,
        Mr. Nevzlin received the message that Mr. Khodorkovsky should put an end to his criticism of
        President Putin and his administration, “otherwise he could lose everything.” Mr. Nevzlin
        reported warnings from other sources at the time, including Sibneft’s Roman Abramovich
        saying President Putin told him he “would like to see Mr. Khodorkovsky’s bottom on a prison
        bench” and Federation Council members telling Mr. Nevzlin that Mr. Khodorkovsky “could
        face problems should he stay in Russia.”827


                (b)      Prosecutor General Launches Investigations Involving Searches and Seizures

771. From June 2003, the Office of the Prosecutor General of the Russian Federation launched a
        series of investigations against various members of Yukos’ management, most prominently
        among them Mr. Khodorkovsky and Mr. Platon Lebedev (GML director and close associate of
        Mr. Khodorkovsky).828 Mr. Lebedev was arrested on his hospital bed on 2 July 2003 on
        charges of fraud, embezzlement and tax evasion.829 Two days later, Messrs. Khodorkovsky and


824
       Dubov WS ¶ 69.
825
       Statement of Prime Minister Mikhail Mikhailovich Kasyanov to the ECtHR, 8 July 2009, in Khodorkovskiy v. The
       Russian Federation (Application Nos. 5829/05, 11082/06 and 51111/07) ¶¶ 17–19, Exh. C-446.
826
       Nevzlin WS ¶ 30.
827
       Ibid. ¶¶ 31–33.
828
       Memorial ¶ 108; ‘Chronology’, Attack on Yukos, Yukos Review, Special Issue, 2003, p. 5, Exh. C-22.
829
       Attack on Yukos, Yukos Review, Special Issue, 2003, Exh. C-22; Oil Executive is Arrested, and Russians Look for
       Putin’s Role, NY Times, 3 July 2003, Exh. C-637; Yukos oil oligarch arrested in raid, The Washington Times,
       26 October 2003, Exh. C-658. Respondent points out that the ECtHR dismissed a complaint by Mr. Lebedev that the




                                                        - 260 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 281 of 617




        Nevzlin were summoned for questioning in what Mr. Nevzlin described as an “absurd”
        investigation.830 That same day, the Russian authorities raided the office of the registrar of
        Yukos’ shares and confiscated documents.831

772. On 11 July 2003, the Russian authorities conducted the first large-scale raid on Yukos. Yukos’
        then Chief Financial Officer, Mr. Bruce Misamore, describes it as:

                an incredible scene full of armed, masked officers—during which they trawled through our
                computer records for approximately 17 hours. This was to begin a wave of raids on
                Yukos’ Moscow headquarters and other companies affiliated with Yukos by investigative
                officers . . . sometimes accompanied by . . . heavily armed police officers.832

773. Yukos group Financial Controller, Mr. Frank Rieger, also recounts the raids on the accounting
        department, which started from July 2003. He describes how the staff was forced to stop work
        during the raid, that a Deputy Chief Accountant had been told by the authorities that they
        “knew that she had grandchildren, a dacha etc and that she had better tell them what they
        wanted to hear,” another staff member resigned having been told by the prosecutors it would be
        best for him, and that the authorities regularly seized “lorry loads of documents” in an
        unsystematic fashion, without leaving copies or any record of the documents seized.833

774. According to Mr. Misamore, the loss of key documents “created great difficulties not only in
        managing the company, but in preparing the annual financial statements.”834 Mr. Misamore
        elaborated that “these raids with the guys in their balaclavas and their AK47s coming in and
        harassing our employees, taking original documents away from our offices, not leaving us with
        any copies, we couldn’t even accomplish accounting . . . . We lost our entire U.S. GAAP
        consolidation accounting group by the end of 2004: they all left the company because they
        didn’t want to be harassed.”835 Steven Theede, who joined Yukos as Chief Operating Office in
        August 2003 noted that by the end of 2003:



       Russian Federation violated its human rights obligations with respect to his health in detention conditions, Lebedev v.
       The Russian Federation (No. 1) (Application No. 4493/04), ECtHR Decision of 18 May 2006, Exh. R-4000.
830
       Nevzlin WS ¶ 34.
831
       “Yukos Repurchases its Shares,” Vedomosti, 7 July 2003, Exh. C-638.
832
       Misamore WS ¶ 31. See also “Police raid Russian oil giant,” BBC News, 11 July 2003, Exh. C-640; “Prosecutors
       Search Yukos Office for 17 Hours,” The Moscow Times, 14 July 2003, Exh. C-641.
833
       Rieger WS ¶¶ 27–28. See also Misamore WS ¶ 32.
834
       Misamore WS ¶ 32.
835
       Transcript, Day 4 at 244–45.




                                                           - 261 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 282 of 617




                 It was obvious that . . . the Government was out to get us; it was that simple. The number
                 of raids we had in the office, police coming and charging through our accounting
                 department, knocking computers off desks, . . . tipping desks up on their side. I had four
                 men in black masks outside my office with machine guns once, trying to get in.836

775. Following the arrest of Mr. Lebedev, the Board of Directors of Yukos set up a temporary
        ad hoc committee to assess the situation and potential risks related to the arrest, which was
        chaired by Mr. Jacques Kosciusko-Morizet, then chair of the Board’s Audit Committee.837
        Mr. Kosciusko-Morizet testified (over Respondent’s objection) about Mr. Khodorkovsky’s
        appearance before the ad hoc committee in August 2003.838 Although Mr. Khodorkovsky
        initially assured the Board that “everything is fine,” Mr. Kosciusko-Morizet pressed him for
        “some explanation” and recounted his response to the Tribunal:

                 He said the following, ‘I’m in touch with generals from the FSB’ [the successor of the
                 KGB] . . . ‘They want a kompromat.’ . . . ‘kompromat’, which is a Soviet word . . . A
                 kompromat is a document which gives you leverage on somebody, and practically forces
                 him or her to follow whatever instructions he or she is given. And we asked, ‘What kind
                 of kompromat do they mean?’ ‘Well’, he said, ‘all I have to do is write two lines: I
                 committed criminal deeds.’ And then I said, ‘And what will happen if you sign such a
                 kompromat?’ He said, ‘Nothing. They will just keep it, and from time to time I’ll receive a
                 phone call asking me for some favour.’ And I asked again, ‘But for Yukos—so will you
                 sign it?’ . . . He said, ‘No, I don’t want to live like that with my children.’ And then I said,
                 ‘But under the assumption that you would sign it, what would happen?’ And his words
                 were, ‘Well, if I would sign such a two-line letter, the problems of Yukos would disappear
                 faster than it takes to switch off the light in this room.’ . . . And I did not leave this meeting
                 in a very optimistic mood on future events. And indeed two months later he was in jail, in
                 pre-trial detention. He did not sign the kompromat.839

776. Dr. Illarionov testifies that in September 2003 he met with Mr. Khodorkovsky to tell him he was
        in danger and it would be preferable for him to leave Russia. Mr. Khodorkovsky reportedly
        replied that he did not feel he had committed any offence and did not want to leave Russia.840

777. In early October 2003, the authorities conducted raids at the home of Mr. Lebedev, the offices
        of GML Management Services SA, and a boarding school for disadvantaged children
        sponsored by Yukos.841 Further raids were conducted in the office of Mr. Lebedev’s lawyer, a



836
       Ibid. at 9.
837
       Kosciusko-Morizet WS ¶ 23.
838
       Transcript, Day 4 at 226–28.
839
       Ibid.
840
       Illarionov WS ¶ 39.
841
       Memorial ¶ 161, Attack on Yukos, Yukos Review, Special Issue, 2003, Exh. C-22; Yukos Targeted in Three New
       Raids, The Moscow Times, 6 October 2003, Exh. C-652.




                                                          - 262 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 283 of 617




        move criticized by the Moscow Bar Association at the time.842


                (c)      Arrest and Trial of Mr. Khodorkovsky; Flight from Russia of His Associates

778. On 25 October 2003, Mr. Khodorkovsky was arrested at gunpoint by an armed special forces
        unit in a Siberian airport, and taken to Moscow where he was charged with economic crimes
        including fraud, tax evasion and embezzlement.843 He was detained for over ten years until his
        much publicized release on 20 December 2013.844 According to Claimants, the arrest “paved
        the way for the subsequent actions of the Russian Federation, which eventually resulted in the
        dismantling of Yukos.”845 The ECtHR, in its judgment of 31 May 2011, criticized the manner
        of Mr. Khodorkovsky’s arrest, the denial of bail, violations of due process and attorney-client
        privilege, and the subjection of Mr. Khodorkovsky to inhuman and degrading treatment in his
        pre-trial detention.846

779. Mr. Yuri Schmidt, a criminal lawyer who has acted for Mr. Khodorkovsky, testifies that never
        before in his 50 years of experience had he “seen the Russian State undertake such coordinated,
        systematic and intense efforts, and deploy such huge resources, against a person accused of an
        alleged economic offense.”847 Respondent chose not to cross-examine Mr. Schmidt.

780. In response to a question from a member of the Tribunal, Dr. Illarionov testified about a
        conversation he had with President Putin shortly after the arrest of Mr. Khodorkovsky.
        According to Dr. Illarionov, President Putin explained that Mr. Khodorkovsky had “behave[d]
        badly” and stopped “cooperating,” for example by negotiating with an American oil company
        about a possible merger and supporting the Communist Party in advance of the Duma elections.

842
       Memorial ¶ 161, Lawyer Outcry: Yukos Raids Illegal, The St. Petersburg Times, 14 October 2003, Exh. C-657.
843
       Memorial ¶ 112, Attack on Yukos, Yukos Review, Special Issue, 2003, Exh. C-22; Yukos oil oligarch arrested in raid,
       The Washington Times, 26 October 2003, Exh. C-658.
844
       The Parties agree that Mr. Khodorkovsky’s release has no impact whatsoever on the present arbitration proceedings.
       See Claimants’ Letter to the Tribunal of 24 January 2014 (“The Claimants submit that Mr. Khodorkovsky’s pardon by
       the President of the Russian Federation and his release from prison . . . have no impact whatsoever on the present
       proceedings”); and Respondent’s Letter to the Tribunal of 24 January 2014 (“Mr. Khodorkovsky’s pardon itself has no
       effect on these proceedings”). Claimants further point out that the pardon entailed no admission of guilt by
       Mr. Khodorkovsky. Respondent further points out that the pardon had no effect on Mr. Khodorkovsky’s criminal
       convictions or the findings by Russian courts with respect to tax evasion by Yukos. The Tribunal also notes that
       Mr. Lebedev was released after his sentence was reduced by the Russian Supreme Court on 23 January 2014. See
       Respondent’s Letter to the Tribunal of 24 January 2014.
845
       Memorial ¶ 122.
846
       Reply ¶¶ 25–28. ECtHR, Khodorkovskiy v. Russia (Application No. 5829/04), Judgment of 31 May 2011 ¶¶ 193–95,
       (hereinafter “Khodorkovsky v. Russia 1”, Exh. C-1300.
847
       Schmidt WS ¶ 59.




                                                         - 263 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 284 of 617




        Following these actions, President Putin decided to “step aside” and allow Mr. Khodorkovsky
        to fend for himself against “the boys.”848 Dr. Illarianov also recalled that there was wide
        “public outrage” in the mass media. The then Prime Minister, Mr. Mikhail Kasyanov, publicly
        disapproved of the arrest. Dr. Illarionov referred to President Putin’s order that “I would ask
        everybody in the Government to shut up on Mr. Khodorkovsky’s arrest,” and it was very clear
        to him that this comment was addressed to Mr. Kasyanov, who was later removed from his
        position.849

781. Mr. Dubov testifies that a Kremlin official informed him on 27 October 2003 that his name had
        been struck off the list of candidates running for the Duma, at the direction of President
        Putin.850 At the Hearing Mr. Dubov elaborated on the conversation he had with the Kremlin
        official, to whom he had asked “What will happen to Yukos?” Mr. Dubov received the answer
        “Yukos will be taken away from you gentlemen” and that there would be criminal claims
        against every single shareholder.851 He was told President Putin had “gone berserk over
        Khodorkovsky.” Upon advice from the official, Mr. Dubov left Russia that night and has never
        returned.      Mr. Nevzlin also left Russia late in 2003 and has not returned since. Shortly
        thereafter Mr. Dubov, Mr. Nevzlin and Mr. Brudno were charged with embezzlement and
        money laundering.852           International arrest warrants were issued in January 2004 for
        Messrs. Nevzlin and Dubov, the day after Mr. Nevzlin announced their joint support for a
        presidential candidate opposing President Putin.853

782. On 3 November 2003, Mr. Khodorkovsky resigned as CEO of Yukos. In that connection,
        Respondent submits that he resigned voluntarily and that, shortly thereafter, Yukos confirmed
        that it had “a strong management team in place”, that it was “continuing to operate” and that it
        was “business as usual” following Mr. Khodorkovsky’s resignation.854 However, raids and
        arrests at the offices and homes of Yukos-connected personnel continued over the ensuing



848
       Transcript, Day 7 at 155.
849
       Ibid. at 159–60.
850
       Dubov WS ¶ 79.
851
       Transcript, Day 5 at 182.
852
       Decision to Deny Extradition of Mikhail Brudno to the Russian Federation, Prosecutor General’s Office of Lithuania,
       24 August 2007, Exh. C-469; Memorial ¶ 123; Dubov WS ¶¶ 79–81, Nevzlin WS ¶ 14.
853
       Memorial ¶ 123, Nevzlin WS ¶ 14.
854
       Yukos Conference Call on Recent Developments – Final, Financial Disclosure Wire, 5 November 2003 Exh. R-3991.




                                                         - 264 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 285 of 617




        years, including on NGOs and service providers connected with Yukos.855 Claimants also
        allege that Yukos’ auditors, PwC, were targeted and harassed because of their association with
        Yukos,856 an issue discussed in more detail below in Chapter VIII.H.


                (d)     Complaints of Further Harassment and Intimidation of Yukos Executives,
                        Employees, Lawyers and External Advisers

783. Claimants have also referred the Tribunal to the interrogations and arrests of in-house and
        external lawyers for Yukos and Messrs. Khodorkovsky and Lebedev.857 Their telephones were
        put under surveillance. In his witness statement, Mr. Schmidt recounts that the treatment of
        some lawyers acting for Yukos personnel included threats, harsh interrogations and beatings
        requiring hospitalization, leading some local and international bar associations to voice their
        deep concerns.858        Mr. Schmidt himself recounts incidents of intimidation against him,
        including disbarment and libel suits.859

784. Mr. Schmidt observes that “the timing of the attacks on the lawyers acting for
        Messrs. Khodorkovsky and Lebedev and on Yukos’ lawyers and personnel was always
        meticulously calculated to correspond to the critical stages in the dismantlement of Yukos.”860
        Thus, at a time when Yukos was deeply engaged in its defense of tax proceedings brought
        against it, the Head of Yukos’ Legal Department, Mr. Gololobov, was arrested and his
        computers and documents confiscated.                 In July 2004, at the time of the enforcement


855
       Special forces raid Russian oil firm’s headquarters, The Daily Telegraph, 4 July 2004 Exh. C-690; Yukos raided,
       banks declare it in default, Gazeta, 5 July 2004, Exh. C-691; Police Surround Yukos Headquarters, The Moscow
       Times, 5 July 2004, Exh. C-692; Police raid threatens Yukos oil production, The Guardian, 5 July 2004, Exh. C-693;
       Top Yukos executives flee threat of arrest, The Financial Times, 25 November 2004, Exh. C-725; Prosecutor General
       Gets Busy with Yukos Staff, Kommersant, 17 December 2004, Exh. C-733.
856
       Memorial ¶¶ 143–51.
857
       Russia Seeks To Prosecute Two More At Yukos, NY Times, 19 November 2004 Exh. C-723; Prosecutor General Gets
       Busy with Yukos Staff, Kommersant, 17 December 2004 Exh. C-733; Yukos Lawyer Shows Signs of Three Crimes,
       Kommersant, 12 January 2005 Exh. C-747; Moscow court upholds arrest warrant for Yukos lawyer, RIA Novosti,
       26 December 2005 Exh. C-788; Yukos Lawyer, a Mother of Two, Gets 7 Years, The Washington Post, 20 April 2006
       Exh. C-800. See also, more recently, Khodorkovsky v. Russia 2 ¶¶ 634–48, 931–32 and the Parties’ respective
       submissions of 30 August 2013 on that judgment.
858
       Schmidt WS ¶¶ 16–18; Striving for Judicial Independence: A Report into Proposed Changes to the Judiciary in
       Russia, International Bar Association Human Rights Institute Report, June 2005 Exh. C-601; Letter from the IBA
       Executive Director to General Procurator of the Russian Federation (undated) Exh. C-604; Witness Statement of Pavel
       Petrovich Ivlev of 15 March 2006 in Mikhail Borisovich Khodorkovsky v. The Russian Federation, ECtHR,
       (Application No. 11082/06), Exh. C-441; Family of Yukos Lawyer Detained, Kommersant, 9 February 2005,
       Exh. C-750.
859
       Schmidt WS ¶¶ 20–22.
860
       Ibid. ¶¶ 16(3) and 17.




                                                         - 265 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 286 of 617




        proceedings by the court bailiffs for the tax assessments and the service by the Tax Ministry of
        the Field Tax Audit Report for 2001, an estimated 100 officials raided Yukos’ headquarters on
        a Saturday afternoon, confiscating computer servers. At the time of the forced sale of YNG in
        December 2004, there were further raids on Yukos offices and personnel.861 Searches were
        carried out in the offices of Yukos’ external lawyers, ALM Feldmans, who also faced an
        extensive audit of their own after the search.

785. On 31 May 2005, the Meshchansky Court of the city of Moscow sentenced
        Messrs. Khodorkovsky and Lebedev to nine years in prison on charges of fraud and tax
        evasion, following a trial that was widely criticized for its lack of due process.862 Mr. Schmidt,
        himself intimately involved with the trial, stated he had never seen “such a mockery of justice
        and violations of the most basic standards of due process and fundamental rights, including the
        right to a fair trial, at all stages of a case.”863 Similar observations were made by Russian and
        international media outlets and opposition parties within Russia.864 Messrs. Khodorkovsky and
        Lebedev were transferred to Siberia to serve their sentences in remote penal colonies, and their
        sentences were reduced on appeal to 8 years, which Claimants maintain was in violation of
        Russian law at the time.865

786. Meanwhile, a number of Yukos associates who had fled Russia were subject to extradition
        requests from the Russian Federation, none of which were granted by the courts of the countries
        where they were residing. Mr. Nevzlin mentioned his trial in absentia and Israel’s refusal to
        extradite him to Russia.866 In 2005 and 2007, courts in the United Kingdom refused to extradite
        former financial and business managers of Yukos, on the basis that the prosecutions were “so
        politically motivated that there is a substantial risk that the Judges of the Moscow City court
        would succumb to political interference in a way which would call into question their
        independence.”867 Courts in Lithuania, Cyprus and the Czech Republic also refused to extradite

861
       Memorial ¶ 155.
862
       Memorial ¶ 520–47, Reply ¶ 30.
863
       Schmidt WS ¶¶ 16(4)(5), 23, 26. He recounted how Mr. Khodorkovsky’s lawyers were denied the opportunity to meet
       with him in crucial weeks to prepare for the defence.
864
       Yukos verdict alarms Russia press, BBC News, 1 June 2005, Exh. C-753; Khodorkovsky sentenced, Russia Guilty,
       International Herald Tribunal, 2 June 2005, Exh. C-754.
865
       Reply ¶¶ 39–40.
866
       Nevzlin WS ¶ 14, Transcript, Day 8 at 28.
867
       Memorial ¶¶ 189–92, The Government of the Russian Federation v. Dmitry Maruev and Natalya Chernysheva, Bow
       Street Magistrates’ Court, 18 March 2005, Exh. C-462. See also The Government of the Russian Federation v.
       Alexander Vikotrovich Temerko, Bow Street Magistrates’ Court, 23 December 2005, Exh. C-464; The Government of




                                                       - 266 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 287 of 617




        former Yukos managers or former Yukos service providers on the basis of the political
        dimensions of the underlying requests.868

787. In late 2003, most of the shares in Yukos held by Claimants Hulley and YUL were seized by
        the Russian courts and remained frozen until the liquidation of Yukos in November 2007.869
        The shares owned by Claimant Veteran, which were held in a Swiss bank account, were also
        subject to an asset freeze following a request for mutual legal assistance from the Russian
        Federation to Switzerland. However, in June 2004, the Swiss Federal Tribunal overturned the
        freeze orders and released the shares. Over the following years, the Swiss courts were also
        engaged in mutual legal assistance requests for searches and seizures of documents of various
        Yukos-related entities, culminating in the Swiss Federal Tribunal expressing the view that the
        case against Mr. Khodorkovsky was politically motivated and “orchestrated by the regime in
        power with a view to subordinating the class of rich ‘oligarchs’ and eliminating potential or
        sworn political opponents.”870

788. By late 2004, many mid-level Yukos managers and employees had been arrested, questioned or
        put on wanted lists, generating an atmosphere of pressure. Several of the remaining senior
        executives decided not to return to Russia.871 In August 2006, the Russian Prosecutor General’s
        office announced criminal investigations against senior level executives, including
        Messrs. Misamore and Theede. Mr. Misamore, noting he had never been formally notified of
        the charges, considers that they were part of a “general campaign to intimidate those associated
        with Yukos.”872 Mr. Rieger also testified about being interrogated by the Russian Prosecutor
        General’s Office, when he was presented with a series of questions for which the investigator
        had already prepared his answers. He described this as:

       the Russian Federation v. Ramil Raisovich Bourganov and Alexander Gorbachev, Bow Street Magistrates’ Court,
       17 August 2005, Exh. C-463; The Government of the Russian Federation v. Andrei Borisovich Azarov, City of
       Westminster Magistrates’ Court, 19 December 2007, Exh. C-465.
868
       Memorial ¶¶ 193–97, In the matter of the Application by the Russian Federation for the extradition of Kartashov
       Vlatislav Nicolay, Nicosia District Court, Cyprus, Judgment, 10 April 2008, Exh. C-460; Decision to Deny
       Extradition of Elena Vybornova to the Russian Federation, High Court of Olomouc, Czech Republic, 31 July 2007,
       Exh. C-461; Decision to Grant Refugee Status to Igor Babenko, Supreme Administrative Court of Lithuania,
       16 October 2006, Exh. C-468; Decision to Deny Extradition of Mikhail Brudno to the Russian Federation, Prosecutor
       General’s Office of Lithuania, 24 August 2007, Exh. C-469.
869
       Memorial ¶ 167.
870
       Judgment of the Swiss Federal Tribunal, 13 August 2007, Mikhail Khodorokovsky v. Swiss Federal Prosecutor’s
       Office ¶ 4, Exh. C-477. For similar conclusions reached by courts in other mutual legal assistance cases, see
       Exhs. C-478–82.
871
       Memorial ¶ 123.
872
       Misamore WS ¶ 35.




                                                        - 267 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 288 of 617




                a kind of never expected story. And if I wouldn’t have been the witness of such an event, I
                couldn’t believe this: being called as a witness, arriving, and seeing, “Here, Mr Rieger,
                we’d like to talk to you today. These are the questions, and wouldn’t you mind to look at
                this document? . . . . I think this is what you’d like to say to us.”873

        Mr. Rieger refused to sign and was kept for eight hours of questioning. The next morning, the
        German Embassy advised him to leave the country. He has not returned to Russia since
        May 2006.874 Similarly, Mr. Theede was advised by the U.S. State Department that it was not
        safe for him to return to Russia.875

789. By the time bankruptcy proceedings had started against Yukos at the end of March 2006,
        approximately 35 senior managers, employees and in-house counsel of Yukos had been
        interrogated, arrested and/or sentenced.876              At that time, Mr. Theede appointed Vasily
        Aleksanyan as Executive Vice President of Yukos to serve as the main point of contact for the
        bankruptcy.877 Shortly afterwards, on 6 April 2006, Mr. Aleksanyan was arrested at home by
        masked and armed men and charged with embezzlement allegedly committed when he was
        head of the Yukos legal department.878 A few months after his detention, he was diagnosed
        with lymphoma and AIDS. It is alleged that he was offered medical treatment and freedom in
        return for evidence against Messrs. Khodorkovsky and Lebedev, an offer which he refused.879
        He remained in pre-trial detention for almost three years in conditions described by Russia’s
        own human rights council as “simply monstrous.”880 His treatment was criticized by the
        ECtHR, whose initial interim measures were ignored by the Russian Federation, but after the
        ECtHR issued a final judgment, the authorities released Mr. Aleksanyan on bail (for USD 1.8
        million) and finally dropped charges against him due to the statute of limitations.881 Claimants’
        expert witness on the independence of the Russian judiciary, Dr. Sergei Kovalev, whom


873
       Transcript, Day 6 at 69.
874
       Rieger WS ¶¶ 32–35.
875
       Transcript, Day 11 at 16.
876
       Ioukos, un deuxième président en prison, Libération, 8 April 2006, Exh. C-798.
877
       Theede WS ¶ 30.
878
       Top Yukos official Aleksanyan detained in Moscow, RIA Novosti, 6 April 2006, Exh. C-796; Arrest of Yukos Oil
       Company Executive Vice-President is a Brutal and Unjust Attack on the Company’s Attempts to Secure a Fair
       Bankruptcy Process, Yukos Press Release, 7 April 2006, Exh. C-797; Ioukos, un deuxième président en prison,
       Libération, 8 April 2006, Exh. C-798.
879
       As described in his testimony to the Supreme Court of the Russian Federation, 22 January 2008, Exh. C-598.
880
       Jonas Bernstein, Aleksanyan’s Plight: a case of the ‘Legal Nihilism’ Medvedev has vowed to fight?, Eurasia Daily
       Monitor, Volume 5, Issue 21, 4 February 2008, Exh. C-880.
881
       ECtHR, Aleksanyan v. Russia (Application No. 46468/06), Judgment, 22 December 2008, Exh. C-449.




                                                          - 268 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 289 of 617




        Respondent chose not to cross-examine, described Mr. Aleksanyan’s treatment as “[o]ne of the
        most glaring examples of pressure exerted on individuals associated with Mikhail
        Khodorkovsky and Yukos.”882 Mr. Theede testified that the plight of Mr. Aleksanyan (who
        after his release from prison died at age 39)883 demonstrated the severe risks which other
        persons in Russia associated with Yukos faced constantly and stated that it had become
        extremely difficult to manage the company.884


                (e)    Second Trial of Mr. Khodorkovsky; Allegations of Continuing Harassment
                       and Intimidation

790. In February 2007, before Messrs. Khodorkovsky and Lebedev had served half of their prison
        terms, the Prosecutor-General’s Office levelled new charges against them, this time for theft of
        oil and funds from Yukos, embezzlement and money laundering.885

791. Claimants describe the second trial as a “travesty of justice,” a view shared by international
        organizations and human rights NGOs such as the International Bar Association and Amnesty
        International.886 Before the verdict was issued, President Putin responded to a question during
        his annual televised address that: “It is my conviction that a ‘thief should be in jail.’ . . . we
        must start from the fact that Khodorkovsky’s guilt has been proved in court.”887

792. On 27 December 2010, Judge Danilkin issued his verdict finding Messrs. Khodorkovsky and
        Lebedev guilty of charges of embezzlement and money laundering. He sentenced them to the
        maximum penalty requested by the prosecution, thirteen and a half years. The verdicts were


882
       Kovalev Report ¶ 60.
883
       Reply ¶ 61.
884
       Transcript, Day 11 at 39. See also Speech of Vasily Aleksanyan before the Supreme Court of the Russian Federation,
       22 January 2008, www.khodorkovksy.ru, Exh. C-598; Russia Closes Criminal Case Against Yukos Executive
       Aleksanyan, Business Week, 24 June 2010, Exh. C-893; Aleksanyan’s Death ‘Practically Murder’, The Moscow
       Times, 5 October 2011, Exh. C-1458.
885
       Procuracy-General of the Russian Federation completes investigation of criminal case with respect to Mikhail
       Khodorkovsky and Platon Lebedev, News, 16 February 2007, The Procuracy-General of the Russian Federation
       Website, Exh. C-423.
886
       Reply ¶ 42. The Khodorkovsky trial: A report on the observation of the criminal trial of Mikhail Borisovich
       Khodorkovsky and Platon Leonidovich Lebedev, International Bar Association Human Rights Institute, March 2009 to
       December 2010, September 2011, Exh. C-1334. Unfair trial concerns cast doubt on the integrity of the conviction of
       Mikhail Khodorkovsky and Platon Lebedev, Amnesty International, Public Statement of 27 December 2010,
       Exh. C-1330.
887
       Transcript of a Conversation with Vladimir Putin, 16 December 2010, Official Site of the Prime Minister of the
       Russian Federation, Exh. C-1435. Respondent avers that the comments were taken out of context and referred to the
       convictions after the first trial. See Rejoinder ¶ 1381.




                                                         - 269 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 290 of 617




        widely criticized.888         Judge Danilkin questioned over 90 fact witnesses and reviewed an
        extensive documentary record. His verdict focused on a holding that in the period 1996–2003,
        Messrs. Khodorkovsky and Lebedev “stole” the entire oil output of the Yukos production
        entities, concealed the fact that the oil was “stolen” both from Yukos’ shareholders and the
        Russian tax authorities, orchestrated the “theft” through Lesnoy and Trekhgorny entities, which
        led to tax evasion, and then “laundered” the proceeds of the “theft.” Judge Danilkin rejected all
        of Mr. Khodorkovsky’s arguments, including those relating to double jeopardy.889

793. Within a few months, the 689-page verdict was upheld on appeal, a decision noted with
        concern by the European Parliament, which condemned “political interference with the trial.”890
        Russia’s own Human Rights Council reviewed the second criminal case at the request of then
        President Medvedev. The Council issued a report in December 2011 which concluded that the
        trial was unlawful and should be annulled. The author of the report told local media there was
        “no evidence or substance behind the accusations of embezzlement,” and that
        Messrs. Khodorkovsky and Lebedev had received “punishment for carrying out legal
        activities.”891 Other members of the Council described the verdict as “profoundly unjust”,
        “contradictory, arbitrary and malicious,” “illegal,” containing “numerous legal errors and
        inaccuracies” and selectively prosecuted.892


        3.       Parties’ Arguments and Tribunal’s Observations

794. As demonstrated above, the record of this case is replete with evidence pertaining to the events
        underlying the so-called campaign of harassment and intimidation. The following section

888
       Reply ¶ 48. Verdict of the Khamovnichesky Court of Moscow in the second criminal case against Messrs.
       Khodorkovsky and Lebedev, 27 December 2010, Exh. C-1057.
889
       Verdict of the Khamovnichesky Court of Moscow in the second criminal case against Messrs. Khodorkovsky and
       Lebedev, 27 December 2010, p. 494, Exh. C-1057 (“Arguments of the defence that the charges of embezzlement of oil
       and tax evasion are the same crimes because taxes, as per their theory, were paid on the stolen oil, are unsustainable.
       Taxes were paid on profit, and the organized group participants stole property in the form of oil. Profit is not property
       because it is a calculated accounting value which is a difference between income and expenses. It is impossible to steal
       figures, which exist in accounting records, but it is possible to commit theft of oil, which is a material value, which is
       property. Relations concerning the making of tax payments (taxes) to the budget are the object of a tax offence (crime)
       . . . While relations concerning right, title, and interest in certain property are the object of embezzlement (theft) . . .”).
890
       European Parliament, Resolution of 9 June 2011 on the EU-Russia summit ¶ 16, Exh. C-1315.
891
       Rights Council: Free Khodorkovsky, The Moscow Times, 22 December 2011, Exh. C-1463.
892
       Report on the Results of Public and Scientific Analysis of the Materials of the Criminal Case against
       M. Khodorkovsky and P. Lebedev (Judged by the Khamovnichesky Court of Moscow, Which Rendered the
       Corresponding Verdict on 27 December 2010) (Unanimously approved by the Russian Presidential Council for Civil
       Society and Human Rights on 21 December 2011), Exh. C-1290. As to Respondent’s position with respect to
       Mr. Aleksanyan, see paragraph 806 below.




                                                              - 270 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 291 of 617




        addresses (a) the credibility of Claimants’ allegations of a campaign of harassment and
        intimidation, (b) the characterization of such events in the context of the Russian Federation’s
        law enforcement efforts against Yukos’ tax optimization scheme and (c) the actual impact of
        the events on Claimants’ investment.


                (a)    Are Claimants’ Allegations about a Campaign of Harassment Credible?

795. Respondent does not deny that the investigations, searches, seizures, arrests, interrogations and
        criminal trials took place. Respondent’s main defence to the allegations is not that they are not
        true, but that the events complained of were legitimate and justified for purposes of law
        enforcement, that they were in line with practice in Russia and other countries, and that in any
        event they were not expropriatory and did not impair Claimants’ investment.893

796. There are, however, some portions of the witness testimony with which Respondent takes issue.
        Respondent contends that Claimants’ “conspiracy theory relies heavily on circumstantial
        evidence and sheer innuendo, attributable to the Oligarchs’ public relations and lobbying
        campaign.”894 Respondent argues that:

                if the assessments and the subsequent enforcement measures were the product of a massive
                political conspiracy spanning several years and implemented by hundreds if not thousands
                of officials, including no fewer than 60 judges at four different levels of courts, along with
                a large cast of third parties worldwide, then surely, after nearly a decade of vigorous
                challenges, at least one document referring to this purported conspiracy would have
                surfaced, or one disgruntled conspirator would have reported having participated in it.
                Conspicuously, Claimants have offered no such evidence at all. To the contrary, they rely
                on double and triple hearsay renditions of purported conversations, provided by vocal
                opponents of the Russian Government, inaccurate and uninformed reports by political
                commentators, and mere speculation.895

797. Respondent also argues that “Claimants’ hearing testimony on this issue is not credible, in light
        of its reliance on those who stand to gain billions of dollars if Claimants prevail.”896

798. For example, Respondent decries Dr. Illarionov’s testimony about a special unit established to
        come up with a theory to put Mr. Khodorkovsky away as “rank hearsay of the most grotesque



893
       Transcript, Day 3 at 184–85.
894
       Counter-Memorial ¶¶ 777–823; Respondent’s Post-Hearing Brief ¶ 56.
895
       Respondent’s Post-Hearing Brief ¶ 57, citing Transcript, Day 2 at 104–7 (Respondent’s opening); Respondent’s
       Closing Slides, pp. 282–92, 723–24.
896
       Respondent’s Post-Hearing Brief n.163, citing Respondent’s Closing Slides, pp. 282–92.




                                                         - 271 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 292 of 617




        sort, because Dr. Illarionov declined to identify the person who supposedly told him that.”897
        Respondent described Dr. Illarionov’s report as “manifestly not credible” because he had said
        nothing about it for seven years, and because he continued to serve President Putin for more
        than two years after hearing that report.”898

799. The Tribunal found Dr. Illarionov to be a credible and convincing witness. He offered a
        satisfactory explanation for protecting the source of his information about the special unit. The
        Tribunal does not consider his evidence impeached merely because he had not come forward
        earlier with his evidence about the special unit nor that he stayed for a certain period in his
        position working for the President.

800. Similarly, Respondent attacks the credibility of Mr. Nevzlin’s testimony on the basis that he
        had waited until 2010 to disclose certain facts, such as what Mr. Abramovich had told him
        about Mr. Khodorkovsky being targeted for political reasons.899 When pressed as to why he
        had not disclosed the information in the earlier Russian criminal proceedings or the ECtHR
        proceedings, Mr. Nevzlin gave the following explanations: 900

                [I]f I had spread the information about Abramovich and Putin fairly broadly, and if it had
                become available to the public, then from the perspective of Khodorkovsky, who is in
                Russian prison, I would have damaged him. . . . I would have caused him tremendous
                amounts of harm. . . . in the other corner facing him were Putin, Sechin and others; but I
                also would have turned Abramovich into an enemy of Khodorkovsky by disclosing this
                information.
                ...
                [After] things moved to a second absurd set of charges and a second trial, Khodorkovsky’s
                position changed radically. He was no longer wary of a political . . . confrontation with
                Putin’s regime because he realised that he was not going to be able to find truth in a
                Russian court if he tried to defend himself based on the laws . . .
                ...
                Russian courts have no interest in my position: it would be either ignored or rejected by
                them. Because it’s not a judge who makes decision on Khodorkovsky and Lebedev; the
                judge just rubber-stamps decisions that are made by investigative committee and
                Prosecutor’s Office. . . . The fact that I trust this court and tell this court a lot more than
                I’ve ever said on the matter, this is a typical position for me, because . . . if we’re able to
                defend our interests, that would be either in courts in free countries or international courts.

897
       Transcript, Day 18 at 114.
898
       Transcript, Day 18 at 114–15 (Respondent’s closing). For the explanation from Dr. Illarionov about safety concerns
       for his source, see Transcript, Day 7 at 156.
899
       Nevzlin WS ¶ 35; Transcript, Day 8 at 4–5. The Tribunal notes that in the judgment issued by the High Court in
       London, Mrs. Justice Gloster DBE was “not impressed” by Mr. Nevzlin as a witness (Berezovsky v Abramovich,
       Berezovsky v Hine & Others [2012] EWHC 2463 (Comm) ¶¶ 485–90, Exh. R-4654; see also Transcript, Day 8 at 39–40).
900
       Transcript, Day 8 at 17–25.




                                                         - 272 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 293 of 617




801. The Tribunal accepts Mr. Nevzlin’s explanations. The Tribunal notes again that the Russian
        Federation called no fact witnesses of their own to contradict or weaken the testimony of
        Claimants’ fact witnesses. Respondent chose not to cross-examine Mr. Schmidt, simply noting
        instead that as he was Mr. Khodorkovsky’s criminal lawyer his statement is “special
        pleading.”901     Respondent also chose not to cross-examine Dr. Kovalev, whose evidence,
        accordingly, also stands unchallenged.

802. During the Hearing on the Merits, the Chairman of the Tribunal invited Respondent’s
        counsel:902

                 to address the allegations of harassment: Rieger being presented by the Prosecutor’s
                 Office with a statement, ”Just sign here on the bottom line”; the number of Yukos
                 employees who were detained; Misamore, who was told “You shouldn’t go back to
                 Russia”; the campaign to make life impossible for Yukos-related officials, officers? That
                 stands uncontradicted on the record right now. And it bothers us, my colleagues and me,
                 and we would like to hear from the Respondent in respect of these matters.

803. With respect to Mr. Rieger, Respondent’s counsel pointed out that the incident had occurred in
        2006, several years after the arrest of Mr. Khodorkovsky and that “it’s not atypical that an
        investigatory agency would have an idea of what they think a witness does or doesn’t know,
        and might suggest to that [witness] what that evidence is and then find out from the witness
        whether they agree with it or disagree with it. Mr. Rieger said he didn’t agree, and he didn’t
        sign it.” The Chairman recalled: “He was threatened, he was detained at the airport. This is
        background that speaks about the atmosphere. The Russian authorities are seen as being out to
        get Yukos.” Respondent’s counsel explained that: “I think that what you are seeing is the
        authorities having established that there was quite substantial fraud at many, many different
        levels of activity within a large company.”903

804. The Tribunal accepts the evidence of Claimants’ witnesses who testified with respect to the
        campaign of harassment and intimidation conducted by Respondent against Yukos.                       The
        Tribunal will now turn to the nature and consequences of the events described above.




901
       Counter-Memorial ¶ 696.
902
       Transcript, Day 19 at 46 (Respondent’s closing).
903
       Ibid. at 47.




                                                          - 273 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 294 of 617




                (b)      Were the Actions of the Russian Federation Justified as Legitimate Law
                         Enforcement Measures?

805. Respondent explains that its actions were consistent with a legitimate wide-scale investigation
        as part of “an attempt to enforce and try to understand what turned out to be one of the largest
        frauds in the experience of the modern Russian State.”904 Thus, in response to Mr. Kosciusko-
        Morizet’s evidence recounting Mr. Khodorkovsky’s kompromat, Respondent observes that this
        “is absolutely consistent with the fact that the authorities had valid grounds to bring criminal
        charges against Mr. Khodorkovsky.”905 Likewise, Respondent describes as “no surprise” that
        Mr. Dubov would have been advised to leave the country and warned that every shareholder of
        Yukos would face criminal charges. Respondent states that this is “not inconsistent with the
        unbroken thread of tax evasion in which Yukos engaged and for which it was held to
        account.”906

806. In a similar vein, while acknowledging the unfortunate circumstances surrounding
        Mr. Aleksanyan’s illness, Respondent remarked that “it is not shocking” that the Russian
        authorities were interested in Mr. Aleksanyan, given his role since 2001 in suppressing
        information about vulnerabilities of Yukos in the low-tax regions.907

807. Respondent argues that the “searches of Yukos offices and the seizures of its records as part of
        Russian law enforcement authorities’ investigations have parallels in other countries as proper
        instruments of law enforcement, especially when those authorities are faced with the types of
        egregious violations in which Yukos engaged.”                     Respondent cites the EU and the U.S. as
        jurisdictions that authorize expansive and aggressive, even armed, searches and seizures to
        combat financial crimes.908



904
       Ibid. at 49–52.
905
       Transcript, Day 18 at 118–19 (Respondent’s closing); Respondent’s Post-Hearing Brief ¶ 205(iv).
906
       Transcript, Day 18 at 116–17 (Respondent’s closing); Respondent’s Post-Hearing Brief ¶ 205(ii).
907
       Transcript, Day 19 at 50 (Respondent’s closing).
908
       Respondent’s Post-Hearing Brief ¶ 209–10. For example, in the European Union, companies are often subjected to
       “dawn raids”, in which EU officials, without prior judicial authorization, conduct searches and seizures. See
       Transcript, Day 19 at 49–50 (Respondent’s closing) (“[I]n the United States a search warrant is never executed
       unarmed; it’s always executed by armed officers, sometimes wearing other gear that suggests something more than a
       simple commercial exercise. That’s the way it happens. In Russia, that’s the way it’s always done. It’s just their
       practice. It doesn’t reflect or project anything unique to Yukos.”). Claimants however point to the “very exacting
       standard of proof” at the ECtHR requiring “incontrovertible and direct” evidence, but that the ECtHR nevertheless
       accepted that “the circumstances surrounding the applicants’ criminal case may be interpreted as supporting the
       applicants’ claim of improper motives” and that “it is clear that the authorities were trying to reduce political influence




                                                             - 274 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 295 of 617




808. As for the convictions of Messrs. Khodorkovsky and Lebedev in 2005, Respondent asserts that
        Claimants have not criticized the conduct of the Russian appellate judges who upheld the
        convictions.909 Respondent points to the ECtHR as having “rejected the central premise of
        Claimants’ argument that Mr. Khodorkovsky was prosecuted in 2005 for political or other
        improper reasons.”910

809. With respect to the second criminal trial of Messrs. Khodorkovsky and Lebedev, Respondent
        notes that it “had no effect on the investments at issue in these arbitrations and that, regardless,
        Claimants have not contested the factual bases of the charges in that trial. Their attempt to
        portray the charges as concerning the physical theft of oil, rather than complicated schemes of
        corporate abuse and sham auctions to secure underpayments of oil purchased from Yukos’
        subsidiaries for the Oligarchs’ benefit, is manifestly baseless.”911 Respondent contends that the
        IBA Report was prepared without access to the full court file and without any knowledge of
        Russian criminal law, and that other criticisms reported by Claimants were biased and
        ill-informed.

810. Respondent also contends that its actions were necessary due to Yukos’ attempts to obstruct
        Russia’s investigative efforts.912 Claimants deny that Yukos was obstructing the investigation,
        and note that most of the evidence relied upon by Respondent was based on interrogation
        records of individuals that Respondent has failed to put forward as witnesses. Claimants urge
        the Tribunal to treat the interrogation records with skepticism, “[g]iven the campaign of terror
        being waged against persons associated with Yukos and the relentless pressure deployed by the
        prosecutors to get Yukos’ former employees or other Yukos-related persons to give false
        incriminating evidence against Yukos and Yukos’ management.”913

811. The Tribunal accepts that the Russian Federation had the power to conduct searches and
        seizures in Yukos’ premises during the ongoing criminal investigations. Nevertheless, having
        reviewed the record, the Tribunal finds that the investigation of Yukos was carried out by the


       of ‘oligarchs’ and that the State was one of the main beneficiaries of the dismantlement of Yukos.” See Khodorkovsky
       v. Russia 2 ¶¶ 634–48, 931–32; and Claimants’ submissions dated 30 August 2013 ¶ 47 concerning that judgment.
909
       Respondent’s Post-Hearing Brief ¶¶ 204, 206.
910
       Khodorkovsky v. Russia 1; Rejoinder ¶ 1334.
911
       Respondent’s Post-Hearing Brief n.484. See also Rejoinder ¶¶ 1371–86.
912
       Counter-Memorial ¶¶ 674–79.
913
       Reply ¶¶ 77.




                                                         - 275 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 296 of 617




        Russian Federation with excessive harshness. Respondent’s counsel acknowledged that in the
        context of the large-scale fraud investigation “not everything is pretty in those circumstances, and
        we may each of us have circumstances that we would regret or have done differently.”914 The
        Tribunal considers “not pretty” to be an understatement in this case. The treatment of Yukos
        senior executives, mid-level employees, in-house counsel, external lawyers and related entities
        as described in this chapter support Claimants’ central submission that the Russian authorities
        were conducting a “ruthless campaign to destroy Yukos, appropriate its assets and eliminate
        Mr. Khodorkovsky as a political opponent.”915               The legal consequences of Claimants’
        submission will be analyzed later in Part X of this Award when the Tribunal considers the
        alleged violations of Chapter III of the ECT.

812. The Tribunal will now examine the effect on Yukos, as a matter of fact, of the campaign of
        harassment and intimidation waged against it by Respondent.


                (c)     Did the Events Complained of Impact Claimants’ Investments or was Yukos
                        Able to Carry on Unaffected?

813. Having noted that the record is replete with evidence of intimidation and harassment of Yukos
        personnel by the Russian authorities, the key question for the Tribunal is whether such
        intimidation and harassment actually disrupted Yukos’ operations and thus adversely affected
        Claimants’ investment.

814. Claimants maintain that the harassment and intimidation campaign “crippled” Yukos by
        prosecuting its management and paralyzing its operations through massive raids and seizures
        with a view to undermining the viability of Yukos.

815. Claimants’ witnesses spoke of the impact that the searches, seizures and, generally, the
        campaign of intimidation had on the company. As noted earlier, Mr. Misamore testified that
        the loss of key documents created difficulties in running the company and preparing the annual
        financial statements.916 Mr. Rieger stated that 60 to 70 percent of the accounting department’s
        documents were confiscated. He explained in his witness statement: “[w]hen you take into
        account the fact that all the day to day business operations of the company were reflected in


914
       Transcript, Day 19 at 51 (Respondent’s closing).
915
       Claimants’ Post-Hearing Brief, ¶ 165.
916
       Misamore WS ¶ 32.




                                                          - 276 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 297 of 617




        paperwork, such as invoices, bills, etc., we soon reached a stage where Yukos employees didn’t
        have access to the basic data they needed to perform their functions.” He recalled that “[t]he
        constant threats and harassment caused many of my former colleagues to leave the company
        and, in the worst case, the country; a fate that I would soon share.”917

816. Mr. Misamore described how staff retention became extremely difficult for Yukos.                           For
        example, he said that in the GAAP section of the accounting department “they all left the
        company because they didn’t want to be harassed.”918 Similarly, in defending the company’s
        decision to pay bonuses in 2004, Mr. Theede testified that:

                [I]t was a Stalinesque-type of environment there. It was a fearful kind of a place to have to
                work. We never knew when we were going to have another raid, and people would come
                in and, as I said yesterday, knock computers off the desks, tip desks over, and just
                roughneck through the place; or when someone would be called in for questioning to the
                Prosecutor’s Office with totally unknown and illogical results. And in that kind of an
                environment, Yukos was not a particularly friendly place to work. We had huge concerns
                about retaining our employees. And if we didn’t meet contractual obligations to them to
                pay the bonuses, it was our view that they would begin to leave. And so it was in that light
                that we felt it was really very important that we lived up to the obligations we had to these
                people, just so we could retain them and so that we could continue to operate the company.
                Because if we lost those people, hiring others was going to be almost impossible, because
                people just—it was a scary place to be, and to bring new people in—in fact, I don’t really
                recall us being able to hire any new employees after the attack started . . .919

817. Respondent denies that Claimants have proven, as a matter of fact, that the harassment
        campaign impaired their investment.920 As mentioned earlier, Respondent notes for example
        that Mr. Khodorkovsky resigned voluntarily, that Yukos’ revenues in 2003 and 2004 were
        higher than before the arrests of Mr. Khodorkovsky and Mr. Lebedev, and that Yukos issued
        public statements following the arrest of Mr. Khodorkovsky to the effect that Yukos’ operations
        were proceeding normally.

818. Respondent argues that Mr. Misamore’s claims in his witness statement, seven years after the
        fact, about the disruptive effect of the raids, are not credible as they are contradicted by his
        contemporaneous statements to his colleagues, the audit committee and the board of directors in




917
       Rieger WS ¶¶ 28–29.
918
       Transcript, Day 9 at 244–45.
919
       Transcript, Day 11 at 15–16.
920
       Rejoinder ¶¶ 1338–45, ¶¶ 1387–99; ¶¶ 1400–34. Respondent’s Post-Hearing Brief ¶¶ 200–206.           See also
       Respondent’s submissions of 30 August 2013 ¶ 7, concerning Khodorkovsky v. Russia 2.




                                                       - 277 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 298 of 617




        2003.921 Respondent points to the following evidence in the record:

        x    The working group set up to deal study the effect of the government’s actions confirmed
             that as at August 2003, despite the searches and seizures, “[o]perational activities [were]
             proceeding normally” and as at September 2003 “there had been no new adverse
             developments” and it was “business as usual”922

        x    Yukos stated on a conference call with financial analysts in November 2003 that
             Mr. Khodorkovsky’s arrest and subsequent resignation had “no impact whatsoever on [its]
             operations”923

        x    Some 16 months later, Yukos stated to investors and the press that it “was extremely
             healthy.”924

        x    The January–March 2004 internal Yukos newsletter publishing 2003 operational results of
             Yukos shows that the Company was not disrupted.925

819. The Tribunal views these statements of Yukos officers pertaining to the well-being of the
        company as an attempt by Yukos to project to its investors an image of stability and thus
        maintain their confidence. It is obvious to the Tribunal that a company which was targeted in
        the way Yukos was during those many years had to be severely affected and that its operations
        could not be managed by its officers and other employees in the normal and usual manner. In
        short, the Tribunal agrees with Claimants that, as a matter of fact, Respondent’s aggressive
        campaign against Yukos impacted significantly the management of the company.

820. Having reviewed the abundant evidence in the record of the intimidation and harassment of
        Yukos’ senior executives, mid-level employees, in-house counsel and external lawyers by the
        Russian authorities, the Tribunal is convinced that such intimidation and harassment not only
        disrupted the operations of Yukos but also contributed to its demise and thereby damaged
        Claimants’ investment.


921
       Transcript, Day 19 at 87–88,
922
       Rejoinder ¶ 1422, Respondent’s Post-Hearing Brief ¶ 207, Report of Working Group, 25 September 2003,
       Exh. R-4102.
923
       Yukos Conference Call on Recent Developments – Final, Financial Disclosure Wire, 5 November 2003, Exh. R-3991.
924
       Russia’s Yukos says interim oil output up 5.3% on year in 2004, Prime-TASS Energy Service, 21 March 2005,
       Exh. R-509.
925
       Yukos Review, January–February–March 2004, Exh. C-23.




                                                       - 278 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 299 of 617




821. The Tribunal will now turn its attention to another chapter in Claimants’ litany of conduct by
        the Russian Federation alleged to have negatively impacted their investment.


D.      THE UNWINDING OF THE YUKOS–SIBNEFT MERGER

        1.      Introduction

822. In April 2003, Yukos, which was then Russia’s largest oil company, announced plans to merge
        with Sibneft, then Russia’s fourth largest oil company, into a new entity that would be called
        YukosSibneft Oil Company and constitute the world’s fourth largest private oil producer.

823. Steps were taken to effectuate the merger between April and October 2003. By 3 October
        2003, the main components of the transaction (a share purchase and a share exchange between
        Yukos’ and Sibneft’s principal shareholders) had been completed. An Extraordinary General
        Meeting (“EGM”) of Yukos’ shareholders was scheduled for 28 November 2003 for the
        approval of the merger’s final details.926 However, shortly before the scheduled meeting, the
        Sibneft shareholders announced their intention to halt the merger process.927

824. Ultimately, the share exchange component of the merger was invalidated through a series of
        court cases in Moscow and the Russian Far Eastern province of Chukotka,928 and Sibneft was
        acquired by the Russian Federation through the State-owned company Gazprom.929

825. Claimants submit that Respondent was responsible for the unwinding of the merger, making it
        “one of the first casualties” of the Russian Federation’s assault on Yukos.930 According to
        Claimants, Sibneft’s decision to halt the merger process was the direct result of
        Mr. Khodorkovsky’s arrest. The arrest led Sibneft to insist on a change of the senior executives
        of the merged entity. This request was not acceptable to Yukos and the deal was aborted.
        Claimants also argue that the Russian courts were then “only too happy to lend their assistance”
        by invalidating parts of the merger on spurious grounds, paving the way for the Russian


926
       Minutes No. 120/1-21 of the Board of Directors of Yukos, 25 September 2003, pp. 8–9, Item 11, Exh. C-1103.
927
       Misamore WS ¶ 37; Memorial ¶ 208; Counter-Memorial ¶ 326.
928
       Appeal Resolution of the Moscow Arbitrazh Court of 31 May 2004, Exh. C-72; Resolution of the Federal Arbitrazh
       Court for the Moscow District of 26 August 2004, Exh. C-73; Resolution of the Federal Arbitrazh Court for the Far-
       East District, 25 April 2006, Exh. C-78.
929
       Memorial ¶¶ 231í37.
930
       Ibid. ¶ 199; Reply ¶ 95.




                                                         - 279 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 300 of 617




        Federation’s acquisition of Sibneft.931 Claimants’ primary damages claim of USD 114.174
        billion reflects the value of YukosSibneft as a successfully merged entity. Alternatively,
        Claimants submit that if the Tribunal does not hold Respondent responsible for the unwinding
        of the merger, the damages claim should be reduced by approximately USD 6 billion.932

826. Respondent denies any responsibility for the unwinding of the merger. Sibneft, Respondent
        argues, was neither exercising governmental authority nor acting under the instructions of
        Russian state organs. The Russian Government in fact supported the merger. Moreover,
        Sibneft’s leaders had every right to insist on changes to the management of the merged entity
        due to concerns about Mr. Khodorkovsky’s arrest and charges of criminal activities against
        him; in so doing, they were acting “in the pursuit of their own legitimate commercial
        interests.”933 As for the Moscow and Chukotka courts, Respondent submits that they acted in
        accordance with Russian company law. Respondent also suggests that Yukos acquiesced in the
        court proceedings as they allowed Yukos to cancel the merger without obtaining the approval of
        minority shareholders and thus risking further claims being brought against it.934

827. In this chapter, the Tribunal will consider the circumstances of the YukosíSibneft merger and
        seek to determine whether the Russian Federation is responsible for the unwinding of the
        merger. The Tribunal’s view on this issue may have an impact on the quantum of damages the
        Tribunal may ultimately award Claimants. The Tribunal will also consider in this chapter
        whether the merger was an important factor, as Claimants submit, in Yukos’ decision not to
        pursue its ADR listing on the NYSE. The Tribunal recalls that Respondent argues that Yukos’
        decision was taken because the company had concerns about elements of its tax optimization
        scheme. The Tribunal will also consider Yukos’ declaration of a USD 2 billion interim dividend
        in November 2003 (“2003 Interim Dividend”), which Respondent argues was intended to shield
        this sum from the reach of the Russian tax authorities.935




931
       Reply ¶¶ 135í37.
932
       Ibid. ¶¶ 859, 861; Second Expert Report of Brent Kaczmarek, 15 March 2012 ¶¶ 65; 75í76.
933
       Counter-Memorial ¶¶ 322–30; Rejoinder ¶¶ 776–79.
934
       Rejoinder ¶¶ 805í06.
935
       Ibid. ¶¶ 809í23.




                                                        - 280 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 301 of 617




        2.      Chronology

828. In the context of arguments about the YukosíSibneft merger, Respondent has accused
        Claimants of fighting a “losing battle with the calendar,”936 while Claimants have accused
        Respondent of attempting “to rewrite history”.937 The Tribunal therefore considers it useful to
        lay out a short chronology of key events.


                (a)     Merger is Announced; NYSE Listing is Put on Hold; Steps are Taken to
                        Complete Merger

829. On 22 April 2003, Yukos and Sibneft announced their merger in a press release describing the
        principal features of the transaction.938 The merger would be achieved in two parts. Firstly,
        Yukos would acquire 20 percent (minus one share) of Sibneft shares from Sibneft’s principal
        shareholders for a cash consideration of USD 3 billion pursuant to a Share Purchase Agreement
        (“Share Purchase Agreement”). Secondly, Yukos would acquire 72 percent (plus one share)
        of Sibneft shares from Sibneft’s principal shareholders in exchange for 26.01 percent of the
        fully diluted share capital of Yukos pursuant to a Share Exchange Agreement (the “Share
        Exchange Agreement”).939

830. A few days after the merger was announced, President Putin stated that he had approved the
        transaction in a meeting with Mr. Khodorkovsky, Mr. Roman Abramovich (a Board member
        and significant shareholder of Sibneft) and Mr. Evgeny Shvidler (Sibneft’s CEO).940

831. Concurrently with this announcement, the proposed listing of Yukos on the NYSE, which
        Yukos and a team of external advisers had been preparing for over a year, was put on hold. By
        then, Yukos and its advisers had conducted an extensive review of the company’s operations




936
       Transcript, Day 3 at 18 (Respondent’s opening).
937
       Transcript, Day 17 at 11 (Claimants’ closing).
938
       Yukos and Sibneft Agree in Principle to Merger, Yukos Press Release and Sibneft Press Release, 22 April 2003,
       Exh. C-629.
939
       Memorial ¶ 47 & n.61.
940
       Nevzlin WS ¶ 26; Dubov WS ¶ 69; Sibneft President Eugene Shvidler comments on upcoming merger with Yukos to
       create YukosSibneft, a new international energy super major, BusinessWeek Online, 21 May 2003, Exh. C-634.




                                                         - 281 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 302 of 617




        for purposes of drafting the required SEC form.941 A first draft had been circulated in June
        2002 and a near final draft had been circulated on 19 March 2003.942

832. From April to October 2003, steps were taken to complete the merger. On 30 April 2003,
        Yukos and Sibneft’s principal shareholders signed the Share Purchase Agreement943 and the
        Share Exchange Agreement.944 The share exchange component of the merger was broken down
        into two tranches: the exchange of 57.5 percent of Sibneft shares for newly issued shares in
        Yukos representing 17.2 percent of Yukos’ fully diluted share capital and the exchange of
        14.5 percent of Sibneft shares for 8.8 percent of Yukos shares (consisting of a mixture of newly
        issued shares, treasury shares and shares acquired through a share buy-back).945

833. On 1 May 2003, Yukos’ and Sibneft’s principal shareholders signed a Shareholders’
        Agreement, which specified, inter alia, that the Yukos shareholder group would nominate the
        “Senior Management Positions.”946              On 27 May 2003, Yukos’ shareholders approved the
        merger.947

834. On 30 May 2003, Yukos made a first cash payment of USD 1.25 billion pursuant to the Share
        Purchase Agreement.948 On 30 June 2003, the Yukos Board of Directors adopted resolutions



941
       See Memorandum from Mr. Maly to Mr. Sheyko, 22 April 2002, Exh. R-184.
942
       Reply ¶¶ 101–02; Draft Yukos F-1 Form and Registration Statement Under the Securities Act of 1933, 19 March
       2003, Exh. C-1067.
943
       Deed of Share Purchase between Kravin Investments Limited, White Pearl Investments Limited, Marthacello Co
       Limited, N.P. Gemini Holdings Limited, Heflinham Holdings Limited and Kindselia Holdings Limited, and Yukos Oil
       Company, 30 April 2003, Exh. C-1101 (hereinafter the “Share Purchase Agreement”). In another arbitration, Yukos’
       lawyers described the Sibneft shareholders party to the Share Purchase Agreement as “companies incorporated under the
       laws of Cyprus . . . [and] ultimately controlled by Roman Abramovich, the owner of Chelsea Football Club and Governor
       of Chukotka.” See Yukos Oil Company v. Kravin Investments and others, LCIA Arbitration No. 4589, Statement of Case, 2
       May 2005, ¶¶ 10í12, Exh. R-3601.
944
       Deed of Share Exchange between Kravin Investments Limited, White Pearl Investments Limited, Marthacello Co
       Limited, N.P. Gemini Holdings Limited, Heflinham Holdings Limited and Kindselia Holdings Limited, and Yukos Oil
       Company, 30 April 2003, Exh. C-1100 (hereinafter the “Share Exchange Agreement”).
945
       Ibid; see Memorial ¶ 47.
946
       Shareholders’ Agreement in respect of Yukos Oil Company among Yukos Universal Limited (hereinafter “YUL”),
       Hulley Enterprises Limited (hereainfter “Hulley”), White Pearl Investments Limited, N.P. Gemini Holdings Limited,
       Marthacello Co. Limited, Kindselia Holdings Limited, Heflinham Holdings Limited and Kravin Investments Limited, 1
       May 2003, Article 6.1, Exh. C-1102.
947
       Minutes No. 2 of the Extraordinary General Meeting of Yukos Shareholders, 27 May 2003, Exh. C-50; Extraordinary
       meeting of YUKOS shareholders adopts decision associated with realization of transaction with Sibneft, Yukos Press
       Release, 28 May 2003, Exh. C-635.
948
       Receipt from Kravin Investments Limited, 30 May 2003, Exh. C-54; see Yukos Oil Company U.S. GAAP Interim
       Condensed Consolidated Financial Statements, 30 June 2003, p. 9, Exh. C-30.




                                                          - 282 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 303 of 617




        with respect to the merger.949 In July and August 2003, regulatory approvals were obtained for
        the merger.950 On 28 August 2003, Yukos made a further cash payment of USD 500 million
        pursuant to the Share Purchase Agreement.951

835. On 25 September 2003, the Yukos Board of Directors set 28 November 2003 as the date for the
        EGM at which final details for the merger would be submitted to shareholders.952

836. On 2 October 2003, Yukos made a final cash payment of USD 1.25 billion pursuant to the
        Share Purchase Agreement.953

837. On 3 October 2003, Yukos acquired 72 percent plus one share of Sibneft shares, in exchange
        for 26.01 percent of Yukos shares, pursuant to the Share Exchange Agreement.954

838. Thus, by 3 October 2003, with both the share purchase and share exchange components of the
        transaction complete, Yukos had acquired 92 percent of Sibneft. The remaining steps for
        implementing the merger included the “full operational integration” of the two companies,
        changing the name of Yukos to YukosSibneft and electing a new board of directors.955


                (b)     Mr. Khodorkovsky is Arrested; Yukos Continues with Merger; Sibneft has
                        Second Thoughts

839. The Tribunal recalls that Mr. Khodorkovsky was arrested on 25 October 2003.

949
       Board of Directors of YUKOS Oil Company approves issuance of up to 1 billion shares, Yukos Press Release,
       7 July 2003, Exh. C-639.
950
       Notification of the State registration of the additional share issue by the Federal Commission for the Securities Market,
       23 July 2003, Exh. C-51; Opinion and Directive issued by the Ministry for Antimonopoly Policies and Support to
       Entrepreneurship, 14 August 2003, Exh. C-52.
951
       Receipt from Kravin Investments Limited, 28 August 2003, Exh. C-55; see Yukos Oil Company U.S. GAAP Interim
       Condensed Consolidated Financial Statements, 30 June 2003, p. 9, Exh. C-30.
952
       Minutes No. 120/1-21 of the Board of Directors of Yukos, 25 September 2003, pp. 8–9, Item 11, Exh. C-1103.
953
       Receipt from Kravin Investments Limited, 2 October 2003, and account statement evidencing payment of
       USD 1.25 billion under the Share Purchase Agreement, Exh. C-57; see Yukos Oil Company U.S. GAAP Interim
       Condensed Consolidated Financial Statements, 30 June 2003, p. 9, Exh. C-30.
954
       Account statements evidencing transfer of 57.5 percent of Sibneft (2,724,362,618 shares) to Yukos under the Share
       Exchange Agreement, 3 October 2003, Exh. C-58; Notices of transaction and account statements evidencing transfer
       of 17.2 percent of Yukos (463,517,826 shares) to Sibneft’s principal shareholders under the Share Exchange
       Agreement, 3 October 2003, Exh. C-59; Account statements evidencing transfer of 14.5 percent of Sibneft
       (689,373,122 shares) to Carenet under the Share Exchange Agreement, 10 October 2003, Exh. C-60; Account
       statements evidencing transfer of 8.8 percent of Yukos (238,879,333 shares) to Sibneft’s principal shareholders under
       the Share Exchange Agreement, 10 October 2003, Exh. C-61; Yukos Oil Company U.S. GAAP Interim Condensed
       Consolidated Financial Statements, 30 June 2003, p. 9, Exh. C-30.
955
       Memorial ¶¶ 54, 208; Sibneft Principal Shareholders and Yukos Oil Company Finalize Merger Transaction, Yukos
       Press Release and Sibneft Press Release, 3 October 2003, Exh. C-648.




                                                            - 283 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 304 of 617




840. On 28 October 2003, the Yukos Board of Directors recommended, in view of the capital
        restructuring of the company in anticipation of the merger, that shareholders approve the 2003
        Interim Dividend of USD 2 billion to all shareholders of record as at 25 September 2003.956
        Mr. Khodorkovsky resigned as CEO of Yukos on 3 November 2003. Yukos then issued a press
        release which named the persons it would nominate to the new management board of the
        merged YukosSibneft entity.957            Mr Khodorkovsky was not on that list.                   On 21 and
        22 November 2003, Yukos and Sibneft senior executives met to discuss the logistics of the
        merger.958

841. In late November, the media reported that Mr. Abramovich had met with President Putin to
        discuss the Yukos–Sibneft merger. Reference was made to the fact that “Abramovich is
        understood to have raised the prospect of changing the management team of the combined
        company with Putin, who welcomed the idea.”959

842. In his witness statement, Mr. Nevzlin narrates that he had met with Mr. Abramovich in “late
        2003” in Tel Aviv and that he had been told that

                YukosSibneft could be saved if the management of the merged company was transferred to
                his team . . . President Putin had told Roman Abramovich that Mikhail Khodorkovsky had
                been targeted because of his involvement in politics and . . . was too angry with Mikhail
                Khodorkovsky to even discuss his release.960

843. Shortly before the Yukos EGM scheduled for 28 November 2003, representatives of Sibneft’s
        principal shareholders summoned representatives of Yukos’ principal shareholders and advised
        them that they no longer wished to proceed with the merger. They asked that steps be taken to
        unwind the merger.961 However, the EGM was held as scheduled. The agenda included:
        (a) early termination of the powers of board members and election of a new board; (b) approval
        of new articles of association (including a name change to YukosSibneft); and (c) payment of


956
       Abstract from Minutes No. 120/1-24 of the Meeting of the Board of Directors of Yukos, 28 October 2003,
       Exh. R-3605.
957
       YukosSibneft Proposed Management Board, Yukos Press Release, 4 November 2003, Exh. C-666.
958
       Agenda, material and list of attendees for 21í22 November 2003 meeting, Exh. C-62.
959
       Abramovich met Putin before vetoing YukosíSibneft merger, The Sunday Telegraph, 30 November 2003, Exh. C-669.
960
       Nevzlin WS ¶¶ 27, 35.
961
       Memorial ¶ 208; Counter-Memorial ¶ 326; see Yukos Oil Company v. Kravin Investments and others, LCIA Arbitration
       No. 4589, Statement of Case, 2 May 2005, Exh. R-3601. Around the same time as Sibneft advised Yukos it was pulling
       out of the merger, the media reported that an economic and tax crimes unit of Russia’s interior ministry had
       announced it had no questions for Mr. Abramovich. Kremlin seen as a deep well of influence, The Financial Times,
       29í30 November 2003, Exh. C-668.




                                                         - 284 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 305 of 617




        the 2003 Interim Dividend. Claimants voted against the election of Sibneft’s nominees to the
        Yukos Board of Directors, abstained on the vote to change the company’s name to
        YukosSibneft and voted to approve the dividend.962

844. After the EGM, Yukos’ principal shareholders proceeded as if the merger was still going
        forward. For example, on 2 December 2003, GML issued a press release stating that the
        merger agreements remained in full effect.963 On 8 December 2003, Claimant Hulley received
        payment for the 2003 Interim Dividend.964                   At the same time, Yukos and its principal
        shareholders were exploring options to negotiate the unwinding of the merger with Sibneft.965
        Yukos continued to resist Sibneft’s proposal to appoint Sibneft nominees as members of the
        merged entity.966


                (c)     Russian Courts Invalidate the Share Exchange Agreement

845. On 19 January 2004, a few weeks after Yukos received the 2000 Tax Audit Report, NP Gemini
        Holdings Limited and Nimegan Trading Limited, two former Sibneft shareholders,967 applied to
        a Moscow court to have the issue of Yukos shares carried out in the context of the first tranche
        of the share exchange declared invalid.968 On 1 March 2004, the Moscow Arbitrazh Court
        annulled the share issue.969 The decision was upheld on appeal on 31 May 2004 and confirmed


962
       Agenda for the Extraordinary General Shareholders’ Meeting of Yukos Oil Company, 28 November 2003, Exh. R-3606;
       Yukos Oil Company v. Kravin Investments and others, LCIA Arbitration No. 4589, Statement of Case, 2 May 2005,
       Exh. R-3601; Misamore WS ¶¶ 22, 37; Completion of YukosíSibneft Merger Suspended, Interfax, 28 November 2003,
       Exh. R-3609 (quoting Mr. Nevzlin as saying: “The Sibneft shareholders came to us this week and told us some
       technical difficulties had emerged. They asked for Yukos charter amendments to be taken off the agenda at today’s
       meeting and to leave the board of directors intact. We coordinated our voting with [the Sibneft shareholders]. As for
       the Yukos dividends, we voted for Yukos”); see Yukos Oil Company Shareholders’ Meeting approves dividend of
       about $2 billion, Yukos Press Release, 28 November 2003, Exh. C-666.
963
       Yukos Sibneft Merger, Company News, Group Menatep Website, 2 December 2003, Exh. C-670.
964
       Transcript, Day 9 at 22í24 (cross-examination of Mr. Misamore).
965
       Statement on the Status of Negotiations with Representatives of Former Principal Shareholders of Sibneft, Yukos
       Press Release, 17 December 2003, Exh. C-672.
966
       Yukos Oil Company retains consultants for negotiations with former Sibneft core shareholders, Yukos Press Release,
       2 February 2004, Exh. C-680; Misamore WS ¶ 37.
967
       At the time of the application, the two petitioners were Yukos shareholders. NP Gemini Holding Limited was a
       former principal shareholder of Sibneft and had participated in all the steps of the merger. Nimegan Trading Limited
       was already a shareholder of Yukos when the Share Exchange Agreement was signed, with less than 0.001 percent of
       Yukos shares. According to Claimants, both companies were linked to Mr. Abramovich through Millhouse Capital,
       an investment company that manages Mr. Abramovich’s assets. Memorial ¶¶ 216–19.
968
       Petition to declare the FCSM (Federal Commission for the Securities Market) decision to register the issuance of
       securities unlawful, and to declare as null and void the issuance of the securities, 19 January 2004, Exh. C-71.
969
       Decision of the Moscow Arbitrazh Court, Case No. A40–2353/04–92–35, 1 March 2004, Exh. R-549.




                                                          - 285 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 306 of 617




        by the Federal Arbitrazh Court on 26 August 2004.970 Accordingly, in September 2004, Yukos
        returned to Sibneft’s shareholders the 57.5 percent shareholding in Sibneft it had received in
        exchange for its newly issued shares. Yukos’ shareholding in Sibneft was then reduced to
        34.5 percent.971

846. On 6 July 2004, Nimegan Trading Limited commenced legal proceedings against Yukos and
        others before the Arbitrazh Court of Chukotka, the Russian Far Eastern province where
        Mr. Abramovich was governor, seeking to have the second tranche of the share exchange
        (concerning a 14.5 percent stake in Sibneft) declared invalid. In order to confer jurisdiction to
        the Chukotka Court, a defendant related to Mr. Abramovich had opened a bank account in the
        Chukotka province on the day that Nimegan paid the filing fee. The other nominal defendants
        all supported the court action.972 The Chukotka Arbitrazh Court invalidated the second tranche
        of the share exchange on 14 September 2004. After a series of appeals, this decision was
        ultimately confirmed by the Federal Arbitrazh Court for the Far-East District in April 2006,973
        following which Yukos returned the 14.5 percent shareholding in Sibneft obtained through the
        second tranche of the share exchange to Sibneft’s shareholders. Yukos’ shareholding in Sibneft
        was then reduced to the 20 percent minus one share acquired pursuant to the Share Purchase
        Agreement.

847. On 30 September 2004, Yukos commenced an LCIA arbitration against the former principal
        shareholders of Sibneft, seeking an injunction prohibiting the respondents from initiating,
        continuing or encouraging any proceedings in the Russian courts to invalidate the share
        exchange.974 Ultimately, the arbitration would be discontinued by Yukos’ Russian bankruptcy
        receiver, Mr. Eduard Rebgun.975




970
       Appeal Resolution of the Moscow Arbitrazh Court, 31 May 2004, Exh. C-72; Resolution of the Federal Arbitrazh
       Court for the Moscow District, 26 August 2004, Exh. C-73.
971
       Yukos’ withdrawal instructions to Custody Department of Deutsch Bank, 24 September 2004, Exh. C-74.
972
       Payment Order for filing fee for the Chukotka proceedings, 27 May 2004, Exh. C-75; Petition to Declare Invalid an
       Interested Party Transaction and to Apply the Consequences of the Invalidity of the Transaction, 6 July 2004, Exh. C-76;
       Documents relating to the opening of Marthacello’s bank accounts in Chukotka, 8 July 2004, Exh. C-77.
973
       Resolution of the Federal Arbitrazh Court for the Far-East District, 25 April 2006, Exh. C-78.
974
       Yukos Oil Company v. Kravin Investments and others, LCIA Arbitration No. 4589, Request for Arbitration, 30
       September 2004, Exh. R-3600; Yukos Oil Company v. Kravin Investments and others, LCIA Arbitration No. 4589,
       Statement of Case, 2 May 2005, Exh. R-3601.
975
       Misamore WS ¶ 37.




                                                           - 286 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 307 of 617




                (d)       Russian Federation Ultimately Acquires Sibneft via Gazprom

848. In 2005, the Russian State-owned company Gazprom acquired 75.68 percent of Sibneft shares
        from Sibneft’s principal shareholders for around USD 15 billion.976 In May 2006, Sibneft
        changed its name to OAO GazpromNeft.977

849. The Tribunal notes that the 20 percent minus one shareholding in Sibneft that Yukos had
        acquired under the Share Purchase Agreement was sold in Yukos’ bankruptcy auctions in April
        2007 to EniNeftegaz, an Italian company,978 and that in 2009, Gazprom exercised a call option
        (which had been in place since April 2007) to purchase the Sibneft shares from EniNeftegaz for
        the sum of USD 4.1 billion.979


        3.      Parties’ Arguments and Tribunal’s Observations

                (a)       Was Yukos’ NYSE Listing Put on Hold Because of the YukosíSibneft Merger
                          or Fears of Exposing Yukos’ Tax Optimization Scheme?

850. Claimants maintain that Yukos’ proposed NYSE listing was put on hold in April 2003 as a
        result of the proposed YukosíSibneft merger and the need to conduct further due diligence.980

851. In his witness statement, Mr. Misamore stated that

                Yukos’ plan to obtain a Level 2 or 3 ADR listing on the NYSE was put on hold because of
                the decision in the beginning of 2003 to merge with Sibneft . . . and the need for further
                due diligence with respect to Sibneft to ensure complete transparency and financial
                statement accuracy before proceeding with any kind of listing of the merged company.981

852. Mr. Misamore confirmed this statement in his re-direct examination before the Tribunal:

976
       Gazprom 2005 Annual Report (excerpts), Exh. C-370; Shares and Registrar, Gazprom Neft Website, Exh. C-389;
       Gazprom and Millhouse Capital Sign Legally Binding Documents for Purchase/Sale of 72.663 percent Stake in
       Sibneft, Gazprom Press Release, 28 September 2005, Exh. C-771; Management Committee Approves Gazprom’s
       Buying into Sibneft, Gazprom Press Release, 28 September 2005, Exh. C-772; Gazprom agrees $13bn deal with
       Abramovich, The Financial Times, 29 September 2005, Exh. C-773.
977
       Sibneft Changes Name to Gazprom Neft, The Moscow Times, 16 May 2006, Exh. C-803.
978
       Gazprom, indirectly, wins assets of Yukos, NY Times, 4 April 2007, Exh. C-847; Eni announces $5.83 bn acquisition
       of Yukos assets. Major first step into Russian upstream market, Eni Press Release, 4 April 2007, Exh. C-849; A Yukos
       Auction With a 2nd Act, The Washington Post, 5 April 2007, Exh. C-851; On Working Meeting Between Alexey Miller
       and Paolo Scaroni, Gazprom Press Release, 17 September 2007, Exh. C-877; Eni to keep Gazprom Neft stake until
       2009, Reuters, 9 November 2007, Exh. C-878.
979
       How Putin Put Kremlin Back on Top, The Moscow Times, 1 February 2008, Exh. C-879.
980
       See Reply ¶ 104.
981
       Misamore WS ¶ 20.




                                                         - 287 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 308 of 617




                Mr. Khodorkovsky informed me early in 2003 that he was working on a significant
                transaction—that turned out to be Sibneft—and he asked me to put the F-1 registration
                process on hold. Certainly I could not have gone ahead with an F-1 in a significant
                transaction mode anyway. So we put it on hold solely as a result of what subsequently
                became the Sibneft transaction.982

853. Mr. Kosciusko-Morizet also confirmed this explanation when he testified. After referring to
        the considerable work done in preparation for the NYSE listing and the extensive disclosure
        involved, he said:

                So work was pursued during and until the end of the year and the beginning of 2003, and
                then in April it was interrupted by the prospect of the Sibneft-Yukos merger, which
                obviously was material to any filing. So negotiations were going on, and that prevented
                the filing of an ADR 3.983

854. The Tribunal notes that, in the AprilíJune 2003 edition of the Yukos Review, it was reported
        that the merger plans were “likely to push back Yukos’ listing on the New York stock exchange
        from later this year into 2004.”984

855. Claimants also refer to an e-mail of 29 April 2003 from a lawyer at Akin Gump—the firm
        advising Yukos on its proposed NYSE listing—to Mr. Misamore reporting that the lawyer had
        spoken to an SEC official “to let him know about the proposed merger . . . and to tell him that
        although the timetable for the listing has been extended due to the merger, the company still
        intends to pursue a listing after the merger . . . .”985

856. Respondent, however, maintains that the NYSE listing project was “abandoned” not because of
        the merger but because of “fears that, as a result of the extensive disclosures required by the
        [SEC], the process would publicly reveal Yukos’ ‘tax optimization’ program, and this in turn
        would lead to major tax reassessments.”986 According to Respondent:

                Whatever excuse Yukos may have provided to the SEC in March 2003 for halting its
                proposed NYSE listing, the possibility of a 2003 listing was in fact called off in February
                of that year as the result of Mr. Khodorkovsky’s refusal to sign the company’s registration
                statement out of an understandable concern for his own personal liability.987



982
       Transcript, Day 9 at 240.
983
       Transcript, Day 4 at 72–73.
984
       Yukos Review, Issue 13, AprilíJune 2003, p. 79, Exh. C-19.
985
       E-mail from Mr. Robert Langer to Mr. Bruce Misamore, 29 April 2003, Exh. C-1384.
986
       Counter-Memorial ¶ 1019.
987
       Respondent’s Post-Hearing Brief ¶ 77.




                                                        - 288 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 309 of 617




857. In support of its submission, Respondent refers to an exchange of e-mails of 19 and
        20 February 2004 between Mr. Oleg Sheiko, Yukos’ Director of Corporate Finance, and
        Mr. Khodorkovsky, in which Mr. Sheiko notes that Mr. Misamore had been asked by
        Mr. Khodorkovsky to delay the NYSE, and Mr. Khodorkovsky replies:

                If the lawyers do not confirm to me that my personal risks are limited by a reasonable
                period of time, I will not sign the form, because if my political career develops in 5 years,
                the American hook will become dangerous. I warned about this.988

858. Claimants did not comment on this e-mail. In the Tribunal’s view, this e-mail is consistent with
        Mr. Misamore’s testimony that, in “early 2003”, Mr. Khodorkovsky had asked him to put the
        listing on hold due to a substantial transaction, which turned out to be the merger with Sibneft.

859. Respondent also relies on a “blackline” version of Yukos’ draft filing for the SEC sent by PwC
        to Yukos on 23 July 2002.989 As telling as that document may be with respect to Yukos’
        awareness of its tax risks,990 the Tribunal notes that this document pre-dates by more than
        9 months Yukos’ decision to suspend the NYSE listing.

860. In conclusion, the Tribunal finds that Yukos’ decision to put the NYSE listing project on hold
        in the spring of 2003 appears to have been motivated by the anticipated Yukos–Sibneft merger.


                (b)     Was the 2003 Interim Dividend a Component of the YukosíSibneft Merger
                        or a Means to Siphon Funds out of Russia?

861. Claimants submit that the timing and amount of the 2003 Interim Dividend were solely related
        to and dictated by the YukosíSibneft merger. They write:

                Yukos and Sibneft had agreed to target specific levels of net debt intended to reflect the
                relative values of the individual companies prior to the completion of the merger. At that
                time, Yukos was substantially underleveraged as compared to Sibneft, with significant cash
                reserves. It was therefore agreed that in order to leverage up and meet its target net debt
                level, Yukos would undertake the payment of dividends, a share buy-back and/or the
                taking out of a loan. The 2003 interim dividend was therefore part of the Company’s
                efforts to match the capital structure of Yukos and Sibneft, and return value to its
                shareholders prior to the completion of the merger, as is confirmed by the
                contemporaneous documentation.991


988
       E-mail from Mr. Oleg Sheiko to Mr. Mikhail Khodorkovsky, 19 February 2003 and reply e-mail from Mr. Mikhail
       Khodorkovsky to Mr. Oleg Sheiko, 20 February 2003, Exh. R-3611.
989
       Extract from Yukos’ Draft F-1 Form, 23 July 2002, Exh. R-1477.
990
       As to which, see paragraph 491 above.
991
       Reply ¶ 115 (footnote omitted); see Transcript, Day 17 at 7–11 (Claimants’ closing).




                                                          - 289 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 310 of 617




862. With respect to the “contemporaneous documentation”, Claimants refer to Yukos’ press release
        of 22 April 2003 announcing the merger, which stated that

                [p]rior to completing the transaction, YUKOS intends to increase its leverage and is
                considering, among other things, cash distributions to its shareholders in the form of
                dividends and share buybacks. It is expected that after such capital restructuring and the
                completion of the transaction, YukosSibneft will have a moderate level of leverage and a
                strong working capital position.992

863. Claimants also refer to analysts’ reports from the same period, which are all consistent with
        their submission. For example, a Brunswick UBS Report dated 23 April 2003 stated that
        “Yukos has every reason to leverage up further—if its leverage reached levels similar to
        Sibneft . . ., implying $3.75 bn of new debt, Yukos could return $5.15 bn to shareholders . . .
        before the deal.”993 An internal Yukos PowerPoint presentation about the merger also referred
        to the plan to declare a dividend in order to achieve the targeted net debt level.994
        Mr. Misamore testified that the 2003 Interim Dividend was “an integral part” of the merger
        transaction:

                [The approval and payment of the dividend] was entirely related to the Sibneft
                transaction . . . [A]s part of the Sibneft transaction it was a desire of both of the shareholder
                groups to have a capital structure in YukosSibneft which did not disadvantage either of the
                two shareholder groups. And therefore there were a series of transactions in association
                with the Sibneft merger/acquisition that were undertaken, including share repurchases, the
                bank debt, the payment of the dividend . . . and that was the reason for the dividend[, it]
                was the very last step in the consummation of the Sibneft transaction.995

864. Claimants explain that the decision to pay the 2003 Interim Dividend was taken in three
        steps.996 Firstly, on 25 September 2003, when the Yukos Board of Directors scheduled for
        28 November 2003 an EGM of Yukos’ shareholders for purposes of approving the merger, the
        agenda included as an item “payment of dividend for 9 months of 2003.”997 Secondly, on
        28 October 2003, the Yukos Board of Directors set the amount of and process for approving and



992
       Yukos and Sibneft Agree in Principle to Merger, Yukos Press Release and Sibneft Press Release, 22 April 2003,
       Exh. C-629.
993
       Brunswick UBS Report “YukosSibneft”, 23 April 2003, p. 9, Exh. C-1370 (emphasis in the original). See also a
       Credit Suisse First Boston Report which predicted a dividend distribution in excess of USD 1.7 billion to shareholders
       as a means for Yukos to increase its net debt in the context of the merger. Credit Suisse First Boston Report “Yukos
       and Sibneft merge to form a GEM supermajor,” 24 April 2003, p. 4, Exh. C-1371.
994
       “YukosSibneft, Detailed transaction plan and Major Issues,” Yukos PowerPoint Presentation, 18 June 2003, Exh. C-1068.
995
       Transcript, Day 9 at 21, 236.
996
       For a description of these steps, see Joint Stock Companies Law of the Russian Federation, Arts. 42–43, Exh. R-3604.
997
       Minutes No. 120/1-21 of the Board of Directors of Yukos, 25 September 2003, p. 8, Item 11, Exh. C-1103.




                                                           - 290 -
      Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 311 of 617




        paying the dividend.998 Thirdly, Yukos shareholders approved the 2003 Interim Dividend at the
        EGM on 28 November 2003. According to Claimants, this sequence of events undermines
        Respondent’s argument that the 2003 Interim Dividend was declared with unprecedented haste
        as a “clever”, “eleventh hour” ploy to siphon funds out of Russia.999

865. In its Counter-Memorial, Respondent argues that the 2003 Interim Dividend “betrays an
        unusual sense of urgency on the part of those who proposed it . . . who evidently sensed the
        gathering storm, wanted to get as much money as possible, as quickly as possible, out of the
        company, and out of Russia, and into their pockets.”1000 In its Rejoinder, Respondent argues
        that, while the dividend might have had its origins in the YukosíSibneft merger, “by the time
        the dividend was actually declared, on November 28, 2003, the Sibneft merger had been halted
        and there was no longer any merger-related reason for the dividend.”1001 Respondent recalls
        that Sibneft’s principal shareholders informed Claimants before the EGM that they no longer
        wished to proceed with the merger, and points out that Claimants agreed with the Sibneft
        shareholders not to vote for items 1 and 2 of the EGM’s agenda (changes to the board and the
        company’s articles of association), but proceeded to vote in favour of the dividend. Thus,
        Respondent argues, “the giga-dividend can only be explained by Claimants’ desire to transfer
        outside the reach of the Russian authorities US$ 2 billion that could otherwise have been used
        to pay Yukos’ taxes and other liabilities.”1002

866. During the hearing, in response to a question from the Tribunal regarding the fact that the 2003
        Interim Dividend had been planned since the spring of 2003, counsel for Respondent explained
        that, between this planning stage and the declaration of the dividend, “the world had changed,”
        Mr. Khodorkovsky had been arrested and Sibneft had called off the merger, so that the “link
        between the declaration of the dividend and the Sibneft merger had been severed, and any
        prudent company, frankly, would have marshaled its resources rather than declared and paid a
        dividend that was unprecedented in size, at a time when it was under considerable financial
        pressure.”1003


998
       Agenda for the Extraordinary General Shareholders’ Meeting of Yukos Oil Company, 28 November 2003, Exh. R-3606.
999
       Counter-Memorial ¶ 351.
1000
       Counter-Memorial ¶ 350.
1001
       Rejoinder ¶ 821.
1002
       Ibid.
1003
       Transcript, Day 18 at 162 (Respondent’s closing).




                                                           - 291 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 312 of 617




867. It is not entirely clear to the Tribunal when Yukos’ shareholders found out about the decision of
        Sibneft’s shareholders to withdraw from the merger.1004 However, the exact timing does not
        matter. The Tribunal accepts that Sibneft’s decision was communicated to Yukos shortly
        before the EGM, but in time for Yukos’ shareholders to agree with Sibneft’s principal
        shareholders not to vote on the first two items of the agenda.

868. Mr. Misamore testified that the Sibneft shareholders, Hulley and YUL “agreed between
        themselves to agree to vote for the dividend” because it was “an integral part of that [merger]
        transaction,” although one of the parties had, at that point, changed its mind.1005 Claimants
        submit that, after the Sibneft announcement, as at 28 November 2003, the completed merger
        transaction was still in place and the 2003 Interim Dividend was a final step in consummating
        the merger. The status of the transaction was not affected and there were ongoing negotiations
        to resolve outstanding issues with Sibneft.1006              In fact, in an announcement by GML in
        December 2003, it was stated that the merger agreement remained in full effect.1007

869. In conclusion, the Tribunal finds that the decision to approve the 2003 Interim Dividend at the
        EGM on 28 November 2003 was an integral part of the merger process, which was still legally
        alive at the date of the EGM. Whether it was practically still alive is questionable. On balance,
        the evidence does not support Respondent’s contention that the dividend was simply an
        “eleventh hour” device to siphon funds out of Russia for improper purposes. Nevertheless the
        Tribunal sees some force in Respondent’s contention that Yukos’ stockholders might have
        more prudently acted to conserve Yukos’ resources rather than to proceed with a massive
        dividend whose essential rationale was evaporating.


                (c)    Was the Unwinding of the Merger Caused by the Russian Federation?

870. As noted earlier, the Russian Federation initially supported the YukosíSibneft merger.
        President Putin expressed his approval of the transaction in a meeting with Mr. Khodorkovsky


1004
       Some sources suggest that the announcement was made on the day of the EGM (e.g., Misamore WS ¶ 37), while
       others state it took place on the eve of the meeting (e.g., Yukos Oil Company v. Kravin Investments and others, LCIA
       Arbitration No. 4589, Statement of Case, 2 May 2005, Exh. R-3601).
1005
       Transcript, Day 9 at 20 (cross-examination of Mr. Misamore). However, as Respondent pointed out in its closing
       statement, Sibneft shareholders were not yet Yukos shareholders of record and could therefore not have voted for the
       dividend. See Transcript, Day 18 at 147–48.
1006
       See e.g., Yukos Review, Issue 16, January–February–March 2004, p. 58, Exh. C-23.
1007
       Yukos Sibneft Merger, Company News, Group Menatep Website, 2 December 2003, Exh. C-670.




                                                         - 292 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 313 of 617




        and Messrs. Abramovich and Shvidler in April 2003.1008 In May 2003, Mr. Shvidler stated in
        an interview that President Putin and Prime Minister Kasyanov had encouraged him to promote
        the merged YukosSibneft entity as a “national-champion”.1009 On 22 July 2003, the Russian
        Federal Commission for the Securities Market approved the registration of new Yukos shares to
        be issued in connection with the merger.1010 On 14 August 2003, the Russian Ministry for
        Antimonopoly Policies and Support to Entrepreneurship approved Yukos’ acquisition of the
        Sibneft shares.1011

871. Following the arrest of Mr. Khodorkovsky in October 2003, Sibneft declared that it would halt
        the merger process unless the management team was changed.

872. Claimants argue that the Russian Federation is responsible for the unwinding of the Yukos–
        Sibneft merger, despite its initial support for the transaction. Claimants frame the question as
        one of causation. As Claimants’ counsel put it: “[B]ut for the Russian Federation’s attack on
        Yukos, the Yukos–Sibneft merger would never have been unwound. And that point is not
        seriously     challenged by the Respondent.”1012                       Claimants describe the arrest                 of
        Mr. Khodorkovsky as having “marked a radical escalation in the Russian Federation’s attack on
        Yukos and . . . also marked the beginning of the end for the YukosSibneft merger.”1013
        According to Mr. Theede:

                [A]fter [Sibneft] saw what the Russian Federation was doing to Yukos, . . . saw it being
                destroyed . . . and in my opinion it was a direct result of that that caused Sibneft to want to
                detach itself from Yukos . . . . I knew Sibneft was doing everything they could to get out
                of this, and they were fairly panicked because they wanted to get out before the
                Government destroyed our company . . . [A]s soon as Sibneft saw and learned what was
                happening to Yukos, they wanted out of the deal . . . . [W]e had completed the merger, we
                were moving ahead with it; everything was really going along quite smoothly, and I think
                we were all excited about it. But Mr. Khodorkovsky’s arrest and the political fallout from
                that, and then the subsequent attack on the company that was related to



1008
       Nevzlin WS ¶ 26; Dubov WS ¶ 69; President of Russia, Official Web Portal, 24 April 2003, Exh. C-1053.
1009
       Sibneft President Eugene Shvidler comments on upcoming merger with Yukos to create YukosSibneft, a new
       international energy super major, BusinessWeek Online, 21 May 2003, Exh. C-634.
1010
       Notification of the State registration of the additional share issue by the Federal Commission for the Securities Market,
       23 July 2003, Exh. C-51.
1011
       Opinion and Directive issued by the Ministry for Antimonopoly Policies and Support to Entrepreneurship, 14 August
       2003, Exh. C-52. Respondent points out that some of these approvals were given after the arrest of Mr. Lebedev and
       Mr. Nevzlin’s flight to Israel. Rejoinder ¶ 792.
1012
       Transcript, Day 17 at 16 (Claimants’ closing).
1013
       Reply ¶ 127.




                                                            - 293 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 314 of 617




                Mr. Khodorkovsky’s arrest, scared Sibneft off. And there’s no question in my mind that
                they were afraid that the attack on Yukos was going to carry over to them . . . .1014

873. Mr. Nevzlin also testified that “[a]fter it became apparent that Mikhail Khodorkovsky was
        being targeted by the Kremlin, Roman Abramovich abruptly changed his mind and sought to
        unwind the merger.”1015

874. In support of their submission, Claimants mention that Mr. Abramovich met with President
        Putin only a few days before Sibneft’s announcement of its decision to cancel the merger.1016

875. Respondent does not dispute that concerns over Mr. Khodorkovsky’s arrest led Sibneft to
        change its mind about the merger. Respondent says that Sibneft’s decision

                was not at all surprising, as Messrs. Khodorkovsky and Lebedev, Yukos’ two leading
                Directors, had recently been arrested and charged with various criminal acts . . . . [Their]
                future leadership of the company was thus in serious doubt, and any proposed partner
                would have understandably been concerned . . . .1017

876. One London newspaper speculated that “[a]nalysts believe Mr. Abramovich’s decision to cut
        ties with Yukos is an attempt to insulate himself from an apparently politically motivated
        campaign by the Kremlin against Mr. Khodorkovsky and Yukos.”1018

877. However, Respondent forcefully denies that Mr. Abramovich’s decision was made “at the
        behest” of President Putin. It writes in its Counter-Memorial that

                Mr. Abramovich did not need the President of the Russian Federation to tell him that
                Sibneft’s proposed merger partner was the subject of a contentious tax dispute . . . . In the
                circumstances, any reasonable company would have sought to extricate itself from the
                planned merger, or at least to ensure that the new company was not led by two executives
                recently indicted for tax evasion.1019




1014
       Transcript, Day 10 at 39–41, 46.
1015
       Nevzlin WS ¶ 27.
1016
       Memorial ¶ 211 (citing Abramovich met Putin before vetoing YukosíSibneft merger, The Sunday Telegraph, 30
       November 2003, Exh. C-669).
1017
       Counter-Memorial ¶ 326.
1018
       Abramovich pulls out of $11bn merger with Yukos, The Independent, 29 November 2003, Exh. C-667.
1019
       Counter-Memorial ¶ 767(iv); see Rejoinder ¶ 786.




                                                          - 294 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 315 of 617




878. According to Respondent, the meeting between Mr. Abramovich and President Putin, if at all
        relevant, only demonstrates that the Russian President welcomed Sibneft’s proposal of a change
        in the management of the merged entity.1020

879. The Tribunal notes that the Parties agree that Sibneft was firmly of the view that the only way
        for the merger to be saved would be if there was a change in the senior management of the
        merged company, i.e., if Mr Shvidler was appointed as President.                     Yukos was equally
                                                                               1021
        “adamant” that management issues were “not negotiable.”                       As the BBC reported on
        28 November 2003, the “breaking point [of the merger] came when Yukos was not ready to
        hand over management of the company.”1022

880. Claimants characterize Mr. Abramovich’s insistence on a change of management as “a
        manifestly unreasonable proposal which sought to turn the agreed terms of the merger upside-
        down.”1023 They refer to the terms of the initial merger agreement which provided that Yukos
        would nominate the “Senior Management Positions” including the President,1024 and to the
        22 April 2003 press release which announced that Mr. Khodorkovsky would be CEO.1025
        Claimants contend that Yukos’ refusal to change the agreed terms of the merger was “hardly
        surprising” and that Respondent’s “attempt to rely on such refusal to exonerate itself from
        responsibility for the consequences of its own actions should be rejected.”1026

881. Respondent replies that Yukos “could and should have accommodated” the entirely reasonable
        concerns of Sibneft.1027 Respondent points out that Yukos would still have nominated the other
        senior managers and that the CEO Yukos suggested in replacement of Mr. Khodorkovsky (Mr.
        Simon Kukes), was a relatively unknown figure. With respect to causation, Respondent argues
        that it was “Yukos’ stubborn refusal to consider Sibneft’s change-in-management proposal—


1020
       Counter-Memorial ¶ 328.
1021
       Abramovich met Putin before vetoing Yukos–Sibneft merger, The Sunday Telegraph, 30 November 2003, Exh. C-669.
1022
       Yukos–Sibneft Merger Called Off, BBC News, 28 November 2003, Exh. R-397 (quoting Mr. Boris Berezovsky).
1023
       Reply ¶ 134.
1024
       Shareholders’ Agreement in respect of Yukos Oil Company among YUL, Hulley, White Pearl Investments Limited,
       N.P. Gemini Holdings Limited, Marthacello Co. Limited, Kindselia Holdings Limited, Heflinham Holdings Limited
       and Kravin Investments Limited, 1 May 2003, Article 6.1, Exh. C-1102.
1025
       Yukos and Sibneft Agree in Principle to Merger, Yukos Press Release and Sibneft Press Release, 22 April 2003,
       Exh. C-629.
1026
       Reply ¶ 134.
1027
       Rejoinder ¶ 786.




                                                       - 295 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 316 of 617




        and not any action on the part of the Russian Federation—that ultimately doomed the Yukos–
        Sibneft merger.”1028

882. Respondent also argues that it cannot bear any responsibility for the unwinding of the merger
        because Claimants and/or Yukos voluntarily agreed to it. It is a matter of public record that, in
        early 2004, Yukos retained external advisers for negotiations with Sibneft.1029 Respondent also
        alleges that Claimants signed two protocols dated December 2003 and February 2004 to
        unwind the merger.1030 The Tribunal notes that these protocols are not in the record of this
        arbitration.     Under cross-examination, Mr. Misamore stated that he did not recall ever seeing
        the protocols.1031

883. Claimants acknowledge that, “[a]lthough under no obligation to do so, Yukos and its majority
        shareholders agreed to enter into formal discussions with the former principal shareholders of
        Sibneft to consider a possible unwind of the transaction.”1032 Claimants add however that
        Yukos and its majority shareholders made it clear that unless an acceptable agreement was
        reached and approved by the Yukos Board of Directors and its shareholders, Yukos would
        maintain the existing agreements and proceed with its merger with Sibneft.1033

884. The Tribunal observes that, in the end, the decisions of the Moscow and Chukotka Arbitrazh
        Courts, although criticized by Claimants, effectively put an end to the merger. There never was
        a consensual negotiated solution.1034

885. Respondent speculates that it could have been Yukos that instigated the two court cases in order
        to achieve the demerger without having to seek the approval of minority shareholders.1035
        Respondent refers to an e-mail of 13 February 2004 where Yukos’ counsel Mr. Gololobov


1028
       Counter-Memorial ¶ 330.
1029
       Yukos Oil Company retains consultants for negotiations with former Sibneft core shareholders, Yukos Press Release,
       2 February 2004, Exh. C-680.
1030
       Respondent’s Post-Hearing Brief ¶ 75 n.193 (citing Yukos Oil Company v. Kravin Investments and others, LCIA
       Arbitration No. 4589, Statement of Case, 2 May 2005, Exh. R-3601 ¶¶ 41, 44, 50).
1031
       Transcript, Day 9 at 11–12.
1032
       Memorial ¶ 212.
1033
       Yukos Sibneft Merger, Company News, Group Menatep Website, 2 December 2003, Exh. C-670; Statement on the
       Status of Negotiations with Representatives of Former Principal Shareholders of Sibneft, Yukos Press Release,
       17 December 2003, Exh. C-672.
1034
       See Transcript, Day 17 at 25.
1035
       Rejoinder ¶¶ 797–806.




                                                         - 296 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 317 of 617




        proposed a five-part “Scheme of Actions for Unwinding Transaction.”1036 The first step was a
        “[s]uit to have issuance of shares declared invalid,”1037 which, Respondent argues, bears a
        striking resemblance to the lawsuit brought in January 2004 by NP Gemini Holdings Limited
        and Nimegan Trading Limited before the Moscow Arbitrazh Court.

886. The Tribunal notes that this e-mail was sent after the commencement of the Moscow lawsuit.
        Respondent’s theory is also inconsistent with the fact that Yukos applied to an LCIA tribunal to
        prevent the former Sibneft shareholders from pursuing actions for the invalidation of the share
        issuance before the Moscow and Chukotka courts.                     The Tribunal finds this argument of
        Respondent unpersuasive.

887. The central question remains. Did the Russian Federation cause the demerger? In the view of
        the Tribunal, it did not. It is abundantly clear that Sibneft wanted out of the merger after the
        arrest of Mr. Khodorkovsky.            It was perfectly understandable for Sibneft to have second
        thoughts about the merger under the leadership of a CEO who was under arrest and embroiled
        in controversy.1038 The Tribunal does not see the fingerprints of Respondent in Sibneft’s
        decision to insist upon a change in management after the arrest of Mr. Khodorkovsky or in
        Sibneft’s subsequent announcement that it would not proceed with the merger.

888. The Tribunal therefore concludes that Claimants have not established any basis which would
        allow them to claim damages based on the assumption that the merged YukosSibneft company
        would have been successful.1039

889. However, the circumstances of the YukosíSibneft merger are instructive in evaluating Yukos’
        attempts to settle its tax debts with the Russian authorities, which will be discussed in the next
        chapter.

890. The Tribunal will now review the attempts by Yukos to settle its tax debts and the reaction of
        the Russian authorities to Yukos’ offers.

1036
       E-mail from Mr. Dmitry Gololobov to Mr. Yuriy Beilin attaching “Scheme of Actions for the Unwinding
       Transaction,” 13 February 2004, Exh. R-3602.
1037
       Ibid., Flowchart.
1038
       The Tribunal notes that Sibneft’s position was not inconsistent with the spirit of the Shareholders’ Agreement, which
       contained a provision allowing the Sibneft shareholder group to remove any Yukos-appointed senior managers if they
       committed fraud or embezzlement. Shareholders’ Agreement in respect of Yukos Oil Company among YUL, Hulley,
       White Pearl Investments Limited, N.P. Gemini Holdings Limited, Marthacello Co. Limited, Kindselia Holdings
       Limited, Heflinham Holdings Limited and Kravin Investments Limited, 1 May 2003, Article 6.1, Exh. C-1102.
1039
       See Part XII on Quantification of Damages at paragraph 1779.




                                                          - 297 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 318 of 617




E.      ATTEMPTS TO SETTLE

        1.      Introduction

891. In the second half of 2004, Yukos made several proposals to the Russian authorities for the
        settlement of its tax debts. None of these proposals was accepted by the Russian Federation,
        which moved to auction off YNG in December 2004 in spite of Yukos’ protests.

892. This chapter examines the context of Yukos’ settlement offers, their content and the Russian
        Federation’s reaction to them, with a view to determining whether the conduct of the Russian
        Federation was more consistent with the goal of collecting taxes or, as Claimants argue, with
        the aim of leading Yukos to bankruptcy and appropriating its most valuable assets.

893. Claimants submit that, through its settlement offers, Yukos sought to initiate a dialogue with
        the Russian Federation that could lead to Yukos paying its tax debts while “preserv[ing] the
        company as a going concern.”1040 However, the settlement offers were met with a “complete
        lack of responsiveness” and utter inflexibility from the Russian Federation.1041 For Claimants,
        this reaction is “one of the strongest testaments” to the fact that Respondent was not interested
        in tax collection, but only the destruction of Yukos.1042 As put by Claimants’ counsel at the
        Hearing:

                the bottom line is: if the Russian Federation was interested in collecting taxes, it would
                have responded to Yukos; it would have worked with Yukos to try and find a way for the
                company to pay its alleged tax debt. . . . And we say that this is consistent and supports the
                Claimants’ conclusion that this was not about paying taxes but was about the expropriation
                of the company.1043

894. Claimants add that the Russian Federation’s real intent with respect to Yukos is also revealed
        by the fact that it did settle the tax debts of other oil companies, such as Rosneft, Sibneft and
        TNK-BP.1044

895. Claimants also submit that, in addition to rejecting Yukos’ settlement offers, the Russian
        authorities actively prevented Yukos from discharging its tax liabilities by freezing and seizing


1040
       Theede WS ¶ 9; see also Transcript, Day 17 at 126.
1041
       Reply ¶ 321.
1042
       Transcript, Day 20 at 216 (Claimants’ closing); see also Rieger WS ¶ 24.
1043
       Transcript, Day 17 at 105 (Claimants’ closing).
1044
       Claimants’ Skeleton Argument, 1 October 2012 ¶ 26 (hereinafter “Claimants’ Skeleton”).




                                                            - 298 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 319 of 617




        Yukos’ assets (through the April 2004 injunction of the Moscow Arbitrazh Court and the
        bailiffs’ resolutions of June and July 2004).1045 As a result, Yukos could only pay its tax debts
        from the proceeds of the business operations of its subsidiaries, which did not suffice to meet
        Yukos’ liabilities in the short time allowed by the Russian authorities.1046

896. For its part, Respondent submits that the Russian authorities responded to each of Yukos’
        offers1047 and, moreover, were entitled to reject these offers because none of them amounted to
        a serious proposal.1048 From Respondent’s perspective, Yukos’ settlement offers were a mere
        posturing exercise intended to give “an appearance of cooperation, while fostering the image—
        embellished by their public relations machines—that Yukos was a victim of the authorities’
        conduct.”1049 Yukos’ offers were “invariably unacceptable, either because they were contrary
        to Russian law, or because they involved impaired assets, or because they were otherwise
        inadequate.”1050

897. Respondent further submits that, by the second half of 2004, “Yukos’ management faced a
        serious credibility problem, among other things because it had made manifestly false claims
        that it was unable to pay any of its tax bills.”1051                  Given Yukos’ bad faith, the Russian
                                                                     1052
        authorities’ refusal to negotiate was reasonable.                   Respondent concludes that Yukos caused
        its own demise by failing to pay its tax debts in full in the first quarter of 2004 (instead making
        disingenuous and inadequate settlement proposals), thereby attracting mounting interest and
        fines.1053

898. The Tribunal recalls that the Quasar tribunal found that the Russian Federation’s failure “even
        to respond” to the offers made by Yukos, “the largest private taxpayer in Russia” and a major




1045
       Memorial ¶ 351.
1046
       Ibid. ¶¶ 351, 353.
1047
       Respondent’s Closing Slides, p. 895; see also Rejoinder ¶ 893.
1048
       Counter-Memorial ¶ 419.
1049
       Rejoinder ¶ 897.
1050
       Counter-Memorial ¶ 419; see also Rejoinder ¶ 893.
1051
       Counter-Memorial ¶ 418.
1052
       Respondent’s Closing Slides, pp. 804–806.
1053
       Respondent’s Post-Hearing Brief ¶¶ 220–21.




                                                           - 299 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 320 of 617




        force of the national economy, raised “significant doubts as to whether the Respondent acted in
        good faith in attempting to resolve its tax dispute with Yukos.”1054


        2.      Yukos’ Settlement Offers (and the Russian Federation’s Replies)

899. To place the settlement offers in context, it is helpful to recall the dates of some key events.1055

900. The 2000 Audit Report, the first audit report to assess tax arrears against Yukos, was issued on
        29 December 2003.1056 The 2000 Decision holding Yukos fiscally liable for a tax offense and
        concluding that an amount of approximately USD 3.48 billion was due within two days, was
        issued on 14 April 2004.1057

901. On 15 April 2004, the Moscow Arbitrazh Court, upon application by the Tax Ministry, issued
        the 2004 Injunction prohibiting Yukos “from alienation and encumbrance in any way of its
        assets, including shares (including prohibition from the transfer of securities to a nominee
        holder and in trust management), interests in the charter capital of other legal entities,
        securities, excluding main types of products manufactured by [it].”1058

902. In a decision dated 23 June 2004 and published on 30 June 2004, the Appeal Panel of the
        Moscow Arbitrazh Court reversed a 19 May 2004 ruling that had provisionally suspended the
        effect of the 2000 Decision.1059

903. On 29 June 2004, an appeal resolution of the Moscow Arbitrazh Court upheld a first instance
        decision allowing the Tax Ministry to collect “tax arrears, interest, and fines” from Yukos in an
        amount of USD 3.42 billion.1060 On 30 June 2004, the Moscow Arbitrazh Court issued an
        enforcement writ for this amount.1061



1054
       Quasar ¶ 102, Exh. R-3383.
1055
       For a complete narrative, see Chapter VIII.B of this Award.
1056
       2000 Audit Report, Exh. C-103.
1057
       2000 Decision, Exh. C-104.
1058
       April 2004 Injunction, Exh. C-108.
1059
       Decision of Judge Cheburashkina to Suspend the Effect of Decision No. 14-3-05/1609-1 of 14 April 2004, Exh. C-112;
       Moscow Arbitrazh Court, Appeal Resolution in the name of the Russian Federation, 23 June 2004, Exh. C-120.
1060
       Decision of the Moscow Arbitrazh Court, 26 May 2004, Exh. C-116; Moscow Arbitrazh Court, Appeal Resolution,
       29 June 2004, Exh. C-121.
1061
       Enforcement Writ No. 383729, 30 June 2004, Exh. C-122.




                                                          - 300 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 321 of 617




904. On the same day, Bailiff Solovyova issued a resolution to initiate an enforcement proceeding.
        The resolution granted Yukos a 5-day period for voluntary payment of the full amount due,
        failing which the Bailiff would consider imposing a 7 percent enforcement fee.1062 The Bailiff
        then issued several more resolutions, freezing cash in 16 Yukos bank accounts.1063

905. The 2001 Tax Audit, assessing USD 4.1 billion in taxes, interest and fines against Yukos, was
        released on 30 June 2004.1064

906. During July 2004, Bailiffs Solovyova and Borisov issued further resolutions restricting Yukos’
        access to its assets and imposing the collection of a 7 percent enforcement fee. 1065

907. On 9 July 2004, the Chukotka Arbitrazh Court issued interim measure orders in proceedings
        between former shareholders of Sibneft and Yukos, attaching 72 percent of Sibneft’s share
        capital and thus shrinking Yukos’ alienable stake in Sibneft to 20 percent minus one share (the
        “Chukotka Injunctions”).1066

908. On 6 July 2004, Yukos began making cash payments against its tax debts from the proceeds of
        the business operations of its subsidiaries.1067 By 16 November 2004, Yukos had paid USD
        3.47 billion—a little more than the amount of its tax liability for the year 2000.1068

909. However, Yukos’ tax liabilities increased with the 2001 Decision, the 2002 Decision and the
        2003 Decision, which were issued on 2 September, 16 November and 6 December 2004,
        respectively, and required payment by Yukos of tax arrears, fines and interest in the amounts of
        USD 4.1, 6.7 and 6 billion.1069

910. YNG was auctioned on 19 December 2004.1070


1062
       Resolution of the bailiff to initiate enforcement proceeding 10249/21/04, 30 June 2004, Exh. C-123.
1063
       Resolutions of the bailiffs to seize monies, 30 June 2004, Exh. C-124.
1064
       Repeat Field Tax Audit Report No. 30-3-14/1 (2001), 30 June 2004, Exh. R-345.
1065
       Resolution to restrict the rights of the securities owner, 1 July 2004, Exh. C-125; Resolution No. 10249/21/04 to
       Collect an Enforcement Fee, 9 July 2004, Exh. C-132.
1066
       Rulings of the Arbitrazh Court of the Chukotka Autonomous District, Case No. A80- 141/2004, 9 July 2004,
       Exh. R-553.
1067
       Reply ¶ 320, referring to Exhs. C-212 to C-238.
1068
       Memorial ¶ 358, referring to Exh. C-234.
1069
       2001 Decision, Exh. C-155; 2002 Decision, Exh. C-175; 2003 Decision, Exh. C-190.
1070
       Protocol of the results of the auction to sell shares in OAO Yuganskneftegaz, 19 December 2004, Exh. C-290.




                                                           - 301 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 322 of 617




911. Between 29–30 June 2004—when one appeals decision lifted the provisional suspension of the
        effect of the 2000 Decision and another confirmed the Tax Ministry’s USD 3.42 billion claim
        against Yukos—and December 2004—when the YNG auction took place—Yukos made
        several proposals to the Russian authorities to settle its tax debts. These proposals may be
        classified in four categories: (a) proposals made to the bailiffs, requesting enforcement against
        specific assets; (b) proposals for a global settlement conveyed by the Right Honourable Jean
        Chrétien, PC, OM, CC, QC, former Prime Minister of Canada; (c) requests for a deferral or
        payment in instalments; and (d) other proposals (which are not in the documentary record in
        this arbitration). The Rehabilitation Plan, proposed by Yukos’ management in the bankruptcy
        proceedings and discussed in greater detail in Chapter VIII.G of this Award, can be seen as
        Yukos’ final attempt to discharge its tax liabilities while continuing as a going concern.


               (a)     Proposals Made to the Bailiffs

912. On 2 July 2004, Mr. Gololobov, Yukos’ legal counsel, wrote to Bailiff Solovyeva, explaining
        that the April 2004 Injunction and the Bailiff’s 30 June 2004 seizure of 16 Yukos bank
        accounts prevented Yukos from voluntarily complying with the 30 June 2004 enforcement
        resolution and requesting that Bailiff Solovyeva accept, by way of voluntary enforcement, the
        transfer of a 34.5 percent stake in Sibneft, corresponding to the 20 percent minus one share
        stake obtained by Yukos under the Share Purchase Agreement plus the 14.5 percent stake
        obtained by Yukos as the second tranche under the Share Exchange Agreement.1071
        Mr. Gololobov’s letter stated that the value of the 34.5 percent stake in Sibneft was
        approximately USD 4 billion.

913. On 9 July 2004, Mr. Gololobov again requested Bailiff Solovyeva to accept Yukos’
        34.5 percent stake in Sibneft in payment of Yukos’ tax debts.1072 Respondent has described this
        request dated 13 July 2004 as being “in clear violation of the Chukotka [I]njunctions.”1073
        However, Claimants correctly point out that, while 13 July 2004 may have been the date when
        the letter was received by the Bailiff, the letter itself is dated 9 July 2004.1074


1071
       Petition for voluntary enforcement of the Resolution of 30 June 2004 to initiate enforcement proceedings and the
       Demand of 30 June 2004, 2 July 2004, Exh. C-126.
1072
       Application on the procedure of performance of the Resolution on commencement of enforcement proceedings dated
       30 June 2004 and the Demand dated 3 June 2004, 9 July 2004, Exh. R-554.
1073
       Counter-Memorial ¶ 425.
1074
       Reply ¶ 328 n.630.




                                                        - 302 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 323 of 617




914. On 14 July 2004, Mr. Gololobov amended Yukos’ previous requests and lowered the offer to a
        20 percent minus one share stake in Sibneft ostensibly to take account of the Chukotka
        Injunctions dated 9 July 2004.1075 Mr. Gololobov indicated that the 20 percent minus one share
        stake in Sibneft was worth between USD 2.3 and 2.5 billion.1076

915. On 6 August 2004, Mr. Gololobov wrote to Chief Bailiff Melnikov, requesting that the 20
        percent minus one share stake in Sibneft, as well as Yukos’ holdings in 15 other companies
        with a purported value of approximately USD 1.1 billion, be used for enforcement purposes as
        a matter of priority.1077 The letter incorrectly stated that the 20 percent stake comprised
        1,637,633,048 shares (a number that in fact corresponds to a 34.5 percent stake), prompting
        Respondent to argue that Yukos sought to conceal from the bailiffs that at least a 14.5 percent
        stake in Sibneft was encumbered pursuant to the Chukotka Injunctions.1078 The letter also
        stated that the total value of the assets offered in payment was USD 3.4 billion.1079 But, the
        annex to the letter valued the shareholdings in Sibneft at USD 2.351 billion, which corresponds
        to the value of a 20 percent minus one share stake (as stated in Yukos’ letter of 14 July 2004),
        and all the assets offered at USD 3.4 billion.1080 It is obvious that the letter contained some
        errors, which could have been corrected by the bailiffs by comparing it to its annex and the
        letter of 14 July 2004.

916. On 16 September, 24 November and 16 December 2004, Yukos wrote further letters to the
        bailiffs (in response to the issuance of the 2001, 2002 and 2003 Decisions),1081 again proposing
        that enforcement be made as a matter of priority against its stake in Sibneft and 15 other
        entities.1082 These proposals did not specify the number or percentage of Sibneft shares that
        Yukos was offering, but the total value of the assets offered in each case was said to be
        USD 3.407 billion. This figure is identical to the total amount of assets referred to in the annex

1075
       Addendum to petition regarding the process of enforcement of the Resolution of June 30, 2004 to initiate enforcement
       proceedings and the Demand of June 30, 2004, 14 July 2004, Exh. C-137.
1076
       Ibid.
1077
       Letter from Mr. Gololobov to Chief Bailiff A.T. Melnikov, 6 August 2004, Exh. C-140.
1078
       Counter-Memorial ¶ 427, n.636.
1079
       Letter from Mr. Gololobov to Chief Bailiff A.T. Melnikov, 6 August 2004, Exh. C-140.
1080
       Ibid.
1081
       Memorial ¶¶ 354, 356.
1082
       Petition for voluntary enforcement of Resolution of 09.09.2004 to initiate an enforcement proceeding and Demand of
       30.06.2004, 16 September 2004, Exh. C-163; Petition for voluntary enforcement of Resolution 19 November 2004 to
       initiate an enforcement proceeding, 24 November 2004, Exh. C-180; Petition for voluntary enforcement of the
       Resolution of 09.12.2004 to initiate an enforcement proceeding, 16 December 2004, Exh. C-195.




                                                         - 303 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 324 of 617




        to the 6 August 2004 letter, and it appears to have been calculated on the basis of a 20 percent
        minus one share stake in Sibneft.1083

917. The bailiffs did not respond to the proposals made by Mr. Gololobov in July 2004. Yukos
        challenged the bailiffs’ silence before the Moscow Arbitrazh Court, which found, in a decision
        dated 17 August 2004, that the bailiffs had acted lawfully because both the 14.5 percent stake in
        Sibneft, which was attached pursuant to the Chukotka Injunctions, and the remaining
        20 percent minus one share stake in Sibneft, were disputed by Sibneft’s former shareholders.1084

918. The Department of Bailiffs within the Russian Ministry of Justice responded to Yukos’
        6 August 2004 letter on 9 September 2004, referring in particular to the decision of the Moscow
        Arbitrazh Court of 17 August 2004 and concluding that the Russian judiciary had “affirmed the
        right of the bailiff to make the final decision regarding the sequence for seizures.”1085

919. The bailiffs did not respond to Yukos’ letters of 16 September, 24 November and 16 December
        2004. Respondent submits that the bailiffs did not need to respond as, by then, Yukos had
        already been put on notice by the 17 July 2004 decision of the Moscow Arbitrazh Court that its
        offers of Sibneft shares were unacceptable.1086 The Tribunal notes, however, that the bailiffs
        also failed to react to Yukos’ offer of shares in companies other than Sibneft, in respect of
        which the Moscow Arbitrazh Court had not commented.


                (b)     Proposals for a Global Settlement Conveyed by Mr. Chrétien

920. Mr. Chrétien wrote to Prime Minister Fradkov on behalf of Yukos for the first time on 6 July
        2004, offering a “global settlement” of USD 8 billion for the taxes assessed against Yukos in
        2000–2003, with 2 billion to be paid in cash in July 2004 and two more tranches to be paid in



1083
       With respect to the Sibneft shares, in addition to the proposals listed here, Yukos also applied on 22 April 2004 to the
       Moscow Arbitrazh Court for a replacement of the April 2004 Injunction with a new injunction that would instead
       freeze Yukos’ 57.5 percent stake in Sibneft (see Exhs. R-476 and R-477). Yukos’ application was rejected the
       following day (Exh. R-452). Respondent discussed this application in the context of Yukos’ settlement offers
       (Counter-Memorial ¶ 420). However, since the purpose of the application was the unfreezing of Yukos’ assets in the
       context of interim measures ordered against it, rather than a final settlement of the tax claims, the Tribunal considers
       that this application cannot properly be characterized as a settlement proposal.
1084
       Decision of the Moscow Arbitrazh Court, 17 August 2004, Exh. C-143.
1085
       Letter from Mr. Sazanov, Deputy Head of the Bailiffs Department to Mr. Gololobov, 9 September 2004, Exh. C-146.
       See also Memorial ¶ 350.
1086
       Rejoinder ¶ 893(c).




                                                           - 304 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 325 of 617




        July 2005 and July 2006.1087 As security for the payment of the July 2005 tranche, Yukos
        offered its 35 percent stake in Sibneft.1088

921. Having received no reply, Mr. Chrétien reiterated the global settlement proposal in another
        letter to Prime Minister Fradkov dated 15 July 2004 and in letters addressed to President Putin
        dated 30 July, 10 September and 17 November 2004.1089

922. Noting that Mr. Chrétien’s letter of 30 July 2004 offered an “uncontested” 35 percent stake in
        Sibneft as collateral, Respondent again argues that Yukos sought to conceal from Respondent
        that at that time at least a 14.5 percent stake in Sibneft was encumbered pursuant to the
        Chukotka Injunctions.           However, as Mr. Chrétien’s letter in this respect contradicted
        Mr. Gololobov’s letter to the bailiffs of 14 July 2004, the Tribunal views the reference to the
        uncontested stake in Sibneft as a mistake rather than a deliberate attempt by Yukos to mislead
        the Russian authorities.

923. Referring to Mr. Chrétien’s letters of 30 July 2004 and 17 November 2004, Respondent submits
        that, while Prime Minister Fradkov and President Putin did not respond to Mr. Chrétien in
        writing, they did discuss with him the tax claims against Yukos.1090

924. In his letter of 30 July 2004, Mr. Chrétien refers to a discussion with President Putin during a
        “meeting in July.”1091 In his letter of 17 November 2004, he describes a meeting with President
        Putin as follows:

                [w]hen we last met in Moscow, you told me that I could take the mandate to represent the
                interests of Group Menatep, and possibly other minority shareholders of Yukos, to find a
                solution to the tax problems confronting them. . . . When you and I last spoke after our
                meeting, you asked for a letter outlining our proposal to settle this matter and you assured
                me that a response from the Minister responsible for this file would be forthcoming. I sent
                you the letter at the end of July, but have received no communications from your
                government as yet.1092




1087
       Letters from Jean Chrétien to Prime Minister Fradkov of 6 and 15 July 2004, and to President Putin of 30 July 2004,
       10 September 2004 and 17 November 2004, Exh. C-129 (hereinafter “Chrétien letters”).
1088
       Ibid.
1089
       Ibid.
1090
       Respondent’s Closing Slides, pp. 302, 324.
1091
       Chrétien letters, Exh. C-129.
1092
       Ibid.




                                                         - 305 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 326 of 617




925. From these excerpts, it appears that President Putin initially encouraged the overture of a
        dialogue regarding Yukos’ tax liability, but that neither he nor any other Russian authority ever
        responded to the concrete proposal made by Mr. Chrétien on Yukos’ behalf.

926. Under cross-examination at the Hearing, Mr. Theede expressed Yukos’ frustration with the lack
        of response from the Russian Federation:

                By this time it was really becoming obvious that Mr. Chrétien’s, you know, admirable
                efforts just weren’t going to get us where we needed to go, because he had been made—a
                lot of promises had been made to him about ‘All I want Yukos to do is pay taxes, you
                know? That’s all I want out of them: I just want them to pay taxes. And if you can get
                them to do that, then send me a proposal and it will work.’
                And he did all that, and never got a response. And it’s now several months after the
                original proposal. I suppose—I suppose, you know, no question in my mind—the
                authorities probably already by July had in mind the amount of money that they were
                going to rack up against us in tax liabilities. They probably knew that they were going for
                something in the order of $30 billion, and so to them the $8 billion was low. And of
                course, they couldn’t come back and say, ‘Look, our plan is to tax you $30 billion, and so
                you guys are well off the mark.’ They couldn’t say that, because it would have blown their
                cover.
                But we were trying, and thought Mr Chrétien was a very credible way to open the dialogue
                I’ve been talking about all afternoon. But by this time, I don’t—I had pretty much lost
                hope, and was, I guess, impressed that Mr Chrétien was continuing to try, but to no
                avail.1093


                (c)     Requests for a Deferral or Payment in Instalments

927. On 16 July 2004, Mr. Steven Theede sent a letter signed by Mr. Bruce Misamore to the
        Minister of Finance, Mr. Kudrin, then Minister of Finance, requesting a six-month deferral or
        payment in instalments of the tax arrears and interest for the year 2000.1094 The letter referred
        to the “unprecedented nature” of the sum subject to collection and the potentially negative
        consequences of rapid enforcement on Yukos’ production operations and the Russian
        budget.1095 During the Hearing, Mr. Theede acknowledged that the letter was not perfect (the
        proposals were not detailed) but he described the letter as an attempt to “create a dialogue”
        between Yukos and the Russian Federation.1096 The Ministry of Finance rejected Mr. Theede’s
        request by letter dated 30 August 2004, relying on Art. 62(1)(2) of the Russian Tax Code,



1093
       Transcript, Day 10 at 100–101.
1094
       Petition for deferral or payment in instalments, 16 July 2004, Exh. C-138.
1095
       Ibid.
1096
       Transcript, Day 10 at 54.




                                                           - 306 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 327 of 617




        which provides that the term for the payment of tax cannot be changed if the entity applying for
        such a change is the subject of proceedings for a tax offence.1097

928. On 12 August 2004, Yukos petitioned the Moscow Arbitrazh Court for the right to pay its tax
        debt for the year 2000 in 15 monthly instalments of USD 143.96 million. Judge Grechishkin
        denied the petition, stating that while he had discretion under the law to order payment in
        instalments, in this case the circumstances did not justify such an order.1098


                (d)     Other Proposals

929. Claimants submit that the settlement offers described above are “just a sample” of the “roughly
        80 proposals and attempts to communicate with various authorities” made by Yukos.1099 They
        say that other settlement proposals were made, but did not leave a paper trail.

930. For example, Mr. Rieger recounts in his witness statement that, in the summer of 2004, he and
        Mr. Gololobov had a meeting with Chief Bailiff Belyakov during which they “explained that
        Yukos could start selling off its assets within a month in order to pay off its alleged tax debts”
        and “left a two-page letter for the Russian authorities setting out Yukos’ settlement proposal.”
        Mr. Rieger adds that the authorities did not respond to this proposal.1100 Noting that Mr. Rieger
        could not recall the exact terms of the proposal, Respondent suggests that, in the light of the
        timing, there is no reason to believe that the proposal differed from that made in
        Mr. Golobolov’s 6 August 2004 letter (described in paragraph 915 above).1101

931. In their respective witness statements, Messrs. Theede and Misamore also recount that, in
        October 2004, “the company put everything it could into a last settlement effort” and presented
        to the Russian authorities a USD 21 billion settlement proposal that included Yukos shares,
        Sibneft shares, non-core assets and “a concession to re-elect a new board of directors that
        would include a number of people selected by the Government.”1102 While Yukos was initially



1097
       Letter from the Tax Ministry to Yukos, 30 August 2004, Exh. C-145, referring to Russian Tax Code, Article 62,
       Exh. R-557.
1098
       Ruling of the Moscow Arbitrazh Court, 12 August 2004, Exh. C-142.
1099
       Transcript, Day 17 at 105 (Claimants’ closing), referring to Theede WS ¶ 9.
1100
       Rieger WS ¶¶ 21–23.
1101
       Respondent’s Closing Slides, p. 319, referring to Transcript, Day 6 at 130 (cross-examination of Mr. Rieger).
1102
       Misamore WS ¶ 47; Theede WS ¶ 21.




                                                           - 307 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 328 of 617




        “cautiously optimistic”, the negotiations ended abruptly when Mr. Temerko, Yukos’ chief
        negotiator in the process, was threatened with arrest and fled Russia. 1103

932. Respondent emphasizes that there is no written record of this proposal and no witness statement
        by Mr. Temerko. Respondent also contends that “[i]f there were such a proposal in any amount,
        there is no rational basis for believing it totalled US $21 billion, because after it was allegedly
        made in October 2004, Yukos continued to make proposals it valued at US$ 3.4 billion, and
        Mr. Chrétien kept reiterating his ‘global settlement’ proposal of US$ 8 billion.”1104

933. When asked in cross-examination whether there was a record of this offer, Mr. Theede replied
        “[y]ou have no record, but you do have my word. And I believe certainly Bruce Misamore and
        I have exactly the same recollection.”1105 Mr. Misamore was not cross-examined regarding this
        settlement proposal.


        3.      Parties’ Arguments and Tribunal’s Observations

                (a)     Did Yukos Contribute to its Own Demise by Failing to Discharge Tax Debt in
                        the Amount of USD 9 Billion in the First Quarter of 2004?

934. As discussed in paragraphs 679–80 and 745–48 above, Respondent submits that Yukos could
        have avoided some of the taxes, fines and interest eventually assessed against it, in the first
        quarter of 2004, by filing amended VAT returns in its own name, amended tax returns for
        2000–2002 and a tax return for 2003 recognizing all of Yukos’ income without assigning it to
        its trading entities. According to Respondent, had Yukos taken these steps, it would have faced
        only USD 9 billion in unavoidable tax debt, comprising the full amount assessed against it for
        the year 2000 and the amounts assessed against it for 2001–2003 minus VAT, willful and
        repeat offender fines and a part of the default interest accrued on the taxes for those years.1106

935. Respondent also contends that Yukos could have paid this amount—USD 9 billion—in the first
        quarter of 2004. At that time, Respondent argues, Yukos had both the ability to calculate its tax
        liabilities for 2001–2003 based on the amounts assessed against it for the year 2000 and



1103
       Theede WS ¶¶ 22–23; Misamore WS ¶ 48.
1104
       Respondent’s Post-Hearing Brief ¶ 102(iii).
1105
       Transcript, Day 10 at 75.
1106
       Respondent’s Closing Slides, p. 228.




                                                     - 308 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 329 of 617




        sufficient funds.1107 Specifically, Respondent submits that Yukos had “unrestricted access” to:
        (a) over USD 6.8 billion in cash, constituting revenue from Yukos’ trading entities paid out in
        dividends to Brittany Ltd., a British Virgin Islands indirect subsidiary of Yukos;1108 (b) USD 3
        billion in cash, which Yukos was entitled to receive in the context of the unwinding of the
        Sibneft merger for the 20 percent minus one share stake it had acquired under the Share
        Purchase Agreement;1109 (c) over USD 1.1 billion in cash generated by Yukos’ continuing
        operations;1110 (d) the USD 2 billion “giga-dividend” Yukos paid out to its shareholders in
        December 2003 and January 2004;1111 and (e) at least USD 1.55 billion in offshore non-
        monetary assets.1112 Respondent also points out that, until the April 2004 Injunction, all of
        Yukos’ assets in Russia were available to it to pay its tax debts.1113

936. Respondent submits that, by re-filing its VAT and tax returns and paying USD 9 billion in the
        first quarter of 2004, Yukos could have avoided the 7 percent enforcement fee imposed by the
        bailiffs and “all of the enforcement measures about which Claimants complain, including the
        April 14, 2004 injunction, the June 30, 2003 cash freeze orders, the seizures of shares, and the
        YNG auction.”1114 Yukos would thus “have survived as a going concern and still could have
        pursued a claim for a refund of any amounts the courts found it did not need to pay.”1115

937. Respondent insists that, as Mr Konnov stated in his second expert report, “[t]he filing of tax
        returns and the payment of the tax would not have prejudiced Yukos’ appeal rights.”1116
        According to Respondent, Mr Konnov’s opinion is confirmed by Yukos’ counsel Mr Pepeliaev
        who, in a commentary published in 2002, wrote:



1107
       Respondent’s Closing Slides, p. 247, referring to Exh. C-1756.
1108
       Respondent’s Post-Hearing Brief ¶ 79, n.199; Rejoinder ¶¶ 838–41. For a description of Brittany’s place in the Yukos
       corporate structure and revenue flow structure see Supplemental Expert Report of Thomas Z. Lys, 15 August 2012, ¶¶
       105, 114, 130–37 and Appendix I.
1109
       Respondent’s Post-Hearing Brief ¶ 79, n.199; Rejoinder ¶ 842.
1110
       Ibid.; Rejoinder ¶¶ 843–44.
1111
       Ibid.; Rejoinder ¶ 845.
1112
       Ibid.; Counter-Memorial ¶ 372, n.500.
1113
       Respondent’s Closing Slides, p. 267.
1114
       Rejoinder ¶ 834. Respondent adds that even if Yukos had waited until after the 2000 Decision was issued in April
       2004, it could have avoided all enforcement measures by paying only USD 10.8 billion (Respondent’s Post-Hearing
       Brief ¶ 84).
1115
       Respondent’s Post-Hearing Brief ¶ 250.
1116
       Respondent’s Closing Slides, p. 248, referring to Second Konnov Report ¶ 104.




                                                          - 309 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 330 of 617




                We often recommend for the sake of a client’s safety to pay tax for a short period (a
                month) in a maximum amount which can possibly be inferred from interpretation of the
                relevant provision. And immediately thereafter we file an application to the tax
                inspectorate requesting a refund or offset of an overpaid amount. It basically reads, ‘Hey!
                We used to interpret this norm this way but our consultants tell us that we overpaid tax, so
                please refund it.’ Of course, the inspectorate refuses to refund implying that we paid
                correctly – the more the better. Then a court claim is filed and it is up to court to decide.
                As a result a precedent is established.1117

938. However, Respondent submits, despite this possibility to discharge the totality of its tax debt at
        an early stage for a fraction of the amounts eventually assessed against it, Yukos “failed to use
        the time and its resources to pay its tax debt,” its managers choosing to “ignore that payment
        was due as provided in the assessment, not months later.”1118 Instead, Yukos only started
        making payments and considering a payment plan in July 2004.1119

939. Respondent submits that, in the light of Yukos’ conduct, the Russian authorities were entitled to
        view Yukos’ settlement offers with “caution and scepticism”.1120 In addition, by the time of the
        first settlement offers, Yukos’ untrustworthiness had become manifest in other ways,
        particularly when Yukos: (a) accused the Russian authorities of running a “tax racket”;
        (b) denied affiliation with, or the ability to get information about, its trading entities; (c) asked
        that the April 2004 Injunction be substituted with an injunction against already-encumbered
        Sibneft shares; and (d) engaged in serial corporate dissolution to frustrate tax collection.1121

940. Respondent concludes that the destruction of Yukos is therefore “the consequence of the
        contributory fault and failure to mitigate of Yukos, under the control of Claimants.”1122

941. Claimants reject the argument that they could have avoided enforcement of the tax assessments
        by the Russian Federation and the bankruptcy of Yukos by paying USD 9 billion in the first
        quarter of 2004, asserting that, to be convinced by this argument, “the Tribunal would need to
        ignore the most salient facts—the Respondent’s breaches—and assume . . . that the very same
        Russian authorities who committed those breaches would have acted differently if only Yukos
        had taken the actions specified by the Respondent.”1123 Claimants argue that there is no “duty

1117
       Rejoinder ¶ 849, referring to S.G. Pepeliaev, Tax Law Should Be Understandable, Raschet, No. 4, 2002, Exh. R-3287.
1118
       Respondent’s Closing Slides, p. 292.
1119
       Ibid., pp. 264–65, referring to Transcript, Day 10 at 21 (cross-examination of Mr. Theede).
1120
       Transcript, Day 18 at 265.
1121
       Transcript, Day 18 at 265.
1122
       Respondent’s Post-Hearing Brief ¶ 250.
1123
       Claimants’ Post-Hearing Brief ¶ 276.




                                                           - 310 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 331 of 617




        to appease” and that “a victim of extortion is not to blame if the threats against it are carried out
        after it refuses to pay.”1124

942. In addition, Claimants are of the view that taking the steps suggested by Respondent would
        have prejudiced Yukos’ position for subsequent litigation.1125 As Mr. Theede stated at the
        Hearing, “you don’t run a business by talking about paying taxes until they become an official
        tax.”1126

943. Moreover, Claimants submit that, as a matter of fact, Yukos “did everything it could to pay off
        the tax assessments as soon as they became due.”1127 The obligation to pay arose on 16 April
        2004,1128 and Yukos made its first payment shortly thereafter on 6 July 2004.             However,
        contrary to Respondent’s contention, Yukos did not have enough cash available to settle an
        alleged tax debt of USD 9 billion in the first quarter of 2004. Mr. Theede explained at the
        Hearing that the USD 6.8 billion on the balance sheet of Brittany Ltd. “were basically loans of
        cash that had already been repatriated into Russia to fund our capital programs and operating
        expenses and so forth” and thus represented a “zero-sum” game.1129 The offer by the former
        Sibneft shareholders to buy back the 20 percent minus one share stake in Sibneft that Yukos
        had acquired pursuant to the Share Purchase Agreement for USD 3 billion was only made in
        October 2004 (and was rejected because it significantly undervalued the shares).1130 The
        2 billion dividend could not be reversed and the sale of Yukos’ offshore assets would have
        taken longer than three months to realize.1131 As for Yukos’ assets in Russia, Yukos was
        prevented from using them by the April 2004 Injunction, which was “grossly disproportionate”
        to the debt it was intended to secure, and subsequent seizures.1132

944. Thus, according to Claimants, by adding the “wide-ranging freeze and seizures” of the
        company’s non-cash assets to the “massive payment demands” and “impossibly short


1124
       Ibid. ¶ 275.
1125
       Ibid. ¶¶ 280–281.
1126
       Transcript, Day 10 at 21.
1127
       Claimants’ Post-Hearing Brief ¶ 83.
1128
       Transcript, Day 20 at 112–13.
1129
       Transcript, Day 11 at 41–42.
1130
       Claimants’ Post-Hearing Brief ¶ 291.
1131
       Ibid.
1132
       Ibid. ¶¶ 85–86, 91.




                                                   - 311 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 332 of 617




        deadlines,” the Russian Federation itself “engineer[ed] the circumstances of non-payment.”1133
        In the circumstances, “it was evident that Yukos would not be able [to] settle its alleged tax
        debts or discharge them in full without the cooperation of the Russian authorities.”1134

945. In the Tribunal’s view, Yukos cannot be held responsible (even in part) for the rejection of its
        settlement offers and the enforcement measures subsequently taken by the Russian Federation
        merely because it did not pay USD 9 billion in the first quarter of 2004. Although the 2000
        Audit Report was issued at the end of 2003, Yukos’ obligation to pay its tax debt for the year
        2000 did not arise until the 2000 Decision was issued in April 2004. Similarly, Yukos’
        obligation to pay its tax debts for 2001–2003 arose only with the issuance of the 2001, 2002
        and 2003 Decisions in September–December 2004. Although some of the amounts that became
        due under these decisions could have been estimated based on the findings set out in the 2000
        Audit Report, the Tribunal does not see why Yukos, at a time when it considered the tax
        assessments to be ill-founded, should have made any payments before a legal obligation to pay
        the tax arose. The Tribunal notes that Yukos began making payments toward its tax debts on
        6 July 2004, less than a week after the issuance of the appeals decisions in its challenge
        proceedings against the 2000 Decision and the enforcement proceedings initiated by the
        Russian Federation. In the circumstances, the Tribunal does not consider it unreasonable for
        Yukos to have delayed payment of its tax debts until these decisions were issued.


                 (b)   Did Yukos’ Settlement Offers Constitute Real Alternatives to Enforcement?

946. Respondent invokes several reasons why Yukos’ settlement offers could not be accepted by the
        Russian Federation, all of which are disputed by Claimants. Principally, the Parties disagree as
        to whether (i) all the Sibneft shares were either encumbered or disputed; (ii) Yukos sought to
        enter into negotiations that are not permissible under Russian law; and (iii) Russian law permits
        payment in kind of tax arrears.

947. For Respondent, because of the flaws in Yukos’ offers, the Russian authorities were justified in
        doubting the sincerity of Yukos’ intention to pay. This justified distrust explains why the
        Russian authorities did not respond to each one of Yukos’ offers (although, according to
        Respondent, they did respond to all the sound offers).


1133
       Ibid. ¶ 88.
1134
       Ibid. ¶ 84.




                                                  - 312 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 333 of 617




948. Disputing that Yukos’ offers suffered from any insurmountable defects, Claimants repeat that it
        was Yukos’ genuine intention to commence a dialogue with the Russian Federation aimed at
        finding a workable solution to pay off its tax debts.

949. In this section, the Tribunal first addresses the specific areas of disagreement between the
        Parties and then makes some general observations regarding Yukos’ settlement offers and the
        Russian Federation’s responses.


                               i.     Whether all the Sibneft Shares were Either Encumbered or
                                      Disputed

950. Respondent submits that the Sibneft shares could not be accepted in payment of Yukos’ tax
        debts because Yukos’ ownership of these shares was disputed by Sibneft’s former
        shareholders.1135 This defect, says Respondent, affected all the offers made to the bailiffs, all
        the offers conveyed by Mr. Chrétien to Prime Minister Fradkov and President Putin, as well as
        the USD 21 billion settlement proposal allegedly made by Yukos in October 2004.

951. Claimants recognize that Yukos’ ownership of the 14.5 percent stake in Sibneft corresponding
        to the second tranche under the Share Exchange Agreement was challenged by Nimegan
        Trading Limited before the Chukotka Arbitrazh Court in proceedings initiated on 6 July 2004
        and that those shares were attached by the Chukotka Injunctions of 9 July 2004, pending
        resolution of the merits of the dispute. Claimants assert, however, that the 20 percent minus
        one share stake in Sibneft acquired by Yukos under the Share Purchase Agreement was never
        encumbered or challenged in any legal proceeding.1136

952. As explained in paragraphs 2–915 and 922 above, the Tribunal considers that, although Yukos
        initially offered a 34.5 percent stake in Sibneft in payment of its tax debts to the bailiffs, after
        the Chukotka Injunctions it sought only to offer in payment the 20 percent minus one share
        stake in Sibneft that was not the object of the Injunctions.

953. As for this 20 percent stake, the Tribunal notes that a number of Sibneft’s original shareholders
        wrote to the Russian authorities in July and August 2004, opposing Yukos’ proposals to use
        Sibneft shares to settle its tax debts, since the shares’ ownership was disputed between them
1135
       Counter-Memorial ¶¶ 420–30; Respondent’s Skeleton ¶ 47.
1136
       Memorial ¶ 229; Claimants’ Post-Hearing Brief ¶ 92, referring to Transcript, Day 6 at 95–97, 112, 116 (Mr. Rieger);
       Transcript, Day 9 at 242–43 (Mr. Misamore); Transcript, Day 9 at 36–39, 44–45, 48–49, 71, 74, 92–93 (Mr. Theede);
       Day 17 at 106–12 (Claimants’ closing).




                                                         - 313 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 334 of 617




        and Yukos. Thus, on 6 July 2004, these former shareholders wrote to the bailiffs, claiming that
        “rights to the shares of OAO Sibneft held by OAO NK YUKOS are the subject of the dispute
        and OAO NK YUKOS is unable to exercise its ownership rights to such shares.”1137 On 13
        July 2004, the same former shareholders wrote to the Deputy Minister for Taxes, stating that
        “OAO NK YUKOS is not entitled to use the whole block of shares in OAO Sibneft held by it
        for settlements with its creditors, including with respect to tax liabilities.”1138 In a further letter
        dated 16 August 2004, the former shareholders specifically asserted that the Share Purchase
        Agreement and the Share Exchange Agreement constituted “a single transaction” and that “all
        92 percent of shares in [Sibneft] that were transferred to [Yukos] under both agreements are in
        dispute.”1139

954. Despite these allegations, it is clear to the Tribunal that the Share Purchase Agreement was
        never formally challenged. The 6 July 2004 letter refers to an LCIA proceeding; yet, the only
        LCIA proceeding related to Sibneft shares that is in the record in this arbitration is LCIA
        Arbitration No. 4589, in the context of which Yukos sought damages arising out of the
        purported termination of the Share Exchange Agreement, but made no claim in relation to the
        Share Purchase Agreement.1140

955. In light of these findings, the Tribunal considers the bailiffs’ failure to respond in July 2004 to
        Yukos’ settlement offers to be inexcusable. On 2 July 2004, when Yukos first wrote to the
        bailiffs to request enforcement against its 34.5 percent shareholding in Sibneft, its ownership of
        these shares had not yet been challenged. The Chukotka court proceedings (challenging the
        transfer of the 14.5 percent stake) were commenced four days later, on 6 July 2004. This was
        also the date on which the former Sibneft shareholders, for the first time, wrote to the bailiffs
        claiming that Yukos was “unable to exercise its ownership rights” to the Sibneft shares. For
        four days, therefore, the bailiffs had no reason to believe that ownership of these shares by


1137
       Application of White Pearl Investments Limited, Kindselia Holdings Limited, Heflinham Holdings Limited,
       Marthacello Co. Limited and N.P. Gemini Holdings Limited to the Chief Bailiff of the First Interdistrict Department
       of the Bailiff Service for the Central Administrative District of Moscow, 6 July 2004, Exh. R-552.
1138
       Letter from White Pearl Investments Limited, Kindselia Holdings Limited, Heflinham Holdings Limited, Marthacello
       Co. Limited and N.P. Gemini Holdings Limited to the Deputy Minister of Taxes and Levies of the Russian Federation,
       13July 2004, Exh. R-555.
1139
       Letter from N.P. Gemini Holdings Limited, Heflinham Holdings Limited, White Pearl Investments Limited, Kindselia
       Holdings Limited and Marthacello Co. Limited to the Deputy Minister of Taxes and Levies of the Russian Federation,
       16 August 2004, Exh. R-559.
1140
       LCIA Arbitration No. 4589:     Yukos Oil Company v. Kravin Investments and others, Statement of Case ¶ 94,
       Exh. R-3645.




                                                         - 314 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 335 of 617




        Yukos was disputed. Yet the bailiffs did not respond to Yukos’ offer during that period or at
        any time thereafter.

956. In addition, after Yukos, on 14 July 2004, reduced its offer to the 20 percent minus one share
        holding in Sibneft, the only basis for Respondent’s assertion that “the bailiffs had reason to
        believe that Yukos’ title to even this block of proffered shares was in dispute”1141 were the
        “warnings” received from the former Sibneft shareholders. The Tribunal is not persuaded that
        mere letters to the bailiffs from a third party asserting a claim to an asset held by the debtor
        (without asserting this claim vis-à-vis the debtor itself) can constitute a sufficient reason for the
        bailiffs to disregard the debtor’s request to use this asset for enforcement purposes.


                               ii.     Whether Yukos Sought to Enter into Negotiations that are Not
                                       Permissible under Russian Law

957. According to Respondent, Yukos management believed erroneously that tax assessments
        provided an opportunity for a “business negotiation” that could end in a “compromise”.1142
        Such negotiations, says Respondent, seeking a reduction, deferral or payment in instalments of
        tax arrears, are not permitted under Russian law.1143 Specifically, Respondent contends that,
        once “a resolution of the highest tax authority or a court judgment has entered into force, the
        tax authorities and bailiffs cannot reduce the amount of the tax that’s due.”1144 Nor, avers
        Respondent, can the tax authorities agree to a delay for payment of more than 6 months, or
        change the term for payment when the entity applying for such a change is the subject of
        proceedings for a tax offence..1145 Moreover, adds Respondent, the Moscow Arbitrazh Court
        was justified in rejecting Yukos’ request for payment in instalments of its tax arrears due to the
        absence of exceptional circumstances.1146

958. Respondent maintains that a major problem with Yukos’ settlement proposals was that the
        amounts offered were insufficient to cover the tax arrears, fines and interest assessed against


1141
       Counter-Memorial ¶ 426.
1142
       Respondent’s Post-Hearing Brief ¶ 101, referring to Transcript, Day 10 at 7 (cross-examination of Mr. Theede);
       Transcript, Day 6 at 110–11 (cross-examination of Mr. Rieger).
1143
       Respondent’s Post-Hearing Brief ¶ 101.
1144
       Transcript, Day 18 at 270; see also Respondent’s Closing Slides, p. 299.
1145
       Transcript, Day 18 at 270–71; Respondent’s Closing Slides, p. 315.
1146
       Respondent’s Closing Slides, pp. 316–18, referring to Decision of the Moscow Arbitrazh Court, 12 August 2004,
       Exh. C-142.




                                                           - 315 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 336 of 617




        Yukos at that time and thus demonstrated that Yukos never intended to pay its tax debts in
        full.1147

959. Respondent contends that, even if it accepted that Yukos’ 20 percent minus one shareholding in
        Sibneft was formally unencumbered, its value was nevertheless uncertain, since Yukos was
        unable to offer a controlling block of shares and the public controversy with respect to the
        shares could affect their market value.1148 The fact that Yukos did not itself sell the Sibneft
        shares is also proof of their illiquidity.1149              Respondent notes that Yukos’ Board, when
        authorising the sale of the shares in August 2004, expressly acknowledged that “certain terms
        of the sale of these stakes may differ from the existing market terms because of the need to sell
        the assets as soon as possible in order to discharge the Company’s tax liabilities.”1150 When the
        20 percent minus one shareholding in Sibneft was tendered on 14 July 2004, it was valued by
        Yukos at USD 2.3 billion, which was insufficient to cover Yukos’ liabilities for the year 2000.
        The value of the Sibneft shares plus the shares in the other 15 companies offered by Yukos in
        its letters of 16 September, 24 November and 16 December was also insufficient having regard
        to Yukos’ tax debt assessed in the 2001, 2002 and 2003 Decisions.1151

960. As for Mr. Chrétien’s offer of USD 8 billion to settle the claims for the years 2000–2003,
        asserts Respondent, it would have covered only about half the amount then assessed against
        Yukos.1152 The USD 21 billion settlement offer allegedly made by Yukos in October 2004 was
        also insufficient, submits Respondent, since Yukos’ tax liabilities for the years 2000–2004
        totalled USD 24.2 billion.1153

961. Claimants deny that Yukos was asking the authorities for a reduction in the amount of the tax
        arrears that were due.1154 As Mr. Theede testified at the Hearing, Yukos “never tried to make
        any kind of proposal that was less than the tax that was due . . . we didn’t try to negotiate the


1147
       Respondent’s Closing Slides, p. 292.
1148
       Counter-Memorial ¶ 423.
1149
       Respondent’s Closing Slides, pp. 216, 313.
1150
       Respondent’s Closing Slides, p. 295, referring to Minutes No.120–18 of Meeting of Yukos’ Board of Directors, 19
       August 2004, Exh. C-210.
1151
       Respondent’s Closing Slides, pp. 308–309.
1152
       Respondent’s Closing Slides, p. 296.
1153
       Rejoinder ¶ 896, n.1425.
1154
       Transcript, Day 20 at 215; Claimants’ Post-Hearing Brief ¶ 93.




                                                          - 316 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 337 of 617




        amount; we were willing to pay all the taxes back.”1155 Mr. Theede further observed that Yukos
        “could never in a million years have anticipated the level of taxes that would ultimately be
        presented to the company; and fines and VAT.”1156           Claimants submit that the Russian
        authorities could have ascertained the sincerity of Yukos’ intention if only they had bothered to
        discuss the settlement offers.1157

962. A dialogue, say Claimants, was necessary given the enormous amounts assessed against Yukos.
        During the Hearing, when asked by a member of the Tribunal: “when a State assesses taxes and
        the taxpayer has exhausted administrative and judicial recourse in respect of the assessments, is
        it normal for the State to enter into a dialogue to negotiate a settlement of the assessments with
        the taxpayer?,” Mr. Theede replied that while he was not “sure what is normal . . . , there was
        no way that we would have been able to pay the taxes without being able to talk to the
        authorities and come to some agreement. We felt like our feet were nailed to the floor and we
        were being asked to jump. It was very frustrating.”1158

963. Concerning the value of the Sibneft shares, Claimants assert that they were Yukos’ most liquid
        asset.1159 Yukos’ assessment of the value of its 20 percent minus one shareholding at
        USD 2.3 billion in its letters to the bailiffs was not exaggerated since, as stated above, in the
        bankruptcy proceedings in 2006, Gazprom acquired these shares for USD 4.1 billion.1160 Under
        cross-examination at the Hearing, Mr. Theede acknowledged that Yukos did not try to sell the
        Sibneft shares itself.1161 He explained that Yukos did not know what the Russian authorities
        wanted. He testified that if the bailiffs had said to Yukos “‘[w]e don’t want the shares, but we
        will take the $3 billion. You can sell the Sibneft stock without any interference,’ [Yukos]
        would have done that in a second.”1162

964. Claimants also note that the settlement offers conveyed by Mr. Chrétien in July 2004 were well
        in excess of the tax debt that had been assessed at that time—USD 3.42 billion for the year


1155
       Transcript, Day 10 at 8–12.
1156
       Ibid. at 9.
1157
       Claimants’ Post-Hearing Brief ¶ 93.
1158
       Transcript, Day 10 at 40.
1159
       Claimants’ Post-Hearing Brief ¶ 92.
1160
       Ibid.
1161
       Transcript, Day 11 at 49–50.
1162
       Ibid. at 48.




                                                  - 317 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 338 of 617




        2000.1163 At the Hearing, Mr. Theede explained that the USD 8 billion figure was arrived at by
        considering the 2000 tax assessment of USD 3.4 billion and scaling it back for subsequent years
        to account for the shorter period over which interest would be calculated.1164 In terms of
        Yukos’ ability to honor the proposal, Mr. Theede confirmed that Yukos would have been in a
        position to pay the first installment of USD 2 billion in July 2004, and states that, despite the
        absence of a response from the Tax Ministry, Yukos “did take immediate action to start
        accumulating the offshore cash … within a day or two of this letter.”1165 When asked to explain
        why the settlement offer remained at the level of USD 8 billion in the proposal of 10 September
        2004, when the amount of taxes assessed against Yukos (for 2000 and 2001) had reached
        USD 7.5 billion, Mr. Theede stated as follows:

                 [W]hat [the 10 September proposal] is saying is: with what we’ve already paid, plus the
                 [VAT] that you haven’t refunded us, we’ve nearly paid our 2000 tax arrears. I think it’s
                 important to maybe explain . . . this [VAT], because by the end of the attack that . . .
                 unrefunded [VAT] amounted to nearly [USD] 5 billion of the total assessment against the
                 company. And what it was is: when you sell oil in Russia, you pay a [VAT] on it; and
                 then, if you export it, you automatically get that [VAT] back.1166

965. And Mr. Theede testified that in October 2004 Yukos made a USD 21 billion offer.
        Mr. Theede’s evidence on this alleged offer was confirmed by Mr. Misamore. However, the
        Tribunal notes that there is no documentary evidence of this offer in the record.

966. As for Respondent’s argument that the amounts and payment modalities of tax arrears cannot
        be negotiated under Russian law, Claimants submit that it is disingenuous, since the Russian
        Federation has entered into negotiations and agreed settlements of tax assessments with other
        Russian and international oil companies such as Sibneft, TNK-BP and Rosneft.1167

967. The Tribunal observes that according to press reports submitted by Claimants Sibneft was able to
        settle a 1 billion tax arrears claim by paying only 300 million,1168 while the one billion tax
        arrears claim against TNK-BP was reduced by “hundreds of million of dollars,” after a meeting



1163
       Claimants’ Post-Hearing Brief ¶ 92.
1164
       Transcript, Day 10 at 82–85.
1165
       Ibid. at 89.
1166
       Ibid. at 96.
1167
       Claimants’ Post-Hearing Brief ¶ 93.
1168
       Sibneft Pays Off Tax Claim, The Moscow Times, 19 April 2005, Exh. C-1418; “Sibneft ‘settles its tax demand’,” BBC
       News, 18 April 2005, Exh. C-752.




                                                        - 318 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 339 of 617




        took place between Lord Browne, BP’s chief executive, and President Putin.1169                        As for
        Rosneft, the Tribunal notes that its financial statements reveal that, after Rosneft purchased
        YNG, the Russian authorities approved a restructuring plan allowing it to pay the tax arrears
        that had been assessed against YNG in February and October 2004 in quarterly payments over
        a period of 5 years starting in March 2008.1170

968. Claimants also affirm that Rosneft received a concession from Respondent in the guise of an
        83 percent reduction in the amount of YNG’s tax arrears and a corresponding 89 percent
        reduction in fines.1171

969. Respondent answers that Yukos’ case is “totally different” from those of Sibneft or TNK-BP,
        because there is no evidence that these companies, contrary to Yukos, engaged in “knowing and
        longstanding tax evasion” and lied to the courts and tax authorities. From the limited record
        available in this arbitration in this respect, it does appear as if these companies cooperated with
        the tax authorities in order to settle the amount due. Moreover, there is no evidence that the
        authorities compromised after having reached a final assessment of liability.1172                         For
        Respondent, “considering the flagrancy of Yukos’ violation, the not[o]riety of its failure to
        accept responsibility and indeed its efforts to undermine tax enforcement, common sense and
        straightforward deterrent interest would dictate different results.”1173

970. Regarding Rosneft, Respondent explains that, unlike Yukos, it was eligible for a “tax
        restructuring process” because it had, also unlike Yukos, been designated as a “strategic
        company” by the Russian Government.                According to Mr. Konnov’s first expert report,
        Article 191 of the Federal Law on Insolvency “contemplates a possibility to restructure federal
        tax debt of certain ‘strategic’ companies in order to prevent their bankruptcy.”1174 A list of




1169
       TNK-BP Tax Bill Slashed by Moscow, Financial Times, 11 August 2005, Exh. C-762.
1170
       Rosneft Consolidated Financial Statements as of December 31, 2007 and 2006 and for the years ended 31 December
       2007, 2006 and 2005, p. 50, Exh. C-377; Management’s Discussion and Analysis of Financial Condition and Results
       of Operations for the three and nine months ended 30 September 2007 and 2006, p. 38, Exh. C-378.
1171
       Memorial ¶ 278.
1172
       Respondent’s Closing Slides, p. 326.
1173
       Ibid., p. 327.
1174
       First Konnov Report ¶ 91.




                                                       - 319 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 340 of 617




        “strategic” companies was approved in early 2004, and Rosneft (contrary to Yukos) was
        eligible for inclusion on the list given its status as a state-owned company.1175

971. At the Hearing, counsel for Respondent provided the following explanation as to the
        requirements for a “strategic” company:

                It was necessary to be State-owned. It was necessary that one of the ministries request that
                the company qualify to be a strategic company and to undertake responsibilities of a
                strategic company, and ultimately to be approved by the relevant federal agency, which
                involved the defence services; and in the case of Rosneft involved committing to supply
                petroleum products to the Ministry of Defence of the Russian Federation. So these were
                all things that were not open to Yukos.1176

972. While Claimants appeared to suggest at the Hearing that, since “it’s the Government that
        decides which company is strategic,” it would have been “fairly easy” for Respondent to accept
        Yukos as a strategic company. The Tribunal notes that no specific requirements for purposes of
        designating a strategic company were proffered by either side.1177


                               iii.   Whether Russian Law Permits Payment in Kind of Tax Arrears

973. Respondent submits that the Russian Federation could not accept Yukos’ shares in Sibneft and
        other companies as payment because Russian law does not allow a taxpayer to settle its
        liabilities in kind.1178 Specifically, Article 45(3) of the Russian Tax Code stipulates that “[t]he
        obligation to pay taxes/duties shall be executed in the currency of the Russian Federation.”1179
        This defect affected all of Yukos’ settlement offers with the exception of those conveyed by
        Mr. Chrétien.

974. Claimants reply that Respondent misrepresents “both the legal context and the substance of
        Yukos’ settlement proposals.”1180 While Article 45(3) of the Russian Tax Code requires the
        payment of taxes in Russian rubles, Article 45(1) expressly provides that in case of late or
        incomplete payments, outstanding taxes may be collected through a forced sale of the
        taxpayer’s assets other than cash, as provided for in Articles 47 and 48 of the Russian Tax Code

1175
       Ibid.
1176
       Transcript, Day 19 at 30.
1177
       Transcript, Day 17 at 253.
1178
       Counter-Memorial ¶ 423.
1179
       Russian Tax Code, Article 45, Exh. R-550.
1180
       Reply ¶ 326.




                                                      - 320 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 341 of 617




        and Article 46 of the Federal Law “On Enforcement Proceedings”.1181 Respondent itself relies
        on the latter provision for the proposition that, for the purposes of the settlement of Yukos’
        alleged tax liabilities, the company’s assets seized by the bailiffs were subject to a coercive
        sale.


                              iv.     Concluding Observations

975. Having reviewed the totality of the evidence and the Parties’ representations, the Tribunal is of
        the view that Yukos’ settlement offers represented a good faith attempt by the company to
        initiate a dialogue with the Russian Federation regarding the payment of Yukos’ tax arrears.
        While it is true that these offers were for less than the total amount of taxes, fines and arrears
        assessed against Yukos, the Tribunal observes that, at the time when each offer was made, it
        either would have been sufficient to cover the amounts for which decisions had been issued by
        the Tax Ministry at the time, or was close enough to those amounts to allow the Russian
        Federation to assume that Yukos did indeed intend to discharge its tax liabilities. As for
        Yukos’ offer of its 20 percent minus one share holding of Sibneft shares, in the opinion of the
        Tribunal, since this shareholding was never formally disputed, it should have convinced the
        Russian Tax authorities that Yukos was serious in wishing to settle its tax liabilities.

976. Respondent’s argument that the Russian Federation does not negotiate tax liabilities is belied
        by the fact that it agreed to tax settlements with other companies. Given the paucity of
        evidence before this Tribunal regarding the settlements actually reached by Sibneft and TNK-
        BP, the Tribunal cannot judge the extent to which their situations were similar to that of Yukos.
        However, the simple fact that these companies were able to negotiate the reduction of tax
        arrears initially claimed by the tax authorities suggests to the Tribunal that such negotiations
        can in fact take place under Russian law and practice.

977. Thus, even if Yukos’ settlement offers may not have resolved definitively all of its tax
        liabilities, the Tribunal sees no valid reason why the Russian Federation, if it sought only to
        collect taxes (and, presumably, to allow its largest taxpayer to continue in business) would not
        have reacted more positively to Yukos’ settlement offers at the very least to the extent of
        engaging constructively in discussion.



1181
       Ibid., referring to Federal Law No. 119-FZ of 21 July 1997 “On Enforcement Proceedings” (as amended), Article 46,
       Exh. C-1274.




                                                        - 321 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 342 of 617




978. The Russian Federation never showed any interest in Yukos’ offers. With the exception of the
        letter of 9 September 2004, the bailiffs never replied to Yukos, never even troubling to explain
        why they considered its offers inadequate. The Tribunal finds this silence very revealing,
        particularly in circumstances where the bailiffs’ views as to the unacceptability of the offers
        were based in part on correspondence they had received from a third party (the former Sibneft
        shareholders), which had not even been copied to Yukos. The settlement offers conveyed by
        Mr. Chrétien, at the end of the day, were also met with silence.

979. When the Russian authorities did provide responses to Yukos’ proposals, these were in the
        nature of blanket rejections. It is manifest that the authorities never seriously considered any
        one of Yukos’ proposals. The only letter from the bailiffs to Yukos (dated 9 September 2004)
        relies on the decision of the Moscow Arbitrazh Court of 17 July 2004, which merely addressed
        the issue of the Sibneft shares, but fails to explain why the shares in the other 15 companies
        offered by Yukos could not be accepted in payment. The Tribunal notes that the letter has a
        ring of finality to it, emphasizing as it does “the right of the bailiff to make the final
        decision.”1182 In the entire period from July to December 2004, the Russian authorities did not
        make a single counter-proposal to Yukos or even state that they were prepared to engage with
        the taxpayer. Mr. Rieger testified at the Hearing that “it was like a one way road: making
        proposals, talking, offering, and . . . no substantial feedback . . . no sitting down and willing to
        discuss.”1183 This statement aptly describes the impression that the Tribunal garners from the
        record.

980. In conclusion, Respondent’s total failure to engage with any of Yukos’ settlement proposals
        raises significant doubts in the Tribunal’s mind as to whether Respondent’s true and sole
        concern in its dealings with Yukos after the tax assesments were issued was the collection of
        taxes.


F.      THE AUCTION OF YNG

        1.       Introduction

981. After having reviewed these futile attempts by Yukos to settle its tax debts to the State, the
        Tribunal comes to one of the most striking episodes in the saga of Yukos’ demise, the

1182
       Letter from Mr. Sazanov, Deputy Head of the Bailiffs Department to Mr. Gololobov, 9 September 2004, Exh. C-146.
1183
       Transcript, Day 6 at 40.




                                                        - 322 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 343 of 617




        December 2004 auction of its core asset, the oil production company Yuganskneftegaz
        (“YNG”) and the subsequent acquisition of YNG by State-owned Rosneft.

982. Claimants argue that the auction was a sham, “carefully orchestrated to achieve the transfer of
        Yukos’ crown jewel to the State at the lowest price that could be achieved while maintaining a
        façade of legality.”1184 Claimants accuse Respondent of having depressed the value of YNG by
        fabricating USD 4.6 billion in tax claims against the company. They argue that Respondent set
        a low starting price which ignored both a valuation by Dresdner and Dresdner’s advice on how
        to conduct the auction in order to maximize the sale price. Claimants deny that their own
        actions contributed to the low price achieved at the auction. They maintain that the sole bidder
        at the auction, a previously unknown entity called Baikal Finance Group (“Baikal”), was a
        dummy that was used to mask the Russian State’s interest and involvement in the process.1185

983. Respondent answers that the decision to sell YNG to satisfy Yukos’ massive debt was a direct
        consequence of Yukos’ misconduct and the only realistic way to collect Yukos’ unpaid taxes in
        circumstances where Yukos had fiercely obstructed audits, resisted payment and attempted to
        make itself judgment proof.1186 Although YNG was sold during a 10-minute auction attended
        by two bidders on a Sunday afternoon in the outskirts of Moscow, Respondent observes that it
        was done in compliance with Russian law.                    Respondent avers that the price realized—
        USD 9.35 billion—was consistent with the formal appraisal conducted by Dresdner and other
        market estimates, and notes that this price reflected YNG’s own tax liabilities.1187 If the price
        was lower than it might otherwise have been, says Respondent, the fault lies solely with
        Claimants and Yukos, who sabotaged the auction through a sham bankruptcy proceeding in
        Texas and published threats of “a lifetime of litigation” which kept potential bidders away.
        Respondent rejects Claimants’ theory that Baikal was a veneer for the Russian Government.
        Rather, Respondent submits that it was a special purpose vehicle associated with
        Surgutneftegaz. When Baikal suddenly found itself unable to finance its purchase (due to the
        Temporary Restraining Order (“TRO”) obtained by Yukos in Texas), Rosneft simply seized a




1184
       Claimants’ Post-Hearing Brief ¶ 97; see Press Conference with Russian and Foreign Media, 23 December 2004,
       Russian President Official Website, Exh. C-422; see also Memorial ¶¶ 334, 409; Reply ¶ 293; Claimants’ Skeleton ¶ 45.
1185
       Claimants’ Post-Hearing Brief ¶¶ 110–14; Memorial ¶¶ 386–95; Reply ¶¶ 370–76; Claimants’ Skeleton ¶¶ 40–43.
1186
       Respondent’s Post-Hearing Brief ¶¶ 87–121; Counter-Memorial ¶¶ 450–527; Rejoinder ¶¶ 951–1008; Respondent’s
       Skeleton ¶¶ 36–54.
1187
       See, e.g., Deutsche Bank, Project Chekov, December 2004, Slide 6, Exh. C-284.




                                                          - 323 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 344 of 617




        commercial opportunity that presented itself as a result of Claimants’ misconduct.1188

984. At the outset of its analysis, the Tribunal will recall that during the February 2003 meeting with
        the Union of Industrialists and Entrepreneurs Industrialists attended by Michael Khordokovsky
        and referred to earlier in this Award, President Putin made this seemingly prescient
        observation:

               [C]ertain things are obviously clear. [Rosneft] is a State-owned company. It has
               insufficient reserves and should increase them. Some other oil companies, such as Yukos,
               have a surplus of reserves.1189

985. As will be seen, after having reviewed the totality of the circumstances leading to the YNG
        auction and the auction itself, the Tribunal concludes that this episode provides yet more
        compelling evidence that the Russian Federation was not engaged in a true, good faith tax
        collection exercise but rather was intent on confiscating the most valuable asset of Yukos and
        effectively transferring it to the Russian State.

986. The Tribunal notes that its findings are consistent with those of the RosInvestCo and Quasar
        tribunals, which found “many aspects of the YNG auction more than suspect”1190 and
        concluded that “the auction of YNG was rigged.”1191


        2.     Chronology

987. As is evident from the chronology of events recounted in Chapter VIII.B, and as observed by
        the ECtHR, the Russian authorities “were unyieldingly inflexible as to the pace of the
        enforcement proceedings, acting very swiftly.”1192 This chronology reviews the key events as
        of the date when the sale of YNG was announced to the auction itself on 19 December 2004,
        and the transfer of the YNG shares to the Russian State-owned Rosneft three days later on 22
        December.




1188
       See Respondent’s Skeleton ¶¶ 46–52; Respondent’s Closing Slides, pp. 327–70.
1189
       Video recording and transcript of meeting of the members of the Union of Industrialists and Entrepreneurs with
       President V. Putin held in the Ekaterininsky Hall, Kremlin, 19 February 2003, Exh. C-1396.
1190
       Quasar ¶ 116, Exh. R-3383.
1191
       RosInvestCo ¶ 620(d), Exh. C-1049.
1192
       ECtHR Yukos Judgment ¶ 656, Exh. R-3328; Chapter VIII.B.




                                                        - 324 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 345 of 617




                (a)     Yukos’ Shares in YNG are Seized and the Government Announces they will
                        be Sold; Yukos Brings Unsuccessful Court Challenges

988. On 20 July 2004, the Ministry of Justice announced its plan to sell YNG in order to satisfy
        Yukos’ tax debt for the year 2000.1193               Mr. Misamore testified that at the time of this
        announcement the only tax levied against Yukos and confirmed by the courts was for the year
        2000, in the amount of approximately USD 3.42 billion, which Yukos had already started to
        pay.1194      In the circumstances, he viewed the seizure of YNG as disproportionate and
        unjustified.

989. Industry analysts interpreted the bailiff’s plans to sell “Yukos’s most valuable asset” as “a clear
        sign the authorities are going in for the kill,” observing that the move “leaves little doubt the
        authorities’ final goal is for Yukos to cease to exist in its current form, materially erasing most,
        if not all, shareholder value in the process.” 1195

990. On 23 July 2004, GML director Tim Osborne declared that any purchaser of YNG would be
        “buying a whole heap of trouble.”1196

991. Yukos applied to the Russian courts to prevent the sale from proceeding, but to no avail.1197 In
        a letter to the Chief Bailiff of the Russian Federation dated 6 August 2004, Yukos requested
        that any sale of YNG be conducted by public auction. This request was granted.1198


                (b)     YNG is Valued for Auction while its Tax Liabilities Rapidly Escalate

992. On 12 August 2004, the bailiffs appointed Dresdner to carry out the valuation of YNG.1199



1193
       Moscow set to seize huge Yukos oil division—Investors may lose everything in tax fight, analysts warn, International
       Herald Tribune, 21 July 2004, Exh. C-698.
1194
       Misamore WS ¶ 52.
1195
       Moscow set to seize huge Yukos oil division—Investors may lose everything in tax fight, analysts warn, International
       Herald Tribune, 21 July 2004, Exh. C-698 (quoting Mr. Steven Dashevsky).
1196
       Yukos Says Asset Sale Could Prove Fatal Blow, NY Times, 23 July 2004, Exh. R-648.
1197
       Ruling of Moscow Arbitrazh Court, 29 November 2004, Exh. C-283.
1198
       Letter from Yukos’ counsel D.V. Gololobov to the Chief Bailiff of the Russian Federation A.T. Melnikov,
       6 August 2004, Exh. C-140; Moscow set to seize huge Yukos oil division—Investors may lose everything in tax fight,
       analysts warn, International Herald Tribune, 21 July 2004, Exh. C-698. Respondent points out that the sale of the
       YNG shares could, instead, have been negotiated with a designated purchaser. Rejoinder ¶¶ 978, 984; Transcript, Day
       3 at 115 (Respondent’s opening).
1199
       Resolution of Moscow Court Bailiff D.A. Borisov, 12 August 2004, Exh. C-270.




                                                         - 325 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 346 of 617




993. Dresdner issued its valuation report on 6 October 2004; it valued YNG as a stand-alone
        enterprise at USD 18.6 to 21.1 billion.1200 Dresdner noted in the summary of its Report that this
        amount could be reduced by tax and other liabilities, which would lower the value to USD 14.7
        to 17.3 billion.1201 In its report, Dresdner observed that “[t]he sales process usually has a
        significant impact on the revenue from the sale” and that “[a] quick auction will most likely
        prevent the achievement of a full price.”1202 Dresdner added that “[i]f access to full information
        is not provided to potential purchasers, this will lead to a significant reduction in the number of
        parties interested in YNG and also in their ability to offer the full price.”1203

994. A few days after Dresdner delivered its report, on 11 October 2004, the bailiffs recommended a
        minimum sale price for the YNG shares that reflected a 60 percent discount of the value
        determined by Dresdner.1204 The bailiffs’ declaration caused Yukos shares to fall “so far so
        fast . . . that trading had to be halted twice on MICEX.”1205

995. On 13 October 2004, GML’s Tim Osborne reiterated his earlier threat, and said that “[w]hoever
        buys [YNG] is going to be buying themselves a lifetime of litigation.”1206

996. On 29 October 2004, following an audit that began on 23 September 2004, YNG received a tax
        reassessment for transfer pricing violations, in the amount of USD 2.35 billion for the year
        2001.1207 On the same day, following an audit that began on 1 October 2004, the tax authorities
        issued a decision finding YNG liable for a tax offense for the year 2002 in the amount of

1200
       Dresdner Valuation Report, Exh. C-274, ZAO Dresdner Bank Summary Valuation Opinion Letter, 6 October 2004,
       Exh. C-273 (hereinafter “Dresdner Summary Letter”).
1201
       Dresdner Summary Letter, 6 October 2004, p. 6, Exh. C-273.
1202
       Dresdner Valuation Report ¶ 11.2.
1203
       Ibid. ¶ 12.8.
1204
       Resolution of Moscow Court Bailiff D.A. Borisov, 11 October 2004, Exh. C-1160; see Basic Yukos asset valued merely
       at $10.4 billion, RIA Novosti, 12 October 2004, Exh. C-710; Russia to press on with Yukos sell-off, The Financial Times,
       13 October 2004, Exh. C-711; Low valuation for Yukos unit sale, NY Times, 14 October 2004, Exh. C-712.
1205
       Yukos Unit Up for Sale at Discount Price, Moscow Times, 13 October 2004, Exh. R-625. Dresdner, on
       14 October 2004, released, “in the interests of transparency” and “with the permission of the Ministry of Justice,” a
       summary of the valuation report on its own website, including the USD 14.7 to 17.3 billion range Dresdner had
       estimated for YNG post-liabilities. Summary valuation opinion letter on Yuganskneftegaz, Dresdner Bank Corporate
       Website, 14 October 2004, Exh. C-275, with link to Dresdner Summary Letter. Claimants characterize Dresdner’s
       decision to do so as an extraordinary reaction taken to correct the public record. Memorial ¶ 370; Counter-Memorial ¶
       458 & n.686.)
1206
       Yukos Unit Up for Sale at Discount Price, Moscow Times, 13 October 2004, Exh. R-625.
1207
       Repeat Field Tax Audit Report No. 30–03–14/2, 29 October 2004, Exh. C-251; Memorial ¶ 271; Counter-Memorial ¶
       482; Reply ¶¶ 360–61; Rejoinder ¶¶ 959–60. As explained in the First Konnov Report, “under the transfer pricing
       rules, the tax authorities were permitted to substitute the contract price with the market price,” but they “could do this .
       . . only if the market price deviated from the contract price by more than 20%.” First Konnov Report ¶ 87.




                                                             - 326 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 347 of 617




        USD 1.03 billion.1208 A further tax audit on YNG was commenced on 12 October 2004,
        resulting in a tax assessment on 3 December 2004 of USD 1.22 billion for the year 2003.1209
        According to Claimants, these three successive tax assessments over a period of less than five
        weeks on the eve of the YNG auction amounted to double-taxation and were part of the Russian
        Federation’s strategy to depress the auction price of YNG and destroy Yukos.1210

997. By mid-November, Yukos’ settlement proposals were continuing to fall on deaf ears.1211 On
        18 November 2004, the bailiffs announced that YNG would be auctioned and the Ministry of
        Justice appointed the Russian Federal Property Fund to handle the auction.1212 The Russian
        Federal Property Fund issued the formal auction notice the next day and fixed the auction date
        for 19 December 2004.1213 This was a Sunday, and the earliest possible date to hold the auction
        under the relevant regulations.1214 The opening price for 100 percent of the ordinary shares (or
        76.79 percent of YNG’s total share capital) was set at USD 8.65 billion.

998. Yukos applied to the Moscow Arbitrazh Court for a declaration that this decision was unlawful
        and sought interim measures. Both applications were swiftly denied.1215


                (c)    Yukos Tries to Prevent the Auction; Preparations Proceed; an Entity Named
                       Baikal is Created to Purchase YNG

999. On 6 December 2004, Baikal was incorporated in the town of Tver by a sole founder,
        Ms. Valentina Davletgareeva, with capital of USD 359.1216                               A few days later,
                                                                                              1217
        Ms. Davletgareeva sold her stake in Baikal to a company called Makoil.


1208
       Memorial ¶ 271; Decision of Moscow Arbitrazh Court, 25 April 2006, p. 2, Exh. C-255.
1209
       Field Tax Audit Report No. 52/975, 3 December 2004, Exh. C-252; but see Decision of the Moscow Arbitrazh Court,
       21 April 2006, Exh. C-256.
1210
       Claimants’ Post-Hearing Brief ¶¶ 84, 98–100.
1211
       See Chapter VIII.E.
1212
       Resolution of Bailiff I.V. Kochergin to appoint a seller, 18 November 2004, Exh. C-279; Agreement No. 4-UYu/2–
       1/1772–1 between Ministry of Justice and Russian Federal Property Fund, 18 November 2004, Exh. R-623.
1213
       Notice of auction published by the Russian Federal Property Fund, 19 November 2004, Exh. C-280.
1214
       See YNG Auction Regulation (RP11197–221), 18 November 2004, Exh. R-3764.
1215
       Memorial ¶ 382; Ruling of the Moscow Arbitrazh Court, 29 November 2004, Exh. C-283; Resolution of the Federal
       Arbitrazh Court for the Moscow District, 3 May 2005, Exh. C-292; Resolution of Bailiff D.A. Borisov, 31 December
       2004, Exh. C-291.
1216
       Baikalfinancegroup Limited Liability Company, Charter, 2 December 2004, Exh. R-672; Certificate of registration of
       OOO Baikalfinancegroup as a legal entity, 6 December 2004, Exh. C-286.
1217
       Baikalfinancegroup Limited Liability Company, Charter (amended version), 9 December 2004, Exh. R-674.




                                                         - 327 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 348 of 617




1000. On 10 December 2004, the Federal Antimonopoly Service reported that three entities—
        Gazpromneft, ZAO Intercom and OOO First Venture Company—had filed for clearance to
        participate in the auction. While Gazpromneft did eventually register for the auction, the other
        two companies did not.1218

1001. Having failed to convince the Russian courts to prevent the auction from proceeding, Yukos, in
        its own words, sought “to obtain justice”1219 elsewhere. On 13 December 2004, GML posted a
        full-page advertisement entitled “Buyer Beware” in the Financial Times.1220 The next day,
        Yukos filed for Chapter 11 bankruptcy protection in Texas.1221 On 16 December 2004, the U.S.
        court granted Yukos’ request for a TRO enjoining registered and prospective bidders from
        participating in the YNG auction.1222

1002. Meanwhile, on 14 December 2004, Baikal applied for antimonopoly clearance in order to
        participate in the auction.1223 Two days later it registered for the auction and made a deposit of
        USD 1.77 billion.1224 The only other company to register for the auction was State-owned
        Gazpromneft on 16 December 2004.1225 Gazpromneft challenged the TRO on an emergency
        basis on 18 December 2004, but its appeal was denied that night, about ten hours before the
        auction was scheduled to commence in Moscow.1226




1218
       FAS of Russia Received Three Applications to Participate in the Auction for the Sale of Yuganskneftegaz, Press
       Release, 10 December 2004, Exh. R-684.
1219
       Memorial ¶ 383.
1220
       Buyer Beware, Advertisement, Financial Times, 13 December 2004, Exh. R-649.
1221
       In re Yukos Oil Co., U.S. Bankruptcy Court for the Southern District of Texas, Case No. 04–47742–H3–11, Yukos’
       Original Complaint for Injunctive Relief, 14 December 2004, Exh. R-656 (hereinafter “U.S. Bankruptcy Complaint”);
       In re Yukos Oil Co., U.S. Bankruptcy Court for the Southern District of Texas, Case No. 04–47742–H3–11, Yukos’
       Verified Emergency Motion for Temporary Restraining Order and Preliminary Injunction, 14 December 2004, Exh. R-
       629; In re Yukos Oil Co., U.S. Bankruptcy Court for the Southern District of Texas, Case No. 04–47742–H3–11,
       Yukos’ Voluntary Petition, 14 December 2004, Exh. R-658; Yukos-Moscow Limited, Resolution No. 1 of
       Management Board, 10 December 2004, Exh. R-657.
1222
       In re Yukos Oil Co., U.S. Bankruptcy Court for the Southern District of Texas, Case No. 04–47742–H3–11,
       Temporary Restraining Order, 16 December 2004, Exh. C-287.
1223
       Application to Federal Antimonopoly Service regarding approval of acquisition by Baikal Finance (hererinafter
       “Baikal”) of 76.79 percent interest in YNG, 14 December 2004, Exh. R-3793.
1224
       Application to Participate in the Auction for the Sale of Seized Shares in OAO Yuganskneftegaz filed by Baikal
       Finance, 16 December 2004, Exh. R-3805.
1225
       Protocol of the Results of an Auction to Sell Shares in OAO Yuganzkneftegaz, 19 December 2004, Exh. C-290.
1226
       Yukos Oil Co. v. OOO Gazpromneft, U.S. District Court for the Southern District of Texas, Case No. 04cv4756,
       Hearing Minutes and Orders, 18 December 2004, Exh. R-697.




                                                        - 328 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 349 of 617




                (d)    After a 10-Minute Auction, the Successful Bidder Baikal is Sold to State-
                       Owned Rosneft; a “Monumental Bargain”; the “State, Looking After its Own
                       Interests”

1003. The auction of YNG took place on 19 December 2004 at 4:00 p.m. Baikal opened the bidding
        at USD 9.35 billion. Gazpromneft’s representative then asked for a recess and left the room to
        make a call. Upon his return, Baikal was declared the winner with its opening bid. The
        bidding process was over within ten minutes.1227

1004. One press article reported that the Baikal bidders worked for Surgutneftegaz and had “hastily
        departed for vacations abroad as soon as the auction ended.”1228 At a press conference on
        21 December 2004, President Putin was invited to comment on the perception that “a state
        company is in fact behind the organisation Baikal Finance Group” and responded as follows:

                As is well known, the shareholders of this company are all private individuals, but they are
                individuals who have been involved in business in the energy sphere for many years. They
                intend, as far as I am informed, to establish relations with other energy companies in
                Russia which have an interest in their company. And within the framework of current
                legislation, the participants of this process have the right to work with this company after
                the auction is held. For us, it is only important that all these actions, as I already said, are
                within strict accordance with the current legislation of Russia. I hope that this is the way it
                will be. As for the ability of state company to buy these assets, they of course have this
                right, just like other market participants.1229



1005. What was not public knowledge at the time President Putin gave his press conference was the
        fact that, the previous day, the State-owned company Rosneft had sought and obtained
        antimonopoly clearance to acquire Baikal.1230

1006. On 22 December 2004, Rosneft purchased Baikal, before it had paid the balance of the
        purchase price for the YNG shares.1231               Rosneft’s purchase was announced publicly the




1227
       See Protocol of the Results of an Auction to Sell Shares in OAO Yuganzkneftegaz, 19 December 2004, Exh. C-290.
1228
       Yugansk Was Purchased by Surgutneftegaz Employees, OilCapital.ru, 21 December 2004, Exh. R-3789.
1229
       Press Statement and Answers to Questions Following Russian–German Bilateral Consultations, Russian President
       Official Website, 21 December 2004, p. 2, Exh. C-421.
1230
       Rosneft’s request to Federal Antimonopoly Service to approve acquisition of a 100 percent interest in Baikal, 20
       December 2004, Exh. C-1162; Federal Antimonopoly Service’s approval of Rosneft’s acquisition, 20 December 2004,
       Exh. C-1163.
1231
       See Rosneft IPO Prospectus, 14 July 2006, pp. 75–76, Exh. C-380.




                                                         - 329 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 350 of 617




        following day.1232 During another press conference, on 23 December 2004, President Putin
        said:

                Now regarding the acquisition by Rosneft of the well-known asset of the company—I do
                not remember its exact name—is it Baikal Investment Company? Essentially, Rosneft, a
                100% state owned company, has bought the well-known asset Yuganskneftegaz. That is
                the story. In my view, everything was done according to the best market rules. As I have
                said, I think it was at a press conference in Germany, a state-owned company or, rather
                companies with 100% state capital, just as any other market players, have the right to do so
                and, as it emerged, exercised it.
                Now what would I like to say in this context? You all know only too well how the
                privatisation drive was carried out in this country in the early 90s and, how, using all sorts of
                stratagems, some of them in breach even of the then current legislation, many market players
                received state property worth many billions. Today, the state, resorting to absolutely legal
                market mechanisms, is looking after its own interests. I consider this to be quite logical.1233
                                                                                              [emphasis added]


                (e)    Once it is State-Owned, YNG’s Fate Improves, with Reductions in Tax
                       Liabilities and a Dramatic Increase in Value

1007. The Tribunal notes that, as at 31 December 2004, ten days after Baikal purchased YNG for
        USD 9.35 billion, Rosneft stated in its consolidated financial statements that “negative
        goodwill” in the amount of USD 7.052 billion arose in the context of its acquisition of YNG “as
        a result of excess of the net assets measured at fair value, over the purchase price.”1234
        Rosneft’s total revenues increased from USD 5.28 billion in 2004 to USD 23.95 billion in 2005,
        while its net income increased from USD 0.84 billion to USD 4.16 billion over the same
        period.1235    At the time of its IPO in mid-2006, Rosneft’s share capital was USD 79.8
        billion;1236 YNG alone was then valued at USD 55.78 billion.1237 Rosneft itself described the
        YNG acquisition as “the most monumental bargain in Russia’s modern history.”1238

1008. Subsequent to the YNG auction, Yukos continued its efforts to have the sale invalidated in the



1232
       OJSC ‘OC ‘Rosneft’ Buys 100% Share of ‘Baykalfinancegroup’ LLC And Becomes the Owner of Its Assets—76.6%
       Yuganskneftegas Shares, Rosneft Press Release, 23 December 2004, Exh. C-741.
1233
       Press Conference with Russian and Foreign Media, Russian President Official Website, 23 December 2004, p. 4,
       Exh. C-422.
1234
       Rosneft’s Consolidated Financial Statements as of 31 December 2003 and 2004, p. 24, NAV-213.
1235
       Rosneft IPO Prospectus, 14 July 2006, p. 16, Exh. C-380.
1236
       Rosneft Website, p. 16, Exh. C-381.
1237
       Rosneft IPO Prospectus, 14 July 2006, Table 40, Exh. C-380.
1238
       Place in economy of Russia, Rosneft: About company, Rosneft Website, p. 14, Exh. C-381.




                                                         - 330 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 351 of 617




        Russian courts, but all its claims were dismissed.1239

1009. The Tribunal notes with interest that very soon after it was acquired by Rosneft, a significant
        portion of the tax assessments levied against YNG were set aside or vastly reduced by Russian
        courts.1240     According to Mr. Konnov, after YNG contested the assessments, “the court-
        appointed experts who calculated the market prices” found in a number of cases “that the price
        deviation was within the 20% ‘safe harbour’ [for transfer pricing].”1241 As a consequence,
        “large parts of the assessments against YNG were overturned by the courts.”1242 Claimants,
        while not explicitly disputing the “supposed technicality” of the provisions on transfer
        pricing,1243 insist that, given the “scale of the reduction . . . the purported tax reassessments
        against Yuganskneftegaz lacked any credibility in the first place.”1244

1010. As for YNG’s remaining debts, Rosneft, according to Mr. Konnov, as a “strategic company”
        owned by the State and supplying the State with petroleum, was able to “restructure[e]” them
        through a series of negotiations.1245


        3.      Parties’ Arguments and Tribunal’s Observations

1011. The Tribunal now returns to the Parties’ central arguments in respect of the YNG auction which
        it summarized at the outset of this Chapter and will seek to determine whether the events which

1239
       See Memorial ¶ 382 n.578; Resolution of the Federal Arbitrazh Court for the Moscow District, 12 October 2007, Exh.
       C-294.
1240
       On 16 February 2005, the Federal Arbitrazh Court granted YNG’s cassation complaint and referred for re-examination
       YNG’s challenge of the 1999 tax reassessment. Resolution of the Federal Arbitrazh Court for the Moscow District,
       16 February 2005, Exh. C-253; Yugansk’s New Victory, Vedomosti, 11 October 2005, Exh. C-784; but see First
       Konnov Report ¶¶ 86–92. On 10 October 2005, the Moscow Arbitrazh Court found that the 1999 reassessment
       against YNG violated the three-year limitation period under Article 87 of the Russian Tax Code. Decision of the
       Moscow Arbitrazh Court, 12 October 2005, Exh. C-254; Yugansk’s New Victory, Vedomosti, 11 October 2005, Exh.
       C-784. On 16 April 2006, the Moscow Arbitrazh Court reduced YNG’s alleged tax arrears for 2002 by 83 percent and
       the corresponding fines by 89 percent (to USD 760 million). Decision of the Moscow Arbitrazh Court, 25 April 2006,
       Exh. C-255; Rosneft 2005 U.S. GAAP Consolidated Financial Statements, p.59, Exh. C-374. In December 2007,
       having agreed in May–June 2007 that Rosneft was eligible for a tax restructuring process and that the total amounts of
       its tax debts (including that of YNG) could be restructured, the State approved the restructuring of Rosneft’s tax debt,
       allowing for quarterly repayment of outstanding tax over five years, starting in March 2008. Memorial ¶ 283; Rosneft
       2007 U.S. GAAP Consolidated Financial Statements, p. 50, Exh. C-377; Rosneft Management’s Discussion and
       Analysis of Financial Condition and Results of Operations for 2007 and 2006, p. 38, Exh. C-378.
1241
       First Konnov Report ¶ 88.
1242
       Ibid. Mr. Konnov refers to a total of 16 decisions of various courts in this regard, First Konnov Report ¶¶ 88–89
       nn.161–69.
1243
       Reply ¶ 360.
1244
       Ibid. ¶ 361.
1245
       First Konnov Report ¶ 91; Transcript, Day 19 at 30–31.




                                                           - 331 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 352 of 617




        it has traversed are consistent with a genuine attempt by the Russian Federation to collect taxes,
        or whether they disclose that the auction was rigged so as to enable YNG to fall into the hands
        of the State through the veneer of a legitimate process. The Tribunal will review, in turn, (a)
        the fairness of the price achieved at the auction, (b) the role of Baikal and its acquisition by
        Rosneft, and (c) the impact of the YNG auction on the future of Yukos.


                (a)     Did the Auction Price Reflect the True Value of YNG; If not, was Either
                        Party Responsible for the Price Reduction?

1012. The Parties have different views as to whether the sale price of USD 9.35 billion reflected the
        fair value of YNG. Claimants argue that if the purpose of the auction had been to collect
        revenues in order to pay legitimate tax debts, the Russian Federation would have been expected
        to make every effort to maximize the proceeds. Instead, Claimants allege that Russia took steps
        to reduce the price so that it could, via Rosneft, acquire YNG for a derisory amount, and still be
        able to enforce the remaining tax liabilities against other Yukos assets.1246                         Respondent
        maintains that the price for which YNG was acquired was not a “knock down” price but, to the
        extent it was, only Yukos was to blame.1247

1013. Claimants complain that the auction price paid by Baikal represented less than half of the
        enterprise value of YNG, which the Dresdner Valuation Report had assessed to be in the range
        of USD 18.6–21.1 billion.             Respondent answers that other contemporaneous valuations,
        including Morgan Stanley’s, estimated a much lower value (USD 8.9 billion).1248 Respondent
        also recalls that it was necessary to adjust the value of the enterprise to account for the fact that
        only the 76.79 percent stake of Yukos in YNG was being auctioned. Respondent put these
        issues to Dr. Illarionov, when challenging his claim that the price achieved was “well below
        even the most conservative estimates prepared by experts.”1249 Dr. Illarionov admitted that his
        figure of USD 14.7–17.3 billion was based on a full enterprise value that did not take into
        account the tax liabilities.1250 At the end of his cross-examination, however, Dr. Illarionov
        maintained that he did not think “this discount rate of 60% that has been applied by the Russian
1246
       Claimants’ Post-Hearing Brief ¶ 101.
1247
       Respondent’s Closing Sides, pp. 354–65.
1248
       See Dresdner Valuation Report; see also YNG Sale: A Shock and Awe Negotiating Tactic?, Morgan Stanley Equity
       Research Report on Yukos, 22 July 2004, Exh. R-632.
1249
       Illarionov WS ¶ 44; see Transcript, Day 7 at 85–86 (cross-examination of Dr. Illarionov).
1250
       Transcript, Day 7 at 53–56, 77, 80–81 (cross-examination of Dr. Illarionov); but see Transcript, Day 17 at 255–56
       (Claimants’ closing, arguing that the demonstrative charts put to Dr. Illarionov during the cross-examination were not
       entirely accurate).




                                                           - 332 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 353 of 617




        authorities produces a number that [he] would consider . . . a legitimate valuation.”1251

1014. Respondent points out that Dresdner’s valuation did not take into account outstanding tax
        liabilities in the amount of USD 4.6 billion, and that “[i]f this were to be judicially upheld, the
        estimate of net debt and other liabilities would increase by a corresponding amount.”1252
        Claimants reply that these tax liabilities were fabricated by the Russian authorities in the period
        from October to December 2004 in order to depress the price of YNG. The tax liabilities, say
        Claimants, related to transfer pricing and were applied to oil trading revenue that had already
        been re-attributed to Yukos, thus resulting in double taxation.1253 Respondent argues that
        YNG’s transfer pricing issues had arisen over many years and that the allegation of double
        taxation was misconceived. Respondent says the assessments were made in accordance with
        Russian law, since Yukos had forced YNG to sell oil to the trading companies at very low
        prices which exposed it to liability.1254

1015. Claimants also argue that the sale price was affected by the nature and speed of the process
        adopted by the Russian authorities. While it is common ground that the time frame for the
        auction was within the minimum statutory requirements, Claimants recall that the Government
        ignored Dresdner’s recommendation for a two-stage auction process to allow for proper due
        diligence, and its warning that failure to provide access to full information could lead to a
        reduction in the number of potential purchasers and the price they would be willing to pay.1255
        No due diligence was provided beyond a “data room” that consisted of the report itself, auction
        rules and 89 pages of additional documents. Respondent answers that Russian law requires no
        due diligence, that Gazpromneft was still able to undertake a thorough assessment, and that any
        due diligence issue was due to Yukos’ lack of cooperation with Dresdner.1256

1016. The bare minimum time frame meant that the auction was conducted on a Sunday, which
        Dr. Illarionov described as “highly unusual . . . since the Russian Government agencies are
        closed on Saturdays and Sundays.”1257 Respondent’s suggestion at the Hearing that Sunday

1251
       Transcript, Day 7 at 87.
1252
       Dresdner Summary Letter, p. 6.
1253
       Memorial ¶¶ 269–75; Reply ¶ 266.
1254
       Rejoinder ¶¶ 958–60; First Konnov Report ¶¶ 86–92.
1255
       Dresdner Valuation Report ¶¶ 11.2, 12.8.
1256
       Rejoinder ¶¶ 978–81.
1257
       Illarionov WS ¶ 43.




                                                        - 333 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 354 of 617




        was chosen to reduce the impact of Moscow’s traffic was scoffed at by Claimants as
        “absurd.”1258

1017. Claimants conclude that by any measure “the auction process was perfunctory and did not
        involve genuine competition.”1259 Although the auction process complied with the letter of
        Russian legislation,1260 Claimants insist that it is not a defence to an expropriation claim under
        international law that the State complied with its own domestic law.

1018. Respondent accuses Yukos of turning YNG into a “wasting asset”1261 by foisting upon it
        “upstream guarantees”1262 for its loan in favour of Moravel and forcing YNG to borrow USD
        485 million from affiliate Yukos Capital. Respondent adds that Yukos caused YNG to default
        on at least USD 586 million of mineral extraction tax, imperilling its oil licenses. Yukos’ press
        service issued a statement on 11 October 2004 attributing the non-payment of mineral
        extraction tax to YNG’s accounts having been frozen.1263

1019. Respondent alleges that the low turn-out at the auction was attributable to Claimants’ own acts
        of sabotage, namely their “intimidation campaign”1264 and Yukos’ “spurious bankruptcy filing
        in the United States”1265 the purpose of which was to block the YNG auction by targeting both
        the companies that had expressed an interest in bidding as well as their banks.1266 According to
        Respondent, the TRO led banks to withdraw their financing, drove two of the companies that
        had applied for antimonopoly clearance not to register for the auction and resulted in
        Gazpromneft not submitting a bid. Dr. Illarionov was cross-examined about Claimants’ media
        campaigns aimed at warding off prospective bidders from the auction.1267 When he was asked

1258
       Claimants’ Post-Hearing Brief ¶ 104; see Transcript, Day 7 at 137–40.
1259
       Ibid. ¶109.
1260
       A point also noted in the ECtHR Yukos Judgment. See ECtHR Yukos Judgment ¶ 647, Exh. R-3328.
1261
       Rejoinder ¶ 955.
1262
       Ibid. ¶ 966.
1263
       Yuganskneftegaz may lose licenses in three months, RIA Novosti, 11 October 2004, Exh. C-709.
1264
       Rejoinder ¶ 982; see Yukos Says Asset Sale Could Prove Fatal Blow, NY Times, 23 July 2004, Exh. R-648; Buyer
       Beware, Advertisement, Financial Times, 13 December 2004, Exh. R-649.
1265
       Rejoinder ¶ 982.
1266
       See Yukos-Moscow Limited, Resolution No. 1 of Management Board, 10 December 2004, Exh. R-657. In the
       circumstances, the Tribunal wonders why Gazpromneft attended the auction at all, except that two participants were
       required for the auction to proceed.
1267
       Transcript, Day 7 at 90–91; Yukos Says Asset Sale Could Prove Fatal Blow, NY Times, 23 July 2004, p. 3, Exh. R-648
       (quoting Mr. Tim Osborne stating that “[a]nyone that buys those assets [referring to the YNG auction] is buying a
       whole heap of trouble”); Transcript, Day 7 at 98–99; Buyer Beware, Advertisement, Financial Times, 13 December




                                                          - 334 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 355 of 617




        whether these statements likely encouraged or discouraged bidders from participating in the
        auction, he answered that Gazpromneft and Baikal probably “felt very well protected, maybe
        by the Russian Government.”1268

1020. Having considered all of the factors that it has reviewed, the Tribunal concludes that the price
        of USD 9.35 billion which Baikal paid at the auction for the 76.79 percent stake of Yukos in
        YNG was far below the fair value of those shares.

1021. In the opinion of the Tribunal, the imposition during the few weeks prior to the auction of
        massive tax liabilities on YNG (which were cancelled in the months after the acquisition of
        YNG by Rosneft) appear designed specifically to depress the value of YNG. The amount of
        the tax liabilities imposed which were subtracted from the Dresdner valuation cannot be
        justified. In addition, in the view of the Tribunal, the failure by YNG to pay its mineral
        extraction tax was inextricably linked to the asset freeze of Yukos’ cash.

1022. The Tribunal also finds that the Russian authorities deliberately ignored the advice of Dresdner
        that haste in carrying out the auction could decrease the price. The Tribunal notes that the
        Quasar tribunal criticized Respondent’s decision to hold the auction only one month after its
        announcement, and found that “the auction procedure was highly irregular in a number of ways
        that all relate to the extraordinary speed with which it was conducted.”1269

1023. While the Tribunal accepts, as did the RosInvestCo and Quasar tribunals,1270 that the actions of
        Claimants in warding off prospective buyers through a media campaign and the TRO may have
        deterred some potential buyers and may have resulted in a low winning bid,1271 these actions, at


       2004, Exh. R-649; Transcript, Day 7 at 114; Mystery Russian Company Wins Bid on Yukos Unit— Offer of $9.37
       Billion Seals Fate of Beleaguered Firm, But Many Questions Linger, The Wall Street Journal (Europe), 20 December
       2004, p. 3, Exh. C-738 (“Menatep intends to take every action available in order to protect its interest in Yukos”).
1268
       Transcript, Day 7 at 100–01.
1269
       Quasar ¶ 117, Exh. R-3383.
1270
       RosInvestCo ¶ 522, Exh. C-1049 (accepting that “had Claimant not discouraged international bidders and without the
       bankruptcy proceedings in the United States, more bidders might have participated, and that the process seems to have
       been conducted within the limits of discretion awarded by Russian law”); Quasar ¶115, Exh. R-3383 (the tribunal was
       “receptive to the Respondent’s argument that some of the blame associated with the poor turnout and low winning bid
       at the YNG auction should be attributed to the Claimants for their media campaign . . . and for initiating bankruptcy
       proceedings . . . that led to the TRO” and to the “argument that Yukos’ actions reasonably could have deterred
       potential bidders from participating in the YNG auction”) Both tribunals contrasted these findings with their serious
       doubts about the bona fide nature of the auction, stemming largely from the dubious identity of Baikal and the
       circumstances of its acquisition by Rosneft.
1271
       On the other hand, the Tribunal notes that the Russian Justice Minister on 14 October 2004, in a commentary on the
       auction price, is reported to have said that this value “takes into account the ‘high risk to a potential buyer’ of the




                                                           - 335 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 356 of 617




        the end of the day, had no relevant impact on the bankruptcy of Yukos.1272 The circumstances
        surrounding the appearance and disappearance of Baikal make the auction process seem all the
        more questionable to the Tribunal. The Tribunal now turns to these events.


                (b)     Who was Behind Baikal and were They a Front for the Russian State?

1024. In the view of the Tribunal, one of the most opaque facets of the YNG auction is the identity of
        Baikal, the sole and successful bidder at the auction which was acquired by State-owned
        Rosneft three days after its successful bid. Baikal did not exist until less than two weeks before
        the YNG auction. It was obviously a vehicle created solely for the purpose of bidding for YNG
        at the auction. As noted earlier, it was incorporated with capital of USD 359.

1025. During the closing oral arguments, the Chairman told Respondent’s counsel: “you still have to
        convince us that Baikalfinance . . . was not a sham company. That’s your challenge.”1273

1026. Respondent sought to explain that Baikal was a special purpose vehicle established strictly for
        bidding at the auction. Respondent added that “it was well known that those lying behind
        Baikal was [sic] Surgutneftegaz.”1274 Respondent stated that Baikal was represented at the
        auction by two managers of Surgutneftegaz, Mr. Igor Minibayev and Ms. Valentina Komarova.
        Ms. Valentina Davletgareeva, the person who incorporated Baikal, was also connected to
        companies affiliated with Surgutneftegaz. According to Counsel for Respondent, she sold 100
        percent of her interest in Baikal to Makoil, a company owned in part by a secretary to the Board
        of Surgutneftegaz.1275         Accordingly, Respondent submits that “all of those who had a
        connection to the company in a formal manner or who were identified with it can be identified
        as having significant positions or relationships with respect to Surgutneftegaz.”1276 Baikal’s
        Tver office was close to a subsidiary of Surgutneftegaz, which in turn was located directly
        across the river from YNG.1277              In addition, there had been reports in the media since



       Yukos asset.” In the Yukos Saga, Yet Another Gloomy Chapter, The Wall Street Journal (Europe), 14 October 2004,
       Exh. C-713.
1272
       See Chapter X.E at paragraph 1625.
1273
       Transcript, Day 19 at 33.
1274
       Transcript, Day 21 at 151; Rejoinder ¶¶ 36, 1002, 1007.
1275
       Rejoinder ¶ 1002 nn.1690–91.
1276
       Transcript, Day 21 at 151; Respondent’s Closing Slides, pp. 772–80.
1277
       See Transcript, Day 21 at 151, Respondent’s Closing Sides, pp. 782, 790.




                                                          - 336 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 357 of 617




        September 2004 that Surgutneftegaz was interested in the auction.1278

1027. Claimants insist that, even accepting Respondent’s theory that Baikal was a front for
        Surgutneftegaz, the “facts in the record . . . compel the conclusion that Baikal served the
        interests of the State, and any involvement of Surgut, a company known to be ‘friendly with the
        Kremlin’, was solely to mask the State’s involvement.”1279

1028. The fact that Baikal was incorporated only a few weeks before the auction and had the
        minimum-required capital is, according to Respondent, irrelevant. The other three entities who
        had antimonopoly clearance for the auction were also relatively new companies with little
        capital. Respondent alleged that Baikal paid the USD 1.77 billion deposit itself after having
        received the financing from a third party.1280 Respondent submitted that Surgutneftegaz had
        sufficient resources to enable Baikal Finance to pay the deposit, but not the full purchase price
        without recourse to international capital markets.1281 Respondent’s theory is that such financing
        was foreclosed on the day of the auction by the TRO, leaving Baikal (and Surgutneftegaz) with
        a stark choice of defaulting on the obligation to pay the balance, and lose the USD 1.77 billion
        deposit, or find someone else to buy the asset.1282 On the other hand, Respondent’s counsel
        agreed that the transaction “turned out to be very productive for Rosneft; there’s no question
        about it.”1283

1029. Claimants contend that the nature and speed of events that followed the auction cannot be
        reconciled with Respondent’s suggestion that Rosneft’s acquisition of Baikal was entirely
        fortuitous and unplanned. On 20 December 2004, the day after the auction, they point out that
        Rosneft sought and obtained, in less than a day, antimonopoly clearance to acquire Baikal.1284
        Respondent’s attempts to explain these events by pointing out that Rosneft and the authorities


1278
       Surgut drops first hint of interest in Yukos assets, AFP, 28 September 2004, Exh. C-704 (stating that “President
       Vladimir Putin and his entourage of secret service agents and Soviet era officials would be delighted with the
       transaction”).
1279
       Claimants’ Post-Hearing Brief ¶ 110 (footnote omitted).
1280
       Transcript, Day 19 at 34.
1281
       Transcript, Day 19 at 34–35.
1282
       Transcript, Day 19 at 34–35, 43.
1283
       Transcript, Day 19 at 35.
1284
       Rosneft’s request to Federal Antimonopoly Service to approve acquisition of a 100 percent interest in Baikal, 20
       December 2004, Exh. C-1162; Federal Antimonopoly Service’s approval of Rosneft’s acquisition of a 100 percent
       interest in Baikal, 20 December 2004, Exh. C-1163; Federal Antimonopoly Service’s instructions with respect to
       Rosneft’s acquisition of a 100 percent interest in Baikal, 20 December 2004, Exh. C-1164.




                                                          - 337 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 358 of 617




        were familiar with such filings confirm, according to Claimants, that the authorities did not
        perform even a perfunctory review of the 13-page application and its 98 pages of
        attachments.1285

1030. Claimants also refer to the fact that Rosneft filed for antimonopoly clearance on a Monday, the
        day after the auction. Thus, Respondent’s allegation that Surgutneftegaz was obliged to sell
        “the bid” because the TRO prevented it from accessing financing rings hollow since
        Surgutneftegaz would have needed to seek and be denied financing by every commercial bank
        on the Sunday of the auction. Claimants ask whether Baikal would have risked a deposit of
        USD 1.77 billion by making a bid without first having financing in place.1286

1031. Respondent claims Rosneft had no ownership interest in Baikal prior to the auction, and that
        Rosneft put together a finance package for the purchase of Baikal after the auction, on an
        emergency basis, and, in so doing, even breached covenants related to its prior borrowings.

1032. When Rosneft completed the acquisition of YNG on 22 December 2004, using funds borrowed
        from State-owned banks, the transaction was described in the Russian Press as “the State
        budget via a State bank help[ing] a State company acquire from the State a very profitable
        asset.”1287 Claimants urge the Tribunal to reach the “inescapable conclusion”1288 that it was
        determined in advance that Rosneft would acquire YNG, and that the elaborate sham involving
        Baikal was set up to mask the State’s involvement and thus reduce legal risks.

1033. Claimants also submit that the events after the auction speak for themselves. YNG’s tax debts
        were reduced from USD 4 billion to less than a billion. In addition, after having filed claims by
        YNG of almost USD 10 billion in Yukos’ bankruptcy, the net cost to Rosneft for the purchase
        of Yukos’ jewel was, according to Claimants, less than USD 3 billion. Thus, bearing in mind
        that in 2006 Rosneft’s IPO valued YNG at USD 55.78 billion, Rosneft’s description of the




1285
       Rejoinder ¶ 1004 & n.1698; see Approval of the Federal Antimonopoly Service regarding the acquisition by Baikal
       Finance of a 76.79 percent interest in YNG, 15 December 2004, Exh. R-3813; Order of the Federal Antimonopoly
       Service regarding the acquisition by Baikal Finance of 76.79 percent interest in YNG, 15 December 2004, Exh. R-
       3814.
1286
       Claimants’ Post-Hearing Brief ¶ 112.
1287
       From the Editors: The State Whirligig, Vedomosti, 15 August 2005, Exh. C-764.
1288
       Claimants’ Post-Hearing Brief ¶ 113.




                                                        - 338 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 359 of 617




        transaction as “the most monumental bargain in Russia’s modern history” was, conclude
        Claimants, an understatement.1289

1034. The Tribunal notes that the RosInvestCo tribunal in reaching its conclusion that the auction was
        rigged observed that “the winning bidder was a completely unknown company just created
        before the auction and disappearing right after the auction and assigning its interests to
        Ru[ss]ian state-owned Rosneft.”1290 To the RosInvestCo tribunal, “[t]he circumstances that this
        bidder was further found to have no real offices and nevertheless was able to raise the deposit
        in the range of US$ 1.7 billion and then the purchase price with the apparent help of Rosneft
        further contribute to the impression that the scheme was set up under the control of respondent
        to bring Yukos’ assets under Respondent’s control.”1291

1035. The identity of Baikal was also of “[p]aramount”1292 concern for the Quasar tribunal, which
        described its unease with the circumstances of Baikal’s purchase as follows:

                an unknown entity, placed a $9.3 billion, uncontested winning bid for YNG, the largest oil
                production company in Russia, and was then acquired a mere three days later by state-
                owned Rosneft, even before payment of the purchase price was due. . . . The Respondent’s
                argument . . . to the effect that [the] YNG auction was of a public nature, and that [Baikal]
                bid $500 million above the starting price, are insufficient to remove the suspicion of
                collusion, particularly when [Baikal] was quickly taken over by Rosneft before payment of
                the purchase price was due.1293

1036. Having assessed the evidence with respect to the identity and role of Baikal, and the timing and
        nature of Rosneft’s acquisition of that company, this Tribunal agrees with the conclusions of
        the RosInvestCo and Quasar tribunals that the YNG auction was rigged.

1037. The additional evidence placed before this Tribunal connecting Baikal to Surgutneftegez does
        not erase the suspicion that Baikal was created by instruments of Respondent in order to
        facilitate the acquisition of YNG by State-owned Rosneft. The statement by Rosneft that the
        purchase was a “monumental bargain”, the remarks by President Putin acknowledging that the




1289
       Ibid. ¶ 114; see “Place in economy of Russia, Rosneft: About company,” Rosneft Website, p. 14, Exh. C-381.
1290
       RosInvestCo ¶ 523, Exh. C-1049.
1291
       Ibid.
1292
       Quasar ¶ 118, Exh. R-3383.
1293
       Ibid.




                                                         - 339 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 360 of 617




        State had looked after the State’s interest 1294 by increasing its reserves, and the good fortunes of
        YNG once it was in the hands of a State-owned company all support the Tribunal’s conclusion
        that the auction of YNG was not driven by motives of tax collection but by the desire of the
        State to acquire Yukos’ most valuable asset and bankrupt Yukos. In short, it was in effect a
        devious and calculated expropriation by Respondent of YNG.


                (c)    What were Yukos’ Prospects for Survival Once it Lost its Core Asset?

1038. While the legal implications of the YNG auction will be discussed in Part X of the Award, the
        Tribunal will set out briefly Claimants’ factual allegations that the sale of YNG dealt a “fatal
        blow” to the survival prospects of Yukos.1295 Was the sale of YNG the point of no return for
        the survival of Yukos? On the basis of the totality of the evidence and, in particular, the
        testimony of Messrs. Misamore and Theede and Dr. Illarionov, the Tribunal answers that
        question in the affirmative.

1039. Mr. Misamore testified that with the auction of YNG, “Yukos lost over 60% of its total
        production capacity.”         This “meant a massive downsizing of the company’s activities.”
        Mr. Misamore hoped it “was not the end of the company,” and Yukos started 2005 on the basis
        that it would carry on operations on a smaller scale with the remaining production assets and
        refineries. However, “it soon became evident there was little that Yukos’ management could
        do to protect the company’s Russian assets. Despite our best efforts to challenge the tax
        reassessments, the Russian courts were biased against us. Bankruptcy proceedings in Russia
        were increasingly likely and the Yuganskneftegaz auction had highlighted the real risk that
        company assets would be transferred to State-owned entities at substantial undervalue.”1296

1040. Mr. Theede considered the announcement of the auction as the point in time when “the die was
        finally cast” for Yukos. The auction put an end to settlement discussions with the Russian
        Government. He considered the sale of YNG at a “grossly undervalued price through a sham




1294
       Press Statement and Answers to Questions Following Russian–German Bilateral Consultations, Russian President
       Official Website, 21 December 2004, p. 2, Exh. C-421; Press Conference with Russian and Foreign Media, Russian
       President Official Website, 23 December 2004, p. 4, Exh. C-422.
1295
       ECtHR Yukos Judgment ¶ 653; Yukos Says Asset Sale Could Prove Fatal Blow, NY Times, 23 July 2004, Exh. R-648;
       Moscow set to seize huge Yukos oil division—Investors may lose everything in tax fight, analysts warn, International
       Herald Tribune, 21 July 2004, Exh. C-698.
1296
       Misamore WS ¶¶ 58–59.




                                                         - 340 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 361 of 617




        auction” to be a “clear theft by the Russian State,” which became all the more obvious in the
        context of the IPO by Rosneft in July 2006.1297

1041. Dr. Illarionov described the confiscation of YNG as the “culminating point of th[e] attack” on
        Yukos, following which the Russian authorities took no further steps to satisfy Yukos’ alleged
        tax debts. Such conduct was inconsistent with a genuine attempt to collect taxes.1298

1042. At the time, Claimant YUL and its subsidiaries (including Hulley), as majority shareholders of
        Yukos, acknowledged that they had “lost the power to govern the financial and operating
        policies of Yukos so as to obtain benefits from its activities.”1299 It was noted in the 2004
        Annual Report for YUL that Yukos had become “incapable of operating as a business as
        evidenced by the forced sale of [YNG].”1300

1043. The effect of the auction on Yukos’ prospects did not escape the attention of the ECtHR, which
        acknowledged that YNG had been Yukos’ “only hope of survival.”1301 It was “rather obvious”
        to the ECtHR that the choice of YNG as the first Yukos asset to be auctioned to satisfy Yukos’
        tax debts was “capable of dealing a fatal blow to its ability to survive the tax claims and to
        continue its existence.”1302 This Tribunal agrees. This Tribunal also agrees with the Quasar
        tribunal’s characterization of the seizure of YNG as an extreme measure capable of “drastic”
        consequences for Yukos.1303

1044. Those “drastic” consequences will be important for the Tribunal’s determination of an
        appropriate valuation date for purposes of calculating damages.                             The dim prospects of
        resuscitation of Yukos after the “fatal blow” of the YNG auction are discussed in the next
        chapter on Bankruptcy.



1297
       Theede WS ¶ 25–27 (evoking the Rosneft IPO as a moment “where Rosneft was valued at approximately US $ 80
       billion, with YNG accounting for 70% of its crude oil production”).
1298
       Illarionov WS ¶¶ 42–43.
1299
       YUL (and its subsidiaries), Annual Report and Consolidated Financial Statements for the Year Ended 31 December
       2004, p. 2, Exh. R-4229. Deloitte, auditors of YUL, in their report on the financial statements, after referring to the
       auction of YNG, wrote: “These events indicate a material uncertainty which may cast significant doubt on Yukos’s
       ability to continue as a going concern and therefore it may be unable to realize its assets and discharge its liabilities in
       the normal course of business.” Ibid. at 3.
1300
       Ibid. at 2.
1301
       ECtHR Yukos Judgment ¶ 654.
1302
       Ibid. ¶ 653.
1303
       Quasar ¶ 116, Exh. R-3383.




                                                             - 341 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 362 of 617




G.      THE BANKRUPTCY OF YUKOS

        1.      Introduction

1045. Claimants’ case is that Yukos’ bankruptcy, announced by the Moscow Arbitrazh Court on
        4 August 2006 and followed by the removal of Yukos from the companies’ register on
        21 November 2007, was the “final act of the destruction of the Company by the Russian
        Federation and the expropriation of its assets for the sole benefit of the Russian State and State-
        owned companies Rosneft and Gazprom.”1304 Claimants allege that Respondent “instigated” a
        syndicate of western banks led by Société Générale (the “Western Banks”)1305 to commence
        bankruptcy proceedings against Yukos based on Yukos’ default under a loan agreement
        concluded between Yukos and the Western Banks for the purposes of funding the Sibneft
        merger.1306 Claimants contend that Respondent ensured, through the initiation of bankruptcy
        proceedings and discriminatory treatment of bankruptcy claims, that the Russian State and
        Rosneft would hold over 97 percent of the alleged claims against Yukos in the bankruptcy.1307
        Having made certain that Yukos’ proposed Rehabilitation Plan would be rejected at the general
        creditors’ meeting, the Russian Federation completed its expropriation scheme by auctioning
        Yukos’ remaining assets. Through the bankruptcy and liquidation of Yukos, the Russian State
        directly received more than 60.5 percent of the bankruptcy proceeds and, indirectly, through
        Rosneft, received more than 39.21 percent of the bankruptcy proceeds and all of Yukos’ main
        production assets.

1046. Respondent denies all allegations of impropriety or bias in relation to the bankruptcy
        proceedings. Moreover, Respondent argues that the bankruptcy proceedings are irrelevant to
        the Tribunal’s determination because the conduct that directly caused Yukos’ liquidation—the
        initiation of Yukos’ bankruptcy and the vote to liquidate Yukos—is either not attributable to
        Respondent or not an exercise of its sovereign power.                   Respondent’s case is that “the
        insolvency of the Yukos holding company was the consequence of the Oligarchs’ and Yukos’
        management’s disastrous strategy of tax evasion, resistance to and obstruction of the collection
1304
       Memorial ¶¶ 411–13.
1305
       The Western Banks included BNP Paribas S.A., Citibank N.A., Commerzbank Akziengesellschaft, Calyon S.A.,
       Deutsche Bank A.G., Hillside Apex Fund Limited, ING Bank N.V., KBC Bank N.V., Société Générale S.A., Stark
       Trading, Shepherd Investments International Limited, Thames River Traditional Funds PLC (High Income Fund), UFJ
       (Holland) N.V., and V.R. Global Partners L.P.
1306
       Presumably for the $3 billion Share Purchase of 20 percent of Sibneft shares. See Yukos, YukosSibneft, Greater
       Opportunities to Build Value, Presentation of 8 October 2003, Exh. C-42.
1307
       Claimant’s Post-Hearing Brief ¶ 126; Memorial ¶ 439; Reply ¶ 412.




                                                        - 342 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 363 of 617




        of overdue taxes, self imposition of massive non-tax and intercompany liabilities on the
        company, and failure to draw on Yukos’ ample offshore assets.”1308


        2.      Chronology

                (a)    The Initiation of the Bankruptcy

1047. The initiation of bankruptcy proceedings against Yukos is inextricably tied up in the history of
        two loans connected with the Sibneft merger, one from the Western Banks (“A Loan”) and the
        other from Société Générale (“B Loan”). It is therefore important to review the key facts
        relating to each of those loans.

1048. For purposes of funding the Sibneft merger, Yukos entered into two loan agreements. The
        A Loan consisted of USD 1 billion borrowed by Yukos from the Western Banks, which was
        secured by certain of Yukos’ oil export contracts and by YNG. This loan was entered into on
        24 September 2003.1309

1049. The B Loan consisted of USD 1.6 billion borrowed by Yukos from Société Générale, which
        was fully collateralized in cash by GML, Yukos’ ultimate parent company. This loan was
        entered into on 30 September 2003.1310

1050. On 3 October 2003, Société Générale drew on the collateral under the B Loan, making GML
        the lender. GML’s rights were then assigned to Moravel, which was GML’s wholly-owned
        indirect subsidiary in Cyprus.1311

1051. On 30 June 2004, an appeal panel of the Moscow Arbitrazh Court issued an enforcement writ
        against Yukos for payment of the taxes assessed for the year 2000.                            Following this
        development, the Western Banks notified Yukos that they would not demand immediate




1308
       Counter-Memorial ¶ 445.
1309
       Memorial ¶ 374, Guarantee between YNG and Société Générale, 24 May 2004, Exh. R-581.
1310
       B Loan Agreement, 30 September 2003, Exh. R-468.
1311
       Yukos Oil Company Arranges 1.6 Billion Loan, Yukos Press Release, 6 October 2003, Exh. C-653; Respondent’s Closing
       Slides, p. 381; Memorial ¶¶ 441–44; Counter-Memorial ¶¶ 548, 578, 1531–33; Rejoinder ¶¶ 1054–56, 1136–37.




                                                         - 343 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 364 of 617




        payment, but would instead rely on the security supporting the A Loan, namely payments
        through the proceeds of export sales of crude oil.1312

1052. Soon after, however, as described in the previous chapter, the tax authorities seized and
        auctioned YNG, depriving Yukos of its primary oil producing asset. Claimants contend that
        when YNG was taken from Yukos in December 2004, YNG stopped shipping oil under the
        export contracts and “[i]t was thus the actions of the Russian Federation, not Yukos, which
        obstructed the payment of [the A Loan].”1313

1053. Since Yukos ceased making payments under the A Loan, the Western Banks brought a claim
        against Yukos for approximately USD 472.8 million, plus interest under the A Loan. The claim
        was recognized by the High Court of England and Wales on 24 June 2005 (“English
        Judgment”).1314 Respondent contends that, by this time, Yukos had already paid Moravel over
        USD 1 billion under the B Loan, and thus had more than enough cash to have repaid the
        Western Banks in full under the A Loan.

1054. During this same time period, Yukos management implemented two restructurings that
        transferred Yukos’ non-Russian assets, previously held through Yukos’ wholly-owned Dutch
        and       Armenian    subsidiaries     Yukos     Finance and         Yukos CIS          into   two    “stichting
        administratiekantoor”.

1055. A stichting is a Dutch “foundation.”1315 It does not have members or shareholders. All
        management powers are vested in a board of directors, subject only to the stichting’s articles of
        association and Dutch law.1316 In the case of a stichting administratiekantoor or “foundation
        trust,” the stichting issues depository receipts for shares in exchange for shares transferred to
        it.1317    This trust-like structure separates legal ownership and beneficial ownership:                       the




1312
       Appeal Resolution of the Moscow Arbitrazh Court, 29 June 2004, Exh. C-121; Enforcement Writ No. 383729 of
       30 June 2004, Exh. C-122; Claimant’s Post-Hearing Brief ¶ 118.
1313
       Claimant’s Post-Hearing Brief ¶ 118.
1314
       BNP Paribas v. Yukos Oil Company, High Court of England and Wales, Judgment, 24 June 2005, Exh. R-455
       (hereinafter “English Judgment”).
1315
       Dutch Civil Code (Burgerlijk Wetboek) art. 285(2), Exh. R-709; Counter-Memorial ¶ 528.
1316
       C. Asser, Handleiding tot de beoefening van het Nederlands Burgerlijk Recht (W.E.J. Tjeenk Willink, 1997) ¶ 475,
       Exh. R-723; ¶¶ 480, 484, Exh. R-724.
1317
       C. Asser, Handleiding tot de beoefening van het Nederlands Burgerlijk Recht (Kluwer, 2009) ¶ 658, Exh. R-725.




                                                         - 344 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 365 of 617




        stichting is the legal owner of the shares and the holder of the depositary receipts for shares is
        the beneficial owner of the shares.1318

1056. The first restructuring took place in April 2005 and consisted in the transfer of all of the assets
        of Yukos Finance to Yukos International U.K. B.V. (“Yukos International”), a wholly-owned
        Dutch subsidiary of Yukos Finance, and the subsequent transfer of Yukos Finance’s shares in
        Yukos International to Stichting 1in exchange for depositary receipts for those shares.1319

1057. The second restructuring took place in September 2005 and consisted in the transfer of all the
        shares owned by Yukos CIS in Yukos Hydrocarbons Investments Limited (“YHIL”) to
        Wincanton, a Dutch company; and the subsequent transfer of all of Wincanton’s shares in
        YHIL to Small World Telecommunication Holding B.V. (“Small World”),1320 another Dutch
        company wholly-owned by Wincanton. Finally, Wincanton’s shares in Small World were
        transferred to Stichting 21321 in exchange for depositary receipts for those shares.1322

1058. The members of the Stichtings’ boards are former managers of Yukos and individuals close to
        Yukos.1323 The Stichtings hold “substantial value”1324 and remain in place today.

1059. Articles 2.2 and 2.3 of the original Articles of Association of the Stichtings provide:

                2. The Foundation will exercise the rights attached to the shares in such a way as to
                guarantee to the best of its ability, whether or not by conducting court proceedings, the
                interests of the Company and the other, direct or indirect, subsidiaries of Yukos Oil
                Company (the “Parent Company”), which jointly constitute the group of which the
                Company forms a part (the “Group”), the management, executive staff and employees of
                the Group, the Group’s legitimate creditors (including creditors with undisputed claims)
                and all other acknowledged stakeholders of the Group.


1318
       Ibid.
1319
       Counter-Memorial ¶ 529; Articles of Association of Stichting Administratiekantoor Yukos International (hereinafter
       “Stichting 1”), 14 April 2005, Exh. C-1181.
1320
       Small World Telecommunication Holding B.V. later changed its name to Financial Performance Holdings B.V.
       Counter-Memorial ¶ 530; see also Article 2.1 of the Articles of Association, Stichting Administratiekantoor Small
       World Telecommunications Holdings B.V. (hereinafter “Stichting 2”), 20 June 2006, Exh. R-712.
1321
       Stichting 2 later changed its name to Stichting Administratiekantoor Financial Performance Holdings. See Counter-
       Memorial ¶ 530.
1322
       Counter-Memorial ¶ 530; Articles of Association of Stichting 2, 26 September 2005, Exh. C-1182.
1323
       Counter-Memorial ¶ 532; Minutes of the Yukos Board of Directors Executive Committee, 26 October 2005,
       Exh. R-716; Transcript, Day 9 at 232 (cross-examination of Mr. Misamore).
1324
       Respondent’s Post-Hearing Brief ¶ 120; Transcript, Day 9 at 233–34 (cross-examination of Mr. Misamore) (asserting
       that the maximum value held by Stichting 1 was USD 1.8 billion in 2006, and the maximum value held by Stichting 2
       was around USD 500 million as of the date of the Hearing); Counter-Memorial ¶ 536.




                                                         - 345 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 366 of 617




                3. Excluded from the Foundation’s objects are the exercising of rights attached to the
                shares as a result of or in the implementation of an unlawful claim, judgment or
                transaction, including but not limited to those resulting from or related to the tax
                assessments imposed on Yukos Oil Company and members of the Group in the Russian
                Federation on or after the fourteenth of April two thousand and four, specifically including,
                but without prejudice to the above, any claim against, transfer of, sale of, revendication of,
                attachment judgment in respect of, allocation of or other applicability to, or expropriation
                of the shares, assets or other property of, or other imposition of charges on Yukos Oil
                Company and any part of the Group.1325

1060. Respondent asserts that the Stichtings were used to insulate assets from the reach of the
        Western Banks. Respondent puts particular emphasis on proceedings in Dutch courts, where
        the Western Banks attempted to enforce the English Judgment.1326 On 15 July 2005, the
        Western Banks petitioned the District Court of Amsterdam to enforce the English Judgment,
        and to issue a judgment permitting the sale and transfer of Yukos’ share interest in Yukos
        Finance.1327 The Western Banks informed the court that the creation of the Stichtings had
        rendered Yukos’ shares in Yukos Finance, over which the Western Banks had obtained a
        prejudgment attachment, “worthless” and “more or less unsellable.”1328 Respondent asserts that
        the Western Banks’ failure to enforce the English Judgment in the Netherlands was “the death
        knell of Yukos’ pretense of cooperation in its negotiations with the syndicate.”1329

1061. Back in Russia, on 22 September 2005, the bailiff adopted a resolution to seize all of Yukos’
        assets.1330

1062. The Western Banks proceeded to seek to enforce the English Judgment against Yukos in
        Russia. The Western Banks succeeded in the first instance, before the Moscow Arbitrazh
        Court, but the Court’s favourable ruling (issued on 28 September 2005) was reversed on
        “procedural” grounds by the Federal Arbitrazh Court for the Moscow District on 5 December
        2005.




1325
       Articles of Association of Stichting 1, 14 April 2005, Exh. C-1181; Articles of Association of Stichting 2,
       26 September 2005, Exh. C-1182.
1326
       Rejoinder ¶¶ 1073–75; English Judgment, Exh. R-455.
1327
       Rejoinder ¶ 1076; BNP Paribas S.A. et al. v. OAO Yukos Oil Company et al., Decision of the District Court of
       Amsterdam, 29 September 2005 ¶ 2.1, Exh R-756.
1328
       BNP Paribas S.A. et al. v. OAO Yukos Oil Company et al., Decision of the District Court. of Amsterdam,
       29 September 2005 ¶ 2.3, Exh R-756.
1329
       Rejoinder ¶ 1083.
1330
       Resolution of Bailiff A.V. Reydik, 22 September 2005, Exh. C-301.




                                                        - 346 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 367 of 617




1063. Following the unfavourable decision by the Federal Arbitrazh Court for the Moscow District,
        the Western Banks entered into a confidential sale agreement with Rosneft (“Confidential Sale
        Agreement”).1331

1064. Pursuant to this Confidential Sale Agreement, Rosneft agreed to satisfy the outstanding debt
        owed by Yukos to the Western Banks (the outstanding principal being at the time
        USD 455,124,215.03), in exchange for the assignment of the banks’ rights of claim against
        Yukos under the A Loan to Rosneft.1332

1065. Significantly, the payment of the purchase price by Rosneft was predicated upon the Western
        Banks agreeing to take the steps described in Schedule 8 of the Confidential Sale Agreement,
        entitled “Application For Bankruptcy.” Schedule 8 sets out the Western Banks’ obligations
        under three steps: “1. Proceedings on recognition and enforcement of the English Judgment in
        Russia (the ‘Enforcement Case’)”; “2. Execution proceedings against the Borrower
        [i.e., Yukos] (based on the Enforcement Case) (the ‘Execution Proceedings’)”; and
        “3. Bankruptcy proceedings against the Borrower.1333

1066. Following the conclusion of the Confidential Sale Agreement between the Western Banks and
        Rosneft, the enforcement of the A Loan was back before the Russian courts. On 21 December
        2005, the Moscow Arbitrazh Court formally recognized the English Judgment against Yukos in
        favour of the Western Banks and issued a writ of enforcement with respect to the judgment.

1067. On 29 December 2005, the Western Banks submitted the enforcement writ to the bailiffs, who
        then initiated enforcement proceedings to recover from Yukos the amounts ordered under the
        English Judgment, namely USD 455,124,214.99 in principal and USD 9,459,143.18 in interest.
        These enforcement proceedings failed. Claimants assert that they were bound to fail due to the
        seizure of Yukos’ assets, which had been imposed since July 2004.

1068. The order of the Moscow Arbitrazh Court that recognized the English Judgment was
        challenged by Yukos, and upheld by the Federal Arbitrazh Court of the Moscow District. In its
        decision of 2 March 2006, the Federal Arbitrazh Court reasoned as follows:


1331
       Sale Agreement Relating To Certain Rights And Benefits Arising Under A Credit Agreement dated 24 September
       2003 Between, Amongst Others, “Yukos Oil Company” and Société Générale SA, 13 December 2005, Exh. C-300
       (hereinafter “Confidential Sale Agreement”).
1332
       Ibid, p. 4.
1333
       Ibid., pp. 37–38.




                                                     - 347 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 368 of 617




                When re-examining the case, the Court did comply with the directions given by the
                cassation Resolution of December 5, 2005. The Court fully and comprehensively reviewed
                the circumstances of the case. Its conclusions on the application of legal rules are
                consistent with the established circumstances and evidence in the case.1334

1069. On 6 March 2006, the Western Banks petitioned the Moscow Arbitrazh Court to declare Yukos
        bankrupt.1335

1070. In an undated letter, Mr. Theede wrote in mid-March to the bailiffs requesting that the
        authorities “immediately release Company property from the freezing order in an amount
        sufficient to satisfy” the debt owed to the A Loan lenders, and thus avert the commencement of
        the bankruptcy proceedings.1336

1071. On 14 March 2006, consistent with the terms of the Confidential Sale Agreement, Rosneft paid
        the Western Banks the full outstanding amount of the A Loan; in exchange, the Western Banks
        assigned their rights of claim to Rosneft.1337

1072. On 24 March 2006, YNG—by then a subsidiary of Rosneft—filed a separate and parallel
        petition against Yukos before the Moscow Arbitrazh Court to declare Yukos bankrupt.1338

1073. According to Respondent, the YNG petition was based on a judgment in respect of
        transportation services provided while Yukos owned YNG in January through March 2004,
        under a January 2003 contract.1339

1074. The YNG petition was formally granted on 27 March 2006.1340 Since Russian law does not
        allow separate bankruptcy proceedings against one company, YNG’s claim was joined to the
        bankruptcy proceedings initiated by the Western Banks.1341



1334
       Resolution of the Federal Arbitrazh Court for the Moscow District, 2 March 2006, p. 4, Exh. C-302.
1335
       Banks’ Petition to Declare Yukos Bankrupt Filed with the Moscow Arbitrazh Court, 6 March 2006, Exh. R-3885;
       Creditors Petition Russian Court to Declare Yukos Bankrupt, World Markets Analysis, 13 March 2006, Exh. R-3882.
1336
       Letter from Yukos’ President S. Theede to the Head of the Interdistrict Department for Special Enforcement
       Proceedings of the Chief Directorate of the Federal Bailiffs Service for Moscow V.A. Savostov (undated), p. 3,
       Exh. C-1180; Claimant’s Post-Hearing Brief ¶ 125.
1337
       Ruling of the Moscow Arbitrazh Court, 28 March 2006, p. 3, Exh. C-307; Memorial ¶ 425; Claimants’ Skeleton ¶ 47.
1338
       Memorial ¶ 427; Counter-Memorial ¶ 561; Ruling of the Moscow Arbitrazh Court, 27 March 2006, p. 1, Exh. C-305.
1339
       Rejoinder ¶ 1098.
1340
       Ruling of the Moscow Arbitrazh Court, 27 March 2006, p.1, Exh. C-305.
1341
       Register of Yukos Creditors’ Claims, 30 October 2007 (Claim No. 2), p. 34, and (Claim No. 3), p. 109, Exh. C-353.




                                                           - 348 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 369 of 617




1075. On 28 March 2006, the Moscow Arbitrazh Court ordered the commencement of bankruptcy
        proceedings, placed Yukos under supervision, appointed Mr. Rebgun as interim administrator,
        and formally substituted Rosneft for the Western Banks as creditor.1342

1076. The Tribunal recalls that around that time Mr. Theede appointed Mr. Aleksanyan to represent
        Yukos in connection with the bankruptcy proceedings, but that within days of his appointment,
        Mr. Aleksanyan was arrested on 6 April 2006 at his house by masked and armed men on
        charges of money laundering and embezzlement allegedly committed when he was head of
        Yukos’ legal department.1343


                (b)     The Treatment of Bankruptcy Claims; the Creditors’ Meeting; the
                        Declaration of Yukos’ Bankruptcy

1077. In accordance with Russian bankruptcy law, it was for Mr. Rebgun, as interim administrator of
        Yukos, to convene a first meeting of Yukos’ creditors. At that meeting, Yukos’ creditors
        would, under the options available under Russian Bankruptcy Law, vote either in favour of a
        Rehabilitation Plan proposed by Yukos or for the alternative of a liquidation of Yukos.

1078. In anticipation of these steps, on 1 June 2006, Yukos convened an extraordinary general
        shareholders’ meeting and approved, by majority vote, the Rehabilitation Plan proposed by
        Yukos’ management.1344 Also, the shareholders appointed Mr. Osborne as their representative
        in the bankruptcy proceedings.

1079. Claimants’ Rehabilitation Plan was based on, inter alia:1345

              i)      The remaining assets valued at USD 31 billion exceeding the USD 29.5 billion in
                      tax claims filed with Mr. Rebgun;

              ii)     a two year program to pay off the claims in bankruptcy;


1342
       Rulings of the Moscow Arbitrazh Court, 28 March 2006, Exh. C-306 and Exh. C-307.
1343
       Top Yukos official Aleksanyan detained in Moscow, RIA Novosti, 6 April 2006, Exh. C-796; Arrest of Yukos Oil
       Company Executive Vice-President is a Brutal and Unjust Attack on the Company’s Attempts to Secure a Fair
       Bankruptcy Process, Yukos Press Release, 7 April 2006, Yukos Website, Exh. C-797; Ioukos, un deuxième président
       en prison, Libération, 8 April 2006, Exh. C-798; Le Kremlin s’acharne contre le groupe pétrolier Youkos, Le Figaro,
       13 April 2006, Exh. C-799; Theede WS ¶ 30.
1344
       Minutes of Extraordinary General Meeting of Yukos’ Shareholders held on 1 June 2006, Exh. C-311.
1345
       Memorial ¶ 458; Letter from Fulbright & Jaworski LLP to Chadbourne & Parke LLP, 1 June 2006, enclosing Yukos’
       Outline of Proposed Financial Rehabilitation Plan, Exh. C-312 (hereinafter “Rehabilitation Plan”).




                                                         - 349 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 370 of 617




               iii)   the creation of a “Cash Pool separate from the Company,” funded by constant cash
                      flows generated by Yukos’ production, refining and marketing subsidiaries
                      (approximately USD 3–3.5 billion of annual Earnings Before Interest, Taxes,
                      Depreciation and Amortification (“EBITDA”);

               iv)    the sale of non-core assets: approximately USD 8.9 billion from the sale of Russian
                      assets (20 percent stock of Sibneft ordinary shares, approximately USD 4.2 billion;
                      23.7 percent of YNG’s outstanding share capital in the form of preferred shares
                      (estimated at USD 3.6 billion); 100 percent of shares in Arctic Gas, approximately
                      USD 1.1 billion) and approximately USD 1.5 billion from foreign assets (from the
                      sale of its 53.7 percent stake in Lithuanian oil company Mazeikiu Nafta and
                      49 percent stock in Slovakian oil transport major Transpetrol); and

               v)     supplementing the Cash Pool with amounts awarded in pending international
                      arbitrations and Russian litigation where Yukos was seeking approximately
                      USD 18 billion.

1080. On the same day that the shareholders approved the Rehabilitation Plan (i.e., on 1 June 2006),
        Yukos’ counsel transmitted an “Outline of the Proposed Financial Rehabilitation Plan” to
        Mr. Rebgun’s counsel in the U.S. (Chadbourne & Parke LLP), requesting that the
        Rehabilitation Plan be placed on the agenda of the first meeting of Yukos’ creditors, and
        circulated to all of Yukos’ registered creditors.

1081. On 2 June 2006, Mr. Rebgun sent to Yukos’ registered creditors and to Yukos’ CEO,
        Mr. Theede, a notice informing them that the first creditors’ meeting would be held on
        16 June 2006 and inviting them to consult the materials that would be discussed at the meeting
        in his office from 9 to 15 June 2006.1346

1082. In the event, the first meeting of Yukos’ creditors did not take place as scheduled on 16 June
        2006. On 8 June 2006, the first meeting of Yukos’ creditors was adjourned by the Moscow
        Arbitrazh Court pending a 14 June 2006 hearing on the admission into bankruptcy proceedings
        of outstanding tax claims by the Federal Taxation Service for 2000 to 2004. Mr. Rebgun, in
        turn, requested a postponement of the Court’s hearing on Yukos’ bankruptcy.1347


1346
       Notice of the First Yukos Creditors’ Meeting to be held on 16 June 2006, 2 June 2006, Exh. C-314.
1347
       Memorial ¶¶ 432–34, 454.




                                                         - 350 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 371 of 617




1083. At the hearing of 14 June 2006, a bankruptcy judge (not a tax judge) of the Moscow Arbitrazh
        Court ruled in favour of the Federal Taxation Service “after taking just 15 minutes to consider
        127,000 pages of information submitted by Russian tax officials,” admitting in their entirety as
        valid bankruptcy claims the tax authorities’ claims based on years 2000–2003, plus 2004. In so
        doing, the judge confirmed the Federal Taxation Service as Yukos’ largest creditor, with
        registered claims of USD 13.06 billion (amounting to 60.5 percent of all registered bankruptcy
        claims).1348

1084. Some two weeks later, the Court’s hearing on Yukos’ bankruptcy was postponed to 1 August
        2006. The Court granted the postponement, noting that the “first meeting of creditors did not
        take place because not all of the creditors’ claims submitted before the established deadline
        have been reviewed by the Court.”1349

1085. On 28 June 2006, Mr. Rebgun sent a revised notice of the first creditors’ meeting to be held on
        20 July 2006 and invited registered creditors to consult the bankruptcy materials from 14 to
        19 July 2006.1350 Claimants assert that Mr. Rebgun did not circulate the Rehabilitation Plan
        that had been proposed by Yukos with his original notice of 2 June 2006.1351 Indeed, the
        existence of the Rehabilitation Plan appears to have been notified to the creditors by
        Mr. Rebgun only in his revised notice of 28 June 2006, and made available for review between
        14 and 19 July.

1086. On 17 July 2006, the Moscow Arbitrazh Court admitted into the bankruptcy proceedings four
        claims by YNG (now Rosneft’s subsidiary) based on the sale of oil produced by YNG and sold
        to Yukos’ trading companies in 2004.                 The Court decided that Yukos, not the trading
        companies, was liable to pay for the purchased oil. Thus, YNG’s registered claims (Rosneft’s)
        were USD 4.42 billion (including penalties) or 22.16 percent of the claims admitted into the
        bankruptcy proceedings at the time.1352



1348
       Judge sets speed-reading record…, Reuters, 16 June 2006, Exh. C-809; Claimants’ Summary Chart of Registered
       Creditors’ claims, Exh. C-594 (hereinafter “Summary Chart of Creditors”).
1349
       Ruling of the Moscow Arbitrazh Court, 27 June 2006, Exh. C-315.
1350
       Notice of the First Yukos Creditors’ Meeting to be held on 20 July 2006, 28 June 2006, Exh. C-316.
1351
       Memorial ¶ 453.
1352
       Resolutions of the Ninth Arbitrazh Court of Appeal, 31 August 2006 and 7 September 2006, Exh. C-339 and
       Exh. C-340. On 20 July 2006, a further 29 claims were admitted on behalf of YNG (by now Rosneft’s subsidiary).
       Summary Chart of Creditors, Exh. C-594; Claimants’ Skeleton ¶ 52; Memorial ¶¶ 435–36; Reply ¶ 399.




                                                          - 351 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 372 of 617




1087. In accordance with Mr. Rebgun’s revised notice of 28 June 2006, the first meeting of Yukos’
        creditors was held on 20 July 2006. Creditors were offered two alternative scenarios: (1) the
        Rehabilitation Plan proposed by Yukos’ management; and (2) the Analysis of Yukos’ Financial
        Situation proposed by Mr. Rebgun. At the request of Federal Taxation Service, the meeting
        was adjourned to 25 July 2006 to allow Mr. Rebgun to complete his Analysis with a separate
        exhibit analyzing the possibility of Yukos’ breakeven activities.1353

1088. Mr. Rebgun’s Analysis did not contemplate the restoration of Yukos’ financial situation.
        Instead, Mr. Rebgun concluded that Yukos’ remaining assets, totalling approximately
        USD 17.75 billion after a deduction of a 24 percent profit tax, were not sufficient to cover the
        USD 18.3 billion of registered bankruptcy claims. On this basis, Mr. Rebgun recommended
        that Yukos be declared bankrupt and that receivership proceedings against Yukos be
        initiated.1354

1089. On 25 July 2006, when the creditors’ meeting that had been adjourned resumed, the creditors
        voted against the Rehabilitation Plan and recommended that Yukos be declared bankrupt.
        Twenty-four creditors were admitted as voting participants to the creditors’ meeting. The
        Tribunal notes that Respondent, through the Federal Taxation Service, and indirectly through
        Rosneft (which had acquired the Western Banks’ claim under the A Loan) and YNG (now
        Rosneft’s subsidiary), had 93.87% of the votes.1355

1090. On 4 August 2006, Yukos was declared bankrupt by the Moscow Arbitrazh Court and placed
        under receivership, which was to be completed within one year.1356


                (c)      The Liquidation of Yukos’ Remaining Assets

1091. On 9 October 2006, the Moscow Arbitrazh Court admitted further claims by YNG into the
        bankruptcy proceedings. These claims, worth USD 5.5 billion, were for alleged “lost profits”


1353
       Analysis of Yukos’ Financial Situation, 2006, Exh. C-317; Summary Analysis of the Debtor’s Financial Situation
       submitted by Mr. Rebgun to the U.S. Bankruptcy Court for the Southern District of New York in the Chapter 15 Case
       as Exhibit B to his Status Report of 7 August 2006, Exh. C-318; Summary Chart of Creditors, Exh. C-594; Memorial
       ¶¶ 458–61; Counter-Memorial ¶¶ 620–32.
1354
       Summary Analysis of the Debtor’s Financial Situation submitted by Mr. Rebgun to the U.S. Bankruptcy Court for the
       Southern District of New York in the Chapter 15 Case as Exhibit B to his Status Report of 7 August 2006, pp. 7–8,
       Exh. C-318.
1355
       Protocol of the First Meeting of Yukos’ Creditors held on 20 July 2006, 25 July 2006, Exh. C-319; Memorial ¶ 464.
1356
       Decision of the Moscow Arbitrazh Court, 1 August 2006, Exh. C-324.




                                                         - 352 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 373 of 617




        during 2000 to 2003. Thus, from July to October 2006, the Russian courts admitted over
        USD 9.9 billion of claims by YNG into Yukos’ bankruptcy.1357

1092. YNG was fully consolidated into Rosneft as of 1 October 2006.1358                         As a result of this
        consolidation, on 9 November 2006, the Moscow Arbitrazh Court ordered that YNG be
        replaced by Rosneft as a bankruptcy creditor, thereby attributing to Rosneft all of the claims
        registered to that time in the name of YNG. Eventually, adding a few minor claims, Rosneft
        held USD 10.69 billion or 37.17% of all registered bankruptcy claims.1359

1093. Under Russian bankruptcy law, Mr. Rebgun needed to select an appraiser in connection with
        the liquidation of Yukos’ assets. On 23 October 2006, Mr. Rebgun selected a consortium of
        five appraisers headed by ZAO ROSECO (“ROSECO”).1360

1094. On 15 January 2007, ROSECO issued an appraisal report on Yukos’ assets, including the
        preliminary results of an appraisal of its subsidiaries and dependent companies.1361 There is
        some uncertainty, however, over what exactly the appraisers determined in respect of the value
        of Yukos’ remaining assets.

1095. On 19 January 2007, Mr. Rebgun reportedly declared that his appraisers had valued Yukos’
        assets at USD 22 billion.1362 It was also reported that Mr. Rebgun later revised his valuation of
        Yukos’ assets to USD 25.6 and 26.8 billion and indicated that “the liquidation discount during
        the sale would not exceed 30 percent.”1363 Another article reported that the consortium of
        appraisers had valued Yukos’ remaining assets at USD 33 billion.1364

1096. Between March and August 2007, 17 bankruptcy auctions took place. The Tribunal observes
        that Respondent held (directly or through Rosneft) 97.67 percent of all claims against Yukos

1357
       Ruling of the Moscow Arbitrazh Court, 9 October 2006, Exh. C-343; Claimants’ Skeleton ¶ 52.
1358
       Rosneft 2007 U.S. GAAP Consolidated Financial Statements, p. 8, Exh. C-377; Memorial ¶ 437.
1359
       Ruling of the Moscow Arbitrazh Court, 9 November 2006, Exh. C-344 and Summary Chart of Creditors, Exh. C-594;
       Memorial ¶ 438.
1360
       Receiver’s Report on His Activities and the Results of the Receivership for the Period from 4 August 2006 through
       1 November 2007, 1 November 2007, p. 3, Exh. C-361 (hereinafter “Receiver’s Report”).
1361
       Ruling of the Moscow Arbitrazh Court, 12 November 2007, p. 7, Exh. C-362.
1362
       Yukos assets valued at $22 bln – bankruptcy receiver spokesman, RIA Novosti, 19 January 2007, Exh. C-828;
       Claimant’s Post-Hearing Brief ¶ 129.
1363
       21 Yukos Assets Bundled for Auction, The Moscow Times, 5 March 2007, Exh. C-831.
1364
       Appraisers say Yukos worth over $33 bln, RIA Novosti, 22 January 2007, Exh. C-829; Claimant’s Post-Hearing Brief
       ¶ 129; Memorial ¶ 469.




                                                        - 353 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 374 of 617




        and received (directly or through Rosneft) approximately 99.71 percent of the bankruptcy
        proceeds.1365 The most important assets were auctioned off as follows:1366

               x       Lot 1 (27 March 2007): remainder of Yukos’ stake (9.44 percent) in YNG sold to
                       Rosneft, acting through its indirect subsidiary OOO RN-Razvitiye, for
                       USD 7.59 billion;

               x       Lot 2 (4 April 2007): 20 percent minus 1 share in Gazpromneft (ex-Sibneft),
                       Urengoil and Arctic Gas sold to OOO EniNeftegaz (the Russian subsidiary of
                       Italian companies Eni (60 percent) and Enel (40 percent)) for USD 5.83 billion;
                       transferred to Gazprom in 2009; immediately announced that EniNeftegaz would
                       cede control of the assets to Gazprom under option agreements signed prior to the
                       auction.

               x       Lot 5 (18 April 2007): Manoil sold to Rosneft.

               x       Lot 10 (3 May 2007): Tomskneft, Achinsk, Angarsk, East Siberian and
                       Strezhevskoy sold to Rosneft (via Neft-Aktiv) for $6.82 billion.

               x       Lot 11      (10 May        2007): Samaraneftegaz,              Syzran,      Novokuybyshevsk             and
                       Kuybyshev sold to Rosneft for USD 6.4 billion.

1097. Between August and October 2007, the Federal Taxation Service successfully applied for “late”
        claims, consisting chiefly of claims for 24 percent profit taxes on the proceeds arising from the
        bankruptcy auctions.1367 These claims amounted to USD 8.82 billion.1368

1098. On 31 October 2007, upon liquidation, Yukos still had some USD 9 billion in unsatisfied
        liabilities. One third of these were tax claims.1369



1365
       Receiver’s Report, pp. 30–43, Exh. C-361.
1366
       Claimants’ Rebuttal Slides, p. 32.
1367
       Memorial ¶¶ 490–91; Counter-Memorial ¶¶ 665–69; Reply ¶¶ 418–20; Rejoinder ¶¶ 1182–83.
1368
       Respondent explains at Counter-Memorial ¶ 665 n.1100:
        Pursuant to Art. 142(4) of the Russian Bankruptcy Law, any claim submitted after closure of the register of
        claims (in the case of Yukos, on Oct. 12, 2006), as well as any claim for mandatory payments arising after the
        commencement of receivership (irrespective of when it was filed against the debtor), is validly filed as a “late”
        claim and recorded on a separate list. “Late” claims are satisfied after full satisfaction of timely claims included
        in the register of bankruptcy claims. See Art. 142(4) of the 2002 Russian Bankruptcy Law [Exh. R-776].”




                                                             - 354 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 375 of 617




1099. On 15 November 2007, the Moscow Arbitrazh Court formally endorsed all of Mr. Rebgun’s
        activities as receiver, closed Yukos’ receivership, and ordered that Yukos be struck off the
        register of legal entities.1370 Yukos was struck off the register of companies and its shares were
        legally extinguished on 21 November 2007.1371


        3.      Parties’ Arguments and Tribunal’s Observations

1100. In broad terms, Claimants allege that the Russian Federation decided to “push Yukos into
        bankruptcy in order to redistribute its remaining assets.” In their Memorial, Claimants set out
        what they characterized as Russia’s orchestrated plan to bankrupt and liquidate Yukos:

                The Russian Federation ensured, through the initiation of bankruptcy proceedings at the
                behest of Rosneft and using the cover of a consortium of Western banks (1), and through
                the biased and discriminatory conduct of the proceedings by its courts, that the Russian
                State and Rosneft would hold over 97% of the alleged claims against Yukos in the
                bankruptcy (2). Having also made certain that Yukos’ rehabilitation plan would be
                rejected (3), the Russian Federation completed its expropriation scheme by auctioning the
                Company’s remaining assets. As a result of the bankruptcy and liquidation of Yukos, the
                Russian State received directly more than 60.5% of the bankruptcy proceeds and, through
                Rosneft, more than 39.21% of the bankruptcy proceeds and all of Yukos’ main production
                assets (4).1372

1101. Respondent rejects this suggestion, and argues instead that it was Yukos’ management that
        forced the company into bankruptcy:

                [T]he bankruptcy and ultimately the liquidation of Yukos was not the aim or the result of a
                massive, global plot orchestrated by the Russian Government, but rather the inevitable
                consequence of the consistent and repeated lawless and reckless misconduct of the
                Oligarchs and the Yukos management they installed to conduct their—including
                Claimants’—investment.1373

1102. According to Respondent, “Claimants have failed to establish their primary contentions
        regarding Yukos’ bankruptcy proceedings: that the bankruptcy was instigated ‘by the Russian
        Federation through State-owned Rosneft,’ that ‘the only logic behind the decision to liquidate




1369
       Yukos Liquidation Balance Sheets, 31 October 2007, Exh. R-753 and Analysis of Financial Condition of Yukos Oil
       Company OJSC Conclusions and Actions (undated), p. 36, R-748.
1370
       Ruling of the Moscow Arbitrazh Court, 12 November 2007, Exh. C-362.
1371
       Certificate Recording an Entry in the Unified Register of Legal Entities, 21 November 2007, Exh. C-363.
1372
       Memorial ¶ 412.
1373
       Counter-Memorial ¶ 540.




                                                          - 355 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 376 of 617




        Yukos was to expropriate the company,’ and that the proceedings were conducted improperly
        so that the Russian Federation could ‘take its assets.’1374

1103. The Parties’ arguments are related to and can be organized under the following two headings:
        (a) why was the bankruptcy initiated and who was truly behind it?                And (b) were the
        bankruptcy proceedings conducted properly and fairly?

1104. The Parties’ arguments and the Tribunal’s observations on each of these are presented below.


                (a)      Why was the Bankruptcy Initiated and Who was Truly Behind It?

1105. It is not contested that the non-payment of the A Loan was an important factor leading to the
        bankruptcy of Yukos, since it was the creditor under the A Loan, the Western Banks, who
        initiated the bankruptcy (consistent with terms agreed with Rosneft in the Confidential Sale
        Agreement). There is disagreement, however, over the following two issues related to the
        non-payment of the A Loan:

               i)     Who was responsible for the non-payment of the A Loan – was Yukos prevented
                      from paying by Respondent’s conduct, or did Yukos have some control over the
                      matter?

               ii) Was the Confidential Sale Agreement a reasonable commercial arrangement between
                      the Western Banks, as creditor, and Rosneft, as parent of YNG, the guarantor of the
                      A Loan, or was it imposed on the Western Banks as part of Respondent’s deliberate
                      plan (executed through or with the assistance of Rosneft) to expropriate the remaining
                      assets of Yukos?

1106. Each of these issues is analyzed in the respective subsections below, followed by the Tribunal’s
        observations on why the bankruptcy was initiated and who was truly behind it.


                         (i)    Non-Payment of the A Loan

1107. The Parties present opposing views on the reasons for which the A Loan had not been paid off
        by Yukos by the end of 2005.



1374
       Respondent’s Post-Hearing Brief ¶ 122 (internal footnotes omitted).




                                                          - 356 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 377 of 617




1108. Respondent argues that the Western Banks were not paid simply because “Yukos adamantly
        refused to pay.”1375          In other words, according to Respondent, “Yukos’ dilatory and
        obstructionist treatment of its commercial creditors paralleled closely its treatment of its tax
        creditors.”1376 Respondent advances four arguments, as summarized at paragraphs 125 to 129
        of its Post-Hearing Brief.

1109. Firstly, starting in January 2004, Yukos refused the syndicate’s requests for full prepayment of
        the loan and denied the syndicate’s requests to subordinate the B Loan to the A Loan.
        Secondly, Yukos “re-routed” its exports and chose to leave the banks with an unsecured non-
        performing loan. Thirdly, Yukos failed to satisfy the English Judgment even though it had the
        available resources to pay it, frustrating collection efforts in the United States and in the
        Netherlands. Fourthly, Yukos engaged in “bad-faith negotiations” with the syndicate, which
        eventually led the syndicate to contact Rosneft and come to an agreement with it.

1110. Claimants generally argue that “Yukos worked closely with [the syndicate] to ensure payment
        of the debt” but that “at each step, the Russian Federation’s actions impeded the Company’s
        efforts.”1377 Claimants submit that “[h]ad the A Lenders not received an offer from Rosneft in
        the interim, they too would have been paid out of the proceeds of the sale of the Dutch assets,
        along with Moravel.”1378

1111. Each of Respondent’s specific arguments in relation to the non-payment of the A Loan is
        addressed in the respective subsections below.


                                (a)    Yukos’ Refusal to Fully Prepay the A Loan or to Subordinate the
                                       B Loan

1112. Respondent argues that “[t]rouble arose almost immediately after the A Loan was funded.”1379
        It claims that the syndicate “first raised the possibility of Yukos’ bankruptcy” in early 2004.1380

1375
       Respondent’s Post-Hearing Brief ¶ 124.
1376
       Rejoinder ¶ 1052.
1377
       Claimants’ Post-Hearing Brief ¶ 117 (footnote omitted).
1378
       Claimants’ Post-Hearing Brief ¶119. The debt of Moravel Investment Limited (hereinafter “Moravel”) was paid in
       2008 through the proceeds from the sale of Yukos’ stake in the Lithuanian oil company Mazeikiu Nafta. Reply ¶ 391;
       Transcript, Day 20 at 229 (Claimant’s rebuttal): “Indeed, Moravel would eventually be paid out from the proceeds of
       the sale of Mazeikiu Nafta, and pursuant to a court order, and the banks would have similarly been paid out from the
       proceeds of the sale of that asset had they not in the meantime received an offer that was difficult to refuse.”
1379
       Rejoinder ¶ 1057.
1380
       Ibid.




                                                          - 357 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 378 of 617




        In January 2004, the following options were discussed: full prepayment of the A Loan; partial
        acceleration of the A Loan; additional security; and subordination of the B Loan to the
        A Loan.1381 Respondent, relying on a news article, claims that the syndicate was “especially
        concerned” with the so-called “giga-dividend.”1382

1113. After the syndicate served notice on Yukos of a potential event of default in April 2004,1383
        Respondent asserts that Yukos “compelled” its production subsidiaries YNG, Samaraneftegaz,
        and Tomskneft to provide guarantees1384 and agreed to make pre-payments.1385 Respondent
        notes that Yukos insisted that the A Loan and the B Loan be treated pari passu.1386

1114. Respondent emphasizes that if Yukos had subordinated the B Loan, the syndicate would have
        been paid in full.1387 In response to Claimants’ argument that the loans were pari passu,1388
        Respondent underlines that the B Loan “was nothing more and nothing less than a shareholder
        loan.”1389 Therefore, according to Respondent, there is nothing that prevented Yukos (or
        Claimants) from agreeing to subordination.1390

1115. While Claimants defend the 2003 interim “giga dividend,” and assert that they never favored
        the B Loan over the A Loan (treating the two loans pari passu),1391 they do not address
        Respondent’s argument that the B Loan was a shareholder loan and that they could have agreed
        to subordinate it to the A Loan.


1381
       Ibid. ¶ 1057; Société Générale Meeting Agenda, Paris, 22 January 2004, Exh. R-3823.
1382
       Rejoinder ¶ 1057.
1383
       Letter from Société Générale to Yukos Oil Company re: US$ 1.6 billion Loan Agreement dated 30 September 2003
       with “Yukos Oil Company,” 30 April 2004, Exh. R-3827.
1384
       Rejoinder ¶ 1058; Financial and Performance Guarantee between Yuganskneftegaz and Société Générale S.A.,
       24 May 2004, Exh. R-581; Financial and Performance Guarantee between Yuganskneftegaz and Société Générale
       S.A., 25 May 2004, Exh. R-582.
1385
       Rejoinder ¶ 1058; Yukos Oil Company Notice of Prepayment, 25 May 2004, Exh. R-3832; Yukos Oil Company
       Notice of Prepayment, 22 June 2004, Exh. R-3833.
1386
       Rejoinder ¶ 1058.
1387
       Counter-Memorial ¶ 557; Transcript, Day 19 at 60–63 (Respondent’s closing).
1388
       Transcript, Day 20 at 227–28 (Claimants’ rebuttal).
1389
       Rejoinder ¶ 1056; Transcript, Day 19 at 60 (Respondent’s closing): “Although Yukos nominally borrowed
       $1.6 billion from SocGen, it was fully collateralised in cash by Group Menatep. SocGen drew on the collateral before
       making the loan through an intermediary bank. And as a result, ultimately GML’s rights in the loan were assigned to
       Moravel, which was its wholly owned subsidiary. So there is no doubt that this was a shareholder loan from the outset,
       not a commercial loan.”
1390
       Transcript, Day 21 at 157 (Respondent’s rebuttal).
1391
       Reply ¶¶ 384–85; Transcript, Day 20 at 227–28 (Claimants’ rebuttal).




                                                             - 358 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 379 of 617




                                (b)     The Export Contracts as Security for the A Loan

1116. On 2 July 2004, the syndicate declared an Event of Default, following the bailiff’s cash freeze
        orders.1392 Respondent explains that, as Yukos claimed that it was unable to pay the relevant
        amounts, the syndicate did not call the loan “but instead relied on the default as the basis to
        access funds under the export trade guarantees.”1393

1117. The syndicate received payment through this security mechanism1394 until the end of 2004 and
        recovered around half of Yukos’ USD 1 billion obligation.1395                       Respondent notes that on
        27 December 2004, following the sale of YNG, Yukos notified the syndicate that it would
        cease payment under the A Loan.1396 Respondent asserts that Yukos “continued to export oil
        produced by its other oil production subsidiaries Samaraneftegaz and Tomskneft” but that it
        “simply manipulated the export stream so that the oil was not exported pursuant to the specific
        export agreements used to secure the A Loan.”1397

1118. At the Hearing, Mr. Theede asserted that there was “no cash from exported oil to be used to pay
        the banks” because of a sweep by the tax authorities.1398 Respondent responds that this is
        “simply false,”1399 and seeks to demonstrate that none of the funds under the export guarantee
        came from Yukos accounts, whether in Russia or elsewhere.1400

1119. Claimants argue that “with the sham auction of [YNG] in December 2004, [YNG] stopped
        shipping oil under the export contracts” and that therefore it was Respondent who “obstructed
        payment of the A Loan.”1401




1392
       Rejoinder ¶ 1059; Letter From Société Générale S.A. To Yukos Oil Company, re: Event of Default, 2 July 2004,
       Exh. R-3835.
1393
       Rejoinder ¶ 1060.
1394
       Respondent provides a detailed explanation of this mechanism at note 1771 of its Rejoinder.
1395
       Rejoinder ¶ 1062.
1396
       Rejoinder ¶ 1063.
1397
       Ibid.; Transcript, Day 19 at 63-66 (Respondent’s closing).
1398
       Transcript, Day 10 at 103-04 (cross-examination of Mr. Theede).
1399
       Respondent’s Post-Hearing Brief ¶ 127.
1400
       Ibid., referring to Banks’ Petition to Declare Yukos Bankrupt Filed with the Moscow Arbitrazh Court, 6 March 2006,
       Exh. R-3885.
1401
       Claimants’ Post-Hearing Brief ¶ 118; see Transcript, Day 20 at 228 (Claimants’ rebuttal).




                                                           - 359 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 380 of 617




                               (c)     The English Judgment and the Syndicate’s Unsuccessful Collection
                                       Efforts

1120. Respondent asserts that, as a result of Yukos’ re-routing of its export streams, the syndicate was
        left with “what had become, effectively, an unsecured loan.”1402                The syndicate therefore
        reduced its claim to judgment, obtaining the English Judgment in June 2005.1403

1121. Respondent faults Yukos for seeking to frustrate the syndicate’s efforts to collect on the English
        Judgment, in the United States, the Netherlands, and Russia.1404 Respondent puts particular
        emphasis on the Dutch Stichtings.1405 Respondent argues that Yukos must be faulted for its use
        of the Stichtings to put its foreign assets out of reach of not just Rosneft or the tax authorities,
        but also of the Western Banks. Respondent contends that that the creation of the Stichtings
        “constitutes a blatant violation of Russian bankruptcy and criminal law.”1406 Respondent also
        submitted with its Rejoinder an expert report by Professor Dr. Albert Jan van den Berg (the
        “Van den Berg Report”), arguing that the creation of the Stichtings was illegal under Dutch
        law.1407

1122. Professor Van den Berg concludes that the creation of the Stichtings was:

                illegal, as it goes against the Dutch law principle, discussed in length above, that does not
                permit a company, or its directors, to transfer its assets for the purpose of making it more
                difficult for a creditor to satisfy its claims against the company and its assets, or for the
                new ultimate parent company to exercise control, even when the company reacts to what it
                believes to be illegitimate acts.
                In this connection, the establishment of the Stichting-structure (including the issuance of
                depositary receipts) as a protective device was not valid either, as it qualifies as a
                permanent protective device and, in any event, was established to make it more difficult for
                creditors to collect on debts.1408




1402
       Rejoinder ¶ 1064.
1403
       Rejoinder ¶¶ 1073–75; English Judgment, Exh. R-455.
1404
       Respondent’s Post-Hearing Brief ¶ 127; Rejoinder ¶¶ 1076–92.
1405
       Rejoinder ¶ 1076; Transcript, Day 19 at 66–67 (Respondent’s closing); Transcript, Day 21 at 165 (Respondent’s
       rebuttal).
1406
       Counter-Memorial ¶¶ 537–38; Criminal Code of the Russian Federation No. 63-FZ, 13 June 1996, Article 195,
       Exh. R-720.
1407
       Rejoinder ¶ 86; Van den Berg Report.
1408
       Van den Berg Report ¶¶ 94–95.




                                                        - 360 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 381 of 617




1123. Claimants chose not to cross-examine Professor Van den Berg at the Hearing;1409 his
        conclusions stand unrebutted.

1124. In response to Respondent’s claim that the Stichtings were created to frustrate the syndicate’s
        collection efforts, Claimants state that Respondent “misrepresents the purpose” of the
        Stichtings.1410 Claimants argue that the Stichtings “sought to protect certain [assets] from
        further attack by the Respondent and in the best interests of the Yukos group, its management,
        employees, shareholders and legitimate creditors.”1411 At the Hearing, Mr. Theede asserted that
        the Stichtings were created to remove certain assets from the reach of Respondent:1412

                after [the YNG auction] happened, it became very obvious that we were not going to be
                able to do anything to protect our Russian assets; they were going to take them away from
                us, one way or another. And of course it was going to be through taxes: that was the
                decided approach.
                But we were presented with a way to add some additional security to our international
                assets.1413

1125. Claimants emphasize “the big picture”: Yukos was facing tax claims in Russia and its assets
        were frozen.1414       Claimants assert that Yukos repatriated almost all of the cash it had
                    1415
        offshore.          Claimants contend that Yukos was actively trying to sell the Dutch assets to
        satisfy the English Judgment, and that, had the syndicate not accepted an offer it could not
        refuse from Rosneft in the meanwhile, the proceeds of the sale of Mazeikiu Nafta would have
        been applied to the English Judgment.1416 Claimants claim that Respondent was actively
        preventing Yukos from successfully selling the Dutch assets.1417




1409
       Letter from Claimants to the Arbitral Tribunal, 20 September 2012 (confirming Claimants’ decision not to cross-
       examine Professor Van den Berg at the hearing).
1410
       Reply ¶ 389.
1411
       Reply ¶ 390.
1412
       Transcript, Day 10 at 106–10 (cross-examination of Mr. Theede).
1413
       Transcript, Day 10 at 108 (cross-examination of Mr. Theede).
1414
       Transcript, Day 17 at 125–26 (Claimants’ closing).
1415
       Transcript, Day 17 at 120–24 (Claimants’ closing, excerpting relevant portions of Mr. Theede’s and Mr. Misamore’s
       testimonies).
1416
       Transcript, Day 10 at 117–18 (cross-examination of Mr. Theede); Transcript, Day 20 at 228–29 (Claimants’ rebuttal);
       Claimants’ Post-Hearing Brief ¶¶ 119, 124.
1417
       Transcript, Day 10 at 105–106 (cross-examination of Mr. Theede).




                                                            - 361 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 382 of 617




1126. Respondent criticizes Claimant’s assertion that Yukos was unable to satisfy the English
        Judgment because of the asset freeze.1418 Respondent emphasizes that counsel for Yukos in the
        English proceedings stated that the

                evidence would show that Yukos had assets outside Russia free from the Russian court’s
                freezing order which could have been, and which still could be, exploited to raise money
                with which to make payments under the Loan Agreement as they became due.1419

1127. Respondent also notes that Mr. Misamore conceded at the Hearing that when Stichting 2 was
        formed in September 2005, it held approximately USD 500 million in cash, more than enough
        to satisfy the debt to the syndicate.1420

1128. In response to Claimants’ argument that Yukos was trying to sell the Dutch assets to satisfy the
        judgment,1421 Respondent claims that the proceeds were used to pay bonuses and to pay
        Moravel.1422


                                  (d)   Yukos’ Negotiations with the Syndicate

1129. Respondent submits that Yukos engaged in bad faith negotiations with the syndicate.1423 It
        notes that Yukos offered the syndicate a “poisoned chalice”: seats on the board of a stichting in
        lieu of actual payment.1424 Respondent claims that once Yukos had successfully obstructed
        collection efforts in the Netherlands, it withdrew its settlement offer to the syndicate.1425

1130. Claimants assert that, had the syndicate not been paid by Rosneft, it would have eventually
        been paid by Yukos.1426

1131. Claimants also rely on an undated letter sent by Mr. Theede to the bailiff, probably between
        10 and 14 March 2006.1427           In that letter, Mr. Theede asserts that Yukos finds itself in a



1418
       Respondent’s Post-Hearing Brief ¶ 129.
1419
       English Judgment ¶ 15, Exh. R-455.
1420
       Respondent’s Post-Hearing Brief ¶ 127; Transcript, Day 9 at 223–24 (cross-examination of Mr. Misamore).
1421
       Transcript, Day 20 at 228–29 (Claimants’ rebuttal); Transcript, Day 10 at 112 (cross-examination of Mr. Theede).
1422
       Transcript, Day 19 at 45–46 (Respondent’s closing).
1423
       Respondent’s Post-Hearing Brief ¶ 128.
1424
       Rejoinder ¶¶ 1081, 1083.
1425
       Rejoinder ¶ 1083; Respondent’s Post-Hearing Brief ¶ 128.
1426
       Claimants’ Post-Hearing Brief ¶ 119.




                                                          - 362 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 383 of 617




        “straightjacket” and asks the bailiff to lift the freeze to enable Yukos to pay the syndicate.1428
        Respondent criticizes Claimants’ reliance on this letter noting that the letter was sent after the
        bankruptcy petition was filed.1429


                        (ii)   The Confidential Sale Agreement Between the Western Banks and
                               Rosneft

1132. Claimants argue that, while it was the Western Banks that formally initiated the bankruptcy of
        Yukos, it was the Russian Federation, acting through Rosneft, that orchestrated the
        commencement of the bankruptcy.                In particular, Claimants place great emphasis on the
        Confidential Sale Agreement that was entered into between the Western Banks and Rosneft on
        13 December 2005. Pursuant to that Agreement, Rosneft agreed to satisfy the outstanding debt
        owed by Yukos to the Western Banks (over USD 455 million plus interest) in exchange for the
        Western Banks agreeing to take the steps described in Schedule 8 of the Confidential Sale
        Agreement, entitled “Application for Bankruptcy.”

1133. Claimants assert that each of Rosneft, on the one hand, and the Western Banks, on the other,
        fulfilled their respective roles under the Confidential Sale Agreement meticulously. Thus, on
        6 March 2006, having completed the other steps contemplated under the Confidential Sale
        Agreement, the Western Banks filed a petition with the Moscow Arbitrazh Court to declare
        Yukos bankrupt.1430 On 14 March 2006, the Moscow Arbitrazh Court formally substituted
        Rosneft in the place of the Western Banks for the purposes of the bankruptcy proceedings.1431

1134. Respondent explains that the Confidential Sale Agreement was concluded between Rosneft and
        the Western Banks because of the “convergence of their commercial interests”:

                The SocGen syndicate simultaneously also sought payment of the same debt from Rosneft
                pursuant to the 2004 loan guarantee that Yukos had foisted on YNG, which Rosneft then
                owned. Although Rosneft disputed the validity of the guarantee, Rosneft required
                forbearance from the same banks on covenant breaches arising from the YNG acquisition,
                and Rosneft needed the bank’s cooperation for its planned IPO. The convergence of the
                syndicate’s and Rosneft’s commercial interests resulted in their agreeing that Rosneft

1427
       Letter from Mr. Theede to Mr. Savostov (undated), Exh. C-1180; Transcript, Day 20 at 230–33 (Claimants’ rebuttal);
       Theede WS ¶ 29.
1428
       Letter from Mr. Theede to Mr. Savostov (undated), Exh. C-1180.
1429
       Transcript, Day 21 at 159 (Respondent’s rebuttal); Respondent’s Post-Hearing Brief ¶ 128 (the letter is “typical of
       Yukos’ consistent strategy of doing too little, too late, and then blaming others.”)
1430
       Banks’ Petition to Declare Yukos Bankrupt Filed with the Moscow Arbitrazh Court, 6 March 2006, Exh. C-303.
1431
       Ruling of the Moscow Arbitrazh Court, 28 March 2006, Exh. C-307.




                                                         - 363 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 384 of 617




                would pay the syndicate in full, but only after the syndicate had pursued all legal avenues
                to obtain payment from Yukos, the primary obligor. If Rosneft instead paid, the
                syndicate’s rights under the A Loan agreement were to be assigned to Rosneft.1432

1135. Respondent disagrees with Claimants that the confidentiality clause in the Confidential Sale
        Agreement evidences a “conspiracy on the part of the SocGen syndicate to act secretly on
        behalf of Rosneft, which Claimants improperly equate with Respondent.” Instead, Respondent
        contends that the confidentiality clause was a standard commercial term “necessary to preserve
        the possibility that Yukos would pay the SocGen syndicate before Rosneft became
        unconditionally obligated to do so, and remained in effect only for so long as Yukos’ payment
        would have discharged Rosneft’s own obligations to pay the syndicate.”1433

1136. Respondent argues that the syndicate “ha[d] been nothing if not patient during this whole
        process”1434 and that, in its frustrated effort to satisfy the English Judgment, the syndicate in last
        resort turned to Rosneft for payment under the YNG guarantee.1435 After “a little bit of a dance
        going on between them,” the syndicate and Rosneft concluded a mutually advantageous
        deal.1436

1137. Respondent asserts that the syndicate originally pressed Rosneft for payment under the YNG
        guarantee1437 but eventually came to a commercially sound arrangement with it.1438 Respondent
        claims that these propositions stand unrebutted.1439

1138. Claimants contend that Yukos “work[ed] closely” with the syndicate until the syndicate
        received from Rosneft an offer it could not refuse.1440 In the words of Mr. Theede, “banks
        being banks, that was an easy, low-risk way out of this for them, and so that’s what happened
        and that’s what they did.”1441 Having said this, Claimants note that “there is no commercial

1432
       Respondent’s Skeleton ¶ 58.
1433
       Respondent’s Skeleton ¶ 59.
1434
       Respondent’s Post-Hearing Brief ¶ 129, quoting Creditors Petition Russian Court to Declare Yukos Bankrupt, World
       Markets Research Centre, 13 March 2006, Exh. R-3882.
1435
       Respondent’s Post-Hearing Brief ¶ 129; Counter-Memorial ¶¶ 577–80; Rejoinder ¶¶ 1065–71; Transcript, Day 19 at
       69–72 (Respondent’s closing).
1436
       Transcript, Day 19 at 69–72 (Respondent’s closing); see Confidential Sale Agreement, Exh. C-300.
1437
       Counter-Memorial ¶¶ 577–80; Rejoinder ¶¶ 1065–71.
1438
       Post-Hearing Brief ¶ 129; Counter-Memorial ¶¶ 575–83; Rejoinder ¶¶ 1086–88.
1439
       Post-Hearing Brief ¶ 129; Transcript, Day 10 at 113–14 (cross-examination of Mr. Theede).
1440
       Claimants’ Post-Hearing Brief ¶ 119; Transcript, Day 20 at 228–29 (Claimants’ rebuttal).
1441
       Transcript, Day 10 at 113 (cross-examination of Mr. Theede).




                                                          - 364 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 385 of 617




        rationale for why Rosneft would insist upon the further and highly unusual step that the
        A Lenders initiate bankruptcy proceedings against Yukos, save for the sake of appearances.”1442

1139. The Parties also disagree when it comes to the significance of the separate and parallel
        bankruptcy petition filed by YNG (then a subsidiary of Rosneft) on 24 March 2006. According
        to Respondent, the YNG petition “alone disposes of Claimants’ contention that the bankruptcy
        filing by the SocGen syndicate had been orchestrated by the Russian Federation so as to allow
        Rosneft not to ‘appear as the instigator of Yukos’ bankruptcy.’”1443

1140. According to Claimants, Rosneft had decided to “hedge its bets” by filing a separate
        bankruptcy petition through YNG in the event the court would reject the petition filed by the
        banks.1444 Claimants further contend that having the syndicate file its petition prior to YNG
        was “evidently important to Rosneft and the Kremlin’s public relations efforts.”1445 Finally,
        Claimants argue that the YNG petition refutes Respondent’s argument that Yukos itself caused
        the bankruptcy by failing to pay the syndicate: “Respondent offers no explanation as to how
        the Claimants suffered additional damages because it was the Société Générale syndicate who
        initiated the bankruptcy rather than Rosneft.”1446


                        (iii)   Tribunal’s Observations

1141. Having considered the extensive record and the maze of documents as well as the Parties’
        arguments, the Tribunal concludes that while it is undisputed that the Western Banks formally
        initiated the bankruptcy proceedings, and that Yukos is partly to blame for giving the Banks the
        incentive to enter into the Confidential Sale Agreement with Rosneft, the role of Rosneft and of
        Respondent in creating the conditions for Yukos’ bankruptcy cannot be ignored.

1142. Turning firstly to the fault that Yukos bears in this matter, the Tribunal largely accepts
        Respondent’s arguments that Yukos could have paid the A Loan in full prior to the end of 2005,
        whether by subordinating the B Loan to the A Loan, allowing the export contracts to continue
        to operate as security for the Western Banks, or indeed using assets that were placed into the

1442
       Claimants’ Post-Hearing Brief ¶ 121 (underlining in original).
1443
       Counter-Memorial ¶ 572 (quoting Memorial ¶ 427); see Rejoinder ¶ 1090.
1444
       Memorial ¶ 427; Yuganskneftegaz demands Yukos’ bankruptcy over $1 million debt, Vedomosti, 3 April 2006,
       Exh. C-795.
1445
       Claimant’s Post-Hearing Brief ¶ 300.
1446
       Ibid.




                                                           - 365 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 386 of 617




        Stichtings. It can therefore be said that Yukos is not without fault in connection with the
        initiation of the bankruptcy, since it contributed to creating conditions that gave the Western
        Banks every incentive to enter into the Confidential Sale Agreement with Rosneft, and it was
        pursuant to that Confidential Sale Agreement that the Banks initiated bankruptcy proceedings
        against Yukos in exchange for payment from Rosneft under the A Loan. As Mr. Theede
        testified, banks being banks, the solution presented by the Confidential Sale Agreement was
        “an easy, low-risk way out of this for them.”1447

1143. However, to focus only on these narrow reasons for non-payment of the A Loan, and on the
        commercial considerations that drove the Western Banks to enter into the Confidential Sale
        Agreement, is to miss the bigger picture. The Tribunal observes that Yukos was current in its
        payments to the Western Banks until December 2004, when YNG was auctioned to Rosneft.
        Had YNG not been seized, therefore, it is reasonable to assume that Yukos would not have had
        problems repaying the A Loan. By the same token, given the circumstances under which YNG
        was seized (discussed in Chapter VIII.F of this Award), it stands to reason that Yukos felt
        justified in forcing Respondent, through Rosneft, to pay the Western Banks under the YNG
        guarantee, rather than paying the debt itself.

1144. The Tribunal therefore cannot accept Respondent’s argument that because Yukos, even after
        the seizure of YNG, could have paid the Western Banks under the A Loan but did not do so,
        there is no link to be made between Rosneft (and, indeed, Respondent) and the bankruptcy.
        The big picture established by the record, including in respect of the tax assessments and the
        auction of YNG, suggests otherwise.

1145. The Tribunal’s conclusion is also supported by two particular facts more closely related to the
        enforcement of the A Loan in Russia.

1146. Firstly, the Tribunal notes that the Western Banks entered into the Confidential Sale Agreement
        with Rosneft very soon after the Federal Arbitrazh Court for the Moscow District reversed an
        earlier decision that had authorized the enforcement of the English Judgment, and that the same
        Court ultimately allowed the Western Banks to proceed with its enforcement after it had
        entered into the Confidential Sale Agreement. This suggests to the Tribunal, at best, a very
        happy coincidence as between the decision of the Court and the interests served by the terms
        presented to the Western Banks in the Confidential Sale Agreement. It is also consistent with

1447
       Transcript, Day 10 at 113 (cross-examination of Mr. Theede).




                                                         - 366 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 387 of 617




        Claimants’ argument that the decisions of the Court and the conduct of Rosneft were being
        coordinated as part of a deliberate strategy to drive Yukos into bankruptcy.

1147. Secondly, if Rosneft itself (or the State, as its owner) were not interested in orchestrating the
        initiation of the bankruptcy proceedings against Yukos, why was the requirement to initiate
        bankruptcy included in the Confidential Sale Agreement? In other words, while the Tribunal
        can accept both that the Western Banks had a commercial interest in getting paid by Rosneft
        (especially after the 5 December 2005 decision of the Federal Arbitrazh Court that reversed the
        enforcement of the English Judgment) and that Rosneft had a commercial interest in having the
        Western Banks’ claim against Yukos assigned to it in exchange for such payment, the Tribunal
        does not see any evident commercial rationale for the inclusion in the Confidential Sale
        Agreement of the requirement that the Banks initiate bankruptcy in order to be paid.

1148. It thus appears to the Tribunal that the Western Banks, since Yukos was not reimbursing the
        loan, were actively “encouraged” to enter into the Confidential Sale Agreement in order to
        accomplish their objective of being paid. While, as the Tribunal said earlier, Yukos must
        shoulder some of the blame for not paying the Western Banks and thereby increasing its
        exposure to the risk that it could be petitioned into bankrupcy, it appears undeniable to the
        Tribunal that initiating bankruptcy was not a goal of the Western Banks, but rather the
        objective of Rosneft, in the interests of its owner, the Russian Federation. The Tribunal
        concludes that in the end the bankruptcy was initiated by the Russian Federation. The separate
        and parallel bankruptcy petition filed by Rosneft-controlled YNG on 24 March 2006 reinforces
        this conclusion.

1149. The Tribunal, in light of the evidence reviewed above, finds the following passage from
        Claimants’ Post-Hearing Brief compelling and adopts it as its own:

                The only rational explanation for the highly unusual manner in which the bankruptcy
                proceedings against Yukos were initiated was to act as a cover for the Russian Federation’s
                involvement, allowing the Russian government to keep its word—in the context of
                ongoing legal proceedings, including these arbitrations—that it was not interested in the
                bankruptcy of Yukos (and thus maintaining the appearance that it was commercial
                parties—not the State—that sought Yukos’ bankruptcy), while achieving its desired
                end.1448




1448
       Claimants’ Post-Hearing Brief ¶ 123.




                                                      - 367 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 388 of 617




                (b)       Were the Bankruptcy Proceedings Conducted Properly and Fairly?

1150. Claimants paint the bankruptcy as “the final act of the destruction” of Yukos.1449 Claimants
        argue that Respondent (or entities whose conduct is attributable to Respondent)1450 not only
        initiated the bankruptcy, but also (i) ensured that it monopolized the bankruptcy process by
        discriminatory rejection and allowance of bankruptcy claims; 1451 (ii) ensured the rejection of
        Yukos’ proposed Rehabilitation Plan;1452 and (iii) confiscated the residual assets of Yukos
        through sham auctions and Yukos’ eventual liquidation.1453

1151. Claimants claim that Respondent monopolized the bankruptcy and, directly or indirectly,
        obtained 97.67 percent of all bankruptcy claims, obtained approximately 93.87 percent of the
        votes in the creditors’ meeting, claimed USD 6 billion in profit tax on the auction proceedings,
        acquired over 95 percent of Yukos’ remaining assets in the bankruptcy, and received as creditor
        approximately 99.71 percent of the bankruptcy proceeds.1454


                          (i)   The Courts’ Treatment of Bankruptcy Claims

1152. Claimants argue that the Russian courts never had the interests of Yukos or its rehabilitation in
        mind when conducting the bankruptcy proceedings. Firstly, the Russian courts ensured that the
        Russian State would become Yukos’ main creditor in the bankruptcy proceedings by
        postponing the date of the first meeting of Yukos’ creditors to give the State “more time to
        prove new tax claims” against Yukos.1455 These tax claims comprised Yukos’ outstanding
        alleged tax liabilities for the years 2000 to 2003. As noted above, at the hearing of the Moscow
        Arbitrazh Court on 14 June 2006, the bankruptcy judge ruled in favour of the Federal Taxation
        Service, setting “a new speed reading record” after taking just 15 minutes to consider 127,000
        pages of information submitted by Russian tax officials.1456 As a result of that judgment, the




1449
       Memorial ¶ 411.
1450
       For the Tribunal’s discussion of attribution, see Chapter X.A of this Award.
1451
       Ibid. ¶¶ 431–51.
1452
       Ibid. ¶¶ 452–67.
1453
       Ibid. ¶¶ 468–94.
1454
       Claimants’ Post-Hearing Brief ¶¶ 126–33.
1455
       Yukos creditors’ meeting delayed by Moscow court, Reuters, 8 June 2006, Exh. C-808.
1456
       Judge sets speed-reading record…, Reuters, 16 June 2006, Exh. C-809.




                                                           - 368 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 389 of 617




        Federal Taxation Service became Yukos’ single largest creditor with registered claims
        amounting to approximately USD 13.06 billion.1457

1153. Secondly, Claimants contend that the Russian courts ensured that State-controlled Rosneft—of
        which the Russian State has been the majority shareholder since the company’s privatization in
        the nineties—would become Yukos’ second largest creditor in the bankruptcy. On 17 July
        2006, the Moscow Arbitrazh Court admitted into the bankruptcy proceedings four claims by
        YNG, which by that that time had already become a subsidiary of Rosneft:

                The claims were based on the sale of oil produced by Yuganskneftegaz and sold to Yukos’
                trading companies in 2004: the Court decided that Yukos, and not the trading
                companies—notwithstanding that those companies were Yuganskneftegaz’s counterparties
                under the relevant oil sale contracts—was liable to pay for the oil sold.1458

1154. Thirdly, in Claimants’ view, the Russian courts ensured that creditor claims belonging to
        Yukos-related entities or to Yukos’ shareholders would not be recognized in the bankruptcy
        proceedings. For example, in its Memorial on the Merits, Claimants explain the Russian
        courts’ treatment of Moravel Investment Limited, a GML affiliate:

                This was the case, for example, for the claim filed by Moravel Investment Limited
                (“Moravel”), a GML affiliate, on the basis of an LCIA award of September 16, 2005,
                rendered by an arbitral tribunal comprised of Peter Leaver QC, Jonathan Hirst QC and
                J. William Rowley QC, Chairman. The award ordered Yukos to pay to Moravel
                US$ 655,725,238.60 in principal plus corresponding interest, which was outstanding under
                the B Loan Agreement concluded between Yukos and Société Générale in September 2003
                for the purposes of Yukos’ merger with Sibneft. This loan was identical, in all material
                aspects, to the A Loan which had been assigned to Rosneft by the Western Banks headed
                by Société Générale and on the basis of which Rosneft had been admitted into the
                bankruptcy proceedings. However, unlike Rosneft’s claim, for which the Russian courts
                had recognized the English Judgment rendered in favor of the Western banks (later
                assigned to Rosneft), the courts refused the enforcement of the awards in favor of
                Moravel.1459

1155. Russian courts accorded similar treatment to the remaining Yukos affiliates with outstanding
        claims against Yukos, such as Yukos Capital SARL, Glendale Group Limited, OOO
        Yu-Mordovia, OOO Yukos Vostok Trade, ZAO Yukos-M, OOO Siberian Internet Company,
        OOO Trading House Yukos-M, ZAO Krasnoyarskgeofizika, ZAO Lipetsknefteprodukt, and



1457
       Resolution of the Ninth Arbitrazh Court of Appeal, 11 August 2006, Exh. C-336; Decision of the Moscow Arbitrazh
       Court, 2 October 2006, Exh. C-201; Register of Yukos Creditors’ Claims, 30 October 2007, Exh. C-353; Summary
       Chart of Creditors, Exh. C-594.
1458
       Memorial ¶ 435.
1459
       Memorial ¶ 441 (internal footnotes omitted).




                                                       - 369 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 390 of 617




        OOO Alta-Trade. As Claimants contend, “the common ground for denying the claims of these
        companies was the alleged lack of evidence of the existence of the claims.”1460


                         (ii)   The Rejection of Yukos’ Rehabilitation Plan

1156. On 1 June 2006, Yukos’ general shareholders’ meeting approved Yukos’ Financial
        Rehabilitation Plan and appointed Mr. Osborne as the shareholders’ representative in the
        bankruptcy proceedings.1461 Claimants point out that according to Yukos’ Rehabilitation Plan,
        Yukos was in a position to pay off its alleged liabilities fully within two years.1462 Mr. Rebgun,
        the appointed administrator, was required to circulate Yukos’ Rehabilitation Plan to all Yukos’
        registered creditors. According to Claimants, Mr. Rebgun did not do so, although Respondent
        alleges that Mr. Rebgun made the Rehabilitation Plan available for the creditors’ review before
        the creditors’ meeting.

1157. Mr. Rebgun’s own proposal to the creditors was to sell all Yukos’ assets to satisfy the creditors’
        claims and then liquidate the company. At the creditors’ meeting of 25 July 2006, at which the
        Federal Taxation Service and Rosneft held 93.87 percent of votes, Yukos’ Rehabilitation Plan
        was rejected, and the creditors decided to liquidate Yukos, “which had the added bonus of
        creating an additional claim for the tax authorities of 24% profit tax on the auction proceedings,
        a claim on which it would collect US$ 6 billion.”1463

1158. In their Post-Hearing Brief, Claimants further contend that:

                During the hearing, the Respondent made a limited number of unfounded attacks on
                Yukos’ Financial Rehabilitation Plan. For example, the Respondent alleged that Yukos’
                Financial Rehabilitation Plan was “highly speculative” as the “cash pool” was to be funded
                from “uncertain revenues” including US$ 18 billion from “litigation claims.” However, as
                even the most cursory review of the Plan reveals, “litigation claims” were not ascribed a
                value in determining the aggregate value of Yukos’ assets available to pay claims and were
                merely intended to supplement the “cash pool”, if and when anything was received.1464

1159. Yukos’ creditors gathered for their first meeting on 20 July 2006.                      Yukos’ management
                                              1465
        proposed a Rehabilitation Plan               and Mr. Rebgun proposed its Analysis of Yukos’ Financial

1460
       Memorial ¶ 448.
1461
       Minutes of Extraordinary General Meeting of Yukos’ Shareholders held on 1 June 2006, Exh. C-311.
1462
       Claimants’ Skeleton ¶ 55.
1463
       Claimants’ Post-Hearing Brief ¶ 127.
1464
       Ibid. ¶ 128.
1465
       Rehabilitation Plan, Exh. C-312.




                                                          - 370 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 391 of 617




        Situation.1466 After the meeting was adjourned and resumed on 25 July 2006, the Federal
        Taxation Service, representing together with Rosneft 93.87 percent of the votes, voted against
        the Rehabilitation Plan and in favor of the liquidation of Yukos.1467

1160. Claimants argue that the decision to liquidate was “preposterou[s], even from an economic
        standpoint”1468 and that “[t]he absurdity of Yukos’ fate was only the flip side of the coin of the
        Russian Federation’s and Rosneft’s fortune.”1469 Claimants allege that there was an “obvious
        conflict of interest” in the vote as the sales of Yukos’ assets were subject to a 24 percent profit
        tax, “which meant that liquidation would bring an enormous windfall to the Federal Taxation
        Service”.1470

1161. Respondent denies all allegations of impropriety in relation to Mr. Rebgun’s conduct of the
        creditors’ meeting and the rejection of Yukos’ Rehabilitation Plan:

                All registered creditors and the representatives of the debtor had an opportunity to review
                the Rehabilitation Plan and the analysis of Yukos’ financial situation (along with relevant
                enclosures) prepared by Mr. Rebgun at his offices during the week preceding the meeting
                (and for five full days, from July 20, 2006 until July 25, 2006).1471

1162. Respondent contends that the Rehabilitation Plan was rejected because it was flawed and overly
        optimistic:

                Yukos’ management, actively supported by the Claimants, had the opportunity to present a
                rehabilitation claim to the meeting of creditors. The rough outline management submitted
                was, however, legally defective and did not provide any basis for creditors to prefer
                rehabilitation to liquidation. It was not properly presented to or approved by Yukos
                shareholders, did not meet the legal requirements that the company’s tax claims be
                satisfied within six months, and did not ensure full, let alone timely, payment of Yukos’
                creditors’ claims.1472

1163. Respondent argues that the Rehabilitation Plan was “a blatant and untenable attempt on the part
        of the Oligarchs to secure their own interests over those of the creditors” and that “the


1466
       Analysis of Yukos’ Financial Situation 2006, Exh. C-317; see Summary Analysis of the Debtor’s Financial Situation
       submitted by Mr. Rebgun to the U.S. Bankruptcy Court for the Southern District of New York in the Chapter 15
       Proceeding as Exhibit B to his Status Report of 7 August 2006, Exh. C-318.
1467
       Protocol of the First Meeting of Yukos’ Creditors held on 20–25 July 2006, Exh. C-319.
1468
       Memorial ¶ 466.
1469
       Memorial ¶ 467.
1470
       Reply ¶ 418.
1471
       Counter-Memorial ¶ 607.
1472
       Respondent’s Skeleton ¶ 62; see also Respondent’s Post-Hearing Brief ¶ 123.




                                                         - 371 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 392 of 617




        creditors’ decision to reject the plan was reasonable and taken in accordance with Russian law,
        which vests full discretion with the creditors, consistently with international practice.”1473

1164. Respondent underlines that in Russia, “the vote for the liquidation or rehabilitation of the
        debtor is within the full discretion of the creditors.”1474

1165. On the question of the late claims, Respondent does not contest that the Federal Taxation Service
        claimed USD 8.82 billion in profit taxes out of the proceeds of the bankruptcy and eventually
        received USD 6.02 billion; it submits however, that “[t]hese are standard ‘late’ claims that arise in
        connection with any sale generating profits, including in the context of rehabilitation
        proceedings”1475 and that there is therefore nothing improper about them.


                         (iii)   The Declaration of Yukos’ Bankruptcy

1166. On 1 August 2006, the Moscow Arbitrazh Court stated that it had “established that the debtor
        showed the signs of bankruptcy as defined in Article 3 of the Federal Law ‘On Insolvency
        (Bankruptcy)’” and that Yukos had “not fulfilled its monetary obligations towards its creditors
        for three months from the time when these obligations should have been fulfilled,” without
        making any reference to the difference between Yukos’ liabilities and its assets.1476

1167. The Claimants assert that on 1 August 2006, when Yukos was declared bankrupt, “Yukos’
        assets exceeded its alleged liabilities, and . . . the Company was clearly solvent.”1477              The
        Claimants further suggest that “there was nothing inevitable about the bankruptcy of Yukos”
        and that “Yukos could have avoided bankruptcy if allowed to pay off its fabricated tax
        debts.”1478 To support this claim, Claimants refer to the Rehabilitation Plan proposed by
        Yukos’ management, which proposed “to leave intact Yukos’ ‘core assets’ as a viable ongoing
        company, while addressing and paying in full all valid creditors’ claims.”1479




1473
       Counter-Memorial ¶ 611.
1474
       Counter-Memorial ¶ 632. This is consistent with international practice, see Counter-Memorial ¶ 1501.
1475
       Rejoinder ¶ 1182.
1476
       Decision of the Moscow Arbitrazh Court, 1 August 2006, Exh. C-324.
1477
       Memorial ¶ 822.
1478
       Memorial ¶ 825.
1479
       Claimants’ Post-Hearing Brief ¶128; see also Rehabilitation Plan, Exh. C-312.




                                                          - 372 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 393 of 617




1168. By contrast, Respondent points out that the insolvency test applicable to the initiation of
        bankruptcy proceedings against Yukos was an “illiquidity test,” based on the debtor’s inability
        to discharge a certain debt “within three months of its due date.”1480 According to Respondent,
        this “illiquidity test” was satisfied when the Western Banks filed a petition for Yukos’
        bankruptcy.1481 Further, the question of whether the bankruptcy proceedings will result in the
        adoption of a financial rehabilitation plan and the company’s survival or in the company’s
        liquidation depends on whether the financial rehabilitation plan provides for the discharge of all
        the creditors’ claims within certain applicable time limits.1482 Respondent points out that the
        debt repayment schedule in the Rehabilitation Plan did not do so.1483

1169. Respondent denies all allegations of impropriety or bias relating to the way the Russian courts
        conducted the bankruptcy proceedings:

                As confirmed by the Moscow Arbitrazh Court, the syndicate’s petition satisfied the
                insolvency test under Russian bankruptcy law applicable at the time, which was based on
                the debtor’s inability to discharge a debt exceeding US$ 3,500 within three months of its
                due date.
                Nothing in Russian law in this regard concerning the initiation of bankruptcy proceedings
                is at odds with international practice. In a number of other jurisdictions, the so-called
                “illiquidity test: (i.e., the debtor’s inability to pay its debts as they become due) is sufficient
                to initiate bankruptcy proceedings.1484

1170. In any event, Respondent claims that Yukos’ liabilities did exceed its assets, a position
        Respondent seeks to support by stressing that, after the sale of Yukos’ assets, liabilities of
        Yukos in an amount of USD 9.2 billion remained unsatisfied.1485


                        (iv)     The Liquidation of Yukos’ Remaining Assets

1171. According to Claimants, the last stage in the “confiscation of Yukos”1486 was the bankruptcy
        auctions of Yukos’ remaining assets.1487

1480
       Counter-Memorial ¶¶ 584, 1491; Article 3(2) of the Russian Federal Law on Insolvency (Bankruptcy), Exh. R-776.
1481
       Counter-Memorial ¶ 1491.
1482
       Article 84(3) of the Russian Federal Law on Insolvency (Bankruptcy), Exh. R-776; Protocol of the First Meeting of
       Yukos’ Creditors held on 20–25 July 2006, p. 11, Exh. C-319; Summary Analysis of the Debtor’s Financial Situation
       submitted by Mr. Rebgun to the U.S. Bankruptcy Court for the Southern District of New York in the Chapter 15
       Proceeding as Exhibit B to his Status Report of 7 August 200, p. 86, Exh. C-318.
1483
       Counter-Memorial ¶ 623.
1484
       Counter-Memorial ¶ 584–85; see also Respondent’s Post-Hearing Brief ¶¶ 130–34.
1485
       Counter-Memorial ¶ 669; Rejoinder ¶ 1161, Respondent’s Post-Hearing Brief ¶ 134; Respondent’s Opening Slides,
       p. 452.




                                                         - 373 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 394 of 617




1172. Claimants’ argument regarding the auctions does not point to specific acts. While Claimants
        fault Rosneft for the initiation of the bankruptcy, the courts for the discriminatory rejection and
        allowance of claims, the Federal Taxation Service and Rosneft for the rejection of the
        Rehabilitation Plan, they fault “the Russian Federation” for the auctions.1488 Claimants state
        “[t]he results of the auctions speak for themselves.”1489 Claimants argue that the small number
        of bidders, the speed of the auctions, the below-market-value resulting prices, and the overall
        benefits to Respondent leave no doubt about Respondent’s “monopolization” of the
        auctions.1490

1173. Claimants note that Respondent as creditor in the bankruptcy was involved in the auctions in
        four ways. Firstly, it approved the procedure for the auctions1491 and Mr. Rebgun’s allotment of
        Yukos’ assets into twenty lots.1492 Secondly, it selected the Russian Federal Property Fund to
        organize and conduct the auctions.1493 Thirdly, it set the starting price for the auctioned
        assets.1494 Fourthly, it “actively communicated with [Mr. Rebgun] on other issues as well.”1495

1174. Respondent underlines that this involvement was in accordance with Russian law and
        emphasizes that Respondent as creditor in the bankruptcy did not have the power to control the
        identity of the bidders, and that in each instance the starting price for the auctioned assets was
        at least equal to the appraised market value.1496

1175. Claimants assert that “[a]s creditor, the Russian Federation received, either directly or through
        Rosneft, approximately 99.71% of the bankruptcy proceeds.”1497                       This occurred through


1486
       Memorial ¶ 468.
1487
       Memorial ¶¶ 468–94.
1488
       Reply ¶ 438.
1489
       Reply ¶¶ 421, 432.
1490
       Reply ¶ 425.
1491
       Counter-Memorial ¶ 633; Finalization Order, Exh. R-752; see also Receiver’s Report, pp. 28–29, Exh. R-751.
1492
       Memorial ¶ 470.
1493
       Memorial ¶ 470; see also Ruling of the Moscow Arbitrazh Court, 12 November 2007, p. 8, Exh. C-362.
1494
       Reply ¶ 425.
1495
       Reply ¶ 425, citing Ruling of the Moscow Arbitrazh Court, 12 November 2007, pp. 8–9, 21, Exh. C-362.
1496
       Rejoinder ¶ 1162; Counter-Memorial ¶¶ 633–38; see also Procedure for the Conduct of Public Auctions in Respect of
       the Assets of OAO NK Yukos during the Receivership Proceedings, Clauses 2.1–2.3, 20 February 2007, Exh. R-3943
       and Minutes No. 5 of the Meeting of the Creditors’ Committee of OAO NK Yukos, 21 February 2007, Exh. R-3944;
       Russian Bankruptcy Law 2002, Articles 110(5) and 111(3), Exh. R-3892.
1497
       Claimants’ Post-Hearing Brief ¶ 132.




                                                         - 374 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 395 of 617




        “Rosneft [having] won 11 out of the 17 bankruptcy auctions, including acquiring
        Samaraneftegaz (Lot No. 11) and Tomskeneft (Lot No. 10).”1498

1176. In their Skeleton Argument, Claimants summarize the eleven auctions that completed the
        bankruptcy proceedings as follows:

                Yukos’ remaining assets were transferred to the Russian State at well below their fair
                market value through a series of 17 auctions held between March 2006 and August 2007.
                Rosneft thereby directly or indirectly acquired Yukos’ key remaining assets, including
                Samaraneftegaz (Lot No. 11) and Tomskneft (Lot No. 10), which were sold at a gross
                discount of approximately 37% and 33%, respectively, of their fair market value. For its
                part, Gazprom acquired through Eni/Enel the 20% minus 1 share stake in Sibneft that the
                Russian Federation had persistently refused to let Yukos sell to pay off alleged tax debts.
                As with the sham auction of Yuganskneftegaz, there was no genuine competition in the
                bankruptcy auctions and, in many instances, including those for Samaraneftegaz and
                Tomskneft, the only participants were Rosneft and a previously unknown entity whose sole
                role was to satisfy the formal requirement that there be a minimum of 2 bidders.
                Finally, when, by the end of July 2007, it became clear that despite the low auction prices,
                the bankruptcy might still generate some surplus, further claims were admitted in the
                bankruptcy proceedings on behalf of the Russian State, through the Federal Taxation
                Service and Rosneft. This ensured the completeness of Yukos’ destruction and the transfer
                of its value and assets to the Russian State. Thus, the Russian Federation received, either
                directly or through State-owned Rosneft or Gazprom, approximately 99.71% of the
                bankruptcy proceeds and over 95% of Yukos’ remaining assets, including all of Yukos’
                main production assets.
                On November 12, 2007, the Moscow Arbitrazh Court formally endorsed all the activities
                of Yukos’ receiver Mr. Rebgun, closed the Company’s receivership and ordered that
                Yukos be struck off the register of legal entities. The latter happened on November 21,
                2007.1499

1177. Respondent contends that Yukos’ bankruptcy auctions were held in full compliance with
        Russian law, and that Mr. Rebgun had secured appraisals for the fair value of the assets:

                Once Yukos’ liquidation was properly approved, the company’s assets were sold at auction
                in accordance with Russian law and international practice. Yukos’ receiver obtained
                appraisals for the fair value of the assets, and used those appraisals to set minimum bids in
                the auctions, all of which were exceeded, some by very large margins. The auctions were
                open to domestic and foreign bidders, adequately noticed and advertised, and competitive.
                To the extent that any bidders may have been discouraged from participating, this was
                again the result of Claimants and Yukos having threatened potential bidders with legal
                action. While the aggregate results exceeded Yukos’ own (and other) contemporaneous
                fair market value estimates, more than US$ 9 billion in creditor claims nonetheless
                remained unsatisfied.1500



1498
       Claimants’ Post-Hearing Brief ¶ 131.
1499
       Claimants’ Skeleton ¶¶ 58–60 (internal footnotes omitted).
1500
       Respondent’s Skeleton ¶ 63; see also Respondent’s Post-Hearing Brief ¶¶ 133–34.




                                                          - 375 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 396 of 617




                        (v)     Tribunal’s Observations

1178. The Tribunal notes Respondent’s insistence that all aspects of the bankruptcy were conducted
        in accordance with Russian bankruptcy law. However, the Tribunal’s inquiry is not limited to
        a mere review of the formalities of the bankruptcy.                   It must address and review all the
        substantial features of the proceedings.

1179. Thus, the Tribunal views as improper and unfair that, for example:

        x       All claims filed by Rosneft and the Federal Taxation Service, valued in the billions, were
                peremptorily accepted by the Court, while the many claims filed by Yukos’ affiliated
                companies were rejected by the Court in a very summary way; and

        x       Yukos was saddled with a claim of some USD 6 billion that related only to the profit tax
                to be collected by the Federal Taxation Service as a result of the liquidation of Yukos’
                assets in the bankruptcy.1501

        x       The Tribunal is also troubled by the fact that Rosneft’s acquisition of YNG (discussed in
                Chapter VIII.F of this Award) generated a claim of almost USD 10 billion against Yukos
                in the bankruptcy, including a claim based on the attribution to Yukos of debts owed to
                YNG by Yukos’ trading companies. Since the Tribunal has already found that Rosneft’s
                acquisition of YNG was, to say the least, questionable, in its view, this claim is equally
                questionable.

1180. In light of the above conclusions, the Tribunal cannot accept that it was in any sense proper or
        fair for the creditors’ committee to reject the Rehabilitation Plan, for the court to declare Yukos
        bankrupt, or for Yukos to have been deprived of all of its remaining assets through a hasty and
        questionable liquidation process. On the contrary, it is evident to the Tribunal that the totality
        of the bankruptcy proceedings reviewed in this chapter were not part of a process for the
        collection of taxes but rather, as submitted by Claimants, indeed the “final act of the destruction
        of the Company by the Russian Federation and the expropriation of its assets for the sole
        benefit of the Russian State and State-owned companies Rosneft and Gazprom.”



1501
       The Tribunal notes that this claim or liability was considered in determining whether Yukos should be liquidated or
       rehabilitated, and indeed declared bankrupt, and the Federal Taxation Service itself—which stood to benefit from that
       claim—had a majority vote at the creditors’ meeting.




                                                          - 376 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 397 of 617




1181. The Tribunal notes that its conclusions are consistent with those of the RosInvestCo tribunal
        and the Quasar tribunal.

1182. With respect to the bankruptcy proceedings, the RosInvestCo tribunal concluded as follows:

               Though the Tribunal did not find the bankruptcy auctions to be conducted contrary to
               Russian law, this does not change the general impression from the evidence on file for the
               Tribunal, since the application for bankruptcy by the SocGen Group was also conducted by
               association with the State-controlled company, Rosneft, and that they fitted into the
               obvious general pattern and obvious intention of the totality of the scheme to deprive
               Yukos of its assets.1502

1183. The Quasar tribunal concluded:

               141. The Tribunal has carefully considered each of the Respondent’s defences, but is
               ultimately unpersuaded by them. The issue here is not one of the legality of the bankruptcy
               proceedings, nor their conformity with Russian bankruptcy regulations. Rather, it is
               whether the steps that were taken can properly and fairly be characterised as part of an
               ordinary process of collecting taxes. In the Tribunal’s view, they cannot fairly be so
               characterised, particularly when viewed against the broader chronology of which they form
               part (as summarised later in this section). This conclusion is not overcome by the
               Respondent’s various technical analyses of the consortium agreement.
               ...
               157. But the Tribunal also notes that, as a result of these auctions, “at the end of the day”
               . . . the Russian Federation has ended up with 93% of Yukos Oil Company.” . . .
               158. As summarised below, the overall chronology of which the liquidation auctions
               form part, casts them and their outcome in a particular light. After careful consideration of
               the entire record, the Tribunal concludes that, as with the preceding events, the liquidation
               auctions were part of the same overall scheme of confiscation. In this regard, the
               Tribunal’s findings are consistent with those of the RosInvest Tribunal. . . . The ECHR’s
               finding to the contrary—i.e., that Yukos failed to prove that the Russian Federation “had
               misused those [enforcement] proceedings with a view to destroying the company and
               taking control of its assets”—must be understood as based on a heightened requirement of
               “incontrovertible and direct proof,” given the “wide margin of appreciation” a State enjoys
               under Protocol No. 1 to the European Convention on Human Rights. . . .1503


H.      THE WITHDRAWAL OF PWC’S AUDIT OPINIONS

        1.     Introduction

1184. As noted earlier in this Award,1504 Yukos’ auditor, PwC, withdrew its audit reports for Yukos in
        June 2007. This withdrawal was often mentioned, mostly by Respondent’s counsel, during


1502
       RosInvestCo ¶ 620, Exh. C-1049.
1503
       Quasar, Exh. 3383.
1504
       See paragraph 104 above.




                                                      - 377 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 398 of 617




        these proceedings. Although neither Party called as a witness anyone from PwC, the Tribunal
        has formed the view that it is essential for it to review PwC’s role in the present Awards.

1185. PwC was Yukos’ auditor from 1997 to 2004. It also played an advisory role to Yukos,
        consulting on the company’s domestic and international structures. On 15 June 2007, PwC
        formally withdrew all its prior audit reports for Yukos for the period from 31 December 1995
        until 31 December 2004, stating that “new information” had led it to conclude that such reports
        could no longer be relied upon as trustworthy.1505

1186. Claimants say that the Russian Government exerted pressure on PwC to withdraw the audits in
        order to bolster the legitimacy of the destruction of Yukos. The harassment of PwC, say
        Claimants, took the form of searches, seizures, interrogations, criminal charges, two tax
        lawsuits, and the potential loss of clients and its license to do business in Russia. Rather than
        risk its business and employees for the sake of a client that was “no longer a going concern,”
        PwC chose the “only viable option,” namely to cooperate with the Russian authorities by
        finding pretexts to withdraw its Yukos audits.1506

1187. In contrast, Respondent says that PwC and Yukos had had a troubled relationship for a long
        time, noting that PwC refused to audit the company after 2004. During interrogations of PwC
        auditor Douglas Miller in May and June 2007, PwC received credible “new” information
        showing that Yukos’ senior management had repeatedly lied to its auditors, confirming PwC’s
        prior suspicions on four particular issues, and causing PwC to lose confidence in the content of
        its audit reports. At the time, Yukos was in bankruptcy and former executives and company
        records were no longer accessible.             PwC thus could not conduct satisfactory inquiries to
        determine how the new information affected the audited financial statements.                               In the
        circumstances, the “only viable option” for PwC was to withdraw the audits, a move endorsed
        and approved by Respondent’s audit expert, Mr. Ellison.1507

1188. No witnesses from PwC were presented by the Parties.1508 PwC is not on trial before this
        Tribunal. The Tribunal draws no conclusions in this Award on PwC’s professional conduct.

1505
       PwC’s Withdrawal Letter, Exh. C-611.
1506
       Transcript, Day 2 at 50 (Claimants’ opening), quoting U.S. State Department Cable No. 07MOSCOW2159, 10 May
       2007, WikiLeaks Website, Exh. C-1358.
1507
       Respondent’s Opening Slides, p. 205; Respondent’s Skeleton ¶¶ 45–50; Respondent’s Closing Slides, pp. 188–89;
       Ellison Report.
1508
       For the names of specific individuals from PwC who potentially could have testified, see paragraph 251 above.




                                                          - 378 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 399 of 617




        Nevertheless, the events surrounding PwC’s withdrawal of the Yukos audits help to inform the
        Tribunal’s view as to whether Yukos was the object of a series of politically-motivated attacks,
        or is now simply “blaming the Russian Federation for the consequences of its own
        misconduct.”1509


        2.      Chronology

1189. Absent direct testimony from PwC, the Tribunal must draw its conclusions from the testimony
        of Claimants’ witnesses; correspondence amongst Yukos, PwC, external advisors and the
        Russian authorities; and the testimony of PwC personnel before other fora. There are also
        contemporaneous U.S. State Department cables, which emerged via “Wikileaks” and reveal
        the “candid”1510 and “unguarded”1511 views of PwC’s senior management.


                (a)    PwC Serves as Both Auditor and Consultant to Yukos

1190. From 1997, Yukos was one of PwC’s major clients in Russia. At the Hearing, Claimants’
        witnesses described a “perfectly normal”, “cordial and close” business relationship in which
        PwC was a “permanent partner of Yukos and its subsidiaries for a long time.”1512 PwC
        conducted Yukos’ external audits and assisted with training Yukos’ in-house accountants. PwC
        played an “integral role”1513 in developing Yukos’ financial reporting system, and, according to
        Mr. Theede, “PwC’s consulting arm was actually the architect of [the trading company]
        structures.”1514

1191. Mr. Kosciusko-Morizet testified that “from 1997 to 2004, PwC was given access to the entire
        documentation of the whole of the Yukos group without restriction and had a very detailed and
        global view of the financial situation and the procedures of Yukos and its subsidiaries.”1515 It
        was a consistent theme among Claimants’ witnesses that PwC enjoyed full access to Yukos’

1509
       See Respondent’s Skeleton ¶ 22.
1510
       Reply ¶ 507.
1511
       Transcript, Day 3 at 41 (Respondent’s opening).
1512
       Transcript, Day 11 at 50 (cross-examination of Mr. Theede); Kosciusko-Morizet WS ¶ 15; Transcript, Day 6 at 28
       (cross-examination of Mr. Rieger).
1513
       Misamore WS ¶ 25.
1514
       Transcript, Day 11 at 50. See also the reference to PwC’s consulting contract in Letter from Michael Kubena to Bruce
       Misamore, 15 January 2004, Exh. C-609; Rieger WS ¶¶ 15–19.
1515
       Kosciusko-Morizet WS ¶ 17.




                                                         - 379 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 400 of 617




        accounts, employees and information, “including related-party transactions, shareholders, costs
        [and] taxation.”1516        PwC also maintained a permanent staff presence within Yukos and
        performed site visits to Yukos entities.1517

1192. Claimants’ witnesses pointed out that PwC never voiced complaints about access to the
        company or any of its staff. Mr. Kosciusko-Morizet affirmed that PwC was “perfectly able to
        check for themselves any documentation, ask for any documentation anywhere in the group at
        any level.”1518 Mr. Misamore observed that if PwC “did not have sufficient information, they
        should have asked for more.”1519 It is interesting to note that in 1998 PwC initially refused to
        sign the Yukos financials, as it was unable to resolve which trading companies should be
        consolidated as “controlled by Yukos and used for tax optimization.” However, the next year,
        PwC did sign, as by then it had apparently been shown information sufficient to enable it to
        understand the control relationships.1520

1193. Similarly, as detailed in the next section, PwC occasionally requested additional information
        about certain aspects of Yukos’ activities, and was provided each time with sufficient answers
        to enable it to certify the financial statements according to U.S. GAAP standards.


                (b)      PwC Responds to the Massive Tax Reassessments against Yukos

1194. When Mr. Lebedev was arrested in 2003 on tax-related charges, Yukos turned to PwC.
        Mr. Michael Kubena, a PwC partner, assured the specially-formed ad hoc Yukos Board
        committee chaired by Mr. Kosciusko-Morizet that Yukos had always complied with Russian
        law, including in the operation of its tax optimization structure, and that PwC did not believe
        that there was any possibility that the Russian authorities would attack Yukos on these
        issues.1521

1195. In December 2003, after Yukos received the 2000 Audit Report, Yukos again asked PwC for its

1516
       See e.g., Transcript, Day 6 at 28 (cross-examination of Mr. Rieger).
1517
       Rieger WS ¶ 16.
1518
       Transcript, Day 4 at 29. Mr. Kosciusko-Morizet added that PwC “had every possibility to check whatever they
       wanted to check. And if they agreed on the consolidated perimeter, that was enough for us . . . . The U.S. GAAP
       consolidating statements were done according to the rules . . . . The accounts were approved by an eminent firm.”
       Transcript, Day 4 at 52.
1519
       Transcript, Day 9 at 249.
1520
       Russian Federation Prosecutor General’s Office, Record of Interrogation of Douglas Miller, 4 May 2007, Exh. R-137.
1521
       Kosciusko-Morizet WS ¶ 24.




                                                           - 380 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 401 of 617




        comments. In a letter dated 15 January 2004, Mr. Kubena advised that, under the relevant
        Russian tax legislation, Yukos was not required to discharge the tax obligations of other
        taxpayers, regardless of whether they were affiliated parties.1522

1196. PwC’s advice to Yukos was to set up a Board committee with independent legal counsel to
        carry out an investigation.1523 Mr. Kosciusko-Morizet thus resurrected the special ad hoc Board
        committee and Yukos engaged the law firm Akin Gump to examine the tax reassessments.
        PwC explained in a letter to Yukos of 29 January 2004 that an independent investigation of the
        pending charges and allegations against key Yukos personnel would enable PwC to obtain an
        understanding of possible illegal acts for purposes of its own auditing standards.1524
        Mr. Kosciusko-Morizet said that “to understand this letter, you have to remember the events . . .
        if you know that the problem was political, as everybody did . . . . The answer is you get cold
        feet and you start hedging, and this letter in technical language is about hedging.”1525 PwC’s
        persistence about the investigation led Mr. Kosciusko-Morizet to suggest at the time that PwC
        was “trying to evade its responsibilities.”1526 At the Hearing, he explained what he meant by
        this comment:

                You’re an auditor, you’re in Russia, you know it’s political; you get cold feet. What do
                you do? You don’t want to be involved in the matter, so you find reasons to technically
                withdraw from the issue. What happened here is that we made every effort to satisfy the
                PwC requirements. The effort continued. Akin Gump was hired. A couple of memos,
                interviews and so on. And in the midst of April . . . assets of Yukos . . . were frozen. So
                that was that. At that point, any realistic hope of having PwC approving the 2003 GAAP
                accounts disappeared, for it was practically impossible. Even though we had satisfied all
                their requirements, they would not have approved the accounts because they knewʊthey
                thought, “It’s a political struggle. What about our office?” And they were right, because
                two years later they got into a problem that we all know about . . . . They know it’s
                political; they don’t want to be in the middle of the battle, they don’t want to be touched.
                So they will keep raising arguments, technical arguments, in order not to be dragged into
                the fight.1527

1197. In April 2004, PwC decided they would no longer audit Yukos. Mr. Doug Miller, a PwC
        Moscow partner, explained several years later, in an interrogation before the Prosecutor
1522
       Letter from Michael Kubena to Bruce Misamore, 15 January 2004, Exh. C-609. An earlier draft of this letter also
       concluded that Yukos should not be liable for the trading shells’ taxes, but did not exclude the possibility that there
       would be tax consequences for Yukos if the authorities and courts re-qualified its transactions and the nature of its
       business. Exh. C-1064, CP12026–27.
1523
       Letter from Donn Kingsley to Simon Kukes, 29 January 2004, Exh. C-1064, CP11726.
1524
       Transcript, Day 4 at 154–55.
1525
       Ibid., pp. 153–54.
1526
       E-mail from Jacques Kosciusko-Morizet to Bruce Misamore, 16 February 2004, Exh. C-1064, CP11807.
1527
       Transcript, Day 4 at 165–66.




                                                           - 381 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 402 of 617




        General of the Russian Federation, that the results of the Yukos/Akin Gump investigation
        “were not final for us, they did not help us, i.e. we did not obtain the confirmation or comfort
        that would satisfy us as auditors. This was one of the factors which led to our refusal to audit
        the company in the future.”1528

1198. The timing of PwC’s April 2004 decision to cease auditing Yukos coincides with the period
        when, according to Mr. Rieger, harassment of PwC at the hands of the Russian authorities
        commenced. PwC employees involved in Yukos’ Russian accounts were interrogated.1529 In
        the spring of 2005, Mr. Miller told Mr. Rieger that he could not even meet with Yukos
        employees or management anymore, which Mr. Rieger understood to be a “direct result of the
        permanent pressure put by the Russian authorities on PwC.”1530


               (c)       PwC Faces Mounting Pressure from the Russian Federation around the Same
                         Time as Mr. Khodorkovsky’s Second Trial Starts

1199. Pressure on PwC from the Russian authorities was sustained. In March 2006, a court case was
        brought against PwC for tax violations relating to expatriate salaries. There was speculation
        that the lawsuit was indirectly connected with investigations against Yukos.1531

1200. In December 2006, a second court case was filed against PwC by the Tax Inspectorate. The
        Tax Inspectorate accused PwC of colluding with Yukos on tax evasion. PwC categorically
        rejected the claims that the Yukos audit reports were defective in any professional, legal or
        regulatory way.1532 While PwC acknowledged that it had raised certain matters with Yukos, it
        insisted that these matters did not materially affect the company’s financial statements or alter
        PwC’s opinion in respect of the financial statements.1533

1201. In March 2007, PwC’s Moscow offices were raided by 50 officers from the Prosecutor
        General’s Office and the Interior Ministry. Documents were seized and PwC was eventually
1528
       Russian Federation General Prosecutor’s Office, Record of Interrogation of Douglas Miller of PwC Russia,
       4 May 2007, Exh. R-137 at 17.
1529
       Rieger WS ¶ 18.
1530
       Ibid.
1531
       U.S. State Department Cable No. 07MOSCOW466, “Update on PWC’s Russian tax issues,” 2 February 2007,
       WikiLeaks Website, Exh. C-1352.
1532
       “Official Position of PricewaterhouseCoopers,” PwC Press Release, 25 December 2006, Exh. C-826; “Official
       Position of PricewaterhouseCoopers Regarding the Claims of Tax Inspectorate 5,” PwC Press Release, 17 January
       2007, Exh. C-827.
1533
       Ibid.




                                                      - 382 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 403 of 617




        fined.1534 A press report observed:

                [w]hat is clear is that the firm’s association with Yukos and the fact that the oil company
                was paralysed and eventually bankrupted after being slapped with more than US$30 billion
                in back-tax claims despite financial reports approved by PwC has made the auditor a clear
                target for Russian tax authorities.1535

1202. PwC published an official statement in which it “strongly object[ed] to the seizure of such
        information . . . [and] strongly denie[d] any wrongdoing in either the 2002 tax case or in
        relation to its audits,” and stated that it continued “to work to resolve both matters.”1536
        Mr. Kubena told the U.S. Embassy that the treatment of PwC employees during the March
        2007 raids was “shocking” and a “disgrace.”1537 Nevertheless, he was reported as saying that
        he wished to limit the public profile of the case and urged restraint in discussing it until the
        facts were clear. He said that, in the meantime, PwC “better not . . . raise the public profile of
        the case in ways that could come back to hurt the prospects for a reasonable solution.”1538

1203. On 20 March 2007, the Moscow Arbitrazh Court found against PwC in the Yukos audit case
        and imposed a fine.1539 PwC employees, including Mr. Kubena, also faced criminal charges.1540
        Mr. Kubena expressed disappointment about the outcome to the U.S. Embassy, but again urged
        restraint when discussing the case in public.1541 PwC was anxious about the renewal of its
        license. Having met with PwC representatives, the U.S. Ambassador sought reassurance from
        Finance Minister Kudrin, who advised the Ambassador that there was no basis for the license to
        be revoked.1542 The press still speculated, however, that PwC might risk losing the license.1543


1534
       Russia, With Yukos Still in Sights, Raids PwC, Wall Street Journal, 10 March 2007, Exh. C-832.
1535
       PwC Offices Searched in Yukos-Related Tax Evasion Investigation in Russia, Global Insight, 12 March 2007,
       Exh. C-835; U.S. State Department Cable No. 07MOSCOW1028, “GOR Agencies visit PwC Moscow Office March
       9,” 12 March 2007, Wikileaks Website, Exh. C-1353.
1536
       “PricewaterhouseCoopers’ Official Statement,” PwC Press Release, 12 March 2007, Exh. C-834.
1537
       U.S. State Department Cable No. 07MOSCOW1028, “GOR Agencies visit PwC Moscow Office March 9,”
       12 March 2007, Wikileaks Website, Exh. C-1353.
1538
       Ibid.
1539
       PwC Puts On a Brave Face After Losing Case, Moscow Times, 22 March 2007, Exh. C-838; see also PwC Press
       Release, 20 March 2007, Exh. C-836.
1540
       Letter from the Russian Federation Prosecutor General’s Office to Michael Kubena, 26 June 2007 and Resolution On
       Denial to Initiate Prosecution against ZAO PricewaterhouseCoopers Audit, 25 June 2007, Exh. C-1243.
1541
       U.S. State Department Cable No. 07MOSCOW1210, “Russia: PWC fined in Yukos tax audit case,” 21 March 2007,
       Wikileaks Website, Exh. C-1354.
1542
       U.S. State Department Cable No. 07MOSCOW1354, “Ambassador’s 3/27 meeting with Finance Minister Kudrin,”
       28 March 2007, Wikileaks Website, Exh. C-1355.
1543
       Court Blasts PricewaterhouseCoopers, Kommersant, 2 April 2007, Exh. C-845.




                                                          - 383 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 404 of 617




        In fact, the license was renewed in April 2007 but PwC continued to fear that it would be
        revoked long after.1544 Press reports in April also noted that PwC had started losing clients,
        including State-owned companies Transneft and Sakhalin II.1545

1204. While these events were unfolding, in early 2007, prosecutors filed new charges against
        Mr. Khodorkovsky, causing PwC to start an internal review. According to the declaration of a
        PwC in-house counsel in a separate forum, PwC was at that time already considering and
        drafting a possible withdrawal of the audits.1546

1205. In April 2007, the Russian tax authorities asked the Finance Ministry to initiate a “review” of
        PwC’s auditing practices.1547 On 18 April 2007, PwC received a summons from prosecutors in
        the second Khodorkovsky trial.             The prosecutors wanted to interrogate Mr. Miller while
        reprimanding PwC for failing to cooperate with earlier requests.1548 On 19 April 2007, PwC
        urgently recalled Mr. Miller from his new post in London. They informed him that PwC was
        now cooperating with investigators.              Mr. Miller was instructed to attend the Prosecutor
        General’s Office, where he was interrogated on six occasions in May and June.1549 During
        these sessions he was presented with “new” evidence obtained in connection with the
        Khodorkovsky prosecution.1550 Other PwC personnel were also interrogated in the first half of
        2007. During his last interrogation session, on 4 June 2007, Mr. Miller told the prosecutor that,
        in his opinion, the audit opinions issued in respect of Yukos’ financial statements “starting from
        at least 1999 should be withdrawn.” 1551

1206. The Tribunal notes that, on 14 June 2007, the Prosecutor General’s Office wrote to Mr. Kubena
        that, in connection with criminal investigations of Messrs. Khodorkovsky and Lebedev, “the

1544
       Order of the Ministry of Finance of the Russian Federation No. 348, 19 April 2007, Exh. R-885; U.S. State Department
       Cable No. 07MOSCOW5403, “PWC’s travails in Russia worsen,” 15 November 2007, Exh. C-1360.
1545
       PwC loses Russia’s Sakhalin-2 audit contract, Reuters, 13 April 2007, Exh. C-855; Russia’s Transneft drops PwC as
       auditor, picks KPMG, Reuters, 25 April 2007, Exh. C-858.
1546
       In the Matter of an Application of Michael Khodorkovsky and Platon Lebedev for an Order Seeking Discovery Under
       28 U.S.C. § 1782, Declaration of Laurie Endsley, 31 January 2011 ¶ 9, Exh. R-881.
1547
       U.S. State Department Cable No. 07MOSCOW3343, “Russia: PricewaterhouseCoopers Withdraws Audits of Yukos,”
       9 July 2007, Exh. C-1358.
1548
       Letter from Russian Federation Prosecutor General’s Office to PwC, 18 April 2007, Exh. C-1241.
1549
       Letter from ZAO PwC Audit to Doug Miller, 23 April 2007, Exh. C-1242.
1550
       Russian Federation Prosecutor General’s Office, Records of Interrogations of Douglas Miller of PwC Russia, 4 May
       2007, Exh. R-137; 8 May 2007, Exh. R-17; 10 May 2007, Exh. R-18; 4 June 2007, Exh. R-871.
1551
       Russian Federation Prosecutor General’s Office, Records of Interrogations of Douglas Miller of PwC Russia, 4 June
       2007, Exh. R-871.




                                                         - 384 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 405 of 617




        investigation has at its disposal data that certain persons at the present time are relying” on
        PwC’s audit reports for Yukos.1552 PwC was asked to consider whether its Yukos audit reports
        “ought to be relied upon” and whether PwC could confirm the reliability of the financial reports
        for 1995–2004 in light of “information, that had earlier been inaccessible to the auditors.”1553
        The Tribunal also notes that the following day PwC withdrew its Yukos audit reports.


                    (d)   PwC’s “Volte-Face” in Withdrawing the Yukos Audits; Improved Treatment
                          and Continued Pressures in the Russian Federation

1207. On 15 June 2007, in a letter from Mr. Kubena to Yukos’ receiver, Mr. Rebgun, PwC withdrew
        all of its audit reports for Yukos for the years 1995 to 2004 on the basis of “new information” it
        had received that had caused it to lose confidence in Yukos’ management.1554 Four categories
        of “new” information were highlighted by PwC, concerning:

                    x     control over Behles Petroleum S.A., Baltic Petroleum Trading Limited and South
                          Petroleum Limited (the “BBS Companies”);
                    x     Yukos’ control over the trading companies and consequential avoidance of profit
                          tax;
                    x     Yukos’ purchases of Bank Menatep’s liabilities; and
                    x     compensation to certain individuals who had led Yukos at the time of its
                          privatization.1555

1208. Senior PwC manager Pete Gerendasi reportedly explained to the U.S. Embassy that the “new”
        information had been carefully reviewed and deemed credible; that PwC’s U.S. headquarters
        had been closely consulted; and that PwC had concluded after a thorough review that, “since
        Yukos was no longer a going concern, the only viable option was to withdraw its audits.”1556
        The Embassy observed that Mr. Gerendasi was uncomfortable discussing the sources of the
        “new” information but that he was “unequivocal” that the withdrawal was “a difficult call.”1557

1552
       Letter from the Russian Federation Prosecutor General’s Office to PwC, 14 June 2007, Exh. C-610.
1553
       Letter from the Russian Federation Prosecutor General’s Office to PwC, 14 June 2007, Exh. C-610; see also In the
       Matter of the Application of Michael Khodorkovsky and Platon Lebedev for an Order Seeking Discovery Under 28
       U.S.C. 1782, Deposition of Douglas Miller, 18 December 2009, p. 257, Exh. R-4309 (hereinafter “Miller
       Deposition”).
1554
       PwC’s Withdrawal Letter, Exh. C-611.
1555
       Ibid.
1556
       U.S. State Department Cable, 07MOSCOW3343, “Russia: PricewaterhouseCoopers Withdraws Audits of Yukos,”
       9 July 2007, Wikileaks Website ¶ 3, Exh. C-1358.
1557
       Ibid. ¶ 7.




                                                         - 385 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 406 of 617




        As described in the Wikileaks cable, at the time, PwC was still facing: (a) a review by the
        Finance Ministry of its auditing practices; (b) an appeal regarding the expatriate tax case; and
        (c) an appeal regarding the Yukos collusion case.1558 While Mr. Gerendasi noted that PwC’s
        legal counsel “was uncertain what effect PwC’s decision to withdraw its Yukos audits would
        have on the outcome” of the Yukos collusion case, he stated that “the withdrawal would not
        have an adverse effect on the Finance Ministry’s review of PwC’s auditing practices.”1559

1209. PwC made a public announcement of its withdrawal decision on 24 June 2007.1560                                The
        Financial Times reported:

                PwC’s sudden about face comes after a government pressure campaign that included police
                raids in March on its Moscow office and an ongoing criminal investigation into alleged
                underpayment of taxes by Yukos. The audit firm has also risked losing its license . . . .
                The move will strengthen the Kremlin’s case against Mikhail Khodorkovsky.1561

1210. The Tribunal notes that just one day after the public announcement, the criminal charges
        against Mr. Kubena and other PwC personnel were dropped.1562 In dropping the charges, the
        prosecutor noted that “the unjustified nature of the [audit opinions] . . . was the result of
        misrepresentation by [Yukos’] major shareholders and the persons acting on their
        instructions.”1563

1211. In July 2009, the Financial Times reported that the prosecutors had cleared PwC with respect to
        its Yukos audits, having found no wrongdoing by the firm. PwC was “pleased . . . the general
        prosecutor ha[d] decided not to take any action against PwC Russia, its partners or
        employees.”1564

1212. PwC has always denied that there was a tit-for-tat deal whereby the Russian authorities would
        drop their cases against PwC in return for PwC withdrawing its audits. PwC told the Financial
        Times that “the audit firm’s apparent reversal of fortune had nothing to do with its withdrawal



1558
       Ibid. ¶¶ 4–6.
1559
       Ibid. ¶ 6–7.
1560
       “Withdrawal of Yukos Audit Reports,” PwC Press Release, 24 June 2007, Exh. C-864.
1561
       PwC withdraws Yukos audits, Financial Times, 25 June 2007, Exh. C-865.
1562
       Letter from Russian Federation Prosecutor General’s Office to PwC, 26 June 2007, enclosing Resolution on Denial to
       Initiate Prosecution against ZAO PriceWaterhouseCoopers Audit, 25 June 2007, Exh. C-1237.
1563
       Ibid.
1564
       Moscow clears PwC over Yukos audits, Financial Times, 19 July 2007, Exh. C-874.




                                                         - 386 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 407 of 617




        of the audits . . . and nothing to do with any attempt to reduce the legal pressure.”1565 A few
        years later, in a 2009 deposition conducted in the U.S. by Mr. Khodorkovsky’s criminal
        lawyers, Mr. Miller categorically denied any connection between PwC’s decision to withdraw
        its audits and the legal pressure against PwC:

                Q. Mr. Miller, how much did theʊdid the criminal investigation into PwC in 2007 impact
                PwC’s decision to withdraw the audits?
                ...
                THE WITNESS: I believe that the decision to withdraw was based firmly [on] the
                information that was shown to us . . . during the investigation.
                Q. And is it the same answer as to the tax claims filed against PwC?
                A. Yes.
                ...
                Q. And did you receive any assurances from the investigators, including Mr. Karimov, that
                if PwC withdrew the audits, that the criminal investigation against PwC would be
                terminated?
                A. No.
                Q. Have you received any other assurances from the investigators as to treatment of PwC if
                you wereʊif PwC were to withdraw the audit letters?
                A. No.
                ...
                Q. How about any of the investigators from the Russian authorities, did anybody ask you
                to develop reasons to withdraw the Yukos audits?
                A. No.
                Q. Are you aware of anyone from the . . . [Prosecutor General’s Office] asking PwC to
                develop reasons to withdraw the audits?
                A. No, I’m not aware of that.1566

1213. At the same time, the Tribunal notes that an October 2007 Wikileaks cable reveals that
        Messrs. Kubena and Gerendasi of PwC conveyed to the U.S. Embassy “that the Yukos and
        expatriate salary tax cases against the auditor were politically motivated.”1567 Mr. Kubena
        speculated that the case against PwC for colluding with Yukos might have been “an effort by
        the [Government of Russia] to prove ex post facto that its actions against Yukos had a
        legitimate basis.”1568 Mr. Gerendasi drew a direct connection between the expatriate tax case

1565
       Ibid.
1566
       Miller Deposition, pp. 256–7, 264, Exh. R-4309.
1567
       U.S. State Department Cable No. 07MOSCOW5083, “Update on PWC’s Yukos, Russian tax cases,” 19 October 2007
       ¶ 1, Exh. C-1359.
1568
       Ibid.




                                                         - 387 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 408 of 617




        against PwC and the prosecution against Yukos’ former management, saying that “tax and law
        enforcement authorities may be trying to cast PwC as reckless in an attempt to underscore that
        the [Government of Russia] rightfully prosecuted Yukos senior management.”1569 Following
        this meeting, the Ambassador commented that “PwC is under serious duress in Russia.” 1570

1214. The following month, PwC told the Embassy it was worried that the criminal charges laid in the
        context of the expatriate tax case had “devolved into a pressure tactic against the firm.”1571 As
        for the Yukos tax case, which was on appeal, Mr. Gerendasi noted that “[a]lthough the potential
        financial penalties in this case were only on the order of USD 500,000 . . . the real threat
        remained to the firm’s auditing license.”1572 The Ambassador noted that “Russia matters to
        PwC,” and that “[d]espite the rather stark picture Gerendasi painted, he said that PwC remained
        bullish on Russia and intended to maintain its operations in-country . . . . He added that in the
        interest of facilitating a resolution to the firm’s short-term difficulties, PwC’s international
        leadership would try to meet with senior [Russian governmental] officials in the near
        future.”1573

1215. Mr. Miller and other PwC employees then cooperated as prosecution witnesses in the second
        Khodorkovsky trial. The record discloses that they consulted with the prosecutors prior to their
        testimony, as demonstrated by an e-mail dated 28 March 2009 from the Prosecutor General’s
        Office, in which the prosecutors answered questions posed by Mr. Miller as follows:

                    2. For every witness, exactly on what issues and/or arguments should they dwell in their
                    witness testimony?
                    - The testimony of each witness from among your company’s employees should be unified,
                    that is testify to the same thing, in the same sense and featuring the same style (offensive
                    and aggressive with regard to the Defense) . . .
                    3. Can we obtain a list of approximate expected questions by the Prosecutor for each
                    witness?
                    - Carefully analyze your testimony (records of interrogations) and recall our recent
                    conversation: you will understand the general meaning of such questions. You and I should
                    phrase specific questions ourselves once you have personally got to the bottom of the
                    situation.1574

1569
       Ibid. ¶ 5.
1570
       Ibid. ¶ 6.
1571
       U.S. State Department Cable No. 07MOSCOW5403, “PWC’s travails in Russia worsen,” 15 November 2007 ¶ 4,
       Exh. C-1360.
1572
       Ibid. ¶ 5.
1573
       Ibid. ¶ 8.
1574
       E-mail from Sergei Mikhailov to Doug Miller, 28 March 2009, Exh. C-1244.




                                                          - 388 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 409 of 617




1216. In December 2009, the U.S. Embassy commented on the role that PwC played in the
        Khodorkovsky trial and related Yukos lawsuits. It observed as follows:

               . . . if the audits were properly withdrawn, this will be a “black mark” for the
               [Yukos/Khodorkovsky] defense; if not, it could help the defense, but would greatly tarnish
               PWC’s international reputation . . . . [The Khodorkovsky trial is] applying a superficial
               rule-of-law gloss to a cynical system where political enemies are eliminated with impunity
               . . . . There is a widespread understanding that Khodorkovskiy violated the tacit rules of
               the game: if you keep out of politics, you can line your pockets as much as you desire.
               Most Russians believe the Khodorkovskiy trial is politically motivated . . .1575

1217. Eventually the two court cases against PwC were resolved in PwC’s favor and PwC’s fines
        were refunded.1576 Meanwhile, Mr. Miller’s evidence, and that of other cooperative PwC
        witnesses, was accepted and relied upon by the trial judge who found Mr. Khodorkovsky guilty
        at the conclusion of his second criminal trial.1577


        3.     Parties’ Arguments and Tribunal’s Observations

1218. The main question the Tribunal will address is whether PwC’s withdrawal of its Yukos audits
        was a decision brought about by pressure from the Russian Federation, as Claimants argue, or
        whether PwC decided to withdraw the audit opinions out of the genuine concern that they were
        tainted by newly-discovered misrepresentations, as Respondent argues.                     There is a third
        possibility as well, namely, that PwC’s withdrawal of its audits was a tactical response to
        pressure of the Russian authorities but that nevertheless PwC did have some valid grounds to
        believe that Yukos had made important misrepresentations to it.


               (a)       Did PwC Withdraw its Audits because it was under Pressure from the
                         Russian Government?

1219. Claimants’ witnesses were unequivocal. In their view, PwC gave in to pressure from the
        Russian authorities when it withdrew the audits. Mr. Rieger had noticed that after the attacks
        on Yukos began in 2003, “PwC grew much more distant from Yukos . . . . I understood this to
        be the direct result of the permanent pressure put by the Russian authorities on PwC.”1578


1575
       U.S. State Department Cable No. 09MOSCOW3144, “Rule of Law Lipstick on a Political Pig: Khodorkovskiy case
       plods along,” 30 December 2009 ¶¶ 3, 8, Exh. C-1361.
1576
       Tax Authorities Performed Their Duty to Yukos’ Auditor, Kommersant, 19 June 2009, Exh. R-4310.
1577
       Verdict of the Khamovnichesky Court of Moscow in the second criminal case against Michael Khodorkovsky and
       Platon Lebedev, 27 December 2010, pp. 448–49, Exh. C-1057.
1578
       Rieger WS ¶ 18.




                                                        - 389 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 410 of 617




        Mr. Misamore stated at the Hearing his belief that “PwC withdrew its audit reports as a result of
        tremendous pressure from the Russian Government . . . .”1579 Mr. Kosciusko-Morizet agreed.
        He testified:

                Well, knowing Russia, knowing that this whole Yukos affair is basically political, with a
                financial dimension for some people of course, there is a complete logic here in the
                harassment that PwC was submitted to from December 2006; the raid on their offices, the
                usual methods of armed masked men with machine guns, in March; their denial again of
                any wrongdoing in April; and finally this letter, I would not say written but signed by
                Doug Miller; and then I believe that all the criminal prosecutions disappeared in a matter of
                days . . . . I saw this letter. I considered that this letter was extorted from them by force. I
                know and they know what happened to the Yukos personnel, Vasily Aleksanyan, . . .
                Svetlana Bakhmina and others; there is a long list. And they had to face a decision
                between, of course, protecting their business and protecting their people, especially their
                Russian personnel, from dire consequences and/or insisting on no wrongdoing; that is,
                keeping the ethical line . . . . But PwC, as everybody else, was familiar with the kind of
                treatment you could expect if you resist in that context, and they made a decisionʊI don’t
                blame them for that decisionʊprotecting their staff. It’s just unethical but realistic. And
                now they have a thriving business in Moscow. 1580

1220. Respondent did not deny that the raids, seizures and lawsuits occurred, but explained they were
        part of regular law enforcement activities. Respondent pointed out, for example, that many
        companies (including Ernst & Young) faced lawsuits about expatriation tax issues. It argued
        that auditor collusion lawsuits are standard in other countries.1581

1221. The record before the Tribunal is abundantly clear. PwC’s treatment improved significantly
        once it started to cooperate with the authorities and then withdrew its audits. Almost overnight,
        charges were dropped against PwC personnel.                 PwC’s own legal problems started to be
        resolved. At the same time, some cases took longer to resolve, and concerns by PwC over loss
        of its license were real. It is clear that cooperation from PwC, once given, was expected to be
        enduring. This is easily understood. Mr. Khodorkovsky’s second trial was still ongoing.

1222. Respondent relies heavily on Mr. Miller’s deposition to contradict Claimants’ account of the
        events.1582        That deposition was taken under oath in the U.S., at the request of
        Mr. Khodorkovsky’s own lawyers, and, according to Respondent, it is “hard to imagine a




1579
       Transcript, Day 9 at 182.
1580
       Transcript, Day 4 at 203–04. For Mr. Kosciusko-Morizet’s testimony at the second Khodorkovsky trial, see also
       Verdict of the Khamovnichesky Court of Moscow, 27 December 2010, pp. 468ff, Exh. C-1057.
1581
       Rejoinder ¶ 1283.
1582
       Ibid. ¶¶ 1273–74.




                                                        - 390 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 411 of 617




        clearer or more credible denial of Claimants’ ‘harassment’ theory.”1583

1223. Although Mr. Miller was not offered as a witness, the Tribunal does not accept his denial in
        another forum of any link between PwC’s decision to withdraw the audits and the pressure
        against PwC mounted by the Russian authorities. Mr. Miller was then subjected to six sessions
        of interrogation. When he was recalled from London his superiors instructed him to cooperate
        with the Russian authorities. The March 2009 e-mail exchange with the prosecutor’s office,
        suggests that he was prepared to cooperate when he testified in Mr. Khodorkovsky’s second
        trial. Moreover, the candid views expressed by PwC officials in the U.S. Embassy’s cables
        published by Wikileaks confirm that PwC was under pressure. The cables demonstrate that
        PwC was concerned not to aggravate its difficulties with the Government (“better not raise the
        public profile of the case in ways that could come back to hurt the prospects for a reasonable
        solution”);1584 that PwC was anxious not to lose its license or its business in Russia;1585 that it
        considered the Yukos cases to be politically motivated and saw some connections between the
        withdrawal of the audit opinions and PwC’s treatment by the Russia Government;1586 and that it
        felt that criminal charges in the expatriate tax case were being used as a “pressure tactic.”1587
        The Embassy considered PwC to be under duress and concluded that “the political and legal
        concerns that are driving the heightened scrutiny of PWC’s accounting practices appear to have
        taken on a life of their own.”1588


                    (b)   Were the Grounds Provided by PwC in its Withdrawal Letter Contrived or
                          Credible?

1224. As noted earlier, Claimants assert that PwC played a role in establishing and auditing Yukos’
        domestic and international structures, and that, at all times, PwC had access to all the




1583
       Ibid. ¶¶ 1274–75.
1584
       U.S. State Department Cable No. 07MOSCOW1028, “GOR Agencies visit PwC Moscow Office March 9,”
       12 March 2007, Wikileaks Website, Exh. C-1353.
1585
       U.S. State Department Cable No. 07MOSCOW5403, “PWC’s travails in Russia worsen,” 15 November 2007 ¶ 5,
       Exh. C-1360.
1586
       U.S. State Department Cable No. 07MOSCOW5083, “Update on PWC’s Yukos, Russian tax cases,” 19 October 2007
       ¶¶ 1, 5, Exh. C-1359.
1587
       U.S. State Department Cable No. 07MOSCOW5403, “PWC’s travails in Russia worsen,” 15 November 2007 ¶ 4,
       Exh. C-1360.
1588
       Ibid. ¶ 9.




                                                     - 391 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 412 of 617




        information it required.1589

1225. Respondent on the other hand points to “a long and troubled relationship” between Yukos and
        PwC, recalling that PwC had refused to continue to audit the company’s U.S. GAAP statements
        after 2003.1590 Respondent asserts that in 2007 PwC withdrew its opinions in good faith, upon
        learning “new information” via Mr. Miller’s interrogations in May and June 2007.1591
        Respondent emphasizes “that the Tribunal is not a trier of fact as to the reliability of the
        information learned by PwC. In order to rebut Claimants’ unsupported harassment theory, it is
        sufficient that PwC had a good-faith belief in the credibility of that information. . . .”1592
        According to Respondent, it is for Claimants to prove that Yukos never lied to PwC and that
        PwC’s four reasons for withdrawal of the audits were a mere pretext. Although the Tribunal
        agrees with Respondent that it is not a trier of facts as to the soundness of this “new
        information,” it finds it appropriate to examine those four reasons.


                               i.      Did Yukos’ Management Lie to PwC about the BBS Companies
                                       Being “Related”?

1226. The first category of alleged misinformation identified in PwC’s Withdrawal Letter was the
        following:

                Whilst we were auditing the Company, its management many times declared to us that the
                Company and companies to which substantial volumes of crude oil and oil products were
                exported, namely Behles Petroleum S.A., Baltic Petroleum Trading Limited and South
                Petroleum Limited (hereinafter together referred to as “BBS”), were not affiliated parties.
                In the course of the Investigation, we were provided with information showing that BBS
                had been controlled by the shareholders of Group Menatep Limited (hereinafter “Group
                Menatep”) and had been used to their advantage. At the material time, Group Menatep
                held a controlling block of shares in the Company.1593

1227. It appears as if Yukos’ management had repeatedly assured PwC that Yukos was not “related”
        to the BBS Companies (in the sense of sharing the same beneficial owners within the meaning


1589
       At the Hearing, Mr. Misamore stated that he did not “agree that anything was misrepresented to PwC.” In his view,
       “PwC had access to all the information they wanted; and if they didn’t have sufficient information, they should have
       asked for more.” Transcript, Day 9 at 249. Mr. Theede also testified that up until the Russian Federation’s attack on
       PwC began, “there was never any indication of any concerns or problems or anything to me.” Transcript, Day 11 at
       50. See also Misamore WS ¶ 29; Rieger WS ¶ 18; Kosciusko-Morizet WS ¶ 17.
1590
       Respondent’s Opening Slides, p. 205; Respondent’s Post-Hearing Brief ¶ 61.
1591
       Respondent’s Post-Hearing Brief ¶ 61.
1592
       Ibid.
1593
       PwC’s Withdrawal Letter, Exh. C-611.




                                                          - 392 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 413 of 617




        of GAAP standards).1594 PwC had looked at the issue itself and expressed doubts, but concluded
        that even if they were related, the transactions with the BBS Companies were done under fair
        market conditions, and were so immaterial that they could have no impact on the financial
        statements and thus did not need to be disclosed.1595 Then, in 2007, while being interrogated,
        Mr. Miller found out “new information,” in the form of the record of an interrogation of a
        Mr. Anilionis, who described how the BBS Companies were set up in a structure that would
        enable Messrs. Khodorkovsky and Lebedev to “keep [them] under control but on the surface
        the structure should not belong to ‘Yukos.’”1596 A trade office was set up in Geneva, prices
        were coordinated with Mr. Lebedev, and Yukos’ employees were responsible for oil trading
        activities. The discovery of this “lie”, even though relating to an immaterial matter from a
        financial reporting standpoint, is said to have shattered PwC’s confidence in the statements of
        Yukos’ management and thus caused PwC to withdraw its audit opinions.1597 Claimants say it
        is simply not credible for PwC to have invoked the BBS Companies issue as an excuse to
        withdraw its audit opinions.1598            They also question the reliability of the source of “new
        information,” the interrogation of Mr. Anilionis.1599

1228. When Mr. Kosciusko-Morizet was shown documents indicating that PwC had raised concerns
        in the past about Yukos’ relationship with the BBS Companies, he emphasized that PwC had
        approved Yukos’ G.A.A.P. accounts and thus “ any problem they might have had was
        solved.”1600 Mr. Misamore also confirmed the view that the BBS Companies were not related
        parties vis-à-vis Yukos, that the issue had been on PwC’s radar, and that PwC could have
        caused Yukos to identify the BBS Companies as related if it were essential, but did not.1601

1229. Mr. Misamore denied that PwC had repeatedly recommended that Yukos disclose the
        ownership structure of the BBS Companies and that Yukos had refused such disclosure. He
        explained that PwC had conducted a study in 2002 and that it had not been able to “reach a


1594
       Mr. Misamore confirmed on cross-examination that he still believed that they were unrelated. Transcript, Day 9 at 171.
1595
       PwC Memorandum “Matters for Partner Attention – Summary of Significant Issues,” 31 December 2000, item 8, Exh.
       C-1232; see also Record of Interview of Bruce Misamore, 9 March 2009, pp. 49–50, Exh. R-3347.
1596
       Interrogation Protocol of G.P. Anilionis, 18 January 2007, p. 15, Exh. R-3581.
1597
       Miller Deposition, pp. 176–77, Exh. R-4309.
1598
       Reply ¶ 457.
1599
       Transcript, Day 20 at 203 (Claimants’ closing).
1600
       Transcript, Day 4 at 124; see also Transcript, Day 4 at133.
1601
       Transcript, Day 9 at 176–77.




                                                            - 393 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 414 of 617




        conclusion as to whether or not [information about Yukos’ relationship with the BBS
        Companies] should be disclosed.”1602            Further, he noted that PwC signed Yukos’ audited
        financial statements without that information. Upon being shown an internal PwC document,
        “Matters for Partner Attention”, for year 2000, wherein PwC stated that “[t]he absence of
        disclosure, while not desirable, does not constitute a material omission,”1603 Mr. Misamore said
        that this document too supports his view that disclosure was not so desirable as to warrant PwC
        insisting on its inclusion in Yukos’ F-1 document.1604

1230. Nevertheless, the Tribunal is unconvinced by the claims that the BBS Companies, apparently
        the, or certainly, a, principal exporter of the oil produced by Yukos, were not controlled by or
        related to Yukos. PwC’s contention that it was misled in this regard may have been true.


                               ii.    Did Yukos Management Lie to PwC about Yukos’ Control over
                                      the Trading Companies?

1231. The second category of alleged misinformation identified in PwC’s Withdrawal Letter was the
        following:

                 Now we have information demonstrating that the management of certain Russian legal
                 entities affiliated with the Company did not control the activities of these entities, rather
                 these legal entities were fully controlled directly by the Company’s management. Since
                 the management of these affiliated entities were not in control of these entities’ activities,
                 the court found that these activities were fictitious. Consecutively, the courts found that
                 the profit earned by these legal entities affiliated with the Company was a profit of the
                 Company, and therefore the Company should have accrued and paid taxes on this profit.
                 Nevertheless, in the course of the audits, the Company’s management told us that key
                 issues of the activities of these affiliated legal entities were under supervision and control
                 of their own management.1605

1232. This is an issue that was traversed at length in Chapters VIII.A and B of the present Award.

1233. Claimants argued that PwC was fully aware of the structures of the trading companies, and that
        in the context of the preparation of Yukos’ U.S. GAAP financial statements, PwC had given
        specific and detailed advice to Yukos on how to demonstrate control over affiliated companies



1602
       Ibid. at 64.
1603
       PwC Memorandum “Matters for Partner AttentionʊSummary of Significant Issues,” 31 December 2000, p. 6, Exh.
       C-1232.
1604
       Transcript, Day 9 at 178.
1605
       PwC’s Withdrawal Letter, Exh. C-611.




                                                        - 394 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 415 of 617




        so that they could be included within the consolidation umbrella.1606 Respondent accuses
        Claimants of conflating concepts of accounting (control relationships amongst various Yukos
        entities for consolidation purposes under the U.S. GAAP), which PwC did understand, with
        questions of tax (how much actual control Yukos exerted at an operational level over the
        trading shells from Moscow while maintaining the fiction of management in the low-tax region
        to avoid tax under Russian tax law), which PwC certainly did not appreciate, because it never
        audited the trading companies.1607 Respondent does not actually refer to any “new” information
        PwC learned which would have caused them concern about this in June 2007; it simply points
        to a series of negatives (PwC did not design the trading company scheme, PwC did not audit
        the trading companies).

1234. At the hearing, Respondent referred to the August 2007 interrogation of Mr. Kubena’s
        predecessor as PwC tax advisor in Russia, Mr. Klubnichkin, to show PwC never audited the
        trading companies.1608 While PwC was fully aware of Yukos’ use of the tax optimization
        scheme, Mr. Klubnichkin said, it was not aware of any abusive elements. Mr. Klubnichkin said
        that as Yukos’ auditor, PwC had “never been aware of the fictitious nature of these
        ‘operational’ companies . . . . The deceit lies in the fact that a corporation creates false
        appearance of normal activity, of a serious business, with respect to a fictitious business . . . .
        We could only learn about such nature of these companies in case of a full audit of these
        companies themselves, which would include our visits to their operational premises.”1609 The
        Tribunal notes that Mr. Klubnichkin’s interrogation took place in August 2007, after the PwC
        withdrawal.

1235. Respondent submits that PwC did not know about the Lesnoy assessments. Respondent thus
        disputes that PwC was ever aware that the trading companies were sham entities directly
        controlled by Yukos from Moscow, and disputes that Yukos’ tax scheme was adopted on
        PwC’s advice or recommendation.1610

1236. Claimants’ response is two-fold. Firstly, they refer to oral and documentary evidence in the

1606
       See Reply ¶¶ 469–70, referring to PwC Memorandum “Audit Summary Points and Matters For Partner Attentionʊ31
       December 1999 and 1998,” Exh. C-1230; and for 2001, Exh. C-1233.
1607
       Respondent’s Post-Hearing Brief ¶ 64.
1608
       Respondent’s Closing Slides, pp. 205, citing Interrogation of K.M. Klubnichkin, 1 August 2007, Exh. RHB-S-72 (in
       English)/C-1065, RP 9988-9997 (in Russian).
1609
       Interrogation of K.M. Klubnichkin, 1 August 2007, Exh. RHB-S-72 (in English)/C-1065, RP 9988-9997 (in Russian).
1610
       Respondent’s Post-Hearing Brief ¶¶ 65–67.




                                                        - 395 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 416 of 617




        record confirming PwC’s participation in the Yukos tax scheme in the regions.1611 They point
        to a contemporaneous internal memo from PwC Cyprus to PwC Moscow, which discloses that
        PwC was familiar with the details of the group structure and the relationships of the trading
        companies.1612 In addition, Claimants underline the closeness of Yukos’ relationship with PwC
        as shown by PwC’s attendance at an “international symposium” held by Yukos in early 2002, at
        which tax issues, group structure, international accounting standards and related party
        disclosure requirements were discussed.1613

1237. Finally, Claimants point to a timing problem that in their view undermines the credibility of
        PwC’s statement that it obtained “new information” only in May 2007. The Tribunal finds
        much force in Claimants’ submission that PwC was on notice of the Russian Federation’s
        alleged concerns about Yukos’ tax optimization structure at least as early as January 2004,
        when it issued its opinion on the 2000 Audit Report. As Yukos’ auditor since 1997, PwC
        obviously had a strong incentive in ensuring that its previous audit reports were accurate, and if
        there was anything new or worrying in what it had seen, it would have raised it at the time.
        PwC did not withdraw the audits in 2004, 2005, or 2006 when the issues were being aired
        through the Russian courts and in the public domain. Rather it waited three and a half years,
        and then suddenly decided that there was “new information” on the basis of which the audits
        should be withdrawn.


                              iii.    Did Yukos’ Management Lie to PwC about Transactions with
                                      Bank Menatep?

1238. The third category of alleged misinformation identified in PwC’s Withdrawal Letter was the
        following:

                In the course of the Investigation, we were shown documents demonstrating that the
                Company had made significant payments to meet liabilities of the companies effectively

1611
       Claimants’ Post-Hearing Brief ¶¶ 135–42, citing Transcript, Day 6 at 27 (cross-examination of Mr. Rieger);
       Transcript, Day 4 at 27 (cross-examination of Mr. Kosciusko-Morizet). Mr. Misamore recalled that it was PwC’s
       recommendation to use indirect control for purposes of consolidation. Transcript, Day 9 at 34. Mr. Theede recalled
       that PwC had been the “architect” of the domestic trading companies’ structure. Transcript, Day 11 at 50.
       Mr. Kosciusko-Morizet specified that Yukos, as in the case of other Russian companies, had “made use of means of
       tax optimization that were provided for by Russian law” and that “these means had been recommended and put in
       place by PwC’s experts.” Morizet WS ¶ 24. See also Letter from Enrique Munoz to Michel Soublin, 13 October
       2000, Exh. C-1064, CP1408.
1612
       Transcript, Day 16 at 157, citing to Letter from Chris Santis (PwC Cyprus) to Kelly Allin (PwC Moscow), 10 April
       2003, Exh. R-349.
1613
       Claimants’ Post-Hearing Brief ¶ 146, citing to Minutes of Yukos Moscow International Symposium, 29–31 January
       2002, Exh. C-1064, CP4146.




                                                         - 396 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 417 of 617




               owned and controlled by Group Menatep before AKB Menatep Bank. Complete
               information about the nature of these transactions and relations was not disclosed to us in
               the course of the audits.1614

1239. This “new information” concerned transactions going back to the late 1990s, when Yukos
        purchased what Respondent calls “worthless claims” against Bank Menatep, which was in
        bankruptcy at the time.1615 The principal shareholders of Bank Menatep were the same as the
        principal shareholders of Yukos. PwC was concerned that the purchase of claims against a
        bankrupt bank was undertaken to further the interests of the companies’ common shareholders,
        using Yukos’ funds and at the expense of Yukos’ minority shareholders. By May 2000, Yukos
        had accumulated USD 500 million in claims against Bank Menatep, but had at most
        USD 220 million in guarantees.

1240. During one of the 2007 interrogations, Mr. Miller was shown minutes of a May 2000 meeting,
        in which Yukos’ managers stated that “it would be not be desirable to disclose this information
        since those shares were bought out from the borrowers.”1616 The minutes then state that “[i]t is
        necessary to immediately demonstrate to the Company’s auditors the intention to sell the excess
        of the purchased assetsʊwith a book profitʊto unrelated third parties. . . .”                        Although
        Mr. Miller could not in fact remember if he worked on this issue or if the information was
        disclosed to PwC, he was outraged what he described as the “unacceptable manipulation of
        information” revealed by the minutes and by Yukos’ plan to lie to the auditors about its
        worthless claims against Bank Menatep.1617

1241. Claimants assert that PwC was always fully aware of the substance of the transactions
        concerning the assumption of Bank Menatep’s debt, and that the transactions were accounted
        for in Yukos’ financial statements and draft F-1 forms.1618




1614
       PwC’s Withdrawal Letter, Exh. C-611.
1615
       White & Case, Memorandum, 25 July 2001, Exh. R-3585.
1616
       Minutes of Meeting, 31 May 2000, Exh. C-1231.
1617
       Reply ¶ 481, citing to Russian Federation General Prosecutor’s Office, Record of Interrogation of Douglas Miller,
       4 June 2007, Exh. R-871.
1618
       Yukos U.S. GAAP Consolidated Financial Statements, 31 December 1999, Exh. C-1066; for 2000, Exh. C-27; for
       2001, Exh. C-28; Draft Yukos F-1 Form and Registration Statement Under the Securities Act of 1933, 19 March 2003,
       Exh. C-1067.




                                                        - 397 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 418 of 617




                              iv.     Did Yukos’ Management Lie to PwC about its Compensation
                                      Payments to Certain VPL Managers?

1242. The fourth category of alleged misinformation identified in PwC’s Withdrawal Letter was the
        following:

                The Company failed to timely disclose to us information about certain payments made by
                the shareholders of Group Menatep in favor of certain individuals, who were leading
                executives of the Company at the time of its privatization. In the course of the
                Investigation, some information disclosed to us ran counter to the explanations given to us
                by the management and shareholders of the Company in the course of our audits with
                regard to the exact nature of those payments.1619

1243. This allegation concerned the extraordinarily generous compensation plan that had been put in
        place for certain persons who had been managers of Yukos at the time of its privatization. PwC
        suspected that the immense sums paid to those persons could not have been for services
        rendered to Yukos itself. Respondent alleges that Yukos had misrepresented to PwC the
        purpose of the compensation plan. PwC’s long-held suspicion about the nature of the payments
        was only confirmed when the Prosecutor General showed Mr. Miller statements signed by the
        beneficiaries of the payments to the effect that they had been made to them “not for services
        provided to Yukos but were . . . connected to Group Menatep’s acquisition of Yukos.”1620
        Mr. Miller expressed “indignation” at the “lie” and alleged that Mr. Khodorkovsky had told
        him he would go to jail if forced to disclose the real reason for the payments.1621 This category
        of so-called “lies” was seen as important to PwC not in terms of material effect on the audited
        reports, but insofar as they undermined the credibility of Yukos’ management’s statements.1622

1244. Claimants affirm that Mr. Miller had always been familiar with the payment arrangements.
        How the payments are identified in the accounts is only an accounting issue (as opined by
        Clifford Chance and Cleary Gottlieb at the time).1623 When PwC signed off on the Yukos
        financial statements, they were aware of the issue. Even Mr. Miller acknowledged that the



1619
       PwC’s Withdrawal Letter, Exh. C-611.
1620
       Counter-Memorial ¶¶ 724, 728, citing to Minutes of Audit Committee of the Yukos Board of Directors, 26 February
       2003, Exh. R-3583.
1621
       Russian Federation Prosecutor General’s Office, Record of Interrogation of Douglas Miller, 10 May 2007, p. 8, Exh.
       R-18.
1622
       Miller Deposition, pp. 176–77, Exh. R-4309.
1623
       Reply ¶ 461, citing to E-mail from Doug Miller to Bruce Misamore, 14 August 2002, attaching PwC Memorandum
       “Veteran Managers’ Plan and Agreement: Determination of Accounting for Plan,” Exh. C-1235.




                                                         - 398 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 419 of 617




        “reliability of the financial statements is not affected.”1624 Claimants were prepared to disclose
        the existence and purpose of the compensation fund to the public for the ADR listing.1625


               (c)     Concluding Observations

1245. The Tribunal observes that there are some notable timing problems concerning the date of
        PwC’s withdrawal following the revelation of “new” information. For example, the fact that
        PwC did not audit the trading shells would have been known to Mr. Miller before June 2007.
        PwC would have known about alleged “sham” or “abusive” elements of the Yukos tax
        optimization scheme at least as early as January 2004 when it was shown the 2000 Audit
        Report. It is not understandable that PwC would wait until June 2007 before determining that
        its audits were unreliable. Respondent itself notes that “[a] question can be raised as to whether
        PwC waited too long to withdraw its audit opinions.”1626

1246. In addition, PwC said that its withdrawal letter was drafted on the basis of “new” information
        that Mr. Miller learned in the course of his interrogations in May 2007. However, it appears
        that a draft withdrawal letter was prepared as early as March of that year.1627

1247. PwC was clearly pressed by the Russian authorities to find grounds for withdrawing its audits
        of Yukos. Bearing in mind the complexity of the Yukos structure, the business environment at
        the time it was set up, and the grey areas of Russian tax law at the time, it is not surprising that
        PwC could identify elements of evidence with respect to some aspects of Yukos’ business
        practice that it affirms gave rise to credibility issues. As far as the Tribunal can judge, Yukos
        may not have been candid in its representations to PwC about control of the BBS Companies
        and about the reasons for the immense payments Yukos undertook to make, and did make, to
        individuals who were involved in its privatization.

1248. However, the Tribunal cannot accept that the four issues identified in PwC’s Withdrawal Letter
        were in fact “new” for PwC.             In addition, even if the information was new, it was not
        unequivocal, and could have been tested with Yukos when it was still operational. In this

1624
       Ibid. ¶ 464, citing to Russian Federation General Prosecutor’s Office, Record of Interrogation of Douglas Miller,
       4 June 2007, Exh. R-871.
1625
       Ibid. ¶ 466, citing to Group Menatep Limited, “Information for the Management of OAO NK ‘Yukos,’” Exh. C-597.
1626
       Counter-Memorial ¶ 708.
1627
       In the Matter of an Application of Michael Khodorkovsky and Platon Lebedev for an Order Seeking Discovery Under
       28 U.S.C. § 1782, Declaration of Laurie Endsley, 31 January 2011 ¶ 9, Exh. R-881.




                                                        - 399 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 420 of 617




        regard, the Tribunal notes that PwC did not give former Yukos senior officials an opportunity
        to comment on the new information before signing the withdrawal letter. At the Hearing,
        Mr. Misamore testified that he stood by the following statement he made in 2009 in relation to
        the PwC withdrawal:

                 PWC never said anything to me or, as far as I know, anyone else at Yukos, to my
                 knowledge, about a lack of information or the refusal to provide information, other than the
                 instance concerning the ownership interests in [the] BBS [Companies]. If PWC had asked
                 me to interveneʊand I did intervene with the BBS inquiryʊI would have gone to Group
                 Menatep shareholders or their lawyers, and would have urged the release of the requested
                 information.1628

1249. According to Respondent’s accounting expert, Mr. Ellison, who was not cross-examined, the
        U.S. Statement of Auditing Standards No. 1 sets the following standard for the “Subsequent
        Discovery of Facts Existing at the Date of the Auditor’s Report”:

                 When the auditor becomes aware of information which relates to financial statements
                 previously reported on by him, but which was not known to him at the date of his report,
                 and which is of such a nature and from such a source that he would have investigated it had
                 it come to his attention during the course of his audit, he should, as soon as practicable,
                 undertake to determine whether the information is reliable and whether the facts existed at
                 the date of his report. In this connection, the auditor should discuss the matter with his
                 client at whatever management levels he deems appropriate, including the board of
                 directors, and request cooperation in whatever investigation may be necessary.1629
                 [emphasis added]

1250. Similar steps are expected to be taken under international and Russian auditing standards.1630
        Mr. Ellison notes that PwC’s Withdrawal Letter stated that “due to the company undergoing
        bankruptcy and the former company executives no longer working for the company, PwC was
        unable to access the information required that could lead to revision of the financial statements
        and was also unable to discuss the matter with management, as recommended by [the audit
        standards].” Mr. Ellison concludes that under those circumstances “PwC had no option but to
        withdraw its audit reports.”1631

1251. Mr. Ellison observes that when a reputable international firm withdraws an audit opinion it is
        an “unusual and serious” event.1632 In light of the seriousness of the decision to withdraw the

1628
       Record of Interview of Bruce Misamore, 9 March 2009, p. 51, Exh. R-3347.
1629
       U.S. Statement of Auditing Standards No. 1, Section 561(4), attached as Exh. 4 to Ellison Report.
1630
       Mr. Ellison refers to a similar obligation to “discuss the matter with management” under the International Auditing
       Standards ISA 560 and Russian Federal Auditing Rule No. 10. Ellison Report ¶¶ 3.5.5, 3.5.11, 3.6.1.
1631
       Ibid. ¶ 3.4.28.
1632
       Ibid. ¶ 2.3.1.




                                                          - 400 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 421 of 617




        audit opinions, and the industry standard of consulting with the audited company before taking
        any action, it is noteworthy that PwC made no effort to reach out to Yukos’ management or ex-
        management to discuss the “new” information.

1252. PwC’s senior executives confided to the U.S. Embassy that the withdrawal decision was a
        “difficult” call.1633 At stake for PwC on the one hand was its reputation and loyalty to a “dead”
        client, and on the other hand its continued viability in the Russian market. As the cables reveal,
        Russia mattered to PwC.1634 PwC’s senior executives met with the Russian Government to
        resolve PwC’s problems. And, as noted earlier, after PwC made its decision, criminal charges
        were dropped, and PwC prevailed in two lawsuits, received a refund of its fines, maintained its
        license and retained important Russian clients such as Gazprom.                As observed by Mr.
        Kosciusko-Morizet, “PwC undoubtedly opted in the end for the most pragmatic approach so as
        to maintain its office in Russia and protect its employees from being sued.”1635

1253. As the Tribunal stated at the outset of this chapter, PwC is not on trial before this Tribunal,
        which draws no conclusion in the present Award about PwC’s professional conduct. However,
        the pressure mounted by the Russian authorities against Yukos’ auditors, which led to PwC’s
        eventual withdrawal of its audits and even to a PwC auditor testifying against
        Messrs. Khodorkovsky and Lebedev at their second trial, informs the Tribunal’s view that
        Yukos was the object of a series of politically-motivated attacks by the Russian authorities that
        eventually led to its destruction, as alleged by Claimants.


IX.     PRELIMINARY OBJECTIONS

1254. Before turning to the central question of Respondent’s liability under the ECT on the basis of
        the extensive factual record canvassed in the preceding Part VIII, the Tribunal addresses in this
        Part IX three preliminary objections made by Respondent, including two that were not finally
        resolved in the Tribunal’s Interim Awards.

1255. The Tribunal considers, in this order, Respondent’s preliminary objections related to: (a) the
        ECT’s “fork-in-the-road” provisionʊArticle 26(3)(b)(i); (b) Claimants’ allegedly “unclean

1633
       U.S. State Department Cable No. 07MOSCOW3343, “Russia: PricewaterhouseCoopers Withdraws Audits of Yukos,”
       9 July 2007 ¶ 7, Exh. C-1358.
1634
       U.S. State Department Cable No. 07MOSCOW5403, “PWC’s travails in Russia worsen,” 15 November 2007 ¶ 8,
       Exh. C-1360.
1635
       Kosciusko-Morizet WS ¶ 25.




                                                     - 401 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 422 of 617




      hands”; and (c) the relevance of Article 21 of the ECT.


A.    ARE ALL OR SOME OF THE CLAIMS BARRED BY THE “FORK-IN-THE-ROAD” PROVISION OF
      THE ECT?


      1.    Introduction

1256. Article 26(3)(b)(i) of the ECT contains the ECT’s “fork-in-the-road” provision. It must be read
      together with the preceding paragraphs of Article 26:

                                               Article 26
                  SETTLEMENT OF DISPUTES BETWEEN AN INVESTOR AND A CONTRACTING PARTY
            (1)    Disputes between a Contracting Party and an Investor of another Contracting Party
                   relating to an Investment of the latter in the Area of the former, which concern an
                   alleged breach of an obligation of the former under Part III shall, if possible, be
                   settled amicably.
            (2)    If such disputes can not be settled according to the provisions of paragraph (1)
                   within a period of three months from the date on which either party to the dispute
                   requested amicable settlement, the Investor party to the dispute may choose to
                   submit it for resolution:
                   (a)     to the courts or administrative tribunals of the Contracting Party party to the
                           dispute;
                   (b)     in accordance with any applicable, previously agreed dispute settlement
                           procedure; or
                   (c)     in accordance with the following paragraphs of this Article.

            (3)    (a)     Subject only to subparagraphs (b) and (c), each Contracting Party hereby
                           gives its unconditional consent to the submission of a dispute to international
                           arbitration or conciliation in accordance with the provisions of this Article.
                   (b)(i) The Contracting Parties listed in Annex ID do not give such unconditional
                          consent where the Investor has previously submitted the dispute under
                          subparagraph (2)(a) or (b);
                       (ii) For the sake of transparency, each Contracting Party that is listed in
                            Annex ID shall provide a written statement of its policies, practices and
                            conditions in this regard to the Secretariat no later than the date of the
                            deposit of its instrument of ratification, acceptance or approval in accordance
                            with Article 39 or the deposit of its instrument of accession in accordance
                            with Article 41.
                           [. . .]

1257. Before turning to the Parties’ submissions, the Tribunal recalls its dismissal in the Interim
      Awards of Respondent’s identical Article 26(3)(b)(i) objection to jurisdiction and/or
      admissibility:

            The Tribunal finds that Respondent’s arguments are unconvincing. Indeed, in its written
            submissions, Respondent did appear to concede that, as a general matter, there is ample



                                                    - 402 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 423 of 617




                authority for the application of a “triple identity” test [identity of parties, cause of action
                and object of the dispute] in the context of a “fork-in-the-road” provision. To that extent,
                there is no question that the various Russian court proceedings and applications to the
                European Court of Human Rights cited by Respondent fail to trigger the “fork-in-the-road
                provision” of the ECT.1636


        2.      Parties’ Positions

1258. In its Counter-Memorial, Respondent renews its objection that the Tribunal lacks jurisdiction
        pursuant to Article 26(3)(b)(i) of the ECT. In its view, developments subsequent to the Interim
        Awards show that Claimants, as Yukos shareholders, are seeking before the ECtHR damages
        for the same alleged loss arising from Yukos’ demise. Accordingly, Respondent submits that
        the ECT arbitrations expose it to double recovery.1637

1259. Respondent relies on the Application for Just Satisfaction made by Yukos’ former
        representative, Mr. Gardner, before the ECtHR, requesting damages “and, for the first time …
        compensation for the ‘ultimate stakeholders’ in Yukos through a Stichting created under Dutch
        law.”1638 Respondent argues that these circumstances deprive the Tribunal of jurisdiction under
        Articles 26(3)(b)(i) and 26(2)(b), and Annex ID of the ECT.1639

1260. Respondent submits that the European Convention on Human Rights (“ECHR”) and ECT
        claims share the same fundamental basis, and, accordingly, the ECT claims should be
        dismissed. As previously submitted in its First Memorial on Jurisdiction and Admissibility,
        Respondent emphasizes that its consent to submit a dispute to international arbitration is
        expressly conditioned on Claimants not having already submitted the dispute to a “previously
        agreed dispute resolution procedure,” pursuant to Article 26(3)(b)(i) read in conjunction with
        Article 26(2)(a) and Annex ID of the ECT.1640

1261. Respondent argues that the Tribunal’s dismissal of this objection was premised on the
        “incorrect assumption” that the parties in the proceedings before the ECtHR and the present


1636
       Interim Awards ¶¶ 598–600 (YUL); 609–11 (VPL); 597–99 (Hulley).
1637
       Respondent’s Counter Memorial ¶ 837.
1638
       Rejoinder ¶ 369; Counter-Memorial ¶ 827.
1639
       Counter-Memorial ¶ 828. Annex ID lists the Contracting Parties that have conditioned their consent to the submission
       of a dispute under the Treaty to international arbitration on the condition that the Investor has not previously submitted
       the dispute to the courts or administrative tribunals of the Contracting Party to the dispute. The Russian Federation is
       listed in Annex ID. (Interim Awards ¶¶ 588–89 (YUL); ¶¶ 599–600 (VPL); ¶¶ 587–88 (Hulley).
1640
       Counter-Memorial ¶ 829.




                                                            - 403 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 424 of 617




        proceedings are different.1641 Respondent further submits that the Tribunal erred in “fail[ing] to
        mention the requirements of the ‘triple identity test’ and state which requirement was not
        fulfilled.”1642 In satisfaction of the identity threshold, Respondent submits as follows:

                x     the Application for Just Satisfaction before the ECtHR establishes that the
                      “‘ultimate stakeholders’, including Claimants, are the only Yukos interests that are
                                                                 1643
                      represented in the EC[t]HR proceedings”;

                x     the monetary relief requested in both proceedings for Yukos’ alleged expropriation
                                   1644
                      is identical;       and

                x     the ECHR and ECT claims both aim to obtain compensation for the purported
                      expropriation of Yukos and “have the same normative source,” as Article 13(1) of
                      the ECT and Article 1 of Protocol No. 1 ECHR do not lay down independent
                                                                                 1645
                      standards by which Respondent’s conduct is to be judged.

1262. Claimants maintain their rejection of this objection, emphasizing in their Reply that “it is
        entirely inappropriate and an abuse of process for the Respondent now to seek to reopen this
        issue.”1646

1263. Firstly, Claimants emphasize that the merits phase of these arbitrations is not an instance of
        appeal and, further, that the principles of res judicata and ne bis in idem are absolute bars to
        Respondent renewing this objection.1647

1264. Secondly, Claimants submit that Respondent’s contention that the parties in the ECtHR
        proceedings and these arbitrations are the same is incorrect. Mr. Gardner1648 does not act on
        behalf of Claimants, nor did Claimants make any submissions in those proceedings. Contrary
        to Respondent’s characterization, Mr. Gardner was not seeking compensation “on behalf of
        Claimants.” Rather, Claimants say Mr. Gardner he was simply arguing that the destruction of
1641
       Ibid. ¶ 830.
1642
       Ibid.
1643
       Ibid. ¶ 831.
1644
       Ibid. ¶ 832.
1645
       Ibid. ¶ 833.
1646
       Reply ¶ 967.
1647
       Ibid. ¶ 969.
1648
       Yukos’ counsel before the ECtHR.




                                                  - 404 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 425 of 617




        the Company need not pose an obstacle to an award of just satisfaction, “because the Dutch
        Foundation was able to receive such an award and dispose of it in accordance with its
        statutes.”1649 Claimants also highlight that Mr. Gardner’s submission is dated 4 May 2009, thus
        preceding the Interim Awards in these arbitrations by several months.

1265. Thirdly, Claimants submit that Respondent advanced essentially the same argument previously
        before the ECtHR. Claimants submit that Respondent’s position in that regard was rejected by
        the ECtHR because the parties in the ECT arbitrations were different, and thus the matters were
        not substantially the same.1650

1266. Finally, Claimants submit that no issue of double recovery arises in these arbitrations. They
        repeat the disclaimer they provided to the Tribunal on 1 April 2010, that “should any pecuniary
        damages be awarded to Yukos in the ECtHR proceedings, and should the Claimants receive
        any payments, such payments would be deducted from the amounts claimed in these
        arbitrations.”1651

1267. In its Rejoinder, Respondent draws the Tribunal’s attention to the 2012 decision in Chevron v.
        Ecuador,1652 which, according to Respondent, confirms “a narrow interpretation of ‘fork-in-the-
        road’ provisions that focuses strictly on the legal bases of the claims would deprive such a
        clause of effective scope.”1653

1268. Respondent also objects to Claimants’ res judicata argument. Respondent submits that the
        ECtHR proceedings, which were “formally instituted by Yukos, under Claimants’ direction and
        control” and involve “the very same economic interests that are represented in these
        arbitrations, constitute a special circumstance that justifies a new examination of Respondent’s
        Article 26(3)(b)(i) ECT objection.”1654

1269. Respondent also alleges that Claimants admit there is privity of interest between the two
        proceedings. In support of this assertion, Respondent refers to:


1649
       Reply ¶ 971.
1650
       Ibid. ¶ 972, citing ECtHR Yukos Judgment ¶¶ 524–26.
1651
       Reply ¶ 963, citing Letter from the Claimants to the Arbitral Tribunal of 1 April 2010.
1652
       Chevron Corporation and Texaco Petroleum Company v. Republic of Ecuador, PCA Case No. 2009–23, Third Interim
       Award on Jurisdiction and Admissibility, 27 February 2012 (hereinafter “Chevron v. Ecuador”).
1653
       Rejoinder ¶ 370, citing Chevron v. Ecuador ¶ 4.76.
1654
       Rejoinder ¶ 374.




                                                            - 405 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 426 of 617




                x         the passage of the Reply (mentioned at paragraph 1266 above) where Claimants
                          state that they will deduct any payments they receive in the ECtHR proceedings
                          from the amounts claimed in these arbitrations; and

                x         the Application for Just Satisfaction (mentioned at paragraph 1261 above), where
                          Mr. Gardner characterized Claimants in these arbitrations as the “ultimate
                                                 1655
                          stakeholders” in Yukos.

1270. Finally, Respondent submits that Claimants’ reliance on positions that the ECtHR has already
        finally rejected – namely that Respondent’s taxation measures against Yukos were mala fides,
        briefed extensively in its Rejoinder,1656 “creates a risk of conflicting determinations, one of the
        ills that Article 26(3)(b)(i) ECT is designed to avoid.”1657


        3.      Tribunal’s Decision

1271. Having considered the Parties’ submissions and reviewed the reasons for its dismissal in the
        Interim Awards of Respondent’s identical objection to jurisdiction pursuant to Article
        26(3)(b)(i) of the ECT, the Tribunal sees no reason to reopen this issue and change its decision.

1272. Accordingly, Respondent’s objection that the Tribunal lacks jurisdiction pursuant to
        Article 26(3)(b)(i) of the ECT is dismissed.


B.      “UNCLEAN HANDS” (DID CLAIMANTS ACT ILLEGALLY SO AS TO DEPRIVE THEM OF
        PROTECTION UNDER THE ECT?)

        1.      Introduction

1273. As its second preliminary objection, Respondent submits that Claimants have come to this
        Tribunal with “unclean hands,” with one or many of the following consequences: (a) the
        Tribunal does not have jurisdiction over Claimants’ claims; (b) Claimants’ claims are
        inadmissible; and/or (c) Claimants should be deprived of the substantive protections of the
        ECT. The Tribunal addresses this argument in the present chapter.

1274. Should the Tribunal reject the “unclean hands” argument as a preliminary objection,

1655
       Ibid. ¶ 369.
1656
       Ibid. ¶¶ 99–193.
1657
       Ibid. ¶ 374.




                                                        - 406 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 427 of 617




        Respondent also submits that some instances of Claimants’ unclean hands should be treated as
        contributory fault and/or a failure to mitigate on the part of Claimants, and that any damages
        awarded to Claimants should be discounted on the basis of their unclean hands.                          These
        arguments are addressed in Chapters X.E and XII.C.

1275. Respondent initially made its “unclean hands” argument in the jurisdictional phase of these
        arbitrations. In Paragraph 3 of its Procedural Order No. 3 dated 31 October 2006, the Tribunal
        decided that it would be “appropriate to defer consideration of the Parties’ contentions
        concerning ‘unclean hands’ [and] Respondent’s ‘criminal enterprise’ contention . . . to the
        merits phase, if any.”

1276. In its Interim Awards, the Tribunal stated:

               The Tribunal is well aware of Respondent’s argument that Claimant in this arbitration has
               “unclean hands” and that Claimant’s corporate personality should be disregarded because it
               is an instrumentality of a “criminal enterprise.” The Tribunal recalls that it addressed these
               issues in its Procedural Orders Nos. 2 and 3 on 8 September and 31 October 2006.
               Specifically, the Tribunal then decided to defer consideration of Respondent’s arguments
               concerning the “unclean hands” of Claimant or Claimant being an instrumentality of a
               “criminal enterprise” to any merits phase of this arbitration. Accordingly, by finding, as it
               does, that Claimant qualifies as an Investor owning and controlling an Investment for the
               purposes of Articles 1(7) and (6) of the ECT, the Tribunal does not dispose of the issues
               argued by Respondent concerning the “unclean hands” of Claimant and Claimant being an
               instrumentality of a “criminal enterprise,” which it will address during any merits phase of
               this arbitration.1658

1277. As anticipated in the Interim Awards, now with the benefit of a full presentation of the facts by
        the Parties on all aspects of the Yukos affair, the Tribunal addresses Respondent’s “unclean
        hands” argument in this final Award.

1278. The Tribunal notes that, in their First Submission on Costs, Claimants argue that Respondent,
        after insisting on its “unclean hands” allegations and the assertion that Claimants are an
        instrumentality of a “criminal enterprise” in the jurisdictional phase of this arbitration and
        dedicating nearly two hundred pages of its Counter-Memorial and Rejoinder to the first of these
        two arguments, ultimately abandoned these arguments at the Hearing, pursuing only the
        allegations related to alleged abuse by Claimants of the Cyprus-Russia DTA.1659 In its Reply
        Submission on Costs, Respondent confirmed that it had not abandoned its unclean hands
        defense. To the contrary, Respondent argued that Claimants had explicitly refused to join issue

1658
       Interim Awards ¶ 435 (Hulley); ¶ 436; (YUL); ¶ 492 (VPL).
1659
       Exh. C-916.




                                                        - 407 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 428 of 617




        and submit rebuttal and Respondent had accordingly relied on its arguments as undisputed and
        accepted. According to Respondent, this alleviated the need to devote substantial hearing time
        to these points.1660

1279. Claimants correctly observe that at the merits hearing (and in their Post-Hearing Brief)
        Respondent expanded only on the Cyprus-Russia DTA abuses part of its “unclean hands”
        argument, making only passing reference to other aspects of this argument.1661 However, in the
        Tribunal’s view, this circumstance speaks only to Respondent’s freedom to present its case as it
        chooses, and represents Respondent’s strategic decision to focus on certain arguments instead
        of others in the limited time available to it at the Hearing and within the page limit for post-
        hearing submissions imposed by the Tribunal. The fact that Respondent did not repeat in full
        all of the arguments made in previous pleadings at the Hearing and in its Post-Hearing Brief
        does not mean that these arguments were abandoned.

1280. Below, the Tribunal first summarizes the factual allegations constituting the foundation of
        Respondent’s “unclean hands” argument and then the Parties’ arguments regarding the impact
        of the alleged facts on the Tribunal’s jurisdiction, the admissibility of claims and the
        availability of the substantive protections of the ECT to Claimants. In the last section of this
        chapter, the Tribunal sets out its decision with respect to “unclean hands” as a preliminary
        objection.


        2.       Claimants’ Alleged “Unclean Hands”

1281. Respondent lists 28 instances of alleged “illegal and bad faith conduct” by Claimants or
        “attributable to” Claimants involving a variety of actors and spanning over ten years, from the
        privatization of Yukos in the mid-1990s to its liquidation in November 2007. Claimants
        dispute that any of their conduct (or any conduct attributable to them) was illegal or in bad
        faith.

1282. Given the number and diversity of Respondent’s allegations, the Tribunal presents them below
        in groups intended to facilitate its subsequent analysis. Where facts related to Respondent’s
        “unclean hands” allegations fall outside the scope of the analysis of the factual background set
        out in Part VIII above, they are briefly summarized here.

1660
       Respondent’s Reply Submission on Costs ¶¶ 16–18
1661
       See e.g. Transcript, Day 19 at 169–74, 179; Respondent’s Post-Hearing Brief ¶¶ 146, 148.




                                                          - 408 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 429 of 617




            (a)     Conduct Related to the Acquisition of Yukos and the Subsequent
                    Consolidation of Control over Yukos and its Subsidiaries

1283. The first eleven items of Respondent’s list of “illegal and bad faith conduct” are dedicated to
      conduct related to the acquisition of Yukos by Bank Menatep; and the so-called “Oligarchs”
      and their subsequent consolidation of control and ownership over Yukos and its subsidiaries:




            i.      Violating the legal requirements governing the loans-for-shares program that
                    allowed Menatep to gain its controlling interest in Yukos.

            ii.     Using shell company proxies to feign competition in the loans-for-shares auction
                    and a simultaneous investment tender for Yukos shares.

            iii.    Precluding actual competitors from bidding on Yukos shares in the loans-for-shares
                    auction and investment tender, including through the abuse of Menatep’s role as
                    auction organizer to disqualify Russian competitors.

            iv.     Rigging a subsequent auction for the Yukos shares that were being held as collateral
                    following the initial loans-for-shares auction, which deprived the Russian
                    Government of substantial revenue.

            v.      Conspiring with Yukos’ pre-existing managers to facilitate the unlawful acquisition
                    of Yukos by the Oligarchs, including by entering into an agreement whereby “Yukos
                    Universal” committed to pay them compensation consisting of 15% of Menatep’s
                    beneficial interest in Yukos, ultimately worth billions of dollars, for “services
                    rendered to ‘Yukos’”.

            vi.     Colluding with others to predetermine the post-privatization ownership of Yukos.

            vii.    Skimming profits from Yukos and its production subsidiaries for their own self-
                    enrichment.

            viii.   Abusing Russian corporate law and principles of corporate governance by squeezing
                    out minority shareholders in Yukos’ production subsidiaries through ruthless and
                    self-enriching share dilutions, asset stripping, and transfer pricing.

            ix.     Siphoning off huge sums for the benefit of the Oligarchs from Yukos’ proceeds from
                    the sale of oil and oil products, while concealing related-party transactions from
                    Yukos’ own auditor.

            x.      Further mistreatment of minority shareholders by manipulating shareholder
                    meetings, pressuring the Russian Federal Securities Commission not to pursue its
                    challenges against illegal misconduct, relying on fraudulently determined stock and
                    asset values and deceiving those minority shareholders, the government, and
                    domestic and foreign courts about the nature and control of offshore companies that
                    were created to benefit Claimants and their cohorts.




                                                   - 409 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 430 of 617




                 xi.     Manipulating Yukos’ stock value to devalue and reacquire the interests of creditors
                         to which Yukos stock had been pledged.1662

1284. As context to Respondent’s allegations, it is useful to recall some of Yukos’ early history. The
        Russian Federation created the company in 1993 as part of a large-scale reorganization of the
        Soviet oil production and processing industry into vertically integrated oil companies. Yukos
        remained largely state-run until 1995.1663

1285. Respondent recounts, based on a report by Professor Reinier Kraakman that, in March 1995, a
        consortium of Russian commercial banks, including Bank Menatep (the Chairman of which
        was Mr. Khodorkovsky), proposed to the Russian government that they would lend it money in
        exchange for the right to hold as collateral and manage shares of major state-owned companies
        such as Yukos.1664 A presidential decree of August 1995 provided for the auctioning of the
        right to hold and manage shares of individual companies.1665 Once the terms of the proposed
        management agreement expired, the government would have a choice between paying back the
        loan and reclaiming its shares, and allowing the lender to sell the shares, with the government
        keeping 70 percent of the difference between the sale price and the original amount of the
        loan.1666 This mechanism became known as the “loans-for-shares program.”

1286. In December 1995, the Russian Government retained Bank Menatep to organize the auction for
        the shares in Yukos.1667

1287. Respondent alleges that Bank Menatep “completely rigged the auction” by preventing potential
        competitors from participating, while using two front companies, Laguna and Regent, to
        formally comply with the requirements for bids.1668 Respondent recounts that Laguna won the
        right to hold as collateral and manage a 45 percent stake in Yukos for a USD 159 million loan
        to the Russian government and an additional investment obligation of USD 200 million.
        According to Respondent, Laguna acquired an additional 33 percent stake in Yukos by
        pledging just over USD 150 million in investments at a simultaneously held “investment

1662
       Rejoinder ¶¶ 1435–36.
1663
       Counter-Memorial ¶ 19.
1664
       Ibid.¶ 20.
1665
       Decree of the President of the Russian Federation No. 889 On the Procedure for Putting the Federally Owned Shares
       in Pledge, 31 August 1995, Exh. R-7.
1666
       Counter-Memorial ¶ 21.
1667
       Ibid. ¶ 23.
1668
       Ibid. ¶¶ 27–28.




                                                        - 410 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 431 of 617




        tender.”1669       Bank Menatep acquired Laguna’s rights to hold and manage Yukos shares
        immediately thereafter.1670 Respondent further alleges that Bank Menatep then used “another
        rigged auction and another shell affiliate, named Monblan,” to obtain full ownership of the
        stake in Yukos.1671 Respondent also suggests that Bank Menatep was “an insider among
        insiders” and used Yukos’ own funds to pay for its takeover of Yukos.1672

1288. Respondent makes additional allegations regarding Bank Menatep’s and the Oligarchs’
        treatment of foreign and Russian investors holding minority shares in Yukos’ main production
        subsidiaries—YNG, Samaraneftegaz and Tomskneft—in the aftermath of the privatization.1673
        Respondent alleges that from 1996 to 1999 Bank Menatep and the Oligarchs engaged in
        significant profit skimming and, in 1999 and 2000, abused Russian corporate law and principles
        of corporate governance to “squeeze out the minority shareholders through massive share
        dilutions, transfer pricing, and asset stripping,”1674 until “the minority shareholders sold or
        swapped their shares on the Oligarchs’ terms.”1675

1289. Claimants do not engage with the detail of Respondent’s allegations. They contend that these
        allegations “amount to little more than innuendo based upon a handful of sensationalized
        journalistic accounts.”1676 In particular, Claimants point out that Respondent is “unable to
        make out any failure by Bank Menatep to comply with the terms of the loans-for-shares
        program”1677 and underline that it was the Russian government itself that had the authority to
        preclude foreign companies and individuals from bidding and to disallow bids.1678 Claimants
        add that Respondent’s “vague insinuations” as to the source of funds used to privatize Yukos
        do not prove that anything unlawful took place.1679 Claimants suggest that Respondent’s
        argument “amounts to nothing more than an attempt to shift blame for the actions of the


1669
       Ibid. ¶ 28.
1670
       Kraakman Report ¶ 20.
1671
       Counter-Memorial ¶ 29.
1672
       Ibid. ¶ 33.
1673
       Ibid. ¶ 45.
1674
       Ibid. ¶¶ 915, 946–49; see Kraakman Report ¶¶ 28–42.
1675
       Counter-Memorial ¶¶ 916, 951–61, 75; see Kraakman Report ¶¶ 44–62.
1676
       Reply ¶ 1142.
1677
       Ibid. ¶ 1143.
1678
       Ibid. ¶¶ 1144–45.
1679
       Ibid. ¶ 1146.




                                                        - 411 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 432 of 617




        Russian Government itself onto Bank Menatep.”1680

1290. As regards the manner of the consolidation of Bank Menatep’s ownership over Yukos,
        Claimants reply that Respondent’s allegations are vague and “not only irrelevant, but also
        moot.”1681 Claimants point out that Respondent relies on share issuances and transfers that
        were ultimately cancelled and on an alleged dispute with a minority shareholder that was
        eventually settled.1682


                (b)       Conduct Related to the Cyprus-Russia DTA

1291. Next, Respondent complains of Claimants’ use of the Cyprus-Russia DTA, listing the following
        “bad faith and illegal conduct”:

                xii.      Submitting fraudulent claims under, or otherwise abusing, the Russia-Cyprus Tax
                          Treaty to evade hundreds of millions of dollars in Russian taxes payable on
                          dividends involving Yukos shares, thereby also violating Russian and Cypriot
                          criminal laws.

                xiii.     Entering into hundreds of sham transactions involving the sale and repurchase of
                          Yukos shares between Claimants and their affiliates, the sole purpose of which was
                          to fraudulently suggest that Claimants beneficially owned dividends declared on
                          Yukos shares, and thereby to further Claimants’ fraudulent claims for favorable tax
                          treatment under the Russia-Cyprus Tax Treaty.

                xiv.      Evading hundreds of millions of dollars in Russian taxes on profits from transactions
                          in and profits from sales of Yukos shares.

                [. . .]

                xvi.      Diverting the proceeds of the Yukos tax evasion scheme into highly opaque Cypriot
                          and British Virgin Islands entities and trusts to conceal the unlawful provenance of
                          those proceeds, including through dividend distributions to undisclosed Cypriot
                          parent companies of trading shells, thereby further abusing the Russia-Cyprus Tax
                          Treaty.1683

1292. The Russia–Cyprus DTA, as stated in its preamble, serves the “avoidance of double taxation
        with respect to taxes on income and capital” and the promotion of “economic cooperation
        between the two countries.” Article 10 of the DTA provides:



1680
       Ibid. ¶ 1147.
1681
       Ibid. ¶¶ 1149, 1151–53.
1682
       Ibid. ¶¶ 1149–50.
1683
       Rejoinder ¶¶ 1435–36.




                                                         - 412 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 433 of 617




               1.      Dividends paid by a company which is a resident of a Contracting State to a resident of the
                       other Contracting State may be taxed in that other State.

               2.      However, such dividends may also be taxed in the State of which the company paying the
                       dividends is a resident and according to the laws of that State, but if the beneficial owner of
                       the dividends is a resident of the other State, the tax so charged shall not exceed:

                              5% of the gross amount of the dividends….”

1293. The Parties agree that Claimants Hulley and VPL obtained monetary benefits running in excess
        of USD 230 million under this provision by claiming the reduced withholding tax rate of 5
        percent instead of the standard 15 percent rate of the Russian Federation.

1294. Respondent argues that, in so doing, Hulley and VPL fraudulently relied on the Russia–Cyprus
        DTA to evade Russian taxes, because they: (a) were not the “beneficial owners” of the dividend
        income but mere “conduits” for the Oligarchs, and (b) had a “permanent establishment” in
        Russia to which the dividend income was attributable.1684                      According to Respondent,
        Claimants’ reliance on the DTA was a “complete perversion of the Treaty’s purpose,” and, as
        stated by Professor Rosenbloom, a “blatant example of tax treaty abuse.”1685 Respondent
        alleges that Claimants contrived a series of artificial sales and repurchases of Yukos shares by
        Hulley from YUL, and VPL parked shares in a UBS Moscow account at suspicious times,
        solely to benefit from the DTA. According to Respondent, Claimants offer no justification for
        this practice, aside from their expert, Mr. Baker, mischaracterizing it as a “standard
        arrangement.”1686

1295. Respondent submits that the beneficial ownership requirement “should be construed in light of
        the object and purposes of the [DTA], including avoiding double taxation and the prevention of
        fiscal evasion and avoidance.”1687 According to Respondent, Hulley and VPL never had the
        full right to use or enjoy Yukos’ dividends. In support, Respondent refers to the following
        documents:

               x       Hulley’s and VPL’s bank statements from 1 January 2000 to 31 December 2004,
                       as well as GML’s statement for 2004, which purportedly establish that the



1684
       Counter-Memorial ¶¶ 922–23; Rejoinder ¶ 1448.
1685
       Counter-Memorial ¶ 165; Rosenbloom Report ¶ 77.
1686
       Rejoinder ¶¶ 1488–90; Baker Report, ¶70.
1687
       Ibid. ¶ 1449, relying on the 2011 OECD Discussion Draft for the Model Tax Convention, Exh. R-1959.




                                                         - 413 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 434 of 617




                        dividends paid to Hulley and VPL by Yukos only stayed in their accounts for one
                                                                1688
                        or two days prior to going to YUL;

                x       Hulley’s Articles of Association, which according to Respondent reserved to the
                                                                                           1689
                        “Oligarchs” any decision concerning the disposal of Hulley’s assets;      and

                x       the Deed of Appointment of Chiltern as a custodian trustee for VPL, which,
                        according to Respondent, provides that all dividend income from VPL’s Yukos
                        shares “shall be paid” to YUL so long as Chiltern owns VPL.

1296. Respondent also argues that Claimants have contradicted their own arguments in the
        jurisdictional phase of these proceedings by acknowledging an “obligation to pass all future
        dividends” to YUL; this, argues Respondent, falls within even Claimants’ narrow interpretation
        of the beneficial ownership limitation.1690

1297. Respondent further asserts that Hulley and VPL each had a “Russian permanent
        establishment.”1691 Respondent interprets Claimants’ admission that Hulley and VPL were
        holding companies to mean that any activity necessary to conduct the business of holding
        Yukos shares had to be carried out in Russia through a “deemed permanent establishment”
        (Article 5(5) of the Cyprus-Russia DTA) or a “fixed place of business” (Article 5(2) of the
        Cyprus-Russia DTA).1692            Respondent contends that Messrs. Lebedev and Kakorin, both
        Russian citizens and residents, carried out all the activities relating to Hulley’s and VPL’s
        Yukos shares from Russia.1693

1298. Respondent further submits that Claimants’ alleged abuses violate both Russian and Cypriot
        criminal laws, as shown in the expert report of Mr. Polyviou.1694

1299. Finally, Respondent argues that Claimants’ expert, Mr. Baker, fails to differentiate the
        “tolerated” practice of “treaty shopping” from the “universally condemned” practice of “round


1688
       Ibid. ¶¶ 1457–65, referring to Exhs. R-334 to R-4154.
1689
       Ibid. ¶¶ 1466–87, referring to Exh. R-236.
1690
       Ibid. ¶¶ 1478–79.
1691
       Ibid. ¶¶ 1491–501.
1692
       Ibid. ¶ 1491.
1693
       Ibid. ¶ 1500.
1694
       Counter-Memorial¶ 927.




                                                          - 414 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 435 of 617




        tripping,” which Respondent alleges is what Claimants did.1695              Accordingly, Respondent
        submits that, “at best,” Hulley and VPL “perverted” the purposes of the Cyprus-Russia DTA,
        even if they satisfied its “literal requirements.”1696

1300. Claimants protest that Respondent’s allegations are unsubstantiated in fact and in law.

1301. Firstly, Claimants argue that the beneficial ownership limitation set forth in Article 10(2)(a) of
        the Cyprus-Russia DTA is a “narrow one targeted at nominees, agents and other conduits under
        an obligation to pass on the amount received as a dividend to another party.”1697 Hulley and
        VPL in the present case had the full right to use and enjoy the dividends they received from
        Yukos and were under no obligation to pass them on to another entity, as is evident from
        Clause 117 and Article 1 of their respective Articles of Association, which provide that the
        power to propose the declaration and payment of dividends lies solely with the directors of the
        respective companies.1698

1302. Claimants assert that shares “transferred to a company shortly before the dividend dates and
        transferred back after the dividend has been paid are lawful and a common feature in stock-
        lending, and also in the sale and repurchase of shares (‘repos’).”1699

1303. Secondly, Claimants assert that Hulley and VPL were holding companies, and that their
                                                                 1700
        business as such was not carried on in Russia.                  None of the cumulative conditions in
        Article10(4) of the DTA were made out to show that Hulley or VPL had a permanent
        establishment in Russia, as demonstrated by Mr. Baker’s report.1701

1304. Thirdly, Claimants reject the fraudulent abuse analysis made by Respondent’s expert Professor
        Rosenbloom, noting that there is no anti-abuse principle in the DTA.1702 Claimants emphasize




1695
       Rejoinder ¶ 1508.
1696
       Ibid. ¶ 1509.
1697
       Reply ¶ 1157.
1698
       Ibid. ¶ 1158.
1699
       Ibid. ¶ 1161.
1700
       Ibid. ¶ 1163.
1701
       Ibid. ¶¶ 1164–74.
1702
       Ibid. ¶ 1176.




                                                    - 415 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 436 of 617




        that ‘treaty shopping’ to minimize tax is permissible.1703

1305. Finally, Claimants submit that Hulley’s and VPL’s claims under the Cyprus-Russia DTA were
        consistent with the purpose of the DTA. Claimants recall that one purpose of double-taxation
        treaties is to promote the flow of investment, and argue that both countries have derived
        significant benefits from the DTA.1704

1306. In any event, Claimants submit that the claiming of benefits under a double-taxation treaty is a
        technical matter, for which specific mechanisms of redress are available under the treaty itself
        and domestic law. Accordingly, this Tribunal is not the proper forum to hear and decide such
        disputes.1705


                (c)       Conduct Related to the Tax Optimization Scheme

1307. Three items on Respondent’s list of Claimants’ “illegal and bad faith” conduct relate to
        Claimants’ use of the low-tax regions of the Russian Federation to mitigate tax burdens:

                xv.       Engineering through management installed and controlled by Claimants the massive
                          Yukos tax evasion scheme to avoid paying hundreds of billions of rubles in Russian
                          taxes.

                [. . .]

                xvii. Engaging in abusive corporate restructurings to conceal Yukos’ affiliation with its
                      trading shells, thereby preventing Russian authorities from identifying and
                      addressing Yukos’ tax abuses.

                xviii. Concealing Yukos’ continued control of its trading shells by resorting to call options
                       or other artifices and by fabricating corporate and other transactional documents.1706

1308. A detailed discussion of these allegations is found in Chapter VIII.A of this Award.


                (d)       Actions Taken in Hindrance of the Enforcement of Russia’s Tax Claims

1309. The remaining ten items on Respondent’s list of Claimants’ “bad faith and illegal conduct”
        refer to actions allegedly taken to obstruct enforcement of Russia’s tax claims against Yukos:

1703
       Ibid. ¶ 1175, citing MIL (Investments) S.A. v. Canada [2006] 5 CTC 2552 (Tax Court of Canada), affirmed by Federal
       Court of Appeal of Canada.
1704
       Ibid. ¶ 1177.
1705
       Ibid. ¶ 1189.
1706
       Rejoinder ¶¶ 1435–36.




                                                         - 416 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 437 of 617




                xix.   Repeatedly obstructing the conduct of the tax authorities’ audits of Yukos by
                       refusing to provide documents and information which would show the extent of
                       Yukos’ abuses, and by causing Yukos’ producing subsidiaries and other related
                       entities to be similarly obstructive.

                xx.    Failing to pay Yukos’ tax liabilities for tax year 2000 and following years, despite
                       having received ample notice that Yukos would be required to pay these amounts
                       and despite the fact that Yukos had abundant resources to do so.

                xxi.   Dissipating assets to frustrate the Russian authorities’ collection of the tax
                       assessments, including by way of paying dividends of unprecedented amounts,
                       making spontaneously accelerated loan “prepayments” to Oligarch-owned Moravel,
                       and foisting upon YNG an upstream guarantee up to US$ 3 billion for the repayment
                       of Yukos’ alleged “debts” to Moravel.

                xxii. Offering to the Russian authorities assets which Yukos knew to be tainted to settle
                      its tax liabilities.

                xxiii. Concealing the share registers of Yukos’ subsidiaries to obstruct the bailiffs’
                       enforcement of Yukos’ tax obligations.

                xxiv. Sabotaging the YNG auction through litigation threats and a spurious bankruptcy
                      filing in the United States that effectively prevented all but one bidder from placing
                      a bid at the auction and artificially depressed the amount of the auction proceeds.

                xxv.   Implementing asset-stripping measures by diverting Yukos’ valuable assets to the
                       stichtings managed by former Yukos officers and representatives of Claimants in
                       anticipation of Yukos’ bankruptcy.

                xxvi. Failing to repay Yukos’ debt to the SocGen syndicate and frustrating the banks’
                      attempts to collect against Yukos’ Dutch assets.

                xxvii. In the process of all of the foregoing, lying to Yukos’ auditors PwC about core
                       aspects of their misconduct and, through PwC’s certification of Yukos’ financial
                       statements based on this deception of Yukos’ auditors, to Yukos’ creditors and other
                       members of the investing public who relied upon those financial statements and
                       PwC’s certification of them.

                xxviii. Yukos management’s shielding of Yukos’ very substantial foreign assets behind the
                        veil of two Dutch stichtings, to place those assets beyond the reach of Russian tax
                        authorities, violated Dutch law.1707

1310. In sum, Respondent alleges that Yukos neither paid its tax debts in full immediately after these
        debts were assessed, nor made reasonable settlement offers; dissipated the assets it had on
        hand; lied to its auditors; obstructed the work of the bailiffs; and sabotaged the YNG auction.
        Each of these allegations is discussed by the Tribunal in Part VIII of this Award.




1707
       Ibid. ¶¶ 1435–36.




                                                      - 417 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 438 of 617




        3.     Parties’ Positions Regarding the Impact of Claimants’ Allegedly “Unclean Hands”
               on this Arbitration

1311. The Parties disagree as to whether any of the instances of alleged illegal or bad faith conduct
        enumerated above could serve as a complete bar to Claimants’ claims under the ECT (whether
        as a matter of jurisdiction, admissibility or otherwise) by virtue of the application of some rule
        or principle of law.

1312. Between them, the Parties have dedicated to this controversy several hundreds of pages of
        pleadings in the merits phase alone, citing in the process dozens of arbitral awards and
        decisions rendered by the Permanent Court of International Justice (the “PCIJ”), the
        International Court of Justice (“ICJ”) and mixed-claims commissions. Below, the Tribunal
        does not attempt to do justice to the full breadth of the Parties’ arguments, but focuses instead
        on their most salient points.


               (a)     Respondent’s Position

1313. Respondent submits that Claimants’ “unclean hands” deprive the Tribunal of jurisdiction,
        render Claimants’ claims inadmissible and/or deprive Claimants of the substantive protections
        of the ECT. This submission is based on two main principles.

1314. First, Respondent argues that “the ECT protects only bona fide and lawful investments and
        Respondent’s consent to arbitrate only extends to such investments.”1708                    Respondent
        emphasizes that, as provided by Article 31(1) of the VCLT, a treaty must be interpreted in good
        faith and in accordance with its object and purpose. According to Respondent, the object and
        purpose of the ECT does not include the promotion and protection of illegal investments.1709
        Rather, as stated in the Treaty’s introductory note, “[t]he fundamental aim of the [ECT] is to
        strengthen the rule of law on energy issues.” Respondent argues that several arbitral awards,
        including Phoenix Action, Ltd. v. Czech Republic (“Phoenix”), SAUR International S.A. v. The
        Argentine Republic and Plama Consortium Limited v. Bulgaria (“Plama”) support the
        proposition that, even in the absence of an express legality requirement clause in an investment
        treaty, illegal investments will not be protected.1710 With respect to Plama, in particular,

1708
       Respondent’s Post-Hearing Brief ¶ 147.
1709
       Counter-Memorial ¶ 898.
1710
       Rejoinder ¶¶ 1551–52, 1527, 1563, 1566, referring to Plama Consortium Limited v. Bulgaria, ICSID Case No.
       ARB/03/24, Award, 27 August 2008, Exh. C-994 (hereinafter “Plama”); Phoenix Action Ltd. v. Czech Republic,




                                                     - 418 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 439 of 617




        Respondent notes that the tribunal dismissed the claimants’ ECT claims in the merits phase on
        the grounds that: (a) the investment violated Bulgarian law and applicable principles of
        international law; (b) the claimant’s conduct was not in good faith; and (c) to grant ECT
        protection would therefore have been contrary to the clean hands requirement.1711

1315. Second, Respondent argues that a claimant who is guilty of illegal conduct is deprived of the
        necessary ius standi to complain of corresponding illegalities by the State.1712 This requirement
        of “clean hands,” argues Respondent, is a “general principle of law” within the meaning of
        Article 38(1)(c) of the ICJ Statute.1713           Respondent cites the ICJ’s decision in the Case
        Concerning the Gabþíkovo-Nagymaros Project and various dissenting opinions by ICJ judges,
        as well as a number of decisions of mixed claims commissions rendered in cases of diplomatic
        protection.1714 Regarding the latter set of cases, Respondent submits that the “unclean hands


       ICSID Case No. ARB/06/5, Award, 15 April 2009, Exh. R-1078 (hereinafter “Phoenix”); SAUR International S.A. v.
       Argentina, ICSID Case No. ARB/04/4, Decision on Jurisdiction and Liability, 6 June 2012, Exh. R-4186 (hereinafter
       “SAUR”).
1711
       Ibid. ¶ 1552.
1712
       Counter-Memorial ¶ 892.
1713
       Ibid. ¶ 893.
1714
       Counter-Memorial ¶¶ 894–95, referring to Case Concerning the Gabþíkovo-Nagymaros Project (Hungary/Slovakia),
       Judgment, 25 September 1997, ICJ Reports 1997, p. 7 ¶ 133, Exh. C-948 (hereinafter “Gabþíkovo-Nagymaros”);
       Samuel Brannan v. Mexico, U.S.-Mexico Mixed Claims Commission, Opinion of the Umpire, 1868, in HISTORY
       AND DIGEST OF THE INTERNATIONAL ARBITRATIONS TO WHICH THE U.S. HAS BEEN A PARTY, Vol.
       3 (John Bassett Moore, ed. 1898), p. 2757, 2758, Exh. R-1056; The “Lawrence” Case, U.S.-Great Britain Mixed
       Claims Commission, Judgment of the Umpire, 4 January 1855, Hornby’s Report 397, 1856, p. 398, Exh. R-1057;
       William Whitty v. The United States, U.S.-British Claims Commission, Decision of the Commissioners, in HISTORY
       AND DIGEST OF THE INTERNATIONAL ARBITRATIONS TO WHICH THE U.S. HAS BEEN A PARTY, Vol.
       3 (John Bassett Moore, ed. 1898), p. 2820, 2823, Exh. R-1058; Frederick G. Fitch v. Mexico, U.S.-Mexico Mixed
       Claims Commission, Opinion of the Umpire, 21 June 1876, in HISTORY AND DIGEST OF THE
       INTERNATIONAL ARBITRATIONS TO WHICH THE U.S. HAS BEEN A PARTY, Vol. 4 (John Bassett Moore,
       ed. 1898), p. 3476, 3477, Exh. R-1059; Jarvis Case, U.S.-Venezuela Mixed Claims Commission, Opinion of the
       Commissioner, UNRIAA, 1903–1905, Vol. 9, p. 208, 212, Exh. R-1060; Cucullu’s case, U.S.-Mexico Mixed Claims
       Commission, Opinion of Mr. Palacio, 1868, in HISTORY AND DIGEST OF THE INTERNATIONAL
       ARBITRATIONS TO WHICH THE U.S. HAS BEEN A PARTY, Vol. 4 (John Bassett Moore, ed. 1898), p. 3477,
       3480, Exh. R-1061; Case of the Brig “Mary Lowell”, U.S.-Spain Claims Commission, Opinion of the Umpire, 9
       December 1879, Spain-U.S. Claims Commission, in HISTORY AND DIGEST OF THE INTERNATIONAL
       ARBITRATIONS TO WHICH THE U.S. HAS BEEN A PARTY, Vol. 3 (John Bassett Moore, ed. 1898), p. 2772,
       2775, 2777, Exh. R-1062; Robert Eakin v. United States, No. 118, U.S.-Great Britain Claims Commission, PAPERS
       RELATING TO THE FOREIGN RELATIONS OF THE UNITED STATES, Vol. 3 (Washington Government
       Printing Office, 1874), p. 15, Exh. R-1063; Clark Case (“The Medea and The Good Return”), U.S.-Ecuador Claims
       Commission, 1862, Opinion of Mr. Hassaurek, in HISTORY AND DIGEST OF THE INTERNATIONAL
       ARBITRATIONS TO WHICH THE U.S. HAS BEEN A PARTY, Vol. 3 (John Bassett Moore, ed. 1898), p. 2729,
       2738–39, Exh. R-1064; Case Concerning Military and Paramilitary Activities in and against Nicaragua (Nicaragua v.
       United States of America), Merits, Judgment, 27 June 1986, Dissenting Opinion of Judge Schwebel, ICJ Reports 1986,
       p. 259 ¶¶ 268, 272, Exh. R-1071; Case Concerning Arrest Warrant of 11 April 2000 (Democratic Republic of the
       Congo v. Belgium), Judgment, 14 February 2002, Dissenting Opinion of Judge van den Wyngaert, ICJ Reports 2002,
       p. 137 ¶ 84, Exh. R-1072; Legal Status of Eastern Greenland (Denmark v. Norway), Judgment, 5 April 1933,
       Dissenting Opinion of Judge Anzilotti, PCIJ Series A/B No. 53, p. 76, 95, Exh. R-1073; Interpretation of Peace
       Treaties with Bulgaria, Hungary and Romania, Second Phase, Advisory Opinion, 18 July 1950, Dissenting Opinion of
       Judge Read, ICJ Reports 1950, p. 231, 244, Exh. R-1074. See also Rejoinder ¶¶ 1529–40, citing Case Concerning the




                                                         - 419 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 440 of 617




        principle has [an even] greater role with respect to claims brought directly by private parties,
        including in investor-State arbitration, than in the context of diplomatic protection.”1715
        Respondent also relies on Barcelona Traction for the proposition that in international law the
        corporate “veil is lifted” to “prevent the misuse of the privileges of legal personality, as in
        certain cases of fraud or malfeasance . . . or to prevent the evasion of legal requirements or of
        obligations.”1716 Finally, Respondent argues that if the “unclean hands” doctrine was not
        included in the ILC Articles on State Responsibility and Articles on Diplomatic Protection of
        the International Law Commission, it is only “because it corresponded to the doctrine of
        inadmissibility” and did not fall within the projected scope of both sets of ILC Articles.1717

1316. With respect to Claimants’ contention that the instances of “unclean hands” referred to by
        Respondent can have no impact on this arbitration because they are collateral illegalities
        unrelated to either the making of Claimants’ investments or their claims in these arbitrations,1718
        Respondent argues that it is “unsupported both by the investment treaty awards on which
        [Claimants rely], and by common sense and good faith.”1719

1317. With respect to post-investment conduct, Respondent submits that the awards in Gustav FW
        Hamester GmbH & Co KG v. Ghana (“Hamester”) and AG Frankfurt Airport Services
        Worldwide v. Philippines (“Fraport”) recognize the relevance of such misconduct to the merits
        of an investment treaty claim.1720

1318. As regards illegalities pre-dating the acquisition of the investment, Respondent relies on the
        award in Anderson v. Costa Rica (“Anderson”).1721 Respondent submits that the tribunal in that

       Barcelona Traction Light and Power Company Limited (Belgium v. Spain) (New Application: 1962), Second Phase,
       Judgment, 5 February 1970, ICJ Reports 1970, p. 3, Exh. C-930; Mavrommatis Palestine Concessions (Greece v.
       Great Britain), Judgment, 30 August 1924, PCIJ Series A No. 2, p. 6, 13, Exh. R-1043; ILC, Provisional Summary
       Record of the 2844th Meeting held 25 May 2005, A/CN.4/SR.2844, Agenda Item 2, 6 June 2005, p. 4, 7, Exh. R-
       4191.
1715
       Rejoinder ¶ 1538.
1716
       Case Concerning the Barcelona Traction Light and Power Company Limited (Belgium v. Spain) (New Application:
       1962), Second Phase, Judgment, 5 February 1970, ICJ Reports 1970, p. 3 ¶ 56, Exh. C-930.
1717
       Rejoinder ¶¶ 1543, 1545–47.
1718
       Reply ¶¶ 1134–38.
1719
       Rejoinder ¶ 1568.
1720
       Ibid. ¶¶ 1569–70, referring to Gustav F W Hamester GmbH & Co KG v. Ghana, ICSID Case No. ARB/07/24, Award,
       18 June 2010, Exh. R-1079 (hereinafter “Hamester”); Fraport AG Frankfurt Airport Services Worldwide v.
       Philippines, ICSID Case No. ARB/03/25, Award, 16 August 2007, Exh. R- 1006 (hereinafter “Fraport”).
1721
       Resondent’s Rejoinder ¶ 1571, referring to Anderson v. Costa Rica, ICSID ARB(AF)/07/3, Award, 19 May 2010,
       Exh. R-4204 (hereinafter “Anderson”).




                                                       - 420 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 441 of 617




        case dismissed claims brought by Canadian individuals who had invested in a “Ponzi scheme”
        for lack of jurisdiction ratione materiae. Respondent highlights that tribunal’s finding that the
        entire underlying transaction was illegal and, by that fact, “it follows that the acquisition by
        each [c]laimant of the asset resulting from that transaction was also not in accordance with the
        law of Costa Rica.”1722 Respondent submits that the finding of the Anderson tribunal applies in
        the present case, highlighting that:

                where an investment is simply transferred by the same ultimate owner from one investment
                vehicle to another, the concept of the unity of the investment requires that the process of
                the making and operation of the investment by the ultimate owner and the owner’s
                investment vehicle be considered as a whole for purposes of determining the legality of the
                investment, even if the acquisition of the investment by the claimant, standing alone, is not
                illegal.1723

1319. To hold otherwise, argues Respondent, would extend investment treaty protection to claimants
        who shift investments through several layers of ownership and control in order to launder their
        illegal investments into legal ones qualifying for treaty protection.1724

1320. In response to Claimants’ assertion that ‘in accordance with the law’ requirements should be
        limited to domestic laws regulating the admission of foreign investment, Respondent submits a
        number of counter-arguments, including the following:

          x     Claimants’ reliance on the “isolated 2010 dictum” in Mr. Saba Fakes v. the Republic of
                Turkey (“Saba Fakes”) to limit the substantive scope of the ‘in accordance with the law’
                requirement is “unpersuasive and contrary to a consistent line of arbitral awards that have
                applied ‘in accordance with the law’ clauses to domestic legislation other than laws
                                                               1725
                governing the admission of investments.”

          x     the illegalities “infecting” Claimants’ investments are “quintessential breaches of
                ‘fundamental principles’” and were “central to the profitability of and dividend flow from
                                             1726
                Claimants’ investments.”




1722
       Ibid., quoting Anderson ¶ 55.
1723
       Ibid. ¶ 1572.
1724
       Ibid.
1725
       Ibid. ¶ 1577, referring to Mr Saba Fakes v. The Republic of Turkey, ICSID ARB/07/20, Award, 17 July 2010, Exh. C-
       1537 (hereinafter “Saba Fakes”).
1726
       Ibid. ¶ 1582.




                                                        - 421 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 442 of 617




          x     Claimants’ attempt to exclude minor violations from the scope of ‘in accordance with the
                law’ clauses is unavailing, as none of the illegalities of which Respondent complains are
                         1727
                minor.

1321. In response to Claimants’ contention that they were not the relevant actors in the context of
        Respondent’s allegations regarding Yukos’ tax optimization scheme and the obstruction of the
        enforcement of tax claims against Yukos by the Russian Federation, Respondent submits that
        Claimants are “essential instrumentalities of illegal acts, through Claimants’ control of Yukos
        and its management,”1728 noting that during the relevant period, “Claimants owned a majority
        of Yukos shares and appointed the totality of the members of its board of directors,
        including . . . Mikhail Khodorkovsky.”1729

1322. Respondent also states that it is not estopped from invoking Claimants’ unclean hands in this
        arbitration by any failure to take prompt action.1730 Respondent submits that Claimants have
        failed to satisfy the legal standard for estoppel.1731 This standard, argues Respondent, was
        confirmed by the ICJ in the North Sea Continental Shelf Cases:

                [I]t appears to the Court that only the existence of a situation of estoppel could suffice to
                lend substance to this contention, -- that is to say if the Federal Republic were now
                precluded from denying the applicability of the conventional regime, by reason of part
                conduct, declarations, etc., which not only clearly and consistently evinced acceptance of
                that regime, but also had caused Denmark or the Netherlands, in reliance on such conduct,
                detrimentally to change position or suffer some prejudice. Of this there is no evidence
                whatever in the present case.1732



1727
       Ibid. ¶ 1580.
1728
       Counter-Memorial ¶ 909.
1729
       Ibid. ¶ 933.
1730
       Rejoinder ¶ 1597.
1731
       Ibid. ¶¶ 1588–98.
1732
       Ibid. ¶ 1589, quoting North Sea Continental Shelf (Federal Republic of Germany/Denmark and Federal Republic of
       Germany/Netherlands), Judgment, 20 February 1969, ICJ Reports 1969, p. 3 ¶ 30, Exh. R-4208; see also ¶¶ 1590–92,
       citing Delimitation of the Maritime Boundary in the Gulf of Maine Area (Canada/U.S.), Judgment, 12 October 1984,
       ICJ Reports 1984, p. 246 ¶ 145, Exh. R-4209; Case of the Land and Maritime Boundary (Cameroon/Nigeria),
       Preliminary Objections, Judgment, 11 June 1998, ICJ Reports 1998, p. 275 ¶ 57, Exh. R-4210; Land, Island and
       Maritime Frontier Dispute (El Salvador/Honduras), Application by Nigeria for Permission to Intervene, Judgment,
       13 September 1990, ICJ Reports 1990, p. 92 ¶ 63, Exh. R-4211; Aerial Incident of 10 August 1999 (Pakistan v. India),
       Jurisdiction of the Court, Judgment, 21 June 2000, ICJ Reports 2000, p. 12 ¶ 45, Exh. R-4212; Legality of Use of
       Force (Serbia and Montenegro v. Canada), Preliminary Objections, Judgment, 15 December 2004, ICJ Reports 2004,
       p. 429 ¶ 42, Exh. R-4213; WTO, GuatemalaʊDefinitive Anti-Dumping Measures On Grey Portland Cement From
       Mexico, Report of the Panel, 24 October 2000 ¶¶ 8.23–8.24, Exh. R-4214; WTO, ArgentinaʊDefinitive Anti-
       Dumping Duties On Poultry From Brazil, Report of the Panel, 22 April 2003 ¶ 7.39, Exh. R-4215; Pope & Talbot Inc.
       v. The Government of Canada, UNCITRAL, Interim Award, 26 June 2000 ¶ 111, Exh. C-953.




                                                         - 422 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 443 of 617




1323. Respondent submits that Claimants have failed to identify an unequivocal representation by
        Respondent.        In that regard, Respondent argues that Claimants’ reliance on Respondent’s
        alleged failure to challenge illegalities earlier does not amount to an unequivocal
        representation. Respondent also submits that Claimants have failed to establish that they
        changed their conduct to their detriment in reliance on said representation.            Particularly
        regarding the alleged abuses of the Cyprus-Russia DTA, Respondent contends it raised its
        objection to Hulley’s and VPL’s alleged violations in these arbitrations as early as October
        2006, and thus, argues Respondent, “Claimants’ further suggestion that Respondent might be
        estopped because it did not also raise these abuses ‘in an appropriate forum’ is absurd.”1733

1324. Respondent adds that informal or contra legem acceptance of an investment by the host State’s
        authorities that is illegal under the host State’s domestic law, or based on covert arrangements
        unknown to the host State, cannot provide a basis for estoppel. In support, Respondent relies
        on the Fraport award.1734

1325. Finally, Respondent rejects Claimants proportionality argument, stating that it is based on
        “rules governing countermeasures by an injured State in inter-State relations.”1735 In the words
        of Respondent: “the legality requirement excludes illegal investments from the scope of ECT
        protection. As a result it is not that a host State is not justified in breaching obligations with
        respect to illegal investments, but instead that it has no treaty obligations in the first
        instance.”1736


                (b)       Claimants’ Position

1326. Claimants object that their “unclean hands,” even if proven by Respondent, could have no
        impact on their claims in these arbitrations because: (a) the ECT does not contain any principle
        of “unclean hands”; (b) no principle of “unclean hands” has been recognized as a general
        principle of law; and (c) the instances of “unclean hands” alleged by Respondent are “collateral
        illegalities” that do not fall within the parameters of any “unclean hands” doctrine.

1327. Claimants assert that it is “impossible to find any textual basis in the [ECT] for the

1733
       Ibid. ¶¶ 1593–95.
1734
       Ibid. ¶ 1596, referring to Fraport ¶ 347.
1735
       Ibid. ¶¶ 1584–7.
1736
       Ibid. ¶ 1586.




                                                   - 423 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 444 of 617




        Respondent’s contention.”1737 They add that the introductory note to the ECT––a note which
        Claimants contend is not an official document or interpretation of the ECT––confers an
        obligation to strengthen the rule of law on States parties, rather than on the investor.1738
        Claimants highlight that Respondent chose not to quote the remainder of the note, which goes
        on to state that the ECT’s aim of strengthening the rule of law on energy issues is to be
        accomplished “by creating a level playing field of rules to be observed by all participating
        governments, thus minimising the risks associated with energy-related investments and
        trade.”1739 In this regard, Claimants contend that denying a claimant access to a forum for
        resolving its claims altogether would violate, rather than support, the rule of law.1740

1328. Claimants seek to distinguish the Phoenix and Hamester ICSID awards relied upon by
        Respondent. Claimants highlight that the statement relied on by Respondent to infer that a
        jurisdictional requirement of compliance with host State laws is implicit, even when not stated,
        is obiter dictum on account of the BIT provisions being applied by those tribunals.1741
        Similarly, Claimants submit that any reliance on the Plama award to insert a jurisdictional
        requirement of “clean hands” into the relevant treaty is incorrect. Claimants submit that in the
        Plama decision on jurisdiction, the tribunal considered and rejected an argument that the
        illegality of the investment could affect its capacity to hear the dispute.1742

1329. Further, Claimants emphasize that the bar for recognition of general principles of international
        law is set “extremely high”.1743 Claimants assert that Respondent’s “unclean hands” theory
        fails to meet this high threshold.

1330. Claimants allege that neither the PCIJ nor the ICJ have ever endorsed “unclean hands” as a
        general principle of law.1744 They also argue that the inter-state cases relied on by Respondent
        are inapposite to this arbitration as they concern “situations in which two sovereign States have



1737
       Reply ¶ 1029.
1738
       Ibid. ¶ 1100.
1739
       Ibid. ¶ 1101.
1740
       Ibid. ¶ 1102.
1741
       Ibid. ¶ 1098, referring to Phoenix ¶ 101, Exh. R-1078; Hamester ¶ 123–24, Exh. R-1079.
1742
       Ibid. ¶ 1099, referring to Plama, Exh. C-994.
1743
       Ibid. ¶ 1039.
1744
       Ibid. ¶¶ 1040–55.




                                                         - 424 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 445 of 617




                                                                 1745
        assumed an identical or reciprocal obligation.”                 Claimants further argue that the awards of
        mixed claims commissions are of little guidance, as they deal mostly with diplomatic protection
        and are of “ancient vintage.” In support, Claimants cite the Saba Fakes v. Turkey ICSID award,
        in which the tribunal held that the “rules of customary international law applicable in the
        context of diplomatic protection do not apply as such to investor-State arbitration.”1746

1331. Claimants note that the ILC Articles on State Responsibility and Articles on Diplomatic
        Protection do not contain a principle of “unclean hands.”1747 They also argue that most scholars
        reject the existence of an “unclean hands” general principle altogether, while its proponents
        argue that it should be subject to certain well-defined limits.1748

1332. Claimants also submit that the investment tribunal awards relied on by Respondent in support
        of a general principle of “unclean hands” were decided on other grounds and that Respondent’s
        analysis of these awards is incomplete and misleading.1749 According to Claimants, in each of
        the ICSID awards cited by Respondent––Plama, Phoenix, Hamester and Inceysa Vallisoletana,
        S.L. v. Republic of El Salvador (“Inceysa”)––the tribunal’s decision rested on a clause in the
        relevant BIT conditioning jurisdiction on compliance by the investor with the laws of the host
        State.1750

1333. Furthermore, Claimants argue that even if Respondent can make the case for a general principle
        of “unclean hands” or a legality requirement under the ECT, Respondent’s theory as applied to
        this case rests on allegations of collateral illegalities unrelated to either the making of




1745
       Ibid. ¶¶ 1040, 1055.
1746
       Ibid. ¶¶ 1056–67, referring to Saba Fakes ¶ 69, Exh. C-1537.
1747
       Ibid. ¶¶ 1068–71.
1748
       Ibid. ¶¶ 1072–77. For scholars rejecting the principle, Claimants cite to: Jean Salmon, ed., DICTIONNAIRE DE DROIT
       INTERNATIONAL PUBLIC,   2001, pp. 677–78, Exh. C-1613 ; Luis Garcia-Arias, La doctrine des «Clean Hands» en droit
       international public, 1960, 30 Annuaire des anciens auditeurs de l’académie de droit 14, p. 18, Exh. R-1075; ILC,
       Sixth report on diplomatic protection by John Dugard, Special Rapporteur, 57th Session, 2 May – 5 August 2005,
       U.N. Doc. A/CN.4/546 ¶ 15, Exh. C-1678; Charles Rousseau, DROIT INTERNATIONAL PUBLIC, TOME V, LES RAPPORTS
       CONFLICTUELS ¶ 170, Exh. C-1612. For proponents of the principle, with limits, Claimants cite to: Bin Cheng,
       GENERAL PRINCIPLES OF LAW AS APPLIED BY INTERNATIONAL COURTS AND TRIBUNALS, pp. 157–58, Exh. R-1054; Sir
       Gerald Fitzmaurice, The General Principles of International Law Considered From the Standpoint of the Rule of Law,
       1957, 92 Collected Courses of the Hague Academy of International Law 1, p. 119, Exh. R-1053.
1749
       Ibid. ¶ 1094.
1750
       Ibid. ¶ 1094–1105, referring to Plama, Exh. C-994; Inceysa Vallisoletana, S.L. v. El Salvador, ICSID Case
       No. ARB/03/26, Award, 2 August 2006, Exh. R-1083 (hereinafter “Inceysa”); Phoenix, Exh. R-1078; Hamester, Exh.
       R-1079.




                                                          - 425 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 446 of 617




        Claimants’ investments or their claims in these arbitrations.1751

1334. Claimants submit that even when interpreting treaty provisions expressly requiring compliance
        with host State laws as a condition of jurisdiction, investment tribunals have strictly construed
        such provisions.1752 Claimants submit that investment tribunals have only subjected the initial
        making of the investment to a legality test. They also assert that the limited temporal scope
        employed by investment tribunals renders alleged pre-investment conduct irrelevant,1753 and
        limits its substantive scope, e.g., by extending only to host State laws “governing the admission
        of foreign investments in its territory.”1754 Claimants emphasize that misconduct unrelated to
        the making of an investment, or which concerns minor violations, has been disregarded by
        investment tribunals.1755

1335. Claimants also submit that Anglo-American jurisprudence confirms that alleged illegalities
        must have an “immediate” and “necessary” relation to a claimant’s cause of action.1756

1336. It follows, argue Claimants, that none of Respondent’s allegations are covered by any principle
        of “unclean hands”. The actions complained of by Respondent with respect to the acquisition
        of Yukos pre-date Claimants’ investments, depriving the Tribunal of jurisdiction ratione
        temporis over those actions.1757     The alleged abuses of the Cyprus-Russia DTA do not,
        according to Claimants, have the required “immediate” or “necessary” relation to Claimants’
        claims.1758 Claimants argue that to bar Hulley and VPL permanently from bringing claims
        under the ECT for having claiming benefits under the Cyprus-Russia DTA to which they were
        not entitled rests on an “impossibly broad interpretation” of the “unclean hands” concept.1759

1337. Claimants also point out that only the allegations of DTA abuses concern the conduct of
        Claimants themselves, while the other 24 allegations concern the conduct of persons other than
        Claimants. Claimants contend that Respondent provides no basis on which the conduct of these

1751
       Ibid. ¶¶ 1134–38.
1752
       Ibid. ¶ 1105.
1753
       Ibid. ¶¶ 1106–12.
1754
       Ibid. ¶¶ 1118–19.
1755
       Ibid. ¶ 1120.
1756
       Ibid. ¶¶ 1105, 1078, 1134.
1757
       Ibid. ¶ 1135.
1758
       Ibid. ¶ 1137.
1759
       Ibid.




                                                  - 426 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 447 of 617




        third parties could render Claimants’ hands “unclean”.1760

1338. Claimants further assert that, even if any principle of “unclean hands” is potentially applicable
        in the situation at hand, Respondent is estopped from raising matters in these arbitrations of
        which it has long been aware, but has never challenged.1761 Claimants argue that acquiescence,
        or the silence or absence of protest in circumstances which generally call for a positive reaction
        signifying an objection, may “in and of itself” result in estoppel, where the other elements of
        estoppel are not made out.1762

1339. In particular, Claimants reject Respondent’s allegations with respect to the creation and original
        acquisition of Yukos in 1995.        Claimants submit that it was Respondent that “planned,
        organized, conducted and completed the privatization of the Russian Federation’s property
        through the loans-for-shares program, including the privatization of Yukos.”1763 Similarly,
        Claimants highlight that Respondent did not take legal action against Claimants for any of the
        alleged violations of the Cyprus-Russia DTA by Hulley and VPL. Claimants underline that
        Respondent must have had knowledge of many, if not all, of the alleged violations “as early as
        October 2003, through the searches and seizures of documents at the Moscow premises of
        GML MS, or at least as early as October 6, 2006 when the Respondent first raised the matter in
        these arbitrations.”1764

1340. Claimants also submit that, even if an “unclean hands” general principle existed, it would not
        confer upon States the right to violate investors’ rights.1765 Drawing an analogy to counter-
        measures, Claimants refer to Articles 49 and 54 of the ILC Articles on State Responsibility and
        to the ILC Commentary on the provisions, which states that such measures “are not intended as
        a form of punishment for wrongful conduct, but as an instrument for achieving compliance with
        the obligations of the responsible State.”1766

1341. The ILC Commentary further emphasizes that proportionality is a stand-alone requirement,
        such that even where a counter-measure is carried out for a permissible purpose, it must still be
1760
       Ibid. ¶ 1136.
1761
       Ibid. ¶ 1181.
1762
       Ibid. ¶ 1183.
1763
       Ibid. ¶ 1188.
1764
       Ibid. ¶ 1189.
1765
       Ibid. ¶ 1191.
1766
       Ibid. ¶ 1194.




                                                   - 427 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 448 of 617




        proportionate to the original breach.1767

1342. Claimants submit that the need to weigh the proportionality of Respondent’s response to the
        illegalities it alleges against Claimants provides further reason for rejecting Respondent’s
        “unclean hands” objection to jurisdiction/admissibility. In Claimants’ own words: “it is for the
        tribunal to assess such allegations . . . in its consideration of the merits of the investor’s claims,
        bearing in mind that any response by the host State to any alleged illegality must comport with
        its international obligations.”1768


        4.      Tribunal’s Decision

1343. Article 26(6) of the ECT provides that “[a] tribunal established under paragraph (4) shall decide
        the issues in dispute in accordance with this Treaty and applicable rules and principles of
        international law.”

1344. Article 31 of the VCLT, which is widely recognized as reflecting customary international law,
        provides in its first paragraph that “[a] treaty shall be interpreted in good faith in accordance
        with the ordinary meaning to be given to the terms of the treaty in their context and in the light
        of its object and purpose.”

1345. Looking first at the text of the ECT, the Tribunal observes that it does not contain any express
        reference to a principle of “clean hands.” Nor, unlike some other investment treaties, does the
        ECT contain an express requirement that investments be made in accordance with the laws of
        the host country.1769 These points are not disputed by the Parties.

1346. In the absence of any specific textual hook, the Tribunal must consider whether, given the need
        to interpret treaties in good faith and take account of their object and purpose, the ECT as a
        whole may be understood as conditioning the protection of investments on their legality, or on
        the good faith of the investor. The Tribunal addresses this question in subsection (a) below.


1767
       Ibid. ¶ 1195.
1768
       Ibid. ¶ 1197.
1769
       See e.g. the bilateral investment treaties applied in Fraport, Exh. R-1006 (Germany–Philippines BIT: “[t]he term
       investment shall mean any kind of asset accepted in accordance with the respective laws and regulations of either
       Contracting State”); Inceysa, Exh. R-1083 (Spain–El Salvador BIT: “[e]ach Contracting Party shall protect in its
       territory investments made, in accordance with its legislation”; “[the BIT shall] apply to investments made . . . in
       accordance with the laws”); Phoenix, Exh. RE-1078 (Israel–Czech Republic BIT: “[t]he term ‘investment’ shall
       comprise any kinds of asset invested . . . in accordance with the respective laws and regulations.”




                                                         - 428 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 449 of 617




1347. In addition to any potential limitation on the protection of investments inherent in the ECT, a
        principle of “clean hands” could be relevant to this arbitration pursuant to Article 26(6) of the
        ECT if it were an “applicable rule[. . .] or principle[. . .] of international law.” The Parties
        dispute whether “clean hands” exists as a “general principle of international law recognized by
        civilized nations” in the meaning of Article 38(1)(c) of the Statute of the ICJ. The Tribunal
        addresses this question in subsection (b) below.

1348. Finally, in subsection (c) below, the Tribunal considers whether any of the 28 instances of “bad
        faith and illegal conduct” of which Respondent accuses Claimants fall within the scope of any
        “unclean hands” or similar principle applicable in the ECT context.


                (a)   Can a Clean Hands Principle or Legality Requirement be Read into the ECT?

1349. The Tribunal notes that there is support in the decisions of tribunals in investment treaty
        arbitrations for the notion that, even where the applicable investment treaty does not contain an
        express requirement of compliance with host State laws (as is the case with the ECT), an
        investment that is made in breach of the laws of the host State may either: (a) not qualify as an
        investment, thus depriving the tribunal of jurisdiction; or (b) be refused the benefit of the
        substantive protections of the investment treaty.

1350. The Plama tribunal, deciding a case under the ECT, thus stated that the “substantive protections
        of the ECT cannot apply to investments made contrary to law.”1770 It acknowledged that the
        ECT “does not contain a provision requiring the conformity of the Investment with a particular
        law,” but stated that “[t]his does not mean . . . that the protections provided for by the ECT
        cover all kinds of investments, including those contrary to domestic and international law.”1771
        The tribunal explained that, in that case, granting the claimant protection would have “be[en]
        contrary to the principle nemo auditor propriam turpitudinem allegans” and “the basic notion
        of international public policyʊthat a contract obtained by wrongful means (fraudulent
        misrepresentation) should not be enforced by a tribunal.”1772

1351. Other arbitral tribunals have stated in obiter dicta that the principle that an investment “will not
        be protected if it has been created in violation of national or international principles of good

1770
       Plama, Exh. C-994 ¶ 139.
1771
       Ibid. ¶ 138.
1772
       Ibid. ¶ 143.




                                                  - 429 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 450 of 617




        faith” or “of the host State’s law” is a “general principle[. . . ] that exist[s] independently of
        specific language” in an investment treaty.1773

1352. The Tribunal agrees with this proposition. In imposing obligations on States to treat investors
        in a fair and transparent fashion, investment treaties seek to encourage legal and bona fide
        investments. An investor who has obtained an investment in the host State only by acting in
        bad faith or in violation of the laws of the host state, has brought itself within the scope of
        application of the ECT through wrongful acts. Such an investor should not be allowed to
        benefit from the Treaty.

1353. For reasons that will become apparent further in this chapter, the Tribunal does not need to
        decide here whether the legality requirement it reads into the ECT operates as a bar to
        jurisdiction or, as suggested in Plama, to deprive claimants of the substantive protections of the
        ECT.

1354. However, the Tribunal does need to address Respondent’s contention that the right to invoke
        the ECT must be denied to an investor not only in the case of illegality in the making of the
        investment but also in its performance.                    The Tribunal finds Respondent’s contention
        unpersuasive.

1355. There is no compelling reason to deny altogether the right to invoke the ECT to any investor
        who has breached the law of the host State in the course of its investment. If the investor acts
        illegally, the host state can request it to correct its behavior and impose upon it sanctions
        available under domestic law, as the Russian Federation indeed purports to have done by
        reassessing taxes and imposing fines. However, if the investor believes these sanctions to be
        unjustified (as Claimants do in the present case), it must have the possibility of challenging
        their validity in accordance with the applicable investment treaty. It would undermine the
        purpose and object of the ECT to deny the investor the right to make its case before an arbitral
        tribunal based on the same alleged violations the existence of which the investor seeks to
        dispute on the merits.

1773
       Hamester ¶¶ 123–24, Exh. R-1079. See also Phoenix ¶ 101, Exh. R-1078 (“it is the Tribunal’s view that this condition
       – the conformity of the establishment of the investment with the national laws – is implicit even when not expressly
       stated in the relevant BIT”); SAUR ¶ 308, Exh. R-4186 (“[the tribunal] is aware that the finality of the investment
       arbitration system is to protect only lawful and bona fide investments. Whether or not the BIT between France and
       Argentina mentions the requirement that the investor act in conformity with domestic legislation does not constitute a
       relevant factor. The condition of not committing a serious violation of the legal order is a tacit condition, inherent to
       any BIT as, in any event, it is incomprehensible that a State offer the benefit of protection through arbitration if the
       investor, in order to obtain such protection, has acted contrary to the law.”)




                                                            - 430 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 451 of 617




1356. Respondent has not been able to cite any apposite authority in support of its contention. The
        statements of investment tribunals it relies on were all made obiter and are too vague to allow
        any certain conclusions to be drawn as to their intended meaning. For example, the statement
        in Fraport that illegal acts in the course of an investment “might be a defense to claimed
        substantive violations” appears to suggest that, in some cases, the State’s actions will have been
        justified as an appropriate response to the investor’s violations of national law.1774 As is clear
        from the decision, the statement by the Fraport tribunal does not imply the unavailability of the
        substantive protections of the treaty, but rather concludes that the respondent State has not
        incurred any liability under the treaty.


                (b)    Does the “Clean Hands” Doctrine Constitute a “General Principle of Law
                       Recognized by Civilized Nations”?

1357. Since the Tribunal will not read into the ECT any legality requirement with respect to the
        conduct of the investment, it must consider Respondent’s more general proposition that a
        claimant who comes before an international tribunal with “unclean hands” is barred from
        claiming on the basis of a “general principle of law.”

1358. The Tribunal is not persuaded that there exists a “general principle of law recognized by
        civilized nations” within the meaning of Article 38(1)(c) of the ICJ Statute that would bar an
        investor from making a claim before an arbitral tribunal under an investment treaty because it
        has so-called “unclean hands.”

1359. General principles of law require a certain level of recognition and consensus. However, on the
        basis of the cases cited by the Parties, the Tribunal has formed the view that there is a
        significant amount of controversy as to the existence of an “unclean hands” principle in
        international law.

1360. Respondent has demonstrated that certain principles associated with the “clean hands” doctrine,
        such as exceptio non adimpleti contractus and ex iniuria ius non oritur have been endorsed by
        the PCIJ and the ICJ.1775 However, the Tribunal notes that Judge Simma in his separate opinion

1774
       Fraport, Exh. R-1006 ¶¶ 395, 345. The Tribunal notes that the Chairman, Mr. Fortier, was the Chairman of the
       Fraport tribunal.
1775
       See The Diversion of Water from the Meuse (Netherlands v. Belgium), Judgment, 28 June 1937, Individual Opinion of
       Judge Hudson, PCIJ Series A/B No. 70, p. 73, 77, Exh. C-1502 (“[i]t would seem to be an important principle of
       equity that where two parties have assumed an identical or reciprocal obligation, one party which is engaged in
       continuing non-performance of that obligation should not be permitted to take advantage of a similar non-performance
       of that obligation by the other party”); Gabþíkovo-Nagymaros, ¶ 133 Exh. C-948 (“[t]he Court, however, cannot




                                                         - 431 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 452 of 617




        in the Application of the Interim Accord of 13 December 1995 raises doubt as to the continuing
        existence of the exceptio non adimpleti contractus principle.1776

1361. With regard to the “unclean hands” doctrine proper, Respondent has referred to the dissenting
        opinion of Judge Schwebel (a member of this Tribunal) in the Military and Paramilitary
        Activities in and against Nicaragua ICJ case, where he concluded that Nicaragua’s claims
        against the United States should fail because Nicaragua had “not come to Court with clean
        hands.”1777 Respondent also referred to other dissenting ICJ and PCIJ opinions where the
        principle of “unclean hands” was invoked (albeit often without referring to it by name).1778

1362. However, as Claimants point out, despite what appears to have been an extensive review of
        jurisprudence, Respondent has been unable to cite a single majority decision where an
        international court or arbitral tribunal has applied the principle of “unclean hands” in an inter-
        State or investor-State dispute and concluded that, as a principle of international law, it
        operated as a bar to a claim.

1363. The Tribunal therefore concludes that “unclean hands” does not exist as a general principle of
        international law which would bar a claim by an investor, such as Claimants in this case.




       disregard the fact that the Treaty has not been fully implemented by either party for years, and indeed that their acts of
       commission and omission have contributed to creating the factual situation that now exists. Nor can it overlook that
       factual situation . . . when deciding on the legal requirements for the future conduct of the Parties. This does not mean
       that facts––in this case, facts which flow from wrongful conduct––determine the law. The principle ex injuria jus non
       oritur is sustained by the Court’s finding that the legal relationship created by the 1977 Treaty is preserved and cannot
       in this case be treated as voided by unlawful conduct.”)
1776
       Application of the Interim Accord of 13 December 1995 (the Former Yugoslav Republic of Macedonia v. Greece),
       Judgment, 5 December 2011, Separate Opinion of Judge Simma, ICJ Reports 2011, p. 695 ¶¶ 19–20, Exh. C-1545.
1777
       Case Concerning Military and Paramilitary Activities in and against Nicaragua (Nicaragua v. United States of
       America), Merits, Judgment, 27 June 1986, Dissenting Opinion of Judge Schwebel, ICJ Reports 1986, p. 259 ¶ 268,
       Exh. R-1071.
1778
       Legal Status of Eastern Greenland (Denmark v. Norway), Judgment, 5 April 1933, Dissenting Opinion of Judge
       Anzilotti, PCIJ Series A/B No. 53, p. 76, 95, Exh. R-1073; Interpretation of Peace Treaties with Bulgaria, Hungary
       and Romania (Second Phase), Advisory Opinion, 18 July 1950, Dissenting Opinion of Judge Read, ICJ Reports 1950,
       p. 231, 244, Exh. R-1074; Case Concerning United States Diplomatic and Consular Staff in Tehran (United States of
       America v. Iran), Judgment, 24 May 1980, Dissenting Opinion of Judge Morozov, ICJ Reports 1980, p. 51 ¶ 3, Exh.
       R-1087; Case Concerning Arrest Warrant of 11 April 2000 (Democratic Republic of the Congo v. Belgium),
       Judgment, 14 February 2002, Dissenting Opinion of Judge van den Wyngaert, ICJ Reports 2002, p. 137 ¶ 84, Exh. R-
       1072 (“The Congo did not come to the Court with clean hands”).




                                                            - 432 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 453 of 617




               (c)     Would any Instances of Claimants’ Alleged “Bad Faith and Illegal” Conduct
                       be Caught by a Legality Requirement Read into the ECT?

1364. To summarize, the Tribunal accepts that a claimant may be barred from seeking relief under the
        ECT if its investment was made in bad faith or in violation of the laws of the host state.

1365. It follows that the alleged instances of “unclean hands” listed in Subsections IX.B.2(b), (c) and
        (d) above––specifically, the instances related to the alleged abuse of the Russia–Cyprus DTA,
        the tax optimization scheme and the obstruction of Russia’s enforcement of tax claims against
        Yukos, all of which relate to actions that were taken after the making of Claimants’ investment,
        cannot have any impact on the availability of ECT protection for Claimants.

1366. This leaves for the Tribunal’s consideration Respondent’s allegations of bad faith and illegal
        conduct in the acquisition of Yukos and the subsequent consolidation of control and ownership
        over Yukos and its subsidiaries, set out in Subsection IX.B.2(a) above.

1367. It is common ground between the Parties that these actions were taken before Claimants
        became shareholders of Yukos in 1999, 2000 and 2001 and, consequently, were not taken by
        Claimants themselves, but by other actors, such as Bank Menatep and the Oligarchs.1779
        Claimants submit that these actions are thus irrelevant to these arbitrations, as the conduct
        complained of was not that of Claimants’ themselves and, in any event, pre-dates Claimants’
        investment.1780

1368. Respondent replies that, on the contrary, the process of the acquisition of the Yukos shares by
        Claimants should not be seen in isolation but as an integral part of the “making of the
        investment” by Claimants. Respondent’s argument was most convincingly put by Dr. Claudia
        Annacker during the Hearing. Dr. Annacker argued as follows:

               Contrary to Claimants’ position, the serious illegalities that infect the entire process of the
               acquisition of the Yukos shares by Claimants cannot simply be ignored because the
               transfer of the shares to the Claimants . . . viewed in isolation, is asserted to be legal. These
               illegalities cannot somehow be cured through multiple transfers within this network of the
               oligarchs’ offshore companies from one shell company to another.
               Indeed, the making of an investment is often a process rather than an instantaneous act, and
               often comprises a number of diverse transactions. These transactions must be treated as an


1779
       See Counter-Memorial ¶¶ 910–13, explaining the alleged illegal conduct of Bank Menatep and the Oligarchs in the
       acquisition of Yukos shares by the Oligarchs in 1995 and 1996.
1780
       See Reply ¶¶ 1135–36.




                                                       - 433 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 454 of 617




                integrated whole. The transactions may have a separate legal existence, but they have a
                common economic aim . . .
                Indeed, it would be incompatible with economic reality and undermine the integrity of the
                legal process if serious irregularities – illegalities – infecting the process of the making of
                the investment would not affect the availability of investment treaty protection, whether or
                not a specific transaction, part of the process, if viewed in isolation, might be legal.
                Now, this conclusion applies a fortiori where a claimant is not unrelated to the persons or
                entities that committed these illegalities, but is an investment vehicle owned and controlled
                by the same persons who committed the illegalities . . . Otherwise, investment treaty
                protection could be achieved simply by shifting investments through layers of ownership
                and control to launder illegal investments . . .
                While Claimants’ acquisition of their shares may be a separate legal transaction, there is a
                common economic aim pursued by the same oligarchs . . .1781

1369. The Tribunal agrees with Respondent that an examination of the legality of an investment
        should not be limited to verifying whether the last in a series of transactions leading up to the
        investment was in conformity with the law. The making of the investment will often consist of
        several consecutive acts and all of these must be legal and bona fide.

1370. In the present case, however, Respondent has failed to demonstrate that the alleged illegalities
        to which it refers are sufficiently connected with the final transaction by which the investment
        was made by Claimants. The transactions by which each Claimant acquired its investment
        were their purchases of Yukos shares. As established in the Interim Award, these purchases
        were legal and occurred starting in 1999.1782              On the other hand, the alleged illegalities
        connected to the acquisition of Yukos through the loans-for-shares program occurred in 1995
        and 1996, at the time of Yukos’ privatization. They involved Bank Menatep and the Oligarchs,
        an entity and persons separate from Claimants, one of which––Veteran––had not even come
        into existence.1783 With respect to Respondent’s other allegations, regarding profit skimming
        and the oppression of minority shareholders, it is also clear to the Tribunal that they are not part
        of the transaction or transactions by which each Claimant acquired their interest in Yukos.

1371. Respondent relies on Anderson for the proposition that “illegalities infecting an investment that
        pre-date a claimant’s acquisition of the investment are not irrelevant or outside the tribunal’s
        jurisdiction ratione temporis.”1784 However, the tribunal in that case examined and found to be



1781
       Transcript, Day 19 at 171–174 (Respondent’s closing).
1782
       Interim Awards ¶¶ 431 (YUL); 430 (Hulley); 474 (VPL).
1783
       VPL was incorporated in 2001 (Interim Award ¶ 44 (VPL).
1784
       Rejoinder ¶ 1571, referring to Anderson, Exh. R-4204.




                                                         - 434 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 455 of 617




        illegal the very transaction through which the claimants obtained their investment, not any prior
        transactions made by other persons. 1785

1372. While it is true that the claimants in Anderson were not blamed for the illegality that tainted
        their investment, nevertheless it is the very transaction by which their respective investments
        were obtained that was considered illegal by the tribunal, and led it to decline jurisdiction.


                (d)    Conclusion

1373. The Tribunal concludes that Respondent’s “unclean hands” argument fails as a preliminary
        objection. It does not operate to deprive the Tribunal of its jurisdiction in this arbitration,
        render inadmissible any of the Claimants’ claims or otherwise bar Claimants’ from invoking
        the substantive protections of the ECT.

1374. However, as will be seen in Chapter X.E and Part XII, some of the instances of Claimants’
        “illegal and bad faith” conduct complained of by Respondent in the context of this preliminary
        objection, could have an impact on the Tribunal’s assessment of liability and damages.


C.      RESPONDENT’S OBJECTIONS UNDER ARTICLE 21 OF THE ECT

        1.      Introduction

1375. Another important threshold issue in this arbitration arises from Respondent’s objection under
        Article 21 of the ECT. Respondent argues that, pursuant to this complex provision (containing
        a “carve out” from the ECT for “Taxation Measures” at Article 21(1) and a “claw back” for
        Article 13 of the ECT in relation to “taxes” at Article 21(5)), the Tribunal lacks jurisdiction
        over claims with respect to “Taxation Measures” other than those based on expropriatory
        “taxes”.1786 Claimants argue that the objection is without merit since, inter alia, Article 21 does
        not apply to actions—including expropriations—carried out “under the guise of taxation.”1787




1785
       Ibid.
1786
       See e.g., Respondent’s Post-Hearing Brief ¶¶ 162–72.
1787
       See e.g., Claimants’ Post-Hearing Brief ¶¶ 203–30.




                                                            - 435 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 456 of 617




1376. The relevant provisions of Article 21 of the ECT for present purposes are paragraphs 1 (the
        “carve-out”), 5 (the “claw-back”) and 7 (definitions), which in the English version1788 read as
        follows:

                (1) Except as otherwise provided in this Article, nothing in this Treaty shall create rights or
                impose obligations with respect to Taxation Measures of the Contracting Parties. In the
                event of any inconsistency between this Article and any other provision of the Treaty, this
                Article shall prevail to the extent of the inconsistency.
                ...
                (5)    (a)     Article 13 shall apply to taxes.
                       (b)     Whenever an issue arises under Article 13, to the extent it pertains to
                               whether a tax constitutes an expropriation or whether a tax alleged to
                               constitute an expropriation is discriminatory, the following provisions shall
                               apply:
                               (i)     The Investor or the Contracting Party alleging expropriation shall
                                       refer the issue of whether the tax is an expropriation or whether the
                                       tax is discriminatory to the relevant Competent Tax Authority.
                                       Failing such referral by the Investor or the Contracting Party, bodies
                                       called upon to settle disputes pursuant to Article 26(2)(c) or 27(2)
                                       shall make a referral to the relevant Competent Tax Authorities;
                               (ii)    The Competent Tax Authorities shall, within a period of six months
                                       of such referral, strive to resolve the issues so referred. Where
                                       nondiscrimination issues are concerned, the Competent Tax
                                       Authorities shall apply the non-discrimination provisions of the
                                       relevant tax convention or, if there is no non-discrimination provision
                                       in the relevant tax convention applicable to the tax or no such tax
                                       convention is in force between the Contracting Parties concerned,
                                       they shall apply the non-discrimination principles under the Model
                                       Tax Convention on Income and Capital of the Organisation for
                                       Economic Co-operation and Development;
                               (iii)   Bodies called upon to settle disputes pursuant to Article 26(2)(c) or
                                       27(2) may take into account any conclusions arrived at by the
                                       Competent Tax Authorities regarding whether the tax is an
                                       expropriation. Such bodies shall take into account any conclusions
                                       arrived at within the six-month period prescribed in subparagraph
                                       (b)(ii) by the Competent Tax Authorities regarding whether the tax is
                                       discriminatory. Such bodies may also take into account any
                                       conclusions arrived at by the Competent Tax Authorities after the
                                       expiry of the six-month period;
                               (iv)    Under no circumstances shall involvement of the Competent Tax
                                       Authorities, beyond the end of the six-month period referred to in
                                       subparagraph (b)(ii), lead to a delay of proceedings under Articles 26
                                       and 27.
                ...


1788
       The Tribunal has taken note of Claimants’ highlighting of the differences in the wording of paragraphs 5 and 7 of
       Article 21 in some of the other official languages of the ECT. As will be seen from the Tribunal’s findings in this
       chapter, the Tribunal does not need to address the relevance, if any, of these differences.




                                                         - 436 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 457 of 617




               (7) For the purposes of this Article:
                       (a)    The term “Taxation Measure” includes:
                              (i)     any provision relating to taxes of the domestic law of the Contracting
                                      Party or of a political subdivision thereof or a local authority therein;
                              and
                              (ii)    any provision relating to taxes of any convention for the avoidance of
                                      double taxation or of any other international agreement or
                                      arrangement by which the Contracting Party is bound.
                       (b)    There shall be regarded as taxes on income or on capital all taxes imposed on
                              total income, on total capital or on elements of income or of capital,
                              including taxes on gains from the alienation of property, taxes on estates,
                              inheritances and gifts, or substantially similar taxes, taxes on the total
                              amounts of wages or salaries paid by enterprises, as well as taxes on capital
                              appreciation.
                       (c)    A “Competent Tax Authority” means the competent authority pursuant to a
                              double taxation agreement in force between the Contracting Parties or, when
                              no such agreement is in force, the minister or ministry responsible for taxes
                              or their authorized representatives.
                       (d)    For the avoidance of doubt, the terms “tax provisions” and “taxes” do not
                              include customs duties.

1377. Respondent’s objection under Article 21 of the ECT was originally addressed by the Parties
        during the jurisdictional phase of the arbitration. In its Interim Awards, the Tribunal observed
        that some of the arguments raised by the Parties under Article 21 went to the heart of the merits
        of the dispute, in that they related to the background to and motivation behind Respondent’s tax
        assessments, enforcement measures and other conduct, and that the Tribunal would not rule on
        these issues in a vacuum.1789 As a consequence, the Tribunal decided “to defer its definitive
        interpretation of Article 21, and its characterization of [Claimants’] claims for purposes of
        Article 21, to the next phase of the arbitration.”1790

1378. As a consequence, the Parties had a further opportunity to develop their positions under
        Article 21 of the ECT during the merits phase of the present proceedings. Claimants’ and
        Respondent’s arguments are now summarized in turn.


        2.     Claimants’ Position

1379. Claimants argue that Article 21 of the ECT does not apply to the case at hand since
        Respondent’s actions were “actions under the guise of taxation” rather than “bona fide taxation

1789
       Interim Awards ¶¶ 583–84 (Hulley), ¶¶ 584–85 (YUL), ¶¶ 595–96 (VPL).
1790
       Interim Awards ¶ 584 (Hulley), ¶ 585 (YUL), ¶ 596 (VPL).




                                                        - 437 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 458 of 617




        actions”1791 and merely a tool “to achieve a purpose that had nothing to do with taxation: the
        elimination of a potential opponent and the appropriation of Yukos’ assets.”1792 According to
        Claimants, “[i]t is no answer for a state to say that its courts have used the [word] ‘taxation’ . . .
        in describing judgments by which they effect the dispossession of foreign investors. If that
        were enough, investment protection through international law would likely become an illusion,
        as states would quickly learn to avoid responsibility by dressing up all adverse measures,
        perhaps expropriation first of all, as taxation.”1793 Claimants refer in particular to the decisions
        of the Quasar and RosInvestCo tribunals to support their view that in a case such as this one a
        carve-out with regard to taxation measures cannot apply.1794

1380. In addition, Claimants suggest that the carve-out under Article 21 of the ECT is narrower than
        that in other treaties in that it only applies to the enactment of “provisions” relating to taxes, but
        not to the application of these provisions and the “collection and enforcement” of taxes.1795
        Claimants refer to the ECT’s travaux préparatoires in this regard.1796 In particular, they point
        out that during the negotiations of the ECT, the French delegation, in response to a
        memorandum of the Legal Sub-Group noting that “taxation measures” were identified in an
        illustrative manner, took the view that Article 21(7) of the ECT would constitute a definition
        and that, therefore, “includes” in that provision would have to be replaced by “means”.1797

1381. Claimants say that they “have no issue with the right of the Russian Federation to enact tax
        provisions or with the content of Russian tax law,” but only with “the manner in which Russian
        tax law was grossly distorted, misapplied and abused to effect the destruction of Yukos.”1798




1791
       Transcript, Day 2 at 4 (Claimants’ opening); Transcript, Day 17 at 156 (Claimants’ closing); Claimants’ Post-Hearing
       Brief ¶ 204.
1792
       Transcript, Day 17 at 170 (Claimants’ closing); Claimants’ Post-Hearing Brief ¶ 206.
1793
       Transcript, Day 17 at 171 (Claimants’ closing) (quoting Quasar ¶ 179, Exh. R-3383).
1794
       Transcript, Day 2 at 4–8 (Claimants’ opening); Transcript, Day 17 at 168–69 (Claimants’ closing); Claimants’
       Opening Slides, pp. 219–20; Claimants’ Post-Hearing Brief ¶ 207 (discussing RosInvestCo ¶ 628, Exh. C-1049;
       Renta4 S.V.S.A. v. Russian Federation, SCC Arbitration V024/2007, Award on Preliminary Objections, 20 March
       2009 ¶ 74, Exh. C-1048).
1795
       Transcript, Day 2 at 10 (Claimants’ opening); Transcript, Day 17 at 174 (Claimants’ closing); Claimants’ Opening
       Slides, pp. 226–30; Claimants’ Post-Hearing Brief ¶¶ 204, 208.
1796
       Claimants’ Post-Hearing Brief ¶ 211.
1797
       Memorial ¶ 1034 n.1418.
1798
       Claimants’ Post-Hearing Brief ¶ 209.




                                                          - 438 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 459 of 617




        Accordingly, Claimants take the view that for this reason alone Article 21 of the ECT cannot
        apply.1799

1382. Claimants also take the view that, in any event, the ECT’s protection would still apply with
        regard to the expropriation standard under Article 13 of the ECT, due to the claw-back
        provision in Article 21(5) of the ECT, which they say must have the same scope as Article
        21(1) of the ECT.1800 Claimants suggest that Respondent’s interpretation (according to which
        the claw-back provision would be narrower in scope than the taxation carve-out) would lead to
        “a gaping hole in the ECT where investors would stand completely unprotected from
        expropriatory taxation,” thus “defeat[ing] the object and purpose of the ‘claw-back’ and of the
        ECT itself.”1801       Claimants also dispute Respondent’s argument that Russian law should
        determine the meaning of “tax” under Article 21(5) of the ECT, since “for the interpretation of
        a treaty, you do not look at domestic law of one of the States parties to a treaty.”1802

1383. In any event, Claimants argue that many of Respondent’s actions that they complain of have
        nothing to do with taxation and thus fall outside of the scope of Article 21 of the ECT.1803 In
        this regard, Claimants state that “the attacks on Yukos and related persons involved all of the
        following organs and entities: the Presidential Administration, the Russian courts, Ministry of
        Justice, Federal Bailiff Service, Penitentiary Service, Ministry of Natural Resources, Internal
        Affairs, FSB, Prosecutor General’s Office, Federal Property Fund, Rosneft” and included
        “freezes, searches and seizures,” the auctioning of YNG and the forcing of Yukos into
        bankruptcy, all of which would “have nothing to do with taxation.”1804

1384. Finally, Claimants assert that referring any questions with regard to taxation measures to the
        Russian Federation’s tax authorities as envisaged under the claw-back provision of Article
        21(5) of the ECT would be an exercise in futility, as the relevant Russian authorities would
        already have looked at the issues, the Parties’ submissions would be too voluminous to be
        considered by any of the relevant authorities and the Tribunal would, in any event, not be

1799
       Claimants’ Post-Hearing Brief ¶ 209.
1800
       Transcript, Day 2 at 10 (Claimants’ opening); Transcript, Day 17 at 192 (Claimants’ closing); Claimants’ Post-
       Hearing Brief ¶¶ 204, 214–21.
1801
       Claimants’ Post-Hearing Brief ¶ 220 (emphasis in the original); Transcript, Day 17 at 190–91 (Claimants’ closing).
1802
       Transcript, Day 17 at 195 (Claimants’ closing).
1803
       Transcript, Day 2 at 11 (Claimants’ opening); Transcript, Day 17 at 207 (Claimants’ closing); Claimants’ Post-
       Hearing Brief ¶¶ 204, 222–24.
1804
       Transcript, Day 17 at 208 (Claimants’ closing).




                                                          - 439 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 460 of 617




        bound by any comments of these authorities.1805 As a consequence, Claimants argue that, even
        if the Tribunal were to find that Article 21(5) of the ECT applies, it should still proceed with its
        examination of the case without any referral to the Russian authorities.


        3.      Respondent’s Position

1385. Respondent argues that most of the actions complained of by Claimants are outside the scope of
        the Tribunal’s scrutiny due to the taxation carve-out provision in Article 21(1) of the ECT.

1386. Respondent points out that taxation carve-outs have a number of functions, which include
        preserving States’ sovereignty in fiscal matters, the coordination of obligations under
        investment treaties and double taxation treaties, and assuring that complex tax issues are
        addressed with the necessary expertise.1806 To achieve these functions, taxation carve-outs
        would typically be “broad, covering all aspects of the tax regime.”1807 Respondent refers to a
        number of instances where investment treaty tribunals gave effect to taxation carve-outs in
        international investment treaties, namely the decisions in Duke Energy v. Ecuador, EnCana v.
        Ecuador, El Paso International Company v. The Argentine Republic (“El Paso”), Burlington v.
        Ecuador and Nations Energy v. Panama.1808

1387. With regard to the wording of Article 21(1) of the ECT, Respondent argues that the term
        “measures” is given a broad meaning throughout the ECT, in contradistinction to the narrower
        term of “laws and regulations”.1809 As a consequence, says Respondent, an interpretation of
        Article 21(1) of the ECT in accordance with recognized principles of treaty interpretation
        shows that the provision “covers all measures taken by the legislative, executive, and judiciary
        in the field of taxation, whether of general or individual application.”1810 Respondent refers to
        the ICJ’s judgment in Fisheries Jurisdiction (Spain v. Canada) to support its view that

1805
       Transcript, Day 17 at 200 (Claimants’ closing); Claimants’ Post-Hearing Brief ¶ 229.
1806
       Transcript, Day 3 at 156–59 (Respondent’s opening); Respondent’s Opening Slides, pp. 454–58.
1807
       Transcript, Day 3 at 159 (Respondent’s opening).
1808
       Transcript, Day 3 at 161–62 (Respondent’s opening) (discussing Duke Energy v. Ecuador, ICSID ARB/04/19, Award,
       18 August 2008 ¶ 188, Exh. C-993; EnCana v. Ecuador, LCIA UN3481, UNCITRAL, Award, 3 February 2006 ¶ 168,
       Exh. C-976; El Paso Energy International Company v. The Argentine Republic, ICSID ARB/03/15, Award, 31
       October 2011 ¶ 449, Exh. C-1544/R-4190 (hereinafter “El Paso”); Burlington Resources v. Ecuador, ICSID Case
       ARB/08/5, Decision on Jurisdiction, 2 June 2010 ¶ 249, Exh. R-992; Nations Energy v. Panama, ICSID ARB/06/19,
       Award, 24 November 2010 ¶ 483, Exh. R-1032); Respondent’s Opening Slides, pp. 458–60.
1809
       Transcript, Day 3 at 162 (Respondent’s opening); Respondent’s Opening Slides, pp. 461–62; Respondent’s Post-
       Hearing Brief ¶ 164.
1810
       Respondent’s Post-Hearing Brief ¶ 162.




                                                          - 440 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 461 of 617




        “measures” has a broad ordinary meaning and that, contrary to Claimants’ suggestion that
        “Taxation Measures” only refer to legislative “provisions”, legislation and implementing
        measures cannot be dissociated.1811 According to Respondent, such a dissociation would be
        absurd, since “[e]very time a contracting State enforces tax legislation that is carved out, but
        would be inconsistent with the treatment standards in Part III, the State would incur
        international responsibility for breach of Part III of the Energy Charter Treaty.”1812

1388. Respondent disputes Claimants’ argument that Article 21(7) of the ECT, properly interpreted,
        applies only to the enactment of “provisions” relating to taxes. Respondent points out that the
        word “includes” used in Article 21(7) of the ECT stands in contrast to the word “means” used
        elsewhere, thus suggesting that the enumeration in that provision is not exhaustive.1813
        Respondent also argues that, if the term “Taxation Measure” were limited to provisions relating
        to taxes, the use of the word “includes” would not make sense, since Article 21(7) of the ECT
        specifically refers to both “any provision relating to taxes” in “the domestic law of the
        Contracting Party” and “any provision relating to taxes” in an “international agreement . . . by
        which the Contracting Party is bound.”1814 Since “all provisions relating to taxes are either
        contained in domestic law or in international treaties,” Respondent claims that there would be
        nothing left to add.1815

1389. Respondent rather suggests that “[t]he term ‘Taxation Measure’ has a meaning in itself” and
        that “it provides a benchmark to determine which measures or categories of measures, in
        addition to those expressly listed, constitute ‘Taxation Measures’ for purposes of Article 21 of
        the ECT.”1816 Respondent refers to the ECT’s travaux préparatoires to support its view that the
        list in Article 21(7) of the ECT is “illustrative” and “not a definition”.1817                       In particular,
        Respondent points out that, during the negotiations of the ECT, the Canadian delegation, in

1811
       Transcript, Day 3 at 163–64, 170 (Respondent’s opening) (discussing Fisheries Jurisdiction (Spain v. Canada),
       Jurisdiction of the Court, Judgment, 4 December 1998, ICJ Reports 1998, p. 460 ¶¶ 66–67, Exh. R-1028);
       Respondent’s Opening Slides, pp. 462–63.
1812
       Transcript, Day 3 at 170 (Respondent’s opening); Transcript, Day 21 at 173 (Respondent’s rebuttal).
1813
       Transcript, Day 21 at 171 (Respondent’s rebuttal); Respondent’s Opening Slides, p. 465; Respondent’s Post-Hearing
       Brief ¶ 163.
1814
       Transcript, Day 21 at 176 (Respondent’s rebuttal).
1815
       Transcript, Day 21 at 178 (Respondent’s rebuttal).
1816
       Transcript, Day 21 at 171–72 (Respondent’s rebuttal).
1817
       Transcript, Day 3 at 167–68 (Respondent’s opening) (discussing Memorandum from the Chairman of the Legal Sub-
       Group to the Chairman of Working Group II, Document No. LEG-14, 5 March 1993, p. 2, Exh. R-1020);
       Respondent’s Opening Slides, pp. 466–67.




                                                            - 441 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 462 of 617




        response to a memorandum of the Legal Sub-Group noting that “taxation measures” were
        identified in an illustrative manner, remarked that this was intentional and that “it would be
        counterproductive to come up with anything more precise.”1818 It also suggests that, while the
        French delegation expressed a preference for an exhaustive definition and for the word
        “includes” to be replaced by “means”, by not proceeding with the suggested replacement, the
        “negotiating States chose to maintain an illustrative list.”1819

1390. In addition, Respondent refers to Article 21(2)(b) and (3)(b) of the ECT as implying that the
        term “Taxation Measure” includes the generic term “measure” “as consistently used throughout
        the Energy Charter Treaty.”1820 According to Respondent, “Claimants would have this Tribunal
        rewrite Article 21(7)(a) to read:           ‘The term ‘Taxation Measure’ only includes provisions
                                1821
        relating to taxes.’”           In reality, according to Respondent, “[t]he purpose of Article 21,
        paragraph 7(a) ECT is not to replace the term ‘measures’ with the term ‘provisions’, but to
        clarify that the carve-out extends to both domestic and international taxation measures.”1822
        This would be in line with general treaty practice, which would show that “there is not a single
        taxation carve-out that is limited in scope to tax legislation.”1823

1391. The result of this interpretation, according to Respondent, is that “the core allegations on which
        Claimants base their claims are squarely within the taxation carve-out of Article 21(1)” of the
        ECT.1824

1392. With regard to Claimants’ argument that Article 21(1) of the ECT should be inapplicable to the
        present case, since the measures adopted by Respondent were taken, according to the
        Claimants, under the guise of taxation (rather than constituting “real” taxation measures),




1818
       Transcript, Day 3 at 167 (Respondent’s opening) (discussing Canada Department of Finance, Tax Policy Branch: Fax
       from A. Castonguay to F. Mullen et al., 19 March 1993, p. 4, Exh. R-1010).
1819
       Transcript, Day 3 at 168 (Respondent’s opening) (discussing Memorandum from the Ministère du Budget of France to
       the ECT Secretariat, 19 March 1993, p. 3, Exh. C-1045).
1820
       Transcript, Day 21 at 173 (Respondent’s rebuttal).
1821
       Transcript, Day 3 at 170–71 (Respondent’s opening).
1822
       Transcript, Day 3 at 169 (Respondent’s opening).
1823
       Transcript, Day 21 at 173 (Respondent’s rebuttal).
1824
       Transcript, Day 3 at 164 (Respondent’s opening).




                                                            - 442 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 463 of 617




        Respondent refers to the ECtHR Yukos Judgment to support its claim that the tax assessments
        against Yukos pursued a legitimate aim and were not politically motivated.1825

1393. In any event, Respondent claims, referring to the ICJ’s Fisheries Jurisdiction (Spain v. Canada)
        judgment, that the question of legality can have no impact on the qualification of an act as a
        “taxation measure”,1826 and it suggests that measures “in apparent reliance” on taxation
        legislation, even if abusive, must be covered by a taxation carve-out.1827 Respondent also refers
        to a number of decisions of investment treaty tribunals to support this view. In particular,
        Respondent quotes from the decision in EnCana v. Ecuador, according to which “provided a
        matter is sufficiently clearly connected to a taxation law or regulation (or to a procedure,
        requirement or practice of the taxation authorities in apparent reliance on such a law or
        regulation), its legality is a matter for the courts of the host State.”1828 Similarly, Respondent
        quotes from the decision in Burlington v. Ecuador as having taken the view that the claim that a
        State “used its tax power in bad faith . . . challenges [that State’s] tax power, and therefore
        raises ‘matters of taxation’.”1829

1394. In addition, Respondent avers that an exception to a substantive standard (such as the carve-out
        of Article 21(1)) cannot logically refer to the substantive standard (such as the expropriation
        standard of Article 13) to determine whether or not the exception applies.1830 Therefore,
        according to Respondent, “neither the standards under Article 13 . . . nor the standards under
        Article 10, paragraph 1 of the ECT can be used to determine the scope or the applicability of
        the taxation carve-out.”1831 Accordingly, Respondent claims that the question of the legality of
        any taxation measures, including their bona fide nature, falls under Article 21(1) of the ECT
        and can be determined by an arbitral tribunal “only to the extent clawed back” pursuant to




1825
       Transcript, Day 3 at 171–72 (Respondent’s opening); Transcript, Day 21 at 178 (Respondent’s rebuttal); Respondent’s
       Opening Slides, pp. 468–69; ECtHR Yukos Judgment ¶¶ 8, 606, 647.
1826
       Respondent’s Opening Slides, p. 469 (quoting Fisheries Jurisdiction (Spain v. Canada), Jurisdiction of the Court,
       Judgment, 4 December 1998, ICJ Reports 1998, p. 460 ¶ 68, Exh. R-1028).
1827
       Transcript, Day 3 at 172–73 (Respondent’s opening); Respondent’s Opening Slides, pp. 470–71.
1828
       Transcript, Day 3 at 174 (Respondent’s opening); Transcript, Day 21 at 179, 183 (Respondent’s rebuttal) (discussing
       EnCana v. Ecuador, LCIA UN3481, UNCITRAL, Award, 3 February 2006 ¶ 142, Exh. C-976).
1829
       Transcript, Day 3 at 174 (Respondent’s opening); Transcript, Day 21 at 182–83 (Respondent’s rebuttal) (discussing
       Burlington Resources v. Ecuador, ICSID Case ARB/08/5, Decision on Jurisdiction, 2 June 2010 ¶ 207, Exh. R-992).
1830
       Transcript, Day 21 at 180 (Respondent’s rebuttal).
1831
       Transcript, Day 21 at 182 (Respondent’s rebuttal).




                                                            - 443 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 464 of 617




        Article 21(5) of the ECT.1832 This would mean in particular that “[t]he Tribunal . . . lacks
        jurisdiction over Claimants’ Article 10 claims, and Article 10(1) ECT is inapplicable.”1833

1395. With regard to the claw-back provision in Article 21(5) of the ECT, Respondent argues that the
        reference to “taxes” rather than “taxation measures” is deliberate and implies that only
        “compulsory contributions to the Government” can be examined under that provision, but not
        “fines, interest, enforcement fees” or “other tax collection and enforcement measures.”1834 The
        basis for this would be that, in its ordinary meaning, “a tax” would be “a charge or a
        contribution imposed by the State for public purposes,” but not “tax enforcement and collection
        measures.”1835

1396. To support its reading of the claw-back provision, Respondent refers to the travaux
        préparatoires, claiming that, while the claw-back provision originally referred to “Taxation
        Measures”, in June 1993 a new version of the draft of the provision was circulated, in which
        these references were replaced with references to “taxes”.1836 According to Respondent, this
        change “was certainly not incidental or unintentional.”1837 Respondent also dismisses the idea
        that the different wording of Article 21(5) of the ECT in some of the other official languages of
        the ECT should be accorded any relevance, since the negotiations of the Treaty would have
        been conducted solely in English and translations into other languages would only have been
        prepared after the conclusion of the negotiations without input from the negotiating teams.1838
        This must, according to Respondent, be taken into account as part of the circumstances
        surrounding the conclusion of the ECT in accordance with Article 32 of the VCLT.1839

1397. With regard to the meaning of “taxes”, Respondent submits that, since this term “is not defined
        in the Energy Charter Treaty, and . . . has no autonomous meaning in international law,”1840 it


1832
       Transcript, Day 3 at 173 (Respondent’s opening); Respondent’s Post-Hearing Brief ¶ 168.
1833
       Transcript, Day 3 at 176 (Respondent’s opening).
1834
       Transcript, Day 3 at 182 (Respondent’s opening); Respondent’s Opening Slides, pp. 472–79; Respondent’s Post-
       Hearing Brief ¶ 172.
1835
       Transcript, Day 3 at 179 (Respondent’s opening).
1836
       Transcript, Day 3 at 177 (Respondent’s opening) (discussing European Energy Charter, Conference Secretariat, Room
       Document 3, Plenary Session 28 June1993–2 July 1993, 28 June 1993, pp. 3–4, Exh. R-1035).
1837
       Transcript, Day 3 at 177 (Respondent’s opening).
1838
       Transcript, Day 21 at 185 (Respondent’s rebuttal); Respondent’s Rebuttal Slides, pp. 470–73.
1839
       Transcript, Day 21 at 186 (Respondent’s rebuttal).
1840
       Transcript, Day 3 at 179 (Respondent’s opening).




                                                            - 444 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 465 of 617




        needs to be determined pursuant to Russian law. This would be in line with the practice under
        tax treaties, which generally leaves the term of “taxes” undefined, adopting the meaning of the
        term under the domestic law of the State that imposed the tax.1841 Respondent refers in this
        regard for instance to Article 3(2) of the OECD Model Tax Convention on Income and Capital
        and the Cyprus-Russia DTA, pointing out that both instruments are referenced in the claw-back
        provision of Article 21(5) of the ECT.1842

1398. More generally, Respondent argues that “in the absence of autonomous rules or concepts of
        international law, international law must turn for guidance to domestic law . . . as developed
        within the State’s domestic jurisdiction.”1843 Under Russian law, a “tax” would be defined in
        Article 8 of the Russian Tax Code as a “mandatory . . . payment” collected “to provide financial
        support to the government” for public purposes.1844 This would exclude “tax enforcement,
        [and] collection measures,” including “interest, fines, [and] enforcement fees.”1845

1399. Respondent argues that a limited claw-back would also be “very much in line with treaty
        practice,” which would be “diverse” and variable “with respect to the type of measures that are
        clawed back.”1846 In particular, Respondent refers to the Russia-Sweden BIT, which contains a
        carve-out with regard to “taxation matters”, whilst also providing that some of its provisions
        shall apply to “taxes”.1847          For Respondent, this provision constitutes proof that “States
        are . . . free to claw back only a subcategory of the measures they decided to exclude from the
        scope of the Treaty” and that “they do so”.1848 The “deliberate choice of the ECT Contracting
        Parties to limit the expropriation claw-back to taxes” would in fact “represen[t] a middle
        ground of varying practices of the ECT Contracting Parties.”1849


1841
       Transcript, Day 3 at 180 (Respondent’s opening).
1842
       Transcript, Day 3 at 180–81 (Respondent’s opening); Transcript, Day 21 at 188 (Respondent’s rebuttal); 2010 OECD
       Model Tax Convention, Article 3(2), Exh. R-1017; Agreement between the Government of the Republic of Cyprus
       and the Government of the Russian Federation on the Avoidance of Double Taxation with Respect to Taxes on
       Income and Capital, Article 3(2), Exh. C-916.
1843
       Transcript, Day 3 at 181 (Respondent’s opening).
1844
       Transcript, Day 3 at 182 (Respondent’s opening); Russian Tax Code, Article 8, Exh. R-551.
1845
       Transcript, Day 3 at 182 (Respondent’s opening).
1846
       Transcript, Day 3 at 178 (Respondent’s opening).
1847
       Transcript, Day 21 at 184 (Respondent’s rebuttal); Agreement between the Government of the Kingdom of Sweden
       and the Government of the Russian Federation on the Promotion and Reciprocal Protection of Investments, 19 April
       1995, Article 11(2), Exh. R-3451.
1848
       Transcript, Day 21 at 184 (Respondent’s rebuttal).
1849
       Transcript, Day 3 at 179 (Respondent’s opening).




                                                            - 445 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 466 of 617




1400. Finally, Respondent argues that, if the Tribunal were to find that both the carve-out and the
        claw-back provisions apply, the Tribunal would be required to make a referral to the
        “Competent Tax Authorities”.1850 This would include “the Russian Ministry of Finance, the
        Cypriot Ministry of Finance, and the UK Inland Revenue”1851; and this is so “because the
        referral procedure replicates the dispute settlement procedures under double taxation
        agreements.”1852 According to Respondent, “[t]he referral mechanism . . . forms part of the
        ECT Contracting Parties’ consent to submit themselves to international arbitration pursuant to
        Article 26 ECT, and it precludes any ruling by the Tribunal whether a tax constitutes an
        expropriation . . . without having made referral to the tax authorities.”1853


        4.      Tribunal’s Decision

                (a)     Introduction

1401. As mentioned earlier, the Tribunal deferred its decision on Article 21 because the Parties’
        arguments in relation to this provision during the jurisdictional phase raised issues that went to
        the heart of the merits of the dispute and the Tribunal decided that it could not rule on these
        issues in a vacuum.

1402. Now, at the conclusion of the merits phase of the present proceedings, the Tribunal has the
        necessary context within which to evaluate the Parties’ arguments, analyze and interpret
        Article 21, and characterize Claimants’ claims for purposes of Article 21.

1403. Before turning to Article 21 itself, the Tribunal considers it helpful to recall its principal
        findings on those core issues relating to the merits that are particularly relevant for Article 21.

1404. In Chapter VIII.B, the Tribunal concluded, on the totality of the evidence, that the tax
        authorities used the “re-attribution” formula not only so as to be able to collect the revenue-
        based taxes against Yukos, but also so as to establish a basis for imposing on Yukos the
        massive VAT liability and excessive fines that followed. In the Tribunal’s view, while Yukos
        was vulnerable on some aspects of its tax optimization scheme, principally because of the
        sham-like nature of certain elements of its operations in at least some of the low-tax regions,
1850
       Transcript, Day 21 at 189–90 (Respondent’s rebuttal).
1851
       Transcript, Day 21 at 191 (Respondent’s rebuttal).
1852
       Transcript, Day 21 at 191 (Respondent’s rebuttal).
1853
       Transcript, Day 21 at 192 (Respondent’s rebuttal).




                                                            - 446 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 467 of 617




      and could have faced some legitimate claims relating to revenue-based taxes had the Russian
      Federation limited itself to bona fide taxation measures, the State apparatus decided to take
      advantage of that vulnerability; it did so by launching a full assault on Yukos and its beneficial
      owners in order to bankrupt Yukos and appropriate its assets while, at the same time, removing
      Mr. Khodorkovsky from the political arena. The Tribunal has come to these conclusions based
      on its review of the entire record, as detailed in the other chapters of Part VIII, above.

1405. The Tribunal now has to decide, in these circumstances, if and how Article 21 applies, and
      whether it deprives the Tribunal of its jurisdiction, as argued by Respondent, to consider
      Claimants’ claims under Article 10 of the ECT (in the event the carve-out applies), and perhaps
      even under Article 13 of the ECT (if the carve-out applies and the claw-back does not apply).

1406. Both Parties made extensive submissions on Article 21, both in writing and orally. Having
      considered the Parties’ arguments, the Tribunal concludes that it has jurisdiction to rule on
      Claimants’ claims under Article 13 of the ECT for two independent reasons, each of which in
      and of itself suffices to justify the jurisdiction of the Tribunal. Firstly, the Tribunal finds that,
      irrespective of its findings regarding the applicability of Article 21 of the ECT to the present
      case, it would have “indirect” jurisdiction over claims under Article 13 of the ECT because any
      measures excluded by the carve-out under Article 21(1) of the ECT would be brought back
      within the Tribunal’s jurisdiction by the claw-back of Article 21(5) of the ECT and any referral
      to the Competent Taxation Authorities within the meaning of this latter provision would clearly
      have been futile.

1407. Secondly, the Tribunal finds that, in any event, the carve-out of Article 21(1) can apply only to
      bona fide taxation actions, i.e., actions that are motivated by the purpose of raising general
      revenue for the State. By contrast, actions that are taken only under the guise of taxation, but in
      reality aim to achieve an entirely unrelated purpose (such as the destruction of a company or the
      elimination of a political opponent) cannot qualify for exemption from the protection standards
      of the ECT under the taxation carve-out in Article 21(1). As a consequence, the Tribunal finds
      that it does indeed have “direct” jurisdiction over claims under Article 13 (as well as Article 10)
      in the extraordinary circumstances of this case.

1408. The Tribunal will now develop each of these reasons.




                                                 - 447 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 468 of 617




                (b)    First Reason: Assuming the Carve-Out Applies, So Does the Claw-Back, and
                       Any Referral to the Competent Tax Authorities Would Clearly have been
                       Futile

1409. Firstly, the Tribunal concludes that it has jurisdiction under Article 13 of the ECT, even
        assuming that the carve-out in Article 21(1) of the ECT applies. This determination is based on
        both the scope of the expropriation claw-back in Article 21(5) of the ECT relative to the scope
        of the taxation carve-out in Article 21(1) of the ECT, and the futility of any referral to the
        Competent Tax Authorities under Article 21(5) of the ECT. The Tribunal will expand upon
        each of these points in turn.


                               i.     The Scope of the Claw-Back in Article 21(5)

1410. Respondent argues that the term “Taxation Measures”, used in the carve-out, should be given a
        broad meaning, including collection and enforcement measures, while the term “taxes”, used in
        the claw-back, should be given a narrow meaning, which would exclude collection and
        enforcement measures. The Tribunal cannot accept Respondent’s arguments for the following
        reasons.

1411. Firstly, the Tribunal observes that the term “Taxation Measures”, used in Article 21(1), is
        defined in Article 21(7)(a) to mean “provisions” of domestic tax law and tax treaties, while the
        term “taxes”, used in Article 21(5), is not defined in the Treaty.

1412. Pursuant to Article 31 of the VCLT, “[a] treaty shall be interpreted in good faith in accordance
        with the ordinary meaning to be given to the terms of the treaty in their context and in the light
        of its object and purpose.”

1413. In the view of the Tribunal, the ordinary meaning of “tax” used in Article 21(5) cannot be
        narrower than the meaning of “Taxation Measure” used in Article 21(1).              Respondent’s
        interpretation of “Taxation Measures” and “taxes” would, as Claimants submit, result in a wide
        carve-out and a narrow claw-back, “reinstating protection from expropriation [under Article 13
        of the ECT] only in relation to ‘charges and payments’, but not collection and enforcement
        measures or interests and fines.”1854       The Tribunal agrees with Claimants that such an
        interpretation would lead to “a gaping hole in the ECT where investors would stand completely



1854
       Claimants’ Post-Hearing Brief ¶ 220.




                                                    - 448 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 469 of 617




        unprotected from expropriatory taxation.”1855 Such an interpretation would defeat the object
        and purpose of the claw-back and of the ECT itself.

1414. Respondent refers the Tribunal to a number of treaties that contain a taxation carve-out, but that
        either do not contain any claw-back provision or limit the claw-back to certain substantive
        protection standards, and argues that its proposed interpretation of Article 21 of the ECT
        corresponds to a “middle ground of varying practices.” The Tribunal, having reviewed those
        treaties, finds those provisions of no assistance to its interpretation of Article 21 of the ECT.

1415. In any event, the Tribunal, having found that the interpretation of Article 21 of the ECT
        according to the general rule of interpretation under Article 31 of the VCLT results in a
        meaning that is neither ambiguous nor obscure and does not lead to a result which is manifestly
        absurd or unreasonable, does not need to call in aid any other rule of interpretation. Finally, the
        Tribunal does not find much helpful guidance in the travaux préparatoires of the ECT.
        Respondent claims that the replacement of “Taxation Measures” with “taxes” in a draft of
        Article 21(5) of the ECT circulated in June 1993 could not have been incidental. However, if
        this replacement had been motivated by the intention of the negotiators to limit the scope of the
        claw-back provision in Article 21(5) of the ECT compared to the scope of the carve-out in
        Article 21(1) of ECT, the Tribunal would expect such a motivation to have found some
        additional expression in the record.

1416. The Tribunal therefore holds that any measures falling under the taxation carve-out of
        Article 21(1) of the ECT are also covered by the scope of the expropriation claw-back in
        Article 21(5) of the ECT.


                               ii.     The Referral to Competent Tax Authorities

1417. The Tribunal recalls Article 21(5)(b), which sets out the following referral mechanism:

                (b)     Whenever an issue arises under Article 13, to the extent it pertains to whether a tax
                        constitutes an expropriation or whether a tax alleged to constitute an expropriation
                        is discriminatory, the following provisions shall apply:
                        (i)    The Investor or the Contracting Party alleging expropriation shall refer the
                               issue of whether the tax is an expropriation or whether the tax is
                               discriminatory to the relevant Competent Tax Authority. Failing such
                               referral by the Investor or the Contracting Party, bodies called upon to settle


1855
       Claimants’ Post-Hearing Brief ¶ 220 (emphasis in the original).




                                                          - 449 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 470 of 617




                                disputes pursuant to Article 26(2)(c) or 27(2) shall make a referral to the
                                relevant Competent Tax Authorities;
                        (ii)    The Competent Tax Authorities shall, within a period of six months of such
                                referral, strive to resolve the issues so referred. Where non discrimination
                                issues are concerned, the Competent Tax Authorities shall apply the non-
                                discrimination provisions of the relevant tax convention or, if there is no
                                non-discrimination provision in the relevant tax convention applicable to the
                                tax or no such tax convention is in force between the Contracting Parties
                                concerned, they shall apply the non-discrimination principles under the
                                Model Tax Convention on Income and Capital of the Organisation for
                                Economic Co-operation and Development;
                        (iii)   Bodies called upon to settle disputes pursuant to Article 26(2)(c) or 27(2)
                                may take into account any conclusions arrived at by the Competent Tax
                                Authorities regarding whether the tax is an expropriation. Such bodies shall
                                take into account any conclusions arrived at within the six-month period
                                prescribed in subparagraph (b)(ii) by the Competent Tax Authorities
                                regarding whether the tax is discriminatory. Such bodies may also take into
                                account any conclusions arrived at by the Competent Tax Authorities after
                                the expiry of the six-month period;
                        (iv)    Under no circumstances shall involvement of the Competent Tax Authorities,
                                beyond the end of the six-month period referred to in subparagraph (b)(ii),
                                lead to a delay of proceedings under Articles 26 and 27.

1418. According to Respondent, “[t]he referral mechanism . . . precludes any ruling by the Tribunal
        whether a tax constitutes an expropriation . . . without having made referral to the tax
        authorities.”1856 Specifically, Respondent argues that Article 21(5)(b)(i) requires the Tribunal
        to make a referral to “the Russian Ministry of Finance, the Cypriot Ministry of Finance, and the
        UK Inland Revenue.”1857

1419. Claimants, on the other hand, take the view that a referral is not warranted, for two reasons.
        Firstly, Claimants argue that the requirement is triggered only if there is an allegation that “a
        tax constitutes an expropriation,” whereas in the present case, according to Claimants, their
        investments were not expropriated by “a tax”, but “by a combination of many types of actions
        of which taxation—as labeled by the Russian Federation—was only one.”1858                        Secondly,
        Claimants argue that any referral made to the Russian Ministry of Finance, or the tax authorities
        of the United Kingdom and Cyprus for that matter, would be an exercise in futility.1859
        According to Claimants, the Russian Ministry of Finance would effectively be asked to “be a
        judge in its own cause,” and asking the tax authorities to review the entire file—written

1856
       Transcript, Day 21 at 192 (Respondent’s rebuttal).
1857
       Transcript, Day 21 at 191 (Respondent’s rebuttal).
1858
       Claimants’ Post-Hearing Brief ¶ 229.
1859
       Claimants’ Post-Hearing Brief ¶ 229.




                                                            - 450 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 471 of 617




        submissions, relevant correspondence, expert reports, witness statements, hearing transcripts
        and over 8,000 exhibits—and to comment on it, would amount to a “useless exercise”.1860

1420. The Tribunal does not accept Claimants’ first argument, since it ignores the logic by which the
        Tribunal would have come to this point in its reasoning. If the Tribunal were considering
        Respondent’s measures under the claw-back of Article 21(5), it would be because the Tribunal
        would have found previously that there was no meaningful distinction between the scope of
        “Taxation Measures” and “taxes” for purposes of Article 21, or indeed because it would have
        found that even if measures “under the guise” of taxation were covered by the carve-out, then
        they must also be covered by the claw-back. The referral mechanism therefore cannot be
        avoided on the basis of a narrow interpretation of the term “tax” in Article 21(5)(b)(i).

1421. Claimants’ futility argument, however, is persuasive. In this particular case, the Tribunal is
        convinced that a referral to the tax authorities of the Russian Federation, the United Kingdom
        and/or Cyprus would be (and, at any earlier stage of the proceedings, would have been) an
        exercise in futility.

1422. The record before the Tribunal is enormous. The arguments and allegations of the Parties
        relating to various taxes and the reasons for which they should or should not be considered
        expropriatory have filled briefs adding up to thousands of pages, have relied on some
        8,800 exhibits and were presented to the Tribunal in oral hearings scheduled over a six-week
        period. It is inconceivable that the gist of this case, for either side, could have been reduced to
        a meaningful submission of a size and scope that might have been digested by the relevant tax
        authorities in a way that would have given them an opportunity to provide timely and pertinent
        guidance to the Tribunal.

1423. Thus, while the Tribunal acknowledges that the referral mechanism in the claw-back provision
        of Article 21(5) was designed to assist tribunals “to distinguish normal and abusive taxes,” as
        noted by Professor Park in his “Tax Arbitration and Investor Protection” article cited by
        Respondent,1861 this is simply not a case in which the Tribunal could have been assisted by
        referring the matter to the tax authorities. As the Tribunal has noted at various stages in the
        present Award, its conclusions ultimately rest on a consideration of the totality of the evidence

1860
       Claimants’ Post-Hearing Brief ¶ 229.
1861
       Respondent’s Closing Sides, p. 849; William Park, Tax Arbitration and Investor Protection, in INVESTMENT
       PROTECTION AND THE ENERGY CHARTER TREATY (Graham Coop & Clarisse Ribeiro eds., 2008), p. 115,
       p. 131, Exh. R-3410.




                                                    - 451 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 472 of 617




        presented to it. The tax authorities, on the other hand, would necessarily need to focus on
        discrete taxes or discrete issues related to taxes.

1424. The requirement for an investor to make a referral under Article 21(5)(b)(i), first sentence (and,
        a fortiori, the requirement for the Tribunal to make a referral under Article 21(5)(b)(i), second
        sentence) cannot, in the Tribunal’s view, apply in cases where such a referral would obviously
        be futile. Like any provision in an international treaty, Article 21(5)(b)(i) of the ECT must be
        interpreted in good faith. A good faith interpretation of the provision leads to the conclusion
        that a referral cannot be required if following the referral procedure would clearly be futile
        under the circumstances of a specific case.

1425. It has long been recognized, with regard to the exhaustion of local remedies requirement in the
        context of the principles on diplomatic protection,1862 that following a prescribed procedure
        may be dispensed with under circumstances where doing so clearly would not produce the
        result that the procedure seeks to achieve. The relevant principle is set out in Article 15(a) of
        the 2006 ILC Draft Articles on Diplomatic Protection, providing that “[l]ocal remedies do not
        need to be exhausted where . . . there are no reasonably available local remedies to provide
        effective redress, or the local remedies provide no reasonable possibility of such redress.”1863
        Tribunals adjudicating claims of investors under international investment treaties have made
        similar findings with regard to the obligation of investors to observe so-called cooling-off
        periods1864 or the requirement to submit a dispute to litigation in the host State’s domestic
        courts for a certain period of time.1865

1426. The Tribunal is of the view that a referral must be regarded as clearly futile if there is no
        possibility that the relevant authorities would in fact be able to come to some timely and
        meaningful conclusion about the dispute or make any timely determinations that could



1862
       See e.g., Certain Norwegian Loans (France v. Norway), Judgment, 6 July 1957, ICJ Reports 1957, p. 9, Separate
       Opinion of Judge Lauterpacht, p. 34, at p. 39; Barcelona Traction, Light and Power Company, Limited (Belgium v.
       Spain) (Second Phase), Judgment, 5 February 1970, ICJ Reports 1970, p. 3, Separate Opinion of Judge Tanaka, p.
       114, at pp. 144–45.
1863
       Draft Articles on Diplomatic Protection, adopted by the International Law Commission at its 58th session, 2006,
       Article 15(a).
1864
       See e.g., Occidental Petroleum Corporation & Occidental Exploration and Production Company v. Republic of
       Ecuador, ICSID Case No. ARB/06/111, Decision on Jurisdiction, 9 September 2008 ¶ 94.
1865
       See e.g., BG Group Plc. v. The Republic of Argentina, UNCITRAL, Award, 24 December 2007 ¶ 147, Exh. R-3576;
       Ambiente Ufficio S.P.A. v. The Argentine Republic, ICSID Case No. ARB/08/9, Decision on Jurisdiction and
       Admissibility, 8 February 2013 ¶ 607.




                                                       - 452 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 473 of 617




        potentially serve to assist the Tribunal’s decision-making. The Tribunal finds, for the reasons
        stated above, that no such possibility exists or existed in this case.

1427. Furthermore, the Tribunal notes that neither Party disputes that, in the event of a referral, any
        determinations of the Competent Tax Authorities regarding whatever discrete issues they might
        have been able to focus on relating to whether any tax was an expropriation would not have
        been binding on the Tribunal. The wording of Article 21(5)(b)(iii) of the ECT is very clear:
        bodies such as the present Tribunal may take into account any conclusion arrived at by the
        Competent Tax Authorities regarding which the tax is an expropriation.1866

1428. In conclusion, the Tribunal holds that a referral of the dispute to the “Competent Tax
        Authorities” within the meaning of Article 21(5)(b)(i) of the ECT would clearly have been
        futile at the outset of this arbitration and was therefore not required. It remains futile today.


                               iii.    Conclusion

1429. As a consequence, assuming (for the sake of argument) that some of Respondent’s measures
        fell within the scope of the carve-out in Article 21(1), the Tribunal would nevertheless be in a
        position to proceed to determine whether the relevant measures constituted a violation of
        Article 13 of the ECT under the claw-back. It could do so even though it has not referred the
        issue of whether any tax is an expropriation to any of the Competent Tax Authorities because to
        do so would clearly be an exercise in futility.


                (c)     Second Reason: The Carve-Out Does Not Apply

1430. Secondly, and independently from the above reasoning, the Tribunal concludes that it has
        jurisdiction to rule on Claimants’ claims under Article 13 of the ECT due to the fact that the
        Article 21 carve-out does not apply to the Russian Federation’s measures because they are not,
        as the Tribunal has concluded above, on the whole, a bona fide exercise of the Russian
        Federation’s tax powers.

1431. This accords with Claimants’ view that Article 21 of the ECT can apply only to bona fide
        taxation actions, i.e., actions that are motivated for the purpose of raising general revenue for
        the State. By contrast, actions that are taken only “under the guise” of taxation, but in reality

1866
       Claimants’ Post-Hearing Brief ¶ 229; Transcript, Day 21 at 194 (Respondent’s rebuttal).




                                                          - 453 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 474 of 617




      aim to achieve an entirely unrelated purpose (such as the destruction of a company or the
      elimination of a political opponent), argue Claimants, cannot qualify for exemption from the
      protection standards of the ECT under the taxation carve-out in Article 21(1).

1432. The Tribunal essentially accepts the latter interpretation of Article 21.

1433. To find otherwise would mean that the mere labelling of a measure as “taxation” would be
      sufficient to bring such measure within the ambit of Article 21(1) of the ECT, and produce a
      loophole in the protective scope of the ECT. Since the claw-back in Article 21(5) of the ECT
      relates only to expropriations under Article 13 of the ECT, a State could, simply by labelling a
      measure as “taxation”, effectively avoid the control of that measure under the ECT’s other
      protection standards. It would seem difficult to reconcile such an interpretation with the
      purpose of Part III of the ECT.

1434. The Tribunal cannot agree with Respondent that, by finding that Article 21(1) of the ECT
      applies only to bona fide taxation, the Tribunal would be conflating the requirements for the
      application of the taxation carve-out (representing an exception to the protection standards
      under the ECT) and the requirements for the application of the protection standards themselves.
      For example, Article 13 of the ECT could be violated through a bona fide taxation measure that
      was aimed at the raising of State revenue, but whose effect was expropriatory. By contrast, the
      characterization of an incriminated action by a respondent State as a Taxation Measure for
      purposes of Article 21(1) of the ECT would be independent of the effects of that action, but
      rather depend on the motivation underlying it.

1435. The Tribunal also sees no reason to assume that it would be better for the question of the
      motivation underlying a particular measure to first be addressed through the “Competent Tax
      Authorities” (pursuant to the referral mechanism under Article 21(5) of the ECT), as the
      particular expertise of these authorities does not extend to the question of whether an act that on
      its face appears to be a taxation measure is in reality implemented for improper reasons. To the
      contrary, where the tax authorities of a State have participated in measures against an investor
      whose true purpose is unrelated to taxation, submitting these issues to the preliminary
      examination of the same authorities would add little value for an arbitral tribunal.

1436. The Tribunal further observes that, by making this finding, it is in good company, and that the
      two eminent arbitral tribunals which have previously considered, on an admittedly more limited
      record, essential elements of the dispute now before it, have adopted the same view.



                                                 - 454 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 475 of 617




1437. Thus, the RosInvestCo tribunal concluded that:

                [I]t is generally accepted that the mere fact that measures by a host state are taken in the
                form of application and enforcement of its tax law, does not prevent a tribunal from
                examining whether this conduct of the host state must be considered, under the applicable
                BIT or other international treaties on investment protection, as an abuse of tax law to in
                fact enact an expropriation.1867

1438. Similarly, the Quasar tribunal opined that:

                It is no answer for a state to say that its courts have used the word “taxation” . . . in
                describing judgments by which they effect the dispossession of foreign investors. If that
                were enough, investment protection through international law would likely become an
                illusion, as states would quickly learn to avoid responsibility by dressing up all adverse
                measures, perhaps expropriation first of all, as taxation. When agreeing to the jurisdiction
                of international tribunals, states perforce accept that those jurisdictions will exercise their
                judgment, and not be stumped by the use of labels.1868

1439. By contrast, neither the EnCana v. Ecuador decision1869 nor the Burlington v. Ecuador
        award1870 to which Respondent refers in support of its view that any measure “adopted in
        apparent [reliance on] tax legislation” should fall under the taxation carve-out,1871 in fact
        appears to endorse such a position.

1440. Thus, while the tribunal in EnCana stated that, for a measure to fall under the taxation carve-
        out in the treaty before it, it would have to be “sufficiently clearly connected to a taxation law
        or regulation (or to a procedure, requirement or practice of the taxation authorities in apparent
        reliance on such a law or regulation),”1872 the emphasis in this formulation appears to have been
        on the “sufficiently clea[r]” connection to an existing legal provision or practice, rather than the
        “apparent reliance” of the authorities on the existence of a legal basis for their actions. This is
        supported by another statement of the EnCana tribunal in the same paragraph, according to
        which “an arbitrary demand unsupported by any provision of the law of the host State would
        not qualify” for an exemption under the taxation carve-out.1873


1867
       RosInvestCo ¶ 628, Exh. C-1049.
1868
       Quasar ¶ 179, Exh. R-3383.
1869
       Transcript, Day 3 at 174 (Respondent’s opening); Transcript, Day 21 at 179, 183 (Respondent’s rebuttal) (discussing
       EnCana v. Ecuador, LCIA UN3481, UNCITRAL, Award, 3 February 2006 ¶ 142, Exh. C-976).
1870
       Transcript, Day 3 at 174 (Respondent’s opening); Transcript, Day 21 at 182–83 (Respondent’s rebuttal) (discussing
       Burlington Resources v. Ecuador, ICSID Case ARB/08/5, Decision on Jurisdiction, 2 June 2010 ¶ 207, Exh. R-992).
1871
       Transcript, Day 3 at 174 (Respondent’s opening).
1872
       EnCana v. Ecuador, LCIA UN3481, UNCITRAL, Award, 3 February 2006 ¶ 142(1), Exh. C-976.
1873
       EnCana v. Ecuador, LCIA UN3481, UNCITRAL, Award, 3 February 2006 ¶ 142(1), Exh. C-976.




                                                          - 455 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 476 of 617




1441. The context of the statement also makes it clear that the tribunal was only addressing minimum
        requirements for the application of the taxation carve-out before it, rather than expressing any
        views about situations in which the carve-out provision would not apply. Thus the tribunal
        emphasized that, for a measure to come under the treaty’s carve-out, it would have to be
        “sufficiently clearly connected to” or supported by some taxation law, regulation or actual
        practice (the latter of which would in turn have to be based on a taxation law or regulation). It
        did, however, neither say nor imply that any measure which the authorities based on a taxation
        law or regulation would by definition be regarded as a taxation measure and therefore justify
        the application of the carve-out.

1442. It makes sense to regard a tax demand that is effectively motivated not by the aim of raising
        public revenue but by a purpose extraneous to taxation as an “arbitrary demand” that, in the
        words of the EnCana tribunal, cannot qualify for an exemption under a taxation carve-out.1874
        Such an interpretation is also supported by the statement of Claimants’ expert Professor
        Crawford, who was the presiding arbitrator in the EnCana arbitration and according to whom
        the decision was not meant to imply “that anything labelled as a taxation measure is excluded”
        by a taxation carve-out.1875

1443. Neither does the Burlington decision referred to by Respondent support the view that a taxation
        carve-out would have to apply to any measure adopted by tax authorities in apparent reliance
        on tax legislation.       In Burlington, the tribunal notes that “bad faith” of the respondent
        mentioned by the claimant rested on its allegation that Ecuador had forced the claimant to give
        up certain contractual rights by the use of its taxation legislation.1876 There was no suggestion
        in that case that Ecuador had taken any measures against the investor for motives that were
        entirely unrelated to the raising of public revenue.                As a consequence, the tribunal in
        Burlington, when it said that the claimant’s suggestion “that Respondent used its tax power in
        bad faith in order to force Claimant to surrender its rights” under the contracts raised “matters
        of taxation”,1877 was referring to the specific situation in that case that cannot in any way be
        compared to the one at issue in the present proceedings.



1874
       EnCana v. Ecuador, LCIA UN3481, UNCITRAL, Award, 3 February 2006 ¶ 142(1), Exh. C-976.
1875
       Transcript, Day 17 at 161 (Claimants’ closing); Further Opinion on Jurisdictional Issues by James Crawford, 3 May
       2007 ¶ 5, Exh. C-613.
1876
       Burlington Resources v. Ecuador, ICSID Case ARB/08/5, Decision on Jurisdiction, 2 June 2010 ¶ 175, Exh. R-992.
1877
       Burlington Resources v. Ecuador, ICSID Case ARB/08/5, Decision on Jurisdiction, 2 June 2010 ¶ 207, Exh. R-992.




                                                        - 456 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 477 of 617




1444. It follows that Article 21(1) of the ECT, which applies only to bona fide taxation measures,
      does not find any application in this arbitration. The tax assessments levied against Yukos by
      the Russian Federation, which the Tribunal has found were designed mainly to impose massive
      liabilities based on VAT and related fines, and were essentially aimed at paralyzing Yukos
      rather than collecting taxes, are not exempt from scrutiny under the ECT, as they are not
      captured by the carve-out of Article 21(1).

1445. Similarly, and a fortiori, subsequent steps in the enforcement of the tax assessments are not
      captured by the carve-out, because the Tribunal has found that they too were exigently pursued
      by means that indicate that Yukos was not just being chased to pay taxes, but was being driven
      into bankruptcy.


            (d)    Conclusion

1446. Based on the analysis set out in this chapter of the Award and for the two independent reasons
      set out above, the Tribunal has jurisdiction to consider whether the Russian Federation is liable
      to Claimants under Article 13 of the ECT for the measures which it has adopted and which
      have resulted in the evisceration of their investments and the destruction of Yukos.

1447. While the Tribunal’s finding that the carve-out in Article 21(1) does not apply would in
      principle allow the Tribunal to consider the measures under both Articles 10 and 13 of the ECT,
      in the circumstances, as will be seen, it will not be necessary for the Tribunal to consider
      whether the expropriatory measures of Respondent are also in breach of Article 10 of the ECT.


X.    LIABILITY

1448. Having dismissed Respondent’s preliminary objections to the Tribunal’s jurisdiction, the
      admissibility of Claimants’ claims and the applicability of the ECT in the present case, the
      Tribunal now turns to the question of the Russian Federation’s liability under the Treaty. In
      Part VIII, the Tribunal canvassed the evidentiary record put before it by the Parties. In this
      Part X, the Tribunal draws the legal consequences of its factual conclusions, beginning by
      addressing questions of attribution.

1449. As has already been mentioned, the Tribunal’s eventual conclusions regarding the alleged
      breaches by Respondent of Article 13 (Expropriation) of the ECT will make it unnecessary for
      the Tribunal to consider the application of Article 10 (Promotion, Protection and Treatment of



                                                - 457 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 478 of 617




        Investments). Nevertheless, for the sake of completeness, the Tribunal will set out the Parties’
        arguments with regard to Article 10. The Tribunal will then set out the Parties’ arguments in
        respect of Article 13. Finally, the Tribunal will set out its decision regarding Respondent’s
        liability and Claimants’ contributory fault.


A.      ATTRIBUTION

1450. The Parties are divided on the question of whether some of the actions of which Claimants
        complain are attributable to the Russian Federation. Below, the Tribunal sets out the Parties’
        submissions and its own views on this question.


        1.      Claimants’ Position

1451. Claimants summarize their position with regard to the attribution of acts said to constitute
        breaches of the ECT to Respondent in their Memorial as follows:

                [T]he Russian Federation has acted through almost all of its organs, be it Executive or
                Judiciary, at all levels, including the highest, in seeking the destruction of Yukos. These
                include the President of the Russian Federation, the Presidential Administration, the Tax
                Ministry (later to become the Federal Taxation Service, a federal body of executive
                authority within the Ministry of Finance), the Ministry of Justice (under whose authority
                federal bodies of executive authority such the Federal Bailiff Service or the Federal
                Penitentiary Service are acting), the Prosecutor General’s Office (a federal body entrusted
                with the task of execution of the laws in the name of the Russian Federation), the Ministry
                of Internal Affairs (responsible for the police forces), the Federal Security Service (also a
                federal body of executive authority, acting under the authority of the President). When not
                acting through these Executive organs or through the Russian courts, the Russian
                Federation was acting through State-owned entities, first and foremost State-owned
                company Rosneft . . .1878
                                                                                           [emphasis added]

1452. Claimants put forward a similar view at the Hearing:

                [W]e complain of acts of the executive organs. That’s the President; the Prime Minister;
                ministries, including Tax, Justice and Interior Ministries; and their constituent bodies, the
                Federal Bailiffs Service and the Federal Penitentiary Service under Justice.
                We complain of the actions of executive bodies or agencies: that would be the Prosecutor
                General’s Office, the Federal Property Fund and the Federal Security Services. We also
                complain of the actions of the courts . . . . These are actions of the Russian Federation
                State organs, and they are, by definition, actions of the State.1879
                                                                                           [emphasis added]

1878
       Memorial ¶ 551.
1879
       Transcript, Day 20 at 252.




                                                       - 458 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 479 of 617




1453. In particular, with regard to the bankruptcy proceedings against Yukos, Claimants assert that:

                The Russian Federation initiated the bankruptcy proceedings through Rosneft, whilst the
                Russian courts ensured that the Russian State directly and through Rosneft would be the
                main creditor in the proceedings, systematically rejecting the claims of creditors related to
                Yukos or Yukos’ shareholders. Thus placed in the driving seat in these bankruptcy
                proceedings, the Russian State, acting through the Federal Taxation Service and Rosneft,
                rejected the Rehabilitation Plan proposed by Yukos’ management and paved the way for
                itself, through bankruptcy receiver (Mr. Rebgun) and the Russian Federal Property Fund to
                distribute the rest of Yukos’ assets by auctioning them at bargain prices. The vast majority
                of the proceeds went to the Russian State, with Rosneft acquiring Yukos’ two other main
                production assets, Samaraneftegaz and Tomskneft, at a substantial discount.”1880
                                                                                           [emphasis added]

1454. Claimants seek to attribute the following actions of Rosneft (some of them through Rosneft-
        controlled YNG) to Respondent:

                Rosneft’s action in acquiring Yugansk through Baikal, a special vehicle used to conceal
                Rosneft’s involvement in the Yuganskneftegaz auction.
                Rosneft’s entering into an agreement with the consortium of banks in order to initiate the
                bankruptcy and precipitate the liquidation of Yukos.
                ...
                [T]he decisions made at the creditors’ meeting hand in hand with the Russian Tax
                Ministry, namely: to vote against the rehabilitation plan; to vote against the admission of
                any Yukos-related creditor; and to vote for the liquidation of Yukos.1881

1455. Claimants take the view that “the actions of Rosneft are attributable to the Russian State”1882
        due to the latter’s ownership of and control over the former, which would be “established by
        the fact that members of Rosneft’s Board of Directors hold parallel positions in the Executive
        branch of the Russian Federation and that Rosneft’s President is appointed by the Russian
        Executive.”1883 Claimants refer to a statement made by Rosneft in the context of its IPO in July
        2006, acknowledging that “the Russian Government . . . controls Rosneft and may cause
        Rosneft to engage in business practices that do not maximize shareholder value.”1884 Claimants
        also cite a statement made by President Putin at a press conference in December 2004 and a
        decision rendered by the Amsterdam Court of Appeal in proceedings between Yukos Capital




1880
       Reply ¶ 718; see also Transcript, Day 20 at 252.
1881
       Transcript, Day 20 at 253–54.
1882
       Reply ¶ 721.
1883
       Memorial ¶ 551. See also Transcript, Day 20 at 254–55.
1884
       Transcript, Day 20 at 257.




                                                          - 459 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 480 of 617




        and Rosneft in April 2009 as further support for the control of Rosneft’s actions by
        Respondent.1885

1456. Finally, Claimants submit that Respondent’s argument that, for a breach of a host State’s ECT
        obligations to have occurred, challenged actions must have been taken by the host State in the
        exercise of puissance publique is a “nice invention.”1886 All that matters, argue Claimants, is
        whether the acting entity is an organ of the State, not the capacity in which it is acting.1887
        Claimants quote the commentary to Article 4 of the ILC Articles on State Responsibility: “[i]t
        is irrelevant for the purposes of attribution that the conduct of a State organ may be classified as
        ‘commercial’ or acta iure gestionis . . . the entry into or breach of a contract by a State organ is
        nonetheless an act of the State for the purposes of article 4, and it might in certain
        circumstances amount to an internationally wrongful act.”1888


        2.      Respondent’s Position

1457. Respondent denies that the actions of any of the following entities can be attributed to it, as
        none of these entities would have exercised governmental authority or acted under the
        instructions of, or under the direction or control of, Respondent: Sibneft, Gemini Holdings,
        Nimegan Trading, Rosneft, YNG.1889 Respondent also denies that the actions of Mr. Rebgun,
        Yukos’ interim manager and receiver, or the actions of “the meeting and the committee of
        Yukos’ bankruptcy creditors,” can be attributed to Respondent, for the same reasons.1890

1458. Concerning the attribution of Mr. Rebgun’s actions to the Russian Federation, Respondent
        points out that “[i]n most European legal systems a liquidator or bankruptcy receiver is not a
        State organ”1891 and that bankruptcy managers and receivers do not “generally exercise
        elements of governmental authority or act under the instructions, direction or control of the



1885
       Transcript, Day 20 at 257, referring to Press Conference with Russian and Foreign Media, President of Russia Official
       Web Portal, 23 December 2004, Exh. C-422; Yukos Capital SARL v. OAO Rosneft, Amsterdam Court of Appeal,
       Decision, 28 April 2009, Exh. C-484.
1886
       Transcript, Day 1 at 157௅58 (Claimants’ opening).
1887
       Transcript, Day 20 at 249 (Claimants’ rebuttal).
1888
       Transcript, Day 1 at 148 (Claimants’ opening).
1889
       Counter-Memorial ¶¶ 1442; 1472–1475; Rejoinder ¶¶ 77, 381, 1044; Respondent’s Opening Slides, Vol. 6, slide 3.
1890
       Rejoinder ¶¶ 77, 381; see also ¶ 1044; Respondent’s Opening Slides, Vol. 6, slide 3.
1891
       Rejoinder ¶ 389.




                                                           - 460 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 481 of 617




        State.”1892 Respondent cites several decisions of investment treaty tribunals as well as the
        decision of the Grand Chamber of the ECtHR in Kotov v. Russia to support this view.1893

1459. Regarding Rosneft, Respondent does not deny that it held 75.16 percent of the shares in this
        company, that members of the company’s Board of Directors held parallel positions in the
        Russian Government, or that the company’s President was appointed by the Russian
        Government. However, Respondent insists that this is not enough to satisfy the standard of
        attribution under Article 8 of the ILC Articles on State Responsibility, and that Claimants must
        prove a link between any relevant actions of Rosneft or YNG and specific instructions given by
        the Russian State.1894 As explained by Respondent at the Hearing:

                [W]hat Claimants must establish to attribute the conduct of Rosneft under Article 8 to
                Respondentʊbut which they clearly have not provenʊis that in acquiring YNG from
                Baikalfinance, entering into the agreement with SocGen and voting for Yukos’ liquidation
                at the creditors’ meeting, Rosneft was acting pursuant to specific instructions of a Russian
                State organ.1895
                                                                                                [emphasis added]

1460. Similarly, with respect to the initiation of bankruptcy proceedings, Respondent asserts that
        “what Claimants must establish, but what they clearly have not proven, is that in filing the
        bankruptcy petitions . . . YNG were acting under the instructions or directions or control of
        Russian State organs.”1896

1461. With regard to the standard applicable under Article 8 of the ILC Articles on State
        Responsibility, Respondent explains that:

                The commentary to Article 8 of the ILC Articles on State Responsibility notes that “it is
                made clear that the instructions, direction or control must relate to the conduct which is
                said to have amounted to an internationally wrongful act.” As regards “direction or
                control,” the commentary states that “[s]uch conduct will be attributable to the State only if
                it directed or controlled the specific operation and the conduct complained of was an
                integral part of that operation.”1897


1892
       Rejoinder ¶ 391.
1893
       Rejoinder ¶¶ 389–390, referring to Plama ¶ 253; Jan Oostergetel and Theodora Laurentius v. The Slovak Republic,
       UNCITRAL, Final Award, 23 April 2012 ¶ 155, Exh. R-2940 (hereinafter “Jan Oostergetel”); Case of Kotov v.
       Russia, ECtHR [GC], Appl. No. 54522/00, Judgment, 3 April 2012, Exh. R-3531 (hereinafter “Kotov v. Russia”).
1894
       Rejoinder ¶ 387.
1895
       Transcript, Day 21 at 196. See also Transcript, Day 19 at 116.
1896
       Transcript, Day 19 at 115–16.
1897
       Counter-Memorial ¶ 1444, referring to Commentary to ILC Articles on State Responsibility, Article 8 ¶¶ 3 and 7, Exh.
       C-1042. See also Rejoinder ¶ 382; Transcript, Day 21 at 196.




                                                          - 461 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 482 of 617




1462. Respondent also quotes the following passage from the commentary on the ILC Articles on
        State Responsibility, which notes that the fact a State initially establishes a corporate entity is
        not a sufficient basis for the attribution to the State of the conduct of that entity, unless the
        entity exercises elements of governmental authority.1898

1463. Respondent refers to several decisions of investment treaty tribunals (in particular Jan de Nul v.
        Egypt, White Industries v. India and Hamester) as well as to the decision of the Iran–U.S.
        Claims Tribunal in Flexi-Van Leasing v. Iran to support these statements.1899

1464. Finally, although Respondent does not deny that the Russian Tax Ministry is a State organ, the
        actions of which can in principle be attributed to the State under Article 4 of the ILC Articles
        on State Responsibility, Respondent submits that it cannot be held liable for the actions taken
        by the Tax Ministry in the context of Yukos’ bankruptcy because such actions were not taken in
        the exercise of puissance publique. In particular, Respondent submits that it cannot be held
        liable for the Tax Ministry’s vote to liquidate Yukos at the creditors’ meeting.1900


        3.      Tribunal’s Decision on Attribution

1465. The Parties’ differences in respect of attribution are centered on whether there can be attributed
        to Respondent actions of Rosneft in the acquisition of YNG, and in precipitating and
        participating in the bankruptcy proceedings. Their differences also include whether the course
        of the bankruptcy proceedings and the actions in respect of them by the bankruptcy
        administrator, Mr. Rebgun, are, in whole or in part, attributable to the Russian Federation.

1466. The ILC Articles on State Responsibility are in point.                     They and their commentary are
        conveniently republished in a book edited by Professor James Crawford, then the
        Commission’s special rapporteur on the topic.1901 Chapter II, “Attribution of Conduct to a
        State,” in its introductory commentary, observes that, “the general rule is that the only conduct

1898
       Counter-Memorial ¶ 1473; Rejoinder ¶ 385, referring to Commentary to ILC Articles on State Responsibility, Article
       8, ¶ 6 Exh. C-1042. See also Respondent’s Rebuttal Slides, Vol. 7, slide 50.
1899
       Transcript, Day 21 at 197, referring to Jan de Nul N.V. and Dredging International N.V. v. Arab Republic of Egypt,
       ICSID ARB/04/13, Award, 6 November 2008 ¶ 173, Exh. C-997; White Industries Australia Limited v. The Republic
       of India, UNCITRAL, Award, 30 November 2011 ¶¶ 8.1.10 and 8.1.18, Exh. R-3545; Hamester ¶ 179; Counter-
       Memorial ¶ 1474, referring to Flexi-Van Leasing, Inc. v. The Government of the Islamic Republic of Iran, Iran-U.S.
       Claims Tribunal, Case No. 36, (1988) 12 Iran-U.S.C.T.R. 335, Award, 11 October 1986 p. 349, Exh. R-1154.
1900
       Respondent’s Post-Hearing Brief ¶ 177; Transcript, Day 19 at 119, 161௅62 (Respondent’s closing).
1901
       Articles on Responsibility of States for Internationally Wrongful Acts with commentaries (Text adopted by the
       International Law Commission at its fifty-third session, in 2001), Articles 1–11 and 28–39, Exh. C-1042.




                                                         - 462 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 483 of 617




        attributed to the State at the international level is that of its organs of government, or of others
        who have acted under the direction, instigation or control of those organs, i.e., as agents of the
        State.”1902 Article 8, “Conduct directed or controlled by a State,” provides that “[t]he conduct
        of a person or group of persons shall be considered an act of State under international law if the
        person or group of persons is in fact acting on the instructions of, or under the direction and
        control of, that State in carrying out the conduct.”1903 The commentary to Article 8 observes
        that:

                 Questions arise with respect to the conduct of companies or enterprises which are State-
                 owned and controlled . . . . The fact that the State initially establishes a corporate entity . . .
                 is not a sufficient basis for the attribution to the State of the subsequent conduct of that
                 entity . . . . Since corporate entities, although owned by and in that sense subject to the
                 control of the State, are considered to be separate, prima facie their conduct in carrying out
                 their activities is not attributable to the State unless they are exercising elements of
                 governmental authority . . . [and] the instructions, direction or control [of the State] must
                 relate to the conduct which is said to have amounted to an internationally wrongful act.1904

1467. The Parties agree that the actions of organs of the Russian State, whether executive, judicial or
        administrative, are attributable to Russia. As noted, disagreement is essentially confined to the
        actions of Rosneft (and Rosneft-controlled YNG) and the actions of the bankruptcy
        administrator.

1468. The Russian State owned all, or, subsequently, over 70 percent of the shares of Rosneft.
        Rosneft’s officers were and are appointed by the State and many of the members of Rosneft’s
        Board of Directors concurrently occupied and occupy senior executive positions in
        Government, some close to President Putin.1905 All this however does not suffice to attribute to
        the Russian State the actions of which Claimants especially complain:                              (a) Rosneft’s
        collaboration with Baikal in the sale of YNG at auction and its immediate repurchase by
        Rosneft; (b) Rosneft’s agreement with the SocGen bank creditors syndicate of Yukos to pay the
        debt of Yukos to those banks, the banks at the same time undertaking to petition Russian courts


1902
       Ibid.p. 54.
1903
       Ibid. p. 47.
1904
       Ibid. p. 48.
1905
       For example, Mr. Igor Sechin, the Chairman of Rosneft’s Board of Directors from 2004 to 2012, was also from 2004
       to 2008 Deputy Head of the Administration of the President of the Russian Federation and aide to the President, and,
       from 2008 to 2012, Deputy Prime Minister of the Russian Federation. In 2011, he became President of Rosneft. Mr.
       Sergei Naryshkin, now the Chairman of the State Duma, was member of the Rosneft Board of Directors from 2004 to
       2009, while also holding the post, from 2004 to 2011, of Head of the Executive Office of the President of the Russian
       Federation (see Rosneft Annual Reports 2004, 2005, 2006, 2007, 2009, Exh. C-379; Rosneft Annual Report 2010,
       Exh. C-1265; see also Rosneft Annual Report 2012 (available on Rosneft’s web-site).




                                                          - 463 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 484 of 617




        for the bankruptcy of Yukos; and (c) Rosneft’s successful bids at the bankruptcy auction for
        much of what was left of Yukos.

1469. That is because it would be difficult, if not impossible, to prove that Rosneft in so acting, did so
        at the instructions or direction, or under the control of the Russian Stateʊbut for one
        remarkable fortuity that bears on the auction of the shares of YNG and their acquisition by
        Rosneft.

1470. President Putin conducted a press conference with Russian and foreign media on 23 December
        2004.1906 He was asked by V. Terekhov (Interfax), “in the wake of serious events that occurred
        tonight, when Nefteyugansk passed into the ownership of a state company. Will you comment .
        . . ?” President Putin replied:

               Now regarding the acquisition by Rosneft of the well-known asset of the companyʊI do
               not remember its exact nameʊis it Baikal Investment Company? Essentially, Rosneft, a
               100% state owned company, has bought the well-known asset Yuganskneftgaz. That is the
               story. In my view, everything was done according to the best market rules . . . a state
               owned company or, rather, companies with 100% state capital, just as any other market
               players, have the right to do so and, as it emerged, exercised it. Now what would I like to
               say in this context? You all know only too well how the privatization drive was carried out
               in this country in the early 90s and how, using all sorts of stratagems, some of them in
               breach even of the then current legislation, many market players received state property
               worth many billions. Today, the state, resorting to absolutely legal market mechanisms, is
               looking after its own interests. I consider this to be quite logical.

1471. Towards the end of this lengthy press conference, K. Eggert (BBC), noting that there had been
        a lot of criticism in Western press and official circles of the sale of YNG, asked for the reaction
        of President Putin to “this criticism and does it concern you at all?” President Putin responded
        by sharply criticizing the Texas bankruptcy proceedings brought by Yukos and the responsive
        court ruling as “unacceptable from an international legal point of view . . . a breach of
        international politeness” and a manifestation of U.S. “imperium”. He concluded: “As for the
        deal that took place, I think that it was carried out in strict conformity with the Russian
        legislation and in accordance with the norms of international law and the international
        commitments that Russia has taken on as part of the agreements that we have signed with our
        partners on the international stage. So I do not see any real problems here.”

1472. In this latter comment about agreements that Russia had signed, President Putin may have had
        the ECT in mind. What at any rate is critical is his statement at the opening of the press

1906
       President of Russia Official Web Portal, Press Conference with Russian and Foreign Media, 23 December 2004,
       Exh. C-422.




                                                     - 464 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 485 of 617




        conference that, with regard to Rosneft’s purchase of the YNG shares from Baikal, “the state,
        resorting to absolutely legal market mechanisms, is looking after its own interests.” He did not
        say that Rosneft was looking after its own interests, but that the purchase signified that the
        Russian State was looking after “its own interests”. In the view of the Tribunal, that statement
        constitutes President Putin’s public acceptance and assertion that Rosneft’s purchase of the
        YNG shares from Baikal was an action in the State’s interest, the inference being that the State,
        then 100 percent shareholder of Rosneft, the most senior officers of which were members of
        President Putin’s entourage, directed that purchase in the interest of the State. It follows that
        that act, as well as the auction of YNG shares that underlay it, is attributable to the Russian
        State.

1473. Claimants have invoked as well Rosneft’s press release of 27 June 2005, in which Rosneft
        declared that, given that it is wholly owned by the State, “Rosneft acts on its behalf.”1907 They
        also noted a statement made by Rosneft in the context of its IPO in July 2006, acknowledging
        that “the Russian Government . . . controls Rosneft . . . .”1908

1474. It does not necessarily follow from the foregoing that the actions of Rosneft in contracting with
        the SocGen bank creditors of Yukos, and in bidding at the bankruptcy auction of Yukos itself,
        are attributable to Russia. Yet it may well be that in taking those actions, Rosneft did so at the
        sub rosa direction of the Russian State, at the direction of senior officers of President Putin’s
        entourage who concurrently ran Rosneft. In the view of the Tribunal, it may reasonably be
        concluded that Rosneft was so directed. Or, if not, that it was not because it did not need to be;
        Rosneft was such a creature of President Putin’s entourage that it reflexively implemented his
        policies. But proving that admittedly is elusive, in the absence of an inculpatory admission on
        behalf of the Russian State such as that of President Putin in respect of the acquisition of YNG.

1475. Are the actions of the bankruptcy administrator, Mr. Rebgun, attributable to the Russian
        Federation?

1476. Respondent observed in its Rejoinder that “[i]n most European legal systems a liquidator or
        bankruptcy receiver is not a State organ” and that bankruptcy managers and receivers do not
        “generally exercise elements of governmental authority or act under the instructions, direction



1907
       Rosneft Shareholders’ AGM Held, Rosneft Press Release, 27 June 2005, Rosneft Website, Exh. C-1419.
1908
       Rosneft IPO Prospectus, 14 July 2006, Exh. C-380.




                                                           - 465 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 486 of 617




        or control of the State”.1909 Respondent cited pertinent awards of investment treaty tribunals,
        including Plama1910 and Oostergeel v. Slovak Republic1911 as well as the decision of the Grand
        Chamber of the ECtHR in Kotov v. Russia1912 in support of this conclusion. Those decisions
        are indeed supportive.

1477. Claimants did not address these arguments at the Hearing, where they appeared to limit their
        complaints in the context of the bankruptcy proceedings to “the actions of the Russian courts,
        who appointed the interim receiver and confirmed all his actions, as well as the actions of the
        admitted creditors, namely the Tax Ministry and Rosneft.”1913

1478. Respondent has maintained that the actions of the Tax Ministryʊincontestably an organ of the
        Russian Stateʊin asserting and realizing its predominant claims to the assets of Yukos in the
        bankruptcy proceedings, nevertheless are not in breach of the ECT because the Tax Ministry
        there acted as a mere commercial creditor and did not exercise governmental authority. “The
        votes of the Russian tax authorities are attributable to Respondent, but are not an exercise of
        puissance publique. The tax authorities voted at the Creditors’ Meeting, and, more generally,
        participated in Yukos’ bankruptcy proceedings in their capacity as a Yukos creditor alongside
        other creditors, enjoyed no special prerogatives or privileges, and were subject to the same rules
        as private creditors, the 2002 Bankruptcy Law.”1914 Moreover, Respondent contends that the
        Moscow Arbitrazh Court’s “acceptance of the bankruptcy petitions and ratification of the
        creditors’ decision to liquidate Yukos does not change this conclusion . . . [It] enforced
        legislation governing private-law relations, specifically, bankruptcy legislation, which imposes
        limitations inherent in private property. Loss resulting from a court’s enforcement of legal
        limitations inherent in private property is not compensable under Article 13 or 10(1) ECT,
        irrespective of whether the court proceedings were instituted by a State organ.”1915

1479. The foregoing line of argument runs up however against the ILC Articles on State
        Responsibility. Article 4 provides that “[t]he conduct of any State organ shall be considered an

1909
       Rejoinder ¶¶ 389–390.
1910
       Plama ¶¶ 252–53.
1911
       Jan Oostergetel ¶¶ 151–58.
1912
       Kotov v. Russia ¶¶ 99–107.
1913
       Transcript, Day 20 at 252.
1914
       Respondent’s Post-Hearing Brief ¶ 177.
1915
       Ibid. ¶ 178.




                                                  - 466 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 487 of 617




        act of that State under international law, whether the organ exercises legislative, executive,
        judicial or any other functions, whatever position it holds in the organization of the State . . . .”
        The commentary to this article specifies that “[i]t is irrelevant for the purposes of attribution
        that the conduct of a State organ may be classified as ‘commercial’ or as ‘acta iure
        gestionis’.”1916

1480. In respect of attribution, the Tribunal concludes that the Russian Federation is responsible for
        its organs, executive, judicial and administrative, in the actions that they took against and in
        relation to Yukos and its stockholders; that, for the reasons stated above, the Russian
        Federation, speaking through its President, accepted responsibility for Rosneft’s acquisition of
        YNG and for the auction that underlay it; and that, in respect of other actions of Rosneft that
        bear on the destruction of Yukos, while proof of specific State direction is lacking, it may
        reasonably be held that the highest officers of Rosneft who at the same time served as officials
        of the Russian Federation in close association with President Putin acted in implementation of
        the policy of the Russian Federation. The actions of Mr. Rebgun as bankruptcy administrator
        are not attributable to Respondent.1917


B.      ARTICLE 10 OF THE ECT

        1.      Introduction

1481. Article 10(1) provides, in relevant part:

                                                      Article 10
                                 PROMOTION, PROTECTION AND TREATMENT OF INVESTMENTS
                (1)     Each Contracting Party shall, in accordance with the provisions of this Treaty,
                        encourage and create stable, equitable, favourable and transparent conditions for
                        Investors of other Contracting Parties to make Investments in its Area. Such
                        conditions shall include a commitment to accord at all times to Investments of
                        Investors of other Contracting Parties fair and equitable treatment. Such
                        Investments shall also enjoy the most constant protection and security and no
                        Contracting Party shall in any way impair by unreasonable or discriminatory
                        measures their management, maintenance, use, enjoyment or disposal. In no case
                        shall such Investments be accorded treatment less favourable than that required by
                        international law, including treaty obligations. . . .



1916
       ILC Aricles on State Responsibility, Articles 1–11 and 28–39, p. 40, Exh. C-1042.
1917
       It is of interest to note that, in an interview with the Vedomosti paper in October 2006, Mr. Rebgun is alleged to have
       acknowledged his ties to the Russian security establishment known as the “siloviki.” Yukos liquidator says process
       will be legal, AFP World News, 10 August 2006, Exh. C-822.




                                                           - 467 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 488 of 617




1482. The Tribunal will first summarize the Parties’ arguments regarding applicable legal standards
        under Article 10(1) of the ECT, and then turn to the Parties’ arguments regarding whether
        Claimants have made out a breach of these standards by Respondent.


        2.      Applicable Legal Standards under Article 10(1) of the ECT

                (a)      Claimants’ Position

1483. In respect of the obligations imposed by Article 10(1) on host States, Claimants refer, as being
        particularly relevant to the present case, to Respondent’s obligation to accord Claimants’
        investments “fair and equitable treatment” and its obligation not to impair Claimants’
        investments by discriminatory measures.1918

1484. With regard to fair and equitable treatment, Claimants submit that, as a general matter, it is “a
        broad and widely accepted standard”1919 encompassing such fundamental standards as “good
        faith, due process, non-discrimination and proportionality”,1920 “procedural propriety”,1921 “the
        right to be heard and to present evidence”,1922 “proper notice of administrative actions to be
        taken by the State”1923 and “transparency, protection of legitimate expectations . . . and freedom
        from coercion and harassment”.1924

1485. Claimants submit that fair and equitable treatment in Article 10(1) of the ECT is a “non-
        contingent, autonomous” standard that is broader than both the historical customary
        international law standard for the treatment of aliens elaborated in Neer (which requires “a
        showing of outrage, bad faith, willful neglect of duty, or ‘insufficiency of governmental action
        so far short of international standards that every reasonable and impartial man would readily




1918
       Memorial ¶ 556.
1919
       Ibid. ¶ 558, quoting Judge Schwebel in MTD Equity Sdn. Bhd. and MTD Chile S.A. v. Republic of Chile, ICSID Case
       No. ARB/–1/07, Award, 25 May 2004 ¶ 109, Exh. C-969 (hereinafter “MTD v. Chile”).
1920
       Ibid. quoting Judge Schwebel in MTD v. Chile, Exh. C-969 and Saluka Investments BV v. The Czech Republic
       (UNCITRAL), Partial Award, 17 March 2006 ¶ 303, Exh. C-977 (hereinafter “Saluka”); Reply ¶ 581.
1921
       Memorial ¶ 564.
1922
       Ibid. ¶ 566.
1923
       Ibid. ¶ 567.
1924
       Ibid. ¶ 558.




                                                       - 468 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 489 of 617




        recognize its insufficiency’”)1925 and the current customary international law minimum standard
        of treatment for investments.1926

1486. Claimants emphasize that fair and equitable treatment is an “objective standard that does not
        require bad faith by the [host] State.”1927

1487. Claimants further submit that denial of justice can constitute a breach of the fair and equitable
        treatment standard and refer to several awards that define the legal standard for establishing a
        denial of justice: Azinian v. Mexico, Rumeli v. Kazakhstan, Chattin, Mondev v. United States,
        Brown v. Great Britain, and Petrobart v. Kyrgyz Republic.1928                    Claimants submit that
        “[i]nternational law has long accepted the responsibility of States for the actions of their courts,
        especially where those actions involve judicial impropriety and malfunctions in the
        administration of justice.”1929 Claimants submit that a substantive denial of justice may be
        found in instances of gross misapplication of the law,1930 but that most often denial of justice
        will be related to procedural inadequacies.1931 Accordingly, say Claimants, the concepts of due
        process and denial of justice are “closely linked”, such that “a failure to allow a party due
        process will often result in a denial of justice.”1932

1488. However, Claimants contend that Respondent, by arguing that the threshold for Article 10(1) is
        “demanding” or “high”, conflates the standard for breaches of due process with the historical
        standard for denial of justice.1933 In support of their criticism, Claimants refer to the awards in
        Vivendi II and Rumeli v. Kazakhstan and to a recent commentary by Judge Schwebel, a member
        of this Tribunal, where he wrote that:




1925
       Reply ¶ 584, quoting Counter-Memorial ¶ 1564.
1926
       Reply ¶ 584–606, citing Azurix Corp. v. Argentine Republic, ICSID Case No. ARB/01/12, Award, 14 July 2006 ¶¶
       360–61, 372, Exh. C-979 (hereinafter “Azurix”).
1927
       Transcript, Day 1 at 154, quoting National Grid P.L.C. v. Argentine Republic (UNCITRAL) Award, 3 November
       2008 ¶ 173, Exh. C-996; see also Memorial ¶ 559.
1928
       Memorial ¶¶ 618–28.
1929
       Ibid. ¶ 619.
1930
       Ibid. ¶ 621.
1931
       Ibid. ¶ 622.
1932
       Ibid.¶ 623, quoting Waguih Elie George Siag and Clorinda Vecchi v. The Arab Republic of Egypt, ICSID Case No.
       ARB/05/15, Award, 1 June 2009 ¶ 452, Exh. C-998.
1933
       Ibid. ¶¶ 607–16.




                                                       - 469 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 490 of 617




                [w]hat in another case may or may not be fair and equitable treatment by a State of foreign
                investment may involve procedural matters, or matters of substance, or both, far removed
                from the confines and criteria of a denial of justice.1934

1489. It follows, submit Claimants, that while investment tribunals have considered the fair and
        equitable treatment standard to include the manner in which an investor and its investment are
        treated by the host State’s courts “mainly through the prism of denial of justice . . . this is by no
        means exhaustive of the standard.”1935 In sum, Claimants’ position is that, while denial of
        justice forms part of the fair and equitable treatment standard, the latter standard is not limited
        to the former.1936

1490. Claimants also submit that freedom from arbitrariness and discrimination forms part of the fair
        and equitable treatment standard.1937 In support of their submission, Claimants refer to the
        award in Saluka Investments BV v. The Czech Republic (“Saluka”)ʊquoted verbatim by the
        Biwater Gauff v. United Republic of Tanzania (“Biwater”) and Rumeli v. Kazakhstan
        tribunalsʊwhich established the proposition that the standard of reasonableness has no
        different meaning in this context than in that of the fair and equitable treatment standard with
        which it is associated.1938

1491. Claimants submit that the Plama v. Bulgaria award confirms that “unreasonable” conduct is
        synonymous with “arbitrary” conduct.1939 Claimants also contend that many tribunals, such as
        those in Lemire v. Ukraine and Siemens A.G. v. The Argentine Republic (“Siemens”), have
        ruled that various State actions, not “based on reason”, and comparable to those alleged against
        Respondent were “arbitrary”.1940




1934
       Ibid. ¶ 608, referring to Judge Stephen M. Schwebel, “Is Neer Far from Fair and Equitable?” (2011) 27 Arb. Int’l 555
       p. 559, Exh. C-1647.
1935
       Ibid. ¶ 611.
1936
       Ibid. ¶ 615
1937
       Ibid. ¶ 645, citing CMS Gas Transmission Company v. The Argentine Republic, ICSID Case No. ARB/01/8, Award,
       12 May 2005 (hereinafter “CMS v. Argentina”).
1938
       Memorial ¶ 645, citing Saluka, ¶ 460, Exh. C-977; Biwater Gauff (Tanzania) Ltd. v. United Republic of Tanzania,
       ICSID Case No. ARB/05/22, Award, 24 July 2008 and Concurring and Dissenting Opinion by Gary Born ¶ 692, Exh.
       C-991 (hereinafter “Biwater”); Rumeli Telekom A.S. and Telsim Mobil Telekomunikasyon Hizmetleri A.S. v. Republic
       of Kazakhstan, ICSID Case No. ARB/05/16, Award, 29 July 2008 ¶ 679, Exh. C-992.
1939
       Memorial ¶ 646, Plama, Exh. C-994.
1940
       Ibid. ¶¶ 651–52.




                                                         - 470 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 491 of 617




1492. Claimants further submit that the principle of proportionality is an element of the fair and
        equitable treatment standard, as confirmed in MTD Equity Sdn. Bhd. and MTD Chile S.A. v.
        Chile (“MTD v. Chile”)and Vivendi v. Argentina.1941

1493. Many arbitral tribunals, say Claimants, have also held that a stable legal and business
        environment is an essential element of fair and equitable treatment.1942 They refer to the
        concepts of consistency, transparency and treatment that does not frustrate the legitimate
        expectations of the investor as being essential to ensure such an environment1943 Claimants cite
        the PSEG Global v. Turkey award, where the tribunal stated that “the ‘roller-coaster’ effect of
        the continuing legislative changes” seriously breached the fair and equitable treatment
        obligation.1944

1494. Claimants also contend that Article 10(1) of the ECT includes a stand-alone prohibition against
        discrimination that is breached if the management, maintenance, use, enjoyment or disposal of
        the investor’s investment is impaired. The test for identifying discriminatory measures, submit
        Claimants, is described in Plama as entailing “like persons being treated in a different manner
        in similar circumstances without reasonable or justifiable grounds.”1945

1495. Further, Claimants argue that the non-discrimination standard in Article 10(1) of the ECT is not
        limited to measures taken because of the foreign nationality of the investor.                 Claimants
        emphasize that nothing in the wording of Article 10(1) of the ECT suggests such a limit to the
        standard. This is particularly obvious when Article 10(1) is contrasted with Article 10(7) of the
        ECT, which contains the most-favored-nation treatment and national treatment standards. It
        follows, argue Claimants, that “when the ECT’s drafters intended to restrict a non-
        discrimination provision to nationality-based discrimination, they expressly did so.”1946
        Claimants contend that the former U.S. BIT negotiator, Mr. Vandevelde supported this
        interpretation:

                Nothing in the language [of the ECT] suggests that it is limited to discrimination based on
                nationality . . . . Although the most common competitive disadvantages imposed on

1941
       Ibid. ¶ 679.
1942
       Ibid. ¶ 697.
1943
       Ibid. ¶ 698.
1944
       Ibid. ¶ 703.
1945
       Ibid. ¶ 737.
1946
       Reply ¶ 641.




                                                      - 471 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 492 of 617




                foreign investments may be nationality-based, a competitive disadvantage imposed on
                some other basis may be just as detrimental to the investment.1947

1496. Claimants also rely on the awards in Plama, Al-Bahloul v. Tajikistan1948 and National Grid1949
        for the proposition that arbitral tribunals interpreting the ECT and other investment protection
        treaties with identical or similar provisions have concluded that the non-discrimination standard
        is not restricted to a protection against nationality-based discrimination.1950

1497. Claimants contend that the authorities relied upon by Respondent for the contrary proposition
        either contradict Respondent’s position or are inapposite.1951                        Claimants characterize
        Respondent’s “selective quoting” from the LG&E Energy Corp. et al. v. The Argentine
        Republic award as “unfortunate.”              They say that, in fact, in the paragraph immediately
        following the one cited by Respondent, the Tribunal said the exact opposite. They point out
        that the tribunal found that “while there was no intent to discriminate against the investments
        on account of the investors’ nationality, there was differential treatment of similar
        companies.”1952 Claimants also highlight that Respondent’s reliance on declarations from the
        U.S. and Canada is of no assistance, as they are non-signatories to the ECT.1953


                (b)       Respondent’s Position

1498. Respondent submits that, in determining whether the host State’s conduct is fair and equitable,
        an investor’s legitimate and reasonable expectations are the “dominant” element. Respondent
        also submits that the assessment of the reasonableness and legitimacy of an investor’s
        expectations of fair and equitable treatment must be based on the state of the law of the host
        State, its political and historical conditions, and any particular conditions of treatment the State




1947
       Ibid. ¶ 642, referring to Kenneth Vandevelde, Bilateral Investment Treaties, History, Policy and Interpretation (OUP
       2010) pp. 213–14, Exh. C-1018.
1948
       Mohammad Ammar Al-Bahloul v. Republic of Tajikistan (SCC Case No. V064/2008), Partial Award on Jurisdiction
       and Liability of 2 September 2009 ¶ 248, Exh. C-1531.
1949
       National Grid P.L.C. v. Argentine Republic (UNCITRAL), Award, 3 November 2008 ¶ 198, Exh. C-996.
1950
       Ibid. ¶¶ 644–46.
1951
       Ibid. ¶¶ 647–51.
1952
       Ibid. ¶ 650, referring to Counter-Memorial p. 748, n.2479; LG&E Energy Corp et al. v. The Argentine Republic,
       ICSID Case No. ARB/02/1, Decision on Liability, 3 October 2006 ¶¶ 147–48, Exh. C-981 (hereinafter “LG&E”).
1953
       Ibid. ¶¶ 652–53.




                                                         - 472 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 493 of 617




        offered the investor at the time it made its investment.1954 In support of these propositions,
        Respondent cites Saluka and Duke Energy v. Ecuador.1955

1499. Respondent also refers to the award in M.C.I. v. Ecuador to support the proposition that the
        obligation to provide an investor with stable, equitable, favorable and transparent conditions
        cannot be construed as an obligation to refrain from enforcing existing law.1956 Respondent
        relies on Professor Dolzer’s view that “[t]he pre-investment legal order forms the framework
        for the positive reach of the expectation which will be protected and also the scope of
        considerations upon which the host state is entitled to rely when it defends [itself].”1957

1500. Respondent refers to the awards in Lauder v. Czech Republic and Genin v. Estonia in support of
        its contention that conduct cannot be in breach of the fair and equitable treatment standard if
        authorities are only taking the actions necessary to enforce the their laws.1958 Respondent also
        relies on the Genin v. Estonia award for the proposition that where a State’s actions are the
        justified exercise of its power to enforce its laws, the procedural irregularities complained of by
        investors must be very severe to amount to a violation of the relevant investment treaty.1959

1501. Moreover, Respondent contends that the fair and equitable treatment standard in Article 10(1)
        of the ECTʊspecifically with respect to establishing a denial of justice, or conduct that is
        otherwise manifestly unfair or unreasonableʊcorresponds to an international law minimum
        standard of treatment of foreign investment.1960 This minimum standard, submits Respondent,
        incorporates the customary international law minimum standard of treatment for alien property,
        as well as treaty obligations of the host State, but excludes decisions by international
        organizations, such as the ECtHR.1961




1954
       Counter-Memorial ¶¶ 1549–50.
1955
       Ibid. citing Saluka ¶¶ 301–302; Duke Energy Eletroquil Partners S.A. v. Republic of Ecuador, ICSID ARB/04/19,
       Award, 18 August 2008 ¶ 340, Exh. C-993.
1956
       Counter-Memorial ¶ 1551.
1957
       Ibid. ¶ 1552.
1958
       Ibid. ¶ 1553, referring to Lauder v. The Czech Republic, UNCITRAL, Final Award, 3 September 2001 ¶¶ 296–97,
       Counter-Memorial ¶¶ 1566–67, referring to Alex Genin, Eastern Credit Ltd., Inc. and A.S. Baltoil v. The Republic of
       Estonia, ICSID ARB/99/2, Award, 25 June 2001, 17 ICSID Rev. 395 (2002) ¶ 367, Exh. R-1095.
1959
       Ibid. ¶ 1567.
1960
       Ibid. ¶ 1559.
1961
       Ibid. ¶ 1561.




                                                         - 473 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 494 of 617




1502. According to Respondent, Claimants’ burden for showing a violation of the minimum standard
        is “demanding”.1962        Thus, some tribunals have equated the fair and equitable treatment
        standard with the Neer standard, which for allegations of due process violations by a host
        State’s courts would require a showing of outrage, bad faith, willful neglect of duty, or
        “insufficiency of governmental action so far short of international standards that every
        reasonable and impartial man would readily recognize its insufficiency”.1963

1503. Thus, due process violations in one or more proceedings “do not by themselves establish a
        treaty violation if the procedures are only part of the judicial process available to the
        parties.”1964 Citing AMTO v. Ukraine, Respondent argues that the assessment of the conduct of
        national courts must include the availability of remedies in the host State’s legal system and
        whether or not such remedies were exercised; and if they were exercised, whether they were
        exercised fully and wisely.1965 In addition, in order to prove their claim for denial of justice,
        Claimants must show a “clear and malicious misapplication of the law” based on the content of
        judicial opinions themselves.1966

1504. With respect to the standard of non-discrimination, Respondent submits that Article 10(1) of
        the ECT “only prohibits discrimination based on nationality.”1967 Accordingly, it argues that
        discriminatory measures must have been “taken because of the foreign nationality of the
        shareholders.”1968

1505. Part VII of the Table of Contents in Respondent’s Rejoinder provides a short list of the
        conditions that, according to Respondent, Claimants’ claims must meet in order to show a
        breach of Article 10(1) (in addition to showing that the conduct alleged to be in breach of
        Article 10(1) is attributable to Respondent and is an exercise of puissance publique, as
        discussed above in Chapter X.A):

1962
       Ibid. ¶ 1562, referring to AES Summit Generation Ltd. and AES-Tisza Eromu Kft v. Hungary, ICSID ARB/07/22,
       Award, 23 September 2010 ¶ 9.3.40, Exh. R-1103; see also Counter-Memorial ¶ 1568.
1963
       Counter-Memorial ¶ 1564, see esp. p. 738, n.2456; ibid. ¶ 1568, referring to B.E.Chattin (U.S.) v. United Mexican
       States, U.S.–Mexico General Claims Commission, Opinion of 23 July 1927, 4 U.N.R.I.A.A. 282, 295, ¶ 29,
       Exh. C-924.
1964
       Counter-Memorial ¶ 1571.
1965
       Ibid. citing Limited Liability Company AMTO v. Ukraine, SCC 080/2005, Final Award, 26 March 2008 ¶ 76,
       Exh. C-989.
1966
       Counter-Memorial ¶ 1572.
1967
       Ibid. ¶ 1580.
1968
       Ibid. ¶¶ 1581–84.




                                                        - 474 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 495 of 617




                1. Regardless of the standard of review under Article 10(1), Claimants must establish that
                the Russian Federation’s actions interfered with Claimants’ legitimate and reasonable
                expectations based on a full disclosure of the facts relevant to Claimants’ investments and
                based on operation of the investments in accordance with Russian law
                        a) . . . Claimants must establish . . . specific, legal commitments by Respondent
                        based on a full disclosure of the facts relevant to their investments
                        b) Claimants also must establish that the Russian Federation’s actions interfered
                        with their expectations that are based on an operation of their investments in
                        accordance with Russian law
                2. Claimants must establish a systemic judicial failure, or, at a minimum, that the conduct
                they attack is otherwise manifestly unfair or unreasonable
                        a) Claimants must establish that the Russian court decisions they attack constitute a
                        denial of justice or are otherwise manifestly unfair or unreasonable
                        b) Specifically with respect to the taxation measures Claimants challenge,
                        Claimants must establish a systemic judicial failure or, at a minimum, that the
                        measures are manifestly unfair or unreasonable, and contrary to internationally
                        recognized tax policies and practices
                        c) Specifically with respect to Yukos’ bankruptcy proceedings, Claimants must
                        demonstrate a systemic failure of the Russian judicial system, or, at a minimum,
                        that the bankruptcy proceedings were manifestly unfair or unreasonable
                3. To establish “unreasonable or discriminatory measures” that impaired the management,
                maintenance, use or enjoyment of their investments, Claimants must prove a systemic
                judicial failure, or, at a minimum, that the taxation measures complained of are contrary to
                international tax practices or treated similar cases differently on the basis of nationality,
                without reasonable justification.1969

1506. Finally, Respondent submits that in order to substantiate their claim, Claimants must prove a
        direct causal link between the loss of their shares and measures in breach of Article 10(1)
        ECT.1970


        3.      Did Respondent Accord Claimants’ Investments the Standard of Treatment
                Required by Article 10(1) of the ECT?

                (a)     Claimants’ Position

1507. Claimants submit that Respondent violated its obligations under Article 10(1) of the ECT by
        failing to accord Claimants’ investments fair and equitable treatment and by impairing
        Claimants’ investments by discriminatory measures.

1508. In terms of fair and equitable treatment, Claimants contend that Respondent’s actions, both
        individually and collectively, constitute breaches of the most basic requirements of procedural

1969
       Rejoinder, Table of Contents, pp. v–vi.
1970
       Respondent’s Post-Hearing Brief ¶ 173.




                                                       - 475 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 496 of 617




        propriety and due process, as well as a denial of justice.1971 Claimants emphasize that their case
        is not limited to one of “systematic denial of justice”, as Respondent maintains.1972

1509. Claimants also emphasize that, in considering whether Respondent violated the fair and
        equitable treatment standard under Article 10(1) of the ECT, the Tribunal should not view each
        fact in isolation, but rather look at the totality of Respondent’s actions.1973 Thus, Claimants
        state that, while some of Respondent’s actions could and do, in and of themselves, constitute
        breaches of Articles 10(1), their position is that “the totality of the Russian Federation’s actions
        and their cumulative effect” constitute a violation of the fair and equitable treatment
        standard.1974

1510. Claimants offer a list of specific actions taken by Respondent, or attributable to it, which, they
        say, demonstrate that Respondent breached the fair and equitable treatment standard.

1511. Firstly, Claimants contend that Respondent breached the fair and equitable treatment standard
        by the conduct of “over 150 raids . . . in brutal conditions from July 4, 2003 to November 18,
        2004, and the innumerable searches and seizures conducted by armed and masked officers at
        Yukos’ headquarters, the premises of affiliates or entities related to Yukos, or the offices of
        lawyers acting in Yukos-related cases, leaving neither a copy nor a simple list of the documents
        and items seized, in breach of even the most basic requirements of Russian law.”1975 Claimants
        allege that these searches and seizures were part of the Russian Federation’s campaign to
        destroy Yukos and had a major disruptive effect on the operations of Yukos, reducing the
        company’s chances of survival in the face of the Russian Federation’s attacks (and, in



1971
       Memorial ¶¶ 568, 618.
1972
       Transcript, Day 17 at 134 (Claimants’ closing); Ibid. at 145.
1973
       Transcript, Day 1 at 155–57 (Claimants’ opening), referring to RosInvestCo ¶ 621, Exh. C-1049; Quasar ¶ 44, Exh. R-
       3383; Transcript, Day 17 at 149–154, referring to Vivendi ¶ 7.5.31 (“It is well-established under international law that
       even if a single act or omission by a government may not constitute a violation of an international obligation, several
       acts taken together can warrant finding that such obligation has been breached. The ad hoc Committee recognized this
       when it noted that ‘[i]t was open to Claimants to claim, and they did claim, that these acts taken together, or some of
       them, amounted to a breach of Articles 3 and/or 5 of the BIT”); Walter Bau AG v The Kingdom of Thailand,
       UNCITRAL, Award, 1 july 2009 ¶ 12.43 (hereinafter “Walter Bau”) (“The Respondent’s argument that ‘creeping
       expropriation’ only, and not breaches of FET, can be defined by a series of acts is not correct. The Tribunal sees no
       reason why a breach of a FET obligation cannot be a series of cumulative acts and omissions. One of these may not
       on its own be enough, but taken together, they can constitute a breach of FET obligations.”); see also Claimants’ Post-
       Hearing Brief ¶¶ 182–84.
1974
       Claimants’ Post-Hearing Brief, ¶ 182.
1975
       Ibid. ¶ 161, referring to Memorial ¶¶ 152–66; Reply ¶¶ 74–94; Rieger WS ¶ 28; Misamore WS ¶¶ 31–32; Schmidt WS
       ¶ 16; see also Memorial ¶¶ 569–79.




                                                            - 476 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 497 of 617




        particular, “the accelerated pace in which tax debts were fabricated”).1976 As for the “campaign
        of harassment” on PwC, and subsequent raid, Claimants allege that it precipitated PwC’s
        withdrawal of its certification of Yukos’ audits.1977

1512. Secondly, Claimants contend that Respondent did not provide proper notice of administrative
        actions to be taken by the State.1978 In that regard, Claimants submit that the Tax Ministry, the
        Russian courts and the bailiffs repeatedly failed to afford Yukos reasonable timeframes in
        which to pay or challenge the alleged tax reassessments: just two days to voluntarily pay after
        issuance of the 2000 Decision, and a single day to pay after issuance of each of the 2002 and
        2003 Decisions. In addition, Claimants allege that Respondent did not wait for these short time
        limits to expire before filing a petition for collection with the Moscow Arbitrazh Court, which
        Claimants allege were swiftly “rubber-stamped” in favor of Respondent.1979

1513. Thirdly, Claimants submit that Respondent did not afford them the opportunity to be heard by
        an impartial tribunal. Claimants contend that Respondent instead ensured that government-
        friendly judges sanctioned the tax reassessments and that the three judges who failed to rule
        against Yukos were removed, and their rulings later overturned. Yukos’ requests for interim
        relief to suspend the effect of the tax reassessment decisions pending appeal on the merits were
        also systematically rejected. Claimants further submit that hearings on these matters were set,
        and appeals ruled upon, almost immediately, and that Yukos was not given real access to case
        materials.1980

1514. Fourthly, Claimants assert that the sale of YNG was a sham auction, orchestrated by
        Respondent under the pretext of satisfying Yukos’ alleged tax liability for the 2000 Decision;
        an alleged liability that Claimants submit was fully paid prior to the auction date.1981 With only
        State-owned Gazprom and Baikal in attendance,1982 Claimants contend that Baikal acquired
        YNG for a “bargain” price. Claimant also notes that Baikal was purchased by State-owned



1976
       Claimants’ Post-Hearing Brief ¶¶ 159, 161–62, 165.
1977
       Memorial ¶ 578.
1978
       Ibid. ¶¶ 567, 586.
1979
       Ibid. ¶¶ 582–90.
1980
       Ibid. ¶¶ 581–86.
1981
       Ibid. ¶ 594.
1982
       Ibid. ¶¶ 595.




                                                            - 477 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 498 of 617




        Rosneft shortly following the auction, and that President Putin himself admitted Baikal was
        used as a front company to shield the future owner – Rosneft – from legal claims.1983

1515. Fifthly, Claimants assert that the initiation of bankruptcy proceedings against Yukos at the
        behest of Rosneft, the biased conduct of those proceedings by Russian courts, and the sale of
        Yukos’ remaining assets also violated due process requirements.1984

1516. Claimants submit that the following actions taken by Respondent in breach of due process
        amount to a denial of justice:

        x    the administration of justice by Russian courts with respect to all Yukos related matters did
             not meet generally accepted international law standards of due process, impartiality and
             legitimacy;1985

        x    Russian courts were unduly hasty in their decision-making, refusing to provide Yukos with
             sufficient time or adequate opportunity to review the evidence on which the tax
             reassessment payment demands were based which eventually lead to its bankruptcy;1986 and

        x    the systematic removal of judges who ruled in Yukos’ favor and dismissal of Yukos’
             challenges against judges who had previously ruled against it in tax proceedings.1987

1517. In their discussion of denial of justice, Claimants invited the Tribunal to note the fact that
        Yukos lost nearly all of its cases in 2000 against the tax authorities and the statistic put forward
        by Mr. Konnov that the taxpayer in Russia wins in 75 percent of the cases.1988

1518. Moreover, Claimants argue that even if it purported to discuss denial of justice claims,
        Respondent has actually failed to defend its conduct, limiting itself to misstating the standard
        applicable to a claim of denial of justice.1989            According to Claimants, Respondent has
        “concentrated its energies on urging the Arbitral Tribunal to impose a higher burden on


1983
       Ibid. ¶¶ 599.
1984
       Ibid. ¶¶ 601–17.
1985
       Ibid. ¶ 643.
1986
       Ibid. ¶ 626.
1987
       Ibid. ¶ 629.
1988
       Transcript, Day 17 at 135 (Claimants’ closing).
1989
       Reply ¶ 612.




                                                         - 478 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 499 of 617




        Claimants, for the facts of the Russian Federation’s conduct are devastating.”1990 Claimants
        assert that Respondent’s attempts to elevate the applicable threshold fail because Respondent’s
        conduct was indefensible under any plausible interpretation of the standards contained in
        Article 10(1) of the ECT.1991

1519. Claimants           also   contend     that   Respondent’s      actions    were     arbitrary,    unreasonable,
        disproportionate, and abusive,1992 in their reference to the following actions of Respondent:

        x      Respondent’s unrelenting campaign of coercion, harassment, and intimidation against
               Yukos and related persons and entities;1993

        x      the imposition of arbitrarily and disproportionately large payment demands by Respondent
               under the guise of tax reassessments, enforced within short time periods and accompanied
               by arbitrary freezing of assets orders;1994 and

        x      Respondent’s unreasonable and arbitrary rejection of Yukos’ proposals to settle or resolve
               the alleged tax claims.1995

1520. Claimants submit that Respondent failed to ensure a predictable and stable legal and business
        framework for the Claimants’ investments.1996 They refer as examples to:

        x      Respondent’s reversal of its previous acceptance of Yukos’ tax optimization structure as
               legal;

        x      Respondent’s reversal of its approval of the Sibneft merger; and

        x      a general lack of transparency on the part of Respondent.1997


1990
       Ibid. ¶ 631.
1991
       Ibid.
1992
       Memorial ¶¶ 644–95. Claimants submit that while Article 10(1) of the ECT only expressly prohibits “unreasonable or
       discriminatory measures”, jurisprudence confirms that “unreasonable” measures have the same meaning as “arbitrary”
       conduct, and similarly violate the fair and equitable treatment standard (Ibid. ¶¶ 665–67, citing EDF (Services)
       Limited v. The Republic of Romania, ICSID Case No. ARB/05/13, Award, 8 October 2009 ¶ 303, Exh. C-1001;
       Plama ¶ 184; Saluka ¶ 460; CMS v. Argentina ¶ 290).
1993
       Memorial ¶¶ 654–77.
1994
       Ibid. ¶¶ 678–95.
1995
       Ibid. ¶¶ 689–701.
1996
       Ibid. ¶¶ 702–21.




                                                         - 479 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 500 of 617




1521. In support of their contention that Respondent discriminated against Claimants’ investments,
        Claimants rely on the following facts:

        x    Respondent treated Yukos in a significantly different way from other comparable Russian
             oil companies;

        x    Respondent treated YNG differently before and after its acquisition by Rosneft; and

        x    Respondent ensured differential treatment between creditors related to Yukos or Yukos’
             shareholders, and State or State-related creditors in the Yukos bankruptcy proceedings.

1522. In their Reply, Claimants assert that in its Counter-Memorial Respondent does not address
        Claimants’ claims of discrimination under Article 10(1) of the ECT, except in its assertion that
        Claimants’ allegations with respect to the Yukos–Sibneft demerger do not involve
        discrimination based on nationality.1998        Claimants also argue that Respondent improperly
        invokes its domestic law in defense of its breaches of international law.1999

1523. Also in their Reply, Claimants argue that Respondent’s only defense against the bulk of
        Claimants’ claims under Article 10(1) is to invoke Article 21(1) ECT. According to Claimants,
        in providing no other defense, Respondent has conceded that its conduct breached Article
        10(1). Claimants view Respondent’s defense as resting

                squarely on the theory that Article 21(1) . . . operates as a license to ECT signatories to
                freely violate their treaty obligations under Article 10(1) . . . so long as they create the
                appearance that their actions have some connection, however remote and indirect, to
                taxation.2000


                (b)       Respondent’s Position

1524. Respondent’s main position is that Claimants have failed to establish any violation of
        Article 10(1) of the ECT.

1525. In particular, Respondent submits that (a) Claimants have failed to establish that conduct,
        which is attributable to Respondent and an exercise of its sovereign power, proximately caused

1997
       Ibid. ¶¶ 722–33.
1998
       Reply ¶¶ 654–90.
1999
       Ibid. ¶ 619.
2000
       Ibid. ¶ 577.




                                                      - 480 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 501 of 617




        the loss of Claimants’ investment;2001 (b) Claimants have failed to establish that the measures
        they challenge interfered with Claimants’ legitimate expectations;2002 and (c) the measures
        relating to the imposition and enforcement of taxes were well within the range of a State’s
        generally accepted regulatory powers.2003

1526. Respondent also argues that Claimants have failed to show that the challenged measures
        constitute a denial of justice or are otherwise manifestly unfair or unreasonable.2004                  In
        particular, Respondent argues that Claimants have failed to establish that the Moscow and
        Chukotka courts “clearly and maliciously” misapplied Russian law when granting the claims of
        Gemini Holdings and Nimegian Trading in the context of the Yukos–Sibneft merger.2005

1527. Respondent also asserts that the challenged measures were not discriminatory.2006


C.      ARTICLE 13 OF THE ECT

        1.      Introduction

1528. Article 13(1) of the ECT provides, in relevant part:

                                                         Article 13
                                                       EXPROPRIATION
                (1)    Investments of Investors of a Contracting Party in the Area of any other Contracting
                       Party shall not be nationalized, expropriated or subjected to a measure or measures
                       having effect equivalent to nationalization or expropriation (hereinafter referred to
                       as “Expropriation”) except where such Expropriation is:
                       (a)     for a purpose which is in the public interest;
                       (b)     not discriminatory;
                       (c)     carried out under due process of law; and
                       (d)     accompanied by the payment of prompt, adequate and effective
                               compensation.
                       Such compensation shall amount to the fair market value of the Investment
                       expropriated at the time immediately before the Expropriation or impending


2001
       Post-Hearing Brief ¶¶ 174–80.
2002
       Ibid. ¶¶ 184–90; Counter-Memorial ¶¶ 1545, 1555–58.
2003
       Respondent’s Post-Hearing Brief ¶¶ 191–99. Particulars of Respondent’s submission are summarized in the next
       chapter, which deals with Article 13 of the ECT.
2004
       Counter-Memorial ¶ 1545.
2005
       Ibid. ¶ 1573.
2006
       See following chapter on Article 13 ECT.




                                                        - 481 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 502 of 617




                      Expropriation became known in such a way as to affect the value of the Investment
                      (hereinafter referred to as the “Valuation Date”).
                      Such fair market value shall at the request of the Investor be expressed in a Freely
                      Convertible Currency on the basis of the market rate of exchange existing for that
                      currency on the Valuation Date. Compensation shall also include interest at a
                      commercial rate established on a market basis from the date of Expropriation until
                      the date of payment.

1529. The Parties analyze Article 13 in two steps, first by addressing what constitutes expropriation
        or “measures having effect equivalent to nationalization or expropriation,” and then by
        discussing what constitutes a legal expropriation, i.e., an expropriation conducted in accordance
        with the four conditions set out in Article 13(1): that the expropriation be (a) in the public
        interest; (b) not discriminatory; (c) carried out under due process of law; and (d) accompanied
        by the payment of prompt, adequate and effective compensation. The Tribunal will summarize
        first the Parties’ principal arguments regarding the legal standards of Article 13 and will then
        review the facts of the present case in the light of these standards.


        2.     Applicable Legal Standards under Article 13 of the ECT

               (a)    Claimants’ Position

1530. Claimants note that Article 13(1) of the ECT deals with nationalization and expropriation, as
        well as other equivalent measures. Claimants submit that such equivalent measures include
        “covert or incidental interference with the use of property which has the effect of depriving the
        owner . . . of the use or reasonably-to-be-expected economic benefit of property even if not
        necessarily to the obvious benefit of the host State.”2007

1531. Claimants submit that the standard for expropriation is objective and that while the showing of
        intent to expropriate may evidence a measure to be expropriatory, it is not a requirement of
        expropriation.2008

1532. Claimants emphasize that, in considering whether Respondent expropriated Claimants’
        investment within the meaning of Article 13(1), the Tribunal should look at the totality of


2007
       Memorial ¶ 855, quoting Metalclad Corp. v. The United Mexican States, ICSID Case No. ARB(AF)/97/1, Award, 30
       August 2000 ¶ 103, Exh. C-954.
2008
       Memorial. ¶ 856, referring to Compañía de aguas del Aconquija S.A. and Vivendi Universal S.A. v. Argentine
       Republic, ICSID Case No. ARB/97/3, Award, 20 August 2007 ¶ 7.5.20, Exh. C-986 (hereinafter “Vivendi v.
       Argentina”); Tecmed ¶ 116; Waste Management, Inc. v. United Mexican States, ICSID ARB(AF)/00/3, Award,
       30 April 2004 ¶ 79, Exh. C-968; see also Transcript, Day 1 at 154.




                                                      - 482 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 503 of 617




        Respondent’s actions and not at each fact in isolation.2009 The question is not, Claimants
        submit, whether each of Respondent’s individual actions was lawful under Russian law, or was
        no different than the practice in other jurisdictions, but whether the totality of Respondent’s
        conduct was lawful under international law.2010

1533. Claimants argue that, contrary to Respondent’s assertion, the standard for expropriation is not
        limited to the investor’s legitimate expectations.2011 Respondent’s reference in this regard to
        the treaty practice of various States is unavailing, as whether or not other treaties refer to
        legitimate expectations as a criterion to establish expropriation is irrelevant to the interpretation
        of the ECT.2012

1534. With regard to the requirement that expropriation be in the public interest, Claimants submit
        that international tribunals have emphasized that expropriation must have occurred for a “bona
        fide public purpose”2013 and not for “purely extraneous political reasons,”2014 “amusement and
        private profit”2015 or “reprisal.”2016            Claimants submit that a State’s broad discretion to
        determine what constitutes “public interest” is not unfettered.2017


2009
       Transcript, Day 1 at 153௅56 (Claimants’ opening), referring to RosInvestCo ¶ 621, Exh. C-1049; Quasar ¶ 44, Exh. R-
       3383; Transcript, Day 17, 149–154 (Claimants’ closing), referring to Compañía de Desarollo de Santa Elena, S.A. v.
       The Republic of Costa Rica, ICSID ARB/96/1, Final Award, 17 February 2000 ¶ 76, Exh. C-952 (hereinafter “Santa
       Elena”)(“[i]t is clear . . . that a measure or series of measures can still eventually amount to a taking, though the
       individual steps in the process do not formally purport to amount to a taking or to a transfer of title”; Tradex Hellas v.
       Albania, ICSID ARB/94/2, Award, 29 April 1999 ¶ 191, Exh. R-1114; Azurix ¶ 308; Biwater ¶ 455 (“[i]n terms of
       what might qualify as ‘expropriation’, the Arbitral Tribunal accepts BGT’s submission that it must consider the
       Republic’s conduct both in terms of the effect of individual, isolated, acts complained of, as well as in terms of the
       cumulative effect of a series of individual and connected acts, in so far as such a cumulative effect might be to deprive
       the investor in whole or in material part of the use or economic benefit of its assets”; OECD Draft Convention on the
       Protection of Foreign Property ¶ 4(b), Exh. C-1040; Pope & Talbot v. The Government of Canada, UNCITRAL,
       Award on the Merits of Phase 2, 10 April 2001 ¶ 181, Exh. C-1518; Ioannis Kardassopoulos and Ron Fuchs v. The
       Republic of Georgia, ICSID ARB/05/18 and ARB/07/15, Award, 3 March 2010 ¶ 404, Exh. C-1533 (hereinafter
       “Kardassopoulos”); Michael Reisman & Robert Sloane, “Indirect Expropriation and its Valuation in the BIT
       Generation,” (2003) 74 British Yearbook of International Law 115 p. 123, Exh. C-1643 (“[d]iscrete acts, analyzed in
       isolation rather than in the context of the overall flow of events . . . may not be expropriatory in themselves. Only in
       retrospect will it become evident that those acts comprised part of an accretion of deleterious acts and omissions,
       which in the aggregate expropriated the foreign investor’s property rights.”); Claimants’ Post-Hearing Brief
       ¶¶ 182௅191; Reply ¶¶ 693, 699, 700.
2010
       Reply ¶¶ 693.
2011
       Transcript, Day 20 at 248 (Claimants’ rebuttal).
2012
       Transcript, Day 20 at 248–49 (Claimants’ rebuttal).
2013
       Memorial ¶ 867, referring to Liberian Easter Timber Corporation (LETCO) v. The Government of the Republic of
       Liberia, ICSID ARB/83/2, Award, 31 March 1986, Exh C-937, Walter Fletcher Smith Case (Cuba, USA), II RIAA
       917–18, Award, 2 May 1929, Exh C-926.
2014
       Ibid. ¶ 868, quoting BP Exploration Company (Libya) Limited v. Government of the Libyan Arab Republic, Award
       (Merits), 10 October 1973, 53 Int’l L. Rep. 297, p. 329, Exh. C-931 (hereinafter “BP Exploration”).
2015
       Ibid. ¶ 870, referring to Walter Fletcher Smith Case (Cuba, USA), II RIAA 917–18, Award, 2 May 1929, Exh C-926.




                                                             - 483 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 504 of 617




1535. Claimants challenge Respondent’s assertion that States should be afforded a particularly wide
        margin of discretion when seeking to collect taxes. According to Claimants, a State alleging
        that it has legitimately exercised its powers of taxation is not impervious to scrutiny under
        international law;2018 “taxation, like the exercise of any other sovereign power, can be
        expropriatory.”2019

1536. With regard to non-discrimination, Claimants assert that it is defined as the singling out of a
        person or group of people without a reasonable basis. Thus, Claimants submit, a finding of
        “unjustified differential treatment, whether in law or in fact,” has been regarded as
        discriminatory.2020 Claimants quote a commentary that the “expropriation of an investment
        because of animosity between the host-state officials and the investor or in retaliation for
        lawful, but politically unpopular, conduct of the investment would violate the non-
        discrimination condition.”2021 Claimants add that, as in the case of Article 10(1) of the ECT,
        discrimination under Article 13(1) refers not only to nationality-based discrimination, but to
        other types of unjustified discriminatory treatment as well.2022

1537. Claimants also maintain that, by stating that an expropriation must be “carried out under due
        process of law,” the ECT, unlike some other investment treaties, requires that expropriations
        conform not only to local, but also international standards of due process.2023 Claimants argue
        that due process “contains both substantive and procedural elements”;2024 implies that
        “whenever a State seizes property, the measures taken must be free from arbitrariness” and that
        the “administrative or judicial machinery used or available must correspond at least to the
        minimum standard required by international law;”2025 and requires that the investor must be

2016
       Ibid., referring to Kenneth Vandevelde, Bilateral Investment Treaties, History, Policy and Interpretation (OUP 2010),
       p. 272, Exh. C-1018.
2017
       Ibid.
2018
       Reply ¶ 754.
2019
       Ibid. ¶¶ 756, 761.
2020
       Memorial ¶ 878, citing ADC Affiliate Limited and ADC & ADMC Management Limited v. The Republic of Hungary,
       ICSID ARB/03/16, Award, 2 October 2006, Exh. C-980 (hereinafter “ADC”); BP Exploration ¶ 329, Exh. C-931.
2021
       Ibid. ¶ 879, citing Kenneth J. Vandevelde, Bilateral Investment Treaties: History, Policy and Interpretation (OUP,
       2010), p. 273, Exh. C-1018.
2022
       Reply ¶¶ 637, 733.
2023
       Memorial ¶ 882.
2024
       Ibid. ¶ 883, quoting OECD, Draft Convention on the Protection of Foreign Property, Notes and Comments, Art. 3, 7
       ILM 117, p. 126, Exh. C-1040.
2025
       Ibid.




                                                          - 484 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 505 of 617




        given “reasonable advance notice, a fair hearing and an unbiased adjudicator to assess the
        actions in dispute.”2026

1538. Finally, Claimants submit that the taking of property without compensation engages the
        international responsibility of States, regardless of the purpose of the taking.2027


                (b)     Respondent’s Position

1539. Respondent submits that the standard for expropriation under Article 13 of the ECT must not be
        conflated with the standard for fair and equitable treatment under Article 10(1), as otherwise
        the taxation carve-out of Article 21, pursuant to which a tribunal may lack jurisdiction over fair
        and equitable treatment claims, while retaining jurisdiction over claims of expropriation, would
        be rendered meaningless.2028

1540. Respondent also contends that the absence of one or more of the four requirements of
        Article 13(1) (i.e., public purpose, non-discrimination, due process and compensation) “is not
        in itself indicative of expropriation.”2029

1541. Respondent submits that, to show expropriation or equivalent measures under Article 13(1),
        Claimants must (in addition to showing that the challenged actions are attributable to
        Respondent and constitute an exercise of puissance publique), demonstrate firstly that the
        challenged measures “proximately” caused a total or substantial deprivation of their
        investment;2030 and secondly that they interfered with their legitimate expectations.2031

1542. The importance of the causal link between the challenged measures and the investors’
        investment, argues Respondent, has been confirmed by international tribunals in Otis Elevator
        v. Iran, Elettronica, Link-Trading Joint Stock Company v. Moldova and El Paso v.


2026
       Ibid. ¶ 884, quoting ADC ¶ 435.
2027
       Ibid. ¶ 888, citing Santa Elena ¶¶ 71–72.
2028
       Transcript, Day 19 at 103௅105 (Respondent’s closing), referring to Nations Energy Inc. and others v. Panama, ICSID
       ARB/06/19, Award, 24 November 2010 ¶¶ 682௅83, Exh. R-1032; Fireman’s Fund Insurance Company v. The United
       Mexican States, ICSID ARB(AF)/02/01, Award, 17 July 2006 ¶ 208, Exh. R-1141.
2029
       Transcript, Day 19 at 103௅105 (Respondent’s closing), quoting Corn Products International Inc. v. The United
       Mexican States, ICSID ARB(AF)/04/01, Decision on Responsibility, 15 January 2008 ¶ 90, Exh. R-1108.
2030
       Counter-Memorial ¶¶ 1096–1104; Rejoinder ¶¶ 403–06; Transcript, Day 19 at 108௅10 (Respondent’s closing);
       Respondent’s Post-Hearing Brief ¶ 173.
2031
       Rejoinder ¶¶ 407–24; Transcript, Day 19 at 123௅24 (Respondent’s closing).




                                                         - 485 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 506 of 617




        Argentina.2032 By applying the standard resulting from these precedents to the present case,
        Respondent submits that Claimants must prove that the loss of their shares was the “only
        possible, unavoidable consequence of conduct attributable to Respondent, conduct that is iure
        imperii and not excluded under Article 21 ECT.”2033 Therefore, Claimants cannot base a claim
        for expropriation on damages suffered as a result of their own conduct or the conduct of their
        investment.2034

1543. As regards investors’ legitimate expectations, Respondent submits that they are a “central
        element of claims” under Article 13(1) of the ECT.2035 Respondent argues that this is in
        accordance with the treaty practice of both ECT and non-ECT Contracting Parties, which, in
        turn, reflects customary international law.2036 Respondent then submits that:

                [P]roperty rights have inherent limitations. The host State has the power to accept and
                define the rights acquired by an investor at the time of the making of the investment. And
                a foreign investor acquires rights in an investment, subject to the existing regulatory
                framework. So absent a specific commitment from the host State to the investor, an
                expropriation may occur only where the State measure does not reflect a pre-existing
                lawful limitation inherent in private property.2037

1544. Thus, argues Respondent, without a specific commitment from the host State, an investor has
        no right or legitimate expectation to non-enforcement or exemption from taxes and associated
        penalties, regardless of any earlier knowledge or tolerance of the tax authorities.2038 Moreover,
        legitimate expectations cannot be based on host State commitments when the investor has
        provided the State with incomplete and inaccurate information.                             Nor can legitimate




2032
       Transcript, Day 19 at 106௅109 (Respondent’s closing), referring to Otis Elevator Company v. Iran, Iran௅United States
       Claims Tribunal Case No. 284, (1987) 14 I. 28, Award, 29 April 1987 ¶ 47, Exh. R-1113; Case Concerning
       Elettronica Sicula S.p.A. (ELSI), United States v. Italy, Judgment, 20 July 1989 ¶ 119, Exh. C-942; Link-Trading Joint
       Stock Company v. Moldova, UNCITRAL, Final Award, 18 April 2002 ¶ 91, Exh. R-3533; El Paso ¶ 272,
       Exh. C-1544/R-4190.
2033
       Transcript, Day 19 at 108.
2034
       Counter-Memorial ¶ 1103.
2035
       Transcript, Day 19 at 123௅24 (Respondent’s closing), referring to LG&E ¶¶ 189௅90.
2036
       Transcript, Day 19 at 124௅25 (Respondent’s closing), citing 2004 and 2012 U.S. Model BITs, Annex B ¶ 1,
       Exhs. R-3513 and R-3514; 2004 Canada Model BIT, Annex B.13(1) ¶ b, Exh. R-3512; Canada௅Romania BIT, Annex
       B ¶ (b), Exh. R-3494; Canada௅Latvia BIT, Annex B, ¶ (2), Exh. R-3491; Canada௅Czech Republic BIT, Annex A, ¶
       (b), Exh. R-4646; India௅Latvia BIT, Protocol ad Articles 5, ¶ (4)(a), Exh. R-4648; Slovak Republic௅India BIT ¶ 2,
       Exh. R-4649.
2037
       Transcript, Day 19 at 125௅26 (Respondent’s closing); see also Counter-Memorial ¶ 982.
2038
       Counter-Memorial ¶ 984; Transcript, Day 19 at 129௅30 (Respondent’s closing); see also Respondent’s Post-Hearing
       Brief ¶ 184.




                                                          - 486 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 507 of 617




        expectations be premised on illegal conduct.2039               Respondent also submits that legitimate
        expectations include an expectation of “the evolution of the regulatory regime, including
        through interpretation or application of the law, even if without precedent, and changes through
        legislative amendment.”2040

1545. In addition, Respondent submits that a distinction must be made between expropriatory
        measures that breach a host State’s obligations under the ECT and the legitimate exercise of a
        State’s regulatory power, including for the imposition and enforcement of taxes.2041 Factors
        which distinguish one from the other include the compatibility of the measures with
        international and comparative standards, as well as their compatibility with national law and
        review by domestic courts.2042 Applying the latter criterion, Respondent submits that States
        cannot usually incur international responsibility through the actions of their tax authorities so
        long as domestic courts are available to resolve disputes between the tax authorities and
        taxpayers.2043

1546. Thus, in the present case, to establish a violation of Article 13(1) of the ECT, Claimants must
        demonstrate that the decisions of the Russian courts that upheld the challenged taxation
        measures, as well as the decisions issued in the context of Yukos’ bankruptcy, are themselves
        “measures having effect equivalent to nationalization or expropriation.”2044                       Accordingly,
        Respondent says, Claimants must demonstrate that these decisions were the result of a systemic
        failure of the Russian judicial system or, at a minimum, are manifestly improper, abusive,
        extraordinarily excessive or arbitrary, in manifest violation of Russian law, and in violation of
        international and comparative standards, so as to place them outside Russia’s wide margin of
        discretion in taxation matters.2045 Respondent emphasizes that this Tribunal cannot sit as an
        appellate court reviewing the decisions of the Russian courts.




2039
       Transcript, Day 19, 126௅27 (Respondent’s closing), referring to International Thunderbird Gaming Corporation v.
       The United Mexican States, UNCITRAL, Award, 26 January 2006 ¶ 208, Exh. R-1143.
2040
       Respondent’s Post-Hearing Brief ¶ 185.
2041
       Transcript, Day 19, 133௅34 (Respondent’s closing); Respondent’s Post-Hearing Brief ¶ 191.
2042
       Transcript, Day 19 at 136, 142 (Respondent’s closing); Respondent’s Post-Hearing Brief ¶¶ 192௅93.
2043
       Transcript, Day 19 at 136, 141௅42 (Respondent’s closing).
2044
       Counter-Memorial ¶ 1107; Rejoinder ¶ 425.
2045
       Rejoinder ¶¶ 425௅69.




                                                         - 487 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 508 of 617




1547. Finally, Respondent submits that Claimants must establish a violation of the requirements in
        Article 13(1) of the ECT.2046             Regarding the non-discrimination requirement, Respondent
        submits that Article 13(1) calls for proof that similar cases were, without reasonable
        justification, treated differently on the basis of nationality. Accordingly, Claimants must allege
        differential treatment based on foreign ownership.2047


        3.      Did Respondent’s Actions Constitute Expropriation (or “Measures Having Effect
                Equivalent to Nationalization or Expropriation”) within the Meaning of
                Article 13(1) of the ECT?

                (a)       Claimants’ Position

1548. According to Claimants, Respondent completely and totally deprived Claimants of their
        investments in Yukos through a series of “coordinated and mutually reinforcing actions,” which
        were motivated by a political and economic agenda and not any legitimate tax collection
        purpose.2048

1549. Claimants submit that Respondent expropriated their investments by:2049

               (a)     seizing, in October 2003, approximately 99 percent of the shares held by Hulley
                       and YUL in Yukos, thus preventing Claimants from disposing of their shares before
                       they lost all value;2050

               (b)     causing the unwinding of the Yukos–Sibneft merger, allowing the State-owned
                       company Gazprom to acquire Sibneft;2051

               (c)     “fabricat[ing] massive tax debts” against Yukos, while simultaneously freezing or
                       seizing the company’s assets and interfering with its day-to-day management




2046
       Ibid. ¶¶ 471௅86.
2047
       Ibid. ¶ 765.
2048
       Memorial ¶¶ 801, 829–64. The measures Claimants consider to be expropriatory are discussed at length in Part VIII.
2049
       Ibid. ¶¶ 802௅28.
2050
       Ibid. ¶¶ 803௅804. The seizure of about 4.5 percent of Hulley’s and YUL’s shares in Yukos was subsequently revoked,
       but 94.5 percent remained frozen until the liquidation of Yukos in November 2007.
2051
       Ibid. ¶¶ 805௅807. For a discussion of the unwinding of the Yukos–Sibneft merger see Chapter VIII.D.




                                                         - 488 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 509 of 617




                      through the harassment of executive officers, employees and other related persons,
                      “thereby engineering the circumstance of non-payment”;2052

               (d)    selling YNG in a sham auction that allowed State-owned company Rosneft to
                      acquire Yukos’ “crown jewel” for an “absurdly low price”;2053 and

               (e)    initiating and controlling the Yukos bankruptcy so as to obtain, either directly or
                      through State-owned Rosneft, Yukos’ main production assets, as well as almost all
                      of the bankruptcy proceeds.2054

1550. Claimants submit that the liquidation of Yukos on 21 November 2007 “marked the final act in
        the expropriation of Yukos.”2055

1551. Finally, Claimants argue that, even viewed individually, the harassment campaign against
        Yukos and its associates, the sale of YNG and the bankruptcy of Yukos each constitute an act
        of expropriation.2056


                (b)       Respondent’s Position

1552. Respondent submits that Claimants have failed to establish that any of the challenged measures
        constitute expropriation or “measures having effect equivalent to nationalization or
        expropriation” within the meaning of Article 13(1) of the ECT.

1553. Firstly, Respondent maintains that Claimants have failed to establish that conduct that is
        attributable to Respondent and an exercise of its sovereign power proximately caused
        Claimants’ total or substantial deprivation of their investment.2057 Respondent argues that the
        actions that directly caused Yukos’ liquidation and the ensuing loss of Claimants’ Yukos
        sharesʊthe bankruptcy petition and the decision to liquidate Yukosʊare either not attributable
        to Respondent, or not an exercise of its sovereign power.2058 The Moscow Arbitrazh Court’s


2052
       Ibid. ¶¶ 808௅12. For a discussion of the legitimacy of the Russian Federation’s tax assessments against Yukos see
       Chapter VIII.B. For a discussion of the “harassment campaign” against Yukos and related persons see Chapter VIII.C.
2053
       Ibid. ¶¶ 813௅19. For a discussion of the YNG auction see Chapter VIII.F.
2054
       Ibid. ¶¶ 820௅25. For a discussion of the Yukos bankruptcy see Chapter VIII.G.
2055
       Ibid. ¶¶ 826–27.
2056
       Ibid. ¶ 858.
2057
       Ibid. ¶¶ 1096௅1104.
2058
       Respondent’s Post-Hearing Brief ¶ 174.




                                                          - 489 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 510 of 617




        acceptance of the bankruptcy petitions and ratification of the creditors’ decision to liquidate
        Yukos does not change this conclusion, as loss resulting from a court’s enforcement of legal
        limitations inherent in private property is not compensable under Article 13 of the ECT,
        irrespective of whether the court proceedings were instituted by a State organ.2059

1554. According to Respondent, it is therefore not responsible for the loss of Claimants’ investment
        unless “Claimants can prove that Respondent is responsible for Yukos’ financial situation that
        led to its liquidation.”2060 Yet, argues Respondent, Yukos’ financial situation was actually “the
        result of Claimants’ and their owners’ decision to siphon off billions of dollars from Yukos and
        its subsidiaries to further their own financial interests, at the expense of Yukos’ creditors and
        minority shareholders.”2061

1555. Respondent emphasizes that Claimants could have avoided Yukos’ insolvency, which, in
        Respondent’s view, led to Yukos’ bankruptcy and eventual liquidation, by paying the taxes
        assessed against it for years 2000–2003 in the first quarter of 2004; filing amended VAT and
        other tax returns; and petitioning for a refund of any amounts paid that it believed not to be
        legally due.2062

1556. As for the criminal proceedings against Messrs. Khodorkovsky and Lebedev and certain Yukos
        officials, as well as the searches, seizures and arrests carried out in support of those
        proceedings, Respondent submits that these events did not cause Yukos’ liquidation.
        According to Respondent, the evidence establishes that these measures did not impair Yukos’
        operations.2063

1557. Respondent further contends that Claimants have failed to establish that the measures they
        challenge interfered with Claimants’ legitimate expectations.2064

1558. With regard to the tax assessments, Respondent argues that Claimants had no “legitimate
        expectation that the tax authorities would not apply the substance-over-form, proportionality,
        and bad-faith taxpayer doctrines to attribute the income nominally earned by Yukos’ sham

2059
       Ibid. ¶ 178.
2060
       Ibid. ¶ 179.
2061
       Ibid. ¶ 179; see also Rejoinder ¶ 746.
2062
       Rejoinder ¶ 745. For a detailed discussion, see paragraphs 679–97, 745–50, and 934–45 above.
2063
       Respondent’s Post-Hearing Brief ¶ 182.
2064
       Counter-Memorial ¶¶ 978௅1095.




                                                         - 490 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 511 of 617




        trading shells to Yukos,” because Respondent had never made any specific representation,
        based upon full disclosure, that Respondent would allow Yukos to operate its tax schemes with
        impunity.2065 Nor had Claimants ever sought or obtained a formal tax ruling on the legality of
        Yukos’ tax scheme.2066 In fact, prior to the 2000 Tax Audit Report, according to Respondent,
        Yukos sought, but was unable to obtain, a legal opinion supporting the legality of its tax
        scheme.2067

1559. In addition, Respondent submits that Claimants had no legitimate expectation that Yukos would
        not be held liable for the taxes assessed. According to Respondent, the attribution for tax
        purposes of revenues nominally earned by sham entities to a company that sought to evade
        taxes was a proper application of legal doctrines that were well-settled in Russia, and are
        employed by many other States.2068 Yukos itself, argues Respondent, was well aware that its
        tax schemes, if discovered or disclosed, would result in substantial tax liabilities.2069

1560. Respondent also argues that the Russian legislation on which the enforcement measures
        (including the asset freezes, fines, default interest, enforcement fees and the forced sales of
        Yukos’ assets) were based was already extant in the 1990s. These enforcement measures were
        thus foreseeable consequences of Yukos’ failure to pay.2070

1561. Respondent then submits that the measures taken for the imposition and enforcement of taxes
        were well within the range of a State’s generally accepted regulatory powers.2071 This is shown
        by the fact that these measures were in conformity with Russian law and were upheld by
        national courts, and were in accordance with international and comparable standards and
        practices of other countries.2072

1562. According to Respondent, Claimants have failed to show that the Russian courts contributed to
        any “measures having effect equivalent to nationalization or expropriation” through any of the

2065
       Respondent’s Post-Hearing Brief ¶ 187௅88; see also Counter-Memorial ¶¶ 1030௅65; Rejoinder ¶¶ 748௅756. For a
       discussion of the state of tax law in Russia at the relevant time see Chapters VIII.A and VIII.B.
2066
       Respondent’s Post-Hearing Brief ¶ 186.
2067
       Respondent’s Post-Hearing Brief ¶ 186.
2068
       Respondent’s Post-Hearing Brief ¶ 188 (see discussion in Chapters VIII.A and VIII.B).
2069
       Counter-Memorial ¶¶ 1003௅29; Rejoinder ¶¶ 584௅645; Respondent’s Post-Hearing Brief ¶ 189.
2070
       Respondent’s Post-Hearing Brief ¶ 189.
2071
       Ibid. ¶ 191.
2072
       Ibid. ¶ 192–93; see also Counter-Memorial ¶¶ 1106, 1120–1232.




                                                         - 491 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 512 of 617




        decisions they issued in the context of the enforcement of the tax demands,2073 the Yukos–
        Sibneft demerger,2074 the criminal proceedings against Messrs. Khodorkovsky and Lebedev,2075
        or the Yukos bankruptcy proceedings.2076

1563. Finally, Respondent submits that the ECtHR unanimously determined that the challenged tax
        assessments were a legitimate exercise of Respondent’s regulatory powers.2077 According to
        Respondent, given that the vast majority of the ECT Contracting States (including the Russian
        Federation, the United Kingdom, and Cyprus) are also ECHR Contracting States and that the
        ECHR enshrines the common ordre public of the European States in terms of democracy and
        the rule of law, the “ECtHR’s interpretation and application of the ECHR to the measures at
        issue, through a final and binding judgment, must be taken into account under Article 31(3)(c)
        VCLT in assessing whether they are within the bounds of generally recognized regulatory
        powers.”2078


        4.      If Respondent’s Actions Constitute Expropriation, Has Respondent Met the
                Criteria for a Lawful Expropriation under Article 13(1) of the ECT?

                (a)       Claimants’ Position

1564. Claimants submit that Respondent did not meet any of the four requirements under Article
        13(1) of the ECT for a lawful expropriation (i.e., public interest, non-discrimination, due
        process and adequate compensation).2079

1565. According to Claimants, the expropriation of Claimants’ investment was not in the public
        interest. In fact, “the facts of the case unmistakably show that the actions of the Russian
        Federation had nothing to do with the legitimate exercise of sovereign power, whether taxation,
        law enforcement or otherwise, but were rather a blatant confiscation of strategic assets and the



2073
       Counter-Memorial ¶¶ 1337௅1434.
2074
       Ibid. ¶¶ 1435௅51.
2075
       Ibid. ¶¶ 1452௅6.
2076
       Ibid. ¶¶ 1457௅1543.
2077
       Respondent’s Post-Hearing Brief ¶¶ 194௅95, referring to ECtHR Yukos Judgment ¶ 606, Exh. R-3328 (“ . . . each of
       the Tax Assessments 2000–2003 pursued a legitimate aim of securing the payment of taxes and constituted a
       proportionate measure in pursuance of this aim.”).
2078
       Respondent’s Post-Hearing Brief ¶ 195; see also Transcript, Day 19 at 143௅49.
2079
       Memorial ¶¶ 865௅90.




                                                         - 492 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 513 of 617




        elimination of a potential political opponent.”2080              Claimants invoke the finding of the
        RosInvestCo tribunal that the Russian Federation’s actions were “linked to the strategic
        objective to return assets to the control of the Russian State and to an effort to suppress a
        political opponent.”2081 According to Claimants, Respondent’s justification that it only sought
        to enforce its laws is without any basis.2082

1566. Claimants also submit that the expropriation of their investments was discriminatory and was
        not carried out under due process of law.2083 Nor was the expropriation accompanied by
        compensation, let alone “prompt, adequate and effective compensation.”2084

1567. Claimants conclude that the Russian Federation’s actions are in breach of Article 13(1) and
        constitute an internationally wrongful act for which Respondent is responsible.2085


                (b)       Respondent’s Position

1568. Even if Claimants could establish expropriation, which Respondent contends they cannot,
        Respondent maintains that the requirements in Article 13(1) of the ECT have not been
        breached.

1569. Respondent submits that no lack of public interest has been established.2086 Respondent states
        that its actions were legitimate, as “the purposes justifying imposition and enforcement of
        taxes, including severe penalties, fines and other sanctions in case of non-compliance of
        taxpayers with their obligations to pay taxes, are firmly recognized in international law.”2087
        Respondent asserts that Claimants have not addressed the ECtHR’s rejection of Yukos’
        “political motivation” charge.2088




2080
       Claimants’ Post-Hearing Brief ¶ 167; see also Memorial ¶¶ 1010௅12; Reply ¶¶ 511௅13.
2081
       Reply ¶ 726.
2082
       Ibid. ¶¶ 745–838.
2083
       Ibid. ¶¶ 881, 885–87.
2084
       Ibid. ¶ 889.
2085
       Ibid. ¶ 890.
2086
       Counter-Memorial ¶¶ 1318௅36.
2087
       Ibid. ¶ 1324.
2088
       Rejoinder ¶ 764.




                                                        - 493 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 514 of 617




1570. Respondent also contends that Claimants have failed to establish discrimination under
        Article 13(1)(b) of the ECT because Claimants do not allege any discrimination based on
        foreign ownership or residence, which Respondent contends is the intended scope of the term
        “discriminatory” in this provision.2089 Respondent submits that selective tax enforcement is not
        discriminatory within the meaning of Article 13(1)(b) of the ECT.

1571. According to Respondent, Yukos “was a visible and logical candidate for tax assessments,
        penalties, and enforcement actions” as its abuses of the low-tax region policy were particularly
        egregious and the amounts of taxes it evaded unprecedented.2090 Other Russian oil companies,
        argues Respondent, cannot be compared. Some companies, such as Rosneft, Tatneft and
        Surgutneftegaz did not resort to tax minimization schemes involving the use of low-tax
        regions.2091     While some other companies, such as Lukoil, did use such schemes, they
        abandoned them much earlier than Yukos.2092 Other companies, which continued to rely on the
        low-tax regions program, for example Sibneft, satisfied the “proportionality of investments”
        requirement of the Russian anti-avoidance rules.2093 Finally, tax arrears, default interest and
        fines were in fact assessed against some companies, including TNK-BP, Sibneft and Lukoil.2094

1572. Respondent also submits that Claimants have failed to establish due process violations
        cognizable under Article 13(1)(c) of the ECT. For this assertion, Respondent relies on its own
        articulation of the requisite legal standard, namely that “administrative authorities cannot be
        faulted for conduct upheld by their own courts unless the court system is disavowed at the
        international level,” which Respondent argues is not the case here.2095

1573. Respondent contends that in the present case most of the due process violations raised by
        Claimants have been reviewed by Russian courts and dismissed on the merits, while the due
        process arguments raised by Claimants for the first time in this arbitration are “specious.”2096



2089
       Counter-Memorial ¶¶ 1238௅51.
2090
       Ibid. ¶¶ 1255, 1268.
2091
       Ibid. ¶ 1260.
2092
       Ibid. ¶¶ 1261, 1269.
2093
       Ibid. ¶ 1262.
2094
       Ibid. ¶ 1264.
2095
       Ibid. ¶ 1280.
2096
       Ibid. ¶ 1290.




                                                  - 494 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 515 of 617




1574. Respondent specifically submits that the pace of the court proceedings that led to decisions
        upholding the Tax Ministry’s tax demands against Yukos was in conformity with Russian
        procedural law and practice. Respondent notes that, pursuant to Article 215(1) of the Arbitrazh
        Procedure Code, first instance judgments in tax disputes must be rendered no later than two
        months after institution of the court proceedings.2097 Respondent denies that Yukos was not
        provided with sufficient time to review documents during the collection proceedings pertaining
        to the 2000 Decision conducted by Judge Grechishkin.2098 Respondent also argues that the
        removal of Judge Cheburashkina and the recusal of Judge Mikhailova were proper, as there was
        cause to doubt the impartiality of these two judges.2099 Finally, Respondent argues that Yukos’
        challenges to Judges Korotenko and Dzuba (who were charged with reviewing Yukos’
        challenges to the 2001 Decision and 2002 Decision, respectively) on the ground that they had
        previously been involved in other proceedings for the collection of taxes against Yukos, were
        soundly rejected, as Yukos was not able to point to any rule of Russian law that would prevent
        a judge from hearing similar or related cases.2100


D.      TRIBUNAL’S DECISION ON BREACH OF THE ECT

1575. As set out in Section X.C.2 above, the Parties are in sharp disagreement about the place and
        content of the legitimate expectations that Yukos had or could have had in devising and
        implementing its tax avoidance arrangements. Claimants maintain, as Mr. Dubov testified, that
        the most senior officials of the Russian Federation were informed of and approved Yukos’
        plans in respect of low-tax jurisdictions.                 Claimants point to the legislation of those
        jurisdictions which, while requiring a specified level of local investment by a trading company,
        for the most part did not refer to or require the presence of trading company personnel in the
        low-tax jurisdiction or specify that the activities of the trading company take place in that
        jurisdiction. Respondent stresses that virtually all the significant work of the trading companies
        was done not in the low-tax jurisdictions by a small number of low-level and uninformed
        functionaries but in and by Yukos’ Moscow offices, facts that led two panels of the ECtHR to
        conclude that the trading companies were a “sham”. Respondent emphasizes that Yukos never


2097
       Counter-Memorial ¶¶ 1291–92, referring to Arbitrazh Procedure Code, Art. 215, Exh. R-1566.
2098
       Ibid. ¶¶ 1293–99.
2099
       Ibid. ¶¶ 1300–1301. For a description of the removal of Judge Cheburashkina and the recusal of Judge Mikhailova,
       see paragraphs 527–28, 539 above.
2100
       Ibid. ¶¶ 1302–51. For a description of the challenges to Judges Korotenko and Dzuba, see paragraphs 553, 563 above.




                                                         - 495 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 516 of 617




        secured and apparently was unable to secure a legal opinion upholding the lawfulness of its tax
        planning arrangements and operations.

1576. The Tribunal accepts that federal legislation and the legislation of the low-tax jurisdictions did
        not provide, or at any rate, uniformly provide, that the trading companies actually conduct their
        trading operations in the territory of the low-tax jurisdictions. Such a provision in any event
        would have been increasingly deprived of its force in view of the advent of electronic
        communications. Nevertheless there are indications in the record that Yukos itself had doubts,
        or at least apprehensions, about the legality of aspects of its modus operandi. Internal Yukos
        communications noted above at paragraph 491 so suggest, as may the unwillingness of
        Mr. Khodorkovsky to sign papers required for SEC registration. Yukos was able to advance no
        convincing explanation for the “Lesnoy shuffle”, which may well have been carried out to
        frustrate investigation of perceived tax improprieties.                   While both PwC (Yukos’ tax
        consultants) and Mr. Pepeliaev (Yukos’ tax lawyer) opined in early January 2004, after the
        initial tax assessment was issued, that the tax assessment against Yukos itself was not
        well-founded,2101 the absence of a prior legal opinion supporting the propriety of Yukos’
        arrangements in the low-tax jurisdictions is striking and may be suggestive. So also is the
        inability of Yukos to explain immense payments to former Yukos employees and its inability to
        sustain the claim that certain of its primary trading companies (the BBS companies) were not
        controlled by it.       There is also the issue of the questionable use by Claimants of the
        Cyprus-Russia DTA, which the Tribunal addresses in Chapter X.E on contributory fault.

1577. The Tribunal has not overlooked or discounted the foregoing and other weaknesses in the
        contentions of Claimants. But are they sufficient to support what the Tribunal understands to
        be a central contention of Respondent, namely, that Claimants should have expected that the
        Russian Federation would react as it did to what it claims were violations of Russian tax law
        and practice as its courts had interpreted that law and practice to be?

1578. In the view of the Tribunal, the expectations of Claimants may have been, and certainly should
        have been, that Yukos’ tax avoidance operations risked adverse reaction from Russian
        authorities. It is common ground between the Parties that Yukos and its competitors viewed

2101
       See Letter from Michael Kubena to Bruce Misamore, 15 January 2004, Exh. C-609; Sergey Pepeliaev, Summary of
       the Tax Inspection of OAO NK Yukos, 5 January 2004, Exh. C-1128; Sergey Pepeliaev et al., Opinion Regarding
       Compliance with Legislation of Inspection Report No. 08-1/1 of 29 December 2003 issued by the Tax Ministry of
       Russia, 15 January 2004, Exh. C-1129 (all referring to the 2000 Audit Report, Exh. C-103). See also paragraphs 705,
       706 and 1195 above.




                                                         - 496 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 517 of 617




        positions taken by the tax authorities on issues of tax liability to be exigent, erratic and
        unpredictable. The Tribunal however is unable to accept that the expectations of Yukos should
        have included the extremity of the actions which in the event were imposed upon it. Not only
        did Mikhail Khodorkovsky not appear to expect to be arrested even after the arrest of Platon
        Lebedev, he and his colleagues surely could not have been expected to anticipate the rationale
        and immensity of the tax assessments and fines. They could not have been expected to
        anticipate that their legal counsel would labor under the disabilities imposed upon them. They
        could not have been expected to anticipate the sale of YNG for so low a price under such
        questionable circumstances. They could not have been expected to anticipate that more than
        thirteen billion dollars in unpaid taxes and fines would be imposed on Yukos for unpaid VAT
        on oil exports when that oil had in fact been exported. They could not have been expected to
        anticipate that they risked the evisceration of their investments and the destruction of Yukos.

1579. The Tribunal has earlier concluded that “the primary objective of the Russian Federation was
        not to collect taxes but rather to bankrupt Yukos and appropriate its valuable assets.”2102 For
        the reasons that emerge in Part VIII, if the true objective were no more than tax collection,
        Yukos, its officers and employees, and its properties and facilities, would not have been treated,
        and mistreated, as in fact they were. Among the many incidents in this train of mistreatment
        that are within the remit of this Tribunal, two stand out: finding Yukos liable for the payment
        of more than 13 billion dollars in VAT in respect of oil that had been exported by the trading
        companies and should have been free of VAT and free of fines in respect of VAT; and the
        auction of YNG at a price that was far less than its value. But for these actions, for which the
        Russian Federation for reasons set out above and in preceding chapters was responsible, Yukos
        would have been able to pay the tax claims of the Russian Federation justified or not; it would
        not have been bankrupted and liquidated (unless the Russian Federation were intent on its
        liquidation and found still additional grounds for achieving that end, as the second criminal trial
        of Messrs. Khodorkovsky and Lebedev indeed suggests).

1580. Respondent has not explicitly expropriated Yukos or the holdings of its shareholders, but the
        measures that Respondent has taken in respect of Yukos, set forth in detail in Part VIII, in the
        view of the Tribunal have had an effect “equivalent to nationalization or expropriation”. The
        four conditions specified in Article 13 (1) of the ECT do not qualify that conclusion.



2102
       See paragraph 756 above.




                                                  - 497 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 518 of 617




1581. As to condition (a), whether the destruction of Russia’s leading oil company and largest
      taxpayer was in the public interest is profoundly questionable. It was in the interest of the
      largest State-owned oil company, Rosneft, which took over the principal assets of Yukos
      virtually cost-free, but that is not the same as saying that it was in the public interest of the
      economy, polity and population of the Russian Federation.

1582. As to condition (b), the treatment of Yukos and the appropriation of its assets by Rosneft (and
      to a much lesser extent, another State-owned corporation, Gazprom), when compared to the
      treatment of other Russian oil companies that also took advantage of investments in low-tax
      jurisdictions, may well have been discriminatory, a question that was inconclusively argued
      between the Parties and need not be and has not been decided by this Tribunal.

1583. As to condition (c), Yukos was subjected to processes of law, but the Tribunal does not accept
      that the effective expropriation of Yukos was “carried out under due process of law” for
      multiple reasons set out above, notably in Section VIII.C.3. The harsh treatment accorded to
      Messrs. Khodorkovsky and Lebedev remotely jailed and caged in court, the mistreatment of
      counsel of Yukos and the difficulties counsel encountered in reading the record and conferring
      with Messrs. Khodorkovsky and Lebedev, the very pace of the legal proceedings, do not
      comport with the due process of law.        Rather the Russian court proceedings, and most
      egregiously, the second trial and second sentencing of Messrs. Khodorkovsky and Lebedev on
      the creative legal theory of their theft of Yukos’ oil production, indicate that Russian courts
      bent to the will of Russian executive authorities to bankrupt Yukos, assign its assets to a State-
      controlled company, and incarcerate a man who gave signs of becoming a political competitor.

1584. As to condition (d), what in any event is incontestable is Respondent’s failure to meet its
      prescription, because the effective expropriation of Yukos was not “accompanied by the
      payment of prompt, adequate and effective compensation”, or, in point of fact, any
      compensation whatsoever. In order for the Russian Federation to be found in breach of its
      treaty obligations under Article 13 of the ECT, the foregoing violations of the conditions of
      Article 13 more than suffice.

1585. It follows that Respondent stands in breach of its treaty obligations under Article 13 of the
      ECT.    Accordingly Respondent’s liability under international law for breach of treaty is
      established. The Tribunal reaches this conclusion based on its consideration of the totality of
      the extensive evidence before it. Having found Respondent liable under international law for




                                                - 498 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 519 of 617




        breach of Article 13 of the ECT, the Tribunal does not need to consider whether Respondent’s
        actions are also in breach of Article 10 of the Treaty.

1586. The establishment of liability under international law is at the heart of its doctrine and
        jurisprudence. The Statute of the PCIJ, in Article 36(2), referred to “(c) the existence of any
        fact which, if established, would constitute a breach of an international obligation; (d) the
        nature or extent of the reparation to be made for the breach of an international obligation”. The
        identical provision is found in Article 36(2) of the Statute of the ICJ.

1587. The PCIJ held in the Factory at Chorzów case that:

                It is a principle of international law that the breach of an engagement involves an
                obligation to make reparation in an adequate form. Reparation therefore is the
                indispensable complement of a failure to apply a convention and there is no necessity for
                this to be stated in the convention itself.2103

1588. In a subsequent phase of the Factory at Chorzów case, the Court specified the content of the
        obligation of reparation in the following oft-quoted terms:

                The essential principle contained in the actual notion of an illegal actʊa principle which
                seems to be established by international practice and in particular by the decisions of
                arbitral tribunalsʊis that reparation must, so far as possible, wipe out all the consequences
                of the illegal act and re-establish the situation which would, in all probability, have existed
                if that act had not been committed. Restitution in kind, or, if this is not possible, payment
                of a sum corresponding to the value which a restitution in kind would bear; the award, if
                need be, of damages for the loss sustained which would not be covered by restitution in
                kind or payment in place of itʊsuch are the principles which should serve to determine the
                amount of compensation due for an act contrary to international law.2104

1589. The ILC Articles on State Responsibility provide, in Article 31, an article entitled “Reparation”,
        that “[t]he responsible State is under an obligation to make full reparation for the injury caused
        by the internationally wrongful act.” In support of this conclusion the Articles quote the
        foregoing holdings in the Factory at Chorzów case.2105

1590. Article 36 of the Articles, entitled “Compensation”, provides that:




2103
       Case concerning the Factory at Chorzów (Germany v. Poland), Jurisdiction, Judgment, 26 July 1927, P.C.I.J., Series
       A, No. 9, p. 21, Exh. C-1501.
2104
       Case concerning the Factory at Chorzów (Germany v. Poland), Merits, Judgment, 13 September 1928, P.C.I.J., Series
       A, No. 17, p. 47, Exh. C-925.
2105
       Articles on Responsibility of States for Internationally Wrongful Acts with commentaries (Text adopted by the
       International Law Commission at its fifty-third session, in 2001), Articles 1–11 and 28–39, p. 91, Exh. C-1042.




                                                         - 499 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 520 of 617




                 1. The State responsible for an internationally wrongful act is under an obligation to
                 compensate for the damage caused thereby . . . .

        The commentary to the Articles states that:

                 the function of compensation is to address the actual losses incurred as a result of the
                 internationally wrongful act. Compensation corresponds to the financially assessable
                 damage suffered . . . it is not concerned to punish . . . nor does compensation have an
                 expressive or exemplary character.”2106

1591. Article 13 of the ECT specifies, in the event of expropriation, that “compensation shall amount
        to the fair market value of the Investment expropriated at the time immediately before the
        Expropriation . . . the Valuation Date.”

1592. Article 39 of the ILC Articles on State Responsibility, entitled “Contribution to the injury,”
        provides that “[i]n the determination of reparation, account shall be taken of the contribution to
        the injury by wilful or negligent action or omission of the injured . . . entity in relation to whom
        reparation is sought.” The ILC’s commentary to the Articles refers to notions of “contributory
        negligence” and “comparative fault”.2107

1593. The Tribunal will assess damages in the light of the foregoing accepted principles of
        international law.


E.      CONTRIBUTORY FAULT

        1.       Introduction

1594. The Tribunal now has to determine whether the damages caused to Claimants by the wrongful
        acts of Respondent should be reduced because, as Respondent argues, “Claimants may not
        recover from the Russian Federation the fruits of their own wrongdoing.”2108

1595. In support of its submission, Respondent invokes mainly the legal principle of contributory
        fault. In its Closing Statement, Respondent argued that Claimants failed to establish that their
        loss was caused by the Russian Federation’s actions in violation of its obligations under the
        ECT, notably by failing to account for the effects of Claimants’ own actions and of Yukos’



2106
       Ibid., p. 99.
2107
       Ibid., pp. 109–10.
2108
       Respondent’s Opening Statement, Vol. 10, Slide 4.




                                                           - 500 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 521 of 617




        actions.2109     It argued2110 that Claimants ignored Article 39 of the ILC Articles on State
        Responsibility, which provides:2111

                 Article 39. Contribution to the injury
                 In the determination of reparation, account shall be taken of the contribution to the injury
                 by willful or negligent action or omission of the injured State or any person or entity in
                 relation to whom reparation is sought.

1596. Extracts of the ILC’s Commentary to Article 39 are pertinent, including the following:2112

                 Article 39 deals with the situation where damage has been caused by an internationally
                 wrongful act of a State, which is accordingly responsible for the damage in accordance
                 with Articles 1 and 28, but where the injured State, or the individual victim of the breach,
                 has materially contributed to the damage by some willful or negligent act or omission.
                                                                                            [emphasis added]

1597. The Tribunal also refers to Article 31 of the ILC Articles on State Responsibility , which states:

                 Article 31. Reparation
                 1. The responsible State is under an obligation to make full reparation for the injury caused
                 by the internationally wrongful act.
                 2. Injury includes any damage, whether material or moral, caused by the internationally
                 wrongful act of a State.

1598. The following extract from the ILC’s Commentary to Article 31 is also noted:2113

                 It is true that cases can occur where an identifiable element of injury can properly be
                 allocated to one of several concurrently operating causes alone. But unless some part of the
                 injury can be shown to be severable in causal terms from that attributed to the responsible
                 State, the latter is held responsible for all the consequences, not being too remote, of its
                 wrongful conduct.
                                                                                            [emphasis added]

1599. The Tribunal must therefore decide, on the basis of the totality of the evidence before it,
        whether there is a sufficient causal link between any willful or negligent act or omission of the
        Claimants (or of Yukos, which they controlled) and the loss Claimants ultimately suffered at
        the hands of the Russian Federation through the destruction of Yukos.


2109
       Respondent’s Closing Statement, Vol. 12, Slide 4.
2110
       Respondent’s Closing Statement, Vol. 12, Slide 5.
2111
       Articles on Responsibility of States for Internationally Wrongful Acts with commentaries (Text adopted by the
       International Law Commission at its fifty-third session, in 2001), Articles 1–11 and 28–39, p. 109 Exh. C-1042.
2112
       Ibid.
2113
       Ibid., p. 93.




                                                           - 501 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 522 of 617




1600. The Tribunal notes that it is not any contribution by the injured party to the damage which it
        has suffered which will trigger a finding of contributory fault. The contribution must be
        material and significant. In this regard, the Tribunal has a wide margin of discretion in
        apportioning fault.


        2.      Contributory Fault as Applied in Other Cases

1601. Before it proceeds with its analysis of the potential contributory fault of Claimants (and Yukos)
        in the present case which may have contributed to the injury caused to them by the
        internationally wrongful act of the Russian Federation, the Tribunal has reviewed decisions of
        investor-state tribunals which have addressed the principle of contributory fault.

1602. This review leads the Tribunal to three conclusions which will inform its analysis.

1603. Firstly, the legal concept of contributory fault must not be confused with the investor’s duty to
        mitigate its losses. There are cases where the claimant’s damages were reduced because the
        tribunal found that it failed to take some reasonable steps to minimize its losses. In such cases,
        “the injured party must be held responsible for its own contribution to the loss.”2114

1604. Secondly, there are cases where the contributory fault of the investor, while it may have
        increased the loss which it sustained, was unrelated to the wrongdoing of the State.2115 The
        fault of the investor in those cases contributed to the losses which flowed from the wrongful act
        of the State.

1605. Finally, the Tribunal identified certain decisions where the tribunals found that the victim
        contributed to the State’s wrongful conduct.2116 The contributory fault of the investor in those
        cases provoked the wrongful conduct of the State.

1606. While there is no doctrine of precedent stricto sensu in international arbitration, the Tribunal
        has found these decisions of assistance in its analysis.

2114
       EDF International S.A. and Ors v. Argentine Republic, ICSID, ARB/03/23, Award, 11 June 2012 ¶ 1301. See also
       Middle East Cement Shipping and Handling Co. S.A. v. Arab Republic of Egypt, ICSID, ARB/99/6, Award,
       12 April 2002, Exh. C-962 and AIG Capital Partners, Inc and Anor v. Republic of Kazakhstan, ICSID, ARB/01/6,
       Award, 7 October 2003, Exh. R-1110.
2115
       MTD. v. Chile, Exh. C-969 and Iurii Bogdanov, Agurdino-Invest Ltd. and Agurdino-Chimia JSC v. Republic of
       Moldova, SCC Rules, Award, 22 September 2005, Exh. R-1179.
2116
       Antoine Goetz & Consorts et S.A. Affinage des Metaux v. Republique du Burundi, ICSID, ARB/01/2, Award, 21 June
       2012 and Occidental Petroleum Corporation and Occidental Exploration and Production Company v. Republic of
       Ecuador, ICSID, ARB/06/111, Award, 5 October 2012 (a case also chaired by Mr. Fortier).




                                                       - 502 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 523 of 617




      3.     Tribunal’s Analysis

1607. In Chapter IX.A above, the Tribunal reviewed some 28 instances of alleged “illegal and bad
      faith conduct” by Claimants or “attributable to the Claimants”, which Respondent argues have
      contributed to Yukos’ demise or should, in any event, prevent Claimants from recovering
      damages from the Russian Federation. For the reasons set out in that chapter, the Tribunal has
      already concluded that most of these “actions or omissions” cannot be considered as having
      materially contributed to Yukos’ demise.

1608. There are, however, four remaining instances of alleged willful or negligent conduct by
      Claimants and/or Yukos which, the Tribunal agrees, must be considered as potentially
      constituting fault that may have contributed to the destruction of Yukos, for which the Tribunal
      has found Respondent responsible. These four instances are:

            i)     Yukos’ conduct in some of the low-tax regions;

            ii) Yukos’ use of the Cyprus-Russia DTA;

            iii) Yukos’ conduct in connection with the YNG auction, notably the procuring of a
                   Temporary Restraining Order by a Texas court and the published threat of a “lifetime
                   of litigation”; and

            iv) Yukos’ conduct in connection with its bankruptcy, notably the non-payment of the
                   A Loan.

1609. The Tribunal will now review these four instances and seek to determine whether any one of
      them qualifies as contributory fault as that legal principle has been interpreted in the decisions
      which it has reviewed earlier.


             (a)      Conduct of Yukos in Some of the Low-Tax Regions

1610. At the outset of its review, the Tribunal needs to recall that the central, indeed the only, focus of
      its remit with respect to the tax optimization schemes in the ZATOs and other low tax regions
      of Russia was the series of arrangements implemented by one Russian oil company, Yukos.
      These arrangements have been documented by hundreds of exhibits which the Tribunal has
      considered and analyzed in Chapters VIII.A and VIII.B of the present Award.




                                                  - 503 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 524 of 617




1611. While there is ample evidence in the record that nearly all Russian oil companies also availed
        themselves of such tax optimization arrangements which were permitted by law, 2117 there is no
        evidence that the operations of those other oil companies, in any respect, breached the
        legislation and abused the low tax regimes as the Tribunal has found Yukos did through the
        sham-like nature of some elements of its operations in at least some of the low-tax regions
        notably in the ZATOs of Lesnoy and Trekhgorny.

1612. The Tribunal also recalls its further findings, in Chapters VIII.A and VIII.B above, that this
        abuse by Yukos in some of the low-tax regions occurred prior to the confrontation between
        President Putin and Mr. Khodorkovsky in February 2003. At the February 2003 meeting,
        President Putin said to Mr. Khodorkovsky that, henceforth, he would no longer receive any
        protection from the Kremlin. Specifically, President Putin said to Mr. Khodorkovsky: “We
        have already discussed it with you recently, that your company, for example, has had problems
        with the payment of taxes.”2118

1613. This specific reference by President Putin to Yukos’ tax issues at the February 2003 meeting is
        significant.

1614. While the Tribunal has concluded, on the basis of the totality of the evidence, that
        Respondent’s tax assessments and tax collection efforts against Yukos were not aimed
        primarily at the collection of taxes, but rather at bankrupting Yukos and facilitating the transfer
        of its assets to the State, it cannot ignore that Yukos’ tax avoidance arrangements in some of
        the low-tax regions made it possible for Respondent to invoke and rely on that conduct as a
        justification of its actions against Mr. Khodorkovsky and Yukos.

1615. Accordingly, even though the Tribunal has found that President Putin and his administration
        used Yukos’ tax problems as a pretextual justification for setting in motion a plan to bankrupt
        Yukos, as opposed to just collecting the taxes that might have been legitimately assessed


2117
       Transcript of Testimony of Mikhail Kasyanov before the Khamovnichesky Court of Moscow of May 24, 2010, p. 3,
       Exh. C-440; Statement of Prime Minister Mikhail Mikhailovich Kasyanov of 8 July 2009 in Khodorkovsky v. Russia 1,
       ¶ 40, Exh. C-446; TNK-BP’s use of low tax regions was disclosed in TNK International Limited Interim Consolidated
       Financial Statements, as of 30 June 2003, p. 8, Exh. C-391; and TNK-BP Limited Consolidated Financial Statements,
       as of 31 December 2003, Exh. C-392; Lukoil’s use of low tax regions was noted in Board of the Audit Chamber of the
       Russian Federation, Audit Chamber Report on Yukos, Lukoil and Sibneft for 2003 and January–March 2004,
       Exh. R-266, OAO Lukoil, Securities filing, Offering Circular, 26 November 2002, Exh. R-322, and OAO Lukoil,
       Annual Report for 2001, Exh. R-321.
2118
       Video recording and transcript of the meeting of the members of the Union of Industrialists and Entrepreneurs with
       President V. Putin held in the Ekaterininsky Hall, Kremlin, on 19 February 2003, Exh. C-1396.




                                                         - 504 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 525 of 617




        against the trading companies on the basis of the “bad faith taxpayer” doctrine, the Tribunal
        concludes that there is a sufficient causal link between Yukos’ abuse of the system in some of
        the low-tax regions and its demise which triggers a finding of contributory fault on the part of
        Yukos.


                (b)     Conduct of Yukos under the Cyprus-Russia DTA

1616. As detailed in the Expert Reports of Thomas Z. Lys, Yukos’ “tax optimization” plan included
        use of the trading companies in the low-tax regions to receive proceeds from the sale of Yukos’
        oil and oil products, and the transfer of those proceeds to other Yukos-controlled trading and
        holding companies in the Russian Federation and in off-shore jurisdictions such as Cyprus and
        the British Virgin Islands.2119

1617. Respondent, relying on the expert reports of Professor H. David Rosenbloom,2120 Professor
        Dr. Stef van Weeghel and Mr. Polyvios G. Polyviou, has argued that Yukos’ use of the Cyprus-
        Russia DTA was abusive. Claimants, relying on the Expert Report of Mr. Philip Baker QC,
        counter Respondent’s argument and assert that the use by Yukos of the DTA was not abusive.
        It is noteworthy that the Parties did not call as witnesses one another’s respective experts on
        that issue.

1618. Claimants note that, to this day, the Russian authorities “have done absolutely nothing” in
        respect of the alleged improper invocation of DTA benefits by Claimants, including under the
        specific mechanisms of review that exist under the treaty itself and/or under the domestic laws
        of the contracting parties.2121 They also submit that the first time Respondent raised any issue
        regarding the tax arrangements subject to the Cyprus-Russia DTA was on 6 October 2006 in
        the present arbitration and that Respondent “concocted [this issue] specifically for the purposes
        of these arbitrations.”2122

1619. The Tribunal accepts Claimants’ argument that it is incongruous for the Russian Federation to
        complain in these proceedings about Yukos’ use of the treaty while never having invoked the


2119
       Second Lys Report, , pp. 39 ff.
2120
       Respondent’s Post-Hearing Brief, ¶¶ 150–61.
2121
       Claimants’ Post-Hearing Brief, ¶¶ 192–202.
2122
       Ibid. ¶¶ 198–200, referring to Respondent’s Comments on Issues Raised by Procedural Order No. 2 of 8 September
       2006.




                                                       - 505 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 526 of 617




        mechanisms available to it to trigger the review of such use by, for example, invoking the
        information-sharing provisions of the treaty.2123

1620. At the same time, it seems clear to the Tribunal, on the facts, that Yukos’ operations under the
        DTA were wholly conducted by Mr. Lebedev from Yukos’ established offices in Moscow, that
        his “place of management” where he habitually concluded contracts relating to operations
        under the Treaty was in Moscow, which of itself demonstrates that Yukos’ avoidance of
        hundreds of millions of dollars in Russian taxes through the Cyprus-Russia DTA, was
        questionable. Hulley appears to the Tribunal to have falsely declared on Cypriot withholding
        tax forms that “income”—dividends from Yukos—“was not connected with activities carried
        on in the Russian Federation” despite Mr. Lebedev’s activities in Moscow.2124

1621. In any event, even if there was an abuse by Yukos of that treaty, as in the Tribunal’s prima
        facie view there was, such conduct would be subsumed into and enlarge the abuse by some of
        Yukos’ trading companies in some of the low tax regions, which the Tribunal has already found
        amounted to contributory fault on the part of Yukos.


                (c)     Conduct of Yukos in Connection with YNG Auction

1622. The Tribunal reiterates that the abusive use of some of the low-tax regions by Yukos including
        its questionable use of the Cyprus-Russia DTA occurred prior to the February 2003 encounter
        between President Putin and Mr. Khodorkovsky and thus prior to the plan formed by the
        Russian Federation not simply to collect taxes from Yukos but to bankrupt the company and
        transfer its assets to the State.

1623. The YNG auction took place in December 2004 well after Respondent had put in motion its
        plan to expropriate Yukos. It was preceded by Yukos’ resort to bankruptcy proceedings in
        Texas, the issuance of a Temporary Restraining Order by the Texas court, and Yukos’ public
        threats, most strikingly a full page advertisement in the Financial Times, warning prospective
        purchasers of YNG against participating in the auction.

2123
       Transcript, Day 20 at 146.
2124
       Counter-Memorial, ¶ 164, referring to Hulley Enterprises Limited, Claims for an Exemption of Passive Incomes
       Sourced in Russia before the Payment is Made (Form 1013DT) for 2000, 2001, Exh. R-193; Veteran Petroleum
       Limited, Claims for an Exemption of Passive Incomes Sourced in Russia before the Payment is Made (Form 1013DT)
       for 2001, 2002, Exh. R-194; Hulley Enterprises Limited, Annual Report and Financial Statements for the year ended
       Dec. 31, 2003, 7 April 2004, Exh. R-190; Veteran Petroleum Limited, Annual Report and Financial Statements for the
       year ended Dec. 31, 2003, 15 December 2006 Exh. R-192.




                                                         - 506 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 527 of 617




1624. Respondent submits that these actions discouraged prospective purchasers of YNG from taking
        part in the auction and depreciated the price realized at the auction.

1625. The Tribunal agrees that, but for these actions of Yukos, it is reasonable to surmise that the
        auction of YNG on 19 December 2004, the unlawful measure of Respondent that dealt as “fatal
        blow” to the survival prospects of Yukos, could have resulted in a higher bid price than the
        auction actually did. However, in the view of the Tribunal, Yukos’ ultimate fate would have
        been no different if it had not threatened a lifetime of litigation or obtained a Temporary
        Restraining Order from a Texas Court. Its demise may have been postponed, or the path to its
        demise altered in some minor way, but it would not have been avoided.

1626. The Tribunal observes with interest that the RosinvestCo tribunal found that “Yukos did in
        some respects contribute to its own demise” and that it referred in that context to the Houston
        bankruptcy proceedings.2125

1627. In addition, before concluding its analysis of this facet of Claimants’ conduct, the Tribunal
        needs to contrast these actions of Yukos with a series of actions of Respondent before the YNG
        auction which must have depreciated the auction price very significantly and thus served the
        Russian Federation objective of acquiring the Yukos assets at a bargain price.

1628. Those actions of Respondent include:

                x   The threat by Russia’s Ministry of Natural Resources to withdraw YNG’s operating
                    licenses;2126

                x   The massive tax liabilities imposed on YNG in October and December 2004;2127

                x   The statement by the Russian Federation Ministry of Justice that the
                    USD 10.4 billion valuation of YNG was “due to the high risk to a potential
                    buyer”;2128




2125
       RosInvestCo ¶ 634, Exh. C-1049.
2126
       Russian Government May Revoke YUKOS Unit’s Licenses, FWN Select, 10 September 2004, Exh. C-701.
2127
       Repeat Field Tax Audit Report No. 30-03-14/2, 29 October 2004, Exh. C-251; see Decision of the Moscow Arbitrazh
       Court, 25 April 2006, p. 2, Exh. C-255; Memorial ¶ 271.
2128
       In the Yukos Saga, Yet Another Gloomy Chapter,Wall Street Journal, 14 October 2004, Exh. C-713.




                                                        - 507 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 528 of 617




                x     The decision by Respondent to fix the date of the auction exactly one month after the
                      auction was announced, being the minimum length of the notice required under
                      Russian law;2129

                x     The alleged pressure of Respondent on would be bidders from India and China not to
                      participate in the auction.2130

1629. In conclusion, the Tribunal finds that the actions of Yukos which may have depreciated the
        auction price, do not constitute contributory fault as they did not contribute in a material way to
        its demise.


                (d)     Conduct of Yukos in Connection with its Bankruptcy (Non-Payment of the
                        A Loan)

1630. With respect to the non payment by Yukos of the A Loan and Respondent’s submission that
        such non-payment rendered Yukos responsible for its own bankruptcy, the Tribunal accepts
        Respondent’s contention that Yukos was in a position to pay off the balance of the A Loan and
        that its willful failure to do so contributed to the circumstances of its bankruptcy by leading
        SocGen to petition for it. At the same time, the loan provisions contemplated that YNG oil
        production and sale would fuel payment of the loan, and it was understandable that, once YNG
        was taken over by Rosneft, Claimants should have felt that responsibility for repayment of the
        A Loan was not theirs or theirs alone.

1631. Moreover, in the view of the Tribunal, even if Yukos had paid off the A Loan, it represented
        only a fraction of the claims against Yukos which could have been used to petition the company
        into bankruptcy. In view of the larger circumstances, it is difficult to conclude that, even if the
        A Loan had been paid, another ground for pushing Yukos into bankruptcy would not have been
        found.

1632. Consequently, the Tribunal concludes that, while Yukos may have been at fault in refusing to
        pay off the A Loan, its behavior does not rise to the level of contributory fault.



2129
       In its report of 6 October 2004, Dresdner wrote that “[a] quick auction will most likely prevent the achievement of a
       full price since purchasers will only be able to conduct a limited audit of the financial and economic performance and
       accordingly will discount their valuation of the target asset.” [emphasis added].           Dresdner Valuation Rpeort,
       Section 11.2, Exh. C-274.
2130
       Russia’s Latest Auction Farce Eerily Familiar, The Moscow Times, 21 December 2004, p. 1, Exh. C-739.




                                                           - 508 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 529 of 617




        4.     Tribunal’s Decision on Contributory Fault

1633. Paraphrasing the words of Article 39 of the ILC Articles on State Responsibility and its
        commentary, the Tribunal must now determine whether Claimants’ and Yukos’ tax avoidance
        arrangements in some of the low-tax regions, including their questionable use of the Cyprus-
        Russia DTA summarized above, contributed to their injury in a material and significant way, or
        were these minor contributory factors which, based on subsequent events such as the decision
        of the Russian authorities to destroy Yukos, cannot be considered, legally, as a link in the
        causative chain. As the Tribunal noted earlier in this chapter, an award of damages may be
        reduced if the victim of the wrongful act of the respondent State also committed a fault which
        contributed to the prejudice it suffered and for which the trier of facts, in the exercise of its
        discretion, considers the claiming party should bear some responsibility.2131

1634. In the view of the Tribunal, Claimants should pay a price for Yukos’ abuse of the low-tax
        regions by some of its trading entities, including its questionable use of the Cyprus-Russia
        DTA, which contributed in a material way to the prejudice which they subsequently suffered at
        the hands of the Russian Federation.

1635. In considering the extent of the contribution of Claimants’ faults to their injury, the Tribunal
        notes that the subsequent conduct of the Russian Federation, as the Tribunal has found, was
        disproportionate and tantamount to expropriation of Claimants’ investment in Yukos.
        Claimants’ damages were caused by the series of events starting with the arrest of Messrs.
        Khodorkovsky and Lebedev, and the tax assessments, and culminating in the YNG auction,
        which led to the bankruptcy and liquidation of Yukos. The Tribunal must now determine to
        what extent and in what proportion Claimants’ and Yukos’ conduct prior to 2003, including
        their questionable use of the Cyprus-Russia DTA, contributed so as to lessen the responsibility
        of Respondent.

1636. The Tribunal agrees with the ICSID Annulment Committee in the MTD v. Chile case that “the
        role of the two parties contributing to the loss [is] [ . . . ] only with difficulty commensurable




2131
       See ruling in MTD v. Chile ¶¶ 242–43 that “the Claimants should bear part of the damages suffered.” In that case,
       that “part” was quantified as 50 percent of the damages. See also Occidental Petroleum Corporation and Occidental
       Exploration and Production Company v. Republic of Ecuador, ICSID, ARB/06/111, Award, 5 October 2012
       ¶¶ 659–687. In that case, that “part” was quantified as 25 percent of the damages.




                                                        - 509 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 530 of 617




        and the Tribunal [has] a corresponding margin of estimation.” 2132 However, the Tribunal, as
        other tribunals have done, must reach a decision and it has done so on the basis of all the
        evidence which it has reviewed.

1637. Having considered and weighed all the arguments which the Parties have presented to it in
        respect of this issue the Tribunal, in the exercise of its wide discretion, finds that, as a result of
        the material and significant mis-conduct by Claimants and by Yukos (which they controlled),
        Claimants have contributed to the extent of 25 percent to the prejudice which they suffered as a
        result of Respondent’s destruction of Yukos. The resulting apportionment of responsibility as
        between Claimants and Respondent, namely 25 percent and 75 percent, is fair and reasonable in
        the circumstances of the present case.


XI.     INTEREST

1638. As will be seen in Part XII of the Award dealing with quantification of Claimants’ damages for
        Respondent’s breach of the ECT, one of the elements factored into the Tribunal’s calculation of
        damages will be interest.2133 Accordingly, the Tribunal, in the present Part XI will determine
        the applicable rate of such interest, whether it should be simple or compound and, if compound,
        the period of compounding.


A.      CLAIMANTS’ POSITION

1639. Claimants request the Tribunal to award them pre- and post-award interest.2134                             In their
                                                                                                          2135
        Submission on Costs, Claimants also request interest on any costs awarded to them.

1640. According to Claimants, “payment of interest can be required to ensure full reparation.”2136
        Claimants quote the tribunal in Vivendi v. Argentina, which stated that the purpose of the
        payment of interest is “to compensate the damage resulting from the fact that, during the period
        of non-payment by the debtor, the creditor is deprived of the use and disposition of that sum he

2132
       MTD Equity Sdn Bhd. v. The Republic of Chile, ICSID Case No. ARB/01/7, Decision on Annulment, 21 March 2007
       ¶ 101. See also Occidental Petroleum Corporation and Occidental Exploration and Production Company v. Republic
       of Ecuador, ICSID, ARB/06/111, Award, 5 October 2012 ¶¶ 659–87.
2133
       In particular see paragraphs 1822–23 below on pre-award interest on the dividend streams that Claimants would have
       obtained in the absence of Respondent’s breach.
2134
       Memorial ¶¶ 969–70; Reply ¶¶ 859, 1199; Claimants’ Post-Hearing Brief ¶ 302.
2135
       Claimants’ Submission on Costs ¶ 64.
2136
       Memorial ¶ 959, citing to ILC Articles on State Responsibility, Art. 38, Exh. C-1042.




                                                          - 510 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 531 of 617




        was supposed to receive.”2137             Claimants submit that the Tribunal has “full discretion to
        determine the most appropriate rate of interest to achieve full reparation”2138 and quote the
        award in Compañía del Desarollo de Santa Elena, S.A. v. Republic of Costa Rica (“Santa
        Elena”):

                [T]he determination of interest is a product of the exercise of judgment, taking into account
                all of the circumstances of the case at hand and especially considerations of fairness which
                must form part of the law to be applied by this Tribunal.2139

1641. Claimants further contend that the Tribunal may award compound interest2140 and that
        compound interest has become “the norm in investment arbitration as regards full
        reparation.”2141 Putting emphasis on the awards in Santa Elena and Wena Hotels Limited v.
        Arab Republic of Egypt (“Wena”), Claimants explain that compound interest should be
        awarded in order for the amount of compensation to reflect the additional sum that the claimant
        would have earned if the money had been reinvested each year at generally prevailing rates of
        interest.2142

1642. Claimants’ valuation expert, Mr. Kaczmarek, analyzed three possible rates of interest: the
        LIBOR plus two or four percent; the yield on Russian sovereign bonds issued in USD; and the
        U.S. Prime rate of interest plus two percent.2143

1643. According to Claimants:

                Navigant observed that the Russian Federation’s breaches “have effectively turned
                Claimants into unwilling lenders to Russia.” The yield on Russian sovereign bonds issued

2137
       Ibid., citing to Vivendi v. The Argentine Republic ¶ 9.2.3, Exh. C-986.
2138
       Ibid. ¶ 961.
2139
       Santa Elena ¶ 103, Exh. C-952.
2140
       Memorial ¶ 963, citing to Metalclad v. Mexico, ICSID Case No. ARB(AF)/97/1, Award, 30 August 2000 ¶ 128,
       Exh. C-954; Wena Hotels Limited v. Arab Republic of Egypt, ICSID Case No. ARB/98/4, Award, 8 December 2000
       ¶ 129, Exh. C-956 (hereinafter “Wena”); Santa Elena ¶ 104, Exh. C-952; MTD v. Chile ¶ 251, Exh. C-969; Azurix
       ¶ 440, Exh. C-979; Siemens ¶¶ 399–401, Exh. C-983 (hereinafter “Siemens”); ADC ¶ 522, Exh. C-980; Vivendi
       ¶¶ 9.2.5–9.2.6, Exh. C-986; Siag v. Egypt, ICSID Case No. ARB/05/15, Award, 1 June 2009 ¶ 595, Exh. C-998;
       F.A. Mann, Compound Interest as an Item of Damage in International Law, 21 U.C. Davis L. Rev. 577 (1987–1988),
       Exh. C-1025; Stephen M. Schwebel, Compound Interest in International Law, 2(5) Transnational Dispute
       Management (2005), Exh. C-1029; John Yukio Gotanda, Compounding Interest in Interest: The Global Economy,
       Deflation, and Interest, in CONTEMPORARY ISSUES IN INTERNATIONAL ARBITRATION AND MEDIATION. THE FORDHAM
       PAPERS (2009–2010), pp. 261–87, Exh. C-1024; see also Reply ¶ 845 n.1472, citing to Kardassopoulos ¶¶ 650–78,
       Exh. C-1533; Gemplus S.A., SLP S.A., Gemplus et al. v. Mexico, Talsud S.A6. v. The United Mexico States, ICSID
       Cases Nos. ARB (AF)/04/3 & ARB (AF)/04/4, Award, 16 June 2010 ¶¶ 16–26, Exh. C-1536 (hereinafter “Gemplus”).
2141
       Memorial ¶ 965.
2142
       Ibid. ¶¶ 963–64, citing to Wena ¶ 129, Exh. C-956; Santa Elena ¶ 104, Exh. C-952.
2143
       Memorial ¶ 966; First Kaczmarek Report ¶¶ 375–81; Reply ¶ 859 n.1491; Second Kaczmarek Report ¶¶ 64–65.




                                                            - 511 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 532 of 617




                in U.S. dollars corresponds to the rate that the Russian Federation offers to its willing
                lenders. Therefore, in order to be fully compensated for the Russian Federation’s breaches,
                the Claimants should be awarded interest at a commercial rate higher than this latter rate.
                LIBOR +4% would represent such an appropriate commercial rate, which is the rate used
                by Navigant in its expert report.2144
                                                                                     [emphasis in the original]



1644. Claimants have requested that interest of LIBOR plus 4 percent, compounded annually, be
        applied pre- and post- award, including on costs.2145

1645. At the Hearing, Claimants presented the following table to summarize their submission on
        interest rates:2146




1646. Claimants noted that the Russian cost of debt is “a natural candidate” for interest rate.2147 In
        response to a question by the Chairman whether Claimants “still rely on LIBOR”, counsel for
        Claimants noted that he had “avoided making any comment on the reliability of LIBOR.”2148


B.      RESPONDENT’S POSITION

1647. Respondent submits that Claimants’ request for pre- and post-award interest is “manifestly
        unfounded and disproportionate, and should be rejected.”2149                     Respondent refers to the

2144
       Memorial ¶ 967.
2145
       Memorial ¶ 970; Reply ¶¶ 859, 1199; Claimants’ Post-Hearing Brief ¶ 309; Claimants’ Submission on Costs ¶ 64.
2146
       Transcript, Day 17 at 259 (Claimants’ closing), showing Exh. C-1787.
2147
       Ibid.
2148
       Ibid. at 260 (Claimants’ closing).




                                                         - 512 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 533 of 617




        Commentary on Article 38 of the ILC Articles on State Responsibility for the proposition that
        there is “no automatic entitlement to the payment of interest.”2150

1648. Respondent emphasizes that compound interest is not awarded automatically by tribunals.2151
        Respondent observes that the RosInvestCo tribunal used LIBOR alone, calculated annually,
        without any compounding.2152

1649. Respondent criticizes Claimants and their expert for failing to provide a justification for their
        preferred rate of LIBOR plus four percent.2153 According to Respondent, awarding Claimants
        interest at LIBOR plus four percent compounded annually would “unduly punish” Respondent
        while granting Claimants a “windfall.”2154


C.      THE LEGAL FRAMEWORK

        1.      Energy Charter Treaty

1650. Article 26(8) of the ECT provides that “awards of arbitration, which may include an award of
        interest, shall be final and binding upon the parties to the dispute” [emphasis added]. In the
        case of a lawful expropriation, Article 13(1) of the ECT directs that compensation “shall also
        include interest at a commercial rate established on a market basis from the date of
        Expropriation until the date of payment” [emphasis added].2155




2149
       Rejoinder ¶ 1743.
2150
       Ibid., quoting Commentary on ILC Articles on State Responsibility, Article 38 ¶ 7, Exh. R-4235.
2151
       Ibid. Respondent explains that, as noted by the tribunal in Duke Energy Electroquil Partners and Electroquil S.A. v.
       Republic of Ecuador, ICSID ARB/04/19, Award, 18 August 2008 ¶ 473, Exh. C-993, “the award of compound interest
       is not a principle of international law.” As explained by BORZU SABAHI, COMPENSATION AND RESTITUTION IN
       INVESTOR-STATE ARBITRATION (2011), p. 152, Exh. R-4234, “compound interest, in international investment law, may
       be awarded if the aggrieved party can prove that it ‘could have received compound interest . . . by placing its money in
       a readily available and commonly used investment vehicle . . .’.” In RosInvestCo ¶¶ 688–90, Exh. C-1049, the
       tribunal notes that the practice of awarding compound interest is “by no means unanimous” and that awarding interest
       at “a normal commercial rate” does not imply that the tribunal “is bound to award compound interest.” Rejoinder
       ¶ 1743 n.2952.
2152
       Rejoinder ¶ 1746; RosInvestCo ¶¶ 684–90, Exh. C-1049.
2153
       Rejoinder ¶ 1746.
2154
       Ibid. ¶ 1747, quoting John Yukio Gotanda, Awarding Interest in International Arbitration, 90 Am. J. of Int’l Law 40
       (1996) pp. 59–60, Exh. R-4236.
2155
       See Subsection XII.C.1(b) below for discussion on the applicability of the Article 13 standard in lawful and unlawful
       expropriations.




                                                           - 513 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 534 of 617




1651. The Tribunal observes that arbitral tribunals hearing disputes under the ECT have awarded
        pre- and post-award interest at various rates.2156


        2.      ILC Articles on State Responsibility

1652. Article 38 of the ILC Articles on State Responsibility reads as follows:

                1. Interest on any principal sum due under this chapter shall be payable when necessary in
                order to ensure full reparation. The interest rate and mode of calculation shall be set so as
                to achieve that result.
                2. Interest runs from the date when the principal sum should have been paid until the date
                the obligation to pay is fulfilled.2157

1653. The Commentary on Article 38 provides that “[t]he awarding of interest depends on the
        circumstances of each case; in particular, on whether an award of interest is necessary in order
        to ensure full reparation.”2158


        3.      RosInvestCo and Quasar

1654. The RosInvestCo tribunal awarded pre- and post-award interest using LIBOR alone, calculated
        annually, without any compounding,2159 while the Quasar tribunal awarded pre- and post-award
        interest at a rate of 6.434 percent (corresponding to the relevant average yield of medium-term
        Russian sovereign bonds dealt in USD) compounded annually.2160


        4.      Treatises

1655. Two books on the issue of damages in international investment cases have recently been
        published. The Tribunal has found the chapters of these books dealing with interest very
        informative.2161


2156
       See e.g. Nykomb Synergetics Technology Holding AB (Sweden) v. Latvia, SCC, Award, 16 December 2003, p. 40 (pre-
       award and post-award interest at six percent, corresponding to the prevailing interest rate in Latvia), Exh. C-967;
       Kardassopoulos ¶¶ 658–68, 677–78 (pre-award and post-award interest at LIBOR plus four percent compounded
       semi-annually), Exh. C-1533.
2157
       Exh. C-1042.
2158
       ¶ 7, Exh. C-1042.
2159
       RosInvestCo ¶¶ 684–92, Exh. C-1049.
2160
       Quasar ¶ 226, Exh. R-3383.
2161
       SERGEY RIPINSKY & KEVIN WILLIAMS, DAMAGES IN INTERNATIONAL INVESTMENT LAW (2008), pp. 363–91 (other
       extracts of which constitute Exh. C-1610) (hereinafter “Ripinsky and Williams”); IRMGARD MARBOE, CALCULATION




                                                         - 514 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 535 of 617




1656. The following paragraphs summarize these authors’ respective analyses and conclusions on
        various aspects of the issue of interest in international investment cases.


                (a)     General Issues

1657. Dr. Irmgard Marboe explains that, on the one hand, interest should compensate the temporary
        withholding of money: interest should address the claimant’s financial disadvantage of not
        being able to dispose of money, which materializes either in loss of profit from alternative
        investments or in costs for a loan.2162 On the other hand, the awarding of interest should
        prevent the debtor’s unjust enrichment since the debtor gains a financial profit through the
        withholding of the money.2163 Additionally, post-award interest, writes Dr. Marboe, serves the
        purpose of creating an effective incentive for the respondent to comply with an arbitral award
        without delay.2164

1658. Dr. Sergey Ripinsky and Mr. Kevin Williams stress the well-established mantra that tribunals
        enjoy a wide margin of discretion in awarding interest.2165


                (b)     Rate

1659. Dr. Ripinsky and Mr. Williams write that choosing the rate is “perhaps the issue where one sees
        the greatest variety in approaches of arbitration tribunals.”2166 They consider four different
        approaches.

1660. The first is the “investment alternatives” approach, adopted by the majority opinion in the Iran–
        U.S. Claims Tribunal case Sylvania Technical Systems v. Iran (“Sylvania”) and explained in the
        following terms:

                [T]he Tribunal will derive a rate of interest based approximately on the amount that the
                successful claimant would have been in a position to have earned if it had been paid in time

       OF COMPENSATION AND DAMAGES IN INTERNATIONAL INVESTMENT LAW (2009), pp. 317–92 (other extracts of which
       constitute Exh. C-1607) (hereinafter “Marboe”).
2162
       Marboe ¶ 6.05.
2163
       Ibid. ¶ 6.06; see also Santa Elena ¶ 101, Exh. C-952 (“[the claimant] is entitled to the full present value of the
       compensation that it should have received at the time of the taking. Conversely, the taking state is not entitled unjustly
       to enrich itself by reason of the fact that the payment of compensation has been long delayed.”).
2164
       Marboe ¶ 6.38, citing to John Yukio Gotanda, SUPPLEMENTAL DAMAGES IN PRIVATE INTERNATIONAL LAW, 1997, p. 58.
2165
       Ripinsky and Williams, pp. 365–66.
2166
       Ibid., p. 366. Dr. Marboe calls it “one of the most difficult decisions.” Marboe ¶ 6.40.




                                                            - 515 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 536 of 617




                 and thus had the funds available to invest in a form of commercial investment in common
                 use in its own country.2167

1661. According to Dr. Ripinsky and Mr. Williams, this approach was followed in subsequent awards
        of the Iran–U.S. Claims Tribunal as well as by the Santa Elena tribunal.2168

1662. The second approach is the “borrowing rate” approach, which is based on borrowing rates from
        banks in the claimant’s country.2169 Investment tribunals have often used the LIBOR, an inter-
        bank borrowing rate of interest. Some tribunals have also added a certain percentage to the
        LIBOR rate to arrive at the approximate rate that international investors would have had to pay
        if they had been obliged to borrow the money. According to Ripinsky and Williams, tribunals
        have “normally” added two percent to LIBOR.2170

1663. Dr. Marboe notes that Judge Holtzmann had argued in favor of a borrowing rate approach in his
        separately recorded view on interest in the Sylvania decision, because it “is reasonable to
        assume that most businesses habitually borrow while fewer regularly invest in certificates of
        deposit.”2171 Dr. Marboe writes that the borrowing rate approach can lead to different results,
        such as the selection of the prime rate, the borrowing rate of the investor, the cost of capital of
        the investor, the borrowing rate of the State (the “coerced loan theory”) or the average
        borrowing rate.2172

1664. In respect of the prime rate, Dr. Marboe writes:

                 The “prime” or “base” rate plays an important role in negotiations about company loan
                 conditions in Anglo-American countries. As such, it seems to be an appropriate basis for
                 the assessment of the damages incurred by a delayed payment. However, it must be taken
                 into account that not all enterprises can borrow money from the banks at the prime rate.
                 Therefore, an increase by a few percentage points might be necessary as has been the
                 practice in the cases mentioned above. The question then arises, of course, how many
                 percentage points are appropriate. It appears, therefore, that the prime rate does not really
                 offer a viable means of ensuring adequate and consistent decisions on interest.2173

1665. In respect of the “coerced loan theory”, she opines:

2167
       Ripinsky and Williams, p. 368, quoting Sylvania Technical Systems v. Iran, Award, 27 June 1985, 8 Iran–U.S. Claims
       Tribunal Reports, 298, 320 (footnote omitted) (hereinafter “Sylvania”).
2168
       Ibid., p. 368; see Marboe ¶¶ 6.107–6.120.
2169
       Ripinsky and Williams, p. 369.
2170
       Ibid., p. 370.
2171
       Marboe ¶ 6.82, quoting Sylvania, p.321 n.13.
2172
       Ibid. ¶¶ 6.85–6.106.
2173
       Ibid. ¶ 6.93.




                                                         - 516 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 537 of 617




                According to this approach, the amount of interest has nothing to do with the claimant’s
                actual loss, but rather depends on the respondent’s risk characteristics.
                This approach measures the financial effect of the delay from the perspective of the
                respondent. It has to be borne in mind, however, that pre-award interest in international
                investment cases should fulfil the function of compensation or damages. Therefore, the
                perspective of the claimant is decisive.
                The perspective of the respondent, however, is important when it comes to the prevention
                of enrichment as an additional function of the interest claim. While this is only of
                secondary importance concerning pre-award interest, it becomes relevant with regard to
                post-award interest. This means that the “coerced loan theory” would better fit with the
                determination of post-award interest.2174

1666. The third approach to interest is to rely on the interest rate applicable under the host State’s
        domestic law provisions concerned. Dr. Ripinsky and Mr. Williams observe that investment
        tribunals have done so,2175 while Dr. Marboe asserts that, in international investment disputes,
        “national legal interest rates are not applicable and not adequate.”2176

1667. Finally, in a number of disputes, write Dr. Ripinsky and Mr. Williams, tribunals have adopted a
        specific rate ranging from 5 to 10 percent, calling it “reasonable”, “fair” or “appropriate”.2177
        Dr. Marboe writes that “fair” rates have ranged from 5 to 17.5 percent.2178

1668. The Tribunal notes that, overall, Dr. Ripinsky and Mr. Williams favor the “investment
        alternatives” approach, with the caveat that, in situations where the debtor’s actions force the
        claimant to borrow funds, it would be appropriate to award interest at the claimant’s actual
        borrowing rate,2179 whereas Dr. Marboe appears to prefer the use of inter-bank interest rates.2180


                (c)      Dies a quo

1669. The authors of both treatises affirm that, in cases of expropriation, “interest has invariably been
        calculated from the date of the taking.”2181




2174
       Ibid. ¶¶ 6.101–6.103 (footnote omitted).
2175
       Ripinsky and Williams, pp. 370–72.
2176
       Marboe ¶¶ 6.70.
2177
       Ripinsky and Williams, p. 372.
2178
       Marboe ¶ 6.149; see also ¶¶ 6.150–6.161.
2179
       Ripinsky and Williams, p. 373.
2180
       See Marboe ¶ 6.147.
2181
       Ripinsky and Williams, p. 375; see ibid. ¶ 6.163.




                                                           - 517 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 538 of 617




                 (d)    Simple or Compound

1670. With respect to the important issue of whether interest awarded should be simple or compound,
        Dr. Ripinsky and Mr. Williams opine that “there is a trend away from only awarding simple
        interest to generally awarding compound interest,”2182 while Dr. Marboe states that “compound
        interest as opposed to simple interest appears to be predominantly accepted as appropriate in
        recent international investment arbitration” because it is “regarded as better reflecting actual
        economic realities both for the purpose of remedying the loss actually incurred by the injured
        party and for the prevention of unjustified enrichment of the respondent State.”2183
        Dr. Ripinsky and Mr. Williams refer to the Santa Elena award, issued in 2000, as “a turning
        point in jurisprudence.”2184

1671. Dr. Ripinsky and Mr. Williams observe that the period of compounding has ranged from one
        year to one month and that annual compounding has been “predominant.”2185


                 (e)    Post-Award Interest

1672. After an extensive review of arbitral decisions, Dr. Ripinsky and Mr. Williams conclude that in
        the majority of cases, tribunals have not considered post-award interest separately from
        pre-award interest and have simply granted interest until the date of full payment of the award.
        This “automatically turns pre-award interest into post-award.”2186

1673. They note that when post-award interest has been granted separately, tribunals have been more
        severe towards the respondent, compared to the pre-award interest granted.2187

1674. According to Dr. Ripinsky and Mr. Williams, “[t]hese changes can be explained by the desire
        of some tribunals to ensure prompt compliance with the award by adding a punitive element to




2182
       Ripinsky and Williams, p. 379.
2183
       Marboe ¶ 6.236; but see Marboe’s list of exceptions ¶¶ 6.237–6.261.
2184
       Ripinsky and Williams, p. 385.
2185
       Ibid., p. 387.
2186
       Ibid.; see also Marboe ¶¶ 6.243–6.261.
2187
       Ripinsky and Williams, p. 389.




                                                          - 518 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 539 of 617




        interest and thereby turning the post-award interest from a purely compensatory instrument into
        a sanction.”2188

1675. Dr. Ripinsky and Mr. Williams also note that some tribunals have provided for a grace period
        following the date of the award, during which interest does not accrue.2189


D.      TRIBUNAL’S DECISION

1676. The Tribunal, having considered the Parties’ submissions, the treatises of the learned authors
        quoted extensively above, the many decisions of tribunals which have traversed the issue of
        interest and, of course, the totality of the evidence in the case at hand that it considers pertinent
        to its determination of this facet of the present arbitrations, will now proceed with its analysis
        and exercise its judgment.

1677. As we saw earlier, the ECT, the relevant legal instrument, envisages an award of interest in an
        arbitral award. In addition, the Treaty decrees mandatory payment of interest “at a commercial
        rate established on a market basis” in the case of a lawful arbitration. In the view of the
        Tribunal, there can be no doubt that, a fortiori, in the case of an unlawful expropriation, as in
        the present case, Claimants are entitled to interest from Respondent in order to ensure full
        reparation for the injury they suffered as a result of those of Respondent’s measures that the
        Tribunal has found to be internationally wrongful.

1678. Neither the Treaty nor the ILC Articles on State Responsibility provide specific rules regarding
        how interest should be determined. In addition, as the Tribunal has found, the practice of past
        tribunals is varied and inconsistent and does not provide clear guidance. Thus, as is well
        established, the Tribunal has a wide margin of discretion to determine the rate of interest
        applicable and whether it should be simple or compound.

1679. Of the three rates proposed by Claimants, the LIBOR plus two or four percent, the yield on
        Russian sovereign bonds issued in USD and the U.S. Prime rate plus two percent, the Tribunal
        has rejected outright the first two for the following brief reasons. LIBOR, as Claimants’
        counsel implicitly recognized during the Hearing, has been discredited, while the yield on



2188
       Ibid., p. 389; see Marboe ¶ 6.245.
2189
       Ripinsky and Williams, p. 390; see also Marboe ¶¶ 6.262–6.268.




                                                        - 519 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 540 of 617




        Russian sovereign bonds issued in USD would lead, in the Tribunal’s opinion, to excessive
        compensation for Claimants.

1680. As for the U.S. Prime rate plus two percent, the Tribunal initially saw merit in this rate which is
        a version of the borrowing rate approach reviewed earlier. The Tribunal notes that this method
        was put forward by Judge Holtzmann in his separately recorded view on interest in the Sylvania
        Iran–U.S. Claims Tribunal case.2190

1681. The Tribunal has concluded however that this method should also be rejected. It is not an
        appropriate basis for the assessment of the damages in this case. There is no evidence that
        Claimants had to borrow money because they were not compensated at the time of the
        expropriation.

1682. On the other hand, the Tribunal finds apposite the following statement of the Siemens v.
        Argentina tribunal:

                The Tribunal considers that the rate of interest to be taken into account is not the rate
                associated with corporate borrowing but the interest rate the amount of compensation
                would have earned had it been paid after the expropriation.2191

1683. The Tribunal recalls that a rate of interest based on return of investment during the relevant
        period was adopted by the Santa Elena tribunal:

                [W]here an owner of property has at some earlier time lost the value of his asset but has
                not received the monetary equivalent that then became due to him, the amount of
                compensation should reflect, at least in part, the additional sum that his money would have
                earned, had it, and the income generated by it, been reinvested each year at generally
                prevailing rates of interest.2192

1684. The Tribunal observes that many investor-state tribunals have adopted this “investment
        alternatives approach,”2193 using rates of U.S. debt instruments even when the claimant was not
        a U.S. investor.2194



2190
       Sylvania, p. 321 n.13.
2191
       Siemens ¶ 396, Exh. C-983.
2192
       Santa Elena ¶ 104, Exh. C-952. The Chairman of the Tribunal was also the Chairman of the ICSID tribunal in Santa
       Elena.
2193
       Ripinsky and Williams, pp. 368–69; Marboe ¶¶ 6.107–6.119; Sylvania, pp. 320–21; Santa Elena ¶ 104, Exh. C-952;
       Siemens ¶ 396, Exh. C-983.
2194
       Ripinsky and Williams, p. 369 & n.42; see e.g., Alpha Projektholding GmbH (Austria) v. Ukraine, ICSID Case No.
       ARB/07/16, Award, 8 November 2010 ¶ 514 & n.666; EDF International S.A., SAUR International S.A. Leon




                                                        - 520 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 541 of 617




1685. The Tribunal, in the exercise of its discretion, has concluded that it would be appropriate to
        award to Claimants interest on a rate based on ten-year U.S. Treasury bond rates.

1686. As will be seen in Part XII on damages, the Tribunal has ruled that Claimants’ shares in Yukos
        should be valued as of the date of the Award. Accordingly, there will be no pre-award interest
        granted to Claimants in respect of the damages representing the value of their shares.2195

1687. However, in order that they may be made whole, the Tribunal will grant pre-award interest to
        Claimants for the damages which represent the value of the dividend streams for which, as will
        be seen,2196 the Tribunal has decided Claimants should be compensated. In order to compute
        the pre-award interest awarded to Claimants at the rate based on ten-year U.S. Treasury bond
        rates, the Tribunal will use the average yield of ten-year U.S. Treasury bonds over the period
        from 1 January 2005 to 30 May 2014 as the applicable rate of interest, which the Tribunal has
        determined to be 3.389 percent.2197

1688. As will also be seen in Part XII on damages, the Tribunal has decided to award Claimants post-
        award interest on the damages of USD 50,020,867,798 for which the Tribunal has found
        Respondent liable.

1689. As to whether the interest awarded should be simple or compound, while the Tribunal
        recognizes that the awarding of compound interest under international law now represents a
        form of “jurisprudence constante” in investor-state expropriation cases,2198 the Tribunal has
        concluded that, in the circumstances of this case, it would be just and reasonable to award
        Claimants simple pre-award interest and post-award interest compounded annually if
        Respondent fails to pay in full to Claimants the damages for which it has been held liable
        before the expiry of the grace period hereinafter granted.




       Participationes Argentinas S.A. v. The Argentine Republic, ICSID Case No. ARB/03/23, Award, 11 June 2012
       ¶ 1325ff, Exh. R-4186; Gemplus, Exh. C-1536.
2195
       Pre-award interest on the value of the Claimants’ shares has, however, been applied in the context of calculating the
       amount of damages that would have to be awarded on the basis of a valuation date corresponding to the date of the
       expropriation of Claimants’ investment. See paragraph 1847 below.
2196
       See Subsection XII.C.4.
2197
       See Table T9 appended to this Award.
2198
       Oko Pankki Oyj (formerly called OKO Osuuspankkien Keskuspankki OYJ), VTB Bank (Deutschland) AG (formerly
       called Ost-West Handelsbank AG) and Sampo Bank PLC v. The Republic of Estonia, ICSID Case No. ARB/04/6),
       Award, 19 November 2007 ¶ 349, Exh. C-1530.




                                                          - 521 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 542 of 617




1690. The Tribunal notes that Claimants claim interest on the costs that may be awarded to them by
        the Tribunal at the same rate as the interest awarded to them on the damages.2199 In the event
        that Respondent fails to pay in full to Claimants the costs awarded to them in Part XIII of the
        present Award before the expiry of the grace period, post-award interest will accrue on any
        outstanding amount, compounded annually.

1691. In the circumstances of the present case, in view of the significant amount of damages which
        Respondent owes Claimants as a result of this Final Award, the Tribunal considers it
        reasonable to grant to Respondent a grace period of 180 days following the date of the Award
        before interest will accrue if not paid in full to Claimants by then.

1692. In order to compute any post-award interest awarded to Claimants on their damages and their
        costs, the Tribunal orders that the interest rate be determined as the yield on ten-year
        U.S. Treasury bonds as of 15 January 2015 and then the dates of compounding yearly
        thereafter.


XII. THE QUANTIFICATION OF CLAIMANTS’ DAMAGES

1693. The Tribunal will now determine the damages caused to Claimants by Respondent’s breach of
        Article 13 of the ECT. The Parties’ positions in this regard can be summarized as follows.


A.      CLAIMANTS’ POSITION

1694. Claimants assert that they are entitled to full reparation for Respondent’s breach of its
        obligations under the ECT “through financial compensation measured at the date of
        expropriation or at the date of the award, whichever is the greatest”2200 and seek damages in “an
        amount to be determined by the Arbitral Tribunal,” but estimated at “no less than US$ 114.174
        billion.”2201 Claimants maintain that, while Article 13(1) of the ECT provides a specific rule of
        compensation, this rule applies only to legal expropriations (i.e., expropriations satisfying the
        conditions contained in Article 13(1)), and that, where one or more of the conditions of
        Article 13(1) have not been met, the rules of customary international law apply to the issue of



2199
       Claimants’ Submission on Costs ¶ 64.
2200
       Claimants’ Post-Hearing Brief ¶ 232.
2201
       Reply ¶ 1199. See also Claimants’ Post-Hearing Brief ¶ 302.




                                                         - 522 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 543 of 617




        reparation.2202 According to Claimants, in order to achieve full reparation in the event of an
        unlawful expropriation, an investor must be able to choose between a valuation of the damages
        it has suffered as at the date of the breach and a valuation as at the date of the award.2203


        1.      Valuation Date

1695. Claimants submit that there are two potentially relevant dates with regard to the assessment of
        damages, namely the moment when a treaty breach occurs and the moment when an award is
        rendered. Claimants take the view that “an investor should be compensated in the highest
        amount between the valuation of the damages it has suffered as at the date of the breach and
        that at the date of the award.”2204 The reason for this alternative valuation, according to
        Claimants, is that “to the extent the assets expropriated have increased in value during the
        arbitration process, this increase must accrue for the benefit of the Claimants, not to the Russian
        Federation.”2205 Claimants refer to a number of legal authorities to support the conclusion that,
        in cases of unlawful expropriations, investors are entitled to choose between a valuation as at
        the date of the breach and a valuation as at the date of the award.2206

1696. Claimants assert that the date of the expropriation of their investment in this case was
        21 November 2007, the date on which Yukos was struck off the Russian register of legal
        entities. The justification for choosing this date, according to Claimants, is that “[i]n cases
        involving expropriations through a series of coordinated interferences by the State, the date of
        expropriation corresponds to the date on which the governmental interference ripened into an
        irreversible deprivation of the investor’s property,”2207 and that striking Yukos from the register
        of legal entities constituted “a point of no return.”2208




2202
       Memorial ¶¶ 897–99; Transcript, Day 17 at 219–18.
2203
       Memorial ¶ 917.
2204
       Ibid. See also ¶ 913; Claimants’ Post-Hearing Brief ¶¶ 232–33.
2205
       Memorial ¶ 913.
2206
       Memorial ¶¶ 915–17; Reply ¶ 845. Claimants refer in particular to ADC, ¶¶ 496–97, Exh. C-980; Siemens ¶ 352, Exh.
       C-983; Kardassopoulos ¶ 514, Exh. C-1533; Amoco International Finance Corporation v. Iran, Partial Award, 14 July
       1987, 15 Iran–U.S. Claims Tribunal Reports, 189, pp. 300–01, Exh. C-939 (hereinafter “Amco”).
2207
       Memorial ¶ 912, n.1314. See also Reply ¶ 940.
2208
       Reply ¶ 943.




                                                           - 523 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 544 of 617




        2.      Causation

1697. With regard to causation, Claimants assert that they do not need to establish a link between
        individual actions of Respondent and the damages suffered, but that it suffices for them to show
        that the sum of Respondent’s actions caused those damages. Claimants argue that:

                [T]he Russian Federation sought and achieved the dismantlement and destruction of
                Yukos, and the Claimants’ investments therein, through a series of cumulative actions. . . .
                The breach, and the Respondent’s responsibility, arises from the Russian Federation’s
                actions taken as a whole and not from each and every one of these actions. It is the
                cumulative effect of these acts that is criticized by the Claimants.2209

1698. Claimants also argue that:

                [A] causal link needs only be established between the actions of the Russian Federation
                taken as a whole and the Claimants’ damages, namely the destruction of their investments.
                This causal link is obvious . . . .2210

1699. According to Claimants, there is ample authority to support their position that the Tribunal need
        only consider “the totality of the Russian Federation’s actions and their result: the inexcusable
        treatment of the Claimants’ investments and, ultimately, their outright expropriation.”2211


        3.      Calculations Performed by Claimants and Mr. Kaczmarek

1700. Claimants have submitted two expert reports on damages authored by Mr. Brent Kaczmarek of
        Navigant Consulting, dated 15 September 2010 and 15 March 2012, together with their
        Memorial and their Reply, respectively.            The calculations contained in these reports and
        referred to in Claimants’ pleadings can be summarized as follows.


                (a)    The “Scenarios” Presented by Claimants

1701. Claimants perform calculations based on three different “scenarios.” Within each of these
        scenarios, Claimants also differentiate between a number of sub-scenarios.

1702. The first scenario developed by Claimants is based on two fundamental assumptions, namely
        (a) that the tax assessments against Yukos constituted a breach of the ECT, and (b) that this

2209
       Ibid. ¶ 904.
2210
       Ibid. ¶ 911.
2211
       Claimants’ Post-Hearing Brief ¶ 191, citing to e.g., Walter Bau ¶ 12.43, Exh. C-1000; Pope & Talbot v. Canada,
       UNCITRAL, Award on the Merits of Phase 2 ¶ 181, Exh. C-1518; Kardassopoulos ¶ 451, Exh. C-1533; El Paso
       ¶ 519, Exh. C-1544/R-4190.




                                                       - 524 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 545 of 617




        breach caused the merger between Yukos and Sibneft to be cancelled. In addition, Claimants
        call in aid an optional assumption in the context of this scenario, namely (c) that Yukos would
        have had a 70 percent chance of obtaining a listing on the NYSE, which would have further
        increased its value.2212 Claimants’ first scenario can thus be subdivided into two sub-scenarios:
        sub-scenario 1a, which is based only on assumptions (a) and (b); and sub-scenario 1b, which is
        based on all three assumptions (a), (b), and (c).

1703. Claimants’ second scenario is based on assumption (a) described above, namely that the tax
        assessments against Yukos constituted a breach of the ECT, whilst excluding assumption
        (b) (thus not seeking damages for the demerger between Yukos and Sibneft). Here again two
        sub-scenarios can be distinguished: sub-scenario 2a is based solely on assumption (a), whereas
        sub-scenario 2b is based on both assumptions (a) and (c).

1704. Claimants’ third scenario assumes that the tax assessments against Yukos did not constitute a
        breach of the ECT, but that the subsequent enforcement of the tax claims did. Accordingly,
        Claimants calculate the “damages arising out of the 2004 and 2007 auctions, regardless of the
        merits of the alleged tax claims imposed on Yukos.”2213 Within this third scenario, Claimants
        distinguish five sub-scenarios (subsequently referred to as 3a, 3b, 3c, 3d and 3e),2214 all of which
        assume that Yukos should have been allowed to settle its alleged tax debts one way or another
        (thus avoiding the liquidation of the company), but propose different modalities as to how this
        could have been done.2215

1705. Sub-scenario 3a assumes that Yukos would have been allowed a grace period of five years and
        would then have “been able to pay off the entire amount of its alleged tax liabilities out of its
        operating cash-flows only by 2009.”2216

1706. Sub-scenario 3b assumes that Yukos would have been granted a grace period of three years and
        would then have been able to pay off its alleged tax liabilities with a combination of its free
        cash flows and the sale of non-core assets during that period.2217


2212
       First Kaczmarek Report ¶ 20.
2213
       Memorial ¶ 977.
2214
       Sub-scenarios 3b and 3d were first presented in Reply ¶ 873.
2215
       Memorial ¶ 979.
2216
       Ibid. ¶ 983. See also Second Kaczmarek Report ¶ 33.
2217
       Second Kaczmarek Report ¶ 36.




                                                          - 525 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 546 of 617




1707. Sub-scenario 3c assumes that Yukos would have been granted a grace period of one year and
        would then have been able to pay off its alleged tax liabilities with a combination of its free
        cash flows, the sale of non-core assets and debt financing during that period.2218

1708. Sub-scenario 3d also assumes that Yukos would have been granted a grace period of only
        one year, but then assumes (in contradistinction to sub-scenario 3c) that Yukos would have paid
        off its alleged tax liabilities with a combination of free cash flows, the sale of certain core assets
        and (limited) debt financing.2219

1709. Finally, sub-scenario 3e assumes that, while Yukos would have had to sell YNG to settle its
        alleged tax obligations, the auction “would have been conducted in a manner ensuring a fair,
        rather than grossly undervalued, price,” generating proceeds of USD 19.703 billion,2220 with the
        result that Yukos would have paid off its alleged tax liabilities with these proceeds as well as its
        cash flows in 2004 and 2005, while remaining a going concern.2221

1710. In accordance with Claimants’ submissions regarding the relevant valuation dates, Claimants
        base their damages calculations in the first place on a valuation date of 21 November 2007.
        Accordingly, Claimants provide calculations for all three scenarios based on this date. In
        addition, Claimants also carry out a number of calculations based on the date of 1 January
        2012, as a proxy for the date of the award, “for comparison purposes.”2222 Claimants provide
        calculations based on this date for scenarios 1 and 2, but not for scenario 3.


                 (b)   Methodology Used for Calculations Based on Scenarios 1 and 2

1711. Claimants’ calculations for scenarios 1 and 2 as of November 2007 are in principle based on the
        following methodology: the total of the damages claimed corresponds to the sum of Claimants’
        share in a hypothetical Yukos entity as of the valuation date plus the hypothetical cash flows
        that Claimants would have received in the form of dividends based on Claimants’ shareholding
        in Yukos from 2004 to November 2007. In addition, in scenarios 1b and 2b, Claimants also



2218
       Ibid. ¶ 34.
2219
       Ibid. ¶ 38.
2220
       Memorial ¶¶ 989–90.
2221
       Ibid. ¶ 993. See also Second Kaczmarek Report ¶ 30.
2222
       Second Kaczmarek Report ¶ 155; Reply ¶ 946.




                                                        - 526 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 547 of 617




        include the value they attribute to the “lost chance” of listing Yukos’ shares on the NYSE.2223
        The total amount thus obtained is then “brought forward” to a date close to the date of
        Mr. Kaczmarek’s report by adding pre-award interest.2224 Each one of these steps is set out in
        more detail below.


                              i.      Value of Shares

1712. With regard to the valuation date of 21 November 2007, Claimants calculate the value of their
        shares in Yukos as follows:


                               (a) Valuation of Yukos

1713. As a first step, Claimants calculate the value of the relevant Yukos entity, as defined by the
        assets that Claimants assume Yukos would have owned in November 2007 in the absence of
        Respondent’s alleged breaches.2225 The assets taken into account depend on the scenario. For
        the purposes of scenario 1, both Yukos’ and Sibneft’s original assets are taken into account, 2226
        whereas for scenario 2 the calculations are based only on Yukos’ assets.2227 Claimants use
        three different methods for valuating Yukos, namely the DCF method, the comparable
        companies method and the comparable transactions method.2228

1714. With regard to the DCF method, Claimants describe their approach as an attempt to reconstruct
        the “pro-forma financial statements” that the relevant Yukos entity would have presented in
        November 2007, based on the financial and operational data published by Rosneft and
        Gazprom Neft, which held the majority of Yukos’ assets at that point in time.2229 Where no
        such data is available, Claimants rely on “historical financial statements and operating
        information published by Yukos and Sibneft . . . as well as a benchmark of indicators from


2223
       The total loss T under Claimants’ scenario 1b based on a valuation date of November 2007 can thus be described as
       T = Value of Shares in November 2007 (V) + Dividends received from 2004 to 2007 (D) + Value of “lost chance” to
       list shares on NYSE (LC). Memorial ¶ 920. See also Claimants’ Opening Slides, p. 204.
2224
       Memorial ¶¶ 925, 969, 976. See also Claimants’ Opening Slides, p. 204.
2225
       Memorial ¶ 931.
2226
       Ibid.
2227
       Ibid. ¶ 972.
2228
       Ibid. ¶¶ 927, 972.
2229
       Ibid. ¶ 931. For scenario 2, Mr. Kaczmarek uses the Dicounted Cash Flow (hereinafter “DCF”) model developed for
       scenario 1 with a number of adjustments. First Kaczmarek Report ¶ 417.




                                                         - 527 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 548 of 617




        Yukos’ and Sibneft’s industry peers in Russia.”2230 Based on this data, Claimants estimate cash
        flows between 2007 and 2015 as well as a “terminal value” of the entity in 2015.2231 Claimants
        then bring the above estimates to their November 2007 value by applying a discount rate based
        on Yukos’ cost of capital.2232 This operation leads them to Yukos’ enterprise value as of
        November 2007.2233

1715. Claimants also use a comparable companies approach, based on data available for a pool of
        Russian (Rosneft, Gazprom Neft, Lukoil, TNK-BP and Surgutneftegaz) and international (BP,
        Chevron, Conoco-Philips, Exxon-Mobil, Royal Dutch Shell and Total SA) oil companies.2234
        This approach identifies companies with characteristics similar to Yukos (notably in terms of
        production, reserves, profitability, revenue growth and financing structure), establishes the
        ratios between the enterprise value of these companies and relevant operating or financial
        metrics (EBITDA, reserves and production), and then applies these ratios to the relevant
        metrics of Yukos in order to estimate the latter’s enterprise value.2235     The net income,
        EBITDA, reserves and production of Yukos are derived from the “pro-forma financial
        statements” established in the context of the DCF method.2236

1716. Finally, Claimants use a comparable transactions approach based on public purchase
        transactions of comparable companies.2237 In this regard, Claimants apply a “sum of the parts
        valuation,” in which they select transactions that are meant to match the upstream and
        downstream business of Yukos separately.2238 Here again, the operating and financial metrics
        of Yukos as determined in the context of the DCF method are used to calculate the value of the
        company.2239

1717. Claimants then calculate a synthesized enterprise value of Yukos based on the results of the
        three approaches, weighing the DCF approach at 50 percent, the comparable companies
2230
       Memorial ¶ 931.
2231
       Ibid. ¶ 932.
2232
       Ibid. ¶¶ 933–34. See also First Kaczmarek Report ¶¶ 84, 87.
2233
       Memorial ¶ 935.
2234
       Ibid. ¶ 938.
2235
       Ibid.
2236
       First Kaczmarek Report ¶ 429.
2237
       Memorial ¶ 940.
2238
       Ibid. ¶ 941.
2239
       Ibid.




                                                         - 528 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 549 of 617




        approach at 40 percent and the comparable transactions approach at 10 percent.2240 By then
        subtracting Yukos’ assumed debt, they arrive at Yukos’ synthesized equity value.2241


                                (b) Calculation of the Value of Claimants’ Shareholding

1718. In a final step, for each of the scenarios considered, Claimants calculate the value of Claimants’
        shareholding in Yukos by multiplying the company’s equity value by Claimants’ share in the
        companyʊ53 percent (corresponding to the dilution of Claimants’ shareholding associated
        with the creation of YukosSibneft) for scenario 1 and 70.5 percent (corresponding to
        Claimants’ original shareholding in Yukos) for scenario 2.2242


                               ii.     Additional Indicators Relied on by Claimants to Confirm the
                                       Value of Yukos Shares

1719. With regard to scenario 1, Mr. Kaczmarek avers that he confirmed his valuation with a number
        of additional indicators. Claimants calculate Yukos’ enterprise value based on the market
        capitalization of Rosneft in November 2007, with a number of adjustments made in order to
        take into account the differences between Rosneft’s assets and Yukos’ (fictitious) assets as of
        that date. The result of this calculation is an enterprise value that is about USD 4.5 billion
        lower than the enterprise value calculated on the basis of the above-described methodology.2243

1720. Mr. Kaczmarek also confirms his valuation of Yukos’ enterprise value as of November 2007
        based on the increase of three benchmarks (Urals blend prices, the RTS Oil and Gas index and
        Lukoil’s market capitalization) between October 2003 and November 2007.2244                                   These
        calculations lead to an enterprise value of Yukos that is approximately halfway between
        USD 14.4 billion lower (RTS Oil and Gas) and USD 46.5 billion higher (Lukoil market
        capitalization) than the enterprise value of Yukos calculated on the basis of Claimants’ basic
        methodology.2245


2240
       Ibid. ¶¶ 944–45. Claimants note that they assign a low weight to the results of their comparable transactions approach,
       due to the “absence of a transaction involving a company similar to YukosSibneft in the years preceding the date of
       valuation.” Ibid. ¶ 945.
2241
       Ibid. ¶ 945.
2242
       Ibid. ¶¶ 949, 972.
2243
       Claimants’ Post-Hearing Brief ¶ 263. See also Memorial ¶ 946.
2244
       Claimants’ Post-Hearing Brief ¶ 260. See also Exh. C-1783.
2245
       Claimants’ Post-Hearing Brief ¶ 261. See also Exh. C-1783.




                                                           - 529 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 550 of 617




1721. Finally, Claimants calculate Yukos’ enterprise value on the basis of a share swap involving
        YNG shares that would have taken place between Rosneft and Yukos in October 2006, which
        Claimants say implies a valuation of YNG’s equity at USD 46.2 billion at that point in time.2246
        On that basis, Claimants calculate an enterprise value of Yukos as of 21 November 2007 that is
        approximately USD 12.8 billion lower than the value calculated on the basis of their basic
        methodology.2247


                              iii.    Hypothetical Cash Flows from Dividends

1722. The second component of Claimants’ damages calculation is the cash flows from dividends that
        Claimants argue would have been paid to them in the first and second scenarios but for
        Respondent’s treaty breaches. Claimants assume that, without the alleged breaches of the ECT
        by Respondent, Yukos would have paid dividends to its shareholders between 30 September
        2003 and 21 November 2007.2248 Accordingly, Claimants say that they would have received a
        pro rata share of these dividends, calculated on the basis of their shareholding in the
        company.2249


                              iv.     Loss of Chance

1723. The third component of Claimants’ damages calculation is based on Claimants’ valuation of
        what they refer to as the loss of a chance to obtain a listing of Yukos on the NYSE. Claimants
        submit that, without the breaches of Respondent, Yukos would likely have been listed on the
        NYSE, and that this listing would have decreased the company’s costs of capital and thus
        increased Yukos’ share value.2250 Claimants quantify the value of the loss of this chance by
        multiplying the assumed increase in share value with the probability of a successful listing,
        which they assume to be 70 percent.2251 This loss for Claimants is the amount thus obtained,
        multiplied by Claimants’ shareholding in Yukos.2252



2246
       Claimants’ Post-Hearing Brief ¶ 262. See also Exh. C-1773.
2247
       Claimants’ Post-Hearing Brief ¶ 262. See also Exh. C-1784.
2248
       Memorial ¶ 952.
2249
       Ibid. ¶ 953.
2250
       Ibid. ¶¶ 954–56.
2251
       Ibid. ¶ 958.
2252
       Ibid. ¶¶ 956, 958.




                                                        - 530 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 551 of 617




                              v.      Pre-Award Interest

1724. In a final step for purposes of their calculations with regard to scenarios 1 and 2, Claimants
        bring forward the total amount thus obtained to a date close to the date of their last
        submissions,2253 and add pre-award interest of LIBOR plus four percent on a compound
        basis.2254


                (c)     Methodology Used for Calculations Based on Scenario 3

1725. Claimants’ calculations for scenarios 3a to 3d are based on their calculations for the second
        scenario, but are adjusted to take into account the settlement of Yukos’ tax liabilities through
        Yukos’ cash flow, the sale of certain assets and/or debt financing.2255 These scenarios do not
        assume any payment of dividends to Yukos’ shareholders or the loss of a chance of obtaining a
        listing of Yukos on the NYSE.2256 Rather, Claimants determine Yukos’ equity value as of
        November 2007 and derive the value of their ownership interest in Yukos from that figure.
        They then bring forward the amount thus obtained to a date close to the date of their last
        submissions again by adding compound pre-award interest at a rate of LIBOR plus four
        percent.2257

1726. Claimants’ calculations for scenario 3e (which assumes the sale of YNG at a price higher than
        that achieved in the 2004 auction) are somewhat more complex. In this scenario, Claimants
        estimate the enterprise value of YNG as of November 2007, and then subtract this amount from
        their estimate of the enterprise value of Yukos as of the same date. This leaves Claimants with
        a figure for the enterprise value of Yukos’ assets without YNG.2258 Claimants then subtract the
        assumed debt of this smaller Yukos entity and thus arrive at the equity value of Yukos (without
        YNG) in November 2007.2259 Claimants calculate their losses as a pro rata share (based on
        their 70.5 percent shareholding in Yukos) of the sum of this equity value, their estimate of free
        cash flows that a diminished Yukos (without YNG) would have achieved between January


2253
       The date used for purposes of Mr. Kaczmarek’s second report is 15 March 2012. Second Kaczmarek Report ¶ 15.
2254
       Memorial ¶ 969. For Claimants’ arguments on interest see Section XI.A.1 above.
2255
       First Kaczmarek Report ¶¶ 555, 567.
2256
       Ibid. ¶¶ 556, 568.
2257
       Ibid.
2258
       Ibid. ¶ 545.
2259
       Ibid. ¶ 546.




                                                        - 531 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 552 of 617




        2005 and November 2007, and pre-award interest brought forward to a date close to the date of
        their last submissions.2260


                (d)      Methodology Used for Calculations Based on 2012 Valuation Date

1727. The position of Claimants is that, because of the unlawful taking by Respondent of Yukos, they
        are entitled to select the evaluation of the damages either at the date of Respondent’s breach or
        at the date of the award, whichever is the highest.2261 Thus, Claimants, in their Reply, also
        quantify their damages in scenarios 1 and 2 based on a valuation date of 1 January 2012.
        Claimants state they chose this date for practical purposes since it is close to the date of
        submission of Mr. Kaczmarek’s second expert report and that, if need be, calculations “can
        subsequently be updated at a date closer to the award.”2262

1728. While Mr. Kaczmarek does not set out the methodology used in this regard in any great
        detail,2263 it can be inferred from some of the appendices to his second report.2264 In these
        appendices, Mr. Kaczmarek estimates Yukos’ cash flows for the years 2004 to 2011 as well as
        the terminal value of Yukos as of 1 January 2012 for scenarios 1 and 2 and then applies
        pre-award interest of LIBOR plus four percent to bring these figures to the present (i.e.,
        15 March 2012)2265 value and thus obtain Yukos’ total damages.2266 For scenarios 1b and 2b,
        Claimants also add the incremental value of the chance of obtaining a listing on the NYSE.2267
        Claimants then calculate their damages as a percentage of Yukos’ damages, based on their
        shareholding in the relevant entity.2268




2260
       Ibid. ¶ 547.
2261
       Memorial ¶ 917.
2262
       Claimants’ Post-Hearing Brief ¶ 233 n.499.
2263
       See Second Kaczmarek Report ¶ 155.
2264
       Second Kaczmarek Report, Appendices AG to AK.
2265
       Ibid.
2266
       Second Kaczmarek Report, Appendices AG.1 and AK.1. Claimants provide alternative computations based on pre-
       award interest at Russian Sovereign Cost of Debt, Prime +2 percent and LIBOR +2 percent. Second Kaczmarek
       Report, Appendices AG.3 to AG.8 and AK.2 to AK.4.
2267
       Second Kaczmarek Report, Appendices AH and AI.
2268
       Ibid., Appendices AG.1 and AI.




                                                        - 532 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 553 of 617




                 (e)   Summary of Results of Claimants’ Calculations

1729. The valuation by Mr. Kaczmarek of each of the scenarios described above (including pre-award
        interest through 15 March 2012) is summarized in the following table (amounts in
        USD billion):


          Valuation                                                              Scenario
            date       1a            1b            2a              2b             3a           3b           3c           3d           3e
         21 November   106.8152269   114.1742270   102.0152271     107.9662272    67.2362273   68.5932274   62.7632275   69.5832276   33.3172277
         2007
         1 January     91.9222278    94.9312279    88.7372280      91.2172281     n.a.         n.a.         n.a.         n.a.         n.a.
         2012



        4.       Failure of Claimants to Mitigate

1730. In response to Respondent’s contention that Claimants should promptly have paid the original
        taxes assessed against Yukos (as well as those Yukos should have anticipated would be
        imposed for succeeding years on the same grounds) to avoid massive damages, Claimants aver
        that there is no “duty to appease” and that “a victim of extortion is not to blame if the threats
        against it are carried out after it refuses to pay.”2282

1731. Claimants also argue that Yukos had no reason to concede the validity of the Russian
        authorities’ position with regard to the initial tax assessments “in circumstances where its
        objections to the December 29, 2003 Audit Report were still under consideration” and where it


2269
       Ibid. ¶ 15.
2270
       Reply ¶ 859.
2271
       Second Kaczmarek Report ¶ 18.
2272
       Reply ¶ 861.
2273
       Ibid. ¶ 875.
2274
       Ibid.
2275
       Ibid.
2276
       Ibid.
2277
       Ibid. ¶ 864.
2278
       Second Kaczmarek Report ¶ 155.
2279
       Second Kaczmarek Report, Appendix AH.
2280
       Second Kaczmarek Report ¶ 155 and Appendix AK.
2281
       Second Kaczmarek Report, Appendix AI.
2282
       Claimants’ Post-Hearing Brief ¶ 275.




                                                                - 533 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 554 of 617




        had received advice from its lawyers that the Audit Report was “totally inconsistent with the
        Russian tax law.”2283 In any event, Claimants say that Yukos did not have enough cash to settle
        an alleged tax debt of USD 9 billion in the first quarter of 2004.2284

1732. In addition, Claimants assert that, to apply Respondent’s argument, “the Tribunal would need to
        ignore the most salient factsʊthe Respondent’s breachesʊand assume . . . that the very same
        Russian authorities who committed those breaches would have acted differently if only Yukos
        had taken the actions specified by the Respondent.”2285                   In particular, with regard to
        Respondent’s argument that Yukos could have significantly reduced its tax burden by filing
        corrected VAT returns during the first quarter of 2004, Claimants contend that the actual
        conduct of the Russian authorities demonstrates that any amended returns that Yukos might
        have submitted would, in any event, have been either ignored or rejected.2286


        5.      Windfall and Double-Recovery

1733. Finally, Claimants also reject Respondent’s arguments that any award of damages should avoid
        presenting Claimants with a windfall and take into account the risk of double-recovery.
        According to Claimants, these arguments of Respondent merely seek to “repackage its
        so-called ‘unclean hands’ theory in the context of damages” and Respondent, they say, “has
        failed to articulate any basis on which alleged collateral illegalities could . . . be relevant to an
        assessment of damages.”2287 In any event, conclude Claimants, any benefits they may have
        received through their investments prior to Respondent’s breaches of the ECT are irrelevant for
        the calculation of the damages in the present arbitration and, furthermore, any assets located
        outside Russia have been excluded from Mr. Kaczmarek’s valuations.2288




2283
       Ibid. ¶ 281, quoting Sergey Pepeliaev, Summary of the tax inspection of OAO NK Yukos, 5 January 2004, pp. 1, 3,
       Exh. C-1128.
2284
       Ibid. ¶ 292.
2285
       Ibid. ¶ 276.
2286
       Ibid. ¶ 287.
2287
       Reply ¶¶ 883–85.
2288
       Reply ¶ 963.




                                                       - 534 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 555 of 617




B.      RESPONDENT’S POSITION

1734. Respondent argues that, even if it were held to be liable for a breach of the ECT, Claimants
        should not be awarded any damages in this case.2289 Respondent has submitted two expert
        reports on damages by Professor James Dow, one dated 1 April 2011 and the other 15 August
        2012, with their Counter-Memorial and their Rejoinder, respectively.                 These reports and
        Respondent’s arguments with regard to Claimants’ damages calculations can be summarized as
        follows.


        1.      Valuation Date

1735. Respondent disagrees with both valuation dates proposed by Claimants.

1736. With regard to Claimants’ valuation as of the date of expropriation, Respondent invokes the
        principle that “the valuation date should be when the purported substantial deprivation of the
        investor’s investment has occurred.”2290                Respondent objects, however, to Claimants’
        assessment that in this case a substantial deprivation of their investment occurred on
        21 November 2007, a date which Respondent considers “arbitrary.”2291 Respondent argues that
        “the hallmark of an appropriate valuation date is the loss of effective control over the investor’s
        investment”2292 and concludes that “Claimants have repeatedly averred that they lost control of
        their investment and that it lost all value long before November 21, 2007.”2293

1737. As a result, Respondent disputes that the date of 21 November 2007 chosen by Claimants has
        any relevance. As Professor Dow explained at the Hearing:

                I am very clear in stating that the 2007 date has no economic relevance, in my view. And I
                say that because at the end of 2004 Yukos shares had lost essentially all of their value.
                Yukos was a penny stock. It wasn’t expected to recover, the market did not expect it to
                recover; that was reflected in the share price. . . . So from an economic point of view, the
                date of delisting in 2007 is a bureaucratic event, not an event at which value was lost.2294




2289
       Respondent’s Post-Hearing Brief ¶¶ 262–63.
2290
       Rejoinder ¶ 1666.
2291
       Counter-Memorial ¶ 1618.
2292
       Rejoinder ¶ 1666.
2293
       Ibid. ¶ 1666. See also Respondent’s Post-Hearing Brief ¶ 238.
2294
       Transcript, Day 12 at 14. See also at 49.




                                                         - 535 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 556 of 617




1738. While Respondent does not propose any specific alternative date when Claimants lost control
        of their investments, Professor Dow suggested at the Hearing that such a date would, in any
        event, have to be before the end of 2004.2295

1739. Respondent also rejects Claimants’ submission that the date of an award can be used as an
        alternative valuation date. In this regard, Respondent argues that the “standard theoretical
        framework economists typically use to calculate damages is an ‘ex ante’ one” where damages
        are assessed at the moment of the relevant breaches and then brought to present value with pre-
        judgment interest.2296 By contrast, an “ex post” approach would, according to Respondent, use
        information based on hindsight, provide no principled basis for choosing a date and therefore
        be vulnerable to error.2297 In addition, Respondent claims that, “with each passing day after the
        alleged takings date, it becomes increasingly speculative to value the asset taken as of some
        later date.”2298

1740. In his first report, Professor Dow writes that there is a “general preference among economists
        for the ex ante approach when evaluating damages in commercial matters” and refers, in this
        connection, to an article published in the 1990 Journal of Accounting, Auditing and Finance.2299
        Relying on this article, Respondent submits that “an expropriation relieves the owner not only
        of the value of the asset on the date of expropriation, but also of the risk associated with owning
        it” and that, as a consequence, “[t]he only way to recognize both aspects is to assess the value
        of the asset on the date of expropriation, when neither its owner nor the State knows whether
        the asset will increase or decrease in value.”2300


        2.       Causation

1741. Respondent also disagrees with Claimants with respect to causation. In particular, Respondent
        emphasizes the need to establish “a sufficient causal link” between breach and damage, where




2295
       Ibid. at 175.
2296
       Counter-Memorial ¶ 1617.
2297
       Ibid. ¶ 1618.
2298
       Respondent’s Post-Hearing Brief ¶ 239.
2299
       First Dow Report ¶ 13, citing to Franklin M. Fisher and R. Craig Romaine, Janis Joplin’s Yearbook and the Theory of
       Damages, Journal of Accounting, Auditing and Finance (1990), p. 153, Exh. R-1980.
2300
       Respondent’s Post-Hearing Brief ¶ 239.




                                                         - 536 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 557 of 617




        the latter is the “proximate result” of the former.2301 Respondent advocates the following
        methodology:

                [I]f the damages are caused by a series of harmful actions . . . each violation can be treated
                as a new action and the corresponding incremental change can be estimated at the time of
                the action, . . . [t]he incremental damage figures for each violation can then be added
                together to obtain a total damage figure.2302

1742. According to Respondent, Claimants’ approach to damages fails “to connect any of the alleged
        treaty violations to a specific amount of damages” and provides “no mechanism for
        determining the incremental damages allegedly caused by any specific alleged violation.”2303
        As a consequence, Respondent alleges that Claimants’ valuations “do not accommodate the
        situation where the Tribunal finds that fewer than all of the scores of alleged ‘bad acts’ were
        violations.”2304


        3.      Specific Aspects of the Calculations Performed by Claimants Criticized by
                Respondent

1743. Principally, Respondent criticizes Claimants’ damages claims as being “based on inherently
        incorrect or speculative assumptions.”2305 According to Professor Dow, Mr. Kaczmarek’s
        various calculations are “riddled with errors” and the obvious result of “reverse engineering to a
        desired result.”2306 Respondent and its expert raise numerous arguments in support of their
        criticism, the most important of which are summarized below.


                (a)     Credibility of Claimants’ DCF Analysis

1744. One of Respondent’s main criticisms with regard to Claimants’ valuation is directed at
        Mr. Kaczmarek’s DCF analysis.             In particular, in his first expert report, Professor Dow
        identifies what Respondent claims are “three obvious and significant errors” regarding the
        valuation of YNG.2307 Respondent points out that, while Mr. Kaczmarek admitted to two of

2301
       Counter-Memorial ¶ 1606, quoting U.S. and Germany Mixed Claims Commission, Administrative Decision No. II,
       1 November 1923, 23, p. 29, Exh. R-1188.
2302
       Ibid. ¶ 1617.
2303
       Ibid. ¶ 1619. See also ¶ 1627.
2304
       Ibid. ¶ 1619. See also ¶ 1628.
2305
       Ibid. ¶ 1637.
2306
       Second Dow Report ¶ 422.
2307
       Counter-Memorial ¶ 1630.




                                                       - 537 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 558 of 617




        these errors in his second expert report, the valuation of YNG remained virtually unchanged.2308
        As a consequence, Respondent claims that Mr. Kaczmarek’s “main task” in his second report
        must have been to “find a way to make up for gaping holes in his initial valuation that he
        concedes were the result of readily identifiable errors that he realized had to be corrected, after
        Professor Dow had identified them.”2309 Respondent points out that, while the necessary
        corrections identified by Professor Dow caused Claimants’ expert to make adjustments of over
        USD 10 billion to his valuation of YNG, Mr. Kaczmarek still ended up with virtually the same
        figure as in his first report as a consequence of a series of simultaneous “discretionary” upward
        adjustments.2310

1745. Respondent also claims that Claimants’ expert “did the same thing in his other two DCF
        models, correcting mistakes that reduce his valuation of Yukos and YukosSibneft by
        USD 40 billion and USD 90 billion, respectively, and then adjusting other elements to bring his
        conclusions back up to where he started.”2311 According to Respondent, “Mr. Kaczmarek
        confirmed . . . that his DCF model is simply a device for justifying an a priori conclusion,
        conceding repeatedly that his focus was not on critically analyzing the inputs to his model, but
        rather on whether the output met pre-conceived notions that were never disclosed in his
        reports.”2312 As a result, Respondent concludes that Claimants’ results have been “reverse
        engineered”2313 and are “made-up numbers around which models were built.”2314


                (b)     Claimants’ Selection of Comparable Companies for Purposes of the
                        Comparable Companies Analysis

1746. With regard to Claimants’ use of the comparable companies method, Respondent criticizes
        Claimants’ valuation as being based on an “unsupportable decision to weigh Rosneft as 70% of
        the analysis, when Rosneft’s market metrics never resembled Yukos’ or those of other private



2308
       Second Dow Report ¶ 8. See also Second Kaczmarek Report ¶¶ 82–97.
2309
       Rejoinder ¶ 1606.
2310
       Ibid. ¶ 1612.
2311
       Ibid. ¶ 1613. Respondent identifies a number of errors which it says were made by Mr. Kaczmarek in his first report
       before being corrected in his second report. In addition, Respondent identifies a number of errors which it says were
       made by Mr. Kaczmarek in his second report. Rejoinder ¶¶ 1620–36.
2312
       Respondent’s Post-Hearing Brief ¶ 240, citing to Trancript, Day 11 at 112, 116–17, 143–44, 153–54.
2313
       Rejoinder ¶ 1618, quoting Second Dow Report ¶ 390.
2314
       Ibid. ¶ 1619.




                                                          - 538 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 559 of 617




        Russian oil companies.”2315 Professor Dow, provides a “corrected” comparable companies
        analysis that excludes the data with regard to Rosneft, Gazprom Neft and the international
        major oil companies from the analysis,2316 and leads to an enterprise value for Yukos in 2007
        that is approximately USD 32 billion lower than the enterprise value calculated by
        Mr. Kaczmarek based on the comparable companies method.2317


                (c)     Claimants’ Reliance on Comparable Transactions

1747. With regard to Claimants’ calculations based on comparable transactions, Respondent asserts
        that Claimants’ expert, Mr. Kaczmarek, admits that no truly comparable transactions exist.2318
        In addition, Professor Dow criticizes Mr. Kaczmarek’s selection criteria for identifying
        comparable upstream and downstream transactions as “indefensible from an economic
        perspective.”2319


                (d)     Claimants’ Calculations of Hypothetical Cash Flows from Dividends

1748. Respondent does not explicitly address Claimants’ calculations of hypothetical dividends that
        would have been paid by Yukos to its shareholders if there had been no breach of the ECT as
        alleged by Claimants. However, when criticizing Mr. Kaczmarek’s calculations with regard to
        scenario 3, Professor Dow does comment on the free cash flows of Yukos that, according to
        Claimants, would have been the basis for the payment of dividends. Thus, according to
        Professor Dow, the free cash flows identified by Mr. Kaczmarek in this context are “inflated
        because they are based on his . . . grossly erroneous[] Yukos DCF model that overstates Yukos
        cash flows.”2320 Professor Dow provides an alternative set of figures that he refers to as the
        “corrected” cash flows from Mr. Kaczmarek’s model.2321




2315
       Respondent’s Post-Hearing Brief ¶ 242.
2316
       Second Dow Report ¶ 417.
2317
       Second Dow Report, p. 195, Figure 73.
2318
       Respondent’s Post-Hearing Brief ¶ 242. See also Second Dow Report ¶ 420.
2319
       Second Dow Report ¶ 423.
2320
       Ibid. ¶ 492.
2321
       Ibid. ¶ 492 and Figure 81.




                                                       - 539 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 560 of 617




                (e)    Claimants’ Calculations Based on the Loss of a Chance to Obtain a Listing on
                       the New York Stock Exchange

1749. Professor Dow also criticizes Claimants’ assumption that Yukos would have benefited from a
        listing on the NYSE as “thrice wrong because it assumes an event that did not happen, that was
        entirely within Yukos’ control, and overstates the economic benefit that would be expected
        were the event to have come to pass.”2322 In addition, Professor Dow states that there is no
        basis for the assumption that, without Respondent’s actions, Yukos would have had a 70
        percent chance of being listed on the NYSE.2323


                (f)    Claimants’ Calculations Based on the Assumption of a Completed Yukos–
                       Sibneft Merger

1750. Professor Dow criticizes Claimants’ calculations based on a completed Yukos–Sibneft merger
        arguing that such a merger was never completed and that the valuation of a combined
        YukosSibneft entity is therefore utterly speculative.2324 In particular, Professor Dow claims that
        Mr. Kaczmarek’s calculations largely ignore “the effects of the merger on operational costs,
        any impact on costs as a result of changed regulatory requirements, and the combined entity’s
        creditworthiness and cost of borrowing.”2325


                (g)    Claimants’ Scenarios 3a to 3d

1751. With regard to Claimants’ scenarios 3a to 3d, which assume payment of Yukos’ tax liabilities
        over a period of one, three or five years, Respondent asserts that Russian law did not allow the
        Tax Ministry to enter into any such arrangements as postulated by Claimants2326 and that it was,
        in any event, not obligated to do so.2327 In addition, Respondent claims that, based on the
        knowledge available regarding the development of oil prices in 2004, Claimants’ calculations
        in relation to expected cash flows are not realistic.2328 Respondent also disputes that Claimants



2322
       Ibid. ¶ 204.
2323
       Ibid. ¶ 215.
2324
       Ibid. ¶ 204.
2325
       Ibid. ¶ 208.
2326
       Counter-Memorial ¶ 1631.
2327
       Rejoinder ¶ 1662 and n.2559.
2328
       Counter-Memorial ¶ 1631. See also Second Dow Report ¶ 492.




                                                      - 540 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 561 of 617




        would have been able to negotiate a loan of USD 16 billion, as assumed in Claimants’
        scenario 3c.2329


                (h)    Claimants’ Scenario 3e and the Valuation of YNG

1752. With regard to Claimants’ scenario 3e (which assumes that the auctioning of YNG was
        necessary, but should have been realized at a fair price) and the valuation of YNG in
        Mr. Kaczmarek’s first expert report, Respondent claims that Mr. Kaczmarek made three
        “obvious and significant errors” relating to the application of the inflation rate, the export duty
        rate and the mineral extraction tax rate.2330 Adjusting for these errors, the valuation of YNG
        would have been USD 12.5 billion,2331 with the consequence that Yukos would not have been
        able to pay its taxes by the end of 2005, even if YNG had been sold at a higher price.2332


                (i)    Claimants’ Calculation of Pre-Award Interest

1753. As described in Part XI above, Respondent submits that Claimants are not entitled to claim pre-
        award interest.


        4.      Failure of Claimants to Mitigate

1754. Respondent asserts that Claimants had “repeated opportunities to mitigate the damage
        caused,”2333 and that, in particular, by paying its taxes in early 2004, Yukos could have “halved
        the total amount to be paid”2334 rather than “subject[ing] itself to . . . US$ 12 billion in
        additional 2000–2003 Avoidable Taxes and Fees.”2335 If Yukos had paid its taxes and filed
        appropriate returns during the first quarter of 2004, Respondent says it “would have survived as
        a going concern and still could have pursued a claim for a refund of any amounts the courts
        found it did not need to pay.”2336 Accordingly, the “loss of all value of Yukos” would be “the


2329
       Counter-Memorial ¶ 1632; Rejoinder ¶¶ 1655–57.
2330
       Counter-Memorial ¶ 1630. See also Respondent’s Post-Hearing Brief ¶ 246; Second Dow Report ¶ 452.
2331
       Counter-Memorial ¶ 1630; Rejoinder ¶ 1647.
2332
       Counter-Memorial ¶ 1630.
2333
       Ibid. ¶ 1602.
2334
       Rejoinder ¶ 1729.
2335
       Ibid. ¶ 1730. See also Respondent’s Post-Hearing Brief ¶ 220.
2336
       Respondent’s Post-Hearing Brief ¶¶ 220–22, 250.




                                                         - 541 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 562 of 617




        consequence of the contributory fault and the failure to mitigate of Yukos, under the control of
        Claimants.”2337

1755. Respondent claims that, as a consequence, “Claimants’ maximum damage claim is for their
        proportion of the harm (if any) Yukos would have suffered if the assessment and payment of
        the 2000–2003 Unavoidable Taxes were deemed to constitute a violation of the ECT.”2338
        Respondent calculates this “maximum damage” as amounting to USD 6.27 billion.2339


        5.      Windfall and Double-Recovery

1756. In addition, Respondent claims that any calculation of damages should take into account any
        previous benefits obtained by Claimants from their investments in Russia, so as to prevent any
        “double-recovery.”2340        Respondent contends that granting Claimants the damages sought
        “would be a massive windfall to Claimants, who have already received far more from their
        investment in Yukos than they would have received had they invested in a comparable Russian
        oil company during the same period.”2341 Respondent also suggests that, had the market known
        of “Yukos’ lack of transparency, its disregard of minority interests, and its failures of corporate
        governance, not to mention its internal documents acknowledging the civil and criminal
        exposure it faced from its massive tax fraud, Yukos would not have experienced the share
        appreciation . . . on which Claimants’ damages claim depends.”2342            As a consequence,
        Respondent claims that “the market metrics . . . are not fair indicators of value and cannot be
        relied upon by the Tribunal.”2343

1757. Respondent concludes that “any damages award should provide for no more than a reasonable
        rate of return.”2344 Since Claimants would “have already gained that return through Yukos’
        dividends and share repurchases, . . . hundreds of millions of dollars worth of Russian taxes




2337
       Ibid. ¶ 250.
2338
       Rejoinder ¶ 1732. See also Respondent’s Post-Hearing Brief ¶¶ 220, 233, 252.
2339
       Respondent’s Post-Hearing Brief ¶ 252. See also Transcript, Day 19 at 270.
2340
       Counter-Memorial ¶ 1648.
2341
       Respondent’s Post-Hearing Brief ¶ 232 (footnote omitted).
2342
       Ibid. ¶ 261.
2343
       Ibid. ¶ 261.
2344
       Ibid. ¶ 233. See ¶¶ 254–62.




                                                         - 542 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 563 of 617




        they evaded through abuse of the [Cyprus-Russia DTA], and all the assets that were stripped
        from Yukos,” the “proper measure of damages in this case” would in any event be “zero.”2345


C.      TRIBUNAL’S ANALYSIS AND DECISION

1758. Having reviewed and considered the Parties’ submissions and their experts’ reports, the
        Tribunal will now determine the damages suffered by Claimants as a result of Respondent’s
        unlawful expropriation of Yukos’ assets in breach of Article 13 of the ECT.


        1.      Valuation Date

1759. With regard to the date of valuation, the Tribunal needs to address two issues, namely (a) the
        date of the expropriation of Claimants’ investment by Respondent, and (b) whether Claimants
        are entitled to choose between a valuation based on that date of expropriation and a valuation
        based on the date of the award. Each of these questions is addressed in turn.


                (a)    The Date of the Expropriation

1760. As noted earlier, Claimants have advanced the date of 21 November 2007, the day on which
        Yukos was struck off the Russian register of legal entities, as the date of the expropriation of
        their investment, and have performed their main damages analysis based on a valuation of their
        shares in Yukos as of that date.

1761. The Tribunal agrees with Respondent that the date of 21 November 2007 cannot be the date of
        Yukos’ expropriation. The Tribunal observes that both Parties are agreed that, in principle, in
        the event of an expropriation through a series of actions, the date of the expropriation is the date
        on which the incriminated actions first lead to a deprivation of the investor’s property that
        crossed the threshold and became tantamount to an expropriation.2346 This is the date that is
        relevant for the determination of the Tribunal.

1762. The Tribunal finds that the threshold to the expropriation of Claimants’ investment was crossed
        earlier than in November 2007. On the basis of the record, it is clear to the Tribunal that a
        substantial and irreversible deprivation of Claimants’ assets occurred on 19 December 2004,


2345
       Ibid. ¶ 262.
2346
       Memorial ¶ 912, n.1314; Reply ¶ 940; Rejoinder ¶ 1666; Respondent’s Post-Hearing Brief ¶ 238.




                                                        - 543 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 564 of 617




        the date of the YNG auction. YNG was Yukos’ main production asset and its loss, with the
        conclusion of the auction on that date, marked a substantial and irreversible diminution of
        Claimants’ investment.2347 This conclusion of the Tribunal is confirmed by statements made by
        Claimants in December 2004 to the effect that they had “lost the power to govern the financial
        and operating policies of Yukos so as to obtain the benefits from its activities” and that Yukos
        had become “incapable of operating as a business.”2348 The date of the expropriation of
        Claimants’ investment is therefore determined by the Tribunal to be 19 December 2004.


                (b)    The Possibility for Claimants to Choose Between a Valuation as of the Date of
                       Expropriation and a Valuation as of the Date of the Award

1763. The Tribunal also holds that, in the case of an unlawful expropriation, as in the present case,
        Claimants are entitled to select either the date of expropriation or the date of the award as the
        date of valuation.

1764. As the Tribunal noted earlier, Respondent, relying on the opinion of its expert on damages,
        maintains that Claimants may not make such a choice and that there is a preference amongst
        economists for what he refers to as an “ex ante” approach to the evaluation of damages.2349 In
        support of his opinion, Professor Dow relies on a single article published in an economics
        journal in 1990.2350

1765. Neither the text of Article 13 of the ECT nor its travaux provide a definitive answer to the
        question of whether damages should be assessed as of the date of expropriation or the date of
        the award. The text of Article 13, after specifying the four conditions that must be met to
        render an expropriation lawful, provides that for “such” an expropriation, that is, for a lawful
        expropriation, damages shall be calculated as of the date of the taking. A contrario, the text of
        Article 13 may be read to import that damages for an unlawful taking need not be calculated as
        of the date of taking. It follows that this Tribunal is not required by the terms of the ECT to
        assess damages as of the time of the expropriation. Moreover, conflating the measure of



2347
       See Subsection VIII.F.3(c) above.
2348
       YUL (and its subsidiaries), Annual Report and Consolidated Financial Statements for The Year Ended 31 December
       2004, Exh. R-4229. See also Rejoinder ¶ 1673.
2349
       First Dow Report ¶ 13.
2350
       Franklin M. Fisher and R. Craig Romaine, Janis Joplin’s Yearbook and the Theory of Damages, Journal of
       Accounting, Auditing and Finance (1990), p. 153, Exh. R-1980.




                                                       - 544 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 565 of 617




      damages for a lawful taking with the measure of damages for an unlawful taking is, on its face,
      an unconvincing option.

1766. In the view of the Tribunal, and in exercise of the latitude that the terms of Article 13 of the
      ECT afford it in this regard, the question of whether an expropriated investor is entitled to
      choose between a valuation as of the expropriation date and the date of an award is one best
      answered by considering which party should bear the risk and enjoy the benefits of
      unanticipated events leading to a change in the value of the expropriated asset between the time
      of the expropriatory actions and the rendering of an award. The Tribunal finds that the
      principles on the reparation for injury as expressed in the ILC Articles on State Responsibility
      are relevant in this regard. According to Article 35 of the ILC Articles, a State responsible for
      an illegal expropriation is in the first place obliged to make restitution by putting the injured
      party into the position that it would be in if the wrongful act had not taken place. This
      obligation of restitution applies as of the date when a decision is rendered. Only to the extent
      where it is not possible to make good the damage caused by restitution is the State under an
      obligation to compensate pursuant to Article 36 of the ILC Articles on State Responsibility.

1767. The consequences of the application of these principles (restitution as of the date of the
      decision, compensation for any damage not made good by restitution) for the calculation of
      damages in the event of illegal expropriation are twofold. First, investors must enjoy the
      benefits of unanticipated events that increase the value of an expropriated asset up to the date of
      the decision, because they have a right to compensation in lieu of their right to restitution of the
      expropriated asset as of that date. If the value of the asset increases, this also increases the
      value of the right to restitution and, accordingly, the right to compensation where restitution is
      not possible.

1768. Second, investors do not bear the risk of unanticipated events decreasing the value of an
      expropriated asset over that time period. While such events decrease the value of the right to
      restitution (and accordingly the right to compensation in lieu of restitution), they do not affect
      an investor’s entitlement to compensation of the damage “not made good by restitution” within
      the meaning of Article 36(1) of the ILC Articles on State Responsibility. If the asset could be
      returned to the investor on the date where a decision is rendered, but its value had decreased
      since the expropriation, the investor would be entitled to the difference in value, the reason
      being that in the absence of the expropriation the investor could have sold the asset at an earlier
      date at its previous higher value. The same analysis must also apply where the asset cannot be
      returned, allowing the investor to claim compensation in the amount of the asset’s higher value.


                                                 - 545 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 566 of 617




1769. It follows for the several reasons stated above that in the event of an illegal expropriation an
        investor is entitled to choose between a valuation as of the expropriation date and as of the date
        of the award. The Tribunal finds support for this conclusion in the fact that this approach has
        been adopted by tribunals in a number of recent decisions dealing with illegal expropriation.2351
        One of these tribunals, in Ioannis Kardassopoulous and Ron Fuchs v. The Republic of Georgia,
        so interpreted the ECT.2352


        2.       Causation

1770. The Parties disagree with regard to the requirements for showing the causation of damages.2353
        The Tribunal finds it useful to address the Parties’ views on this matter in two steps. First, the
        Tribunal will address the requirements for showing the causation of damages where several
        actions are invoked at the same time. Second, it will deal with the consequences of damage
        being caused by several actions, only some of which are breaches attributable to the respondent
        party.


                 (a)   Causation and Reliance on Multiple Actions

1771. Claimants assert that “a causal link needs only be established between the actions of the
        Russian Federation taken as a whole and Claimants’ damages” and that “[t]his causal link is
        obvious.”2354 Respondent takes the view that, by simply asserting a link between the totality of
        a number of “bad acts” and the damage, Claimants put themselves in a position where they
        have to show that “all of the scores of alleged ‘bad acts’ were [treaty] violations.”2355

1772. The Tribunal holds that Claimants do, in fact, establish that a specific series of actions of
        Respondent, consisting of the 2000–2004 tax assessments against Yukos and the subsequent
        enforcement measures (including the forced auction of YNG), constituted an illegal

2351
       See e.g., ADC ¶¶ 496–97, Exh. C-980; Siemens ¶ 352, Exh. C-983; Amoco, pp. 300–301, Exh. C-939. See also
       Marboe ¶ 3.287, Exh. C-1607.
2352
       Kardassopoulos ¶ 514, Exh. C-1533.
2353
       Reply ¶ 911 (Claimants assert that “a causal link needs only be established between the actions of the Russian
       Federation taken as a whole and the Claimants’ damages” and that “[t]his causal link is obvious.”). See also
       Claimants’ Post-Hearing Brief ¶ 191. By contrast, see Counter-Memorial ¶ 1619 (Respondent takes the view that, by
       simply asserting a link between the totality of a number of “bad acts” and a damage, Claimants put themselves in a
       position where they have to show that “all of the scores of alleged ‘bad acts’ were [treaty] violations.”). See also
       Counter-Memorial ¶ 1628
2354
       Reply ¶ 911. See also Claimants’ Post-Hearing Brief ¶ 191.
2355
       Counter-Memorial ¶ 1619. See also Counter-Memorial ¶ 1628.




                                                         - 546 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 567 of 617




        expropriation of Claimants’ investment, and that this expropriation caused Claimants damage.
        In particular, the 2000–2004 tax assessments were actions that contributed to the expropriation
        of Claimants’ investment, and without these assessments, the damage to Claimants would not
        have occurred. While other actions taken by Respondent may or may not have contributed to a
        violation of the ECT’s standards, showing that they did is not required for establishing
        causation with regard to the damage suffered by Claimants. All of the heads of damage
        subsequently identified by the Tribunal are consequences of the 2000–2004 tax assessments
        that led to the expropriation of Claimants’ investment, and this expropriation was clearly a
        breach of Article 13 ECT.


               (b)     Multiple Causes for the Same Damage

1773. The Parties also do not agree with regard to the consequences of damage being caused by
        several events, where only some of those events are breaches attributable to a respondent party.
        Respondent appears to suggest that concurrent causation of a particular line of damage by
        Claimants’ own conduct, the conduct of third parties and conduct of Respondent that is not
        wrongful should exclude Respondent’s responsibility for that damage,2356 and that Claimants
        bear the burden of showing that no such causation exists.2357 The Tribunal does not agree with
        that argument.

1774. In this regard, the Tribunal finds it instructive to look to the ILC Articles on State
        Responsibility. Article 31 of the ILC Articles provides that “[t]he responsible State is under an
        obligation to make full reparation for the injury caused.”2358 The official commentary to this
        provision notes that “[o]ften two separate factors combine to cause damage,” before pointing
        out that:

               Although, in such cases, the injury in question was effectively caused by a combination of
               factors, only one of which is to be ascribed to the responsible State, international practice
               and the decisions of international tribunals do not support the reduction or attenuation of
               reparation for concurrent causes, except in cases of contributory fault. . . . Such a result
               should follow a fortiori in cases where the concurrent cause is not the act of another
               State . . . but of private individuals. . . . [U]nless some part of the injury can be shown to




2356
       Respondent’s Post-Hearing Brief ¶ 234. See also Counter-Memorial ¶ 1619; Rejoinder ¶ 1719. Claimants do not
       specifically address this point.
2357
       Rejoinder ¶ 1719.
2358
       Exh. R-1031.




                                                      - 547 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 568 of 617




                be severable in causal terms from that attributed to the responsible State, the latter is held
                responsible for all the consequences, not being too remote, of its wrongful conduct.2359

1775. As the commentary makes clear, the mere fact that damage was caused not only by a breach,
        but also by a concurrent action that is not a breach does not, as such, interrupt the relationship
        of causation that otherwise exists between the breach and the damage. Rather, it falls to the
        Respondent to establish that a particular consequence of its actions is severable in causal terms
        (due to the intervening actions of Claimants or a third party) or too remote to give rise to
        Respondent’s duty to compensate.                  As the Tribunal considers that Respondent has not
        demonstrated this with regard to any of the heads of damage identified in the remainder of this
        Chapter, the Tribunal holds that causation exists between the damage and Respondent’s
        expropriation of Claimants’ investment.2360


        3.      Failure of Claimants to Mitigate

1776. Respondent asserts that Claimants could have significantly mitigated their damages by taking a
        few simple steps in the first quarter of 2004, namely by paying the taxes then assessed against
        Yukos, filing amended VAT returns in Yukos’ name, and filing amended tax returns for the
        years 2000–2002 and a tax return for 2003 recognizing all of Yukos’ income without assigning
        it to its trading entities. The Tribunal has considered each of the actions Respondent suggests
        Claimants should have taken (set out in paragraphs 679–80, 745–48 and 934–35 above) and has
        concluded that the suggested actions would not ultimately have made a difference to the
        enforcement measures subsequently taken by the Russian Federation. As seen in Part VIII
        above, the measures taken by the Russian Federation demonstrate that its primary objective was
        to bankrupt Yukos and appropriate its assets and that it was determined to do whatever was
        necessary to achieve this purpose. In light of this finding, the Tribunal cannot accept that by
        paying the taxes then assessed or re-filing VAT and tax returns in early 2004, Claimants could
        have deterred Respondent in the pursuit of its objective.


        4.      The Methodology Followed by the Tribunal

1777. Having made these determinations in respect of the valuation dates, causation and mitigation,
        the Tribunal now turns to the specific methodology of establishing the damages in this

2359
       Ibid. ¶¶ 12–13 (footnotes omitted), Exh. R-1031.
2360
       Claimants’ contributory fault and the associated reduction of the damages suffered has already been addressed above
       in Chapter X.E.




                                                           - 548 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 569 of 617




        arbitration. As an initial matter, the Tribunal observes that, since it has decided that Claimants
        are entitled to the higher of the damages determined as of the date of expropriation and as of the
        date of the award, the Tribunal must establish the total amount of damages caused by
        Respondent’s actions on each of the two valuation dates identified, namely the date of the YNG
        auction and the date of this Award. For purposes of the Tribunal’s calculations, the date of the
        Award will be deemed to be 30 June 2014. Claimants will be entitled to the higher of these two
        figures, subject to the deduction of 25 percent for contributory fault.2361

1778. On each of these valuation dates, Claimants are entitled to the following heads of damages:
        (1) the value of Claimants’ shares in Yukos valued as of the valuation date; (2) the value of the
        dividends that the Tribunal determines would have been paid to Claimants by Yukos up to the
        valuation date but for the expropriation of Yukos; and (3) pre-award simple interest on these
        amounts.

1779. By contrast, the Tribunal considers that a potential listing of Yukos on the NYSE and the
        benefits that Claimants might have derived from such a listing are too uncertain to be taken into
        account for purposes of calculating Claimants’ damages. This element of Claimants’ damages
        case is therefore rejected.

1780. The Tribunal also finds that the assessment of Claimants’ damages must be based on their
        shareholding in Yukos, without taking into account the potential effects of a completed merger
        between Yukos and Sibneft.         The Tribunal has not been convinced, on the balance of
        probabilities, that in the absence of Respondent’s expropriatory actions, the envisaged merger
        would have been completed;2362 indeed, the Tribunal considers that assuming a completed
        merger in the “but for” scenario is too speculative. As a consequence, the Tribunal rejects
        Claimants’ first damages scenario, notably the valuation of Claimants’ share in YukosSibneft.

1781. Before turning to the calculation of the damages components for the two relevant valuation
        dates, the Tribunal explains in the following subsections the methodology it has decided to
        adopt for valuing Yukos on each of the given dates, and the basis on which it has determined
        the amount of dividends that would likely have been paid to Claimants, in the “but for”
        scenario, prior to each of the valuation dates.



2361
       See Chapter X.E.
2362
       See Chapter VIII.D.




                                                   - 549 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 570 of 617




                (a)    Valuation of Yukos

1782. As set out earlier in this chapter, for purposes of the damages calculation, the Tribunal has
        decided that the relevant valuation dates are the date of the YNG auction and the date of this
        Award. However, the starting point for the Tribunal’s analysis must be the calculations done
        by Claimants as of their suggested valuation date of 21 November 2007. Claimants have put
        forward alternative valuations of Yukos as of that date calculated on the basis of various
        valuation methods. These methods and the valuations of Yukos derived from them (in USD
        billion) are summarized in the following table:2363

                   DCF method                                                                       88.5932364
                   Comparable companies method                                                      92.9242365
                   Comparable transactions method                                                   87.6202366
                   Rosneft’s market capitalization on 21 November 2007, adjusted                    83.072367
                   Yukos’ market capitalization on 24 October 2003 adjusted pursuant to             104.8352368
                   development of Urals Blend price index
                   Yukos’ market capitalization on 24 October 2003 adjusted pursuant to             74.1912369
                   development of RTS Oil & Gas index
                   Yukos’ market capitalization on 24 Oct 2003 adjusted pursuant to                 129.0282370
                   development of Lukoil’s market capitalization
                   Implied value of YNG based on share swap between Rosneft and Yukos               75.6572371
                   in October 2006 (adjusted pursuant to development of RTS Oil & Gas
                   index) and proceeds from auctions of non-YNG assets in 2007


1783. Respondent has not put forward a methodology for valuating Yukos or any valuation figures of its
        own. However, Professor Dow has provided a “corrected” version of Claimants’ comparable
        companies analysis, making adjustments for what he considered to be the principal errors
2363
       For any of these valuations, Claimants’ respective damages (under this head of damage) would correspond to their pro
       rata stake in the outstanding shares of Yukos, which were 56.3 percent for Hulley, 2.6 percent for YUL and 11.6
       percent for VPL (a total of 70.5 percent for Claimants taken together). All figures are in USD.
2364
       Second Kaczmarek Report, p. 11, Table 3; ¶ 69.
2365
       Second Kaczmarek Report, p. 11, Table 3; p. 38, Table 24..
2366
       Second Kaczmarek Report, p. 11, Table 3; p. 39, Table 25.
2367
       Claimants’ Post-Hearing Brief ¶ 263; Exh. C-1785. The equity value has been obtained from the enterprise value
       assumed by Claimants (USD 92.3 billion) on the basis of an assumed 90/10 equity/capital structure. See Exh. C-1784.
2368
       Claimants’ Post-Hearing Brief ¶ 261; Exh. C-1785.
2369
       Claimants’ Post-Hearing Brief ¶ 261; Exh. C-1785. The RTS Oil and Gas index is built up of the prices of Russian
       share companies in the oil and gas sector. Transcript, Day 12 at 68 (Professor Dow).
2370
       Claimants’ Post-Hearing Brief ¶ 261; Exh. C-1785.
2371
       Claimants’ Post-Hearing Brief ¶ 262; Exhs. C-1784, C-1785.




                                                           - 550 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 571 of 617




        contained therein.2372 Based on these adjustments, Respondent’s expert arrives—in orally
        advancing what “could be” a “useful” evaluation—at a “corrected” enterprise value of Yukos, as
        of 21 November 2007, in the amount of USD 67.862 billion.2373 Assuming a 90/10 equity/debt
        capital structure of Yukos, this corresponds to an equity value of Yukos, as of 21 November
        2007, of approximately USD 61.076 billion. 2374

1784. Having considered the extensive expert evidence presented by Mr. Kaczmarek and Professor
        Dow, including the written evidence in the two expert reports that each submitted (with detailed
        accompanying annexes and appendices), and the testimony that was elicited from them during
        the Hearing, the Tribunal concludes, for the reasons set out below, that the “corrected”
        comparable companies figure is the best available estimate for what Yukos would have been
        worth on 21 November 2007 but for the expropriation.

1785. The Tribunal finds that neither of the other two primary valuation methods put forward by
        Claimants is sufficiently reliable to ground a determination of damages for this case. On
        balance, the Tribunal was persuaded by Professor Dow’s analysis of Claimants’ DCF model,
        and is compelled to agree that little weight should be given to it. The Tribunal observes that
        Claimants’ expert admitted at the Hearing that his DCF analysis had been influenced by his
        own pre-determined notions as to what would be an appropriate result.2375 Similarly, the
        Tribunal can put little stock in Claimants’ calculations based on the comparable transactions
        method, since both Parties agree that, in fact, there were no comparable transactions,2376 and
        thus no basis that would allow a useful comparison.

1786. As for the remaining valuation methods put forward by Claimants, and the valuations of Yukos
        generated by them, the Tribunal notes that Claimants use these secondary valuations primarily
        in support of their main valuation. Moreover, some of these figures were only introduced by
        Claimants at a very late stage of the proceedings (through demonstrative exhibits at the Hearing
        and in Claimants’ Post-Hearing Brief2377) and could therefore not be properly addressed by


2372
       Second Dow Report ¶ 417.
2373
       Ibid. ¶ 444; p. 182, Figure 67; p. 195, Figure 73; Appendix 16.1. See also Transcript, Day 12 at 47 (Professor Dow).
2374
       A 90/10 equity/capital structure corresponds to the assumption made by Claimants for purposes of their calculations.
       See Exh. C-1784.
2375
       Transcript, Day 11 at 190.
2376
       Memorial ¶ 945; Respondent’s Post-Hearing Brief ¶ 242.
2377
       Claimants’ Post-Hearing Brief ¶¶ 261–63; Exh. C-1785.




                                                          - 551 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 572 of 617




        Respondent. Accordingly, the Tribunal finds that none of these secondary valuation methods
        can serve as a suitable independent basis for determining the value of Yukos.

1787. By contrast to all of the other methods canvassed above, the Tribunal does have a measure of
        confidence in the comparable companies method as a means of determining Yukos’ value.
        While Professor Dow stated at the Hearing that he had not performed an analysis sufficient to
        fully endorse the figure resulting from his corrections to Claimants’ comparable companies
        approach, he agreed that it “could be a useful valuation.”2378 The Tribunal for its part finds that
        the comparable companies method is, in the circumstances, the most tenable approach to
        determine Yukos’ value as of 21 November 2007, and therefore the starting point for the
        Tribunal’s further analysis.

1788. The next step for the Tribunal consists in determining the value of Yukos as of the relevant
        valuation dates by adjusting Yukos’ value as of November 2007 on the basis of the
        development of a relevant index. Having considered the various options in this regard, the
        Tribunal finds that the RTS Oil and Gas index is the most appropriate index for that purpose.
        The RTS Oil and Gas index is based on prices of trades executed in securities admitted to
        trading on the Moscow Stock Exchange2379 and presently includes preferred or common shares
        of nine Russian oil and gas companies, the most important of which are Gazprom, Lukoil,
        Novatek, Rosneft and Surgutneftegas.2380 The methodology for establishing the index as well
        as its current and historical values are transparent and publicly available on the webpage of the
        Moscow Stock Exchange.2381 Both Parties have referred to the RTS Oil & Gas index as a
        reliable indicator reflecting the changes in the value of Russian oil and gas companies2382 and
        have used it in their calculations to carry forward certain valuations from one date to
        another.2383


2378
       Transcript, Day 12 at 47.
2379
       “Methodology of the Moscow Exchange Sector Indices calculation,” March 2013 ¶ 1.1, available at
       http://fs.moex.com/files/4032 (last accessed 4 July 2014).
2380
       Preferred or common shares in each of these companies are weighted as 15 percent of the index’s total. See
       “Constituents of Sectoral Indices valid from December 17, 2013 to March 17, 2014,” available at
       http://moex.com/s933 (last accessed 4 July 2014).
2381
       http://fs.moex.com/files/4032 (last accessed 4 July 2014).
2382
       Transcript, Day 12 at 67–68 (Professor Dow); Claimants’ Post-Hearing Brief ¶ 260.
2383
       Second Kaczmarek Report ¶ 134, n.282 (carrying forward a valuation of certain Yukos assets from November 2007 to
       December 2005); Second Dow Report ¶ 519 and Appendix 15.2 (carrying forward a valuation of Tomskneft and
       Samareneftegaz from November 2007 to May 2007); Appendix 28.3 (carrying forward a valuation of certain Yukos
       assets from November 2007 to December 2004).




                                                           - 552 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 573 of 617




1789. In order to determine the value of Yukos on each of the two valuation dates, the Tribunal will
        now adjust Yukos’ value as of 21 November 2007 (USD 61.076 billion) by multiplying it by a
        factor that reflects the change in the RTS Oil and Gas index between 21 November 2007 and
        each of the two valuation dates. This adjustment factor is calculated and applied for each of the
        two valuation dates in subections 5(a) and 5(b) below.

1790. Having explained the Tribunal’s methodology in respect of the first head of damage (the
        valuation of Yukos on each of the valuation dates), the Tribunal will now explain the basis on
        which it has determined the value of “lost” dividends, namely the dividends that would likely
        have been paid to Claimants, in the “but for” scenario, prior to each of the valuation dates.


               (b)     Valuation of Lost Dividends

1791. A second element of the damages suffered by Claimants as a result of Respondent’s
        expropriation of their investment is the loss of dividends that would otherwise have been paid
        to them as Yukos shareholders. For each valuation calculated as of the two valuation dates, the
        Tribunal must determine the value of the lost dividends up to each date, since the value of
        Yukos as of that date, while it captures the expectations of future profit, does not capture any of
        the past profit that the company would likely have generated.

1792. The Tribunal recalls that the two valuation dates are the date of the YNG auction (19 December
        2004) and the date of this Award (deemed to be 30 June 2014 for valuation purposes). For the
        first valuation date, the Tribunal must therefore determine the value of the lost dividends up to
        19 December 2004; for the second valuation date, the Tribunal must determine the value of the
        lost dividends up to 30 June 2014.

1793. The starting point for the Tribunal’s analysis are the “Yukos lost cash flows” (i.e., free cash
        flow to equity) that Claimants’ expert calculated with respect to his valuation of Claimants’
        damages. In his first report, Mr. Kaczmarek values Yukos as of 21 November 2007 only, and
        therefore produces a model of “lost cash flows” that does not extend beyond that date.2384 The
        “lost cash flows” between 2004 and 21 November 2007 are presented as being based on actual
        historical information, as opposed to the cash flows included in Mr. Kaczmarek’s DCF model




2384
       First Kaczmarek Report, Appendix J.1.




                                                  - 553 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 574 of 617




        for the period 21 November 2007 through the end of 2015, which are based on forecasts and
        projections built up from information available prior to the period.2385

1794. In his second report, Mr. Kaczmarek updates his valuation of Yukos as of November 2007
        (including his presentation of “lost cash flows” to that date),2386 but also presents, for the first
        time, a valuation of Yukos as of 1 January 2012 (as a proxy for the valuation of Yukos as of the
        date of the Award).2387 For purposes of the valuation as of 1 January 2012, Mr. Kaczmarek
        produces a model of “lost cash flows” that extends from 2004 through to the end of 2011.2388
        The “lost cash flows” between 2004 and 2011 are presented as being based on actual historical
        information, as opposed to the cash flows included in Mr. Kaczmarek’s DCF model for the
        period 2012 through the end of 2019, which are based on forecasts and projections built up
        from information available prior to the period.2389

1795. The Tribunal observes that no free cash flow to equity figures are provided by Claimants’
        expert for the years 2012 to 2014.              While Claimants offered to update their damages
        calculations at a date closer to the Award,2390 the Tribunal has been able to establish the
        relevant figures on the basis of Mr. Kaczmarek’s methodology, using data provided elsewhere
        in Mr. Kaczmarek’s reports.          The Tribunal’s calculations are set out in Tables T4 to T6,
        attached to the Award, and explained in greater detail in the following paragraphs.

1796. To calculate Yukos’ free cash flow to equity, Mr. Kaczmarek uses the following formula: Free
        cash flow to equity = Free cash flow to the firm – Tax-adjusted interest payments + Change in
        net debt + 20 percent of Sibneft dividends.2391 Mr. Kaczmarek provides figures regarding the
        free cash flow to the firm and the tax-adjusted interest payments for the relevant time period in
        Appendix AJ.2 to his second report.2392 In addition, in note (5) to Appendix AJ.1 to his second
        report, Mr. Kaczmarek defines Yukos’ annual change in net debt as the annual change in



2385
       Ibid., Appendix J.2.
2386
       Second Kaczmarek Report, Appendix J.1–updated.
2387
       Ibid. ¶ 155.
2388
       Ibid., Appendix AJ.1.
2389
       Ibid., Appendix AJ.2.
2390
       Reply ¶ 946; Second Kaczmarek Report ¶ 155.
2391
       Second Kaczmarek Report, Appendix AJ.1.
2392
       Tables T4 and T5 attached to the Award.




                                                        - 554 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 575 of 617




        Yukos’ long-term debt plus its short-term debt less its cash.2393 Mr. Kaczmarek provides these
        figures in Appendix AJ.4 to his second report.2394 With regard to the Sibneft dividends,
        Mr. Kaczmarek provides figures for years 2004 through 2011 in Appendix AJ.1 to his second
        report.2395     For the years 2012 through 2014, the Tribunal has assumed that the Sibneft
        dividends would have been equal to those paid in 2010, the last year for which Mr. Kaczmarek
        has provided an annual figure (his figure for 2011 being based on annualized third quarter
        figures).

1797. With these additional numbers calculated by the Tribunal, on the basis of data and formulas set
        out in Mr. Kaczmarek’s reports, the Tribunal is able to arrive at numbers for Yukos’ “lost cash
        flows” (i.e., free cash flows to equity) for the entire period extending from 2004 through 2014.
        The Tribunal then, in principle, has the input it needs in order to determine the lost dividends
        for each of the valuation dates: for the first valuation date (the date of the YNG auction), the
        Tribunal can therefore arrive at a value (based on Mr. Kaczmarek’s model) for the lost
        dividends up to 19 December 2004; and for the second valuation date (the date of the Award),
        the Tribunal can also arrive at a value (based on Mr. Kaczmarek’s model) of the lost dividends
        up to 30 June 2014. The Tribunal notes that the total amount of lost dividends, based on
        Mr. Kaczmarek’s model, for the period from 2004 to 30 June 2014, is USD 67.213 billion.2396

1798. As mentioned earlier, however, Claimants’ calculation of Yukos’ lost cash flows is merely a
        starting point for the Tribunal’s determination of what it views as the correct estimate of the
        dividends that Claimants would have earned from Yukos in the “but for” scenario.                                      As
        explained in the following paragraphs, several fundamental considerations lead the Tribunal to
        modify the calculations of Claimants’ expert.

1799. Firstly, although Yukos’ lost cash flows determined by Mr. Kaczmarek are based in part on
        actual historical information (i.e., largely information about the performance of Yukos’ former
        assets disclosed by Rosneft in its financial reports),2397 the Tribunal is unable to dissociate them


2393
       Table T5 attached to the Award.
2394
       Table T6 attached to the Award.
2395
       Second Kaczmarek Report, Appendix AJ.1.
2396
       The relevant calculations with regard to both dividends and interest are set out in Table T3 attached to this Award.
2397
       See e.g., Second Kaczmarek Report, Appendix AJ.8, nn.6–8 (which indicate that actual tariff rates and tax expenses,
       as reported by Rosneft, are used for the 2004–2011 period). See also Second Kaczmarek Report, Appendix AJ.9, n.2
       (which indicates that “[f]or the period 2004–2011, the crude sales percentages are based on actual crude sales as
       reported by Rosneft and Lukoil”).




                                                           - 555 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 576 of 617




        from Claimants’ DCF model, which was convincingly criticized by Respondent’s expert and its
        counsel.

1800. In his second report, Professor Dow identifies and explains a “series of errors” embedded in
        Claimants’ DCF valuation of Yukos.2398 His “corrections” of those errors result in a very
        substantial reduction (51 percent) in the valuation of Yukos generated by the DCF model.
        Although not all of those “corrections” apply to the cash flows discussed above, which are
        based in part on actual historical information (and thus are not plagued by some of the errors
        associated with forecasts and projections), some of the “corrections”ʊnotably those related to
        the interpretation of the historical informationʊin the view of the Tribunal, do impact the cash
        flows.

1801. For example, the Tribunal accepts Professor Dow’s opinion that Claimants have underestimated
        Yukos’ transportation costs (by implicitly assuming that, in the “but for” scenario, “Yukos
        would have been able to capture the efficiencies of Rosneft’s proprietary pipeline network”).2399
        The Tribunal also accepts Professor Dow’s opinion that Claimants’ model overlooks certain
        operating expenses of Yukos, thus evidencing a “basic flaw” in Claimants’ DCF model, namely
        that there is “no systematic attempt” to ensure that all of Yukos’ costs have been accounted
        for.2400

1802. Although, for the reasons stated above, the Tribunal does not consider it appropriate to accept
        all of Professor Dow’s “corrections” for purposes of the valuation of the dividends, the
        Tribunal notes that the spreadsheets submitted by Respondent’s expert with his Second Report
        allow the Tribunal to calculate “corrected” free cash flow to equity figures for the relevant
        years.2401 While Respondent’s expert has not explicitly endorsed this “corrected” version as
        representing his views with regard to Yukos’ free cash flow to equity, it is evident to the
        Tribunal that it represents a figure that is more in line with his views. According to this
        “corrected” methodology, Yukos’ dividends in 2004 would have been USD 3.218 billion




2398
       Second Dow Report ¶¶ 237–317.
2399
       Ibid. ¶ 256.
2400
       Ibid. ¶ 277.
2401
       Second Dow Report, Appendix 1 (in Excel format). The results obtained by switching the values in the “Corrected?”
       column on the first sheet of Appendix 1 (Appendix 1.1) from 0 to 1 (meaning that the corrections are applied) in
       sheets 2 and 3 (Appendix J.1 and Appendix J.2) are reproduced in Annex A1 to this Award.




                                                        - 556 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 577 of 617




        (instead of USD 3.645 billion), and the sum of Yukos’ dividends over the period from 2004
        through the first half of 2014 would have been USD 49.293 billion (instead of USD 67.213).2402

1803. The Tribunal has formed the view that Professor Dow’s corrections, however, do not take into
        account all the risks that Yukos would have had to contend with in carrying on business during
        the period 2004 through to the present if the company had not been expropriated. The Tribunal
        agrees with Respondent that “an expropriation relieves the owner not only of the value of the
        asset on the date of expropriation, but also of the risk associated with owning it.”2403
        Accordingly, in any model of the cash flows that would have been generated by Yukos had it
        not been expropriated (i.e., the cash flows in a “but for” scenario), it is necessary to take into
        account the risks to those cash flows that were eliminated by the expropriation. Those risks
        must be factored back into the cash flow model in the “but for” scenario.

1804. The Tribunal observes that Mr. Kaczmarek’s cash flow model does not factor in those risks in
        his calculations. To the contrary, Mr. Kaczmarek models Yukos’ financial performance after
        the date of expropriation based, in large measure, on the results achieved by Yukos’ assets
        in the hands of Rosneft.2404 As Respondent rightly submits, “Mr. Kaczmarek effectively valued
        Yukos as if it were a State-owned strategic enterprise, which it never was.”2405

1805. The first significant risk that, in the Tribunal’s view, is not adequately accounted for in the cash
        flow models of either expert is the real risk of substantially higher taxes. Since taxes other than
        income taxes (also referred to as “non-income taxes”) consistently account for well over
        50 percent of Yukos’ net income from year to year,2406 Yukos’ cash flows could be significantly
        affected by any increases in the tariffs and rates relating to the non-income taxes.2407 In
        Mr. Kaczmarek’s model, the taxes that are established annually by legislation (such as the
        export customs duty and domestic excise tax for refined products) are based on actual historical
        data (if available) and, for the forecast period, are based on the prior year’s tax rate plus an
        adjustment to account for annual inflation.2408 In other words, there is no accounting for the

2402
       The relevant calculations with regard to both dividends and interest are set out in Table T3 attached to this Award.
2403
       Respondent’s Post-Hearing Brief ¶ 239.
2404
       Second Kaczmarek Report, Appendix AJ and related Appendices.
2405
       Respondent’s Post-Hearing Brief ¶ 242.
2406
       See line items for “taxes other than income tax” and “net income” in Second Kaczmarek Report, Appendix AJ.3.
2407
       See breakdown of Yukos’ non-income taxes (including crude oil unified mineral extraction tax, export customs duties,
       and various excise taxes) and associated tariffs and rates. Second Kaczmarek Report, Appendix AJ.8.
2408
       First Kaczmarek Report ¶ 259.




                                                           - 557 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 578 of 617




        possibilityʊeven likelihoodʊthat had Yukos remained in private hands, the State would have
        increased taxes, perhaps even substantially, in order to capture a greater share of the rent earned
        from the exploitation of Russia’s natural resources. Yet, the record shows that this is precisely
        what the Russian Federation did in 2002 and 2003, when Yukos was still in private hands. In
        paragraph 188 of his first report, for example, Mr. Kaczmarek explains that large tax increases
        in 2002 and 2003 caused surging profits at Yukos to level off during that period.2409

1806. In this connection, the Tribunal notes that Yukos, in its 2002 Annual Report, disclosed the
        following concerns about taxation:

                 We are subject to numerous taxes that have had a significant effect on our results of
                 operations. Russian tax legislation is and has been subject to varying interpretations and
                 frequent changes. 2410
                 ...
                 In the context of the significant regulatory changes related to Russia’s transition from a
                 centrally planned to a market economy over the past 10 years and the general instability of
                 the new market institutions introduced in connection with this transition, taxes, tax rates
                 and implementation of taxation in Russia have experienced numerous changes. Although
                 there are signs of improved political stability in Russia, further changes to the tax system
                 may be introduced which may adversely affect the financial performance of our Company.
                 In addition, uncertainty related to Russian tax laws exposes us to enforcement measures
                 and the risk of significant fines and could result in a greater than expected tax burden.2411

1807. The 2002 Annual Report also alerted the Yukos shareholders to risks related to the Company’s
        dividend policy:

                 Reserves available for distribution to shareholders are based on the statutory accounting
                 reports of YUKOS Oil Company, which are prepared in accordance with Regulations on
                 Accounting and Reporting of the Russian Federation and which differ from U.S. GAAP.
                 Russian legislation identifies the basis of distribution as net income. For 2002, the current
                 year statutory net income for YUKOS Oil Company as reported in the annual statutory
                 accounting reports was RR 40,701 million. However, current legislation and other
                 statutory laws and regulations dealing with distribution rights are open to legal
                 interpretation and, consequently, actual distributable reserves may differ from the amount
                 disclosed.2412

1808. Finally, and perhaps most significantly, there are the risks associated with the complex and
        opaque structure set up by Claimants, or by others on their behalf, in order to transfer money
        earned by Yukos out of the Russian Federation through a vast offshore structure. This structure

2409
       First Kaczmarek Report ¶ 188.
2410
       Yukos Annual Report, 2002, p. 81, Exh. C-26.
2411
       Ibid., p. 84.
2412
       Ibid., p. 58.




                                                        - 558 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 579 of 617




        is well documented in the reports of Professor Lys. An organizational chart attached as an
        appendix to a letter from PwC Cyprus to PwC Moscow dated 10 April 2003 shows the
        complexity of the structure as of that date, and the fact that Yukos’ control over it was
        established by means of call options.2413 With this structure, Yukos was able to consolidate the
        profits of the trading companies and offshore holding companies (entities within its
        “consolidation perimeter”) into its results while remaining “free to segregate these profits from
        minority shareholder claims whenever it served the majority shareholders’ or management’s
        interests.”2414

1809. As Respondent rightly points out, Yukos’ claim of corporate governance reforms, Western
        standards of transparency and protection of minority interests, which Mr. Kaczmarek
        highlighted in his first report2415 (and which was a recurring theme heard from Claimants in this
        case), “was a façade.”2416 Notably, even the company’s President, Mr. Theede, testified that
        they had no knowledge that Yukos was using offshore structures that it did not own.2417

1810. The Tribunal notes that even after the tax assessments at issue in the present arbitration were
        issued, Claimants and their owners were able to divert money earned by Yukos out of Yukos,
        and into the two Stichtings,2418 and therefore away from the tax authorities. The Tribunal cannot
        exclude the possibility that, but for the expropriation, the very same mechanism would have
        been resorted to by Claimants under different circumstances to divert some of the money
        earned by Yukos.

1811. In light of all the circumstances, and taking into account:                      (a) the figures based on
        Mr. Kaczmarek’s calculations; (b) the figures based on Professor Dow’s “corrections”; and
        (c) the additional risks described above, which the Tribunal finds must be factored into its
        damages analysis, the Tribunal, in the exercise of its discretion, concludes that it is appropriate
        to determine and fix the dividend payments that it assumes Yukos would have paid to its

2413
       Exh. R-3165, p. 5. The Tribunal has included a copy of the chart in Annex A2 to this Award. See also Second Lys
       Report, Appendix F.
2414
       Respondent’s Post-Hearing Brief ¶ 258.
2415
       First Kaczmarek Report ¶ 156.
2416
       Respondent’s Post-Hearing Brief ¶ 260.
2417
       Transcript, Day 11 at 59. The Tribunal notes that Mr. Kosciusko-Morizet, the Chairman of the Board’s Audit
       Committee, acknowledged that he had no opinion, and had made no enquries, as to whether Yukos owned the low tax
       region entities (see Transcript, Day 4 at 60–61).
2418
       Respondent’s Counter-Memorial ¶¶ 528–39. The Tribunal recalls that Claimants do not dispute that money was
       transferred into the Stichtings. See above at ¶¶ 1054–60, 1124.




                                                       - 559 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 580 of 617




        shareholders in the “but for” scenario in the amounts set out in the far right column of the
        following table (in USD billion):


                         Year                    Kaczmarek                         Dow                     Tribunal

                         2004                        3.645                         3.218                      2.5

                         2005                        4.796                         4.489                      3.5

                         2006                        4.677                         4.396                      3.5

                         2007                        8.484                         7.670                       6

                         2008                        7.819                         6.749                       6

                         2009                        7.642                         5.463                       5

                         2010                        4.254                         4.842                      3.5

                         2011                        6.285                         4.283                       4

                         2012                        8.395                         3.724                       5

                         2013                        7.628                         3.148                       4

                   2014 (first half)                 3.586                         1.310                       2

                         Total                      67.213                        49.293                       45


1812. Accordingly, the Tribunal concludes that Yukos’ dividends in 2004 would have been
        USD 2.5 billion, and the sum of Yukos’ dividends over the period from 2004 through the first
        half of 2014 would have been USD 45 billion.2419


        5.      Application of the Methodology Followed by the Tribunal

1813. The Tribunal, applying the methodology outlined above to the two valuation dates of
        19 December 2004 and 30 June 2014, can now proceed to the valuation of the expropriated
        company as of those two dates.2420




2419
       The relevant calculations with regard to both dividends and interest are set out in Table T3 attached to this Award.
2420
       See Table T1 annexed to this Award.




                                                             - 560 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 581 of 617




               (a)     Calculations Based on 19 December 2004 Valuation Date

1814. The damages suffered by Claimants based on a valuation date of 19 December 2004 are
        determined as follows.


                       i.     Valuation of Shares in Yukos

1815. As explained earlier, the Tribunal will determine the equity value of Yukos as of 19 December
        2004 by adjusting what it considers, based on the Parties’ submissions, to be the best available
        estimate of this value as of 21 November 2007, i.e., an amount of USD 61.076 billion, with a
        factor that reflects the development of the RTS Oil and Gas index between 19 December 2004
        and 21 November 2007. The value of the RTS Oil and Gas index on 19 December 2004 was
        92.85, whereas on 21 November 2007 it had a value of 267.8. The adjustment factor to be
        applied to determine Yukos’ value as of the earlier date is therefore x=92.85/267.8=0.3467. By
        applying this factor to the amount of USD 61.076 billion, the Tribunal arrives at an equity value
        of Yukos as of 19 December 2004 in the amount of USD 21.176 billion.2421

1816. The value of Claimants’ 70.5 percent share in Yukos, calculated as a pro rata share of this
        amount, corresponds to USD (70.5/100)*21.176=14.929 billion.


                       ii.    Dividends

1817. According to the Tribunal’s methodology outlined above, the dividends that would have been
        paid to Yukos’ shareholders throughout 2004 will be assumed to be USD 2.5 billion. Since
        the valuation date is 19 December 2004, there are 12 days missing for the full year which
        must be taken into consideration. Accordingly, this amount must be multiplied by a factor
        x=(365–12)/365, corresponding to approximately 97 percent. This gives a total amount of
        free cash flow to equity based on a valuation date of 19 December 2004 of
        USD 2.418 billion.         Claimants’ share of this amount corresponds to dividends of
        USD (70.5/100)*2.418=1.705 billion.




2421
       See Table T2 annexed to this Award.




                                                 - 561 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 582 of 617




                        iii.    Interest

1818. By applying an annual interest rate of 3.389 percent,2422 the total amount of interest payable on
        the equity value of Yukos and the dividends that would have been paid to its shareholders from
        1 January 2005 to 30 June 2014 is 7.596 billion.2423 The total amount of interest payable to
        Claimants on this basis is 70.5 percent of this figure, i.e., USD 5.355 billion.


                        iv.     Total Damages Suffered by Claimants

1819. The damages suffered by Claimants due to the breach by Respondent of Article 13 of the ECT
        based on a 19 December 2004 valuation date is the sum of the Claimants’ share of these
        components calculated above, i.e., 70.5 percent of (21.176 + 2.418 + 7.596), which amounts to
        USD 21.988 billion.2424


                (b)     Calculations Based on 2014 Valuation Date

1820. The damages suffered by Claimants based on a valuation date of 30 June 2014 are determined
        as follows.


                        i.      Valuation of Claimants’ Share in Yukos

1821. As for the calculations based on the date of the expropriation, the Tribunal will determine the
        equity value of Yukos as of 30 June 2014 by adjusting what it considers, based on the Parties’
        submissions, the best available estimate of this value as of 21 November 2007, i.e., the amount
        of USD 61.076 billion, with a factor that reflects the development of the RTS Oil and Gas
        index between 21 November 2007 and 30 June 2014. For practical purposes, and in order to
        eliminate the effects of random fluctuations of the index on the amount to be awarded, the

2422
       See Part XI. The Tribunal has assumed that dividends would have been paid in each case at the end of the relevant
       year and that interest would have started accruing at the determined pre-award interest rate from 1 January of the year
       thereafter.
2423
       To avoid unnecessarily complicating the calculations, this figure does not take into account interest for the period from
       19 to 31 December 2004. Adding this interest would not affect the Tribunal’s conclusions.
2424
       See Table T1 annexed to this Award. Claimants’ shareholdings in Yukos, as percentages of Yukos Issued Shares,
       were 48.72 percent, 2.25 percent and 10 percent for Hulley, YUL and VPL, respectively. Interim Awards ¶ 419
       (Hulley); ¶ 419 (YUL); ¶ 419 (VPL). In absolute numbers, out of a total number of 2,236,964,578 Issued Shares,
       Hulley held 1,090,043,968 shares, YUL held 50,340,995 shares and VPL held 223,699,175 shares, while 302,000,000
       shares were Treasury Shares. First Kaczmarek Report, Appendix C.5.b. This translates into a total number of
       1,934,964,578 Outstanding Shares, of which 56.33405 percent, 2.60165 percent and 11.56089 percent were held by
       Hulley, YUL and VPL, respectively. The exact combined share of Claimants in Yukos Outstanding Shares was
       70.49659 percent.




                                                            - 562 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 583 of 617




        Tribunal has chosen to use the average of the values of the index over the period from
        6 January 2014 to 24 June 2014 as the basis for its calculations. This average value of the RTS
        Oil and Gas index is 186.90.2425 The adjustment factor to be applied to determine Yukos’ value
        as of the later date is therefore x=186.90/267.8=69.79 percent. By applying this factor to the
        amount of USD 61.076 billion the Tribunal arrives at an equity value of Yukos as of 30 June
        2014 in the amount of USD 42.625 billion.2426

1822. The value of Claimants’ 70.5 percent share in Yukos, calculated as a pro rata share of this
        amount, corresponds to USD (70.5/100)*42.625=30.049 billion.


                       ii.    Dividends and Interest on Dividends

1823. According to the Tribunal’s methodology outlined earlier, the dividends that would have been
        paid to Yukos’ shareholders from the beginning of 2004 to 30 June 2014 will be assumed to
        correspond to USD 45 billion. Together with interest, the total amount for this period is
        USD 51.981 billion.2427

1824. Claimants’ share of this amount corresponds to USD (70.5/100)*51.981=36.645 billion.


                       iii.   Total Damages Suffered by Claimants

1825. The damages suffered by Claimants due to the breach by Respondent of Article 13 of the ECT,
        based on a valuation date of 30 June 2014, is the sum of the Claimants’ share of the two
        components calculated above, i.e., 70.5 percent of (42.625 + 51.981), which amounts to
        USD 66.694 billion.2428


               (c)     Comparison of the Results Based on the Two Different Valuation Dates

1826. The total amount of Claimants’ damages based on a valuation date of 19 December 2004 is
        USD 21.988 billion, whereas the total amount of their damages based on a valuation date of
        30 June 2014 is USD 66.694 billion. Since the Tribunal has concluded earlier that Claimants
        are entitled to the higher of these two amounts, the total amount of damages to be awarded

2425
       See Table T8 annexed to this Award.
2426
       See Table T2 annexed to this Award.
2427
       See Table T3 annexed to this Award.
2428
       See Table T1 annexed to this Award.




                                                 - 563 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 584 of 617




        before taking into account any deductions necessary as a consequence of Claimants’
        contributory fault is USD 66.694 billion.


        6.      Deductions Due to Claimants’ Contributory Fault

1827. As determined earlier,2429 the Tribunal has concluded that the Claimants contributed to the
        extent of 25 percent to the prejudice they suffered at the hands of the Russian Federation. As a
        consequence, the amount of damages to be paid by Respondent to Claimants will be reduced by
        25 percent to USD 50,020,867,798 and the Tribunal so finds.2430


        7.      Windfall and Double Recovery

1828. The Tribunal sees no reason to make any further deductions beyond those set out above. In
        particular, any advantages that Claimants may have obtained through their investments prior to
        Respondent’s expropriatory actions can not have any impact on the damages they have
        suffered. The Tribunal sees no risk of “double-recovery” in this regard.

1829. Finally, the rate of return that Claimants may realize on their original investment in Yukos as a
        result of the damages that the Tribunal has awarded to them for the expropriation of their shares
        is irrelevant. It is the value of the expropriated investment on the date of the Award rather than
        the amount originally invested by Claimants that is the basis for the calculation of the damages
        awarded.


XIII. COSTS

A.      INTRODUCTION

1830. The Tribunal notes that Claimants and Respondent have each requested that the opposing party
        be ordered to pay the full costs of the arbitration.2431

1831. The Tribunal observes that the Treaty contains no provisions on the allocation of the costs of
        arbitration in the case of a dispute between an Investor and a Contracting Party.2432

2429
       See Section X.E.4.
2430
       Claimants shall be paid this amount in proportion to their shareholdings (as to which see n.2424 above) as follows:
       EUR 39,971,834,360 (Hulley), EUR 1,846,000,687 (YUL) and EUR 8,203,032,751 (VPL). As per paragraphs 1690–92
       above, post-award interest will be due on any outstanding amounts not paid in full within 180 days.
2431
       Reply ¶ 1199(5); Rejoinder ¶ 1748(v).




                                                         - 564 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 585 of 617




1832. However, Articles 38 to 40 of the UNCITRAL Rules do provide the Tribunal with guidelines
        with respect to the allocation of costs in arbitration.

1833. Article 38 defines the “costs of arbitration” as follows:

                The arbitral tribunal shall fix the costs of arbitration in its award. The term “costs”
                includes only:
                (a)     The fees of the arbitral tribunal to be stated separately as to each arbitrator and to be
                        fixed by the tribunal itself in accordance with article 39;
                (b)     The travel and other expenses incurred by the arbitrators;
                (c)     The costs of expert advice and of other assistance required by the arbitral tribunal;
                (d)     The travel and other expenses of witnesses to the extent such expenses are approved
                        by the arbitral tribunal;
                (e)     The costs for legal representation and assistance of the successful party if such costs
                        were claimed during the arbitral proceedings, and only to the extent that the arbitral
                        tribunal determines that the amount of such costs is reasonable;
                (f)     Any fees and expenses of the appointing authority as well as the expenses of the
                        Secretary-General of the Permanent Court of Arbitration at The Hague.

1834. Paragraphs 1 and 2 of Article 40 of the UNCITRAL Rules set out the guidelines which will
        inform the Tribunal in its determination of the apportionment of costs. They read as follows:

                1.      Except as provided in paragraph 2, the costs of arbitration shall in principle be
                        borne by the unsuccessful party. However, the arbitral tribunal may apportion each
                        of such costs between the parties if it determines that apportionment is reasonable,
                        taking into account the circumstances of the case.
                2.      With respect to the costs of legal representation and assistance referred to in
                        article 38, paragraph (e), the arbitral tribunal, taking into account the circumstances
                        of the case, shall be free to determine which party shall bear such costs or may
                        apportion such costs between the parties if it determines that apportionment is
                        reasonable.

1835. On 18 March 2014, the Tribunal requested the Parties to file their claims for costs with
        appropriate schedules by 17 April 2014 and to submit comments on the opposing Party’s claims
        by 6 May 2014. The Tribunal wrote:

                The Parties are requested to present their claims with schedules showing a breakdown of
                costs for legal representation and assistance, including lawyers’ fees, experts’ fees and
                other costs associated with presenting their case. The breakdown of lawyers’ fees should
                indicate the number of attorneys (together with charge out rates) and the amount of time
                involved in the discrete phases of these proceedings (Phase 1 being the period up to the

2432
       As opposed to the allocation of the costs of arbitration in the case of a dispute between Contracting Parties, which is
       addressed in Article 27(3)(j) as follows: “The expenses of the tribunal, including the remuneration of its members,
       shall be borne in equal shares by the Contracting Parties parties to the dispute. The tribunal may, however, at its
       discretion direct that a higher proportion of the costs be paid by one of the Contracting Parties parties to the dispute.”




                                                            - 565 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 586 of 617




                    Interim Awards; Phase 2 being the period after the Interim Awards). It is expected that the
                    breakdowns should be in sufficient detail for the Tribunal to appreciate the work in respect
                    of which the costs were incurred.

1836. As requested, the Parties filed their cost claims on 17 April 2014 and submitted comments on
        the opposing side’s cost claims on 6 May 2014.


B.      CLAIMANTS’ POSITION

        1.          Claimants are Entitled to Recover All Costs Incurred in Connection with these
                    Arbitrations

1837. Claimants note that Article 40 of the UNCITRAL Rules “establishes two approaches with
        respect to costs.”2433 Firstly, Article 40(1) establishes a “clear presumption” that the losing
        party pays all costs referred to in Article 38(a) to (d) and (f)—“loser pays” or “costs follow the
        event.”2434 Secondly, Article 40(2) requires that, when allocating costs for legal representation
        referred to in Article 38(e), tribunals take into account “the circumstances of the case.”2435

1838. Claimants submit that Respondent should bear all costs set out in Article 38(a) to (d) and (f),
        namely the fees and expenses of the Tribunal and the PCA (including those of the PCA’s
        Secretary-General).

1839. Claimants aver that Respondent was the unsuccessful party in the jurisdiction and admissibility
        phase. Claimants assert that they “prevailed on every single issue that was finally decided in
        the jurisdiction and admissibility phase of these arbitrations.”2436                    They consider that
        Respondent should bear the fees and expenses of the Tribunal and the PCA related to that
        phase.

1840. Claimants submit that they should prevail at the merits stage as well and that Respondent
        should bear the fees and expenses of the Tribunal and the PCA related to that phase.2437




2433
       Claimants’ Submission on Costs ¶ 4.
2434
       Ibid. ¶ 5.
2435
       Ibid. ¶ 6.
2436
       Ibid. ¶ 10.
2437
       Ibid. ¶ 11.




                                                          - 566 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 587 of 617




1841. According to Claimants, no circumstances in this case require the Tribunal to depart from the
        starting point of “costs follow the event”; to the contrary, they argue, the circumstances in this
        case “only further necessitate” an order of costs in favour of Claimants.2438

1842. Claimants submit that, taking into account the circumstances of the case—and in particular the
        Parties’ success in the arbitrations, their conduct during the proceedings, and the actual
        measures of Respondent which gave rise to the dispute—Respondent should bear all of
        Claimants’ costs of legal representation and assistance.

1843. Claimants contend that where the investor prevails in an investor-State arbitration, an order that
        the State pay the investor’s costs of legal representation is based on the principle of reparation,
        which mandates that the investor be fully compensated for its losses, including those incurred
        as a result of having to litigate.2439

1844. According to Claimants:

                 In the present case, the Respondent’s approach to these proceedings has been to raise (and
                 re-raise) as many objections, arguments and issues as possible, no matter how irrelevant or
                 implausible they may be, in the hopes of delaying the proceedings and somehow burying
                 or obfuscating the straightforward facts of the case.2440

1845. Claimants opine that Respondent’s “obstructionist conduct” in this case should lead the
        Tribunal to order it to pay all costs of legal representation.2441

1846. Claimants submit that “in no other case has the need to take into account the underlying
        conduct of the host State been more relevant than in these arbitrations.”2442 Claimants argue




2438
       Ibid. ¶ 12.
2439
       Claimants’ Submission on Costs ¶¶ 17–19 (quoting Gemplus ¶¶ 17-21–17-22, Exh. C-1536; ADC ¶ 533, Exh. C-980;
       Southern Pacific Properties (Middle East) Limited v. Arab Republic of Egypt, ICSID Case No. ARB/84/3, Award,
       20 May 1992, ¶ 207, Exh. C-945.
2440
       Claimants’ Submission on Costs ¶ 22.
2441
       Claimants’ Submission on Costs ¶¶ 22, 52–53. Claimants list what they term Respondent’s “constant attempts to
       extend deadlines and otherwise prolong or disrupt the proceedings” (¶¶ 23–31), “deliberate attempts to withhold
       evidence” (¶¶ 32–39), “manifest disregard for the Arbitral Tribunal’s orders” (¶¶ 40–41), “renewed and abandoned
       jurisdiction and admissibility objections” (¶¶ 42–48), and “overly burdensome, disorganized and fundamentally
       misleading presentation of its case” (¶¶ 49–51).
2442
       Claimants’ Submission on Costs ¶ 54 (referring to Deutsche Bank AG v. Democratic Socialist Republic of Sri Lanka
       ICSID Case No. ARB/09/02, Award, 31 October 2012, ¶ 588, Exh. C-1792; ADC ¶ 533, Exh. C-980; Kardassopoulos
       ¶ 689, Exh. C-1533.




                                                        - 567 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 588 of 617




        that Respondent’s conduct “has been decried by every single court or tribunal, organization,
        and independent observer outside Russia” and “must be sanctioned in full.”2443


        2.      Claimants’ Costs are Reasonable

1847. Pursuant to the Tribunal’s directions, Claimants presented a summary of the costs they have
        incurred in connection with these arbitrations on a per-phase basis:2444

               Table 1: The Claimants’ costs for legal representation incurred in Phase 1
               Shearman & Sterling LLP Fees and Expenses
               1. Legal assistants
                    Number of legal assistants                                                            4
                    Charge out rate range (USD/hour)                                          160.00-200.00
                    Total hours                                                                    4,376.40
                    Total legal assistant fees                                              USD 763,222.50
               2. Attorneys
                    Number of attorneys                                                                  21
                    Charge out rate range (USD/hour)                                          235.00-995.00
                    Total hours                                                                   52,076.90
                    Total attorney fees                                                   USD 23,018,168.50
               3. Expenses                                                                 USD 2,081,685.55
               4. Total                                                                   USD 25,863,076.55
               Expert Fees and Expenses
               1. Prof. James Crawford                                                       USD 53,222.06
               2. Mr. Vladimir Gladyshev                                                   USD 1,269,662.80
               3. Mr. Brian Green QC                                                        GBP 996,962.10
               4. Navigant                                                                 USD 1,052,897.49
               5. Prof. W. Michael Reisman                                                  USD 204,000.00
               6. Total                                                                    USD 2,579,782.35
                                                                                            GBP 996,962.10
               Deductions89
                                                                                            USD 482,260.11
               Grand Total (Phase 1)
                                                                                          USD 27,960,598.79
                                                                                            GBP 996,962.10
        89
               The deducted amounts comprise: (i) experts’ fees and expenses advanced by Shearman & Sterling LLP
               and subsequently reimbursed by the Claimants (deducted to avoid double-counting of those amounts);
               and (ii) the fees and expenses of persons consulted by the Claimants, but who did not tender testimony.

        ...




2443
       Claimants’ Submission on Costs ¶ 55.
2444
       Ibid. ¶¶ 56–63.




                                                        - 568 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 589 of 617




               Table 2: The Claimants’ costs for legal representation incurred in Phase 2
                                                                  90
               Shearman & Sterling LLP Fees and Expenses
               1. Legal assistants
                    Number of legal assistants                                                                      7
                    Charge out rate range (USD/hour)                                                    205.00-255.00
                    Total hours                                                                              4,887.60
                    Total legal assistant fees                                                       USD 1,123,195.50
               2. Attorneys
                    Number of attorneys                                                                           27
                    Charge out rate range (USD/hour)                                                 290.00-1,065.00
                    Total hours                                                                            70,525.90
                    Total attorney fees                                                            USD 39,931,981.50
               3. Expenses                                                                          USD 3,252,001.07
               4. Total                                                                            USD 44,307,178.07
               Expert Fees and Expenses
               1. Dr. Philip Baker QC                                                                  GBP 69,500.00
               2. Dr. Sergei Kovalev                                                                   USD 70,000.00
               3. Navigant                                                                           USD 7,370,493.22
               4. Total                                                                              USD 7,440,493.22
                                                                                                       GBP 69,500.00
               Compensation for Witness Time and Expenses
               1. Mr. Y Schmidt                                                                         USD 70,000.00
                            91
               Deductions
                                                                                                      USD 150,214.52
               Grand Total (Phase 2)
                                                                                                   USD 51,667,456.77
                                                                                                      GBP 69,500.00

        90
               The Shearman & Sterling LLP Fees and Expenses for Phase 2 comprise invoices up to and inclusive of
               December 2012.
        91
               The deducted amounts comprise: (i) experts’ fees and expenses advanced by Shearman & Sterling LLP and
               subsequently reimbursed by the Claimants (deducted to avoid double-counting of those amounts); (ii) the
               fees and expenses of persons consulted by the Claimants, but who did not tender testimony; and (iii) the
               compensation for the time and expenses of Mr. Schmidt, which were advanced by Shearman & Sterling LLP
               and subsequently reimbursed by the Claimants (deducted to avoid double-counting of this amount).


1848. Claimants submit that their costs in the jurisdiction and admissibility phase are reasonable
        given:

                 (i) the large number of objections raised by the Respondent in the jurisdiction and
                 admissibility phase, (ii) the numerous expert opinions tendered by the Respondent, (iii) the
                 volume of procedural issues that arose in the course of the proceedings attributable solely
                 to the Respondent, and (iv) the matters and amounts at stake in the arbitrations.2445




2445
       Claimants’ Submission on Costs ¶ 60.




                                                        - 569 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 590 of 617




1849. Claimants submit that their costs in the merits phase are reasonable given:

                  (i) the large number of issues raised by the Respondent in the merits phase, (ii) the
                  numerous expert statements tendered by the Respondent, (iii) the volume of procedural
                  issues that arose in the course of the proceedings attributable solely to the Respondent, and
                  (iv) the matters and amounts at stake in the arbitrations.2446

1850. Claimants request interest on any cost award at a rate of LIBOR + 4 percent compounded
        annually.2447


        3.        Claimants’ Comments on Respondent’s Submission on Costs

1851. Claimants summarize their comments on Respondent’s Submission on Costs as follows:

                  Respondent has elected not to provide a “breakdown of costs”, as directed by the Arbitral
                  Tribunal. Its so-called “Schedule of Costs” cannot in any way facilitate the Tribunal’s task
                  in reaching its decision on costs, including in assessing the reasonableness of either of the
                  Parties’ claimed amounts. Moreover, the Respondent’s argument that each Party should
                  bear its own costs is based on a flawed presentation of investment treaty case law and a
                  blatantly self-serving description of the Respondent’s conduct throughout these
                  arbitrations. At the same time, the Respondent’s position speaks volumes as to its true
                  conviction (or lack thereof) in its defenses to the Claimants’ claims. Had the Respondent
                  truly believed that the Claimants, Yukos and/or related persons and entities had engaged in
                  large-scale criminal conduct—ranging from embezzlement and money laundering to tax
                  fraud and even murder—it would have insisted that its full costs be shouldered by the
                  Claimants, instead of proposing, as it has done now, that it bear its own costs in defending
                  the Claimants’ claims.2448



1852. Claimants assert that comparing the comprehensive presentation of their costs for legal
        representation with Respondent’s “opaque” Schedule of Costs would be “akin to comparing
        apples and oranges.”2449          Even then, Claimants maintain that their costs would still be
        reasonable. In particular, Claimants note that “in ordering respondent States to bear investors’
        costs, investment treaty tribunals have found that it is not unusual for claimants’ costs to be
        higher than those of respondents, given that, inter alia, the burden of proof generally falls on
        claimants.”2450



2446
       Claimants’ Submission on Costs ¶ 63.
2447
       Ibid. ¶ 64.
2448
       Claimants’ Comments on Respondent’s Submission on Costs dated 6 May 2014, p. 1.
2449
       Ibid., p. 3.
2450
       Ibid., p. 3 (referring to ADC ¶ 535, Exh. C-980; Waguih Elie George Siag and Clorinda Vecchi v. The Arab Republic
       of Egypt, ICSID Case No. ARB/05/15, Award, 1 June 2009, ¶ 624, Exh. C-998.




                                                         - 570 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 591 of 617




C.      RESPONDENT’S POSITION

        1.      Equal Apportionment is an Appropriate Exercise of the Tribunal’s Discretion on
                Costs

1853. Respondent notes that, while Article 40(1) of the UNCITRAL Rules states that the costs
        referred to in Article 38(a) to (d) and (f) should “in principle be borne by the unsuccessful
        party,” it gives the Tribunal the discretion to “apportion each of such costs between the parties
        if it determines that apportionment is reasonable, taking into account the circumstances of the
        case.” Respondent asserts that Article 40(2) grants the Tribunal “complete discretion” in its
        apportionment of the Parties’ costs of legal representation.2451

1854. Respondent argues that the following factors should inform the exercise of the Tribunal’s
        discretion:

                (a) whether the dispute involved novel and complex questions of law and a long and
                    complex procedure such that it would be unfair to penalize a non-prevailing party for
                    maintaining its positions with an adverse costs award;
                (b) the constructive and professional conduct of the parties and their positive impact on the
                    tribunal’s settlement of the dispute, which militates in favor of equal apportionment of
                    costs;
                (c) any bad faith, unreasonable or unnecessarily burdensome conduct of a party for which
                    the other party should be compensated;
                (d) whether the non-prevailing party succeeds in some respects during the arbitration with
                    legal, factual or procedural arguments, making it inappropriate to award the ultimately
                    successful party its costs; and
                (e) the nature of the dispute resolution mechanism and the traditional position under public
                    international law and in investor-state arbitration that parties “bear their own costs of
                    legal representation and assistance.”2452

1855. Respondent submits that, in light of the above-mentioned factors, the “appropriate approach
        here is for each side to bear its own costs.”2453 Further:

                If, in the exercise of its discretion, the Tribunal decides that equal apportionment of costs
                in these cases is not appropriate, and that the costs incurred by the prevailing party should
                be borne by the unsuccessful party, Respondent would then request that Claimants should
                bear Respondent’s costs based upon the relative success of the parties in these arbitrations
                on issues of jurisdiction, the merits and Claimants’ demand for damages. It is clear from



2451
       Respondent’s Submission on Costs ¶ 3.
2452
       Ibid. ¶ 4 (footnotes omitted).
2453
       Ibid. ¶¶ 5–8.




                                                       - 571 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 592 of 617




                    the Procedural Orders issued throughout the proceedings and from the Interim Awards on
                    Jurisdiction and Admissibility that neither side has been fully successful.2454


        2.          Schedule of “Types of Costs” Incurred by Respondent

1856. Respondent submits a schedule indicating the “types of costs” incurred by Respondent in
        defense of Claimants’ claims.

                    A. Tribunal and PCA Fees and Expenses

                       Initial and supplemental deposits paid to the PCA

                           TOTAL € 3,950,000

                    B. Attorneys’ Fees and Expenses
                    Phase 1
                    For the period from February 3, 2005 to November 30, 2009:
                       Review of Claimants’ Notifications of Claim dated October 27, 2004; review of
                       Claimants’ Statements of Claim dated February 3 and February 14, 2005; preparation
                       of Respondent’s Statements of Defense dated October 15, 2005; preparation of
                       Respondent’s First Memorials on Jurisdiction and Admissibility dated February 28,
                       2006; review of Claimants’ Counter-Memorials on Jurisdiction and Admissibility dated
                       June 30, 2006; preparation of requests for disclosure, preparation of documents and
                       responses to Claimants’ requests for disclosure, review of documents produced by
                       Claimants; preparation of Respondent’s Second Memorials on Jurisdiction and
                       Admissibility dated January 31, 2007; review of Claimants’ Rejoinders on Jurisdiction
                       and Admissibility dated June 1, 2007;
                       Correspondence and various procedural submissions with the Tribunal and Claimants’
                       counsel;
                       Attendance at hearings of October 31, 2005, December 1, 2007, May 8-9, 2008 and
                       from November 17 to December 1, 2008.
                    Lawyers Involved in Phase 1
                       Partners (5), billing range $700-900/hour, in excess of 3,500 hours
                       Associates (15), billing range $300-$625/hour, in excess of 12,000 hours
                       Paralegals/stagiaires/trainees (10), billing range $125-$225/hour, in excess of 5,000 hours

                    Phase 2
                    For the period from November 30, 2009 until the present:
                       Review of Claimants’ Memorial on the Merits dated September 16, 2010; preparation
                       of Respondent’s Counter-Memorial on the Merits dated April 4, 2011; preparation of
                       requests for disclosure, preparation of documents and responses to Claimants’ requests
                       for disclosure, review of documents produced by Claimants; preparation of
                       Respondent’s Short Submission on Bifurcation of Liability and Quantum and on
                       Referral under Article 21 of the ECT dated April 29, 2011; preparation of
                       Respondent’s First and Second Submissions on Confidentiality dated January 18 and
                       February 2, 2012; review of Claimants’ Reply on the Merits dated March 15, 2012;

2454
       Ibid. ¶ 9.




                                                           - 572 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 593 of 617




                       preparation of Respondent’s Rejoinder on the Merits dated August 16, 2012;
                       preparation of Respondent’s Post-Hearing Brief dated December 21, 2012;
                       Correspondence and various procedural submissions with the Tribunal and Claimants’
                       counsel;
                       Attendance at hearings of May 7, 2010, May 9, 2011 and from October 10 to
                       November 9, 2012.
                    Lawyers Involved in Phase 2
                       Partners (5), billing range $775-950/hour, in excess of 7,000 hours
                       Associates (20), billing range $375-$675/hour, in excess of 25,000 hours
                       Paralegals/stagiaires/trainees (15), billing range $150-$275/hour, in excess of 10,000 hours
                           TOTAL US$ 27,000,000


                    C. Experts’ Fees and Expenses
                       For services provided by expert witnesses in connection with preparation of expert
                       reports for submission with Respondent’s First Memorials on Jurisdiction and
                       Admissibility, Second Memorials on Jurisdiction and Admissibility, Counter-Memorial
                       on the Merits and Rejoinder on the Merits and preparation for testimony at the hearings
                       on jurisdiction and admissibility and the merits and remaining jurisdiction and
                       admissibility issues, and related expenses.
                          TOTAL US$ 4,500,0002455


        3.          Respondent’s Comments on Claimants’ Submission on Costs

1857. With respect to Claimants’ request for costs, Respondent says it is “plainly excessive and
        unprecedented in its amount” and opines that it “raises serious questions of credibility.”2456

1858. Respondent submits that Claimants’ characterization of the proceedings amounts to “outright
        misrepresentations rather than the actual facts.”2457 According to Respondent, the alleged
        misrepresentations of Claimants include: Claimants’ “continued disregard for the ECtHR’s
        unanimous rejections of the essential premise for Claimants’ contentions here,”2458
        “misrepresentation           that    Respondent       abandoned        its   unclean      hands      defense,”2459
        “mischaracterization of Respondent’s justified requests for extensions of deadlines, alleged
        ‘delay tactics’ and approach to document production,”2460 “meritless criticisms of Respondent’s



2455
       Respondent’s Submission on Costs ¶ 10.
2456
       Respondent’s Comments on Claimants’ Submission on Costs dated 6 May 2014 ¶ 2 n.1.
2457
       Ibid. ¶ 9.
2458
       Ibid. ¶¶ 10–15.
2459
       Ibid. ¶¶ 16–18.
2460
       Ibid. ¶¶ 19–31.




                                                           - 573 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 594 of 617




        presentation of its case,”2461 and “conspicuous silence concerning their own misconduct in these
        arbitrations.”2462


D.      TRIBUNAL’S DECISION ON COSTS

        1.       Fixing and Allocation of Costs of the Arbitration Pursuant to Article 40(1) of the
                 UNCITRAL Rules

1859. The Parties deposited with the PCA a total of EUR 8,440,000 to cover the costs of the
        arbitration; EUR 4,240,000 by Claimants and EUR 4,200,000 by Respondent.2463                                       In
        determining the amount of its members’ fees, the Tribunal has taken account of Article 39(1) of
        the UNCITRAL Rules, pursuant to which “[t]he fees and expenses of the arbitral tribunal shall
        be reasonable in amount, taking into account the amount in dispute, the complexity of the
        subject matter, the time spent by the arbitrators and any other relevant circumstances of the
        case.”

1860. The fees of Mr. Daniel Price, the arbitrator initially appointed by Claimants, amount to
        EUR 103,537.50. Mr. Price’s expenses amount to EUR 3,678.99. The fees of Dr. Charles
        Poncet, the arbitrator appointed by Claimants following the resignation of Mr. Price, amount to
        EUR 1,513,880. Dr. Poncet’s expenses amount to EUR 85,549.64.

1861. The fees of Judge Stephen M. Schwebel, the arbitrator appointed by Respondent, amount to
        EUR 2,011,092.66. His expenses amount to EUR 51,927.29.

1862. The fees of The Hon. L. Yves Fortier, PC CC OQ QC, the Chairman, amount to
        EUR 1,732,937.50. The Chairman’s expenses amount to EUR 51,782.24.

1863. The fees of Mr. Martin J. Valasek, the Assistant to the Tribunal, amount to EUR 970,562.50.
        Mr. Valasek’s expenses amount to EUR 51,718.96.

1864. Pursuant to the Terms of Appointment and the agreement of the Parties, the PCA Secretary-
        General served as the Appointing Authority, and the International Bureau of the PCA was


2461
       Ibid. ¶¶ 32–36.
2462
       Ibid. ¶¶ 37–38.
2463
       Over the course of the proceedings, the Parties contributed in equal shares to the deposits. In July 2014, the Tribunal
       requested a final supplementary deposit of EUR 40,000 and invited either Party to cover the full amount in advance of
       issuance of the Final Awards, which Claimants accepted to do.




                                                           - 574 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 595 of 617




        designated to act as Registry in these arbitrations. The PCA’s fees for its services amount to
        EUR 866,552.60.

1865. Other tribunal costs, including court reporters, interpreters, hearing rooms, meeting facilities,
        travel and all other expenses relating to the arbitration proceedings, amount to
        EUR 996,780.12.

1866. Accordingly, the costs of the arbitration, including all items set out in paragraphs (a), (b), (c),
        (d) and (f) of Article 38 of the UNCITRAL Rules, amount to EUR 8,440,000 for the
        jurisdiction and merit phases.

1867. The Tribunal recalls again the terms of Article 40(1) of the UNCITRAL Rules:

                Except as provided in paragraph 2, the costs of arbitration shall in principle be borne by the
                unsuccessful party. However, the arbitral tribunal may apportion each of such costs
                between the parties if it determines that apportionment is reasonable, taking into account
                the circumstances of the case.

1868. The costs are therefore to be awarded to the successful party and against the unsuccessful party,
        unless the circumstances of the case justify a different approach.

1869. In the present proceedings, it is clear that Claimants have prevailed and been successful in both
        the jurisdiction and merits phases. The Tribunal can see no reason why Respondent, the
        unsuccessful party, should not bear the costs of the arbitration, EUR 8,440,000, and it so orders
        Respondent to bear such costs and to reimburse the contributions that Claimants deposited in
        the amount of EUR 4,240,000.2464

1870. There is no unexpended balance on deposit.


        2.      Fixing and Allocation of Costs for Legal Representation and Assistance of the
                Parties Pursuant to Article 40(2) of the UNCITRAL Rules

1871. The Tribunal recalls again the terms of Article 40(2) of the UNCITRAL Rules:

                With respect to the costs of legal representation and assistance referred to in article 38,
                paragraph (e), the arbitral tribunal, taking into account the circumstances of the case, shall
                be free to determine which party shall bear such costs or may apportion such costs between
                the parties if it determines that apportionment is reasonable.

2464
       Claimants shall be paid this amount in proportion to their shareholdings (as to which see n.2424 above) as follows:
       EUR 3,388,197 (Hulley), EUR 156,476 (YUL) and EUR 695,327 (VPL). As per paragraphs 1690–92 above,
       post-award interest will be due on any outstanding amounts not paid in full within 180 days.




                                                         - 575 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 596 of 617




1872. Paragraph (e) of Article 38 provides that the term “costs” includes:

            The costs for legal representation and assistance of the successful party if such costs were
            claimed during the arbitral proceedings, and only to the extent that the arbitral tribunal
            determines that the amount of such costs is reasonable.

1873. The Tribunal observes that Claimants’ costs for their legal representation and the assistance of
      their experts amount to USD 79,628,055.56 plus an additional GBP 1,066,462.10, which,
      Claimants submit, are “reasonable” taking into account the circumstances of the case.

1874. Respondent, on the other hand, provides the Tribunal with a schedule indicating the “types of
      costs” incurred by Respondent in its defence. It presents a “total” figure of USD 27,000,000
      which does not adequately assist the Tribunal in assessing the reasonableness of the Parties’
      respective costs.


      3.    Conclusion on the Award of Costs

1875. It is well established that an UNCITRAL tribunal such as the present one has the unfettered
      discretion to fix and to decide in what proportion the costs for legal representation and
      assistance of the parties shall be borne by the Parties.

1876. In the present case, the Tribunal has formed the view that Claimants, the successful Party,
      should be awarded a significant portion of their costs of legal representation and assistance.
      The Tribunal now has to determine the portion which it considers reasonable. In determining
      this reasonable portion, the Tribunal takes into account a number of relevant factors. The
      Tribunal will now proceed to review some of the factors which it considers particularly relevant
      in the instant case.

1877. Claimants, in their prayer for relief, asked the Tribunal to order Respondent to pay to Claimants
      damages of more than USD 100 billion.

1878. The stakes were high and, if Claimants were thorough and vigorous in pressing their claims,
      Respondent was no less thorough and vigorous in presenting its defences.

1879. The thousands of pages of written pleadings and exhibits submitted by the Parties, the myriad
      requests for production of documents, the Tribunal’s lengthy procedural orders, the ten days of
      hearings in The Hague in the fall of 2008 on Respondent’s objections to jurisdiction and
      admissibility, the 21 days of Hearings on the Merits in The Hague in the fall of 2013, all
      demonstrate the importance which both sides attached to this arbitration.


                                                  - 576 -
   Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 597 of 617




1880. The Parties litigated vigorously. Each Party was represented by eminent counsel. The quality
        of the written and oral pleadings was outstanding. Counsel of both Parties are commended for
        their high professionalism.

1881. In the circumstances, it is unsurprising that the cost submissions of the Parties, as to their
        amounts, should reflect the very considerable work which each Party was required to expend in
        order to, on the one hand, press its claims and, on the other hand, defend itself.

1882. It also is not surprising that Claimants’ costs in this case should be higher than those of
        Respondent since they bore the burden of proof for their claims under the ECT and produced
        many fact witnesses in the Hearing on the Merits whereas Respondent produced no fact witness.

1883. However, the Tribunal agrees with Respondent that some of the fees of Claimants’ experts are
        “plainly excessive”.

1884. Another factor which the Tribunal considers relevant in fixing the costs of Claimants which
        should be borne by Respondent is the fact that, at the end of the day, Claimants’ experts were of
        limited assistance to the Tribunal in its determination of Claimants’ damages.

1885. Even if Claimants were successful in asserting the Tribunal’s jurisdiction over Respondent, in
        prevailing on the liability of Respondent and being awarded an immense sum in damages, at the
        end of the day, as was seen in Part XII, the damages awarded to Claimants were reduced
        significantly by the Tribunal from the claims advanced by them.

1886. Finally, a factor which the Tribunal has considered particularly relevant in fixing the portion of
        their costs which Claimants should be awarded is the egregious nature of many measures of
        Respondent which the Tribunal has found were in breach of the ECT.

1887. Having scrutinized the costs for legal representation and assistance of Claimants and taking into
        consideration all the factors traversed above, the Tribunal, in the exercise of its discretion,
        considers that reimbursement by Respondent to Claimants of USD 60,000,000 as part of their
        costs would be fair and reasonable in the circumstances and it so orders.2465 The Tribunal notes
        that USD 60,000,000 is approximately 75 percent of Claimants’ grand total of costs for the
        jurisdiction and merits phases, namely USD 79,628,055.56 and GBP 1,066,462.10.

2465
       Claimants shall be paid this amount in proportion to their shareholdings (as to which see n.2424 above) as follows:
       EUR 47,946,190 (Hulley), EUR 2,214,277 (YUL) and EUR 9,839,533 (VPL). As per paragraphs 1690–92 above,
       post-award interest will be due on any outstanding amounts not paid in full within 180 days.




                                                         - 577 -
  Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 598 of 617




XIV. DECISION

1888. For the reasons set forth above, the Tribunal unanimously:

            (a)    DISMISSES the objections to jurisdiction and/or admissibility, based on
                   Article 21 of the Energy Charter Treaty;

            (b)    DISMISSES the objections to jurisdiction and/or admissibility, pertaining to
                   Respondent’s contentions concerning “unclean hands” and “illegal and bad faith
                   conduct”;

            (c)    DISMISSES the renewed objections to jurisdiction and/or admissibility based on
                   Article 26(3)(b)(i) of the Energy Charter Treaty;

            (d)    HOLDS that the present dispute is admissible and within the Tribunal’s
                   jurisdiction;

            (e)    DECLARES that Respondent has breached its obligations under Article 13(1) of
                   the Energy Charter Treaty;

            (f)    ORDERS Respondent to pay to Claimant Hulley Enterprises Limited damages in
                   the amount of USD 39,971,834,360;

            (g)    ORDERS Respondent to pay the amount of EUR 3,388,197 to Claimant Hulley
                   Enterprises Limited as reimbursement for the costs of the arbitration;

            (h)    ORDERS Respondent to pay the amount of USD 47,946,190 to Claimant Hulley
                   Enterprises Limited for a portion of the costs of its legal representation and
                   assistance in the arbitration proceedings; and

            (i)    ORDERS Respondent to pay to Claimant Hulley Enterprises Limited, if within
                   180 days of the issuance of this Award Respondent fails to pay in full the amounts
                   set forth in paragraphs (f), (g) and (h) above, post-award interest on any
                   outstanding amount starting from 15 January 2015, compounded annually.
                   Post-award interest shall be determined as the yield on 10-year U.S. treasury bonds
                   as of 15 January 2015 and then the dates of compounding yearly thereafter.




                                                - 578 -
     Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 599 of 617



Done at The Hague, this   I   z""   day of              . 2014 .




            , Co9
             I
                 Dr. Charles Ponce




                                             Chairman




                                             -579-
                 Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 600 of 617




ANNEXES

A.   ANNEX A1: APPENDIX 1.1, APPENDIX J.1 AND APPENDIX J.2 TO SECOND DOW REPORT
     (modified as described in note 2401 of the Award)

          (a)   Appendix 1.1




                                                          A-1
                         Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 601 of 617




              (b)     Appendix J.1 New

Notes and                                                                                                                                                                          2007
              JD Notes      Calculation logic                   Component                          2003                2004                2005                 2006
 Sources                                                                                                                                                                       (thru 11/21)


     1                              (A)          Net Income                                                          3,218,665,217       4,769,239,020        4,605,289,478     5,791,709,065

     2                              (B)          Tax-Adju sted h1terest Payments                                      195,973,436         248,407,275          314,870,094       354,283,284

     1                              [C)          Depreciation                                                        1,115,919,143       1,322,594,049        1,567,551,997     2,045,753,987

     3                              [OJ          Working Current Assets                         6, 162_391,781       6,024,533,190       7,377,817,999        8,724,114,903     9,724_344,823
     3                              (E)          Working Current liabilities                     2, 134,154,107      2,668,988,513       3,420,223,168        4,389,513,676     5, 143,659,866
   Cak.                         (F) = D - E      Working Capital                                 4,028,237,674       3,355,544,677       3,957,594,831        4,334,601,227     4,580,684,958
   Cak.                        (G) = F, - F.,    Change in Working Capital                                            (672,692,997)       602,050,154          377,006_395       246,083,731

     4                              (H )         Capital Expenditures                                                2,466,678,051       2,397,031,851        2,729,804,072     3,506,855,747

   Calt.                  [!) = A+ B + C - G - H Free Cash Flow to the Fimt                                          2,736,572,742       3,341,158,338        3,380,901,101     4,438,806,858

     2                            UJ = -B        Tax-Adju sted h1terest Payments                                      (195,973,436)       (248,407,275)        (314,870,094)     (354,283,284)

     5                              (K)          Change in l\et Debt                                                  659,445,111         944,541,730         1,209,587,786    1,765,630_302

     6                              (l )         20% o f Sib neft Dividends                                            18_332,400         452,067,800          120,400,000       367,673,425

   Calt.                    [MJ = I+J+K+l         Free Cash Flow to Eq uity                                          3,218,376,817       4,489,360,593        4,396,018,793     6,217,827,301
                                                                                                                      5.079593664
Kaczmarek Sources & N otes:
(1) See Appendix J.3 - Updated- Yu kos mcome Statement
(2) m terest expense from Appendix J.3 - Updated multiplied by (1-t), where tis equal to the tax rate, fou nd in Appendix J.14 - Updated. Tax is deducted
because FCFF should not include the tax benefits associated with interest deduciions (however, the tax benefit is included in FCFE).
(3 ) Total cu rrent assets and total current liabilities from Appendix J.4- Updated- Yu kos Balance Sheet. To estimate current assets and liabilities as of
November 21, 2007, we p rorate the growth in cu rrent assets and liabilities using the portion of the year that has passed (324 o f 365 days).
(4) See Appendix J.11 - U pdated- Yu kos Capital Expenditures
(5 ) Equal to the ammal mang e in long-te1m debt plus short-term debt less cash from Appendix J.4 - Updated- Yukos Balance Sheet. To estimate Change in
Net Debt through November 21, 2007, we prorated total annual Change in Net Debt using the portion o f the year that has passed (324 of 365 days).
(6) 20 percent of Sibneft dividends paid in period as per Gazprom Neft 2008 Databook at "Consolidated Statemen t o f Cash Flow" tab. (NA V - 93)
Note tJ-.at 2007 d ividends through November 21, 2007 are prorated u sing the portion of the year that has passed (324 of 365 days).




                                                                                         A-2
       Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 602 of 617




(c)   Appendix J.2 New




                                         A-3
                          Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 603 of 617




Notes and      JD Notes       Calculation Logic                                                        Component                      2001         2008            2009    2010
Sources                                                                                                                              (11121)   Otn1-12131)


                          Terminal Value Calculation:

   Calc.                     (L) = I:>OisX (1 + M)   Terminal Year FCFF                               2,482,198,895
  6                                    (M]           Tenninal GrO\Yih Rate                                    3.50%
___
  ·t                              IN!                WA<..:t:                                                 l Ob/ "k
   Calc.                      [O) = L / (N - M)      Tenninal Value as of 2015                       35,114,.161,268
   Calc.                         (P) : J 201S        Present Value Factor                                       0.47
   Calc.                         IQJ = O x P         Temlinal Value asofll/2112007

                          fntequise Value Sqmmazy;

   Calc.                          (R] = L(ll)        Sum of Discounted Cash Flows                    24,000,188,118
   Calc.                            [S] = Q          Discounted Terminal Value                       16,349,774,549
    8                                 (TJ            Value of 20% of Sibneft                          6, 111,.851,i00
   Calc.                       [UJ = R + S + T       Enterprise Value as of1112112001                46,461,Sti)66

Kaczmarek Souln"s & Notes:
(1) See Appendix J.3 -Updated - Yukos Jncome Statement
(2) Interest expense from Appendix J.3 - Updated multiplied by (1-t), where tis equal to the tax rate, found in Appendix J14 - Updated. Tax is deducted because
FCFF should not include the tax benefits associated with interest deductions (the benefit is captured tlu-0\l@l the use of after-tax cost of debt in the WACC).
(3) Total current assets and totalrurrentliabilities from AppendixJ.4- Updated - Yukos Balance Sheet To estimate cunent assetsandliabilitiesasof November
21, 2007, we prorate the growth in rurrent assets and liabilities using the portion of the year that has passed (324 of 365 days).
(4) See Appendix).tl · Updated · YukosCapiW Expmditures
(5) Present value factor calculated as 1 / (l+WACC)', \\there t = number of years from 11/21/2007 to cash Bow date. W e assume mid-year (Ju:ne30) cash flows
in our DCF valuation.
(6) Tenn.inal gro\Yih rate re.preserd:s theperp:tual grow·t h rate for Yukos FCFF. Our estimate of3.5% is Nsed on analyst estimates for Yukos and Ros:neft ('\Y-tlich is
comprised primarily of fonnerYukos assets). See HSBC. Yukos: Apctmrin14.lignmentofinr.:rests atp. 19. 25 May 2004. <NAV - 4.01); Erste Bank. Ccmtpany Report: Yub:ls
atp. 9. 26 January2004. <NAV - 4.12); Smith Barney. Yu.kos: A binary issue atp. 3. 28 Apri12004. <NAV - 1'i3); Credit Suisse.. Yu.kos: Increasing Ccntcmts atp. 18.
21 December2004. (NAV - 4.02); Brunswid: UBSWarburg.. YW:os: T11e "'G£Msupmnajor"' atp. 12. 10Apri12003. (NAV - 39S); MorganStanley. Rosnqt: AU Access
at p. 31. 29 August 2006. (iNA V - 272); ABN Amro. Rosnejt: D-wtcom.e ofYioeJ»s au.crio'ltS at p. 18. 5 September 2007. (NAV - 262); HSBC. Rosnejt OAO at p. 8.
70ecember 2007. <NAV - 213); Deutsche UFG. ROStt.ejt Blue-Sly's down ro £1Uth atp. 4.. 11 July2007. (NAV - 2S9)
(7) See Appendix).tS · Updated · Yukos WACC Calculation
(8) Based on 20% of Sibneft adjusted market capitaliza.tionasof 21 November2007. See Appendix F.4- Updated.

m SOUK\"S & Notes:
    (1)      I copy tax-adjusted interest payments from above
    (2)      I calculate Change inNetDebtus.ingMr. Kaczmarek's meti\odfrom his AppmdixJ.1- Updated
    {a j     l U\ler .::iwnettCilvtCI.EnCIS as the aute.rence toenl/'eel\ft:ft:: ana trle~cti.Vlct.end components ot ft:ft::.
    (4)      I calculate Free Cash Flow to Equity using Mr. Kaczma.rek'smetilodfrom his AppendixJ.1· Updated. I adjust by a percentage
             factor to account for Sibneftdividends, equal to thepercmtofthose di\oidendsoutof FCFE for the prior 3 years. See Appmdix J.1



                                                                                                      A-4
                            Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 604 of 617




B.   ANNEX A2: YUKOS COMPANY STRUCTURE
     (extract from Exh. R-3165, referred to in note 2413 of the Award)


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 Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 605 of 617



C.   TABLES T1–T9 SHOWING THE TRIBUNAL’S DAMAGES CALCULATIONS

     1.     Table T1: Calculation of Total Damages of Claimants as of 19 December 2004
            (Date of Expropriation) vs. 30 June 2014 (Date of Award for Valuation Purposes)

                                             19 December 2004


                                   Damages component                               Amount (in USD)
                                       Yukos Equity Value                          21,175,832,823
                                 Dividends to end of 2004                           2,417,808,219
                       Sum of Equity Value and Dividends                           23,593,641,042
                           Interest through 30 June 2014                            7,596,090,702
                                                    Total                          31,189,731,744


                                         Outstanding         % of Outstanding      Damages
                                           Shares                 Shares            (in USD)


                      Yukos Total           1,934,964,578                 100.00   31,189,731,744


                   Claimant Hulley          1,090,043,968               56.33405   17,570,439,964
                     Claimant YUL              50,340,995                2.60165      811,447,480
                     Claimant VPL             223,699,175               11.56089    3,605,811,362
                  Claimants Total           1,364,084,138               70.49659   21,987,698,805



                                                30 June 2014


                                     Damages component                             Amount (in USD)
                                        Yukos Equity Value                         42,625,343,615
             Dividends and interest (through 30 June 2014)                         51,981,340,000
                                                    Total                          94,606,683,615


                                         Outstanding         % of Outstanding      Damages
                                           Shares                 Shares            (in USD)


                      Yukos Total           1,934,964,578                 100.00   94,606,683,615


                   Claimant Hulley          1,090,043,968               56.33405   53,295,779,147
                     Claimant YUL              50,340,995                2.60165    2,461,334,249
                     Claimant VPL             223,699,175               11.56089   10,937,377,001
                  Claimants Total           1,364,084,138               70.49659   66,694,490,398


                                                     Damages After 25% Reduction

                                                              Claimant Hulley      39,971,834,360
                                                               Claimant YUL         1,846,000,687
                                                               Claimant VPL         8,203,032,751
                                                             Claimants Total       50,020,867,798


          Note: Claimants' shareholdings and total number of Outstanding Shares
                   taken from Appendix C.5.b to First Kaczmarek Report




                                                     A-6
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 606 of 617


  2.    Table T2: Equity Value of Yukos Based on Adjustments Made by Professor Dow to
        Mr. Kaczmarek’s Comparable Companies Calculations and the Evolution of the
        RTS Oil & Gas Index

       Valuation Date        RTS       Ratio between RTS Index       Value of Yukos
                          Oil & Gas        at given date and             (in USD)
                            Index         21 November 2007

   19 December 2004         92.85              0.346713966           21,175,832,823
   21 November 2007         267.8                  1                 61,075,800,000
   30 June 2014            186.90*             0.697908887           42,625,343,615


             * RTS Oil & Gas Index value corresponding to average of values
                        over first 5 months in 2014, see Table T8




                                         A-7
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 607 of 617


  3.     Table T3: Calculation of Dividends and Interest up to Valuation Date for Valuation
         as of 30 June 2014


                             Dow-adjusted
             Kaczmarek                              Tribunal's
                              Kaczmarek                             Interest to
   Year        FCFtE                                 FCFtE                               Total
                                FCFtE                              30 June 2014
               figure                                 figure
                                figure


   2004     3,645,331,570   3,218,376,817         2,500,000,000     804,887,500     3,304,887,500


   2005     4,796,449,237   4,489,360,593         3,500,000,000    1,008,227,500    4,508,227,500


   2006     4,676,741,445   4,396,018,793         3,500,000,000     889,612,500     4,389,612,500


   2007     8,484,005,345   7,670,054,341         6,000,000,000    1,321,710,000    7,321,710,000


   2008     7,818,745,258   6,749,310,837         6,000,000,000    1,118,370,000    7,118,370,000


   2009     7,642,393,629   5,462,900,795         5,000,000,000     762,525,000     5,762,525,000


   2010     4,254,461,116   4,841,849,986         3,500,000,000     415,152,500     3,915,152,500


   2011     6,285,189,113   4,282,802,054         4,000,000,000     338,900,000     4,338,900,000


   2012     8,395,083,921   3,724,462,548         5,000,000,000     254,175,000     5,254,175,000


   2013     7,627,873,208   3,147,630,465         4,000,000,000     67,780,000      4,067,780,000

   2014
    (to
            3,586,359,907   1,309,884,871         2,000,000,000          0          2,000,000,000
    30
   June)


   Sum     67,212,633,749   49,292,652,101        45,000,000,000   6,981,340,000    51,981,340,000


   Notes:
   - Kaczmarek figures for 2004 to 2011 taken from Second Kaczmarek Report, Appendix AJ.1.
   - Kaczmarek figures for 2012 to 2014 calculated as follows:
   Free cash flow to equity (FCFTE) = Free cash flow to the firm - Tax-adjusted interest payments +
   Change in net debt + 20% of Sibneft dividends, see Appendix AJ.1 to Second Kaczmarek Report.
   - Dow-adjusted Kaczmarek figures calculated with excel version of Appendix 1 to Second Dow Report
   (taking into account all of Dow's corrections).
   - Interest has been applied in line with the factors stated in Table T7.




                                            A-8
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 608 of 617


  4.   Table T4: FCFtE for Years 2012–2014
       (Based on Mr. Kaczmarek’s Figures)



                                                   Total
                              Free cash
                                               adjustment        Adjusted
                              flow to the
                                              as calculated       result
                                  firm
                                               in Table T5

                     2012   8,650,212,831     -255,128,910    8,395,083,921
                     2013   7,838,948,724     -211,075,516    7,627,873,208
                     2014   7,330,053,779     -157,333,965    7,172,719,814


            Notes:
            - Free cash flow to the firm figures taken from Appendix AJ.2 to
            Second Kaczmarek Report.
            - Total adjustment calculated in Table T5.




                                            A-9
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 609 of 617


  5.    Table T5: Total Adjustment of Free Cash Flow to the Firm
        (Required to Obtain FCFtE value for Years 2012–2014 for Mr. Kaczmarek)



                        Tax-adjusted
                                                              20% of
                          interest         Change in                            Total
                                                              Sibneft
                         payments           net debt                         adjustment
                                                             dividends
                        (subtracted)

                2012     -381,230,527      -19,498,383      145,600,000      -255,128,910
                2013     -375,218,163       18,542,647      145,600,000      -211,075,516
                2014     -373,949,497       71,015,532      145,600,000      -157,333,965

       Notes:
       - Total adjustment formula taken from Appendix AJ.1 to Second Kaczmarek Report.
       - Figures for tax-adjusted interest payments taken from Appendix AJ.2 to Second
       Kaczmarek Report.
       - Change in net debt calculated in Table T6.
       - For Sibneft dividends for years 2012 to 2014, it has been assumed that these were
       equal to the dividends paid in 2010, the last year for which Claimants have provided
       annual figures (the 2011 figures were based on annualized third quarter figures, see
       note (6) to Appendix AJ.1 to the Second Kaczmarek Report).




                                              A-10
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 610 of 617


  6.     Table T6: Change in Net Debt for Years 2012–2014



                                                     Change in net debt
                                            2012          2013                2014
                   Long-term debt Y    7,000,000,000    6,965,681,451    6,952,780,045
                   Short-term debt Y     597,731,821      594,801,351      593,699,697


                 Long-term debt Y-1    7,189,462,610    7,000,000,000    6,965,681,451
                 Short-term debt Y-1     613,910,083      597,731,821      594,801,351


        Difference between Sum of
        Long-term and Short-term
             debt for Y and Y-1
                                        -205,640,872       -37,249,019     -14,003,060


                             Cash Y    2,468,733,701    2,412,942,035    2,327,923,443
                          Cash Y-1     2,654,876,190    2,468,733,701    2,412,942,035
        Difference Cash Y and Cash
                               Y-1      -186,142,489       -55,791,666     -85,018,592

       Difference 1 minus Difference
                                   2      -19,498,383      18,542,647       71,015,532


       Note:
       - Formula for change in net debt (as change in long-term debt plus short-term
       debt, less cash) taken from note (5) to Appendix AJ.1 to Second Kaczmarek
       Report and Appendix AJ.4 to Second Kaczmarek Report.




                                            A-11
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 611 of 617


  7.   Table T7: Interest Factors Based on Annual Rate of 3.389 percent (see Table T9)



                                             Interest Factors

                        0.5Y                       0.01695
                         1Y                        0.03389
                        1.5Y                       0.05084
                        2.5Y                       0.08473
                        3.5Y                       0.11862
                        4.5Y                       0.15251
                        5.5Y                       0.18640
                        6.5Y                       0.22029
                        7.5Y                       0.25418
                        8.5Y                       0.28807
                        9.5Y                       0.32196




                                       A-12
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 612 of 617


  8.   Table T8: RTS Oil and Gas Index Values from 1 January to 24 June 2014

                     Date                                Value
                  24.06.2014                             212.32
                  23.06.2014                             204.45
                  20.06.2014                             202.34
                  19.06.2014                             204.35
                  18.06.2014                             204.70
                  17.06.2014                             201.10
                  16.06.2014                             202.16
                  11.06.2014                             201.74
                  10.06.2014                             200.20
                  09.06.2014                             198.74
                  06.06.2014                             198.02
                  05.06.2014                             193.64
                  04.06.2014                             191.37
                  03.06.2014                             191.84
                  02.06.2014                             192.09
                  30.05.2014                             187.51
                  29.05.2014                             191.62
                  28.05.2014                             190.06
                  27.05.2014                             190.95
                  26.05.2014                             197.69
                  23.05.2014                             196.70
                  22.05.2014                             195.66
                  21.05.2014                             196.28
                  20.05.2014                             193.19
                  19.05.2014                             191.71
                  16.05.2014                             188.03
                  15.05.2014                             186.38
                  14.05.2014                             187.74
                  13.05.2014                             186.26
                  12.05.2014                             184.38
                  08.05.2014                             184.14
                  07.05.2014                             184.98
                  06.05.2014                             177.49
                  05.05.2014                             173.50
                  02.05.2014                             174.25
                  30.04.2014                             175.39
                  29.04.2014                             175.77
                  28.04.2014                             173.16
                  25.04.2014                             170.99
                  24.04.2014                             173.90
                  23.04.2014                             176.68




                                      A-13
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 613 of 617


                  Date                        Value
               22.04.2014                     177.43
               21.04.2014                     178.37
               18.04.2014                     179.98
               17.04.2014                     175.73
               16.04.2014                     173.51
               15.04.2014                     172.15
               14.04.2014                     176.96
               11.04.2014                     179.60
               10.04.2014                     181.58
               09.04.2014                     177.85
               08.04.2014                     177.96
               07.04.2014                     176.97
               04.04.2014                     181.85
               03.04.2014                     178.37
               02.04.2014                     179.82
               01.04.2014                     181.96
               31.03.2014                     181.08
               28.03.2014                     175.42
               27.03.2014                     175.17
               26.03.2014                     177.70
               25.03.2014                     172.92
               24.03.2014                     167.71
               21.03.2014                     169.63
               20.03.2014                     172.14
               19.03.2014                     172.44
               18.03.2014                     172.97
               17.03.2014                     168.16
               14.03.2014                     162.30
               13.03.2014                     165.81
               12.03.2014                     168.25
               11.03.2014                     171.47
               07.03.2014                     174.78
               06.03.2014                     175.04
               05.03.2014                     177.77
               04.03.2014                     178.02
               03.03.2014                     169.50
               28.02.2014                     186.96
               27.02.2014                     186.38
               26.02.2014                     189.54
               25.02.2014                     191.17
               24.02.2014                     192.46
               21.02.2014                     191.80
               20.02.2014                     190.39
               19.02.2014                     190.63




                               A-14
 Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 614 of 617


                   Date                        Value
                18.02.2014                     195.14
                17.02.2014                     195.39
                14.02.2014                     195.31
                13.02.2014                     192.39
                12.02.2014                     196.54
                11.02.2014                     194.62
                10.02.2014                     193.61
                07.02.2014                     193.33
                06.02.2014                     191.41
                05.02.2014                     189.33
                04.02.2014                     186.14
                03.02.2014                     186.13
                31.01.2014                     188.71
                30.01.2014                     192.36
                29.01.2014                     189.39
                28.01.2014                     192.63
                27.01.2014                     195.94
                24.01.2014                     196.68
                23.01.2014                     199.51
                22.01.2014                     200.07
                21.01.2014                     200.13
                20.01.2014                     199.53
                17.01.2014                     199.45
                16.01.2014                     199.19
                15.01.2014                     200.58
                14.01.2014                     199.51
                13.01.2014                     200.84
                10.01.2014                     199.89
                09.01.2014                     198.47
                08.01.2014                     198.14
                06.01.2014                     198.55


Sum                                           21680.08
Average                                        186.90




                                A-15
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 615 of 617


  9.   Table T9: 10-Year U.S. Sovereign Bond Rate 2005–2014


                              Date               Value
                             2005-01               4.22
                             2005-02               4.17
                             2005-03               4.50
                             2005-04               4.34
                             2005-05               4.14
                             2005-06               4.00
                             2005-07               4.18
                             2005-08               4.26
                             2005-09               4.20
                             2005-10               4.46
                             2005-11               4.54
                             2005-12               4.47
                             2006-01               4.42
                             2006-02               4.57
                             2006-03               4.72
                             2006-04               4.99
                             2006-05               5.11
                             2006-06               5.11
                             2006-07               5.09
                             2006-08               4.88
                             2006-09               4.72
                             2006-10               4.73
                             2006-11               4.60
                             2006-12               4.56
                             2007-01               4.76
                             2007-02               4.72
                             2007-03               4.56
                             2007-04               4.69
                             2007-05               4.75
                             2007-06               5.10
                             2007-07               5.00
                             2007-08               4.67
                             2007-09               4.52
                             2007-10               4.53
                             2007-11               4.15
                             2007-12               4.10
                             2008-01               3.74
                             2008-02               3.74
                              2008-03               3.51
                             2008-04               3.68
                             2008-05               3.88




                                        A-16
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 616 of 617


                          Date          Value
                        2008-06          4.10
                        2008-07          4.01
                        2008-08          3.89
                        2008-09          3.69
                        2008-10          3.81
                        2008-11          3.53
                        2008-12          2.42
                        2009-01          2.52
                        2009-02          2.87
                        2009-03          2.82
                        2009-04          2.93
                        2009-05          3.29
                        2009-06          3.72
                        2009-07          3.56
                        2009-08          3.59
                        2009-09          3.40
                        2009-10          3.39
                        2009-11          3.40
                        2009-12          3.59
                        2010-01          3.73
                        2010-02          3.69
                        2010-03          3.73
                        2010-04          3.85
                        2010-05          3.42
                        2010-06          3.20
                        2010-07          3.01
                        2010-08          2.70
                        2010-09          2.65
                        2010-10          2.54
                        2010-11          2.76
                        2010-12          3.29
                        2011-01          3.39
                        2011-02          3.58
                        2011-03          3.41
                        2011-04          3.46
                        2011-05          3.17
                        2011-06          3.00
                        2011-07          3.00
                        2011-08          2.30
                         2011-09          1.98
                        2011-10          2.15
                        2011-11          2.01
                        2011-12          1.98
                        2012-01          1.97




                                   A-17
Case 1:14-cv-01996-BAH Document 2-1 Filed 11/25/14 Page 617 of 617


                                Date                   Value
                              2012-02                  1.97
                              2012-03                  2.17
                              2012-04                  2.05
                              2012-05                  1.80
                              2012-06                  1.62
                              2012-07                  1.53
                              2012-08                  1.68
                              2012-09                  1.72
                              2012-10                  1.75
                              2012-11                  1.65
                              2012-12                  1.72
                              2013-01                  1.91
                              2013-02                  1.98
                              2013-03                  1.96
                              2013-04                  1.76
                              2013-05                  1.93
                              2013-06                  2.30
                              2013-07                  2.58
                              2013-08                  2.74
                              2013-09                  2.81
                              2013-10                  2.62
                              2013-11                  2.72
                              2013-12                  2.90
                              2014-01                  2.86
                              2014-02                  2.71
                              2014-03                  2.72
                              2014-04                  2.71
                              2014-05                  2.56
              Sum                                     383.01
              Average                                  3.389


              Note:
              - Ten-year US treasury constant maturities, according to
              http://www.federalreserve.gov/releases/h15/data.htm




                                         A-18
